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                   Attorneys for Swisher International, Inc.
          14
          15                               UNITED STATES DISTRICT COURT
          16                             CENTRAL DISTRICT OF CALIFORNIA
          17       TRENDSETTAH USA, INC. and                       CASE NO. 8:14-cv-01664-JVS-DFM
                   TREND SETTAH, INC.,
          18                                                       DECLARATION OF DANIEL G.
                                      Plaintiffs,                  SWANSON IN SUPPORT OF
          19                                                       DEFENDANT AND JUDGMENT
                         v.                                        CREDITOR SWISHER
          20                                                       INTERNATIONAL, INC.’S MOTION
                   SWISHER INTERNATIONAL, INC.,                    FOR SANCTIONS
          21
                                      Defendant.
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               1                         DECLARATION OF DANIEL G. SWANSON
               2         I, Daniel G. Swanson, declare as follows:
               3         1.        I am an attorney at law duly admitted to practice in the State of California
               4   and the United States District Court for the Central District of California. I am a partner
               5   at Gibson, Dunn & Crutcher LLP, and I am one of the attorneys at my firm responsible
               6   for representing Swisher International, Inc. (“Swisher”) in the above captioned action.
               7   I submit this declaration in support of Swisher’s Motion for Sanctions (“Sanctions
               8   Motion”). I have personal knowledge of the matters set forth herein, except where stated
               9   otherwise, and if called to testify, I could and would competently testify thereto.
          10             2.        Gibson, Dunn & Crutcher LLP (“GDC”) is a premier, full-service
          11       international law firm with over 1800 lawyers and 20 offices located in major cities
          12       throughout the United States, Europe, the Middle East, Asia, and South America. GDC
          13       consistently ranks among the world’s top law firms in industry surveys and major
          14       publications.     The American Lawyer named GDC its 2022 California “Regional
          15       Litigation Department of the Year” and has recognized GDC as a winner of its general
          16       “Litigation Department of the Year” competition for four of the last seven biennial
          17       competitions. In its 2022 edition, Chambers USA: America’s Leading Lawyers for
          18       Business ranked GDC as a Band 1 law firm for National, California, and Texas in the
          19       Competition/Antitrust and Appellate Law practices. U.S. News – Best Lawyers® ranked
          20       GDC in its 2023 edition as a Tier 1 law firm for its Competition/Antitrust and Appellate
          21       Law practices. In its 2023 edition, Benchmark Litigation US also ranked GDC as a Tier
          22       1 law firm in the Appellate, Competition/Antitrust, and Commercial categories.
          23             3.        I have been practicing law for over 35 years, focusing on antitrust and
          24       competition law, including trial and appellate litigation, class actions, grand jury and
          25       civil investigations, merger review, regulatory and competition policy matters, and
          26       antitrust counseling. In addition to my law degree, I have a Ph.D. in economics from
          27       Harvard University. Over the course of my practice, I have litigated dozens of Sherman
          28       Act Section 2 monopolization and dominance cases and handled more than 25

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               1   international cartel investigations. In addition to antitrust matters, I have handled a wide
               2   variety of commercial litigation disputes and litigated matters of Florida law in Florida
               3   state court and have twice argued in the Florida District Court of Appeal. I have received
               4   recognition for the successful results I have obtained on behalf of my clients by industry
               5   surveys and major publications, including a “Band 1” ranking for California Antitrust
               6   by Chambers USA. My profile, which lists my experiences and background in greater
               7   detail, is attached hereto as Exhibit 1.
               8            4.    In 2016, GDC was retained to represent Swisher in this Action in
               9   connection with post-trial and appellate proceedings. Since then, I have overseen all
          10       aspects of this case and am responsible for staffing and supervising this matter. I have
          11       served as the supervising attorney in numerous matters and have extensive experience
          12       managing litigation teams in complex civil lawsuits. I have also practiced in Los
          13       Angeles for decades and am familiar with the cost of legal services in this market.
          14                5.    In its Motion, Swisher seeks an award of $19,859,625.66 as attorney’s fees
          15       for services provided by GDC’s timekeepers, including fees that Swisher incurred in
          16       connection with the Sanctions Motion. These fees include (1) $3,917,764.35 that the
          17       Court previously determined was reasonably incurred in its December 2, 2020 Order
          18       granting Swisher’s Motion for Attorney’s fees (“Fees Order”) (Dkt. 622 at 12-13)1 and
          19       (2) $6,976,003.50 that Swisher did not previously claim, including hours that Swisher
          20       voluntarily excluded from Swisher’s Motion for Attorney’s Fees and Costs (“Fees
          21       Motion”) because the work primarily related to antitrust issues or was performed after
          22       the date that Swisher filed its motion for fees and costs.
          23                6.    Additionally, Swisher seeks an award of $5,241,816.55 for fees charged by
          24
          25       1
                       Swisher previously requested $4,406,873.50 for services rendered by GDC pursuant to
                       the contractual fee shifting provision under the parties’ Private Label Agreements. The
          26           Court disallowed $53,802.00 and applied a 10% reduction to account for block-billing,
                       awarding $3,917,764.35 for GDC’s services. As set forth in Swisher’s Motion for
          27           Setoff, TSI has indicated that it anticipates filing a motion to vacate the previous fee
                       award under Rule 60(b)(5). If the Court awards Swisher sanctions and leaves the De-
          28           cember 2020 fee award in place, Swisher will make an election of remedies to avoid
                       any double recovery.
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               1   Akerman LLP and $75,520.00 for fees charged by Brodsky Fotiu-Wojtowicz (“BFW”),
               2   our co-counsel on this matter, and litigation-related costs of $3,648,521.26 that Swisher
               3   incurred in the defense of this Action. In this declaration, I explain the basis for GDC’s
               4   fees and Swisher’s litigation costs. Akerman’s fees are explained in the Declaration of
               5   Michael Marsh, and BFW’s fees are explained in the Declaration of Alaina Fotiu-
               6   Wojtowicz, which are concurrently filed herewith. Altogether, Swisher seeks an award
               7   of $19,859,625.66 in attorney’s fees and costs.
               8         7.     Nothing in this Declaration, or its exhibits or attachments, is intended to be
               9   a waiver of the attorney-client privilege or the work product doctrine.
          10       A.    Hours Claimed by Swisher for GDC’s Services
          11             8.     From April 2016 to February 2023, GDC has billed Swisher a total of
          12       $12,280,902.00 for 12,836.37 hours of services rendered by attorneys, paralegals, and
          13       other direct billing staff members working on this matter.
          14             9.     The hours billed by GDC reflect the services provided to Swisher since the
          15       end of the first trial in this Action. GDC’s work on this matter includes: (1) Swisher’s
          16       Motion for Judgment as a Matter of Law or, In the Alternative, for New Trial; (2)
          17       Swisher’s Motion for Reconsideration of the Court’s August 2016 Order; (3) appeal of
          18       the Court’s December 2016 Judgment to the Ninth Circuit; (4) petition for a writ of
          19       certiorari to the U.S. Supreme Court seeking review of the Ninth Circuit’s 2019 opinion;
          20       (5) Swisher’s Motion for Relief from Judgment Pursuant to Rule 60 (“Rule 60 Motion”)
          21       and opposing Plaintiffs’ repeated attempts to overturn the Court’s Order granting
          22       Swisher’s Rule 60 Motion; (5) post-trial discovery and fact development; (6) Opposition
          23       to Plaintiffs’ Motion to Dismiss; (7) Swisher’s Fees Motion; (8) enforcement of
          24       Swisher’s award for fees and costs; (9) TSI’s appeal of the Court’s September 2020
          25       Judgment to the Ninth Circuit; (10) petition for writ of certiorari to the U.S. Supreme
          26       Court seeking review of the Ninth Circuit’s 2022 opinion; and (11) Swisher’s post-
          27       remand motions.
          28             10.     Based on my years of experience and my involvement in this case, the

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               1   hours our team members spent on this matter were reasonable and necessary to advance
               2   and protect Swisher’s interests in this case. While every hour expended on this matter
               3   provided value to this case, Swisher has excluded hours billed for administrative,
               4   clerical, and other tasks that were necessary to the case, but for which Swisher does not
               5   seek recovery. Swisher has also excluded time billed by in-house staff who provided
               6   support services such as librarians and research assistants. As for in-house e-Discovery
               7   staff and technicians, I have included their hours as costs. In addition, Swisher does not
               8   seek to claim hours that the Court previously disallowed.
               9         11.    After imposing these reductions, Swisher seeks attorney’s fees for
          10       11646.50 hours billed by GDC timekeepers. The claimed hours reflect time billed by 9
          11       partners on this case, 15 associates, 1 contract attorney, and 2 paralegals, as discussed in
          12       Section B below.
          13             12.    In managing this case, I have allocated various tasks among these
          14       timekeepers to maximize efficiency while ensuring high-quality services. The partners
          15       developed the overall litigation strategy for the case based on their areas of expertise in
          16       coordination with co-counsel. We also supervised the work performed by associates,
          17       including reviewing research performed by associates and conducting follow-up
          18       research as needed to further guide the team; revising and editing drafts of briefs and
          19       other work product generated by associates; and providing guidance on associates’
          20       interactions with co-counsel, opposing counsel, third parties, and the Court. In addition,
          21       to familiarize ourselves with the case, the partners managing the case reviewed the trial
          22       record; records from criminal proceedings of Plaintiffs’ CEO, Mr. Akrum Alrahib; and
          23       key documents identified by associates. I have also interfaced with various experts and
          24       consultants retained for this case and appeared at hearings and status conferences on
          25       behalf of Swisher.
          26             13.    Three senior associates on the case, Mr. Gregory Bok, Ms. Minae Yu, and
          27       Mr. Julian Kleinbrodt, were primarily responsible for preparing initial drafts of key work
          28       product, such as briefs and discovery requests, and conducted the legal research and fact

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               1   investigation necessary for that effort. They also interfaced with co-counsel, opposing
               2   counsel, and third parties, assisted me with hearing preparation, attended hearings and
               3   status conferences, argued some of the motions, spearheaded fact development, and
               4   worked with experts and consultants.
               5         14.    Mr. Samuel Eckman, a senior associate in GDC’s Appellate and
               6   Constitutional Law practice group, was tasked with appeal-related work, including
               7   opposing Plaintiffs’ petitions for interlocutory review and writ of mandamus to overturn
               8   the Court’s Rule 60 order.
               9         15.    Other associates assisted Mr. Bok, Ms. Yu, Mr. Kleinbrodt, and Mr.
          10       Eckman with first-level legal research, drafted portions of briefs and other work product,
          11       prepared supporting materials for briefs, cite-checked and fact-checked the filings, and
          12       reviewed documents and the record in the case to assist with fact development. Ms.
          13       Rani Biswas assisted the team with fact development and review of documents and
          14       compiled factual support and exhibits for motions filed in this case.
          15             16.    The hours claimed for the GDC team include (1) post-trial and appellate
          16       work primarily relating to TSI’s antitrust claims (“Antitrust Hours”)2 and (2) litigation
          17       relating to TSI’s misconduct (“Rule 60 Hours”). The Antitrust Hours include the
          18       preparation of Swisher’s post-trial motions, fact development and expert work,
          19       preparation for a new trial on TSI’s attempted monopolization claim, appeal of the
          20       Court’s December 2016 Judgment, and petitioning the Supreme Court for review of the
          21       Ninth Circuit’s decision on TSI’s antitrust claims. The Rule 60 Hours include preparing
          22       Swisher’s Rule 60 Motion and opposing Plaintiffs’ repeated challenges to the Court’s
          23       Rule 60 order; fact development and discovery in preparation for retrial; working with
          24       experts and consultants; opposing Plaintiffs’ Motion to Dismiss; preparing Swisher’s
          25       Fees Motion; post-judgment discovery and efforts to enforce Swisher’s award; TSI’s
          26
          27       2
                     A portion of Swisher’s post-trial and appellate work related primarily or exclusively to
                   TSI’s contract claims. In the billing records appended to this Declaration as Exhibit 3,
          28       Swisher has designated entries involving such hours as “Contract” in the column under
                   the heading “Task Category.” The total hours in this category is 295.80.
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               1   appeal of the Court’s September 2020 Judgment; petition for writ of certiorari to the
               2   U.S. Supreme Court seeking review of the Ninth Circuit’s 2022 opinion; and preparing
               3   Swisher’s post-remand motions.
               4         1.     Antitrust Hours
               5         17.    Post-trial Motions. Following the March 2016 trial, Swisher filed its (1)
               6   Motion for Judgment as a Matter of Law or New Trial and (2) Motion for
               7   Reconsideration of the Court’s August 17, 2016 Order. To prepare these motions, GDC
               8   attorneys had to expend time becoming familiar with the pre-trial and trial record,
               9   working with experts and consultants, conducting legal research, drafting briefs and
          10       supporting documents, coordinating these efforts with Akerman attorneys, and meeting
          11       and conferring with TSI’s counsel. After the Court granted Swisher’s motion for
          12       judgment as a matter of law on the monopolization claim and ordered a new trial on the
          13       attempted monopolization claim, GDC attorneys met and conferred with TSI’s counsel,
          14       prepared and submitted a joint report on the scope of the new trial and trial schedule,
          15       and appeared for the status conference held on September 19, 2016. Both parties then
          16       filed their respective motions for reconsideration of the Court’s August 2016 Order.
          17       Opposing TSI’s motion and preparing Swisher’s motion required additional time for
          18       legal research and drafting the motions, oppositions, and replies. The time and resources
          19       expended on Swisher’s post-trial motions were necessary to defend against TSI’s
          20       antitrust claims.
          21             18.    Ninth Circuit Appeal and Petition for Certiorari. Another significant
          22       portion of GDC’s claimed Antitrust Hours is the time spent preparing for the Ninth
          23       Circuit appeal of the Court’s December 2016 Judgment and petitioning the Supreme
          24       Court for review of the Ninth Circuit’s decision. Tasks undertaken for the appellate
          25       work included drafting Swisher’s Ninth Circuit briefs, related legal research, compiling
          26       the trial record for submission, preparing for and attending oral argument before the
          27       Ninth Circuit panel, preparing a petition for en banc review, preparing Swisher’s motion
          28       for stay of the mandate and opposing TSI’s motion to lift the stay, soliciting amicus

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               1   support for Swisher’s petition to the Supreme Court, and drafting Swisher’s petition for
               2   writ of certiorari. GDC’s hours spent on these tasks were necessary to defend against
               3   TSI’s antitrust claims, which the Court and the Ninth Circuit have now determined were
               4   based on falsified records of lost profits.
               5         2.     Rule 60 Hours
               6         19.    Swisher’s Rule 60 Motion. The most substantial portion of the Rule 60
               7   Hours relate to the preparation of Swisher’s Rule 60 Motion and opposing Plaintiffs’
               8   repeated efforts to overturn the Court’s August 19 Order granting relief from judgment.
               9   After the Court issued its order, Plaintiffs filed a motion for certification under § 1292(b)
          10       in October 2019, which was denied. Plaintiffs then filed a motion for reconsideration in
          11       November 2019, which was also denied. Thereafter, however, the Court sua sponte
          12       certified its August 19 Order. In January 2020, Plaintiffs petitioned the Ninth Circuit
          13       for interlocutory appeal under § 1292(b), which the Ninth Circuit denied. In May 2020,
          14       one week after the Ninth Circuit’s rejection of Plaintiffs’ § 1292(b) petition, Plaintiffs
          15       petitioned the Ninth Circuit for a writ of mandamus to reassign this case and direct the
          16       reinstatement of the jury’s verdict, which the Ninth Circuit denied. Then in June 2020,
          17       Plaintiffs filed a second motion for reconsideration of the Court’s August 19 Order,
          18       which the Court denied. Swisher’s Rule 60 Motion and subsequent briefing, including
          19       responding to each of Plaintiffs’ challenges to the Court’s order, required substantial
          20       time and effort. Among other things, GDC attorneys monitored and reviewed the filings
          21       in Alrahib’s criminal cases, reviewed documents and the records in this case as new
          22       information about Alrahib’s illegal activities became available through his criminal
          23       proceedings, conducted additional legal research, met and conferred with opposing
          24       counsel, drafted briefs and supporting documents, compiled factual support and exhibits
          25       for each filing, drafted motions to seal, and met and conferred with opposing counsel.
          26       The hours expended in seeking relief under Rule 60 and opposing Plaintiffs’ repeated
          27       challenges to the Court’s order were necessary and critical to this case.
          28             20.    Fact Development and Discovery. Another significant portion of the Rule

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               1   60 Hours is the time spent on fact development and discovery. After the Court reopened
               2   discovery in this case, Swisher served discovery on Plaintiffs and their affiliated
               3   individuals (including Alrahib) and entities. They all refused to produce any information
               4   or documents responsive to Swisher’s discovery requests. As a result, Swisher had to
               5   initiate two enforcement actions in the Southern District of Florida and file two motions
               6   to compel with Magistrate Judge McCormick. Swisher’s motions were either granted
               7   in their entirety or granted in substantial part. But even with court orders directing
               8   Plaintiffs and Alrahib to produce documents responsive to Swisher’s discovery requests,
               9   they refused to comply. This required additional work to prepare motions for contempt
          10       and/or sanctions to enforce the court orders. In addition, because Plaintiffs refused to
          11       produce any of their updated financial records and bank records, Swisher had to serve
          12       nearly 20 subpoenas on third-party banks. Swisher also pursued third-party discovery
          13       on individuals who may have information about Alrahib’s various tax evasion schemes,
          14       including Plaintiffs’ former employees and importers who Alrahib admitted helped him
          15       with tax evasion. When Swisher received some documents from third parties, the
          16       associate team reviewed them and identified significant ones. Moreover, given the
          17       passage of time between pretrial discovery and the disclosure of Alrahib’s illegal
          18       activities, the GDC team reviewed some of the documents produced earlier in this case
          19       as a part of its continuing fact development efforts. The time spent on discovery and
          20       fact development was necessary to prepare for retrial and reasonable in light of
          21       Plaintiffs’ refusal to produce any information about its finances or Alrahib’s tax fraud.
          22             21.    Experts and Consultants. The GDC team also expended time and effort
          23       working with experts and consultants, including damages/economics experts, a forensic
          24       accounting expert, and a private investigator. These efforts were necessary to prepare
          25       for retrial. For example, a forensic accounting expert was necessary to perform a fraud
          26       analysis on Plaintiffs’ financial records in light of Alrahib’s tax evasion. Swisher also
          27       had to retain an investigator to locate and gather information on individuals and entities
          28       affiliated with Plaintiffs, which was necessitated by their refusal to cooperate in

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               1   discovery.
               2         22.    Motion to Dismiss. The Rule 60 Hours also include time spent on opposing
               3   Plaintiffs’ motion to dismiss and requesting certain conditions on dismissal to protect
               4   Swisher’s interests. Swisher had expended significant time and resources preparing for
               5   retrial when Plaintiffs moved to dismiss. For example, Swisher had spent time to secure
               6   court orders requiring Plaintiffs and their related individuals and entities to produce
               7   information and documents relevant to this case. While Swisher had pursued the
               8   information and documents to prepare for retrial, they were also relevant to protecting
               9   Swisher’s interests after TSI’s dismissal of the case, including Swisher’s right to
          10       attorney’s fees and enforcement of the award. Accordingly, GDC expended reasonable
          11       time and effort in conducting legal research, working with Swisher’s forensic accounting
          12       expert, and preparing Swisher’s opposition to Plaintiffs’ motion to dismiss to advance
          13       and protect Swisher’s interests.
          14             23.    Motion for Attorney’s Fees and Costs. The GDC team also worked on
          15       preparing Swisher’s Fees Motion, which entailed conducting legal research, drafting
          16       opening and reply briefs, and preparing supporting documents. The Court previously
          17       found that the hours expended on Swisher’s Fees Motion were reasonable and awarded
          18       $218,094.20 for the time billed for preparing the Fees Motion. Dkt. 622 at 12. GDC’s
          19       work on the Fees Motion was necessary to protect Swisher’s interest in recovering the
          20       expenses it has incurred in this litigation.
          21             24.    Enforcement of Attorney’s Fee Award. The Rule 60 Hours include work
          22       to enforce Swisher’s award of attorney’s fees and costs. After the Court awarded
          23       Swisher $10,462,480.60 in fees and costs, TSI did not pay any amount in satisfaction of
          24       the award or post a supersedeas bond while it sought to appeal the Court’s Rule 60 Order.
          25       Moreover, TSI claimed to be insolvent, and the bank records Swisher had obtained in
          26       the course of preparing for the retrial indicated that TSI’s assets had been transferred to
          27       TSI’s officers, their family members, and related entities. Swisher thus had to pursue
          28       enforcement of its award, including propounding discovery requests on TSI and issuing

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               1   subpoenas to TSI’s officers and affiliated entities, working with a forensic accounting
               2   consultant to analyze TSI’s financial records, conducting a debtor’s examination, taking
               3   the depositions of Mr. Alrahib’s wife and TSI’s former CFO, meeting and conferring
               4   with TSI’s counsel before filing motions to compel, and preparing and filing motions in
               5   aid of enforcement. These tasks were necessary to protect Swisher’s interests and were
               6   necessitated by TSI’s refusal to make any payments on the unbonded fee award.
               7            25.   Ninth Circuit Appeal and Petition for Certiorari. The Rule 60 Hours
               8   include time spent for TSI’s appeal of the Court’s Rule 60 order and Swisher’s petition
               9   for a writ of certiorari to the Supreme Court. The appellate work involved legal research,
          10       preparing Swisher’s motions, briefs, and supporting records filed with the Ninth Circuit,
          11       preparing for and attending oral argument before the Ninth Circuit panel, preparing a
          12       petition for en banc review, preparing Swisher’s motion for a stay of the mandate,
          13       amicus outreach efforts, and drafting Swisher’s petition for a writ of certiorari.
          14                26.   Post-Remand Motions. The Rule 60 Hours include time spent drafting
          15       Swisher’s post-remand motions, including its motions for sanctions and setoff, and
          16       preparing for TSI’s anticipated motions. As the Court has determined and the Ninth
          17       Circuit has affirmed, TSI has engaged in misconduct that warranted relief under Rule
          18       60(b).     Swisher has expended considerable resources litigating TSI’s claims and
          19       exposing TSI’s misconduct. Swisher’s post-remand motions were necessary to protect
          20       Swisher’s entitlement to compensation for defending this lawsuit and to offset the award
          21       against TSI’s breach-of-contract verdict given TSI’s claims of insolvency. In addition,
          22       TSI has informed Swisher’s counsel that it will seek fees and costs, prejudgment and
          23       post judgment interest, and relief from Swisher’s prior fee award under Rule 60(b)(5).
          24       The parties met and conferred on their upcoming motions and appeared for a status
          25       hearing on January 9, 2023. Additionally, Swisher worked on opposing TSI’s motion
          26       to amend the mandate that was filed with the Ninth Circuit, preparing the parties’ joint
          27       submissions to the Court regarding briefing schedule and word limit, opposing TSI’s ex
          28       parte application, and objecting to TSI’s proposed judgment.

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               1         27.    Other Tasks. The claimed Antitrust Hours and Rule 60 Hours also include
               2   time spent on tasks that are a normal and routine part of litigation, including
               3   communications and meetings among the team members, communications and meetings
               4   with the client, coordination with co-counsel, organizing tasks, scheduling, and
               5   preparing for and attending status conferences, among other things.
               6         28.    Exhibit 2 and Exhibit 3 are billing records for the claimed hours with
               7   narrative descriptions of the tasks performed, the hours spent, and the timekeeper.
               8   Exhibit 2 includes the billing records that GDC has previously submitted in support of
               9   its Fees Motion. See Dkt. 605-3, Dkt. 616-4. The Court previously disallowed the hours
          10       spent on preparing Swisher’s motion to compel discovery from TSI’s expert that was
          11       not filed and reduced the hours for attorneys attending the November 12, 2019 status
          12       conference by half. The Court further determined that approximately a third of GDC’s
          13       claimed hours were block-billed and reduced the total fee award by 10%. Swisher
          14       accepts the reductions the Court previously applied and does not seek to recover for the
          15       disallowed hours or 10% reduction applied to Swisher’s fee request for these hours.
          16             29.    Exhibit 3 contains the billing records for the hours that GDC did not
          17       previously claim. They include the Antitrust Hours that were previously excluded and
          18       the Rule 60 Hours that have been incurred since the filing of Swisher’s Fees Motion, as
          19       well as hours for timekeepers whom Swisher previously excluded. Like Swisher’s
          20       previously submitted time records, the records in Exhibit 3 were obtained from GDC’s
          21       electronic billing system, which is maintained by the firm in the ordinary course of
          22       business. The time records were entered into the billing system by GDC timekeepers at
          23       or around the time they performed each task. Time entries with no claimed hours were
          24       excluded. In instances where time entries were not broken up by each task, the
          25       timekeepers have made an effort to itemize the hours. Some timekeepers had initially
          26       recorded their time per task, but the itemization was removed in the course of processing
          27       the bills. The initial entries were maintained by the billing department and are reflected
          28       in Exhibit 2 as they were initially entered by the timekeepers before processing. Other

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               1   timekeepers used their best efforts to allocate the time for each task by referencing their
               2   litigation files, meeting notes, calendar invites, emails, and other attorney’s time entries,
               3   among other sources. These allocated entries are highlighted in Exhibit 2.
               4           30.   Exhibit 4 and Exhibit 5 are tables summarizing the claimed hours for each
               5   GDC timekeeper for each year. Exhibit 4 was previously filed with Swisher’s Fees
               6   Motion and contains a summary of the claimed hours in Exhibit 2. Dkt. 606-5. Exhibit
               7   5 includes a summary of the claimed hours in Exhibit 3 that were not previously
               8   submitted to the Court.
               9   B.      Hourly Rates for GDC Timekeepers
          10               31.   Swisher seeks GDC’s standard rates for the claimed hours. Attached hereto
          11       as Exhibit 6 is a table summarizing the standard hourly rates for the 26 attorneys, 1
          12       contract attorney, and 2 paralegals who worked on this matter, broken down by year.
          13       The rates are not listed for any year when the timekeeper billed no time to this matter.
          14       Swisher was generally charged these standard rates for GDC services.3 The Court
          15       previously agreed that the standard rates Swisher claimed for GDC partners and
          16       associates in Swisher’s Fees Motion were “reasonable given the prevailing rates in the
          17       Central District of California.” Dkt. 622 at 12. The standard rates for the timekeepers
          18       whose hours were not previously submitted are in line with the standard rates for
          19       previously claimed timekeepers.
          20               32.   Based on my experience, GDC’s standard rates for these timekeepers are
          21       in line with hourly rates charged for attorneys with comparable skills and experience at
          22       firms with similar size and reputation as GDC in the Los Angeles market. In particular,
          23       based on my experience and attorney billing rates reported in publications such as the
          24       Real Rate Report published by Wolters Kluwer ELM Solutions, antitrust and appellate
          25       lawyers, such as those who constituted GDC’s primary litigation team, command higher
          26       rates than other litigation partners and associates. Moreover, because Alrahib’s tax fraud
          27
          28
                   3
                       From August 2021 to December 2022, Swisher received a 10% discount.
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               1   further complicated the issues presented in this matter, GDC’s team primarily
               2   responsible for this matter had to consult with a number of partners and associates who
               3   specialize in other areas.
               4         33.     The profiles and resumes of GDC team members are attached hereto as
               5   Exhibit 7.4 In some instances, they provide more detailed information about each
               6   attorney’s relevant background and experiences than the profiles available on GDC’s
               7   website.
               8         34.     The partners who have worked on this matter have been recognized by their
               9   peers as leaders in their respective practice areas.
          10             35.     Mr. Theodore Boutrous is a member of GDC’s Executive and Management
          11       Committees.     He has extensive experience representing clients across industries,
          12       including in Appellate and Antitrust matters, and has successfully persuaded courts to
          13       overturn some of the largest jury verdicts and class actions in history. In 2022, the Los
          14       Angeles and San Francisco Daily Journal named Mr. Boutrous one of the “Top 100
          15       Lawyers” in California for the 18th year in a row. The American Lawyer named Mr.
          16       Boutrous the 2019 “Litigator of the Year, Grand Prize Winner.” He has also been
          17       recognized by The National Law Journal, including as early as 2013, as one of the “100
          18       Most Influential Lawyers in America.”
          19             36.     Ms. Cynthia Richman is a member of GDC’s Litigation and Antitrust
          20       practice groups. She has experience handling a wide variety of antitrust matters in a
          21       broad range of industries, such as microprocessors and other high-technology products,
          22       airlines, retail food services, pharmaceuticals, chemicals, defense, travel, and music.
          23       Ms. Richman has been repeatedly recognized by her peers for inclusion in Best Lawyers
          24       in America© in the field of Litigation: Antitrust, and U.S. Legal 500 has identified her
          25       as a “Leading Lawyer” in the areas of merger control, cartels, and civil litigation/class
          26       action defense. In 2023, she was recognized by Lawdragon as one of its “Leading
          27
          28       4
                    For some of the timekeepers who have left the firm, their firm profiles are no longer
                   available.
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               1   Litigators in America.”
               2         37.    Mr. Richard Parker is a member of GDC’s Antitrust group. He has
               3   extensive experience representing clients before enforcement agencies and courts,
               4   including for merger clearance cases, cartel matters, class actions, and government civil
               5   investigations. Mr. Parker was recognized by Benchmark Litigation as “East Coast
               6   Antitrust Litigator of the Year” in 2021 and among the “Top 100 Trial Lawyers in
               7   America” in 2022. Who’s Who Legal has named Mr. Parker to their “Thought Leaders:
               8   Global Elite” list for Competition every year since 2018.
               9         38.    Mr. Amir Tayrani is a member of GDC’s Appellate and Constitutional Law
          10       practice group and the Administrative Law and Regulatory practice group. He has
          11       significant experience representing clients before the U.S. Supreme Court and other
          12       federal and state appellate courts across the country. In 2023, Best Lawyers in America®
          13       recognized Mr. Tayrani for his appellate practice. He has also been recognized twice as
          14       an Appellate Rising Star by Law360.
          15             39.    Mr. Thomas Hungar is a member of GDC’s Appellate group. He has
          16       extensive experience representing clients in appellate litigation, congressional
          17       investigations, and complex trial court litigation. Most recently, Mr. Hungar was
          18       recognized in the 2023 publication of Best Lawyers in America® for his appellate
          19       practice.
          20             40.    Mr. Bradley Hamburger is a member of GDC’s Appellate, Class Actions,
          21       and Labor & Employment practice groups. He has experience representing clients in
          22       class actions and appeals across several areas of law, including antitrust, employment,
          23       consumer fraud, and administrative law. In 2022, Law360 recognized Mr. Hamburger
          24       as a Rising Star in the Class Action category. The Daily Journal named Mr. Hamburger
          25       as one of the top 40 lawyers in California under 40 in 2021.
          26             41.    Mr. Michael Neumeister is a member of GDC’s Business Restructuring &
          27       Reorganization Group and Corporate Department. He has a broad range of experience
          28       litigating bankruptcy and other distressed debt issues. Mr. Neumeister was recognized

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               1   by The Best Lawyers in America® in the area of Bankruptcy and Creditor Debtor
               2   Rights/Insolvency and Reorganization Law in 2023. He has also been named a “Rising
               3   Star” in the field of Bankruptcy & Creditor/Debtor Rights by Super Lawyers Magazine
               4   since 2013.
               5         42.     Mr. Jeffrey Krause is a member of GDC’s Business Restructuring and
               6   Reorganization practice group. He has a broad corporate restructuring practice and has
               7   handled significant debtor and creditor representations, including in chapter 11 cases.
               8   Mr. Krause was recognized as a Band 1 lawyer in Chambers USA: America’s Leading
               9   Lawyers for Business in 2021 and 2022. He has also been recognized by Best Lawyers
          10       in America® in the area of Bankruptcy and Creditor Debtor Rights/Insolvency and
          11       Reorganization Law for more than a decade.
          12             43.     Several associates provided assistance to the partners on various aspects of
          13       the litigation, including drafting briefs and other work product, conducting legal
          14       research, and developing the factual record.
          15             44.     Mr. Gregory Bok was a member of GDC’s Antitrust and Appellate and
          16       Constitutional Law and Class Actions practice groups. Mr. Bok has represented clients
          17       in complex antitrust, securities, and employment class actions in both trial courts and on
          18       appeal. Mr. Bok graduated from the University of California, Berkeley, School of Law
          19       in 2013. Mr. Bok has since left the firm.
          20             45.     Ms. Minae Yu and Mr. Julian Kleinbrodt are members of GDC’s Litigation
          21       and Antitrust practice groups. They have successfully represented clients in antitrust
          22       and civil litigation across several industries. Recently, they secured a complete defense
          23       verdict in In re Korean Ramen Antitrust Litigation, Case No. 13-cv-04115 (N.D. Cal.),
          24       a complex, bet-the-company case that was litigated over five years. The Daily Journal
          25       selected this case as one of its Top Verdicts of 2018, and Global Competition Review
          26       nominated the matter for its 2019 Global Competition Review Awards in the Litigation
          27       of the Year–Cartel Defense category. Ms. Yu graduated from Georgetown University
          28       Law Center in 2009 and Mr. Kleinbrodt from University of Michigan School of Law in

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               1   2014.
               2           46.   Mr. Samuel Eckman is a member of GDC’s Appellate and Constitutional
               3   Law practice group. Before joining the firm, Mr. Eckman served as a law clerk to the
               4   Honorable Antonin Scalia, Associate Justice of the U.S. Supreme Court, and he was
               5   recently recognized in The Best Lawyers in America® 2022 and 2023 “Ones to Watch”
               6   in Appellate Practice. Mr. Eckman graduated from the University of Chicago Law
               7   School in 2013.
               8           47.   Ms. Lindsay See was a member of GDC’s Litigation department. Ms. See
               9   has experience in a range of appellate matters in both federal and state courts, including
          10       at the United States Supreme Court, across a spectrum of issues including constitutional
          11       and antitrust litigation, administrative law, and intellectual property law. Ms. See
          12       graduated from Harvard Law School in 2011. Ms. See has since left the firm.
          13               48.   Mr. Sean Cooksey was a member of GDC’s Appellate and Constitutional
          14       Law practice group. Mr. Cooksey represented clients on litigation and appellate matters
          15       in a wide range of areas, such as antitrust and constitutional law, class actions, and RICO.
          16       Mr. Cooksey graduated with High Honors from the University of Chicago Law School
          17       in 2014, where he was a Kirkland & Ellis Scholar and was elected to the Order of the
          18       Coif. Mr. Cooksey has since left the firm.
          19               49.   Mr. Andrew Davis was a member of GDC’s Appellate and Constitutional
          20       Law practice group. He graduated from Columbia Law School in 2012. Mr. Davis has
          21       since left the firm.
          22               50.   Mr. Benjamin Cassady was a member of GDC’s Appellate and
          23       Constitutional Law practice group. He graduated from Yale Law School in 2013. Mr.
          24       Cassady has since left the firm.
          25               51.   Mr. Ryan Azad is a member of GDC’s Appellate and Constitutional Law
          26       practice group. He graduated from UCLA School of Law in 2017.
          27               52.   Ms. Sarah Akhtar is a member of GDC’s Antitrust, Litigation, and
          28       Appellate practice groups. She graduated from Georgetown University Law Center in

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               1   2017.
               2           53.   Mr. Michael Farag is a member of GDC’s Business Restructuring and
               3   Reorganization practice group. He graduated from UCLA School of Law in 2016.
               4           54.   Mr. Andrew Brown is a member of GDC’s Litigation and Appellate
               5   practice groups. He graduated from UCLA School of Law in 2016.
               6           55.   Ms. Viola Li is a member of GDC’s Litigation department. She graduated
               7   from Stanford Law School in 2019.
               8           56.   Mr. Nathaniel Tisa is a member of GDC’s Litigation and Appellate practice
               9   groups. He graduated from New York University School of Law in 2019.
          10               57.   Ms. Jean-Ann Tabbaa was a member of GDC’s Litigation department. She
          11       graduated from Georgetown University Law Center in 2019. Ms. Tabbaa has since left
          12       the firm.
          13               58.   Ms. Shinhae Oh is a member of GDC’s Litigation department.            She
          14       graduated from University of California, Irvine, School of Law, in 2022.
          15               59.   Ms. Rani Biswas is a contract attorney. She graduated from the University
          16       of North Carolina at Chapel Hill School of Law in 1994. Prior to working for GDC, Ms.
          17       Biswas was a partner at Myers Bigel Sibley & Sajovec law firm.
          18               60.   Mr. Samuel Roeder and Ms. Eugenia Varela are paralegals. Mr. Roeder is
          19       an appellate paralegal who joined the firm in 2018. Ms. Varela is a senior paralegal who
          20       joined the firm in 2010.
          21               61.   Attached hereto as Exhibit 8 is a true and correct copy of the 2022 Real
          22       Rate Report published by Wolters Kluwer ELM Solutions.
          23               62.   Attached hereto as Exhibit 9 is a true and correct copy of the 2021 Real
          24       Rate Report published by Wolters Kluwer ELM Solutions.
          25               63.   Attached hereto as Exhibit 10 is a true and correct copy of the 2020 Real
          26       Rate Report published by Wolters Kluwer ELM Solutions.
          27               64.   Wolters Kluwer ELM Solutions did not publish a report for 2019.
          28               65.   Attached hereto as Exhibit 11 is a true and correct copy of the 2018 Real

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               1   Rate Report published by Wolters Kluwer ELM Solutions.
               2           66.    Attached hereto as Exhibit 12 is a true and correct copy of the 2017 Real
               3   Rate Report published by Wolters Kluwer ELM Solutions.
               4           67.    Attached hereto as Exhibit 13 is a true and correct copy of the 2016 Real
               5   Rate Report published by Wolters Kluwer ELM Solutions.
               6   C.      Lodestar Calculation
               7           68.    Exhibit 14 contains the Lodestar calculation for the claimed hours and rates
               8   that were previously submitted to the Court.5 See Dkt. 605-4. As discussed above,
               9   Swisher seeks attorney’s fees reflected in Exhibit 12 for the previously submitted hours
          10       less the reductions the Court previously applied. Exhibit 15 contains the Lodestar
          11       calculation for hours that Swisher did not previously claim.
          12               69.    For both Exhibit 14 and Exhibit 15, the “Hours” column lists the claimed
          13       hours per year by each timekeeper computed as described above. The “Rate” column
          14       lists each timekeeper’s standard rates. Consistent with the Lodestar Approach, Swisher
          15       multiplied the claimed hours by the claimed rates for each timekeeper by year. Swisher
          16       then added the total fees for each timekeeper for all years. The total attorney’s fees
          17       Swisher seeks for GDC timekeepers is $10,893,767.85, plus additional fees that Swisher
          18       may incur to prepare its reply brief in support of its motion for sanctions and supporting
          19       documents.
          20               70.    Of this amount, $239,395.50 were incurred in connection with work
          21       primarily or exclusively relating to TSI’s contract claims. For all other work performed
          22       by GDC—including tasks relating to TSI’s antitrust and state-law claims and TSI’s
          23       misconduct—Swisher incurred $10,654,372.35 in attorney’s fees.
          24       D.      Disbursements
          25               71.    Swisher also seeks $3,648,521.26 in costs and expenses incurred in
          26
          27       5
                       Exhibit 12 does not include the “fees on fees” that were submitted in Swisher’s Re-
                       ply. The Lodestar computation for fees on fees was set forth in the Declaration of
          28           Minae Yu in Support of Swisher’s Reply in Support of Its Motion for Attorney’s
                       Fees and Cost. Dkt. 617-1 ¶ 14.
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               1   connection with this case. This figure includes costs that the Court determined were
               2   reasonable, Dkt. 622 at 13, and additional costs that Swisher did not previously seek.
               3         72.    Swisher previously claimed $2,569,302.62 in costs. From this amount,
               4   Swisher agreed to reduce $61,772.49, see Dkt. 616-3, and the Court deducted $1,296.18,
               5   resulting in total cost award of $2,506,233.95. Swisher does not seek to challenge these
               6   previously applied reductions. Swisher, however, seeks to be compensated fully for the
               7   services of Dr. Alan J. Cox, who provided services to Swisher during trial and in
               8   preparation for Swisher’s Rule 60 motion. Swisher previously sought only 50% of Dr.
               9   Cox’s charges because he was primarily an economist opining on antitrust issues and
          10       TSI’s damages claims during trial. Swisher now seeks to be compensated 100% for the
          11       services Dr. Cox rendered. An itemized schedule of the previously submitted costs,
          12       which includes Dr. Cox’s invoices, is attached hereto as Exhibit 16. This document was
          13       filed with Swisher’s Motion for Attorney’s Fees. Dkt. 606-11.
          14             73.    Swisher also seeks $1,142,227.31 in costs that were not previously claimed,
          15       including costs related to services rendered by Dr. John Lacey in connection with
          16       Swisher’s efforts to enforce its attorney’s fee award. An itemized schedule of the costs
          17       that Swisher did not previously claim is attached hereto as Exhibit 17. Below is a table
          18       summarizing the categories of expenses for which Swisher seeks recovery:
          19
          20                     Category               Awarded Costs               New Costs
          21                     Mediation                 $3,441.23                    N/A
          22               Copying & Printing              $40,064.11               $16,866.60
          23               Courier & Delivery              $2,082.43                 $1,752.55
          24               Library & Database             $206,225.80               $311,897.48
          25                   Process Server              $24,828.71                $9,586.54
          26                    e-Discovery               $208,381.35               $195,288.40
          27                Document Review               $106,702.90                   N/A
          28              Experts & Consultants          $1,690,814.90              $579,492.35

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               1
                                  Trial Consultant          $143,480.28                     N/A
               2
                                    Filing Fees               $2,246.50                   $1,285.16
               3
                                 Deposition Costs            $45,672.65                $25,203.30
               4
                           Hearing Transcript Costs          $13,932.03                   $342.60
               5
                                 Travel & Expenses           $18,421.066                  $512.33
               6
                                     Subtotal              $2,506,293.95             $1,142,227.31
               7
                                     TOTAL                             $3,648,521.26
               8
               9
                            I declare under penalty of perjury under the laws of the United States of America
          10
                   that the foregoing is true and correct. Executed this 6th day of February, 2023, in Los
          11
                   Angeles, California.
          12
          13
                                                            By:              /s/ Daniel G. Swanson
          14
                                                                               Daniel G. Swanson
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          16       106109732.3


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                       This figure reflects the amount the Court previously disallowed.
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                    EXHIBIT 1
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    Daniel G. Swanson



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                           dswanson@gibsondunn.com


    Daniel G. Swanson is a partner in Gibson, Dunn & Crutcher LLP, with offices in Los Angeles and Brussels. Mr.
    Swanson, who co-chaired Gibson Dunn’s Antitrust and Competition Practice Group for 25 years, is a trial
    and appellate lawyer. His practice focuses on antitrust and competition law, including trial and appellate
    litigation, class actions, grand jury and civil investigations, merger review, regulatory and competition policy
    matters, and antitrust counseling. He was Co-Chair of the International Bar Association’s Antitrust Section
    from 2020-23, the world’s largest organization of international antitrust practitioners. In addition to
    antitrust matters, Mr. Swanson has handled a wide variety of commercial litigation disputes.

    Mr. Swanson graduated magna cum laude from Harvard Law School and holds a Ph.D. in economics from
    Harvard University, where he was a Harvard Teaching Fellow. He is a member of the California and
    Brussels Bars, and is qualified as a solicitor of England and Wales and the Republic of Ireland. He is
    admitted to practice before the U.S. Supreme Court, the Federal Circuit and the Second, Third, Fourth,
    Fifth, Sixth, Ninth and Tenth Circuits. He is also a member of the American Economic Association.

    Chambers USA gives Mr. Swanson a “Band 1” ranking and reports that he “has a vast amount of antitrust
    expertise covering everything from merger investigations to civil and criminal litigation” and describes him
    as “a highly regarded trial lawyer with a wealth of experience” and as “a ‘tough opponent’ in civil and
    criminal litigation, alleged cartel matters and IP-related issues.” Law360 has named Mr. Swanson an MVP,
    which features attorneys who have “distinguished themselves from their peers in high-stakes litigation,
    record- breaking deals and complex global matters.” Who’s Who Legal ranks him as a “Thought Leader”
    and comments that “Daniel Swanson is a leading competition litigator whose ‘economics PhD is part of
    what makes him an outstanding attorney,’” and who “scores very highly for his ‘tenacious and persuasive’
    litigation practice across a wide range of competition matters.” The Legal 500 places him in its “Hall of
    Fame” for U.S. antitrust and class action litigation. Benchmark Litigation ranks Mr. Swanson as an Antitrust
    “National Star,” a California “Litigation Star” and as California Antitrust Attorney of the Year for
    2020. Expert Guide’s Best of the Best USA – 2022 lists him as one of 30 top antitrust practitioners in the
    country. He has repeatedly been recognized by Best Lawyers in America since 2006 and has been named
    the “Lawyer of the Year” for Antitrust in Los Angeles in each year from 2020-23. Daily Journal named Mr.
    Swanson to its Top Antitrust Lawyer Lists featuring California’s top Antitrust lawyers in 2021-2022. In 2022,
    he was listed in the inaugural guide Lawdragon’s 500 Leading Litigators in America.
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    Mr. Swanson has litigated dozens of Sherman Act Section 2 monopolization and dominance cases—
    including so-called “bet the company” cases—based on a wide range of alleged conduct (e.g., exclusive
    dealing, refusals to deal, tying, bundling), including defeating the landmark predatory pricing case brought
    by the Department of Justice, United States v. AMR Corp., 140 F. Supp. 2d 1141 (D. Kan. 2001), aff’d, 335
    F.3d 1109 (10th Cir. 2003). For many years, he has given the annual lecture on monopoly law for the
    Practicing Law Institute’s Annual Developments in Antitrust Law program.

    Mr. Swanson’s practice has a strong focus on the tech sector, network industries, digital platforms, and
    media and entertainment businesses. He regularly handles antitrust matters involving patents, copyrights
    and other intellectual property rights and was asked to testify about standard setting in the DOJ-FTC Joint
    Hearings regarding Competition and Intellectual Property Law and Policy.

    Mr. Swanson is a regular speaker on antitrust and competition topics and contributes to leading antitrust
    journals and treatises. He is the author (with Prof. William J. Baumol) of Reasonable and Nondiscriminatory
    (RAND) Royalties, Standards Selection, and Control of Market Power, 73 Antitrust L.J. 1 (2005) and The New
    Economy and Ubiquitous Competitive Price Discrimination: Identifying Defensible Criteria of Market Power,
    70 Antitrust L.J. 661 (2003), on which the U.S. Supreme Court relied in Illinois Tool Works v. Independent
    Ink, 547 U.S. 28 (2006).

    Mr. Swanson frequently represents clients in connection with price-fixing allegations, and has handled
    more than 25 international cartel investigations. He has extensive experience in litigating civil claims based
    on alleged conspiracy, including price fixing, group boycott, and market allocation claims, and he has
    defended scores of class action lawsuits asserting such claims (e.g., involving e-books, industrial chemicals,
    air cargo, financial instruments, food, automotive coatings, polyurethane foam, air travel, gasoline refining,
    cable and broadcast television).

    Mr. Swanson also counsels clients on mergers, acquisitions and joint ventures, and handles merger-
    clearance matters before the FTC, DOJ, and European Commission, and represents clients in
    merger-related civil litigation.

    Mr. Swanson regularly draws upon his experience as a UK solicitor and member of the Brussels Bar in
    handling international antitrust matters. He has served as a Non-Governmental Advisor (NGA) to the
    International Competition Network (ICN) and has participated in multiple ICN Annual Meetings. He
    previously served as Co-Chair of the ABA Antitrust Section’s International Committee (2002-06) and as
    Editor-in-Chief of the Antitrust Section’s First Supplement to Competition Laws Outside the United States
    (2005). He has taught antitrust law at the LSIW Program of the Executive School of Management,
    Technology and Law of the University of St. Gallen, Switzerland.

    Mr. Swanson’s major representations include the following:

    •   Lead counsel for Panasonic Corp. in In re Inductors Antitrust Litigation, (N.D. Cal. 2022), obtaining
        dismissal of antitrust claims for alleged price fixing against putative class and opt-out plaintiffs;

    •   Lead counsel for major technology company in antitrust action in federal court (D. Del. 2021),
        obtaining dismissal of antitrust claims alleging monopolization and tying and affirmance on appeal by
        the Federal Circuit;
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    •   Co-lead counsel for Apple in Epic Games v. Apple Inc., (N.D. Cal. 2021), winning judgment for Apple on
        all antitrust claims for monopolization and restraint of trade after a bench trial;

    •   Lead counsel for MGM and United Artists Corporation in connection with the successful termination of
        the Paramount Decrees, which had “regulated aspects of the movie industry for the last seventy
        years.” United States v. Paramount, 2020 WL 4573069 (S.D.N.Y. 2020);

    •   Lead counsel for Nasdaq in a bench trial before the Chief Administrative Law Judge of the Securities
        and Exchange Commission in In the Matter of the Application of Securities Industry and Financial
        Markets Association, resulting in the rejection of all challenges to the alleged “monopoly” pricing of
        Nasdaq’s depth-of-book market data, and, on appeal, the overturning of the SEC’s reversal of the ALJ’s
        decision, see Nasdaq v. SEC, 961 F. 3d 421 (D.C. Cir. 2020);

    •   Lead counsel for Swisher International in Trendsettah USA, Inc. v. Swisher International, Inc., 31
        F.4th 1124 (9th Cir. 2022), winning order setting aside jury verdict on Section 2 monopolization
        claim based on plaintiffs’ fraud;

    •   Lead antitrust counsel for defendant contract manufacturers in Qualcomm Inc. v. Compal Electronics,
        Inc., 283 F. Supp. 3d 905 (S.D. Cal. 2017), winning denial of Qualcomm’s preliminary injunction motion
        seeking billions of dollars in royalties where court held that defendants had asserted “a number of
        valid defenses and counterclaims” intended to “prevent Qualcomm from continuing to profit from [its]
        allegedly illegal business model and from continuing to inflict anticompetitive harm”;

    •   Lead counsel for NBCUniversal in In re National Football Leagues Sunday Ticket Antitrust
        Litigation (C.D. Cal 2016), obtaining voluntary dismissal of NBCU from antitrust class action against NFL
        teams, DirecTV, and various networks alleging agreement to eliminate competition in broadcasting and
        sale of live telecasts of professional football games;

    •   Lead counsel for UBS in the European Commission’s Credit Default Swap (CDS) investigation, in which
        the Commission in December 2015—subsequent to the presentation of UBS’s defense during a 6-day
        Oral Hearing—dropped its Statement of Objections and withdrew allegations that UBS and other banks
        infringed Article 101 TFEU by conspiring to prevent CDS exchange trading;

    •   Lead counsel for Time Warner Cable in Fischer v. Time Warner Cable, 234 Cal. App. 4th 784 (2015),
        obtaining dismissal, affirmed on appeal, of a class action complaint seeking over $6 billion in restitution
        for alleged unfair competition alleging that Time Warner Cable denied subscribers the opportunity to
        opt out of new Los Angeles Dodgers and Los Angeles Lakers sports channels;

    •   Lead counsel for AkzoNobel subsidiary International Paint in MYD Marine Distributor, Inc. v.
        International Paint Ltd. (Florida 2014), obtaining summary judgment, subsequently affirmed on appeal,
        and a multi-million-dollar award of attorney’s fees to be paid by plaintiffs in an antitrust case brought
        by terminated distributors of yacht paint for an alleged vertical price-fixing conspiracy;

    •   Lead counsel for Riverside Seat Company, Woodbridge Foam Fabricating, Inc. and SW Foam LLC
        in United States v. Riverside Seat Company (E.D.N.Y. 2014), resolving criminal charges and obtaining a
        substantial downward sentencing departure for cooperation in polyurethane foam price fixing
        investigation;
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    •   Lead counsel for Cox Communications in Brantley v. NBC Universal, 675 F.3d 1192 (9th Cir. 2012),
        obtaining dismissal of antitrust claims brought by a putative class of over 90 million cable and satellite
        television subscribers challenging vertical distribution agreements requiring the bundled sale of
        television programming;

    •   Lead counsel for Occidental Petroleum Corporation in Massbaum v. SCS Energy (C.D. Cal. 2012),
        obtaining voluntary dismissal with prejudice after moving to dismiss all antitrust and fraud claims
        purportedly arising out of defendants’ alleged “monopoly” of “Big Coal” industry;

    •   Lead counsel for Dole Food in In re Fresh and Process Potatoes Antitrust Litigation (D. Idaho 2011),
        winning dismissal of an antitrust nationwide class action asserting direct and vicarious liability for
        alleged conspiracy to restrict the supply and raise the price of potatoes;

    •   Lead counsel for DreamWorks in DOJ “employee hiring practices” antitrust investigation, obtaining a
        no-charge disposition;

    •   Lead counsel for Flexsys N.V. in numerous cases including Korea Kumho Petrochemical Co. v.
        Flexsys 2010 Trade Cas. ¶76,930 (CCH) (9th Cir. 2010), obtaining the dismissal, affirmed on appeal, of
        an antitrust case brought by a competitor alleging a group boycott and “sham” patent litigation; and a
        series of “indirect purchaser” price-fixing class action lawsuits in over 20 states, obtaining denial of
        class certification of an alleged class of millions of California consumers and dismissals of 16 other
        cases prior to class certification;

    •   Lead counsel for Sony Pictures Entertainment Inc. in RealNetworks v. DVD Copy Control
        Ass’n and Universal City Studios Productions LLLP v. RealNetworks (N.D. Cal 2010), obtaining dismissal
        of “group boycott” antitrust claims challenging licensing arrangements protecting DVDs from unlawful
        copying;

    •   Lead counsel for AkzoNobel in In re Hydrogen Peroxide Antitrust Litigation, 552 F.3d 305 (3d Cir. 2009),
        obtaining advantageous settlement of price fixing claims and highly favorable appellate decision
        imposing exacting requirements for certifying price fixing class actions;

    •   Lead counsel for Pfizer in RxUSA Wholesale v. Alcon Laboratories, 2010-1 Trade Cas. ¶77,083 (CCH)
        (E.D.N.Y. 2009) in which Pfizer’s motion on behalf of more than a dozen major drug manufacturers was
        granted resulting in the dismissal of Section 1 and 2 refusal-to-deal claims by plaintiff secondary
        wholesaler;

    •   Lead antitrust counsel for Vivendi in connection with Vivendi’s agreement with GE to sell its 20 percent
        stake in NBC Universal for $5.8 billion;

    •   Lead counsel for Martinair Holland N.V. (a subsidiary of KLM) in United States v. Martinair (D.D.C.
        2008), resolving criminal charges and obtaining a substantial downward sentencing departure for
        cooperation in air cargo price fixing investigation;

    •   Lead appellate counsel for McDonald’s in Abbouds’ McDonald’s LLC v. McDonald’s Corporation, 2006-2
        Trade Cas. ¶75,324 (CCH) (9th Cir. 2006), winning affirmance of summary judgment dismissal of “bid
        rigging” claims under Section 1 of the Sherman Act;
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    •   Lead counsel for Cox Communications in connection with DOJ and FTC review of the 2006 acquisition
        of CableAmerica Corporation;

    •   Lead counsel for the Motion Picture Association of America, the Recording Industry Association, the
        National Football League, the Business Software Alliance, the Independent Film & Television Alliance
        and other intellectual property holders as amicus curiae in the Supreme Court in Illinois Tool Works v.
        Independent Ink, 547 U.S. 28 (2006), successfully arguing that antitrust market power should not be
        presumed from ownership of a patent or copyright;

    •   Lead counsel for AkzoNobel in Latino Quimica-Amtex S.A. v. Akzo Nobel Chemicals B.V., 2005-2 Trade
        Cas. (CCH) ¶74,974 (S.D.N.Y. 2005) (appeal dismissed with prejudice), obtaining dismissal of
        extraterritorial price-fixing claims brought by foreign plaintiffs for lack of subject matter jurisdiction
        under the Foreign Trade Antitrust Improvements Act (FTAIA);

    •   Lead counsel for AkzoNobel in In re Automotive Refinishing Paint Litigation and a related DOJ grand
        jury investigation into the pricing of automotive refinishing paints, resulting in a favorable civil
        settlement and the closure of the DOJ investigation without charges;

    •   Lead counsel for Jostens in Pocino v. Jostens, obtaining the dismissal (affirmed on appeal) of a
        California state court consumer class action asserting unfair competition and false advertising claims in
        connection with the on-line sale of insignia merchandise;

    •   Lead appellate counsel for Jostens in Epicenter Recognition, Inc. v. Jostens, Inc., 2003-2 Trade Cas.
        ¶74,270 (CCH) (9th Cir. 2003), obtaining a complete reversal of a judgment of monopolization in
        violation of Section 2 of the Sherman Act;

    •   Lead counsel for AkzoNobel in Coatings Resource v. Akzo Nobel, 2003-1 Trade Cas. (CCH) ¶73,983 (9th
        Cir. 2003), obtaining summary judgment (affirmed on appeal) in an alleged predatory pricing case;

    •   Co-counsel for American Airlines in United States v. AMR Corp., 140 F. Supp. 2d 1141 (D. Kan.
        2001), aff’d, 335 F.3d 1109 (10th Cir. 2003), in which American obtained summary judgment in an
        alleged monopolization and predatory pricing case brought by the U.S. Department of Justice;

    •   Co-counsel for Toyota at trial and lead counsel on appeal of an antitrust and tort case over Lexus
        distribution and export policies culminating in a jury verdict for Toyota and a landmark decision of the
        California Supreme Court modernizing the state’s law of tortious interference, Della Penna v. Toyota,
        11 Cal. 4th 376 (1995);

    •   Lead counsel for National Cable Advertising in Thompson Everett v. National Cable Advertising, 57 F.3d
        1317 (4th Cir. 1995), obtaining summary judgment on Section 1 and Section 2 exclusive dealing claims;

    •   Co-counsel representing a major utility at trial and in summary judgment and appellate proceedings,
        all resolved successfully: Vernon v. Southern California Edison, 955 F.2d 1361 (9th Cir. 1992); Anaheim
        v. Southern California Edison, 955 F.2d 1373 (9th Cir. 1992); Anaheim v. FERC, 941 F.2d 1239 (D.C. Cir.
        1991).
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                    EXHIBIT 3
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                    EXHIBIT 4
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                                Claimed Hours

       Timekeepers          2019           2020            Total
       Antitrust Partners
       Dan Swanson          226.40         401.30          627.70
       Cindy Richman        148.40         213.20          361.60
       Antitrust Associates
       Minae Yu             681.00         1027.40         1708.40
       Julian Kleinbrodt 283.80            633.80          917.60
       Litigation Associates
       Samuel Eckman        9.00           59.00           68.00
       Viola Li             94.70          384.80          479.50
       JeanAnn Tabbaa       N/A            175.20          175.20
       Contract Attorney
       Rani Biswas          157.00         101.10          258.10
       Total                1600.30        2995.80         4596.10
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                    EXHIBIT 5
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Timekeepers                  2016      2017       2018      2019       2020      2021       2022      2023      Total
Antitrust Partners
Boutrous Jr., Theodore J.    62.60     10.30      4.40      13.20      3.40      45.80      83.10     10.70     233.50
Parker, Richard G.           N/A       N/A        N/A       N/A        N/A       5.60       N/A       N/A       5.60
Swanson, Daniel G.           541.30    190.70     145.70    213.70     24.30     55.70      118.50    69.70     1359.60
Krause, Jeffrey C.           N/A       N/A        N/A       2.00       4.60      0.80       N/A       N/A       7.40
Hungar, Thomas G.            N/A       N/A        N/A       75.50      N/A       N/A        N/A       N/A       75.50
Richman, Cynthia E.          431.80    222.10     122.60    89.10      4.50      N/A        14.00     6.50      890.60
Tayrani, Amir C.             N/A       N/A        N/A       N/A        N/A       N/A        102.20    37.20     139.40
Hamburger, Bradley J.        2.60      N/A        6.80      5.30       31.60     16.80      68.20     1.60      132.90
Neumeister, Michael S.       N/A       N/A        N/A       N/A        21.20     75.30      9.30      N/A       105.80
Antitrust Associate                                                                                             0.00
Yu, Minae                    N/A       N/A        N/A       N/A        96.50     542.10     328.90    87.10     1054.60
Eckman, Samuel E.            N/A       N/A        N/A       229.90     3.30      9.80       138.80    41.70     423.50
Kleinbrodt, Julian Wolfe     N/A       N/A        N/A       N/A        118.50    44.10      141.50    65.50     369.60
Brown, Andrew T.             N/A       57.60      54.20     N/A        N/A       N/A        N/A       N/A       111.80
Tisa, Nathaniel J.           N/A       N/A        N/A       N/A        N/A       N/A        N/A       58.80     58.80
Akhtar, Sarah                N/A       N/A        N/A       N/A        N/A       N/A        N/A       6.70      6.70
Azad, Ryan                   N/A       N/A        N/A       N/A        N/A       40.30      50.60     N/A       90.90
Farag, Michael G.            N/A       N/A        N/A       N/A        N/A       282.50     115.10    N/A       397.60
Li, Viola H.                 N/A       N/A        N/A       N/A        N/A       N/A        N/A       N/A       0.00
Oh, Shinhae                  N/A       N/A        N/A       N/A        N/A       N/A        42.40     N/A       42.40
Tabbaa, JeanAnn N.           N/A       N/A        N/A       N/A        21.10     7.70       N/A       N/A       28.80
See, Lindsay S.              227.10    N/A        N/A       N/A        N/A       N/A        N/A       N/A       227.10
Davis, Andrew B.             54.40     35.20      N/A       N/A        N/A       N/A        N/A       N/A       89.60
Bok, Gregory S.              359.10    178.60     133.40    N/A        N/A       N/A        N/A       N/A       671.10
Cassady, Benjamin J.         208.40    N/A        N/A       N/A        N/A       N/A        N/A       N/A       208.40
Cooksey, Sean J.             N/A       63.90      N/A       N/A        N/A       N/A        N/A       N/A       63.90
Paralegals                                                                                                      0.00
Roeder, Samuel A.                                           26.00                           23.30               49.30
Varela, Eugenia                                                                  31.40      41.10     1.30      73.80
Total                        216.40    244.80     244.80    628.70     329.00    1157.90    1277.00   2409.80   6918.20
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                    EXHIBIT 7
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                                 #:38108




    Theodore J. Boutrous, Jr.



                           333 South Grand Avenue,
                           Los Angeles, CA 90071-3197
                           Tel +1 213.229.7804
                           tboutrous@gibsondunn.com



    Theodore J. Boutrous, Jr. is a partner in the Los Angeles office of Gibson, Dunn & Crutcher LLP and a
    member of the firm’s Executive and Management Committees. He is a member of the American Law
    Institute and a Fellow of the American Academy of Appellate Lawyers.

    As The New York Times has noted, Mr. Boutrous has “a long history of pushing the courts and the public to
    see the bigger picture on heated issues.” The American Lawyer named Mr. Boutrous the 2019 “Litigator of
    the Year, Grand Prize Winner” and the Los Angeles and San Francisco Daily Journals in 2021 named him a
    “Top Lawyer of the Decade.” According to The National Law Journal, which in 2013 named him one of the
    “100 Most Influential Lawyers in America,” he “is known for his wise, strategic advice to clients in crisis and
    is a media law star.”

    Mr. Boutrous has represented clients in federal and state appellate courts throughout the nation in a wide
    spectrum of cases. He has argued hundreds of appeals, including before the Supreme Court of the United
    States, 12 different federal circuit courts of appeals, and 10 different state supreme courts (including 12
    arguments in the California Supreme Court), and he has led a multitude of other complex civil,
    constitutional and criminal matters. Mr. Boutrous has successfully persuaded courts to overturn some of
    the largest jury verdicts and class actions in history, and prevailed in many cutting-edge cases. In 2011, he
    successfully represented Walmart before the Supreme Court of the United States in the Dukes case, which
    unanimously reversed what had been the largest employment class action in history and established
    important standards governing class actions (Wal-Mart Stores, Inc. v. Dukes). In 2013, he successfully
    represented the prevailing party in obtaining a unanimous Supreme Court decision enforcing the Class
    Action Fairness Act (Standard Fire Insurance Co. v. Knowles). Also in 2013, Mr. Boutrous successfully
    represented plaintiffs in the Supreme Court in a case invalidating California’s prohibition on same-sex
    marriage, Proposition 8 (Hollingsworth v. Perry), in which he also served as one of the lead trial lawyers and
    architects of the legal strategy that led to this landmark victory. In 2018, Mr. Boutrous successfully
    represented CNN and its reporter Jim Acosta in bringing First Amendment and due process claims against
    then-President Donald Trump and other White House officials, forcing the White House to restore Mr.
    Acosta’s press credentials. “Litigators of the Week: Gibson Dunn’s Two Teds Score for the Free Press,” The
    AmLaw Litigation Daily (November 30, 2018). And in 2021, he secured a major victory for Hewlett-Packard
    Company when the California Court of Appeal affirmed a more than $3 billion verdict in HP’s long-running
    contract dispute with Oracle Corporation. “Litigators of the Week: Gibson Dunn Protects Its $3B Trial Win
    for HP Against Oracle on Appeal,” The AmLaw Litigation Daily (June 18, 2021).
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    As both a crisis management strategist and a seasoned appellate and media lawyer, Mr. Boutrous has
    extensive experience handling high-profile litigation, media relations and media legal issues. He routinely
    advises clients in planning how to respond, and in responding, to crises and other especially significant legal
    problems that attract the media spotlight.

    The Hugh M. Hefner Foundation awarded Mr. Boutrous with the First Amendment Award in 2019. He also
    received the 2021 Freedom of the Press Award from the Reporters Committee for Freedom of the Press
    and the Distinguished Leadership Award from PEN America in 2019 for his leadership in advancing First
    Amendment rights and protecting freedom of expression. As The Hollywood Reporter noted in naming him
    to its 2022 “Power Lawyers” list, “When issues of free speech are in play, Boutrous is the attorney on speed
    dial.” Hollywood’s Top 100 Attorneys (March 2022). Mr. Boutrous was also named a “First Amendment
    Rights Trailblazer” by The National Law Journal in 2020.

    Numerous profiles of Mr. Boutrous and his practice have appeared in the media. Prominent mentions
    include: “‘Mr. Boutrous, You Have 4 Minutes’: On Rebuttal With Ted Boutrous of Gibson Dunn,” The
    AmLaw Litigation Daily (August 25, 2022); “Litigator of the Week: How Gibson Dunn Helped Hit Print on
    Mary Trump’s Best-Seller,” The AmLaw Litigation Daily (July 17, 2020); “Litigation Department of the
    Year,” The American Lawyer (January 2020); “Litigator of the Week: Gibson Dunn’s Theodore Boutrous Jr.
    Scores Another Win for the Fourth Estate,” The AmLaw Litigation Daily (September 6, 2019); “Lawyer of
    the week: Theodore Boutrous Jr, attorney in White House press pass victory,” The Times of
    London (November 29, 2018); Ted Boutrous, CNN’s Champion, Is Fired Up,” Law.com (November 30, 2018);
    “Litigator of the Week: From Zero to Hero in Seven Days” The AmLaw Litigation Daily (April 27, 2017);
    “Litigator of the Week” The AmLaw Litigation Daily (September 8, 2016); “Practice Group Performs In
    Spotlight and Under Pressure,” Los Angeles and San Francisco Daily Journal (March 14, 2012); “Litigator of
    the Week,” The AmLaw Litigation Daily (June 23, 2011); “Lawyer of the Week,” The Times of London (June
    30, 2011); “Appellate Lawyer of the Week,” National Law Journal (March 23, 2011); “Litigation Department
    of the Year,” The American Lawyer (January 2016); “Litigation Department of the Year,” The American
    Lawyer (January 2012); “Litigation Department of the Year,” The American Lawyer (January 2010); and
    “He’s a Hired Gun of the Highest Caliber,” The Los Angeles Times (June 24, 2007).

    The Hollywood Reporter, featuring him in Power Lawyers 2021: Hollywood’s Top 100 Attorneys, declared
    that “Boutrous is there when an industry’s future rides on a big argument.” In 2022, the Los
    Angeles and San Francisco Daily Journal named Mr. Boutrous one of the “Top 100 Lawyers” in California for
    the 18th year in a row. He has been named a California “Litigation Star” in Benchmark Litigation, as well as
    a “National Practice Area Star.” Chambers USA ranks him as a leading lawyer in four different categories,
    describing him as “an absolute star,” with clients praising his skills as “an amazing orator” and his
    “incredible knack of picking the winning argument and his oral advocacy skills are peerless. He picks the
    right point in response to every question without even blinking.” The Legal 500 named Mr. Boutrous a
    “Leading Lawyer” for Supreme Court and appellate litigation, calling him a “renowned advocate” and “the
    preeminent authority on punitive damages defenses in the U.S.” In naming him to its list of the 500
    Leading Lawyers in America, Lawdragon called him “one of the best media and appellate attorneys in the
    nation.”

    Mr. Boutrous is a frequent commentator on legal issues. His articles include: Spare the ‘Dreamers’ a
    Nightmare by According Them Due Process,” The Wall Street Journal (May 2, 2017); “Poor Children Need a
    New Brown v. Board of Education,” The Wall Street Journal (August 28, 2016); “A First Amendment Blind
    Spot,” The Wall Street Journal (May 27, 2014); “California Kids Go to Court to Demand a Good
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    Education,” The Wall Street Journal (January 28, 2014); “A Radical Departure on Press Freedom,” The Wall
    Street Journal (May 23, 2013); “A Killer’s Notebook, a Reporter’s Rights,” The New York Times (April 9,
    2013); and “Broadcast ‘Indecency’ on Trial,” The Wall Street Journal (January 17, 2012).

    Mr. Boutrous is a member of the Advisory Board of the International Women’s Media Foundation and was
    named its 2015 Leadership Honoree. He serves on the Advisory Board of Reveal for the Center of
    Investigative Reporting and the Steering Committee of the Reporters Committee for Freedom of the Press.

    Mr. Boutrous received his law degree, summa cum laude, from the University of San Diego School of Law in
    1987, where he was Valedictorian and Editor-in-Chief of the San Diego Law Review.

    Mr. Boutrous is admitted to practice in California, New York, and the District of Columbia.
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    Cynthia Richman



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                           Washington, DC 20036-5306
                           Tel +1 202.955.8234
                           crichman@gibsondunn.com



    Cynthia (“Cindy”) Richman is a partner in the Washington, D.C. office of Gibson, Dunn & Crutcher. She
    practices in the firm’s Litigation Department and is a member of the firm’s Antitrust and Competition
    Practice Group.

    Who’s Who Legal recently named Ms. Richman a “Future Leader” in Competition, noting that she is known
    for her “impressive advocacy skills” and “strong track record in important cases.” Ms. Richman has been
    repeatedly recognized by her peers for inclusion in The Best Lawyers in America© in the field of Litigation:
    Antitrust and U.S. Legal 500 has identified her as a “Leading Lawyer” in the areas of merger control, cartels
    and civil litigation/class action defense. In 2019, she was recognized by Benchmark Litigation as a “Future
    Litigation Star” in Washington, D.C. She was also recognized in 2016 by Law360 as a “Rising Star” in the
    Competition category, and in 2014, Ms. Richman was named by The National Law Journal and Legal
    Times as one of DC’s Rising Stars. This award is given to 40-under-40 private, government and public
    interest advocacy attorneys who are leaders in law.

    Ms. Richman has experience handling a wide variety of antitrust matters in a broad range of industries,
    such as microprocessors and other high-technology products, airlines, retail food services,
    pharmaceuticals, chemicals, defense, travel, and music. Her practice includes defending companies before
    state and federal courts, including appellate courts, in matters alleging a range of antitrust-based claims,
    such as price-fixing, tying, bundling, and other single-firm conduct theories. In addition, over the past
    decade, Ms. Richman has been continuously involved in representing targets of international cartel and
    antitrust-related grand jury investigations by the DOJ and antitrust enforcers around the world.

    Ms. Richman has also represented clients in general litigation and appellate matters. She was part of the
    team that convinced the D.C. Circuit to vacate a rule promulgated by the Federal Communications
    Commission (FCC) that restricted the number of subscribers cable companies can serve (Comcast Corp. v.
    FCC, 579 F.3d 1 (D.C. Cir. 2009)) and also assisted with a successful challenge to an FCC Order finding that
    that a cable company violated the program carriage rules and discriminated against an unaffiliated video
    programming vendor (Comcast Cable Commc’ns, LLC v. FCC, 717 F.3d 982 (D.C. Cir. 2013)).

    Ms. Richman is an active member of the antitrust bar. Among other activities, she serves as the Vice-Chair
    of the International Committee of the ABA’s Antitrust Section, authors a yearly paper for PLI on
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    monopolization, speaks widely on a range of antitrust topics and contributes to leading antitrust journals
    and treatises including Antitrust Source, The Antitrust Adviser, and The Antitrust Report.

    Prior to joining the firm in 2003, Ms. Richman served as a law clerk to the Honorable Thomas Penfield
    Jackson of the U.S. District Court for the District of Columbia. She received her law degree magna cum
    laude in 2002 from the Georgetown University Law Center, where she was elected to the Order of the Coif
    and served as Executive Editor of the Georgetown Law Journal. Ms. Richman earned a Bachelor of Arts
    degree magna cum laude from St. Mary’s College of Maryland in 1998.

    Ms. Richman is admitted to practice in the District of Columbia and Maryland.
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    Richard G. Parker



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                           rparker@gibsondunn.com



    Richard Parker is a partner in the Washington, D.C. office of Gibson, Dunn & Crutcher and a member of the
    firm’s Antitrust and Competition Practice Group. Mr. Parker is a leading antitrust lawyer who has
    successfully represented clients before both enforcement agencies and the courts.

    As an experienced antitrust trial and regulatory lawyer, Mr. Parker has been involved in many major
    antitrust representations, including merger clearance cases, cartel matters, class actions, and government
    civil investigations. He has extensive experience representing clients in matters before the Federal Trade
    Commission (FTC) and the U.S. Department of Justice Antitrust Division. His experience in high-profile
    merger trials has earned him high honors, including being recognized by Chambers USA as a first-tier
    ranked “Leading Lawyer” in Antitrust, and included on Benchmark Litigation’s 2022 “Top 100 Trial Lawyers
    in America” list. In 2021, he was named East Coast Antitrust Litigator of the Year by Benchmark
    Litigation. Who’s Who Legal named Mr. Parker to their “Thought Leaders: Global Elite” list for Competition
    every year since 2018. He has been recognized by the Legal Times, Best Lawyers in America,
    Lawdragon, and by Super Lawyers Magazine as one of the “Top 100 Washington, DC Lawyers.” In
    2020, The Am Law Litigation Daily named him Litigator of the Week for successfully persuading a federal
    judge to approve the $26 billion T-Mobile and Sprint merger. In 2014, Mr. Parker was named by Global
    Competition Review as “Litigator of the Week” and as a finalist for “Lawyer of the Year” for his work as lead
    trial counsel to US Airways in its merger with American Airlines. According to GCR, the merger was named
    “Matter of the Year” “on account of the shrewd, pre-emptive lawyering required to out maneuver lawsuits
    from a host of antitrust enforcers.”

    From 1998 to 2001, Mr. Parker served as the Senior Deputy Director and then as Director of the Bureau of
    Competition at the FTC. He joined the firm from O’Melveny & Myers where he served as co-chair of the
    Antitrust and Competition Practice.

    Representative engagements include:

    •   Represented Tronox in resolving FTC challenges to its acquisition of National Titanium Dioxide

    •   Represented US Airways in the DOJ investigation and litigation that ultimately allowed the airline’s
        merger with American Airlines to become the largest airline in the world*
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    •   Represented Sysco in federal court defending the FTC challenge to its proposed merger with US
        Foods*

    •   Represented Triton Coal in successful defense of its merger with Arch Coal in a trial against the FTC in
        federal district court*

    •   Represented Mitchell Corporation in court in defense of FTC challenge to its merger with CCC
        Holdings*

    •   Represented Alaska Airlines in achieving DOJ approval of its merger with Virgin America

    •   Currently defending Smithfield Foods in an MDL proceeding alleging antitrust claims in the food
        industry

    •   Currently representing American Airlines in an MDL proceeding alleging antitrust claims in the airline
        industry

    •   Represented companies and individuals in criminal antitrust investigations in food, chemicals, air
        travel, consumer goods, and industrial products industries*

    •   Represented Honeywell International in MDL proceedings involving alleged price fixing in the auto
        parts industry*

    •   Represented Agrium in MDL proceedings involving alleged price fixing in the potash industry*

    •   Represented Asiana Airlines, Inc. in two MDL actions involving direct and indirect purchaser classes of
        air passengers and air cargo services*

    •   Represented DeGussa A.G. in class actions alleging price fixing in the carbon black and hydrogen
        peroxide industries*

    •   Represented Honeywell International in class actions involving alleged monopolization of the sale of
        certain thermostats and alleged price fixing of auto parts*

    •   Represented ExxonMobil in class actions involving alleged sharing of salary information*

    •   Represented Capital One in treble damage litigation involving the interchange fee*

    •   Represented Hertz in a class action litigation alleging price fixing in California*

    •   Represented eBay in class actions alleging monopolization and illegal tying*

    •   Represented United Airlines in antitrust class actions involving computer reservation systems*

    •   Represented Quest Diagnostics and Unilab in obtaining FTC approval of their merger*

    •   Represented Avant! in obtaining approval of its merger with Synopsys before the FTC*
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    •   Represented Univision in connection with DOJ review of its merger with Hispanic Broadcast
        Corporation*

    •   Represented Honeywell before the FTC in the sale of its friction materials business to Federal Mogul*

    •   Represented CIGNA in the Insurance Antitrust Litigation, involving a multiplicity of suits by state
        attorneys general and private plaintiffs alleging violation of the antitrust laws*

    •   Represented Lockheed Corporation in its merger with Martin Marietta, and in its acquisition of the
        Fort Worth Division of General Dynamics*

    •   Represented Fresenius A.G. in its acquisition of the dialysis business of National Medical Care, Inc.*

    Recent speaking engagements include:

    •   Panelist, “Is it Bad to Be Big? An Antitrust Update on Monopoly Law and Enforcement,” Gibson Dunn
        Webcast (May 2019)

    •   Panelist, “Up the Creek Without a Presumption,” American Bar Association, Antitrust Section Spring
        Meeting, Washington, D.C. (April 2019)

    •   Panelist, “Recent Trends In Antitrust Litigation,” American Bar Association, Antitrust Section, Webcast
        (February 2019)

    •   Moderator, “Views from the Federal Bench,” American Bar Association Fall Forum, Washington, D.C.
        (November 2018)

    •   Panelist, “Mergers: Defining and Litigating Relevant Markets,” American Bar Association Antitrust
        Section Spring Meeting, Washington, DC (April 2018)

    •   Panelist, “Recent Trends in Economic Analysis of Mergers as Presented in Litigation,” Hal White
        Antitrust Conference (June 2016)

    Mr. Parker received his J.D., Order of the Coif, from the UCLA School of Law, where he served as the
    Comment Editor of UCLA Law Review. He is admitted to practice in California and the District of Columbia.

    *Representation occurred prior to Mr. Parker’s association with Gibson Dunn.
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    Amir C. Tayrani



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    Amir C. Tayrani is a partner in Gibson, Dunn & Crutcher’s Washington, D.C. office. He practices in the firm’s
    Litigation Department and is a member of the Appellate and Constitutional Law Practice Group and the
    Administrative Law and Regulatory Practice Group.

    Mr. Tayrani has significant experience representing clients before the U.S. Supreme Court and other
    appellate courts. He has argued cases in federal and state appellate courts across the country, including in
    the U.S. Supreme Court.

    Mr. Tayrani has briefed twenty-one cases on the merits before the U.S. Supreme Court, including:

    •   Daimler AG v. Bauman, 571 U.S. 117 (2014): Opinion substantially restricting states’ authority to
        exercise general personal jurisdiction over corporations.

    •   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011): Decision decertifying the largest employment-
        discrimination class action in history.

    •   Citizens United v. FEC, 558 U.S. 310 (2010): Landmark campaign-finance ruling recognizing the First
        Amendment right of corporations to make expenditures in support of political candidates.

    •   Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009): Decision establishing that the Due Process
        Clause requires the recusal of elected judges who have received extraordinary levels of campaign
        support from litigants.

    •   Allison Engine Co. v. United States ex rel. Sanders, 553 U.S. 662 (2008): Case holding that the False
        Claims Act does not extend to alleged fraud against federally funded private parties.

    •   Riegel v. Medtronic, Inc., 552 U.S. 312 (2008): Case declaring that federal law preempts state-law
        products liability claims regarding FDA-approved medical devices.

    •   Leegin Creative Leather Products, Inc. v. PSKS, Inc., 551 U.S. 877 (2007): Decision overturning a ninety-
        six-year-old antitrust precedent prohibiting resale price maintenance agreements
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    Mr. Tayrani has been recognized twice as an Appellate Rising Star by Law360, which described Mr. Tayrani
    as “a major player in some of the nation’s recent, most high-profile lawsuits,” from the “Citizens United
    campaign finance case to the battle in California over Proposition 8.” Mr. Tayrani is listed in the Best
    Lawyers in America® 2023 publication in the category of Appellate Practice. In 2019, he was recognized
    by Benchmark Litigation as a “Future Litigation Star” in Washington, D.C.

    Mr. Tayrani also has an active administrative and regulatory practice. He regularly counsels clients in
    connection with matters pending before federal regulatory agencies—including the Financial Stability
    Oversight Council, the Securities and Exchange Commission, and the Environmental Protection Agency—
    and represents clients in litigation challenging agency action in the D.C. Circuit and other federal courts.

    In addition, Mr. Tayrani has extensive trial experience. He has defended clients against products liability
    claims in state and federal courts, and has been recognized twice as a “Products Liability Rising Star”
    by Law360. He was also part of the trial team that successfully challenged the constitutionality of
    Proposition 8, a California ballot initiative that prohibited marriage by individuals of the same sex.

    Mr. Tayrani graduated from the Yale Law School in 2003, where he was Executive Editor of The Yale Law
    Journal. He served as a judicial clerk to the Honorable Diarmuid F. O’Scannlain of the United States Court
    of Appeals for the Ninth Circuit. Mr. Tayrani earned a B.A. degree summa cum laude in Political Science
    from California State University, Fullerton. He is licensed to practice in California and the District of
    Columbia, and before the Supreme Court of the United States and the United States Courts of Appeals for
    the Second, Third, Fourth, Fifth, Sixth, Seventh, Ninth, Tenth, Eleventh, D.C., and Federal Circuits.
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    Thomas G. Hungar



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    Thomas G. Hungar is a partner in the Washington, D.C., office of Gibson, Dunn & Crutcher LLP. His practice
    focuses on appellate litigation, and he assists clients with congressional investigations and complex trial
    court litigation matters as well. He has presented oral argument before the Supreme Court of the United
    States in 26 cases, including some of the Court’s most important patent, antitrust, securities, and
    environmental law decisions, and he has also appeared before numerous lower federal and state courts.

    Mr. Hungar served as General Counsel to the U.S. House of Representatives from July 2016 until January
    2019, when he rejoined the firm. As General Counsel, he provided legal advice and litigation
    representation on a non-partisan basis to the House and its leadership, members, officers, and staff, and
    he worked closely with numerous House committees in connection with their oversight and investigative
    activities. Previously, he served as a Deputy Solicitor General of the United States. In that position, he
    supervised business-related appellate litigation for the federal government, with particular emphasis on
    patent, antitrust, securities, and environmental appellate cases, and he also oversaw appellate litigation in
    banking, bankruptcy, tax, government contracts, communications, copyright, labor, trademark, and
    international trade matters. In private practice, Mr. Hungar’s appellate experience has encompassed those
    areas as well as class actions, constitutional law, employment law, product liability, administrative
    procedure, insurance coverage and bad faith, and general commercial litigation. He has handled scores of
    business-related appeals in the Supreme Court and lower appellate courts, and has briefed and argued
    many high-profile matters.

    Representative cases in which he has presented oral argument include:

    •   Microsoft Corp. v. i4i Ltd. Partnership (standard of proof for challenges to patent validity).

    •   Stoneridge Investment Partners, LLC v. Scientific-Atlanta, Inc. (rejecting “scheme liability” as basis for
        imposing liability on secondary actors in securities fraud actions under SEC Rule 10b-5 and Section
        10(b) of the Securities Exchange Act of 1934).

    •   Leegin Creative Leather Prods., Inc. v. PSKS, Inc. (overruling Dr. Miles rule of per se invalidity for vertical
        minimum resale price maintenance agreements under Section 1 of the Sherman Act).

    •   KSR Int’l Co. v. Teleflex Inc. (clarifying standard for determining when an invention claimed in a patent
        is “obvious,” and therefore ineligible for patent protection, under Section 103(a) of the Patent Act).
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    •   Environmental Defense v. Duke Energy Corp. (Clean Air Act New Source Review case clarifying test for
        determining whether a “modification” to a pollutant-emitting source has occurred so as to require a
        permit under the Prevention of Significant Deterioration program).

    •   Illinois Tool Works, Inc. v. Independent Ink, Inc. (overturning longstanding presumption of market
        power that arose in tying cases under Section 1 of the Sherman Act when the defendant held a patent
        on the tying product).

    •   Quanta Computer, Inc. v. LG Electronics, Inc. (patent infringement action involving application of
        patent-exhaustion doctrine to method claims and to sales of components of patented systems).

    •   Dura Pharmaceuticals, Inc. v. Broudo (requiring securities fraud plaintiffs invoking the fraud-on-the-
        market theory to plead and prove loss causation by identifying a causal connection between the
        alleged fraud and the security’s subsequent decline in price).

    •   National Cable & Telecom. Ass’n v. Brand X Internet Servs. (upholding FCC’s determination that cable
        modem broadband Internet access service is solely an unregulated “information service” under the
        federal Communications Act and does not include a regulated “telecommunications service”
        component).

    Mr. Hungar is a Fellow of the American Academy of Appellate Lawyers and is a frequent lecturer in his
    areas of expertise. While at the Department of Justice, he served as Appellate Counsel to the Intellectual
    Property Task Force Executive Staff, and he was awarded the John Marshall Award for Outstanding Legal
    Achievement, the Department’s highest award presented to attorneys for contributions and excellence in
    legal performance, in recognition of his handling of patent-law matters before the Supreme Court. Most
    recently, Mr. Hungar was recognized in the 2023 publication of Best Lawyers for his Appellate Practice.

    Mr. Hungar served as an Assistant to the Solicitor General of the United States from 1992-1994. In that
    position he presented oral argument before the Court and handled numerous other appellate matters for
    the government. He also served as a law clerk to Justice Anthony M. Kennedy of the Supreme Court and to
    Circuit Judge Alex Kozinski of the United States Court of Appeals for the Ninth Circuit. He received his law
    degree from Yale Law School in 1987, where he was a Senior Editor of the Yale Law & Policy Review. He
    received his bachelor of science degree magna cum laude in mathematics/computer science and
    economics from Willamette University in 1984.
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    Bradley J. Hamburger



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    Bradley J. Hamburger is a litigation partner in the Los Angeles office of Gibson, Dunn & Crutcher. His
    practice focuses on class actions and complex litigation in both trial courts and on appeal. He is a member
    of the firm’s Class Actions, Appellate and Constitutional Law, and Labor and Employment practice groups.

    Mr. Hamburger has represented clients in class actions and appeals across many areas of law, including
    employment, insurance, antitrust, consumer fraud, products liability, legal malpractice, and administrative
    law. He has briefed dozens of appeals, including cases in the United States Supreme Court, the Ninth
    Circuit, and the California Supreme Court, and has argued before the Ninth Circuit and the California Court
    of Appeal.

    Mr. Hamburger has significant expertise in seeking interlocutory appellate review of class certification
    orders under Federal Rule of Civil Procedure 23(f), obtaining enforcement of arbitration agreements, and
    defending clients against representative actions under California’s Labor Code Private Attorneys General
    Act. Mr. Hamburger also regularly represents technology companies, and he has substantial experience
    litigating the application of Section 230 of the Communications Decency Act.

    In 2022, Law360 recognized Mr. Hamburger as a Rising Star in the Class Action category, and BTI Consulting
    Group included him on its Client Service All-Stars list. The Daily Journal named Mr. Hamburger as one of the
    top 40 lawyers in California under 40 in 2021. Mr. Hamburger also was part of the team that obtained one
    of the Daily Journal’s Top Appellate Reversals of 2021, Magadia v. Wal-Mart Associates, Inc., 999 F.3d 668
    (9th Cir. 2021).

    Recent Representative Matters Include:

    •   Obtained significant victory from the United States Supreme Court in action seeking over $20 billion in
        damages. Comcast Corp. v. Nat’l Ass’n of Afr. Am.-Owned Media, 140 S. Ct. 1009 (2020).

    •   Secured affirmance from the Ninth Circuit of the denial of class certification in an insurance class
        action. Lara v. First Nat’l Ins. Co. of Am., 25 F.4th 1134 (9th Cir. 2022).

    •   Defeated motion for class certification and then a complete victory at trial in an employment
        misclassification action. Ortiz v. Amazon.com LLC, 2022 WL 1598968 (N.D. Cal. 2022).
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    •   Successfully argued opposition to class certification motion in an employment class action. Mabanta v.
        Prime Now LLC, 2022 WL 1601415 (N.D. Cal. 2022).

    •   Secured a new trial in a dispute with a former motor vehicle franchisee after a jury had awarded $256
        million in damages, and affirmance of that ruling from the California Court of Appeal. Nissan Motor
        Acceptance Cases, 63 Cal. App. 5th 793 (2021).

    •   Obtained review from the Fourth Circuit of an order granting class certification in an antitrust class
        action, and then vacatur of the order. In re Zetia (Ezetimibe) Antitrust Litig., 7 F.4th 227 (4th Cir. 2021).

    •   Secured affirmance from the California Court of Appeal of dismissal of claims under Section 230 of the
        Communications Decency Act. Does #1-50 v. Salesforce.com, Inc., 2021 WL 6143093 (Cal. Ct. App.
        2021).

    •   Obtained review from the Ninth Circuit of an order granting class certification in an employment class
        action, and then reversal of the order. Mays v. Wal-Mart Stores, Inc., 804 F. App’x 641 (9th Cir. 2020).

    •   Secured affirmance from the California Court of Appeal of a summary judgment ruling in a complex
        business dispute. Monster, LLC v. Beats Elecs., LLC, 2020 WL 5014610 (Cal. Ct. App. 2020).

    Mr. Hamburger was a key member of both the trial and appeal teams in Chevron’s successful RICO action
    against a U.S. lawyer who was found to have fraudulently procured a multi-billion-dollar judgment against
    Chevron from an Ecuadorian court. After a seven-week bench trial in the Southern District of New York, the
    trial judge issued a 485-page decision in Chevron’s favor, the Second Circuit affirmed in full, and the
    Supreme Court denied certiorari. Chevron Corp. v. Donziger, 974 F. Supp. 2d 362 (S.D.N.Y. 2014), aff’d, 833
    F.3d 74 (2d Cir. 2016), cert. denied, 137 S. Ct. 2268 (2017).

    Mr. Hamburger’s publications include Article III Standing and Absent Class Members, 64 Emory L.J. 383
    (2015) (with Theane Evangelis), and Three Myths About Wal-Mart Stores, Inc. v. Dukes, 82 Geo. Wash. L.
    Rev. Arguendo 45 (2014) (with Theodore J. Boutrous, Jr.). He also co-authored two chapters in the Third
    Edition of the American Bar Association’s A Practitioner’s Guide to Class Actions (2021), including the
    chapter on interlocutory appeals. He also routinely speaks at conferences on class actions and employment
    law.

    Mr. Hamburger graduated cum laude from Harvard Law School in 2009. While at Harvard he served as co-
    Editor-in-Chief of the Harvard Journal of Law & Technology and was a member of the Board of Student
    Advisers. He graduated with honors from the University of California, Berkeley in 2004.

    Prior to joining the firm, Mr. Hamburger served as a law clerk to the Honorable James V. Selna in the
    United States District Court for the Central District of California.

    Mr. Hamburger is a member of the Board of Directors of the Friends of the Los Angeles County Law Library.
    Before entering law school, Mr. Hamburger taught middle school mathematics in New York City as a Teach
    for America corps member.
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    Michael Neumeister is a partner in the Los Angeles office of Gibson, Dunn & Crutcher. He is a member of
    the Business Restructuring & Reorganization Group and the Corporate Department.

    Mr. Neumeister has a wide array of experience in representing clients in bankruptcy and restructuring
    matters in many different industries. His representations have included representing debtors and lenders
    in in-court and out-of-court restructurings, and buyers in large and small bankruptcy sales. Mr. Neumeister
    also has a broad range of experience litigating bankruptcy and other distressed debt issues in bankruptcy
    court, state court, and in courts of appeal.

    Mr. Neumeister is currently a member of the Financial Lawyers Conference, the American Bankruptcy
    Institute, Turnaround Management Association, and the Los Angeles County Bar Association. Mr.
    Neumeister was recognized by The Best Lawyers in America® in the area of Bankruptcy and Creditor Debtor
    Rights / Insolvency and Reorganization Law in 2023. He has also been named a “Rising Star” in the field of
    Bankruptcy & Creditor/Debtor Rights by Super Lawyers Magazine since 2013.

    Mr. Neumeister received his Juris Doctor in 2010 from the University of Southern California Law School,
    where he graduated as a member of the Order of the Coif and served as a Senior Content Editor for
    the Southern California Law Review. While in law school, Mr. Neumeister also held a judicial externship
    with the Honorable Sandra S. Ikuta of the United States Court of Appeals for the Ninth Circuit. He received
    his Bachelor of Arts degree with honors in 2006 from the University of California, San Diego.

    Mr. Neumeister is admitted to practice in the State of California.
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    Jeffrey C. Krause is a partner in the Los Angeles office of Gibson, Dunn & Crutcher. He is a member of the
    firm’s Business Restructuring and Reorganization Practice Group. He has a broad corporate restructuring
    practice and has handled significant debtor and creditor representations, as well as representations of
    acquirers of assets from chapter 11 debtors, lessors and secured and unsecured creditors. He is a fellow of
    the American College of Bankruptcy. Mr. Krause was listed as an Outstanding Restructuring Lawyer by
    Turnarounds & Workouts in 2018 and was named Bankruptcy and Creditor Debtor Rights/Insolvency and
    Reorganization Lawyer of the Year 2017 for Los Angeles by Best Lawyers.

    Mr. Krause frequently advises boards and shareholders on fulfilling fiduciary duties and minimizing
    litigation risks when the companies they serve encounter financial distress. He also advises lenders in
    structuring transactions to minimize risks that are likely to arise when borrowers become financially
    distressed and parties seeking to acquire debt of troubled borrowers in order to drive the restructuring
    process or acquire assets of the borrower. Mr. Krause has represented defendants in preference actions,
    fraudulent transfer actions and large, complex commercial disputes, including lender liability claims. He
    has represented landlords in large complex chapter 11 cases and out-of-court restructuring
    transactions. He also has represented both debtors and creditors in chapter 9 municipal restructuring
    cases.

    Mr. Krause has represented secured lenders in chapter 11 cases and out-of-court restructuring
    transactions, including the mortgage holders in recent chapter 11 cases of the owners of the Fairmont San
    Jose and Bishop’s Lodge, as well as PDL BioPharma, Inc., Deutsche Bank, Kayne Saybrook, FINOVA Capital
    (after Berkadia acquired the right to manage FINOVA), Lend Lease, Beal Bank, Home Savings and Loan,
    Bank of Hawaii, CapitalSource, and the Colonial Williamsburg Foundation, as a secured creditor in the
    chapter 11 case of Carter’s Grove, LLC.

    Mr. Krause has represented debtors in chapter 11 cases and out-of-court restructuring transactions,
    including the following:

    •   Mac Acquisition, LLC, dba Romano’s Macaroni Grill, in chapter 11 in Delaware

    •   Daughters of Charity Health System in an out-of-court restructuring

    •   Standard Register Co., a printing and marketing company, in chapter 11 in Delaware
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    •   Real Mex Restaurants, as a reorganized debtor after it exited from chapter 11

    •   THQ Inc., a video game developer, in chapter 11 in Delaware

    •   Specific Media in its out-of-court restructuring and transfer of assets to Time, Inc.

    •   R.E. Loans, LLC, a real estate lender, in chapter 11 in Texas

    •   Pacific Monarch Resorts, Inc., a time share developer, in chapter 11 in California

    •   Falcon Products, a furniture manufacturer, in chapter 11 in Missouri

    •   Boston Chicken, dba Boston Markets, a restaurant chain, in chapter 11 in Arizona

    •   Lindquist & Craig Hotels, a hotel and resort owner/operator, in chapter 11 in California

    •   DeKalb Poultry Research, Inc., an egg producer, in chapter 11 in Illinois

    •   Watts Health Foundation, Inc., an HMO and clinic operator, in chapter 11 in California

    Mr. Krause has represented multiple ad hoc creditor groups and official committees, as well as key members
    of committees, including the following:

    •   Member of the ad hoc group of subrogation claimants in the chapter 11 case of Pacific Gas & Electric

    •   Ad hoc group of unsecured noteholders in the chapter 11 case of Briggs & Stratton

    •   Ad hoc group of first lien lenders in the chapter 11 case of NPC International, Inc.

    •   Member of the Official Creditors Committee in the chapter 11 case of Verity Health System

    •   Official Committee of Unsecured Creditors in the chapter 11 case of Azabu Buildings

    •   Official Equity Committee in the chapter 11 case of AMERCO

    •   Member of an unofficial committee of secured bondholders in the chapter 11 case Eastern Airlines

    Mr. Krause also has represented multiple investors in various chapter 11 cases, distressed acquisitions and
    out-of-court restructuring transactions, including the following:

    •   Monarch Alternative Capital as the acquirer of assets related to the Shopko chapter 11 cases

    •   Acquirer of Boston Markets in out-of-court distressed transaction

    •   Woodridge Capital in connection with proposals to acquire assets from chapter 11 debtors

    •   Aurora Capital in connection with potential distressed acquisitions
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    •   Stone Canyon Capital in assessing potential acquisitions from chapter 11 debtors

    •   Ranch Capital, LLC in multiple matters, including Seitel, Inc.’s chapter 11 case in Delaware and as the
        sponsor of a chapter 11 plan for Hawaiian Airlines, Inc.

    In 2021 and 2022, Mr. Krause was selected as a Band 1 lawyer in Chambers USA: America’s Leading
    Lawyers for Business. He was selected in the 2022 edition of the Lawdragon 500 Leading U.S. Bankruptcy &
    Restructuring Lawyers and has been recognized by The Best Lawyers in America® in the area of Bankruptcy
    and Creditor Debtor Rights/Insolvency and Reorganization Law for more than a decade, and by Who’s Who
    Legal Restructuring & Insolvency.

    Mr. Krause has served as an Adjunct Professor, University of Southern California School of Law, 1994-2000
    and 2002; Loyola School of Law, 1987 and 1988. He is a member of the Los Angeles County Bar Association
    (Former Member of Executive Committee of Section on Commercial Law and Bankruptcy and Past Chair of
    Pro Bono Debtor Assistance Project) and the American Bar Association (Member, Sections on Litigation and
    Business Law; Past Co-Chairman of Bankruptcy and Insolvency Committee of the Litigation Section); The
    State Bar of California (Former Member, UCC Committee, Business Law Section, 1987-1990; Former
    Member, Debtor-Creditor Committee, Business Law Section, 1992-1995); Los Angeles Bankruptcy Forum
    (Past President); California Bankruptcy Forum (Former Director); Financial Lawyers Conference (Former
    Board Member, 1999-2002). He served as President of the Turnaround Management Association,
    Southern California Chapter in 2017 and was Co-Chair of the 2017 Turnaround Management Association
    Western Regional Conference. He served as a member of the TMA Distressed Investing Conference
    Planning Committee during 2022 and was named as a Trustee of the TMA Global Leadership for 2022.

    Mr. Krause is the author of: “California Real Property Financing: Bankruptcy and Secured Real Property
    Transactions,” CEB, 1989 (Contributing Author); Steinberg, Bankruptcy Litigation, 1989 (Contributing
    Author); “Whose Lawyer Are You: Fiduciary Obligations of Debtor in Possession’s Counsel,” 31 Beverly Hill
    Bar Ass’n Journal, Vol. 2 (1997); “In a Class All Their Own,” Vol. 20, No. 5, Los Angeles Lawyers 42 (July-
    August 1997); “Appellate Practice Educational Materials for Federal Judicial Center Programs for New
    Bankruptcy Appellate Panel Judges,” (1996 and 1997); “The Bias of the Courts Against Single Asset Real
    Estate Cases is Creating Bad Law in the Area of Classification,” 22 Cal. Bankr. J. 45, 1994; “United States
    Trustee Guidelines Regarding Prepetition Retainers,” 18 Cal. Bankr. J. 135, 1990; “Treatment of Prepetition
    Retainers,” 17 Cal. Bankr. J. 153, 1989; “Foreclosure Sales Should Not Be Treated As Fraudulent Transfers,”
    1 ABA Bankr. Litigation Newsletter 7 (1993); “Non-Collusive Foreclosure Sales of Real Property Are Not
    Avoidable As Fraudulent Transfers,” 3 ABA Bankr. Litigation Newsletter 18 (1995); Consultant, Bernhardt,
    California Mortgage and Deed of Trust Practice (2d ed. 1989 CEB).

    Mr. Krause is a frequent speaker on restructuring topics. Mr. Krause has participated in the following
    educational programs: American Bankruptcy Institute Complex Financial Restructuring Program in 2019,
    2020 and 2022; UCLA School of Law School and Financial Lawyers Conference: Bankruptcy Nuts and Bolts
    all day seminar: Asset Sales under Bankruptcy Code section 363 and Executory Contracts under Bankruptcy
    Code section 365; USC Gould School of Law Real Estate Law and Business Forum: Real Estate Valuation in
    Workouts and Chapter 11 Bankruptcy Cases and Other Valuation Triggering Events; Los Angeles Bankruptcy
    Forum: Be WARNed: Risks of Liability for Insiders, Secured Lenders and Buyers for Unpaid Employment
    Related Claims; Turnaround Managers Association, Southern California Chapter: Distressed Valuations
    – “What is the Right Real Estate Valuation Approach and How to Plead Your Case!”; ; Turnaround
    Managers Association, Annual Western Regional Conference: Litigation of Valuation Issues for Operating
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    Businesses and Cramdown Interest Rates After Momentive; California Receiver’s Forum: Labor and
    Employment Issues for Receivers Administering Operating Business; American Bankruptcy Institute
    Battleground West: Healthcare Restructuring; and Los Angeles Bankruptcy Forum: Recent Developments
    Debate Program.

    Mr. Krause attended the University of California at Los Angeles, where he received his B.S. in Economics in
    1977, and his J.D. in 1980. Mr. Krause served on the UCLA Law Review, and was elected to the Order of the
    Coif.
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    Gregory S. Bok is an associate in the Los Angeles office of Gibson, Dunn & Crutcher. He currently practices
    in the firm’s Litigation Department.

    Prior to joining the firm, Mr. Bok served as a law clerk to the Honorable Milan D. Smith, Jr. of the U.S. Court
    of Appeals for the Ninth Circuit and the Honorable R. Gary Klausner of the U.S. District Court for the Central
    District of California. Mr. Bok earned his law degree from the University of California, Berkeley, School of
    Law, where he served as the Senior Articles Editor of the California Law Review. Mr. Bok received his B.A.,
    with honors, from the University of Chicago. Prior to attending law school, Mr. Bok was a police
    misconduct investigator for the New York City Civilian Complaint Review Board.

    Mr. Bok is a member of the California Bar, and is admitted to practice before the U.S. Court of Appeals for
    the Ninth Circuit and the U.S. District Court for the Central District of California.
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    Minae Yu is an associate in the Los Angeles office of Gibson, Dunn & Crutcher. She currently practices with
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    Ms. Yu received her Juris Doctor degree cum laude in 2009 from Georgetown University Law Center, where
    she served as an Annual Survey Editor of the American Criminal Law Review. While at Georgetown, Ms. Yu
    earned a Certificate of Concentration in World Trade Organization, focusing on the Agreement on Trade
    Related Aspects of Intellectual Property Rights. She also worked for a Member of Congress and interned at
    the Enforcement Bureau of the Federal Communications Commission. Ms. Yu received her Bachelor of Arts
    degree in 2002 from the University of California, Berkeley, with a double major in Molecular Cell Biology
    and Psychology.

    Ms. Yu is admitted to practice law in the State of California. She is a native speaker of Korean.
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    Julian W. Kleinbrodt is an associate in the San Francisco office of Gibson, Dunn & Crutcher. He practices in
    the firm’s Litigation Department, focusing on antitrust and other complex civil litigation.

    Mr. Kleinbrodt has successfully represented clients across several industries through trial and appeal. Recent
    representative matters include:

    •   Secured an order setting aside a jury verdict for over $50 million on antitrust and contract claims based
        on plaintiffs’ fraud on the court in Trendsettah USA, Inc. v. Swisher International, Inc. (C.D.
        Cal.). The Daily Journal selected this case as one of its Top Verdicts of 2019.

    •   Prevailed at trial in In re Korean Ramen Antitrust Litigation (N.D. Cal.), securing a complete defense
        verdict at trial in a first-of-its kind class action trial of direct and indirect purchaser antitrust claims
        under federal and state antitrust law. The Daily Journal selected this case as one of its Top Verdicts of
        2018.

    •   Obtained complete dismissal of two putative antitrust class actions alleging Section 1 and Section 2
        claims in In re Inclusive Access Course Materials Antitrust Litigation (S.D.N.Y.).

    •   Won denial of class certification in Deslandes v. McDonald’s USA, et al. (N.D. Ill.), a putative nationwide
        antitrust class action challenging alleged restraints in labor markets.

    •   Won summary judgment in Bailey v. Gatan, Inc., et al. (E.D. Cal.), a False Claims Act case brought by
        former employees against a scientific instruments company. Mr. Kleinbrodt helped to secure an
        affirmance of that judgment on appeal, Bailey v. Gatan, Inc., 783 F. App’x 692 (9th Cir. 2019).

    •   Won denial of class certification on behalf of UPS in a putative class action by Kentucky UPS under the
        state-law analogue to the Americans with Disabilities Act. Mr. Kleinbrodt helped to secure an
        affirmance of that order on appeal, Hughes v. UPS Supply Chain Sols., Inc., 2021 WL 3008755 (Ky. Ct.
        App. July 16, 2021).

    •   Defended a global software consulting firm through trial in a multi-million dollar dispute involving
        fraud, trade secret, computer hacking, and other related claims.
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    In addition, Mr. Kleinbrodt has represented clients in federal and state government investigations
    concerning employment, antitrust, and other competition issues. He also regularly counsels companies in
    these areas.

    Mr. Kleinbrodt received his law degree magna cum laude from the University of Michigan School of Law in
    2014, where he was elected to the Order of the Coif and served on the Michigan Law Review’s editorial
    board. Before joining the firm, Mr. Kleinbrodt served as a law clerk to the Honorable Stephen V. Wilson of
    the United States District Court for the Central District of California. Mr. Kleinbrodt graduated magna cum
    laude from the University of California, Los Angeles in 2011 and was a member of Phi Beta Kappa.
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    Samuel Eckman is an associate in the Los Angeles office of Gibson, Dunn & Crutcher. He is a member of the
    firm’s Appellate and Constitutional Law and Class Actions practice groups.

    Mr. Eckman was recognized in The Best Lawyers in America® 2022 and 2023 “Ones to Watch” in Appellate
    Practice.

    Before joining the firm, Mr. Eckman served as a law clerk to the Honorable Antonin Scalia, Associate Justice
    of the U.S. Supreme Court, and the Honorable Alex Kozinski, then-Chief Judge of the U.S. Court of Appeals
    for the Ninth Circuit.

    Mr. Eckman graduated with High Honors from The University of Chicago Law School in 2013. While there,
    he served as Editor-in-Chief of The University of Chicago Law Review, and was selected as a Kirkland & Ellis
    Scholar and as a member of the Order of the Coif. He also was awarded a John M. Olin Student Fellowship
    in Law and Economics, and a Bradley Family Foundation Fellowship.
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    Ryan Azad is a litigation associate in the San Francisco office of Gibson, Dunn & Crutcher and a member of
    the Appellate and Constitutional Law group. His practice focuses on appellate matters in state and federal
    courts.

    Before joining the firm, Ryan clerked for Justice Mariano-Florentino Cuéllar of the Supreme Court of
    California, Judge Milan D. Smith, Jr. of the United States Court of Appeals for the Ninth Circuit, and Judge
    Samuel H. Mays, Jr. of the United States District Court for the Western District of Tennessee.

    Ryan received his J.D. from UCLA School of Law, where he served as a managing editor of the UCLA Law
    Review, was a member of the Supreme Court Clinic, and taught an undergraduate course as a Collegium of
    University Teaching Fellow. He earned his B.A., summa cum laude, in History from UCLA, where he was
    elected to Phi Beta Kappa and received the Carey McWilliams Award for his thesis on the freedom of
    speech in colonial America.

    Ryan serves as a mentor for The Appellate Project, an organization that seeks to empower law students of
    color to succeed as appellate attorneys and raise awareness about the importance of a diverse appellate
    system.

    Representative matters include:

    •   City of Los Angeles v. PwC (California Supreme Court): Persuaded the California Supreme Court to
        grant review of a case concerning the scope and nature of courts’ authority to impose monetary
        sanctions for discovery abuse.

    •   Vargas v. Facebook (Ninth Circuit): Represented Facebook in putative class action challenging
        Facebook’s advertising platform as violating the Fair Housing Act and other federal and state anti-
        discrimination laws.

    •   Palomares v. United States (U.S. Supreme Court): Represented amicus curiae FAMM (Families Against
        Mandatory Minimums) in support of certiorari petition regarding the proper interpretation of the
        federal sentencing statute’s safety-valve provision, as amended by the First Step Act of 2018.
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    Sarah Akhtar is an associate in the Washington, D.C. office of Gibson, Dunn & Crutcher. She is a member of
    the firm’s Litigation, Appellate and Constitutional Law, and Antitrust practice groups.

    Prior to joining the firm, Ms. Akhtar clerked for Chief Judge R. Guy Cole, Jr. of the U.S. Court of Appeals for
    the Sixth Circuit.

    Ms. Akhtar graduated magna cum laude from Georgetown University Law Center, where she served as
    Managing Editor of the Georgetown Law Journal. She earned her undergraduate degree with honors from
    Harvard University, where she was Editor-in-Chief of the Harvard International Review.

    Ms. Akhtar is admitted to practice in Maryland and Washington, D.C.
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    Michael Farag is an associate in the Los Angeles office of Gibson, Dunn & Crutcher. He currently practices
    with the firm’s Business Restructuring and Reorganization Practice Group.

    Mr. Farag focuses on complex restructuring and insolvency proceedings. Prior to joining the firm, Mr.
    Farag served as a judicial law clerk in the United States Bankruptcy Court for the Central District of
    California, first for the Honorable Martin R. Barash, then for the Honorable Robert N. Kwan.

    Mr. Farag earned his law degree in 2016 from the UCLA School of Law, where he completed the Business
    Law Specialization on the Mergers and Acquisitions Track. He graduated from the University of
    Washington in 2006 with a Bachelor of Arts in Drama. Prior to entering the legal profession, Mr. Farag
    worked in digital media and advertising.

    Mr. Farag is admitted to practice in the State of California and before the United States District Court for
    the Central District of California.
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    Andrew T. Brown is a litigation associate in the Los Angeles office of Gibson, Dunn & Crutcher. His practice
    focuses on complex commercial and constitutional litigation in trial and appellate courts. Mr. Brown also
    has significant experience conducting internal investigations and representing clients facing civil and
    criminal investigations. In his active pro bono practice, Mr. Brown often represents military veterans
    seeking service-connected benefits in federal appellate courts.

    On top of his civilian practice, Mr. Brown is a Captain in the U.S. Army Reserve, where he serves as a Judge
    Advocate and holds an active security clearance.

    Prior to joining the firm, Mr. Brown clerked for Judge Carlos T. Bea on the U.S. Court of Appeals for the
    Ninth Circuit, and before that for Judge R. Gary Klausner on the U.S. District Court for the Central District of
    California.

    Mr. Brown received his law degree from the UCLA School of Law, where he was elected to the Order of the
    Coif. At UCLA, Mr. Brown was named a Michael T. Masin Scholar and served as a Senior Editor on the UCLA
    Law Review. He also served as a cybersecurity research assistant for Professor Kristen Eichensehr, and as a
    judicial extern for Judge Arthur L. Alarcón on the U.S. Court of Appeals for the Ninth Circuit. Mr. Brown
    received his bachelor’s degree magna cum laude from The George Washington University’s Elliot School of
    International Affairs with a functional focus on security policy and a regional focus on the Middle East.

    Mr. Brown is a member of the California Bar, and he is admitted to practice before the U.S. Supreme Court,
    the U.S. Courts of Appeals for the Ninth and Federal Circuits, the U.S. Courts of Appeals for the Armed
    Forces and Veterans Claims, and the U.S. District Courts for the Central and Northern Districts of California.
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    Viola Li is an associate in the San Francisco office of Gibson, Dunn & Crutcher LLP. She currently practices
    in the firm’s Litigation Department and maintains an active pro bono practice.

    Ms. Li previously served as a law clerk to the Honorable Maxine M. Chesney of the United States District
    Court for the Northern District of California.

    Ms. Li received her J.D. from Stanford Law School in 2019 with pro bono distinction, where she was a Notes
    Editor for the Stanford Law Review. While in law school, Ms. Li was a co-leader of the Economic
    Advancement Program Pro Bono and a team leader for the Environmental Pro Bono. Ms. Li earned her B.S.
    in Commerce (Finance) with Distinction and B.A. in Environmental Thought and Practice from the
    University of Virginia in 2013. Prior to attending law school, Ms. Li was a senior analyst at Cornerstone
    Research, a litigation consulting firm, where she worked in a variety of practice areas, including antitrust,
    intellectual property, energy, and securities class actions.

    Ms. Li is admitted to practice law in the State of California.
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    •   Campbell v. DoorDash, Inc. (California Supreme Court & U.S. Supreme Court): Represented DoorDash
        in challenge to California’s “Iskanian Rule” as preempted by the Federal Arbitration Act.

    •   See’s Candies, Inc. v. Superior Court of Los Angeles County (California Court of Appeal): Represented
        eight amici, including the U.S. Chamber of Commerce, in writ proceeding regarding whether COVID-19
        injuries sustained by an employee’s spouse are encompassed by the derivative injury rule of the
        Workers’ Compensation Act.

    •   Vedagarba v. Airbnb, Inc. (California Court of Appeal): Successfully represented Airbnb in obtaining
        dismissal of an appeal challenging the denial of plaintiff’s petition to vacate an arbitration award.

    •   Sanchez v. Mayorkas (U.S. Supreme Court): Represented amici law professors in support of allowing
        temporary protected status recipients to seek adjustment to lawful permanent resident status.

    •   Liu v. Garland (Ninth Circuit): Represented Chinese immigrant challenging an Immigration Judge’s
        denial of her application for asylum, withholding of removal, and relief under the Convention Against
        Torture on adverse credibility grounds.
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    Employment, and Administrative Law and Regulatory practice groups. Prior to joining the firm, Mr. Tisa
    clerked for the Hon. Carlos Bea of the U.S. Court of Appeals for the Ninth Circuit and for the Hon. Neomi
    Rao of the U.S. Court of Appeals for the D.C. Circuit.

    Mr. Tisa earned his J.D. magna cum laude from New York University School of Law in 2019, where he was
    elected to the Order of the Coif and served as a Senior Articles Editor for the Journal of Law and Liberty.
    Before law school he worked as a cybersecurity consultant and graduated from Georgetown University in
    2014 with a B.S. in Foreign Service.

    Mr. Tisa is admitted to practice law in New York and is admitted to practice before the U.S. Court of
    Appeals for the Ninth Circuit.
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    Ms. Tabbaa received her Juris Doctor degree magna cum laude in 2019 from Georgetown University Law
    Center, where she served as an Executive Editor of The Georgetown University Law Journal. While in law
    school, Ms. Tabbaa served as an extern for the Honorable Judge Cooper of the District Court for the District
    of Columbia. Ms. Tabbaa received her Bachelor of Arts degree cum laude in 2016 from Georgetown
    University with a major in Political Economy and a double minor in Arabic and Business Administration.

    Ms. Tabbaa is admitted to practice law in the State of Maryland and the District of Columbia.
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 EDUCATION
 Harvey Mudd College, Claremont, CA
 Bachelor of Science, Cell/Molecular Biology, May 1989

 The University of North Carolina at Chapel Hill School of Law, Chapel Hill, NC
 Juris Doctor, May 1994

 RELEVANT WORK EXPERIENCE

 2010‐current
 Independent Contractor (Legal Specialist) providing legal support exclusively for Gibson Dunn
 & Crutcher, LLP on antitrust matters, including HSR regulatory practice and notable antitrust
 litigations: AMD v. Intel, FTC v. Intel, NYAG v. Intel, US v. Apple et al. (ebooks case), Qualcomm
 v. Compal et al. (Apple/cell phone manufacturers/Qualcomm cases), Roxul USA v. Armstrong
 (ceiling tile case), Conrad v. Jimmy Johns and Polyurethane Foam DOJ investigation and related
 litigations (GDC representation of Woodbridge Foam Corporation).

 2005‐2010
 LegalSource, Contract Attorney working exclusively on AMD v. Intel matter on behalf of Gibson
 Dunn & Crutcher, LLP.

 1994‐2004
 Patent attorney, specializing in biotechnology and pharmaceutical patent prosecution.
 Relevant positions held:
     ‐ associate and equity partner, Myers Bigel Sibley & Sajovec (now Myers Bigel), Raleigh NC
     ‐ associate University Counsel – North Carolina State University, Raleigh NC
     ‐ associate, Bell Seltzer Park & Gibson (now part of Alston & Bird), Raleigh NC

 PRIOR BAR ADMISSIONS
 State Bar of North Carolina – admitted 1994, not currently active.
 U.S. Federal Patent Bar – admitted 1995, Reg. No. 39,111, not currently active.
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A Letter to Our Readers
Welcome to the Wolters Kluwer ELM Solutions Real Rate Report®, the industry’s leading data-driven
benchmark report for lawyer rates.

Our Real Rate Report has been a relied upon data analytics resource to the legal industry since its
inception in 2010 and continues to evolve. The Real Rate Report is powered by the Wolters Kluwer ELM
Solutions LegalVIEW® data warehouse, which has grown to include $155B+ in anonymized legal data.

Last year, we launched our LegalVIEW Insights report series, which presented the first-of-its-kind legal
analysis of total outside spend, vendor counts, staffing ratios, and other matters. This year, LegalVIEW
Insights has gone even deeper into these issues and, together with the Real Rate Report, is a great tool to
benchmark performance and improve from there.

The legal services industry relies on internal analytics and the use of external data resources, such as the
LegalVIEW data warehouse, to support legal management strategies. The depth and details of the data in
the Real Rate Report enable you to better benchmark and make more informed investment and resourcing
decisions for your organization.

As with past Real Rate Reports, all of the data analyzed are from corporations’ and law firms’ e-billing and
time management solutions. We have included lawyer and paralegal rate data filtered by specific practice
and sub-practice areas, metropolitan areas, and types of matters to give legal departments and law firms
greater ability to pinpoint areas of opportunity. We strive to make the Real Rate Report a valuable and
actionable reference tool for legal departments and law firms.

As always, we welcome your comments and suggestions on what information would make this publication
more valuable to you. We thank our data contributors for participating in this program. And we thank you
for making Wolters Kluwer ELM Solutions your trusted partner for legal industry domain expertise, data,
and analytics and look forward to continuing to provide market-leading, expert solutions that deliver the
best business outcomes for collaboration among legal departments and law firms.




Sincerely,




Barry Ader
Vice President, Product Management and Marketing
Wolters Kluwer ELM Solutions




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Report Use Considerations
2022 Real Rate Report
• Examines law firm rates over time
• Identifies rates by location, experience, firm size, areas of expertise, industry, and timekeeper role (i.e.,
  partner, associate, and paralegal)
• Itemizes variables that drive rates up or down

All the analyses included in the report derive from the actual rates charged by law firm professionals as
recorded on invoices submitted and approved for payment.

Examining real, approved rate information, along with the ranges of those rates and their changes over time,
highlights the role these variables play in driving aggregate legal cost and income. The analyses can energize
questions for both corporate clients and law firm principals.

Clients might ask whether they are paying the right amount for different types of legal services, while law firm
principals might ask whether they are charging the right amount for legal services and whether to modify their
pricing approach.


Some key factors¹ that drive rates²:
Attorney location - Lawyers in urban and major metropolitan areas tend to charge more when compared with
lawyers in rural areas or small towns.

Litigation complexity - The cost of representation will be higher if the case is particularly complex or time-
consuming; for example, if there are a large number of documents to review, many witnesses to depose, and
numerous procedural steps, the case is likely to cost more (regardless of other factors like the lawyer’s level
of experience).

Years of experience and reputation - A more experienced, higher-profile lawyer is often going to charge more,
but absorbing this higher cost at the outset may make more sense than hiring a less expensive lawyer who
will likely take time and billable hours to come up to speed on unfamiliar legal and procedural issues.

Overhead - The costs associated with the firm’s support network (paralegals, clerks, and assistants),
document preparation, consultants, research, and other expenses.

Firm size – The rates can increase if the firm is large and has various timekeeper roles at the firm. For example,
the cost to work with an associate or partner at a larger firm will be higher compared to a firm that has one to
two associates and a paralegal.




1 David Goguen, J.D., University of San Francisco School of Law (2020) Guide to Legal Services Billing Retrieved from:
  https://www.lawyers.com/legal-info/research/guide-to-legal-services-billing-rates.html
2 Source: 2018 RRR. Factor order validated in multiple analyses since 2010




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Section I:
High-Level
Data Cuts
All data and analysis based on
data collected thru Q2 2022




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Section I: High-Level Data Cuts                                Partners, Associates, and
Partners, Associates, and Paralegals                           Paralegals
                                                               By Role
2022 — Real Rates
2022 - Real Rates                                                        Trend Analysis - Mean
                                 First               Third
Role                      n                Median               2022       2021       2020
                                Quartile            Quartile
Partner
                        10592     $430      $653     $969       $749       $738       $705

Associate
                        9930      $329      $485     $703       $546       $541       $503

Paralegal
                        4215      $150      $225     $325       $247       $244       $232




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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                                    Quartile            Quartile
Albany NY          Non-Litigation Partner
                                              17     $288       $288     $305      $322    $322     $354

                                  Associate
                                              15     $234       $240     $243      $237    $235     $233

Atlanta GA         Litigation     Partner
                                              103    $391       $525     $745      $568    $513     $554

                                  Associate
                                              116    $262       $345     $486      $382    $349     $361

                   Non-Litigation Partner
                                              220    $478       $665     $871      $700    $663     $636

                                  Associate
                                              201    $370       $450     $618      $504    $468     $443

Austin TX          Litigation     Partner
                                              25     $491       $643     $913      $696    $668     $579

                                  Associate
                                              21     $318       $463     $659      $497    $492     $481

                   Non-Litigation Partner
                                              73     $409       $450     $608      $526    $511     $510

                                  Associate
                                              50     $319       $401     $625      $450    $373     $390

Baltimore MD       Litigation     Partner
                                              66     $380       $585     $625      $551    $593     $566

                                  Associate
                                              76     $285       $400     $482      $414    $442     $426

                   Non-Litigation Partner
                                              85     $401       $606     $865      $682    $656     $648

                                  Associate
                                              80     $335       $482     $649      $512    $507     $484

Birmingham AL      Litigation     Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
Baltimore MD       Non-Litigation Associate         Quartile            Quartile
Birmingham AL      Litigation     Partner
                                              40     $320       $325     $459      $387    $357     $356

                                  Associate
                                              40     $275       $300     $311      $292    $284     $301

                   Non-Litigation Partner
                                              57     $340       $410     $480      $423    $432     $428

                                  Associate
                                              48     $258       $295     $339      $302    $304     $300

Boston MA          Litigation     Partner
                                              105    $397       $681     $824      $632    $588     $531

                                  Associate
                                              88     $315       $432     $608      $475    $450     $411

                   Non-Litigation Partner
                                              173    $510       $715     $972      $782    $772     $728

                                  Associate
                                              186    $395       $520     $690      $563    $555     $515

Bridgeport CT      Litigation     Partner
                                              14     $478       $563     $605      $535    $502     $462

                   Non-Litigation Partner
                                              18     $366       $400     $584      $451    $437     $402

                                  Associate
                                              12     $200       $265     $295      $281    $235     $242

Buffalo NY         Litigation     Partner
                                              28     $300       $340     $356      $321    $330     $339

                                  Associate
                                              17     $225       $245     $265      $240    $238     $246

                   Non-Litigation Partner
                                              16     $325       $366     $500      $397    $349     $354

                                  Associate
                                              11     $210       $255     $285      $257    $238     $242

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Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
Buffalo NY         Non-Litigation Associate
                                              11     $210       $255     $285      $257    $238     $242

Charleston WV      Litigation     Partner
                                              25     $225       $280     $310      $273    $274     $276

                   Non-Litigation Partner
                                              12     $281       $325     $358      $336    $345     $376

Charlotte NC       Litigation     Partner
                                              20     $513       $590     $736      $635    $586     $557

                                  Associate
                                              21     $325       $350     $382      $369    $356     $370

                   Non-Litigation Partner
                                              84     $550       $646     $782      $706    $703     $674

                                  Associate
                                              85     $320       $391     $526      $450    $465     $412

Chicago IL         Litigation     Partner
                                              266    $487       $755     $975      $771    $742     $694

                                  Associate
                                              248    $338       $500     $652      $516    $507     $474

                   Non-Litigation Partner
                                              561    $632       $890    $1,200     $920    $912     $871

                                  Associate
                                              473    $420       $574     $750      $595    $612     $575

Cincinnati OH      Litigation     Partner
                                              25     $326       $503     $590      $474    $440     $444

                                  Associate
                                              41     $259       $310     $357      $312    $290     $278

                   Non-Litigation Partner
                                              38     $399       $464     $538      $476    $475     $454

                                  Associate


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
Cincinnati OH      Non-Litigation Associate
                                              41     $270       $305     $342      $307    $301     $275

Cleveland OH       Litigation     Partner
                                              66     $425       $509     $675      $564    $559     $575

                                  Associate
                                              58     $257       $284     $350      $323    $318     $310

                   Non-Litigation Partner
                                              182    $396       $495     $626      $558    $526     $511

                                  Associate
                                              145    $250       $295     $393      $333    $325     $300

Columbia SC        Litigation     Partner
                                              19     $400       $445     $525      $443    $381     $371

                   Non-Litigation Partner
                                              27     $331       $398     $483      $417    $415     $396

                                  Associate
                                              18     $232       $271     $324      $281    $265     $257

Columbus OH        Litigation     Partner
                                              13     $405       $550     $590      $532    $524     $511

                                  Associate
                                              15     $255       $275     $304      $288    $289     $285

                   Non-Litigation Partner
                                              37     $392       $441     $573      $477    $458     $469

                                  Associate
                                              23     $260       $324     $361      $326    $306     $269

Dallas TX          Litigation     Partner
                                              70     $315       $492     $646      $516    $546     $478

                                  Associate
                                              60     $199       $340     $587      $422    $440     $416

                   Non-Litigation Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
                   Litigation     Associate         Quartile            Quartile
Dallas TX          Non-Litigation Partner
                                              146    $495       $655     $995      $759    $750     $755

                                  Associate
                                              143    $345       $548     $729      $553    $529     $531

Dayton OH          Non-Litigation Partner
                                              15     $320       $380     $410      $379    $362     $388

Denver CO          Litigation     Partner
                                              32     $414       $495     $644      $553    $512     $451

                                  Associate
                                              30     $286       $345     $415      $348    $349     $332

                   Non-Litigation Partner
                                              125    $450       $525     $626      $559    $541     $516

                                  Associate
                                              86     $285       $360     $430      $377    $342     $319

Detroit MI         Litigation     Partner
                                              27     $275       $300     $376      $335    $372     $360

                                  Associate
                                              19     $215       $255     $358      $281    $274     $292

                   Non-Litigation Partner
                                              60     $313       $392     $454      $383    $388     $369

                                  Associate
                                              32     $230       $253     $280      $256    $269     $248

Greenville SC      Non-Litigation Partner
                                              34     $375       $420     $477      $426    $431     $429

                                  Associate
                                              14     $255       $285     $318      $294    $303     $308

Hartford CT        Litigation     Partner
                                              24     $330       $501     $591      $491    $420     $425

                                  Associate


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Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
Hartford CT        Litigation     Associate
                                              13     $293       $320     $369      $327    $294     $307

                   Non-Litigation Partner
                                              27     $430       $525     $614      $542    $561     $546

                                  Associate
                                              22     $265       $300     $340      $310    $304     $295

Honolulu HI        Non-Litigation Partner
                                              19     $275       $300     $353      $325    $350     $320

                                  Associate
                                              13     $180       $200     $220      $208    $210     $197

Houston TX         Litigation     Partner
                                              60     $409       $668     $880      $678    $653     $618

                                  Associate
                                              67     $350       $409     $548      $444    $414     $381

                   Non-Litigation Partner
                                              108    $470       $831    $1,127     $845    $793     $796

                                  Associate
                                              136    $280       $435     $691      $490    $468     $433

Indianapolis IN    Litigation     Partner
                                              36     $325       $425     $564      $439    $412     $419

                                  Associate
                                              23     $218       $268     $342      $292    $261     $264

                   Non-Litigation Partner
                                              37     $331       $405     $473      $432    $454     $456

                                  Associate
                                              21     $260       $274     $320      $300    $285     $274

Jackson MS         Litigation     Partner
                                              66     $296       $319     $375      $339    $376     $368

                                  Associate


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
Jackson MS         Litigation     Associate
                                              56      $55       $225     $250      $178    $203     $175

                   Non-Litigation Partner
                                              24     $315       $420     $485      $418    $394     $375

                                  Associate
                                              25      $55       $126     $255      $155    $125     $259

Kansas City MO     Litigation     Partner
                                              74     $413       $450     $556      $472    $450     $450

                                  Associate
                                              50     $252       $329     $385      $319    $316     $305

                   Non-Litigation Partner
                                              101    $411       $487     $615      $519    $487     $464

                                  Associate
                                              73     $250       $320     $385      $322    $312     $285

Las Vegas NV       Non-Litigation Partner
                                              20     $350       $425     $525      $440    $422     $432

                                  Associate
                                              11     $238       $267     $368      $301    $297     $282

Little Rock AR     Non-Litigation Partner
                                              11     $215       $215     $308      $264    $256     $298

Los Angeles CA     Litigation     Partner
                                              322    $516       $725    $1,045     $799    $739     $702

                                  Associate
                                              408    $400       $615     $855      $642    $606     $564

                   Non-Litigation Partner
                                              521    $596       $868    $1,201     $903    $902     $858

                                  Associate
                                              667    $441       $603     $845      $653    $712     $648

Louisville KY      Litigation     Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
Los Angeles CA     Non-Litigation Associate         Quartile            Quartile
Louisville KY      Litigation     Partner
                                              15     $235       $335     $360      $331    $332     $331

                                  Associate
                                              12     $175       $200     $290      $230    $239     $229

Memphis TN         Litigation     Partner
                                              15     $290       $415     $440      $376    $357     $366

                   Non-Litigation Partner
                                              19     $308       $347     $390      $356    $340     $340

Miami FL           Litigation     Partner
                                              99     $275       $450     $623      $464    $489     $449

                                  Associate
                                              71     $244       $320     $439      $345    $331     $336

                   Non-Litigation Partner
                                              134    $450       $575     $779      $608    $577     $564

                                  Associate
                                              91     $305       $446     $547      $435    $418     $405

Milwaukee WI       Litigation     Partner
                                              16     $245       $338     $400      $379    $390     $395

                   Non-Litigation Partner
                                              21     $305       $390     $466      $499    $486     $483

                                  Associate
                                              18     $260       $290     $352      $309    $314     $312

Minneapolis MN     Litigation     Partner
                                              66     $388       $626     $702      $584    $529     $472

                                  Associate
                                              55     $370       $461     $526      $446    $386     $353

                   Non-Litigation Partner
                                              119    $491       $627     $763      $626    $600     $578

                                  Associate
                                              83     $340       $421     $528      $425    $408     $384

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Section I: High-Level Data Cuts                                             Cities
Cities By Matter Type                                                       By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                             Trend Analysis - Mean
                                                       First               Third
City               Matter Type    Role         n                 Median              2022     2021     2020
                                  Partner             Quartile            Quartile
Minneapolis MN     Non-Litigation Associate
                                               83      $340       $421     $528      $425     $408     $384

Nashville TN       Litigation     Partner
                                               24      $275       $320     $456      $363     $378     $403

                   Non-Litigation Partner
                                               78      $412       $484     $576      $505     $481     $470

                                  Associate
                                               59      $270       $330     $384      $340     $315     $285

New Orleans LA     Litigation     Partner
                                               47      $290       $332     $412      $343     $330     $340

                                  Associate
                                               42      $231       $243     $340      $278     $290     $275

                   Non-Litigation Partner
                                               32      $295       $347     $405      $419     $380     $391

                                  Associate
                                               21      $244       $250     $278      $273     $303     $258

New York NY        Litigation     Partner
                                              614      $475       $675    $1,088     $808     $784     $746

                                  Associate
                                              631      $323       $460     $729      $545     $527     $509

                   Non-Litigation Partner
                                              1,376    $765      $1,235   $1,638     $1,189   $1,139   $1,090

                                  Associate
                                              1,809    $550       $776    $1,050     $796     $766     $716

Oklahoma City OK Non-Litigation Partner
                                               14      $235       $338     $393      $337     $319     $311

Omaha NE           Litigation     Partner
                                               12      $293       $339     $353      $329     $338     $341

                   Non-Litigation Partner


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
                   Litigation     Partner           Quartile            Quartile
Omaha NE           Non-Litigation Partner
                                              30     $298       $376     $420      $360    $354     $346

                                  Associate
                                              11     $200       $215     $306      $250    $242     $238

Orlando FL         Litigation     Partner
                                              32     $410       $474     $501      $467    $477     $446

                                  Associate
                                              22     $255       $334     $390      $317    $306     $283

                   Non-Litigation Partner
                                              35     $399       $425     $475      $441    $477     $460

                                  Associate
                                              22     $233       $273     $347      $320    $322     $297

Philadelphia PA    Litigation     Partner
                                              330    $485       $636     $837      $664    $625     $621

                                  Associate
                                              330    $365       $430     $530      $447    $414     $392

                   Non-Litigation Partner
                                              374    $530       $741     $925      $762    $735     $706

                                  Associate
                                              322    $375       $446     $540      $482    $441     $423

Phoenix AZ         Litigation     Partner
                                              36     $300       $450     $585      $457    $465     $420

                                  Associate
                                              19     $215       $265     $348      $283    $282     $225

                   Non-Litigation Partner
                                              74     $353       $425     $539      $470    $423     $391

                                  Associate
                                              43     $225       $290     $340      $305    $270     $259

Pittsburgh PA      Litigation     Partner


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Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type Role           n                Median              2022    2021     2020
Phoenix AZ         Non-Litigation Associate         Quartile            Quartile
Pittsburgh PA      Litigation     Partner
                                              57     $425       $614     $767      $599    $565     $539

                                  Associate
                                              66     $267       $430     $522      $404    $391     $350

                   Non-Litigation Partner
                                              128    $445       $603     $808      $627    $646     $582

                                  Associate
                                              113    $340       $409     $513      $434    $401     $389

Portland ME        Non-Litigation Partner
                                              38     $250       $385     $450      $376    $384     $373

Portland OR        Litigation     Partner
                                              36     $348       $476     $585      $481    $440     $417

                                  Associate
                                              47     $360       $420     $484      $425    $389     $354

                   Non-Litigation Partner
                                              46     $432       $502     $668      $540    $511     $481

                                  Associate
                                              83     $364       $423     $507      $433    $379     $358

Raleigh NC         Non-Litigation Partner
                                              31     $300       $428     $563      $454    $464     $443

Richmond VA        Litigation     Partner
                                              36     $350       $680     $723      $591    $544     $570

                                  Associate
                                              31     $323       $425     $450      $397    $391     $359

                   Non-Litigation Partner
                                              53     $536       $765     $920      $756    $715     $690

                                  Associate
                                              54     $425       $489     $625      $515    $474     $453

Rochester NY       Non-Litigation Partner


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Cities By Matter Type                                                      By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                      First               Third
City                Matter Type Role           n                Median              2022    2021     2020
Richmond VA         Non-Litigation Associate         Quartile            Quartile
Rochester NY        Non-Litigation Partner
                                               12     $270       $360     $488      $386    $341     $446

                                   Associate
                                               13     $220       $310     $375      $314    $278     $287

Sacramento CA       Non-Litigation Partner
                                               11     $381       $437     $682      $534    $559     $516

Salt Lake City UT   Litigation     Partner
                                               14     $246       $353     $468      $363    $333     $379

                    Non-Litigation Partner
                                               42     $297       $371     $447      $391    $363     $353

                                   Associate
                                               22     $220       $240     $270      $248    $247     $228

San Diego CA        Litigation     Associate
                                               23     $151       $225     $300      $255    $258     $264

                    Non-Litigation Partner
                                               89     $332       $540    $1,066     $699    $667     $649

                                   Associate
                                               71     $250       $325     $424      $373    $378     $351

San Francisco CA    Litigation     Partner
                                               143    $423       $675     $995      $742    $711     $691

                                   Associate
                                               98     $325       $430     $731      $525    $517     $470

                    Non-Litigation Partner
                                               221    $475       $750     $950      $758    $746     $741

                                   Associate
                                               151    $338       $486     $702      $545    $563     $507

San Jose CA         Litigation     Partner
                                               33     $654       $921    $1,133     $916    $907     $864

                                   Associate


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Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
San Jose CA        Litigation     Associate
                                              22     $461       $580     $745      $608    $593     $498

                   Non-Litigation Partner
                                              50     $660       $864    $1,303     $969    $985     $887

                                  Associate
                                              46     $380       $460     $775      $616    $639     $567

Seattle WA         Litigation     Partner
                                              76     $497       $655     $760      $635    $567     $510

                                  Associate
                                              61     $394       $468     $530      $447    $453     $395

                   Non-Litigation Partner
                                              148    $410       $526     $760      $571    $547     $547

                                  Associate
                                              113    $310       $395     $502      $422    $401     $377

St. Louis MO       Litigation     Partner
                                              46     $260       $350     $435      $376    $373     $388

                                  Associate
                                              17     $197       $225     $250      $228    $237     $232

                   Non-Litigation Partner
                                              57     $352       $419     $540      $451    $446     $473

Tampa FL           Litigation     Partner
                                              31     $369       $508     $595      $490    $467     $452

                                  Associate
                                              15     $269       $298     $368      $316    $302     $306

Trenton NJ         Non-Litigation Partner
                                              21     $408       $600     $700      $569    $620     $581

                                  Associate
                                              12     $480       $495     $500      $448    $376     $387

Washington DC      Litigation     Partner


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Section I: High-Level Data Cuts                                             Cities
Cities By Matter Type                                                       By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                            Trend Analysis - Mean
                                                       First               Third
City               Matter Type Role            n                 Median              2022    2021     2020
Trenton NJ         Non-Litigation Associate           Quartile            Quartile
Washington DC      Litigation     Partner
                                              490      $716       $925    $1,062     $922    $897     $842

                                  Associate
                                              428      $504       $670     $707      $631    $604     $558

                   Non-Litigation Partner
                                              1,026    $643       $871    $1,080     $898    $876     $853

                                  Associate
                                              882      $459       $612     $736      $631    $603     $570

Wheeling WV        Litigation     Partner
                                               22      $746       $821     $850      $777    $748     $801




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Section I: High-Level Data Cuts                                           Cities
Cities By Years of Experience                                             By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                      Trend Analysis - Mean
                                                    First               Third
City                Years of Experience       n               Median               2022    2021     2020
                                                   Quartile            Quartile
Atlanta GA          Fewer Than 3 Years
                                              23    $307       $338     $397       $357    $334     $292

                    3 to Fewer Than 7 Years
                                              57    $322       $390     $473       $423    $365     $325

                    7 or More Years
                                              63    $325       $413     $587       $453    $459     $416

Austin TX           7 or More Years
                                              11    $339       $570     $692       $524    $446     $429

Baltimore MD        Fewer Than 3 Years
                                              15    $349       $400     $475       $417    $395     $341

                    7 or More Years
                                              35    $290       $394     $656       $471    $471     $474

Birmingham AL       7 or More Years
                                              16    $280       $310     $340       $322    $304     $313

Boston MA           Fewer Than 3 Years
                                              13    $414       $500     $520       $479    $438

                    3 to Fewer Than 7 Years
                                              42    $350       $430     $565       $474    $475     $456

                    7 or More Years
                                              51    $363       $450     $630       $511    $524     $497

Charlotte NC        Fewer Than 3 Years
                                              12    $293       $295     $335       $344    $368     $315

                    3 to Fewer Than 7 Years
                                              16    $337       $360     $406       $381    $363     $343

                    7 or More Years
                                              21    $365       $405     $570       $500    $480     $432

Chicago IL          Fewer Than 3 Years
                                              22    $302       $464     $526       $426    $397     $514

                    3 to Fewer Than 7 Years



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Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
                    Fewer Than 3 Years              Quartile            Quartile
Chicago IL          3 to Fewer Than 7 Years
                                              76     $364       $537     $730       $552    $554     $522

                    7 or More Years
                                              106    $401       $576     $759       $594    $587     $571

Cleveland OH        Fewer Than 3 Years
                                              18     $250       $285     $360       $309    $309

                    3 to Fewer Than 7 Years
                                              47     $260       $295     $415       $336    $331     $282

                    7 or More Years
                                              48     $264       $295     $375       $350    $333     $326

Dallas TX           3 to Fewer Than 7 Years
                                              23     $335       $395     $615       $506    $499     $546

                    7 or More Years
                                              31     $320       $436     $647       $517    $520     $514

Denver CO           3 to Fewer Than 7 Years
                                              16     $310       $356     $399       $356    $347     $298

                    7 or More Years
                                              29     $285       $380     $453       $393    $346     $337

Detroit MI          7 or More Years
                                              12     $243       $250     $350       $293    $293     $295

Hartford CT         7 or More Years
                                              11     $293       $338     $379       $336    $292     $308

Houston TX          3 to Fewer Than 7 Years
                                              20     $420       $517     $580       $497    $497     $494

                    7 or More Years
                                              27     $316       $419     $615       $488    $521     $471

Indianapolis IN     7 or More Years
                                              11     $260       $288     $350       $300    $267     $259

Kansas City MO      3 to Fewer Than 7 Years



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Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
Indianapolis IN     7 or More Years                 Quartile            Quartile
Kansas City MO      3 to Fewer Than 7 Years
                                              15     $270       $325     $360       $318    $295     $283

                    7 or More Years
                                              28     $292       $334     $391       $333    $312     $302

Los Angeles CA      Fewer Than 3 Years
                                              63     $429       $595     $654       $556    $524     $488

                    3 to Fewer Than 7 Years
                                              144    $486       $688     $838       $662    $626     $530

                    7 or More Years
                                              171    $351       $550     $840       $600    $634     $586

Miami FL            3 to Fewer Than 7 Years
                                              19     $300       $360     $457       $380    $331     $313

                    7 or More Years
                                              36     $295       $450     $595       $460    $433     $385

Minneapolis MN      Fewer Than 3 Years
                                              11     $374       $405     $446       $408             $230

                    3 to Fewer Than 7 Years
                                              27     $340       $451     $510       $421    $358     $356

                    7 or More Years
                                              27     $423       $468     $585       $478    $438     $392

Nashville TN        7 or More Years
                                              12     $219       $245     $345       $282    $266     $262

New Orleans LA      3 to Fewer Than 7 Years
                                              12     $232       $243     $265       $261    $242     $245

                    7 or More Years
                                              18     $243       $312     $343       $306    $318     $294

New York NY         Fewer Than 3 Years
                                              142    $443       $622     $775       $629    $600     $652

                    3 to Fewer Than 7 Years



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Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
                    Fewer Than 3 Years              Quartile            Quartile
New York NY         3 to Fewer Than 7 Years
                                              260    $425       $668     $995       $724    $684     $622

                    7 or More Years
                                              453    $439       $713    $1,015      $740    $727     $703

Orlando FL          7 or More Years
                                              12     $266       $335     $390       $323    $324     $311

Philadelphia PA     Fewer Than 3 Years
                                              42     $350       $420     $429       $396    $401     $375

                    3 to Fewer Than 7 Years
                                              114    $366       $438     $500       $442    $400     $373

                    7 or More Years
                                              152    $390       $509     $565       $491    $437     $430

Phoenix AZ          7 or More Years
                                              13     $227       $265     $396       $317    $278     $246

Pittsburgh PA       Fewer Than 3 Years
                                              12     $323       $420     $475       $400    $379

                    3 to Fewer Than 7 Years
                                              42     $270       $407     $523       $407    $376     $340

                    7 or More Years
                                              28     $340       $425     $535       $434    $402     $370

Portland OR         3 to Fewer Than 7 Years
                                              42     $348       $390     $428       $390    $340     $303

                    7 or More Years
                                              52     $420       $490     $537       $473    $408     $395

San Diego CA        3 to Fewer Than 7 Years
                                              17     $268       $325     $380       $347    $398     $347

                    7 or More Years
                                              27     $311       $380     $421       $431    $465     $389

San Francisco CA    Fewer Than 3 Years



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Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
San Diego CA        7 or More Years                 Quartile            Quartile
San Francisco CA    Fewer Than 3 Years
                                              18     $486       $510     $597       $537    $455     $497

                    3 to Fewer Than 7 Years
                                              33     $334       $509     $702       $546    $528     $465

                    7 or More Years
                                              59     $328       $465     $717       $545    $536     $504

San Jose CA         7 or More Years
                                              14     $406       $497     $605       $596    $706     $630

Seattle WA          3 to Fewer Than 7 Years
                                              31     $290       $321     $339       $329    $304     $285

                    7 or More Years
                                              41     $348       $429     $473       $427    $400     $377

St. Louis MO        7 or More Years
                                              13     $200       $225     $275       $260    $262     $259

Washington DC       Fewer Than 3 Years
                                              73     $400       $506     $610       $509    $425     $532

                    3 to Fewer Than 7 Years
                                              183    $455       $580     $698       $599    $535     $495

                    7 or More Years
                                              206    $547       $695     $870       $731    $683     $634




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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                       Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022    2021     2020
                                                 Quartile            Quartile
Albany NY            21 or More Years
                                           14     $305       $305     $325       $341     $377    $376

Atlanta GA           Fewer Than 21 Years
                                           83     $440       $579     $780       $616     $558    $565

                     21 or More Years
                                           124    $473       $625     $895       $680     $624    $602

Austin TX            Fewer Than 21 Years
                                           22     $423       $495     $772       $620     $585    $543

                     21 or More Years
                                           39     $450       $550     $858       $624     $568    $532

Baltimore MD         Fewer Than 21 Years
                                           31     $373       $509     $762       $583     $547    $531

                     21 or More Years
                                           72     $509       $625     $710       $642     $669    $618

Birmingham AL        Fewer Than 21 Years
                                           36     $310       $353     $409       $362     $364    $359

                     21 or More Years
                                           32     $375       $480     $553       $470     $455    $439

Boston MA            Fewer Than 21 Years
                                           74     $475       $650     $868       $686     $708    $644

                     21 or More Years
                                           131    $415       $719     $909       $735     $724    $654

Bridgeport CT        21 or More Years
                                           19     $375       $537     $600       $499     $487    $441

Buffalo NY           Fewer Than 21 Years
                                           20     $329       $343     $352       $331     $326    $333

                     21 or More Years
                                           15     $319       $340     $380       $358     $352    $356

Charleston WV        21 or More Years



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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                       Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022    2021     2020
Buffalo NY           21 or More Years            Quartile            Quartile
Charleston WV        21 or More Years
                                           24     $268       $300     $325       $301     $302    $307

Charlotte NC         Fewer Than 21 Years
                                           43     $507       $596     $679       $626     $596    $553

                     21 or More Years
                                           42     $575       $701     $930       $774     $775    $710

Chicago IL           Fewer Than 21 Years
                                           183    $532       $768    $1,057      $812     $783    $772

                     21 or More Years
                                           335    $575       $810    $1,168      $889     $879    $850

Cincinnati OH        Fewer Than 21 Years
                                           18     $403       $485     $538       $479     $404    $425

                     21 or More Years
                                           29     $425       $490     $575       $498     $492    $472

Cleveland OH         Fewer Than 21 Years
                                           68     $393       $435     $550       $501     $478    $460

                     21 or More Years
                                           116    $456       $527     $740       $613     $580    $573

Columbia SC          21 or More Years
                                           18     $388       $446     $550       $463     $423    $399

Columbus OH          21 or More Years
                                           26     $418       $495     $627       $520     $494    $470

Dallas TX            Fewer Than 21 Years
                                           53     $401       $525     $643       $569     $550    $542

                     21 or More Years
                                           72     $525       $683     $993       $757     $830    $769

Denver CO            Fewer Than 21 Years
                                           47     $426       $490     $543       $499     $494    $460

                     21 or More Years



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Section I: High-Level Data Cuts                                        Cities
Cities By Years of Experience                                          By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                      Trend Analysis - Mean
                                                 First               Third
City                 Years of Experience   n               Median               2022    2021     2020
                     Fewer Than 21 Years        Quartile            Quartile
Denver CO            21 or More Years
                                           75    $452       $582     $700       $607     $583    $541

Detroit MI           Fewer Than 21 Years
                                           18    $250       $378     $440       $360     $377    $337

                     21 or More Years
                                           47    $297       $340     $455       $369     $390    $360

Greenville SC        Fewer Than 21 Years
                                           11    $358       $375     $385       $373     $354    $378

                     21 or More Years
                                           18    $389       $441     $531       $458     $462    $452

Hartford CT          Fewer Than 21 Years
                                           16    $360       $475     $519       $452     $397    $425

                     21 or More Years
                                           27    $385       $525     $730       $565     $555    $536

Honolulu HI          21 or More Years
                                           15    $287       $300     $361       $333     $375    $369

Houston TX           Fewer Than 21 Years
                                           51    $475       $715     $915       $745     $691    $734

                     21 or More Years
                                           59    $501       $854    $1,060      $850     $794    $785

Indianapolis IN      Fewer Than 21 Years
                                           22    $270       $405     $450       $384     $383    $399

                     21 or More Years
                                           37    $346       $448     $649       $477     $470    $452

Jackson MS           Fewer Than 21 Years
                                           15    $296       $333     $382       $338     $355    $329

                     21 or More Years
                                           22    $295       $360     $485       $401     $399    $370

Kansas City MO       Fewer Than 21 Years



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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                       Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022    2021     2020
Jackson MS           21 or More Years            Quartile            Quartile
Kansas City MO       Fewer Than 21 Years
                                           46     $400       $450     $537       $473     $411    $397

                     21 or More Years
                                           68     $440       $553     $658       $539     $497    $491

Las Vegas NV         Fewer Than 21 Years
                                           12     $284       $381     $495       $389     $349    $343

                     21 or More Years
                                           13     $350       $425     $515       $468     $456    $472

Los Angeles CA       Fewer Than 21 Years
                                           183    $533       $801    $1,075      $804     $797    $682

                     21 or More Years
                                           333    $550       $765    $1,133      $863     $842    $808

Memphis TN           Fewer Than 21 Years
                                           14     $288       $331     $380       $345     $317    $328

                     21 or More Years
                                           15     $355       $415     $425       $394     $382    $375

Miami FL             Fewer Than 21 Years
                                           57     $370       $450     $598       $490     $498    $443

                     21 or More Years
                                           104    $388       $581     $749       $584     $580    $536

Milwaukee WI         21 or More Years
                                           16     $302       $454     $613       $589     $515    $530

Minneapolis MN       Fewer Than 21 Years
                                           36     $470       $530     $607       $532     $486    $499

                     21 or More Years
                                           84     $507       $675     $796       $656     $620    $589

Nashville TN         Fewer Than 21 Years
                                           28     $375       $405     $535       $449     $405    $397

                     21 or More Years



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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                        Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022     2021     2020
                     Fewer Than 21 Years         Quartile            Quartile
Nashville TN         21 or More Years
                                           44     $425       $475     $553       $498      $489    $469

New Orleans LA       Fewer Than 21 Years
                                           22     $313       $329     $347       $341      $322    $346

                     21 or More Years
                                           39     $309       $360     $438       $407      $365    $382

New York NY          Fewer Than 21 Years
                                           420    $641      $1,021   $1,460      $1,058   $1,028   $979

                     21 or More Years
                                           919    $637      $1,070   $1,560      $1,091   $1,060   $995

Oklahoma City OK     21 or More Years
                                           15     $220       $343     $390       $326      $328    $313

Omaha NE             Fewer Than 21 Years
                                           12     $255       $273     $345       $293      $295    $307

                     21 or More Years
                                           19     $341       $390     $420       $379      $383    $363

Orlando FL           Fewer Than 21 Years
                                           15     $396       $404     $453       $432      $502    $450

                     21 or More Years
                                           25     $411       $470     $475       $438      $453    $428

Philadelphia PA      Fewer Than 21 Years
                                           163    $453       $600     $739       $618      $599    $561

                     21 or More Years
                                           287    $525       $715     $900       $738      $708    $697

Phoenix AZ           Fewer Than 21 Years
                                           22     $302       $426     $467       $412      $381    $378

                     21 or More Years
                                           60     $375       $468     $584       $499      $481    $425

Pittsburgh PA        Fewer Than 21 Years



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Section I: High-Level Data Cuts                                        Cities
Cities By Years of Experience                                          By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                      Trend Analysis - Mean
                                                 First               Third
City                 Years of Experience   n               Median               2022    2021     2020
Phoenix AZ           21 or More Years           Quartile            Quartile
Pittsburgh PA        Fewer Than 21 Years
                                           41    $420       $605     $754       $598     $572    $490

                     21 or More Years
                                           76    $428       $564     $756       $603     $611    $565

Portland ME          Fewer Than 21 Years
                                           12    $308       $340     $416       $347     $351    $347

                     21 or More Years
                                           19    $218       $385     $450       $358     $385    $346

Portland OR          Fewer Than 21 Years
                                           33    $400       $465     $639       $522     $471    $418

                     21 or More Years
                                           35    $450       $502     $653       $533     $516    $485

Raleigh NC           Fewer Than 21 Years
                                           15    $281       $366     $467       $393     $414    $430

                     21 or More Years
                                           24    $275       $425     $595       $454     $487    $468

Richmond VA          Fewer Than 21 Years
                                           25    $585       $723     $775       $682     $652    $626

                     21 or More Years
                                           30    $425       $680     $976       $713     $629    $625

Salt Lake City UT    Fewer Than 21 Years
                                           19    $293       $368     $430       $364     $334    $349

                     21 or More Years
                                           24    $314       $425     $515       $424     $392    $375

San Diego CA         Fewer Than 21 Years
                                           23    $380       $425     $680       $563     $608    $531

                     21 or More Years
                                           58    $447       $707    $1,212      $822     $739    $654

San Francisco CA     Fewer Than 21 Years



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Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                        Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022     2021     2020
San Diego CA         21 or More Years            Quartile            Quartile
San Francisco CA     Fewer Than 21 Years
                                           89     $481       $750     $987       $768      $715    $692

                     21 or More Years
                                           149    $523       $755     $994       $784      $768    $764

San Jose CA          Fewer Than 21 Years
                                           13     $661       $945    $1,382      $1,016    $970    $851

                     21 or More Years
                                           51     $665       $864    $1,251      $963      $982    $910

Seattle WA           Fewer Than 21 Years
                                           63     $400       $500     $668       $542      $476    $448

                     21 or More Years
                                           81     $495       $600     $760       $625      $575    $564

St. Louis MO         Fewer Than 21 Years
                                           30     $363       $402     $461       $416      $431    $427

                     21 or More Years
                                           55     $300       $429     $544       $441      $431    $455

Tampa FL             Fewer Than 21 Years
                                           22     $312       $372     $510       $409      $402    $376

                     21 or More Years
                                           37     $375       $498     $570       $495      $514    $486

Trenton NJ           21 or More Years
                                           15     $419       $553     $700       $573      $642    $617

Washington DC        Fewer Than 21 Years
                                           364    $650       $856     $980       $850      $818    $780

                     21 or More Years
                                           673    $675       $890    $1,096      $920      $899    $870

Wheeling WV          Fewer Than 21 Years
                                           12     $737       $762     $774       $723      $720    $528




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Section I: High-Level Data Cuts                                      Cities
Cities                                                               By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                      Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                2022        2021      2020
                                         Quartile            Quartile
Albany NY              Partner
                                   19     $288       $305     $325        $325        $353      $359

                       Associate
                                   19     $230       $240     $250        $250        $236      $236

Atlanta GA             Partner
                                   294    $450       $616     $842        $659        $615      $605

                       Associate
                                   297    $325       $414     $579        $459        $426      $404

Austin TX              Partner
                                   90     $420       $495     $709        $572        $548      $527

                       Associate
                                   65     $317       $406     $630        $465        $407      $411

Baltimore MD           Partner
                                   140    $395       $600     $774        $621        $631      $612

                       Associate
                                   140    $303       $412     $582        $462        $476      $451

Baton Rouge LA         Partner
                                   13     $295       $335     $436        $372        $365      $367

Birmingham AL          Partner
                                   87     $325       $393     $480        $405        $396      $389

                       Associate
                                   82     $264       $300     $325        $298        $295      $301

Boise City ID          Partner
                                   13     $242       $295     $311        $310        $319      $295

Boston MA              Partner
                                   257    $450       $695     $903        $725        $713      $663

                       Associate
                                   258    $357       $500     $661        $534        $523      $476

Bridgeport CT          Partner



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Section I: High-Level Data Cuts                                       Cities
Cities                                                                By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                 2022        2021      2020
Boston MA              Associate         Quartile            Quartile
Bridgeport CT          Partner
                                   29     $375       $515     $589         $491        $479      $432

                       Associate
                                   14     $246       $295     $350         $302        $270      $265

Buffalo NY             Partner
                                   41     $325       $341     $360         $344        $336      $343

                       Associate
                                   27     $211       $250     $265         $245        $238      $246

Burlington VT          Partner
                                   13     $210       $265     $300         $279        $258      $268

Charleston SC          Partner
                                   13     $283       $300     $442         $352        $358      $340

Charleston WV          Partner
                                   34     $250       $300     $325         $295        $291      $300

Charlotte NC           Partner
                                   103    $549       $639     $772         $693        $668      $639

                       Associate
                                   105    $320       $365     $472         $432        $435      $403

Chicago IL             Partner
                                   762    $600       $829    $1,135        $877        $865      $820

                       Associate
                                   664    $400       $540     $722         $568        $584      $546

Cincinnati OH          Partner
                                   58     $395       $474     $564         $475        $463      $451

                       Associate
                                   72     $260       $305     $350         $309        $296      $276

Cleveland OH           Partner
                                   212    $397       $500     $638         $559        $536      $531

                       Associate



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Section I: High-Level Data Cuts                                      Cities
Cities                                                               By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                      Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                2022        2021      2020
                       Partner           Quartile            Quartile
Cleveland OH           Associate
                                   184    $255       $295     $380        $330        $322      $303

Columbia SC            Partner
                                   41     $350       $410     $510        $426        $401      $383

                       Associate
                                   32     $250       $315     $345        $305        $273      $256

Columbus OH            Partner
                                   49     $400       $471     $590        $493        $492      $486

                       Associate
                                   33     $255       $290     $350        $310        $297      $276

Dallas TX              Partner
                                   196    $420       $565     $918        $667        $676      $658

                       Associate
                                   186    $303       $493     $690        $512        $497      $494

Dayton OH              Partner
                                   15     $353       $385     $423        $396        $403      $414

Denver CO              Partner
                                   146    $445       $521     $626        $558        $535      $496

                       Associate
                                   112    $285       $356     $425        $370        $344      $324

Detroit MI             Partner
                                   83     $297       $350     $443        $367        $383      $366

                       Associate
                                   49     $215       $253     $301        $266        $271      $266

Greenville SC          Partner
                                   38     $375       $420     $488        $428        $428      $425

                       Associate
                                   19     $265       $295     $346        $311        $314      $312

Hartford CT            Partner



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Section I: High-Level Data Cuts                                       Cities
Cities                                                                By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                 2022        2021      2020
Greenville SC          Associate         Quartile            Quartile
Hartford CT            Partner
                                   47     $356       $506     $599         $518        $500      $497

                       Associate
                                   33     $274       $319     $350         $316        $300      $301

Honolulu HI            Partner
                                   23     $275       $300     $360         $324        $354      $350

                       Associate
                                   15     $189       $200     $206         $205        $205      $198

Houston TX             Partner
                                   153    $440       $750    $1,025        $783        $736      $732

                       Associate
                                   188    $315       $425     $610         $473        $444      $416

Indianapolis IN        Partner
                                   71     $328       $421     $523         $436        $433      $436

                       Associate
                                   41     $250       $271     $342         $296        $272      $268

Jackson MS             Partner
                                   83     $300       $323     $404         $358        $382      $370

                       Associate
                                   69         $55    $225     $250         $171        $174      $187

Jacksonville FL        Partner
                                   22     $280       $300     $483         $372        $456      $387

Kansas City MO         Partner
                                   159    $411       $470     $575         $499        $472      $457

                       Associate
                                   114    $250       $325     $385         $321        $314      $294

Las Vegas NV           Partner
                                   31     $300       $406     $511         $425        $435      $426

                       Associate



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Section I: High-Level Data Cuts                                       Cities
Cities                                                                By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                          First               Third
City                 Role         n                 Median                 2022        2021      2020
                     Partner             Quartile            Quartile
Las Vegas NV         Associate
                                  15      $250       $308     $361         $314        $313      $283

Little Rock AR       Partner
                                  16      $215       $250     $311         $271        $260      $287

                     Associate
                                  17      $150       $150     $185         $173        $171      $188

Los Angeles CA       Partner
                                 743      $550       $825    $1,140        $863        $844      $796

                     Associate
                                 1007     $429       $610     $847         $649        $676      $618

Louisville KY        Partner
                                  22      $265       $325     $360         $326        $343      $339

                     Associate
                                  20      $196       $248     $271         $240        $232      $232

Madison WI           Partner
                                  11      $378       $425     $535         $447        $426      $437

Memphis TN           Partner
                                  30      $290       $359     $425         $365        $349      $354

Miami FL             Partner
                                 214      $364       $528     $688         $542        $535      $504

                     Associate
                                 156      $271       $387     $476         $393        $379      $372

Milwaukee WI         Partner
                                  36      $290       $375     $464         $448        $449      $448

                     Associate
                                  23      $265       $290     $361         $312        $310      $300

Minneapolis MN       Partner
                                 168      $454       $626     $728         $611        $576      $543

                     Associate



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Section I: High-Level Data Cuts                                        Cities
Cities                                                                 By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                         Trend Analysis - Mean
                                           First               Third
City                   Role         n                Median                 2022        2021       2020
                       Partner            Quartile            Quartile
Minneapolis MN         Associate
                                   135     $344       $435     $526         $433        $398       $371

Nashville TN           Partner
                                   101     $380       $470     $558         $478        $462       $454

                       Associate
                                    69     $250       $323     $380         $327        $299       $273

New Haven CT           Partner
                                    11     $308       $438     $533         $431        $428       $449

New Orleans LA         Partner
                                    75     $295       $334     $412         $373        $351       $362

                       Associate
                                    59     $237       $250     $337         $277        $293       $270

New York NY            Partner
                                   1791    $625      $1,050   $1,538       $1,076       $1,043     $990

                       Associate
                                   2292    $460       $713     $980         $731        $707       $664

Oklahoma City OK       Partner
                                    23     $220       $313     $365         $311        $309       $299

                       Associate
                                    12     $200       $219     $268         $242        $208       $208

Omaha NE               Partner
                                    40     $297       $355     $411         $349        $352       $344

                       Associate
                                    13     $192       $215     $270         $240        $237       $233

Orlando FL             Partner
                                    61     $400       $460     $475         $455        $477       $454

                       Associate
                                    44     $249       $293     $390         $318        $312       $290

Philadelphia PA        Partner



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Section I: High-Level Data Cuts                                      Cities
Cities                                                               By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                      Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                2022        2021      2020
Orlando FL             Associate         Quartile            Quartile
Philadelphia PA        Partner
                                   605    $509       $695     $884        $716        $686      $670

                       Associate
                                   583    $369       $433     $530        $465        $429      $409

Phoenix AZ             Partner
                                   105    $330       $427     $561        $466        $435      $400

                       Associate
                                   60     $225       $280     $342        $299        $273      $249

Pittsburgh PA          Partner
                                   167    $435       $605     $804        $619        $623      $567

                       Associate
                                   165    $320       $415     $520        $423        $397      $373

Portland ME            Partner
                                   43     $250       $385     $450        $398        $409      $386

                       Associate
                                   22     $180       $200     $250        $219        $252      $244

Portland OR            Partner
                                   73     $400       $498     $640        $517        $489      $457

                       Associate
                                   109    $362       $423     $503        $430        $383      $357

Raleigh NC             Partner
                                   47     $275       $395     $539        $431        $453      $437

                       Associate
                                   24     $213       $275     $303        $272        $329      $342

Richmond VA            Partner
                                   81     $490       $695     $810        $686        $639      $634

                       Associate
                                   78     $355       $450     $557        $474        $447      $420

Rochester NY           Partner



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Section I: High-Level Data Cuts                                       Cities
Cities                                                                By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                          First               Third
City                   Role         n               Median                 2022        2021      2020
Richmond VA            Associate         Quartile            Quartile
Rochester NY           Partner
                                   14     $261       $360     $425         $369        $325      $389

                       Associate
                                   18     $221       $278     $365         $298        $267      $274

Sacramento CA          Partner
                                   17     $375       $430     $659         $503        $478      $436

                       Associate
                                   13     $263       $350     $375         $320        $341      $333

Salt Lake City UT      Partner
                                   53     $290       $370     $449         $384        $355      $361

                       Associate
                                   24     $220       $240     $270         $252        $244      $227

San Antonio TX         Partner
                                   12     $406       $440     $450         $436        $499      $422

San Diego CA           Partner
                                   107    $316       $457     $996         $643        $637      $569

                       Associate
                                   90     $225       $300     $380         $340        $342      $306

San Francisco CA       Partner
                                   320    $440       $718     $979         $751        $732      $721

                       Associate
                                   239    $334       $458     $706         $537        $544      $494

San Jose CA            Partner
                                   72     $658       $878    $1,209        $949        $956      $880

                       Associate
                                   61     $401       $505     $749         $613        $621      $544

Seattle WA             Partner
                                   194    $443       $548     $760         $592        $554      $535

                       Associate



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Section I: High-Level Data Cuts                                       Cities
Cities                                                                By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                          First               Third
City                 Role         n                 Median                 2022        2021      2020
                     Partner             Quartile            Quartile
Seattle WA           Associate
                                 158      $322       $405     $530         $431        $422      $384

St. Louis MO         Partner
                                  92      $337       $396     $485         $421        $419      $440

                     Associate
                                  22      $200       $250     $280         $251        $253      $251

Tallahassee FL       Partner
                                  11      $345       $515     $678         $531        $486      $487

Tampa FL             Partner
                                  69      $345       $411     $560         $462        $475      $453

                     Associate
                                  27      $250       $290     $325         $302        $304      $298

Trenton NJ           Partner
                                  28      $412       $543     $685         $555        $599      $572

                     Associate
                                  15      $393       $495     $530         $445        $383      $372

Washington DC        Partner
                                 1316     $665       $888    $1,080        $905        $881      $850

                     Associate
                                 1177     $469       $630     $730         $631        $604      $566

Wheeling WV          Partner
                                  37      $771       $837     $917         $835        $770      $778

                     Associate
                                 101      $392       $518     $654         $514        $487      $519




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Section    I: High-Level
Detailed Practice Area   Data Cuts                                           Detailed Practice Area
By Matter Type                                                               By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                              Trend Analysis - Mean
                                                            First           Third
Practice Area              Matter Type Role           n             Median             2022      2021     2020
                                                           Quartile        Quartile
Bankruptcy and             Litigation    Partner
Collections                                          231    $325    $425       $604    $495      $489     $468

                                         Associate
                                                     156    $255    $310       $395    $352      $366     $362

                                         Paralegal
                                                     105    $160    $200       $255    $212      $196     $198

                           Non-Litigation Partner
                                                     223    $340    $410       $548    $484      $525     $567

                                         Associate
                                                     122    $254    $345       $420    $374      $448     $457

                                         Paralegal
                                                     99     $140    $194       $235    $200      $195     $216

Commercial                 Litigation    Partner
                                                     845    $450    $649       $949    $740      $686     $657

                                         Associate
                                                     798    $328    $444       $650    $520      $484     $447

                                         Paralegal
                                                     387    $186    $265       $345    $274      $259     $251

                           Non-Litigation Partner
                                                     508    $513    $690       $973    $776      $780     $786

                                         Associate
                                                     349    $353    $464       $629    $534      $550     $555

                                         Paralegal
                                                     110    $200    $272       $356    $284      $274     $282

Corporate: Antitrust and   Litigation    Partner
Competition                                          24     $887    $1,068    $1,321   $1,060    $926     $795

                                         Paralegal




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Section    I: High-Level
Detailed Practice Area   Data Cuts                                           Detailed Practice Area
By Matter Type                                                               By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                     Trend Analysis - Mean
                                                            First           Third
Practice Area              Matter Type Role           n             Median             2022      2021     2020
                                       Partner             Quartile        Quartile
Corporate: Antitrust and   Litigation  Paralegal
Competition                                          35     $311    $360       $419    $370      $317     $279

                           Non-Litigation Partner
                                                     43     $888    $1,208    $1,444   $1,182    $1,082   $1,050

                                         Associate
                                                     62     $583    $703       $912    $713      $665     $651

Corporate: Governance      Non-Litigation Partner
                                                     144    $858    $1,062    $1,462   $1,128    $1,075   $1,066

                                         Associate
                                                     133    $538    $710       $883    $719      $690     $667

                                         Paralegal
                                                     40     $277    $325       $375    $310      $307     $281

Corporate: Information     Non-Litigation Partner
and Technology                                       31     $551    $755       $965    $818      $768     $771

                                         Associate
                                                     29     $360    $462       $578    $496      $452     $502

Corporate: Mergers,        Non-Litigation Partner
Acquisitions and                                     364    $651    $923      $1,379   $1,029    $931     $948
Divestitures
                                         Associate
                                                     430    $486    $695       $955    $736      $630     $619

                                         Paralegal
                                                     118    $302    $390       $468    $379      $331     $303

Corporate: Other           Litigation    Partner
                                                     883    $520    $725       $950    $774      $757     $715

                                         Associate
                                                     743    $375    $520       $687    $540      $517     $487

                                         Paralegal



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                             Detailed Practice Area
By Matter Type                                                                 By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                                Trend Analysis - Mean
                                                              First           Third
Practice Area              Matter Type Role           n               Median             2022      2021     2020
                                       Associate             Quartile        Quartile
Corporate: Other           Litigation  Paralegal
                                                     324      $190    $265       $336    $261      $263     $241

                           Non-Litigation Partner
                                                     1,641    $539    $875      $1,212   $916      $854     $832

                                         Associate
                                                     1,450    $430    $622       $800    $649      $612     $585

                                         Paralegal
                                                     501      $200    $300       $410    $307      $283     $260

Corporate: Partnerships    Non-Litigation Partner
and Joint Ventures                                    68      $986    $1,424    $1,740   $1,277    $1,207   $1,175

                                         Associate
                                                      95      $734    $977      $1,180   $943      $895     $778

Corporate: Regulatory and Litigation     Partner
Compliance                                           233      $650    $835      $1,017   $869      $860     $814

                                         Associate
                                                     219      $430    $541       $723    $580      $588     $558

                                         Paralegal
                                                      88      $214    $275       $353    $292      $281     $270

                           Non-Litigation Partner
                                                     794      $535    $726       $965    $785      $755     $745

                                         Associate
                                                     696      $400    $533       $695    $567      $534     $518

                                         Paralegal
                                                     174      $184    $221       $300    $246      $241     $242

Corporate: Tax             Litigation    Paralegal
                                                      14      $153    $175       $190    $192      $187     $160

                           Non-Litigation Partner



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                        Detailed Practice Area
By Matter Type                                                            By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                           Trend Analysis - Mean
                                                           First           Third
Practice Area            Matter Type Role            n             Median            2022    2021     2020
                         Litigation     Paralegal         Quartile        Quartile
Corporate: Tax           Non-Litigation Partner
                                                    266    $641    $905    $1,165    $943    $939     $914

                                        Associate
                                                    190    $499    $659     $877     $699    $660     $607

                                        Paralegal
                                                    44     $210    $277     $362     $292    $302     $310

Corporate: Treasury      Non-Litigation Partner
                                                    35     $800    $935    $1,019    $968    $900     $997

                                        Associate
                                                    33     $399    $502     $698     $590    $515     $487

Employment and Labor:    Litigation     Partner
ADA                                                 11     $446    $502     $634     $532    $513     $486

                                        Associate
                                                    21     $340    $372     $415     $380    $361     $347

Employment and Labor:    Litigation     Partner
Agreements                                          34     $436    $711     $874     $721    $677     $680

                                        Associate
                                                    18     $347    $475     $654     $507    $497     $530

                         Non-Litigation Associate
                                                    41     $266    $350     $420     $359    $352     $383

                                        Paralegal
                                                    15     $158    $180     $186     $179    $192     $186

Employment and Labor:    Litigation     Partner
Compensation and                                    26     $427    $554     $667     $612    $605     $606
Benefits
                                        Associate
                                                    15     $292    $385     $547     $453    $427     $422

                         Non-Litigation Partner



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                         Detailed Practice Area
By Matter Type                                                             By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                            Trend Analysis - Mean

Employment                                                  First           Third
Practice Areaand Labor:   Matter Type Role            n             Median            2022    2021     2020
ERISA                     Non-Litigation Associate         Quartile        Quartile
Employment and Labor:     Non-Litigation Partner
Immigration                                          50     $496    $617     $748     $638    $601     $582

                                        Associate
                                                     45     $315    $455     $567     $462    $401     $382

                                        Paralegal
                                                     25     $153    $200     $218     $183    $179     $197

Employment and Labor:     Litigation    Partner
Other                                                277    $500    $685     $873     $710    $681     $619

                                        Associate
                                                     247    $334    $428     $575     $461    $470     $442

                                        Paralegal
                                                     83     $180    $234     $290     $229    $226     $217

                          Non-Litigation Partner
                                                     702    $425    $504     $690     $592    $569     $591

                                        Associate
                                                     483    $315    $375     $473     $417    $408     $408

                                        Paralegal
                                                     158    $150    $205     $277     $223    $237     $236

Employment and Labor:     Non-Litigation Partner
Union Relations and                                  111    $470    $525     $653     $591    $593     $550
Negotiations / NLRB
                                        Associate
                                                     56     $318    $350     $428     $376    $416     $395

Employment and Labor:    Litigation     Partner
Wages, Tips and Overtime                             44     $440    $490     $668     $551    $514     $505

                                        Associate
                                                     39     $310    $363     $485     $413    $383     $348

                                        Paralegal



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                          Detailed Practice Area
By Matter Type                                                              By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                              Trend Analysis - Mean
                                                             First           Third
Practice Area              Matter Type Role            n             Median            2022      2021     2020
                                       Associate            Quartile        Quartile
Employment and Labor:      Litigation  Paralegal
Wages, Tips and Overtime                              14     $144    $193     $300     $222      $197     $174

                           Non-Litigation Associate
                                                      15     $294    $325     $350     $322      $340     $359

Employment and Labor:      Litigation    Partner
Wrongful Termination                                  20     $327    $603     $705     $553      $518     $555

                                         Paralegal
                                                      11     $120    $150     $240     $183      $216     $191

                           Non-Litigation Associate
                                                      21     $250    $285     $350     $299      $332     $330

Environmental              Litigation    Partner
                                                      63     $415    $530     $641     $575      $519     $522

                                         Associate
                                                      56     $340    $400     $558     $473      $381     $372

                                         Paralegal
                                                      11     $182    $200     $300     $239      $232     $237

                           Non-Litigation Partner
                                                      88     $450    $532     $751     $657      $627     $588

                                         Associate
                                                      46     $345    $444     $605     $484      $511     $435

Finance and Securities:    Non-Litigation Partner
Debt/Equity Offerings                                 108    $690    $973    $1,600    $1,105    $966     $972

                                         Associate
                                                      92     $442    $689    $1,140    $754      $614     $590

                                         Paralegal
                                                      36     $258    $366     $410     $349      $282     $287

Finance and Securities:    Litigation    Associate
Fiduciary Services


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Section    I: High-Level
Detailed Practice Area   Data Cuts                                            Detailed Practice Area
By Matter Type                                                                By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                      Trend Analysis - Mean

Finance                                                      First           Third
Practice and
         AreaSecurities:   Matter Type Role            n             Median             2022      2021     2020
Debt/Equity Offerings      Non-Litigation Paralegal         Quartile        Quartile
Finance and Securities:    Litigation     Associate
Fiduciary Services                                    22     $383    $472       $565    $471      $418     $384

                                         Paralegal
                                                      14     $197    $246       $295    $247      $234     $207

                           Non-Litigation Partner
                                                      44     $454    $540       $912    $694      $687     $675

                                         Associate
                                                      21     $290    $350       $390    $394      $410     $391

Finance and Securities:    Litigation    Partner
Investments and Other                                 30     $787    $962      $1,211   $941      $881     $1,002
Financial Instruments
                                         Associate
                                                      35     $541    $640       $769    $678      $559     $568

                                         Paralegal
                                                      28     $236    $253       $313    $280      $269     $256

                           Non-Litigation Partner
                                                      688    $737    $1,020    $1,354   $1,060    $1,091   $1,001

                                         Associate
                                                      753    $501    $690       $908    $725      $767     $700

                                         Paralegal
                                                      224    $218    $292       $388    $309      $325     $285

Finance and Securities:    Litigation    Partner
Loans and Financing                                   67     $415    $541       $711    $664      $633     $546

                                         Associate
                                                      71     $265    $315       $479    $411      $402     $367

                                         Paralegal
                                                      36     $170    $230       $250    $223      $225     $208

                           Non-Litigation Partner



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                               Detailed Practice Area
By Matter Type                                                                   By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                         Trend Analysis - Mean
                                                                First           Third
Practice Area               Matter Type Role            n               Median             2022      2021     2020
                            Litigation     Paralegal           Quartile        Quartile
Finance and Securities:     Non-Litigation Partner
Loans and Financing                                    1,006    $575    $866      $1,327   $961      $959     $896

                                           Associate
                                                       968      $435    $640       $905    $685      $693     $629

                                           Paralegal
                                                       424      $207    $295       $399    $304      $316     $292

Finance and Securities:     Non-Litigation Partner
Other                                                   16      $672    $909      $1,513   $1,028    $999     $1,051

Finance and Securities:     Non-Litigation Partner
SEC Filings and Financial                               65      $761    $1,183    $1,691   $1,175    $1,200   $1,048
Reporting
                                           Associate
                                                        55      $667    $897      $1,179   $901      $805     $679

                                           Paralegal
                                                        21      $360    $475       $475    $427      $380     $333

Finance and Securities:     Non-Litigation Partner
Securities and Banking                                  41      $850    $1,229    $1,425   $1,124    $1,009   $1,036
Regulations
                                           Associate
                                                        15      $535    $680       $929    $689      $634     $619

General Liability:          Litigation     Partner
Asbestos/Mesothelioma                                   98      $225    $275       $321    $319      $330     $362

                                           Associate
                                                        60      $195    $250       $275    $253      $253     $256

                                           Paralegal
                                                        84      $100    $115       $127    $126      $128     $129

                            Non-Litigation Partner
                                                        37      $260    $325       $385    $441      $397     $338

                                           Paralegal



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                            Detailed Practice Area
By Matter Type                                                                By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                      Trend Analysis - Mean
                                                        37     First
                                                               $260     $325   Third
                                                                               $385      $441    $397     $338
Practice Area                Matter Type Role           n              Median            2022    2021     2020
                                            Partner           Quartile        Quartile
General Liability:           Non-Litigation Paralegal
Asbestos/Mesothelioma                                   25     $100    $115     $146     $144    $140     $117

General Liability: Auto and Litigation      Partner
Transportation                                          21     $165    $315     $375     $305    $234     $262

                                            Paralegal
                                                        16     $90     $148     $210     $149    $117     $119

General Liability:           Litigation     Partner
Consumer Related Claims                                 61     $300    $536     $702     $543    $545     $468

                                            Associate
                                                        41     $323    $392     $455     $402    $424     $360

                                            Paralegal
                                                        23     $125    $140     $223     $181    $189     $161

General Liability: Crime,    Litigation     Partner
Dishonesty and Fraud                                    18     $506    $525     $599     $558    $544     $509

                                            Associate
                                                        11     $379    $463     $575     $468    $424     $355

                                            Paralegal
                                                        12     $200    $220     $250     $246    $248     $196

General Liability: Other     Litigation     Partner
                                                        122    $275    $691     $950     $687    $676     $606

General Liability: Personal Litigation      Partner
Injury/Wrongful Death                                   225    $195    $250     $415     $377    $350     $330

                                            Associate
                                                        161    $173    $200     $275     $273    $276     $246

                                            Paralegal
                                                        170    $90     $108     $135     $129    $130     $120

General Liability: Premises Litigation      Partner



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                           Detailed Practice Area
By Matter Type                                                               By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                     Trend Analysis - Mean

General                                                       First           Third
Practice Liability:
         Area       Personal Matter Type Role           n             Median            2022    2021     2020
Injury/Wrongful Death        Litigation  Paralegal           Quartile        Quartile
General Liability: Premises Litigation   Partner
                                                       56     $294    $404     $518     $436    $424     $387

                                           Associate
                                                       44     $233    $270     $325     $299    $283     $278

                                           Paralegal
                                                       30     $125    $156     $190     $162    $168     $159

General Liability: Product   Litigation    Partner
and Product Liability                                  246    $315    $400     $580     $457    $481     $463

                                           Associate
                                                       199    $243    $305     $407     $341    $336     $324

                                           Paralegal
                                                       198    $125    $135     $196     $167    $169     $163

General Liability: Property Litigation     Partner
Damage                                                 50     $371    $468     $600     $496    $493     $475

                                           Associate
                                                       44     $285    $314     $388     $342    $344     $335

                                           Paralegal
                                                       15     $128    $160     $193     $174    $180     $193

General Liability: Toxic     Litigation    Partner
Tort                                                   25     $285    $332     $553     $502    $420     $439

                                           Associate
                                                       23     $225    $225     $450     $359    $324     $348

                                           Paralegal
                                                       16     $100    $108     $158     $152    $162     $179

Government Relations         Non-Litigation Partner
                                                       53     $760    $891    $1,088    $951    $773     $818

                                           Associate



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                            Detailed Practice Area
By Matter Type                                                                By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                      Trend Analysis - Mean
                                                       53      First
                                                               $760     $891    Third
                                                                               $1,088    $951    $773     $818
Practice Area              Matter Type Role            n               Median            2022    2021     2020
                                          Partner             Quartile        Quartile
Government Relations       Non-Litigation Associate
                                                       68      $491    $646     $755     $601    $530     $579

Insurance Defense:         Litigation    Partner
Asbestos/Mesothelioma                                  24      $175    $175     $180     $186    $194     $209

Insurance Defense: Auto    Litigation    Partner
and Transportation                                    1,169    $165    $180     $205     $223    $219     $226

                                         Associate
                                                      889      $145    $162     $180     $165    $164     $158

                                         Paralegal
                                                      830      $85      $95     $100     $92      $91     $88

Insurance Defense:         Litigation    Partner
Consumer Related Claims                                53      $177    $225     $350     $312    $312     $397

Insurance Defense:         Litigation    Partner
Insurer Work Comp                                     262      $155    $165     $185     $182    $192     $200

                                         Associate
                                                      204      $145    $154     $160     $154    $153     $154

                                         Paralegal
                                                      207      $80      $95     $103     $97      $95     $93

Insurance Defense:         Litigation    Paralegal
Marine                                                 11      $73      $75     $100     $88      $83     $90

Insurance Defense: Other Litigation      Partner
                                                      1,696    $175    $198     $245     $241    $243     $230

                                         Associate
                                                      1,080    $160    $175     $200     $187    $185     $183

                                         Paralegal
                                                      891      $90      $95     $105     $100     $97     $96

Insurance Defense:       Litigation      Partner
Personal Injury/Wrongful
Death

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Section    I: High-Level
Detailed Practice Area   Data Cuts                                        Detailed Practice Area
By Matter Type                                                            By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                  Trend Analysis - Mean
                                                           First           Third
Practice Area            Matter Type Role            n             Median            2022    2021     2020
Insurance Defense: Other Litigation  Paralegal            Quartile        Quartile
Insurance Defense:       Litigation  Partner
Personal Injury/Wrongful                            198    $160    $180     $200     $191    $186     $189
Death
                                        Associate
                                                    157    $145    $159     $175     $163    $161     $158

                                        Paralegal
                                                    97     $80      $85     $90      $84      $82     $82

Insurance Defense:         Litigation   Partner
Pollution                                           120    $190    $220     $250     $255    $242     $233

                                        Associate
                                                    53     $180    $195     $215     $212    $209     $205

                                        Paralegal
                                                    45     $90      $95     $100     $104     $98     $103

Insurance Defense:         Litigation   Partner
Premises                                            756    $170    $185     $225     $216    $221     $220

Insurance Defense:         Litigation   Partner
Product and Product                                 106    $178    $183     $200     $203    $193     $196
Liability
                                        Associate
                                                    71     $155    $170     $185     $189    $172     $172

                                        Paralegal
                                                    47     $85      $95     $100     $96      $92     $95

Insurance Defense:         Litigation   Partner
Professional Liability                              111    $185    $215     $292     $264    $256     $243

                                        Associate
                                                    55     $173    $190     $293     $223    $226     $205

                                        Paralegal
                                                    43     $80      $95     $110     $110    $103     $103

Insurance Defense:         Litigation   Partner
Property Damage


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Section    I: High-Level
Detailed Practice Area   Data Cuts                                           Detailed Practice Area
By Matter Type                                                               By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                     Trend Analysis - Mean

Insurance  Defense:                                         First           Third
Practice Area              Matter Type Role           n             Median             2022      2021     2020
Professional Liability     Litigation  Paralegal           Quartile        Quartile
Insurance Defense:         Litigation  Partner
Property Damage                                      606    $175    $210       $250    $228      $227     $226

                                         Associate
                                                     495    $160    $182       $220    $194      $189     $184

                                         Paralegal
                                                     323    $85      $95       $110     $98       $94     $95

Insurance Policies and    Litigation     Partner
Coverage: Policy Coverage                            11     $304    $335       $525    $479      $495     $575
Dispute
Intellectual Property:     Non-Litigation Partner
Licensing                                            23     $893    $1,026    $1,272   $1,083    $1,111   $990

Intellectual Property:     Non-Litigation Partner
Other                                                65     $410    $600       $837    $656      $635     $624

                                         Associate
                                                     41     $365    $425       $600    $480      $429     $397

                                         Paralegal
                                                     22     $186    $219       $290    $235      $218     $215

Intellectual Property:     Litigation    Partner
Patents                                              258    $631    $875      $1,049   $865      $801     $771

                                         Associate
                                                     252    $495    $690       $818    $665      $594     $553

                                         Paralegal
                                                     147    $245    $305       $350    $304      $277     $265

                           Non-Litigation Partner
                                                     276    $385    $523       $782    $616      $575     $552

                                         Associate
                                                     295    $271    $379       $614    $459      $422     $404

                                         Paralegal



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Section    I: High-Level
Detailed Practice Area   Data Cuts                                             Detailed Practice Area
By Matter Type                                                                 By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal, Partner Partner                                Trend Analysis - Mean
                                                              First           Third
Practice Area               Matter Type Role            n             Median             2022      2021     2020
                                           Associate         Quartile        Quartile
Intellectual Property:      Non-Litigation Paralegal
Patents                                                123    $213    $254       $306    $262      $228     $219

Intellectual Property:      Litigation    Partner
Trademarks                                             19     $612    $763       $965    $782      $673     $610

                                          Associate
                                                       16     $451    $589       $719    $584      $488     $453

                            Non-Litigation Partner
                                                       115    $450    $573       $725    $608      $620     $629

                                          Associate
                                                       75     $325    $390       $479    $423      $411     $391

                                          Paralegal
                                                       75     $210    $238       $321    $258      $254     $241

Miscellaneous: Billing or   Non-Litigation Partner
Administrative Matter                                  76     $904    $1,005    $1,187   $1,059    $1,080   $969

                                          Associate
                                                       51     $488    $613       $790    $645      $689     $642

Miscellaneous: General      Non-Litigation Partner
Advice & Counsel                                       91     $718    $955      $1,236   $984      $972     $933

                                          Associate
                                                       45     $401    $490       $699    $590      $641     $609

                                          Paralegal
                                                       17     $285    $375       $450    $362      $321     $361

Real Estate: Construction/ Litigation     Partner
Development                                            21     $465    $695       $760    $645      $576     $509

                                          Associate
                                                       13     $338    $360       $520    $410      $357     $308

Real Estate: Easement and Non-Litigation Partner
Right of Way


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Section    I: High-Level
Detailed Practice Area   Data Cuts                                         Detailed Practice Area
By Matter Type                                                             By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                   Trend Analysis - Mean

Real Estate:                                                First           Third
Practice AreaConstruction/ Matter Type Role           n             Median            2022    2021     2020
Development                Litigation    Associate         Quartile        Quartile
Real Estate: Easement and Non-Litigation Partner
Right of Way                                         17     $350    $395     $505     $449    $434     $506

Real Estate: Land          Non-Litigation Partner
Use/Zoning/Restrictive                               48     $476    $565     $740     $629    $628     $591
Covenants
                                         Associate
                                                     20     $240    $403     $565     $430    $428     $389

Real Estate: Leasing       Litigation    Partner
                                                     36     $250    $380     $600     $446    $501     $344

                                         Associate
                                                     30     $260    $383     $525     $391    $390     $249

                           Non-Litigation Partner
                                                     106    $395    $536     $726     $574    $555     $537

                                         Associate
                                                     76     $291    $413     $471     $406    $402     $393

Real Estate: Other         Litigation    Partner
                                                     109    $440    $550     $730     $614    $653     $531

                                         Associate
                                                     91     $333    $401     $503     $437    $443     $431

                                         Paralegal
                                                     53     $190    $260     $325     $252    $242     $222

                           Non-Litigation Partner
                                                     139    $385    $530     $729     $571    $512     $532

                                         Associate
                                                     92     $295    $385     $509     $417    $370     $374

                                         Paralegal
                                                     42     $168    $215     $254     $217    $218     $200

Real Estate:              Non-Litigation Partner
Property/Land Acquisition
or Divestiture

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Section    I: High-Level
Detailed Practice Area   Data Cuts                                         Detailed Practice Area
By Matter Type                                                             By Matter Type

2022 — Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                   Trend Analysis - Mean
                                                            First           Third
Practice Area             Matter Type Role            n             Median            2022    2021     2020
Real Estate: Other        Non-Litigation Paralegal         Quartile        Quartile
Real Estate:              Non-Litigation Partner
Property/Land Acquisition                            118    $475    $626     $915     $744    $658     $614
or Divestiture
                                         Associate
                                                     87     $379    $520     $608     $557    $514     $420

                                         Paralegal
                                                     25     $190    $250     $360     $278    $252     $233

Real Estate: Titles        Litigation    Partner
                                                     223    $295    $325     $400     $354    $344     $328

                                         Associate
                                                     124    $224    $250     $300     $269    $278     $257

                           Non-Litigation Partner
                                                     758    $260    $306     $400     $350    $341     $324

                                         Associate
                                                     584    $215    $250     $300     $289    $281     $261

                                         Paralegal
                                                     446    $105    $135     $165     $150    $144     $142

Requests for Information: Litigation     Partner
Subpoena                                             121    $395    $645     $933     $699    $703     $672

                                         Associate
                                                     92     $310    $549     $691     $536    $502     $454

                                         Paralegal
                                                     51     $195    $250     $339     $268    $259     $238




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Section
Firm Size I: High-Level Data Cuts                                           Firm Size
By Matter Type                                                              By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate
                 for Associate       & Partner
                               and Partner                                              Trend Analysis - Mean
                                                        First               Third
Firm Size             Matter Type Role           n                Median              2022    2021    2020
                                                       Quartile            Quartile
50 Lawyers or Fewer Litigation      Partner
                                                664     $265       $345     $450      $388    $376     $356

                                    Associate
                                                459     $195       $250     $325      $275    $283     $256

                      Non-Litigation Partner
                                                952     $295       $399     $525      $424    $420     $405

                                    Associate
                                                628     $219       $265     $336      $285    $276     $287

51-200 Lawyers        Litigation    Partner
                                                756     $305       $400     $586      $467    $455     $435

                                    Associate
                                                476     $225       $281     $385      $323    $313     $293

                      Non-Litigation Partner
                                                1013    $375       $480     $635      $533    $542     $528

                                    Associate
                                                611     $250       $325     $425      $362    $361     $342

201-500 Lawyers       Litigation    Partner
                                                822     $425       $555     $719      $604    $573     $558

                                    Associate
                                                708     $300       $380     $465      $411    $389     $381

                      Non-Litigation Partner
                                                1428    $422       $567     $785      $644    $633     $616

                                    Associate
                                                1147    $315       $420     $560      $461    $439     $423

501-1,000 Lawyers     Litigation    Partner
                                                1012    $605       $760     $995      $846    $810     $765

                                    Associate
                                                1135    $400       $535     $695      $577    $542     $509

                      Non-Litigation Partner




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Section
Firm Size I: High-Level Data Cuts                                            Firm Size
By Matter Type                                                               By Matter Type

2022——Real
2022   Real  Rates
           Rates     for Associate
                 for Associate       & Partner
                               and Partner                                                Trend Analysis - Mean
                                                         First               Third
Firm Size             Matter Type Role            n                Median              2022     2021     2020
                      Litigation     Associate          Quartile            Quartile
501-1,000 Lawyers     Non-Litigation Partner
                                                 1973    $625       $890    $1,275     $977     $943      $912

                                    Associate
                                                 2243    $450       $627     $845      $669     $660      $612

More Than 1,000       Litigation    Partner
Lawyers                                          707     $715       $895    $1,148     $955     $919      $891

                                    Associate
                                                 838     $450       $570     $760      $621     $600      $572

                      Non-Litigation Partner
                                                 1741    $841      $1,065   $1,360     $1,113   $1,073   $1,025

                                    Associate
                                                 2027    $505       $685     $918      $730     $722      $676




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Section II:
Industry
Analysis
All data and analysis based on
data collected thru Q2 2022




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Section
Section II:
All
        II:Industry
            IndustryAnalysis
                     Analysis                                                 All
By Matter Type
                                                                              By Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                         First               Third
Industry              Matter Type   Role         n                 Median              2022    2021     2020
                                                        Quartile            Quartile
Basic Materials and   Litigation    Partner
Utilities                                       323      $283       $395     $590      $454    $445     $439

                                    Associate
                                                251      $230       $300     $395      $328    $302     $306

                      Non-Litigation Partner
                                                399      $472       $658    $1,089     $848    $816     $753

                                    Associate
                                                308      $386       $595     $955      $686    $696     $548

Consumer Goods        Litigation    Partner
                                                226      $305       $366     $510      $466    $453     $439

                                    Associate
                                                151      $225       $281     $390      $328    $307     $305

                      Non-Litigation Partner
                                                316      $460       $617     $814      $652    $629     $616

                                    Associate
                                                148      $314       $385     $510      $435    $446     $412

Consumer Services     Litigation    Partner
                                                638      $425       $605     $840      $674    $612     $622

                                    Associate
                                                636      $335       $440     $599      $506    $454     $435

                      Non-Litigation Partner
                                                764      $472       $638     $945      $780    $689     $698

                                    Associate
                                                757      $388       $530     $734      $608    $514     $495

Financials Excluding Litigation     Partner
Insurance                                       1,126    $375       $561     $808      $639    $621     $596

                                    Associate
                                                982      $272       $389     $569      $442    $439     $414

                      Non-Litigation Partner
                                                2,911    $560       $875    $1,270     $938    $943     $901

                                    Associate
                                                2,764    $419       $610     $875      $666    $677     $638

Health Care           Litigation    Partner




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Section
Section II:
All
        II:Industry
            IndustryAnalysis
                     Analysis                                                All
By Matter Type
                                                                             By Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                             Trend Analysis - Mean
Financials                                              First               Third
Industry Excluding Matter Type Role             n                 Median              2022    2021     2020
Insurance          Non-Litigation Associate            Quartile            Quartile
Health Care        Litigation     Partner
                                               657      $425       $680     $925      $685    $713     $670

                                   Associate
                                               598      $373       $500     $670      $506    $519     $476

                     Non-Litigation Partner
                                               424      $471       $610     $950      $694    $762     $751

                                   Associate
                                               360      $319       $468     $676      $491    $553     $527

Industrials          Litigation    Partner
                                               214      $498       $700    $1,095     $808    $691     $595

                                   Associate
                                               156      $429       $540     $742      $588    $495     $418

                     Non-Litigation Partner
                                               712      $435       $628    $1,031     $776    $705     $670

                                   Associate
                                               627      $367       $494     $752      $567    $517     $473

Insurance            Litigation    Partner
                                               353      $300       $390     $605      $533    $522     $463

                                   Associate
                                               242      $250       $316     $665      $448    $445     $394

                     Non-Litigation Partner
                                               1,069    $290       $380     $654      $536    $522     $545

                                   Associate
                                               807      $229       $283     $475      $394    $396     $392

Technology and     Litigation      Partner
Telecommunications                             601      $550       $704     $987      $782    $735     $689

                                   Associate
                                               640      $361       $489     $710      $544    $504     $467

                     Non-Litigation Partner
                                               1,309    $510       $710     $975      $774    $743     $725

                                   Associate
                                               1,255    $350       $495     $698      $540    $510     $511




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Section
Section II:
All
        II:Industry
            IndustryAnalysis
                     Analysis                                           All
By Role
                                                                        By Role

2022—Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                  Trend Analysis - Mean
                                            First               Third
Industry               Role         n                 Median                  2022       2021      2020
                                           Quartile            Quartile
Basic Materials and    Partner
Utilities                          682      $365       $550     $836          $678       $654      $599

                       Associate
                                   540      $280       $400     $680          $528       $510      $415

                       Paralegal
                                   299      $115       $178     $300          $221       $222      $183

Consumer Goods         Partner
                                   517      $361       $496     $707          $574       $559      $539

                       Associate
                                   286      $255       $350     $450          $382       $380      $363

                       Paralegal
                                   197      $125       $160     $225          $187       $189      $186

Consumer Services      Partner
                                   1,291    $450       $624     $880          $733       $654      $663

                       Associate
                                   1,312    $353       $491     $700          $563       $486      $469

                       Paralegal
                                   478      $187       $270     $350          $279       $251      $242

Financials Excluding   Partner
Insurance                          3,804    $491       $760    $1,140         $848       $855      $816

                       Associate
                                   3,608    $360       $541     $800          $603       $618      $578

                       Paralegal
                                   1,488    $184       $250     $349          $265       $267      $253

Health Care            Partner
                                   1,005    $450       $665     $927          $689       $733      $700

                       Associate
                                   910      $340       $489     $670          $500       $534      $496

                       Paralegal
                                   415      $154       $235     $291          $235       $231      $219

Industrials            Partner
                                   834      $445       $650    $1,051         $783       $701      $646

                       Associate
                                   724      $375       $500     $748          $571       $511      $455



66 Real Rate Report | 2022         340      $185       $292     $400          $297        wolterskluwer.com
                                                                                         $263       $245
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Section
Section II:
All
        II:Industry
            IndustryAnalysis
                     Analysis                                          All
By Role
                                                                       By Role

2022—Real Rates for Associate, Paralegal, Partner
2022 — Real Rates for Associate, Paralegal, Partner                                 Trend Analysis - Mean
                                   834      First
                                            $445       $650      Third
                                                                $1,051       $783       $701      $646
Industry               Role         n                 Median                 2022       2021      2020
                       Partner             Quartile            Quartile
Industrials            Associate
                                   724      $375       $500     $748         $571       $511      $455

                       Paralegal
                                   340      $185       $292     $400         $297       $263      $245

Insurance              Partner
                                   5,555    $175       $210     $275         $289       $288      $291

                       Associate
                                   4,174    $160       $183     $235         $235       $235      $230

                       Paralegal
                                   3,144     $90       $95      $111         $111       $112      $111

Technology and         Partner
Telecommunications                 1,753    $525       $710     $979         $777       $741      $714

                       Associate
                                   1,781    $350       $495     $700         $541       $508      $497

                       Paralegal
                                   653      $190       $245     $323         $257       $252      $239




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                    Basic Materials and Utilities
Basic Materials and Utilities                                                    By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type   Role        n               Median              2022      2021     2020
                                                             Quartile            Quartile
Commercial                    Litigation    Partner
                                                        16    $448       $721    $1,045     $734      $617     $636

                              Non-Litigation Partner
                                                        49    $582       $663     $875      $758      $647     $647

Corporate: Mergers,           Non-Litigation Partner
Acquisitions and                                        57    $485      $1,272   $1,650     $1,049    $997     $955
Divestitures
Corporate: Regulatory and Non-Litigation Partner
Compliance                                              39    $449       $598     $805      $636      $691     $729

                                            Associate
                                                        20    $354       $445     $598      $500      $440     $501

Corporate: Tax                Non-Litigation Partner
                                                        12    $480       $778    $1,283     $915      $727     $583

Employment and Labor:         Non-Litigation Partner
Other                                                   46    $414       $450     $504      $466      $475     $476

                                            Associate
                                                        17    $288       $340     $378      $342      $337     $297

Environmental                 Non-Litigation Partner
                                                        49    $428       $531     $779      $610      $572     $561

                                            Associate
                                                        28    $330       $426     $588      $475      $514     $439




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                     Consumer Goods
Consumer Goods                                                                    By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                               First               Third
Practice Area                 Matter Type   Role         n               Median              2022    2021     2020
                                                              Quartile            Quartile
Commercial                    Litigation    Partner
                                                        76     $368       $479     $680      $569    $633     $550

                                            Associate
                                                        51     $365       $395     $469      $416    $467     $401

                              Non-Litigation Partner
                                                        120    $448       $586     $707      $615    $576     $550

                                            Associate
                                                        65     $330       $370     $485      $404    $402     $393

Corporate: Regulatory and Non-Litigation Partner
Compliance                                              30     $791       $901    $1,000     $888    $831     $825

Employment and Labor:         Non-Litigation Partner
Other                                                   52     $443       $535     $688      $582    $540     $584

                                            Associate
                                                        18     $310       $368     $380      $373    $385     $365

Environmental                 Litigation    Partner
                                                        13     $350       $437     $675      $676    $391     $370

Intellectual Property:        Non-Litigation Partner
Patents                                                 11     $458       $500     $609      $520    $617     $526




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                     Consumer Services
Consumer Services                                                                 By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                    Trend Analysis - Mean
                                                               First               Third
Practice Area                 Matter Type   Role         n               Median              2022      2021     2020
                                                              Quartile            Quartile
Bankruptcy and Collections Litigation       Partner
                                                        15     $273       $315     $619      $454      $485     $546

Commercial                    Litigation    Partner
                                                        237    $450       $675     $893      $724      $631     $657

                                            Associate
                                                        227    $356       $445     $610      $529      $447     $425

                              Non-Litigation Partner
                                                        68     $489       $626     $786      $677      $641     $641

                                            Associate
                                                        52     $353       $442     $595      $493      $428     $453

Corporate: Mergers,           Non-Litigation Partner
Acquisitions and                                        45     $497       $742    $1,734     $1,010    $804     $879
Divestitures
Corporate: Other              Non-Litigation Partner
                                                        172    $593       $972    $1,732     $1,058    $855     $806

                                            Associate
                                                        139    $577       $734    $1,178     $818      $602     $543

Corporate: Regulatory and     Non-Litigation Partner
Compliance                                              217    $481       $583     $788      $670      $655     $659

                                            Associate
                                                        198    $368       $490     $685      $551      $508     $498

Employment and Labor:         Litigation    Partner
Discrimination, Retaliation                             70     $300       $365     $480      $398      $374     $391
and Harassment / EEO
                                            Associate
                                                        56     $296       $341     $423      $355      $328     $301

Employment and Labor:         Litigation    Partner
Other                                                   73     $395       $540     $672      $546      $494     $482

                                            Associate
                                                        56     $275       $325     $426      $344      $350     $339

                              Non-Litigation Partner
                                                        47     $450       $490     $588      $543      $520     $529

                                            Associate
                                                        57     $380       $450     $500      $431      $453     $389

Employment and Labor:         Litigation    Partner
Union Relations and                                     18     $379       $485     $669      $542      $559     $622
Negotiations / NLRB
                              Non-Litigation Partner




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                    Consumer Services
Consumer Services                                                                By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type Role          n               Median              2022    2021     2020
                              Litigation     Partner         Quartile            Quartile
Employment and Labor:         Non-Litigation Partner
Union Relations and                                     23    $550       $653     $886      $750    $673     $542
Negotiations / NLRB
Employment and Labor:         Litigation    Partner
Wages, Tips and Overtime                                25    $450       $485     $529      $487    $430     $431

                                            Associate
                                                        25    $280       $350     $475      $371    $368     $341

Intellectual Property:        Non-Litigation Partner
Patents                                                 63    $418       $518     $651      $613    $552     $623

Intellectual Property:        Non-Litigation Partner
Trademarks                                              12    $466       $585     $691      $604    $612     $553

Real Estate: Leasing          Non-Litigation Partner
                                                        26    $395       $453     $600      $528    $491     $502

                                            Associate
                                                        28    $309       $413     $472      $420    $418     $384

Real Estate: Other            Litigation    Partner
                                                        29    $400       $575     $700      $578    $588     $510

                                            Associate
                                                        22    $291       $338     $371      $354    $374     $382

                              Non-Litigation Partner
                                                        58    $383       $470     $782      $563    $472     $493

                                            Associate
                                                        53    $290       $375     $500      $383    $340     $337




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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                    Financials Excluding Insurance
Financials Excluding Insurance                                                    By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                    Trend Analysis - Mean
                                                               First               Third
Practice Area                 Matter Type   Role        n                Median              2022      2021     2020
                                                              Quartile            Quartile
Bankruptcy and Collections Litigation       Partner
                                                        153    $333       $430     $586      $501      $504     $474

                                            Associate
                                                        104    $270       $322     $410      $366      $386     $377

                              Non-Litigation Partner
                                                        195    $325       $400     $495      $443      $438     $411

                                            Associate
                                                        101    $248       $333     $393      $340      $329     $312

Commercial                    Litigation    Partner
                                                        267    $426       $585     $862      $707      $630     $589

                                            Associate
                                                        204    $275       $400     $590      $476      $429     $392

                              Non-Litigation Partner
                                                        145    $620       $905    $1,264     $963     $1,004   $1,023

                                            Associate
                                                        112    $393       $563     $806      $628      $671     $697

Corporate: Corporate          Non-Litigation Partner
Development                                             28     $511       $721    $1,042     $856      $866     $695

Corporate: Governance         Non-Litigation Partner
                                                        23     $724      $1,000   $1,560     $1,042   $1,031   $1,014

                                            Associate
                                                        23     $514       $610     $856      $702      $665     $634

Corporate: Mergers,           Non-Litigation Partner
Acquisitions and                                        27     $773       $975    $1,155     $962     $1,100   $1,129
Divestitures
                                            Associate
                                                        17     $532       $623     $888      $656      $708     $704

Corporate: Other              Litigation    Partner
                                                        237    $395       $577     $849      $690      $678     $644

                                            Associate
                                                        181    $289       $416     $602      $471      $493     $455

                              Non-Litigation Partner
                                                        463    $651      $1,095   $1,449     $1,076    $978     $940

                                            Associate
                                                        468    $500       $701     $944      $738      $686     $659

Corporate: Regulatory and     Litigation    Partner
Compliance                                              85     $610       $778    $1,010     $854      $851     $835

                                            Associate
                                                        73     $420       $535     $679      $562      $568     $579

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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                    Financials Excluding Insurance
Financials Excluding Insurance                                                    By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                    Trend Analysis - Mean
                                                        85     First
                                                               $610       $778      Third
                                                                                   $1,010    $854      $851     $835
Practice Area                 Matter Type   Role         n               Median              2022      2021     2020
                                            Partner           Quartile            Quartile
Corporate: Regulatory and     Litigation    Associate
Compliance                                              73     $420       $535     $679      $562      $568     $579

                              Non-Litigation Partner
                                                        89     $927      $1,130   $1,424     $1,176   $1,075   $1,119

                                            Associate
                                                        101    $558       $725     $910      $767      $719     $734

Corporate: Tax                Non-Litigation Partner
                                                        66     $766      $1,061   $1,423     $1,112   $1,124   $1,106

                                            Associate
                                                        53     $419       $591     $953      $754      $731     $705

Corporate: Treasury           Non-Litigation Partner
                                                        31     $800       $940    $1,019     $961      $887    $1,022

                                            Associate
                                                        23     $380       $450     $648      $544      $460     $443

Employment and Labor:     Non-Litigation Partner
Compensation and Benefits                               59     $673       $765     $904      $836      $851     $705

                                            Associate
                                                        61     $336       $442     $531      $484      $575     $433

Employment and Labor:         Litigation    Partner
Discrimination, Retaliation                             40     $394       $490     $663      $568      $651     $554
and Harassment / EEO
                                            Associate
                                                        23     $295       $323     $380      $389      $504     $360

Employment and Labor:         Non-Litigation Partner
ERISA                                                   17     $605       $795     $795      $735      $726     $832

Employment and Labor:         Litigation    Partner
Other                                                   135    $616       $820     $968      $857      $855     $758

                                            Associate
                                                        126    $382       $530     $625      $527      $562     $517

                              Non-Litigation Partner
                                                        196    $375       $503     $806      $656      $628     $620

                                            Associate
                                                        112    $295       $379     $600      $498      $466     $439

Employment and Labor:         Litigation    Partner
Wrongful Termination                                    12     $540       $624     $684      $606      $492     $779

Finance and Securities:       Non-Litigation Partner
Debt/Equity Offerings                                   60     $646       $781    $1,030     $876      $904     $903

                                            Associate
                                                        41     $381       $457     $582      $513      $547     $551

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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                     Financials Excluding Insurance
Financials Excluding Insurance                                                     By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                     Trend Analysis - Mean
                                                         60     First
                                                                $646       $781      Third
                                                                                    $1,030    $876      $904     $903
Practice Area                 Matter Type    Role         n               Median              2022      2021     2020
                                             Partner           Quartile            Quartile
Finance and Securities:       Non-Litigation Associate
Debt/Equity Offerings                                    41     $381       $457     $582      $513      $547     $551

Finance and Securities:       Litigation    Partner
Fiduciary Services                                       35     $508       $604     $776      $644      $694     $667

                                            Associate
                                                         22     $383       $472     $565      $471      $418     $384

                              Non-Litigation Partner
                                                         44     $454       $540     $912      $694      $687     $675

                                            Associate
                                                         21     $290       $350     $390      $394      $410     $391

Finance and Securities:       Litigation    Partner
Investments and Other                                    30     $787       $962    $1,211     $941      $881    $1,002
Financial Instruments
                                            Associate
                                                         35     $541       $640     $769      $678      $559     $568

                              Non-Litigation Partner
                                                         688    $737      $1,020   $1,354     $1,060   $1,091   $1,001

                                            Associate
                                                         753    $501       $690     $908      $725      $767     $700

Finance and Securities:       Litigation    Partner
Loans and Financing                                      67     $415       $541     $711      $664      $633     $546

                                            Associate
                                                         71     $265       $315     $479      $411      $402     $367

                              Non-Litigation Partner
                                                         973    $564       $855    $1,319     $950      $942     $891

                                            Associate
                                                         919    $428       $635     $904      $679      $680     $625

Finance and Securities:       Non-Litigation Partner
Securities and Banking                                   41     $850      $1,229   $1,425     $1,124   $1,009   $1,036
Regulations
                                            Associate
                                                         15     $535       $680     $929      $689      $634     $619

General Liability: Consumer Litigation      Partner
Related Claims                                           11     $393       $662     $753      $616      $634     $532

Miscellaneous: General        Non-Litigation Partner
Advice & Counsel                                         37     $680       $871    $1,050     $871      $832     $897

Real Estate: Other            Litigation    Partner
                                                         69     $453       $610     $753      $641      $671     $540

                                            Associate
                                                         65     $350       $435     $525      $465      $440     $436

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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                   Financials Excluding Insurance
Financials Excluding Insurance                                                   By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type   Role        n               Median              2022    2021     2020
                                            Partner          Quartile            Quartile
Real Estate: Other            Litigation    Associate
                                                        65    $350       $435     $525      $465    $440     $436

                              Non-Litigation Partner
                                                        23    $540       $765     $870      $740    $593     $733

                                            Associate
                                                        16    $462       $630     $802      $632    $488     $581




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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                   Healthcare
Health Care                                                                      By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type   Role        n               Median              2022    2021     2020
                                                             Quartile            Quartile
Corporate: Regulatory and     Litigation    Partner
Compliance                                              42    $631       $844     $924      $807    $807     $778

                              Non-Litigation Partner
                                                        83    $445       $585     $876      $657    $613     $617

                                            Associate
                                                        66    $316       $383     $670      $454    $438     $413

Employment and Labor:         Litigation    Partner
Discrimination, Retaliation                             11    $391       $628     $711      $570    $575     $552
and Harassment / EEO




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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                    Industrials
Industrials                                                                       By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                               First               Third
Practice Area                 Matter Type   Role         n               Median              2022      2021     2020
                                                              Quartile            Quartile
Commercial                    Litigation    Partner
                                                        16     $471       $545    $1,441     $837      $718     $720

                                            Associate
                                                        11     $284       $349     $690      $529      $652     $591

                              Non-Litigation Partner
                                                        36     $565       $878    $1,062     $860      $679     $646

                                            Associate
                                                        17     $343       $428     $709      $531      $461     $434

Corporate: Mergers,           Non-Litigation Partner
Acquisitions and                                        107    $758      $1,115   $1,650     $1,190   $1,050    $926
Divestitures
                                            Associate
                                                        164    $529       $770     $925      $762      $715     $619

Corporate: Other              Litigation    Partner
                                                        106    $586       $891    $1,120     $883      $846     $739

                                            Associate
                                                        86     $459       $620     $778      $622      $560     $486

                              Non-Litigation Partner
                                                        348    $436       $656    $1,073     $781      $743     $752

                                            Associate
                                                        329    $365       $485     $735      $547      $533     $539

Corporate: Regulatory and     Non-Litigation Partner
Compliance                                              42     $625       $968    $1,144     $902      $753     $643

                                            Associate
                                                        30     $512       $635     $816      $660      $548     $486

Corporate: Tax                Non-Litigation Partner
                                                        28     $628       $947    $1,022     $894      $754     $759

Employment and Labor:     Non-Litigation Partner
Compensation and Benefits                               19     $514       $623     $910      $698      $786     $740

Employment and Labor:         Non-Litigation Partner
Other                                                   96     $418       $484     $612      $544      $554     $564

                                            Associate
                                                        53     $306       $412     $450      $400      $380     $401

Environmental                 Litigation    Partner
                                                        12     $493       $568     $654      $569      $550     $562

                              Non-Litigation Partner




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Section  II: Industry
Section II:           Analysis
             Industry Analysis                                                   Industrials
Industrials                                                                      By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                              First               Third
Practice Area                 Matter Type Role          n               Median              2022    2021     2020
                              Litigation     Partner         Quartile            Quartile
Environmental                 Non-Litigation Partner
                                                        21    $495       $685    $1,150     $861    $756     $634

Intellectual Property: Other Non-Litigation Partner
                                                        14    $405       $513     $823      $646    $648     $629

Intellectual Property:        Non-Litigation Partner
Patents                                                 37    $306       $370     $450      $444    $422     $436

                                            Associate
                                                        23    $175       $239     $265      $226    $275     $287




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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                       Insurance
Insurance                                                                           By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                     Trend Analysis - Mean
                                                                 First               Third
Practice Area                 Matter Type   Role         n                 Median              2022    2021     2020
                                                                Quartile            Quartile
Corporate: Other              Non-Litigation Partner
                                                        141      $400       $685     $940      $755    $707     $743

                                            Associate
                                                         92      $386       $475     $738      $580    $526     $532

Corporate: Tax                Non-Litigation Partner
                                                         40      $791       $960    $1,155     $995   $1,039   $1,022

Employment and Labor:         Non-Litigation Partner
Other                                                    74      $415       $470     $649      $595    $543     $572

                                            Associate
                                                         40      $303       $364     $500      $451    $424     $390

Insurance Defense:            Litigation    Partner
Asbestos/Mesothelioma                                    24      $175       $175     $180      $186    $194     $209

Insurance Defense: Auto       Litigation    Partner
and Transportation                                      1,169    $165       $180     $205      $223    $219     $226

                                            Associate
                                                        889      $145       $162     $180      $165    $164     $158

Insurance Defense:            Litigation    Partner
Consumer Related Claims                                  53      $177       $225     $350      $312    $312     $397

Insurance Defense:            Litigation    Partner
Insurer Work Comp                                       262      $155       $165     $185      $182    $192     $200

                                            Associate
                                                        204      $145       $154     $160      $154    $153     $154

Insurance Defense: Marine Litigation        Partner
                                                         34      $164       $200     $245      $207    $263     $231

Insurance Defense: Other      Litigation    Partner
                                                        1,696    $175       $198     $245      $241    $243     $230

                                            Associate
                                                        1,080    $160       $175     $200      $187    $185     $183

Insurance Defense:            Litigation    Partner
Personal Injury/Wrongful                                198      $160       $180     $200      $191    $187     $189
Death
                                            Associate
                                                        156      $145       $159     $175      $163    $161     $158

Insurance Defense:            Litigation    Partner
Pollution                                               120      $190       $220     $250      $255    $242     $233

                                            Associate
                                                         53      $180       $195     $215      $212    $209     $205



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Section II: Industry
Section II:          Analysis
            Industry Analysis                                                     Insurance
Insurance                                                                         By Practice Area and Matter Type
By Practice Area and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                        120    First
                                                               $190       $220     Third
                                                                                   $250      $255    $242     $233
Practice Area                 Matter Type   Role         n               Median              2022    2021     2020
                                            Partner           Quartile            Quartile
Insurance Defense:            Litigation    Associate
Pollution                                               53     $180       $195     $215      $212    $209     $205

Insurance Defense:            Litigation    Partner
Premises                                                756    $170       $185     $225      $216    $221     $220

Insurance Defense:            Litigation    Partner
Product and Product                                     106    $178       $183     $200      $203    $193     $196
Liability
                                            Associate
                                                        71     $155       $170     $185      $189    $172     $172

Insurance Defense:            Litigation    Partner
Professional Liability                                  111    $185       $215     $292      $264    $256     $243

                                            Associate
                                                        55     $173       $190     $293      $223    $226     $205

Insurance Defense:            Litigation    Partner
Property Damage                                         606    $175       $210     $250      $228    $227     $226

                                            Associate
                                                        495    $160       $182     $220      $194    $189     $184




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Section  II: Industry
Section II:  IndustryAnalysis
                      Analysis                                                       Technology and
Technology and Telecommunications                                                    Telecommunications
By Practice Area and Matter Type
                                                                                     By Practice Area and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                      Trend Analysis - Mean
                                                                  First               Third
Practice Area                 Matter Type      Role         n               Median              2022      2021     2020
                                                                 Quartile            Quartile
Bankruptcy and Collections Litigation          Partner
                                                           14     $520       $570     $628      $567      $578     $493

Commercial                    Litigation       Partner
                                                           100    $606       $871     $1,084    $894      $845     $776

                                               Associate
                                                           164    $350       $571     $756      $567      $557     $439

                              Non-Litigation   Partner
                                                           50     $400       $613     $881      $649      $666     $633

                                               Associate
                                                           32     $391       $432     $721      $540      $506     $473

Corporate: Antitrust and      Litigation       Partner
Competition                                                17     $837       $949     $1,080    $992      $810     $811

                                               Associate
                                                           49      $55       $496     $655      $454      $493     $672

                              Non-Litigation   Partner
                                                           33     $949      $1,210    $1,453    $1,227    $1,141   $1,069

                                               Associate
                                                           51     $590       $720     $912      $732      $694     $659

Corporate: Governance         Non-Litigation   Partner
                                                           63    $1,000     $1,238    $1,553    $1,269    $1,270   $1,172

                                               Associate
                                                           59     $695       $780     $949      $807      $781     $707

Corporate: Mergers,           Non-Litigation   Partner
Acquisitions and                                           60     $749       $868     $978      $899      $804     $842
Divestitures
                                               Associate
                                                           76     $486       $486     $668      $587      $492     $559

Corporate: Other              Litigation       Partner
                                                           120    $597       $803     $1,022    $836      $864     $771

                                               Associate
                                                           93     $401       $488     $683      $550      $514     $480

                              Non-Litigation   Partner
                                                           275    $631       $864     $1,065    $874      $825     $810

                                               Associate
                                                           205    $450       $578     $710      $583      $565     $545

Corporate: Regulatory and Litigation           Partner
Compliance                                                 20     $694       $830     $838      $795      $779     $799

                                               Associate
                                                           22     $392       $481     $510      $469      $458     $509


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Section  II: Industry
Section II:  IndustryAnalysis
                      Analysis                                                       Technology and
Technology and Telecommunications                                                    Telecommunications
By Practice Area and Matter Type
                                                                                     By Practice Area and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                                     Trend Analysis - Mean
                                                           20     First
                                                                  $694       $830     Third
                                                                                      $838      $795    $779     $799
Practice Area                 Matter Type      Role        n                Median              2022    2021     2020
                                               Partner           Quartile            Quartile
Corporate: Regulatory and Litigation           Associate
Compliance                                                 22     $392       $481     $510      $469    $458     $509

                              Non-Litigation   Partner
                                                           233    $605       $760     $920      $770    $726     $711

                                               Associate
                                                           210    $396       $510     $612      $519    $488     $479

Corporate: Tax                Non-Litigation   Partner
                                                           80     $689       $919     $1,132    $936    $930     $878

                                               Associate
                                                           75     $553       $732     $934      $738    $613     $611

Employment and Labor:         Litigation       Partner
Agreements                                                 12     $751       $843     $1,171    $895    $848     $827

                              Non-Litigation   Partner
                                                           27     $430       $600     $698      $565    $698     $668

Employment and Labor:     Non-Litigation       Partner
Compensation and Benefits                                  31     $540       $650     $800      $708    $723     $709

                                               Associate
                                                           11     $383       $622     $745      $569    $459     $452

Employment and Labor:       Litigation         Partner
Discrimination, Retaliation                                19     $423       $532     $655      $537    $559     $553
and Harassment / EEO
                                               Associate
                                                           17     $347       $375     $395      $377    $354     $349

                              Non-Litigation   Partner
                                                           44     $475       $525     $658      $566    $541     $547

Employment and Labor:         Litigation       Partner
Other                                                      25     $612       $690     $810      $700    $530     $570

                                               Associate
                                                           22     $393       $466     $575      $489    $376     $345

                              Non-Litigation   Partner
                                                           152    $470       $475     $678      $553    $569     $617

                                               Associate
                                                           130    $325       $340     $401      $366    $371     $412

General Liability:            Litigation       Associate
Consumer Related Claims                                    19     $387       $428     $530      $451    $447     $413

Government Relations          Non-Litigation   Partner
                                                           26     $776       $901     $1,084    $938    $678     $755

                                               Associate
                                                           48     $414       $633     $726      $543    $510     $539


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Section  II: Industry
Section II:  IndustryAnalysis
                      Analysis                                                       Technology and
Technology and Telecommunications                                                    Telecommunications
By Practice Area and Matter Type                                                     By Practice Area and Matter Type
2022—Real
2022      RatesRates
     — Real    for Associate & Partner
                       for Associate   and Partner                                              Trend Analysis - Mean
                                                                  First               Third
Practice Area                 Matter Type      Role         n               Median              2022    2021     2020
                                               Partner           Quartile            Quartile
Government Relations          Non-Litigation   Associate
                                                           48     $414       $633     $726      $543    $510     $539

Intellectual Property:        Litigation       Partner
Patents                                                    111    $606       $832     $1,077    $849    $783     $755

                                               Associate
                                                           105    $495       $670     $824      $657    $607     $561

                              Non-Litigation   Partner
                                                           106    $418       $755     $994      $726    $602     $538

                                               Associate
                                                           148    $325       $484     $724      $543    $477     $442

Intellectual Property:        Litigation       Partner
Trademarks                                                 11     $721       $942     $1,054    $870    $746     $618

                              Non-Litigation   Partner
                                                           38     $443       $549     $650      $568    $602     $644

                                               Associate
                                                           39     $303       $360     $410      $368    $360     $366




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Section III:
Practice
Area
Analysis
All data and analysis based on
data collected thru Q2 2022




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Section III: Practice Area Analysis
Section  III:and
Bankruptcy    Practice    Area Analysis
                 Collections                                           Bankruptcy and Collections
By City                                                                By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                  Role         n                 Median                 2022      2021      2020
                                          Quartile            Quartile
Atlanta GA            Partner
                                  11       $525       $603     $650         $607       $557      $523

                      Associate
                                  13       $275       $325     $390         $366       $408      $380

Baltimore MD          Partner
                                  14       $321       $380     $472         $395       $438      $436

Chicago IL            Partner
                                  16       $525       $748    $1,256        $893       $983     $1,059

                      Associate
                                  13       $260       $656     $910         $619       $789      $734

Dallas TX             Partner
                                  13       $381       $525     $666         $539       $502      $635

Houston TX            Associate
                                  16       $375       $384     $473         $427       $436      $425

Los Angeles CA        Associate
                                  15       $375       $415     $835         $560       $376      $337

Miami FL              Partner
                                  11       $265       $375     $418         $351       $401      $486

New York NY           Partner
                                  60       $400       $604     $815         $638       $654      $638

                      Associate
                                  36       $300       $375     $429         $385       $433      $453

Philadelphia PA       Partner
                                  46       $400       $495     $619         $497       $494      $481

                      Associate
                                  30       $290       $350     $420         $369       $340      $344

Pittsburgh PA         Partner
                                  17       $338       $435     $460         $409       $444      $404

                      Associate
                                  13       $248       $341     $354         $333       $361      $307




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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Bankruptcy and Collections
                                                                        Bankruptcy and Collections
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          64     $325       $400     $525      $455     $487     $454

                         Non-Litigation
                                          76     $350       $402     $496      $440     $514     $538

21 or More Years         Litigation
                                          108    $325       $445     $600      $505     $493     $488

                         Non-Litigation
                                          122    $325       $410     $526      $462     $466     $500




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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Bankruptcy and Collections
                                                                       Bankruptcy and Collections
By Matter Type and YOE                                                 By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                  Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
3 to Fewer Than 7        Litigation
Years                                     18    $276       $348     $446      $395     $364     $380

                         Non-Litigation
                                          35    $289       $345     $400      $349     $346     $306




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                       Bankruptcy and Collections
Bankruptcy and Collections                                                By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2022    2021     2020
                                                    Quartile            Quartile
50 Lawyers or     Litigation       Partner
Fewer                                          59    $275       $325     $390      $360    $363      $333

                                   Associate
                                               44    $225       $267     $332      $284    $280      $258

                  Non-Litigation   Partner
                                               49    $270       $295     $325      $301    $301      $366

                                   Associate
                                               25    $225       $244     $258      $251    $230      $241

51-200 Lawyers Litigation          Partner
                                               47    $334       $378     $489      $416    $392      $392

                                   Associate
                                               24    $230       $280     $320      $296    $259      $248

                  Non-Litigation   Partner
                                               30    $345       $400     $476      $406    $404      $399

201-500           Litigation       Partner
Lawyers                                        61    $398       $468     $604      $502    $493      $464

                                   Associate
                                               43    $294       $318     $422      $365    $341      $317

                  Non-Litigation   Partner
                                               85    $385       $452     $580      $493    $464      $442

                                   Associate
                                               44    $281       $350     $393      $341    $343      $306

501-1,000         Litigation       Partner
Lawyers                                        34    $525       $618     $721      $633    $701      $678

                                   Associate
                                               24    $313       $375     $471      $385    $505      $513

                  Non-Litigation   Partner
                                               20    $506       $617     $685      $613    $638      $701

                                   Associate
                                               15    $352       $383     $446      $412    $485      $480

More Than         Litigation       Partner
1,000 Lawyers                                  13    $546      $1,045   $1,249     $932    $711      $775

                                   Associate
                                               12    $340       $760     $866      $632    $442      $450

                  Non-Litigation   Partner



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Section
Section III:
          III:Practice
               PracticeArea
Bankruptcy and Collections
                           AreaAnalysis
                                Analysis                                  Bankruptcy and Collections
By Firm Size and Matter Type
                                                                          By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2022    2021     2020
                  Litigation       Associate        Quartile            Quartile
More Than         Non-Litigation   Partner
1,000 Lawyers                                  32    $460       $657     $990      $779    $914     $1,041




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial                                                            Commercial
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                Role           n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA          Partner
                                  39       $493       $625     $853        $695       $699      $736

                    Associate
                                  39       $310       $342     $440        $407       $431      $406

Austin TX           Partner
                                  14       $378       $450     $495        $514       $534      $510

Birmingham AL       Partner
                                  16       $385       $427     $461        $416       $419      $397

                    Associate
                                  12       $293       $304     $334        $312       $302      $296

Boston MA           Partner
                                  20       $690       $821    $1,049       $843       $696      $701

                    Associate
                                  24       $479       $638     $865        $680       $588      $509

Charlotte NC        Associate
                                  18       $325       $344     $416        $404       $466      $422

Chicago IL          Partner
                                  103      $593       $858    $1,111       $871       $794      $818

                    Associate
                                  93       $325       $515     $694        $541       $555      $575

Cleveland OH        Partner
                                  40       $397       $480     $565        $534       $518      $571

                    Associate
                                  30       $255       $270     $290        $281       $291      $310

Dallas TX           Partner
                                  22       $547       $665    $1,023       $734       $781      $742

                    Associate
                                  21       $370       $528     $725        $561       $520      $511

Denver CO           Partner
                                  29       $495       $555     $657        $586       $565      $515

                    Associate
                                  25       $298       $415     $455        $395       $368      $336

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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial                                                            Commercial
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                  29       First
                                           $495       $555     Third
                                                               $657        $586        $565      $515
City                  Role        n                  Median                2022        2021      2020
                      Partner             Quartile            Quartile
Denver CO             Associate
                                  25       $298       $415     $455        $395        $368      $336

Houston TX            Partner
                                  14       $469       $626     $859        $644        $672      $768

                      Associate
                                  13       $360       $509     $590        $498        $467      $502

Indianapolis IN       Partner
                                  12       $406       $445     $556        $477        $474      $440

Kansas City MO        Partner
                                  35       $410       $450     $536        $484        $467      $466

                      Associate
                                  25       $315       $374     $387        $345        $339      $329

Los Angeles CA        Partner
                                  78       $693       $849    $1,071       $878        $840      $813

                      Associate
                                  111      $464       $686     $876        $688        $722      $674

Miami FL              Partner
                                  52       $485       $601     $688        $610        $562      $504

                      Associate
                                  40       $315       $449     $524        $432        $390      $396

Minneapolis MN        Partner
                                  53       $576       $655     $800        $673        $657      $576

                      Associate
                                  58       $399       $457     $529        $465        $459      $380

New York NY           Partner
                                  174      $628      $1,128   $1,499      $1,108      $1,040    $1,033

                      Associate
                                  174      $434       $680     $990        $721        $617      $685

Philadelphia PA       Partner
                                  116      $543       $728     $903        $755        $677      $652

                      Associate
                                  106      $384       $430     $538        $482        $446      $420

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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial                                                            Commercial
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                  116      First
                                           $543       $728     Third
                                                               $903        $755       $677      $652
City                  Role         n                 Median                2022       2021      2020
                      Partner             Quartile            Quartile
Philadelphia PA       Associate
                                  106      $384       $430     $538        $482       $446      $420

Pittsburgh PA         Partner
                                  18       $481       $661     $763        $657       $635      $543

                      Associate
                                  17       $280       $425     $515        $414       $443      $377

Portland OR           Partner
                                  16       $500       $585     $655        $576       $557      $495

                      Associate
                                  31       $400       $435     $501        $448       $406      $370

San Francisco CA      Partner
                                  43       $420       $675    $1,015       $735       $696      $738

                      Associate
                                  34       $330       $400     $533        $479       $476      $445

Seattle WA            Partner
                                  30       $490       $556     $713        $611       $531      $476

                      Associate
                                  19       $380       $440     $538        $455       $357      $345

St. Louis MO          Partner
                                  16       $410       $561     $700        $569       $603      $643

Washington DC         Partner
                                  162      $689       $821    $1,058       $910       $854      $869

                      Associate
                                  104      $456       $584     $739        $622       $589      $555




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial                                                              Commercial
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          253    $405       $589     $863      $670     $633     $597

                         Non-Litigation
                                          146    $470       $628     $869      $686     $662     $697

21 or More Years         Litigation
                                          418    $495       $694     $995      $774     $722     $694

                         Non-Litigation
                                          256    $572       $740    $1,031     $832     $825     $834




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Commercial
                                                                        Commercial
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          59     $319       $420     $569      $453     $398     $372

                         Non-Litigation
                                          23     $321       $368     $401      $412     $361     $428

3 to Fewer Than 7        Litigation
Years                                     161    $300       $418     $596      $491     $441     $394

                         Non-Litigation
                                          56     $335       $409     $510      $455     $439     $475

7 or More Years          Non-Litigation
                                          78     $382       $501     $605      $554     $561     $572




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                        Commercial
Commercial                                                                 By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
50 Lawyers or    Litigation       Partner
Fewer                                         103    $300       $379     $511      $426     $422      $401

                                  Associate
                                              83     $225       $275     $328      $296     $334      $261

                 Non-Litigation   Partner
                                              54     $320       $400     $489      $424     $437      $429

                                  Associate
                                              25     $292       $335     $363      $338     $316      $312

51-200           Litigation       Partner
Lawyers                                       143    $350       $482     $625      $533     $492      $455

                                  Associate
                                              89     $265       $328     $396      $335     $321      $288

                 Non-Litigation   Partner
                                              73     $403       $500     $582      $522     $548      $535

                                  Associate
                                              34     $268       $321     $358      $326     $335      $359

201-500          Litigation       Partner
Lawyers                                       168    $450       $561     $740      $624     $592      $575

                                  Associate
                                              153    $330       $400     $450      $411     $403      $386

                 Non-Litigation   Partner
                                              102    $561       $673     $795      $706     $686      $636

                                  Associate
                                              82     $367       $434     $530      $462     $429      $436

501-1,000        Litigation       Partner
Lawyers                                       243    $630       $769    $1,022     $887     $817      $834

                                  Associate
                                              282    $392       $500     $712      $576     $501      $489

                 Non-Litigation   Partner
                                              165    $664       $805    $1,147     $946     $931      $913

                                  Associate
                                              130    $397       $533     $686      $589     $600      $581

More Than     Litigation          Partner
1,000 Lawyers                                 151    $879      $1,103   $1,345     $1,132   $1,012    $995

                                  Associate
                                              173    $591       $740     $945      $752     $679      $646

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Section
Section III:
         III:Practice
Commercial
              PracticeArea
                       AreaAnalysis
                            Analysis                                       Commercial
By Firm Size and Matter Type
                                                                           By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                  Partner           Quartile            Quartile
More Than     Litigation          Associate
1,000 Lawyers                                 173    $591       $740     $945      $752     $679      $646

                 Non-Litigation   Partner
                                              96     $872       $978    $1,176     $1,033   $1,043   $1,061

                                  Associate
                                              71     $520       $675     $875      $717     $756      $714




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Section III: Practice Area Analysis
Section  III:Mergers,
Corporate:    Practice   Area Analysis
                      Acquisitions and Divestitures                   Corporate: Mergers,
By City                                                               Acquisitions, and Divestitures
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                  Role         n                 Median                 2022        2021      2020
                                          Quartile            Quartile
Chicago IL            Partner
                                  30       $782       $985    $1,251       $1,056       $907      $915

                      Associate
                                  32       $497       $602     $810         $683        $570      $638

Los Angeles CA        Partner
                                  18       $813       $869    $1,043        $981       $1,002     $943

                      Associate
                                  30       $486       $500     $691         $615        $627      $578

New York NY           Partner
                                  98      $1,368     $1,650   $1,739       $1,531      $1,385    $1,259

                      Associate
                                  198      $713       $925    $1,160        $915        $834      $749

Philadelphia PA       Partner
                                  28       $598       $673    $1,004        $820        $691      $754

                      Associate
                                  25       $443       $460     $550         $554        $432      $419

Pittsburgh PA         Partner
                                  16       $604       $699     $837         $727        $595      $665

San Francisco CA      Partner
                                  24       $810       $868    $1,061        $966        $879      $959

Washington DC         Partner
                                  50       $698      $1,013   $1,315       $1,006       $956      $942

                      Associate
                                  39       $607       $739     $830         $722        $686      $578




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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Corporate: Mergers, Acquisitions and Divestitures
                                                                        Corporate: Mergers,
By Matter Type and YOE                                                  Acquisitions, and Divestitures
                                                                        By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Non-Litigation
                                          88     $649       $868    $1,368     $982     $845     $869

21 or More Years         Non-Litigation
                                          167    $625       $870    $1,368     $992     $944     $962




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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Corporate: Mergers, Acquisitions and Divestitures
                                                                       Corporate: Mergers,
By Matter Type and YOE                                                 Acquisitions, and Divestitures
                                                                       By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                  Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 3 Years       Non-Litigation
                                          27    $460       $486     $702      $602     $519     $450

3 to Fewer Than 7        Non-Litigation
Years                                     67    $460       $529     $919      $686     $545     $539

7 or More Years          Non-Litigation
                                          82    $620       $734     $979      $798     $641     $655




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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Corporate: Mergers, Acquisitions and Divestitures
                                                                           Corporate: Mergers,
By Firm Size and Matter Type                                               Acquisitions, and Divestitures
                                                                           By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
51-200           Non-Litigation   Partner
Lawyers                                       23     $390       $485     $770      $550     $561      $632

201-500          Non-Litigation   Partner
Lawyers                                       56     $572       $704     $916      $741     $653      $663

                                  Associate
                                              41     $443       $460     $510      $476     $424      $396

501-1,000        Non-Litigation   Partner
Lawyers                                       111    $700      $1,216   $1,650     $1,149   $1,021   $1,061

                                  Associate
                                              155    $620       $829    $1,115     $820     $676      $660

More Than     Non-Litigation      Partner
1,000 Lawyers                                 151    $868      $1,121   $1,407     $1,183   $1,074   $1,058

                                  Associate
                                              217    $536       $698     $925      $749     $702      $699




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Section III: Practice Area Analysis
Section  III:Other
Corporate:    Practice Area Analysis                                  Corporate: Other
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  70       $442       $613     $971        $703       $736      $678

                     Associate
                                  60       $385       $450     $588        $479       $481      $470

Austin TX            Partner
                                  17       $387       $450     $538        $502       $460      $482

Baltimore MD         Partner
                                  19       $426       $614     $767        $606       $664      $672

                     Associate
                                  25       $311       $374     $546        $452       $500      $482

Birmingham AL        Partner
                                  16       $375       $423     $471        $437       $419      $444

                     Associate
                                  15       $294       $303     $341        $314       $315      $334

Boston MA            Partner
                                  47       $513       $735     $903        $733       $743      $672

                     Associate
                                  45       $395       $475     $610        $510       $491      $460

Charlotte NC         Partner
                                  12       $539       $652     $837        $751       $573      $657

Chicago IL           Partner
                                  192      $740       $918    $1,199       $962       $938      $880

                     Associate
                                  179      $495       $600     $730        $616       $564      $576

Cleveland OH         Partner
                                  39       $485       $525     $760        $616       $607      $630

                     Associate
                                  17       $287       $313     $399        $332       $375      $342

Dallas TX            Partner
                                  34       $506       $739    $1,038       $774       $654      $719

                     Associate
                                  35       $495       $596     $775        $622       $527      $521

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Section III: Practice Area Analysis
Section  III:Other
Corporate:    Practice Area Analysis                                  Corporate: Other
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                  34       First
                                           $506       $739      Third
                                                               $1,038      $774       $654      $719
City                 Role         n                  Median                2022       2021      2020
                     Partner              Quartile            Quartile
Dallas TX            Associate
                                  35       $495       $596     $775        $622       $527      $521

Denver CO            Partner
                                  11       $505       $565     $586        $613       $634      $508

Houston TX           Partner
                                  29       $544       $905    $1,123       $855       $782      $782

                     Associate
                                  34       $445       $595     $706        $592       $580      $512

Indianapolis IN      Partner
                                  11       $423       $500     $668        $561       $495      $432

Kansas City MO       Partner
                                  34       $441       $490     $589        $530       $544      $532

                     Associate
                                  16       $337       $384     $426        $378       $367      $314

Los Angeles CA       Partner
                                  194      $600       $875    $1,185       $908       $894      $874

                     Associate
                                  188      $484       $645     $840        $665       $655      $639

Miami FL             Partner
                                  31       $475       $525     $646        $574       $501      $579

                     Associate
                                  19       $290       $411     $450        $370       $428      $427

Minneapolis MN       Partner
                                  26       $510       $624     $714        $619       $625      $590

                     Associate
                                  15       $312       $395     $551        $419       $468      $410

Nashville TN         Partner
                                  12       $431       $498     $601        $521       $496      $407

New Orleans LA       Partner
                                  20       $337       $368     $428        $382       $376      $374

New York NY          Partner



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Section  III:Other
Corporate:    Practice Area Analysis                                  Corporate: Other
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022        2021      2020
New Orleans LA       Partner              Quartile            Quartile
New York NY          Partner
                                  485      $793      $1,326   $1,665      $1,219      $1,103    $1,079

                     Associate
                                  538      $590       $789    $1,065       $806        $746      $709

Orlando FL           Partner
                                  22       $415       $474     $544        $484        $507      $481

                     Associate
                                  13       $230       $325     $400        $314        $267      $274

Philadelphia PA      Partner
                                  145      $625       $818     $958        $800        $774      $763

                     Associate
                                  135      $415       $450     $535        $484        $450      $439

Phoenix AZ           Partner
                                  24       $330       $510     $688        $557        $471      $413

                     Associate
                                  24       $252       $303     $355        $337        $286      $269

Pittsburgh PA        Partner
                                  21       $420       $585     $819        $601        $676      $528

                     Associate
                                  18       $286       $415     $580        $441        $412      $381

Portland OR          Partner
                                  13       $465       $495     $528        $508        $542      $624

                     Associate
                                  17       $360       $416     $449        $413        $392      $382

Raleigh NC           Partner
                                  11       $253       $400     $497        $387        $402      $462

San Diego CA         Partner
                                  37       $375       $467    $1,161       $673        $684      $605

                     Associate
                                  37       $211       $285     $380        $315        $329      $383

San Francisco CA     Partner



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Section III: Practice Area Analysis
Section  III:Other
Corporate:    Practice Area Analysis                                  Corporate: Other
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
San Diego CA         Associate            Quartile            Quartile
San Francisco CA     Partner
                                  50       $595       $910    $1,080       $852       $789      $789

                     Associate
                                  28       $338       $620     $778        $623       $609      $549

San Jose CA          Partner
                                  23       $690       $933    $1,114       $943       $968      $810

                     Associate
                                  15       $469       $590     $746        $615       $626      $598

Seattle WA           Partner
                                  41       $575       $716     $776        $699       $614      $614

                     Associate
                                  33       $395       $472     $535        $478       $475      $417

Tampa FL             Partner
                                  14       $379       $430     $574        $485       $505      $484

Washington DC        Partner
                                  432      $770       $950    $1,098       $956       $913      $877

                     Associate
                                  395      $550       $670     $705        $665       $642      $585




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Section III: Practice Area Analysis
Section
Corporate:III: Practice Area Analysis
           Other                                                        Corporate: Other
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          238    $494       $698     $940      $737     $702     $661

                         Non-Litigation
                                          418    $473       $777    $1,100     $837     $790     $757

21 or More Years         Litigation
                                          425    $545       $756     $995      $814     $805     $746

                         Non-Litigation
                                          826    $580       $900    $1,248     $951     $886     $859




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Section III: Practice Area Analysis
Section
Corporate:III: Practice Area Analysis
           Other                                                        Corporate: Other
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          31     $344       $440     $593      $463     $418     $358

                         Non-Litigation
                                          59     $366       $535     $739      $568     $507     $424

3 to Fewer Than 7        Litigation
Years                                     81     $356       $472     $695      $528     $500     $452

                         Non-Litigation
                                          177    $378       $498     $718      $582     $541     $511

7 or More Years          Litigation
                                          146    $385       $525     $656      $534     $511     $493

                         Non-Litigation
                                          270    $419       $635     $824      $676     $635     $619




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                        Corporate: Other
Corporate: Other                                                           By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                            Trend Analysis - Mean
                                                      First               Third
Firm Size         Matter Type      Role         n               Median              2022     2021     2020
                                                     Quartile            Quartile
50 Lawyers or     Litigation       Partner
Fewer                                          97     $350       $450     $575      $461     $458     $440

                                   Associate
                                               50     $216       $299     $354      $301     $283     $323

                  Non-Litigation   Partner
                                               155    $333       $426     $534      $446     $430     $426

                                   Associate
                                               91     $221       $290     $369      $307     $279     $313

51-200 Lawyers Litigation          Partner
                                               138    $371       $579     $757      $594     $555     $533

                                   Associate
                                               84     $280       $377     $451      $395     $383     $378

                  Non-Litigation   Partner
                                               141    $399       $495     $700      $561     $604     $594

                                   Associate
                                               84     $275       $350     $485      $391     $415     $389

201-500           Litigation       Partner
Lawyers                                        182    $516       $675     $951      $731     $664     $662

                                   Associate
                                               139    $341       $448     $590      $495     $443     $451

                  Non-Litigation   Partner
                                               341    $482       $625     $890      $696     $655     $663

                                   Associate
                                               267    $385       $460     $631      $506     $476     $447

501-1,000         Litigation       Partner
Lawyers                                        242    $657       $935    $1,075     $919     $915     $846

                                   Associate
                                               254    $459       $648     $695      $615     $609     $551

                  Non-Litigation   Partner
                                               439    $760       $997    $1,423     $1,100   $1,005   $959

                                   Associate
                                               462    $557       $695     $855      $726     $670     $619

More Than         Litigation       Partner
1,000 Lawyers                                  197    $711       $880    $1,154     $955     $944     $870

                                   Associate
                                               198    $467       $565     $710      $615     $594     $527


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Section
Section III:
           III:Practice
Corporate: Other
                PracticeArea
                         AreaAnalysis
                              Analysis                                     Corporate: Other
By Firm Size and Matter Type
                                                                           By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                            Trend Analysis - Mean
                                                      First               Third
Firm Size         Matter Type      Role         n               Median              2022     2021     2020
                                   Partner           Quartile            Quartile
More Than         Litigation       Associate
1,000 Lawyers                                  198    $467       $565     $710      $615     $594     $527

                  Non-Litigation   Partner
                                               461    $950      $1,170   $1,450     $1,212   $1,102   $1,055

                                   Associate
                                               471    $590       $738     $985      $792     $730     $706




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Section III: Practice Area Analysis
Section  III:Regulatory
Corporate:    Practiceand
                        Area Analysis
                          Compliance                                  Corporate: Regulatory and
By City                                                               Compliance
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  20       $731       $797     $884        $820       $774      $590

                     Associate
                                  13       $531       $592     $805        $653       $608      $451

Baltimore MD         Partner
                                  14       $625       $773     $842        $738       $680      $666

                     Associate
                                  16       $332       $460     $644        $472       $507      $427

Birmingham AL        Associate
                                  12       $273       $292     $332        $304       $295      $317

Boston MA            Partner
                                  16       $717       $796     $920        $870       $785      $728

                     Associate
                                  11       $445       $625     $714        $612       $471      $446

Chicago IL           Partner
                                  60       $564       $879    $1,062       $837       $788      $818

                     Associate
                                  46       $404       $582     $745        $590       $589      $595

Denver CO            Partner
                                  15       $419       $538     $622        $561       $534      $552

Kansas City MO       Partner
                                  18       $442       $501     $605        $539       $500      $503

                     Associate
                                  11       $280       $320     $329        $310       $331      $294

Los Angeles CA       Partner
                                  55       $801       $938    $1,140       $968       $875      $884

                     Associate
                                  72       $495       $666     $855        $675       $647      $675

Miami FL             Partner
                                  30       $492       $600     $833        $680       $746      $717

                     Associate
                                  16       $360       $450     $571        $473       $518      $542

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Section III: Practice Area Analysis
Section  III:Regulatory
Corporate:    Practiceand
                        Area Analysis
                          Compliance                                  Corporate: Regulatory and
By City                                                               Compliance
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                  30       First
                                           $492       $600     Third
                                                               $833        $680        $746      $717
City                 Role         n                  Median                2022        2021      2020
                     Partner              Quartile            Quartile
Miami FL             Associate
                                  16       $360       $450     $571        $473        $518      $542

Nashville TN         Partner
                                  33       $450       $558     $635        $539        $503      $485

                     Associate
                                  21       $248       $375     $473        $367        $334      $280

New York NY          Partner
                                  121      $697       $980    $1,381      $1,066      $1,010    $1,003

                     Associate
                                  137      $490       $682     $835        $710        $684      $648

Philadelphia PA      Partner
                                  50       $598       $800     $898        $764        $775      $709

                     Associate
                                  35       $325       $430     $519        $497        $474      $406

Pittsburgh PA        Partner
                                  12       $444       $737     $827        $659        $665      $664

                     Associate
                                  24       $359       $465     $503        $435        $408      $423

Portland OR          Associate
                                  36       $429       $474     $527        $476        $435      $373

Richmond VA          Partner
                                  11       $397       $595     $690        $544        $523      $452

San Francisco CA     Partner
                                  32       $556       $740     $830        $772        $703      $749

                     Associate
                                  16       $440       $551     $763        $571        $549      $516

Seattle WA           Partner
                                  27       $555       $760     $806        $705        $729      $673

                     Associate
                                  22       $395       $505     $572        $482        $433      $390

Washington DC        Partner


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Section III: Practice Area Analysis
Section  III:Regulatory
Corporate:    Practiceand
                        Area Analysis
                          Compliance                                  Corporate: Regulatory and
By City                                                               Compliance
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Seattle WA           Associate            Quartile            Quartile
Washington DC        Partner
                                  333      $625       $859    $1,052       $863       $862      $841

                     Associate
                                  315      $464       $582     $715        $606       $579      $564




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Section III: Practice Area Analysis
Section
Corporate:III: Practice
           Regulatory andArea Analysis
                          Compliance
                                                                        Corporate: Regulatory and
By Matter Type and YOE                                                  Compliance
                                                                        By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          59     $551       $705     $903      $755     $804     $760

                         Non-Litigation
                                          217    $495       $725     $935      $747     $700     $679

21 or More Years         Litigation
                                          118    $678       $852    $1,103     $906     $856     $818

                         Non-Litigation
                                          383    $563       $725    $1,000     $804     $773     $764




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Section III: Practice Area Analysis
Section
Corporate:III: Practice
           Regulatory andArea Analysis
                          Compliance
                                                                        Corporate: Regulatory and
By Matter Type and YOE                                                  Compliance
                                                                        By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          15     $370       $450     $589      $475     $499

                         Non-Litigation
                                          64     $395       $482     $588      $492     $513     $501

3 to Fewer Than 7        Litigation
Years                                     33     $460       $639     $739      $614     $587     $536

                         Non-Litigation
                                          136    $390       $519     $670      $548     $507     $482

7 or More Years          Litigation
                                          53     $488       $581     $798      $631     $615     $580

                         Non-Litigation
                                          156    $416       $575     $800      $625     $573     $566




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                        Corporate: Regulatory and
Corporate: Regulatory and Compliance
By Firm Size and Matter Type
                                                                           Compliance
                                                                           By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
50 Lawyers or    Litigation       Partner
Fewer                                         14     $463       $629    $1,085     $751     $707      $557

                 Non-Litigation   Partner
                                              115    $450       $544     $617      $526     $544      $525

                                  Associate
                                              61     $250       $306     $364      $290     $305      $341

51-200           Litigation       Partner
Lawyers                                       17     $600       $700     $798      $734     $685      $609

                 Non-Litigation   Partner
                                              98     $407       $492     $642      $568     $553      $562

                                  Associate
                                              63     $325       $404     $586      $469     $409      $392

201-500          Litigation       Partner
Lawyers                                       59     $528       $675     $899      $706     $663      $672

                                  Associate
                                              43     $381       $554     $673      $517     $458      $469

                 Non-Litigation   Partner
                                              111    $533       $649     $777      $664     $623      $616

                                  Associate
                                              91     $387       $474     $565      $502     $439      $397

501-1,000        Litigation       Partner
Lawyers                                       74     $720       $884    $1,108     $940     $947      $935

                                  Associate
                                              84     $474       $609     $807      $624     $623      $596

                 Non-Litigation   Partner
                                              247    $713       $910    $1,085     $948     $914      $871

                                  Associate
                                              269    $485       $578     $695      $618     $592      $557

More Than     Litigation          Partner
1,000 Lawyers                                 65     $830       $895    $1,246     $1,010   $972      $939

                                  Associate
                                              76     $460       $535     $745      $583     $613      $602

                 Non-Litigation   Partner
                                              190    $830      $1,008   $1,175     $1,001   $911      $918

                                  Associate
                                              192    $500       $661     $809      $671     $631      $604


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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Corporate: Regulatory and Compliance
                                                                          Corporate: Regulatory and
By Firm Size and Matter Type                                              Compliance
                                                                          By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                    First               Third
Firm Size        Matter Type     Role         n               Median              2022     2021     2020
                                 Partner           Quartile            Quartile
More Than     Non-Litigation     Associate
1,000 Lawyers                                192    $500       $661     $809      $671     $631      $604




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Section III: Practice Area Analysis
Section III: and
Employment   Practice
                 Labor Area Analysis                                  Employment and Labor
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  52       $390       $466     $566        $476       $498      $489

                     Associate
                                  42       $297       $348     $390        $342       $328      $317

Baltimore MD         Partner
                                  24       $597       $627     $813        $697       $623      $592

                     Associate
                                  19       $412       $500     $581        $541       $457      $436

Boston MA            Partner
                                  27       $450       $578     $707        $587       $549      $569

                     Associate
                                  23       $367       $421     $496        $430       $474      $489

Chicago IL           Partner
                                  108      $490       $655     $768        $685       $713      $652

                     Associate
                                  86       $310       $395     $501        $426       $452      $427

Cincinnati OH        Partner
                                  11       $419       $488     $590        $502       $439      $420

Cleveland OH         Partner
                                  36       $375       $424     $510        $471       $466      $467

                     Associate
                                  34       $266       $295     $342        $326       $312      $307

Dallas TX            Partner
                                  41       $379       $449     $583        $496       $536      $515

                     Associate
                                  20       $312       $342     $383        $360       $401      $358

Denver CO            Partner
                                  28       $455       $528     $664        $574       $538      $530

                     Associate
                                  18       $296       $329     $351        $349       $313      $316

Houston TX           Partner


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Section III: Practice Area Analysis
Section III: and
Employment   Practice
                 Labor Area Analysis                                  Employment and Labor
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Denver CO            Associate            Quartile            Quartile
Houston TX           Partner
                                  21       $456       $540     $667        $562       $568      $591

Kansas City MO       Partner
                                  19       $383       $410     $434        $417       $421      $407

                     Associate
                                  14       $250       $270     $321        $284       $295      $294

Los Angeles CA       Partner
                                  115      $525       $666     $935        $743       $694      $640

                     Associate
                                  98       $325       $390     $495        $446       $494      $467

Memphis TN           Partner
                                  12       $350       $415     $468        $406       $378      $381

Miami FL             Partner
                                  14       $438       $486     $673        $592       $615      $553

                     Associate
                                  14       $278       $415     $652        $476       $424      $386

Minneapolis MN       Partner
                                  30       $454       $600     $686        $572       $562      $550

                     Associate
                                  19       $342       $410     $475        $395       $417      $428

Nashville TN         Partner
                                  26       $392       $458     $488        $448       $429      $434

                     Associate
                                  16       $251       $270     $321        $279       $282      $278

New York NY          Partner
                                  222      $470       $605     $850        $701       $680      $674

                     Associate
                                  182      $325       $413     $553        $488       $485      $455

Orlando FL           Partner
                                  11       $470       $475     $475        $485       $462      $466

Philadelphia PA      Partner


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Section III: Practice Area Analysis
Section III: and
Employment   Practice
                 Labor Area Analysis                                  Employment and Labor
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Orlando FL           Partner              Quartile            Quartile
Philadelphia PA      Partner
                                  99       $525       $659     $810        $678       $665      $655

                     Associate
                                  104      $375       $442     $500        $448       $428      $405

Phoenix AZ           Partner
                                  14       $437       $536     $563        $506       $514      $454

Pittsburgh PA        Partner
                                  26       $519       $630     $756        $644       $592      $576

                     Associate
                                  26       $318       $350     $392        $388       $389      $367

Portland OR          Associate
                                  26       $320       $376     $428        $390       $344      $344

San Diego CA         Partner
                                  18       $407       $456     $553        $528       $564      $491

                     Associate
                                  25       $300       $325     $380        $351       $373      $361

San Francisco CA     Partner
                                  54       $404       $576     $728        $597       $566      $549

                     Associate
                                  40       $303       $336     $422        $368       $370      $368

San Jose CA          Partner
                                  15       $632       $730     $856        $779       $704      $722

Seattle WA           Partner
                                  39       $421       $500     $650        $549       $498      $541

                     Associate
                                  33       $307       $354     $466        $411       $427      $377

St. Louis MO         Partner
                                  12       $396       $435     $548        $495       $485      $519

Tampa FL             Partner
                                  16       $370       $375     $483        $440       $445      $492

Washington DC        Partner


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Section III: and
Employment   Practice
                 Labor Area Analysis                                  Employment and Labor
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Tampa FL             Partner              Quartile            Quartile
Washington DC        Partner
                                  147      $619       $730     $860        $759       $736      $740

                     Associate
                                  90       $420       $510     $625        $521       $503      $499




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Employment and Labor
                                                                        Employment and Labor
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          148    $372       $475     $666      $535     $513     $484

                         Non-Litigation
                                          303    $395       $476     $634      $541     $538     $522

21 or More Years         Litigation
                                          298    $443       $585     $801      $648     $595     $592

                         Non-Litigation
                                          591    $470       $580     $743      $634     $620     $612




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Employment and Labor
                                                                        Employment and Labor
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          37     $329       $350     $420      $391     $362     $316

                         Non-Litigation
                                          43     $298       $325     $369      $343     $322     $445

3 to Fewer Than 7        Litigation
Years                                     89     $290       $355     $455      $384     $346     $331

7 or More Years          Litigation
                                          166    $322       $396     $517      $435     $408     $396

                         Non-Litigation
                                          242    $315       $380     $495      $418     $416     $406




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Section
Section III:
        III:Practice
             PracticeArea
                      AreaAnalysis
                           Analysis                                        Employment and Labor
Employment and Labor                                                       By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
50 Lawyers or    Litigation       Partner
Fewer                                         58     $313       $398     $496      $421     $402      $411

                                  Associate
                                              37     $250       $280     $342      $297     $311      $295

                 Non-Litigation   Partner
                                              47     $375       $450     $550      $471     $452      $435

                                  Associate
                                              19     $265       $285     $350      $297     $254      $300

51-200           Litigation       Partner
Lawyers                                       48     $300       $370     $485      $405     $429      $431

                                  Associate
                                              24     $250       $290     $345      $310     $306      $318

                 Non-Litigation   Partner
                                              126    $406       $525     $723      $581     $574      $550

                                  Associate
                                              80     $244       $289     $365      $328     $358      $351

201-500          Litigation       Partner
Lawyers                                       132    $404       $476     $595      $532     $505      $517

                                  Associate
                                              117    $304       $350     $411      $385     $390      $378

                 Non-Litigation   Partner
                                              238    $375       $445     $545      $491     $485      $494

                                  Associate
                                              135    $295       $340     $413      $362     $348      $351

501-1,000        Litigation       Partner
Lawyers                                       167    $475       $634     $765      $682     $645      $589

                                  Associate
                                              140    $310       $387     $475      $425     $432      $392

                 Non-Litigation   Partner
                                              403    $470       $528     $665      $601     $575      $574

                                  Associate
                                              293    $306       $335     $425      $394     $400      $384

More Than        Litigation       Partner
1,000 Lawyers                                 126    $628       $795     $918      $791     $793      $789

                                  Associate
                                              146    $415       $495     $575      $509     $510      $502


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Section
Section III:
         III:Practice
              PracticeArea
Employment and Labor
                       AreaAnalysis
                            Analysis                                       Employment and Labor
By Firm Size and Matter Type
                                                                           By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                  Partner           Quartile            Quartile
More Than        Litigation       Associate
1,000 Lawyers                                 146    $415       $495     $575      $509     $510      $502

                 Non-Litigation   Partner
                                              202    $655       $750     $876      $808     $796      $780

                                  Associate
                                              211    $380       $450     $546      $494     $492      $471




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Section III: Practice Area Analysis
Environmental                                                         Environmental
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Los Angeles CA       Partner
                                  11       $515       $550     $663        $753       $568      $557

New York NY          Partner
                                  27       $414       $525     $616        $616       $656      $590

                     Associate
                                  26       $298       $340     $400        $382       $502      $432

Washington DC        Partner
                                  14       $660       $803     $957        $812       $745      $744

                     Associate
                                  18       $400       $565     $695        $567       $543      $475




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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Environmental                                                          Environmental
By Matter Type and YOE                                                 By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                    Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 21 Years Litigation
                                          12    $348       $404     $446      $428     $466     $455

                         Non-Litigation
                                          12    $456       $515     $644      $586     $475     $427

21 or More Years         Litigation
                                          33    $483       $590     $662      $650     $560     $548

                         Non-Litigation
                                          57    $448       $542     $840      $681     $644     $614




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
Environmental                                                          Environmental
By Matter Type and YOE                                                 By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                    Trend Analysis - Mean
                         Matter             First               Third
Years of Experience                   n               Median                2022       2021     2020
                         Type              Quartile            Quartile
7 or More Years          Litigation
                                      13    $370       $425     $500        $441       $368      $377




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Section III:
         III:Practice
Environmental
              PracticeArea
                       AreaAnalysis
                            Analysis                                      Environmental
By Firm Size and Matter Type
                                                                          By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2022     2021     2020
                                                    Quartile            Quartile
51-200 Lawyers Litigation          Partner
                                               16    $350       $415     $535      $444     $464     $456

                  Non-Litigation   Partner
                                               38    $401       $474     $552      $487     $506     $490

                                   Associate
                                               14    $294       $325     $383      $361     $360     $304

201-500           Litigation       Partner
Lawyers                                        15    $550       $617     $654      $598     $557     $528

                  Non-Litigation   Partner
                                               13    $530       $701     $743      $695     $645     $614

501-1,000         Litigation       Partner
Lawyers                                        14    $517       $583     $625      $594     $593     $608

                                   Associate
                                               22    $400       $530     $670      $525     $394     $406

                  Non-Litigation   Partner
                                               11    $809       $938     $972      $871     $716     $715

                                   Associate
                                               12    $426       $575     $642      $546     $481     $473

More Than         Non-Litigation   Partner
1,000 Lawyers                                  14    $678       $948    $1,440     $1,085   $1,002   $944




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Section III: Practice Area Analysis
Section  III:Securities
Finance and  Practice Area Analysis                                   Finance and Securities
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022        2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  50       $751       $871    $1,045       $897        $789      $839

                     Associate
                                  55       $448       $599     $743        $619        $539      $548

Baltimore MD         Partner
                                  34       $566       $650    $1,108       $806        $649      $631

                     Associate
                                  13       $360       $482     $680        $526        $453      $492

Boston MA            Partner
                                  59       $735      $1,016   $1,340      $1,062      $1,076     $964

                     Associate
                                  84       $518       $678     $874        $701        $703      $629

Charlotte NC         Partner
                                  45       $580       $692     $798        $743        $779      $696

                     Associate
                                  40       $355       $440     $640        $529        $532      $465

Chicago IL           Partner
                                  172      $751      $1,000   $1,324      $1,066      $1,034    $1,001

                     Associate
                                  152      $523       $630     $851        $682        $677      $598

Cincinnati OH        Associate
                                  14       $250       $278     $317        $278        $266      $254

Cleveland OH         Partner
                                  54       $450       $495     $627        $578        $552      $568

Dallas TX            Partner
                                  46       $572       $925    $1,072       $897        $925      $847

                     Associate
                                  52       $484       $625     $751        $628        $606      $597

Denver CO            Partner
                                  20       $473       $510     $584        $549        $529      $513

                     Associate
                                  21       $303       $335     $379        $353        $336      $315

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Section III: Practice Area Analysis
Section  III:Securities
Finance and  Practice Area Analysis                                   Finance and Securities
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                  20       First
                                           $473       $510     Third
                                                               $584        $549        $529      $513
City                 Role         n                  Median                2022        2021      2020
                     Partner              Quartile            Quartile
Denver CO            Associate
                                  21       $303       $335     $379        $353        $336      $315

Houston TX           Partner
                                  32       $855      $1,345   $1,526      $1,212      $1,229    $1,075

                     Associate
                                  40       $530       $691     $836        $669        $663      $614

Kansas City MO       Partner
                                  28       $500       $570     $665        $589        $520      $469

                     Associate
                                  14       $356       $395     $436        $388        $349      $322

Los Angeles CA       Partner
                                  148      $795      $1,166   $1,372      $1,109      $1,096    $1,072

                     Associate
                                  217      $517       $759     $993        $760        $844      $756

Miami FL             Partner
                                  23       $492       $591     $779        $661        $683      $687

                     Associate
                                  16       $385       $467     $604        $524        $428      $457

Minneapolis MN       Partner
                                  20       $626       $841     $876        $782        $717      $693

New York NY          Partner
                                  629      $973      $1,330   $1,650      $1,302      $1,264    $1,182

                     Associate
                                  829      $587       $813    $1,067       $827        $809      $750

Philadelphia PA      Partner
                                  75       $700       $875     $989        $891        $876      $823

                     Associate
                                  69       $410       $459     $575        $525        $476      $476

Phoenix AZ           Partner
                                  26       $384       $425     $480        $459        $468      $472

                     Associate
                                  12       $184       $215     $271        $250        $254      $239

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Section III: Practice Area Analysis
Section  III:Securities
Finance and  Practice Area Analysis                                   Finance and Securities
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                  26       First
                                           $384       $425     Third
                                                               $480        $459        $468      $472
City                 Role         n                  Median                2022        2021      2020
                     Partner              Quartile            Quartile
Phoenix AZ           Associate
                                  12       $184       $215     $271        $250        $254      $239

Pittsburgh PA        Partner
                                  48       $491       $668     $872        $695        $757      $657

                     Associate
                                  35       $425       $503     $559        $508        $466      $396

Portland OR          Associate
                                  15       $369       $409     $515        $425        $394      $350

Richmond VA          Partner
                                  28       $766       $878    $1,029       $907        $797      $780

San Diego CA         Partner
                                  16       $355       $565     $783        $680        $831      $819

San Francisco CA     Partner
                                  31       $798       $969    $1,054       $954       $1,051    $1,052

                     Associate
                                  29       $580       $702     $890        $723        $722      $697

San Jose CA          Partner
                                  11      $1,120     $1,473   $1,669      $1,359      $1,343    $1,197

Seattle WA           Partner
                                  32       $480       $518     $668        $580        $591      $561

                     Associate
                                  24       $299       $355     $522        $404        $472      $472

Washington DC        Partner
                                  162      $795      $1,000   $1,330      $1,064      $1,038     $971

                     Associate
                                  86       $510       $670     $905        $715        $703      $646




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Section III: Practice Area Analysis
Section   III: Practice Area Analysis
Finance and Securities
                                                                        Finance and Securities
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                      Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021      2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          52     $471       $574     $780      $672     $626      $564

                         Non-Litigation
                                          510    $550       $792    $1,230     $901     $931      $864

21 or More Years         Litigation
                                          83     $542       $683    $1,005     $801     $788      $809

                         Non-Litigation
                                          851    $675       $995    $1,450     $1,057   $1,058    $987




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Section III: Practice Area Analysis
Section   III:Securities
Finance and    Practice Area Analysis                                   Finance and Securities
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Non-Litigation
                                          124    $343       $485     $675      $520     $571     $578

3 to Fewer Than 7        Litigation
Years                                     19     $288       $360     $456      $375     $340     $376

                         Non-Litigation
                                          232    $361       $526     $800      $601     $608     $518

7 or More Years          Litigation
                                          28     $304       $515     $730      $548     $511     $491

                         Non-Litigation
                                          312    $445       $663    $1,000     $743     $749     $717




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Section
Section III:
          III:Practice
                PracticeArea
Finance and Securities
                         AreaAnalysis
                              Analysis                                     Finance and Securities
                                                                           By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                                    Quartile            Quartile
50 Lawyers or    Non-Litigation   Partner
Fewer                                         117    $381       $487     $624      $535     $524      $493

                                  Associate
                                              68     $275       $340     $432      $378     $370      $339

51-200           Litigation       Partner
Lawyers                                       24     $358       $460     $690      $533     $510      $560

                                  Associate
                                              12     $257       $363     $577      $412     $407      $391

                 Non-Litigation   Partner
                                              229    $416       $500     $716      $584     $604      $577

                                  Associate
                                              146    $271       $380     $479      $412     $404      $377

201-500          Litigation       Partner
Lawyers                                       32     $447       $540     $631      $573     $608      $595

                                  Associate
                                              50     $276       $302     $392      $348     $347      $361

                 Non-Litigation   Partner
                                              325    $545       $740    $1,111     $840     $848      $797

                                  Associate
                                              290    $369       $535     $721      $569     $551      $540

501-1,000        Litigation       Partner
Lawyers                                       47     $676       $886    $1,090     $933     $907      $903

                                  Associate
                                              50     $485       $547     $636      $590     $523      $495

                 Non-Litigation   Partner
                                              564    $871      $1,100   $1,565     $1,198   $1,182   $1,092

                                  Associate
                                              662    $565       $733     $965      $783     $787      $712

More Than        Litigation       Partner
1,000 Lawyers                                 54     $645       $838    $1,113     $905     $859      $917

                                  Associate
                                              41     $438       $577     $828      $655     $572      $556

                 Non-Litigation   Partner
                                              566    $950      $1,250   $1,525     $1,243   $1,197   $1,127

                                  Associate
                                              633    $595       $820    $1,053     $827     $812      $746


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Section   III: Practice Area Analysis
Finance and Securities
                                                                           Finance and Securities
By Firm Size and Matter Type
                                                                           By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                                                     First               Third
Firm Size        Matter Type      Role         n               Median              2022     2021     2020
                                  Partner           Quartile            Quartile
More Than        Non-Litigation   Associate
1,000 Lawyers                                 633    $595       $820    $1,053     $827     $812      $746




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Section III: Practice Area Analysis
Section  III: Practice
General Liability         Area
                  - Litigation  Analysis
                               Only                                   General Liability -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  16       $238       $300     $550        $427       $407      $426

                     Associate
                                  13       $210       $270     $598        $386       $276      $269

Baltimore MD         Partner
                                  16       $488       $600     $625        $536       $624      $619

                     Associate
                                  24       $400       $448     $513        $445       $484      $445

Birmingham AL        Partner
                                  12       $400       $480     $564        $457       $360      $345

Boston MA            Partner
                                  14       $185       $225     $331        $345       $381      $374

                     Associate
                                  11       $170       $180     $275        $220       $357      $290

Charleston WV        Partner
                                  11       $200       $268     $310        $261       $265      $268

Chicago IL           Partner
                                  41       $215       $320     $895        $538       $539      $497

                     Associate
                                  31       $225       $235     $353        $373       $409      $296

Dallas TX            Partner
                                  11       $190       $250     $434        $316       $335      $295

Indianapolis IN      Partner
                                  14       $220       $250     $472        $365       $318      $348

Jackson MS           Partner
                                  54       $283       $319     $375        $337       $383      $373

                     Associate
                                  34       $225       $240     $251        $240       $245      $250

Kansas City MO       Partner
                                  14       $304       $398     $549        $406       $432      $478

                     Associate
                                  14       $250       $325     $368        $297       $305      $315

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Section III: Practice Area Analysis
Section  III: Practice
General Liability         Area
                  - Litigation  Analysis
                               Only                                   General Liability -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                  14       First
                                           $304       $398     Third
                                                               $549        $406       $432      $478
City                 Role         n                  Median                2022       2021      2020
                     Partner              Quartile            Quartile
Kansas City MO       Associate
                                  14       $250       $325     $368        $297       $305      $315

Los Angeles CA       Partner
                                  40       $410       $835     $995        $744       $604      $515

                     Associate
                                  38       $361       $475     $735        $533       $514      $390

Miami FL             Partner
                                  15       $162       $165     $278        $249       $257      $267

Minneapolis MN       Partner
                                  14       $339       $340     $675        $449       $371      $355

Nashville TN         Partner
                                  13       $275       $295     $300        $308       $330      $333

New Orleans LA       Partner
                                  31       $285       $315     $335        $311       $301      $308

                     Associate
                                  27       $212       $238     $242        $230       $221      $225

New York NY          Partner
                                  81       $295       $530     $662        $572       $597      $518

                     Associate
                                  80       $175       $300     $400        $332       $384      $367

Philadelphia PA      Partner
                                  41       $475       $625     $715        $604       $530      $484

                     Associate
                                  53       $412       $430     $565        $444       $414      $381

Phoenix AZ           Partner
                                  12       $236       $275     $401        $315       $353      $281

                     Associate
                                  11       $183       $215     $247        $240       $210      $179

Pittsburgh PA        Associate
                                  11       $245       $334     $435        $356       $319      $334

Portland OR          Partner


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Section  III: Practice
General Liability         Area
                  - Litigation  Analysis
                               Only                                   General Liability -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Pittsburgh PA        Associate            Quartile            Quartile
Portland OR          Partner
                                  11       $288       $305     $333        $318       $291      $276

San Francisco CA     Partner
                                  14       $284       $430     $525        $484       $458      $400

                     Associate
                                  13       $288       $430     $430        $375       $404      $346

St. Louis MO         Partner
                                  17       $200       $300     $357        $303       $360      $353

Washington DC        Partner
                                  49       $895       $950     $950        $953       $870      $817

                     Associate
                                  37       $486       $670     $695        $575       $558      $559




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Section III: Practice Area Analysis
Section   III: Practice
General Liability           Area
                  - Litigation    Analysis
                               Only                                  General Liability -
By Matter Type and YOE                                               Litigation only
                                                                     By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                         Matter              First               Third
Years of Experience                    n               Median              2022       2021      2020
                         Type               Quartile            Quartile
Fewer Than 21 Years Litigation
                                      185    $250       $370     $675      $496       $465      $415

21 or More Years         Litigation
                                      388    $270       $387     $614      $472       $481      $455




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Section III: Practice Area Analysis
Section   III: Practice
General Liability          Area
                  - Litigation   Analysis
                               Only                                  General Liability -
By Matter Type and YOE                                               Litigation only
                                                                     By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                         Matter              First               Third
Years of Experience                    n               Median              2022        2021     2020
                         Type               Quartile            Quartile
Fewer Than 3 Years       Litigation
                                      12     $195       $228     $276      $236        $275

3 to Fewer Than 7        Litigation
Years                                 74     $240       $333     $435      $374        $359     $320

7 or More Years          Litigation
                                      133    $250       $375     $470      $393        $394     $350




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Section   III: Practice
General Liability            Area
                  - Litigation Only Analysis
                                                                         General Liability -
By Firm Size and Matter Type                                             Litigation only
                                                                         By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                         Trend Analysis - Mean
                 Matter                           First               Third
Firm Size                      Role         n               Median              2022     2021      2020
                 Type                            Quartile            Quartile
50 Lawyers or    Litigation    Partner
Fewer                                      206    $210       $275     $340      $293     $273      $257

                               Associate
                                           131    $165       $210     $250      $223     $213      $201

51-200           Litigation    Partner
Lawyers                                    207    $225       $319     $384      $330     $322      $314

                               Associate
                                           156    $200       $225     $263      $236     $227      $222

201-500          Litigation    Associate
Lawyers                                    93     $280       $330     $400      $344     $328      $312

501-1,000        Litigation    Partner
Lawyers                                    107    $575       $700     $950      $752     $710      $651

                               Associate
                                           99     $392       $464     $599      $492     $489      $432

More Than        Litigation    Partner
1,000 Lawyers                              85     $715       $895    $1,060     $912     $890      $834

                               Associate
                                           97     $430       $525     $616      $547     $577      $577




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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Albany NY            Partner
                                  13       $150       $150     $195        $168       $181      $182

Atlanta GA           Partner
                                  112      $180       $190     $235        $244       $227      $256

                     Associate
                                  127      $165       $187     $240        $208       $195      $202

Baltimore MD         Partner
                                  40       $175       $184     $195        $213       $210      $262

                     Associate
                                  49       $150       $160     $180        $180       $180      $183

Baton Rouge LA       Partner
                                  13       $170       $171     $243        $192       $182      $174

Birmingham AL        Partner
                                  38       $154       $180     $194        $328       $297      $222

                     Associate
                                  26       $155       $155     $190        $177       $170      $168

Boston MA            Partner
                                  48       $180       $213     $220        $262       $235      $235

                     Associate
                                  34       $155       $175     $185        $234       $264      $230

Buffalo NY           Partner
                                  71       $160       $175     $200        $181       $177      $182

                     Associate
                                  62       $140       $147     $160        $150       $151      $148

Charleston SC        Partner
                                  15       $170       $175     $200        $191       $199      $197

                     Associate
                                  16       $145       $165     $165        $156       $153      $148

Charleston WV        Partner
                                  53       $169       $175     $191        $196       $195      $194

                     Associate


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                     Partner              Quartile            Quartile
Charleston WV        Associate
                                  17       $150       $160     $165        $164       $182      $190

Charlotte NC         Partner
                                  22       $180       $185     $195        $202       $218      $187

                     Associate
                                  13       $158       $168     $205        $199       $191      $162

Chicago IL           Partner
                                  191      $180       $215     $276        $262       $270      $265

                     Associate
                                  159      $159       $178     $220        $202       $203      $224

Cincinnati OH        Partner
                                  20       $155       $165     $180        $182       $181      $180

                     Associate
                                  15       $140       $155     $205        $170       $170      $160

Cleveland OH         Partner
                                  40       $174       $180     $184        $186       $186      $182

                     Associate
                                  34       $160       $160     $160        $161       $165      $159

Columbia SC          Partner
                                  46       $180       $180     $190        $183       $182      $172

                     Associate
                                  41       $160       $165     $170        $163       $163      $156

Columbus OH          Partner
                                  19       $170       $173     $177        $178       $170      $175

                     Associate
                                  11       $146       $155     $162        $166       $151      $150

Dallas TX            Partner
                                  60       $182       $225     $275        $265       $246      $242

                     Associate
                                  44       $165       $193     $220        $216       $192      $189

Denver CO            Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Dallas TX            Associate            Quartile            Quartile
Denver CO            Partner
                                  42       $161       $180     $226        $198       $190      $185

                     Associate
                                  46       $140       $150     $170        $160       $163      $162

Des Moines IA        Partner
                                  13       $169       $190     $200        $183       $179      $176

Detroit MI           Partner
                                  123      $160       $173     $175        $182       $194      $175

                     Associate
                                  116      $153       $162     $162        $159       $164      $154

Greenville SC        Associate
                                  15       $140       $165     $165        $167       $160      $160

Harrisburg PA        Partner
                                  21       $162       $167     $200        $178       $179      $176

Hartford CT          Partner
                                  19       $190       $223     $460        $331       $326      $272

                     Associate
                                  14       $174       $181     $211        $214       $210      $211

Honolulu HI          Partner
                                  11       $152       $195     $219        $186       $190      $180

Houston TX           Partner
                                  52       $193       $225     $270        $307       $323      $298

                     Associate
                                  38       $180       $200     $225        $232       $232      $238

Indianapolis IN      Partner
                                  27       $155       $176     $185        $175       $164      $176

Jackson MS           Partner
                                  19       $135       $155     $200        $178       $194      $194

Jacksonville FL      Partner
                                  17       $180       $180     $183        $181       $181      $178

Kansas City MO       Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Jacksonville FL      Partner              Quartile            Quartile
Kansas City MO       Partner
                                  49       $185       $232     $278        $249       $238      $198

                     Associate
                                  44       $170       $185     $204        $190       $179      $184

Las Vegas NV         Partner
                                  33       $185       $215     $230        $209       $204      $206

Lexington KY         Partner
                                  14       $160       $161     $164        $162       $164      $165

                     Associate
                                  27       $140       $140     $143        $142       $140      $138

Little Rock AR       Partner
                                  14       $165       $190     $205        $316       $321      $230

Los Angeles CA       Partner
                                  306      $225       $240     $266        $291       $306      $332

                     Associate
                                  225      $185       $200     $225        $227       $224      $219

Louisville KY        Partner
                                  15       $133       $154     $167        $176       $162      $153

Miami FL             Partner
                                  98       $180       $185     $220        $228       $239      $232

                     Associate
                                  69       $168       $174     $199        $196       $178      $165

Milwaukee WI         Partner
                                  27       $175       $185     $185        $191       $192      $192

Minneapolis MN       Partner
                                  70       $175       $180     $224        $208       $205      $211

                     Associate
                                  40       $160       $165     $185        $171       $175      $183

Morgantown WV        Partner
                                  12       $160       $169     $181        $171       $168      $167

Nashville TN         Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Morgantown WV        Partner              Quartile            Quartile
Nashville TN         Partner
                                  22       $165       $175     $185        $188       $183      $170

                     Associate
                                  15       $146       $150     $169        $165       $144      $132

New Orleans LA       Partner
                                  45       $175       $195     $225        $256       $197      $242

                     Associate
                                  18       $149       $171     $177        $169       $147      $157

New York NY          Partner
                                  299      $175       $200     $230        $265       $261      $259

                     Associate
                                  256      $159       $175     $200        $244       $242      $210

Oklahoma City OK Partner
                                  14       $150       $155     $225        $196       $275      $210

Orlando FL           Partner
                                  33       $166       $180     $180        $186       $178      $168

                     Associate
                                  25       $150       $155     $170        $159       $161      $152

Philadelphia PA      Partner
                                  219      $175       $185     $215        $207       $225      $230

                     Associate
                                  201      $160       $170     $196        $192       $191      $189

Phoenix AZ           Partner
                                  74       $175       $190     $220        $215       $237      $211

                     Associate
                                  54       $175       $191     $210        $198       $194      $188

Pittsburgh PA        Partner
                                  60       $170       $175     $175        $176       $170      $172

                     Associate
                                  53       $155       $160     $160        $160       $158      $158

Portland OR          Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Pittsburgh PA        Associate            Quartile            Quartile
Portland OR          Partner
                                  28       $190       $230     $255        $245       $243      $238

                     Associate
                                  25       $171       $187     $200        $196       $198      $191

Providence RI        Partner
                                  15       $174       $175     $223        $203       $196      $193

Raleigh NC           Partner
                                  15       $183       $190     $195        $196       $200      $226

                     Associate
                                  14       $140       $158     $165        $176       $191      $179

Richmond VA          Partner
                                  34       $178       $195     $200        $330       $317      $311

                     Associate
                                  20       $166       $175     $200        $180       $181      $178

Salt Lake City UT    Partner
                                  27       $171       $199     $249        $223       $205      $214

San Diego CA         Partner
                                  52       $215       $253     $346        $438       $454      $449

San Francisco CA     Partner
                                  165      $217       $250     $280        $305       $314      $344

                     Associate
                                  65       $180       $195     $240        $226       $237      $210

Seattle WA           Partner
                                  55       $197       $250     $375        $344       $339      $306

                     Associate
                                  28       $177       $190     $240        $213       $208      $208

Springfield IL       Partner
                                  12       $165       $166     $166        $165       $165      $171

St. Louis MO         Partner
                                  39       $166       $180     $210        $202       $186      $196

Tampa FL             Partner


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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense       Area Analysis
                  - Litigation Only                                   Insurance Defense -
By City                                                               Litigation only
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
St. Louis MO         Partner              Quartile            Quartile
Tampa FL             Partner
                                  36       $176       $184     $220        $202       $201      $202

                     Associate
                                  38       $180       $205     $235        $205       $198      $181

Tulsa OK             Partner
                                  15       $150       $150     $225        $195       $190      $193

                     Associate
                                  19       $225       $235     $242        $229       $218      $212

Washington DC        Partner
                                  62       $250       $510     $883        $633       $598      $599

                     Associate
                                  36       $351       $565     $832        $573       $528      $511




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Section III: Practice Area Analysis
Section
InsuranceIII: Practice
          Defense        Area Only
                  - Litigation Analysis                                Insurance Defense -
By Matter Type and YOE                                                 Litigation only
                                                                       By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                       Trend Analysis - Mean
                         Matter                First               Third
Years of Experience                    n                 Median              2022        2021     2020
                         Type                 Quartile            Quartile
Fewer Than 21 Years Litigation
                                      773      $175       $187     $225      $221        $217     $219

21 or More Years         Litigation
                                      1,599    $170       $190     $230      $224        $219     $217




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Section III: Practice Area Analysis
Section
Insurance III: Practice
           Defense        AreaOnly
                   - Litigation Analysis                                Insurance Defense -
By Matter Type and YOE                                                  Litigation only
                                                                        By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                     Trend Analysis - Mean
                         Matter              First               Third
Years of Experience                    n               Median                2022       2021     2020
                         Type               Quartile            Quartile
Fewer Than 3 Years       Litigation
                                      124    $160       $175     $200        $192       $179      $194

3 to Fewer Than 7        Litigation
Years                                 330    $160       $180     $215        $226       $216      $207

7 or More Years          Litigation
                                      503    $155       $175     $200        $208       $207      $203




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Section III: Practice Area Analysis
Section
Insurance III: Practice
          Defense         Area
                  - Litigation   Analysis
                               Only
                                                                           Insurance Defense -
By Firm Size and Matter Type                                               Litigation only
                                                                           By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                           Trend Analysis - Mean
                 Matter                             First               Third
Firm Size                      Role         n                 Median              2022     2021      2020
                 Type                              Quartile            Quartile
50 Lawyers or    Litigation    Partner
Fewer                                      1,480    $165       $180     $215      $217     $210      $209

                               Associate
                                           1,072    $145       $161     $185      $172     $170      $165

51-200           Litigation    Partner
Lawyers                                    870      $175       $190     $224      $213     $216      $207

                               Associate
                                           668      $160       $170     $188      $178     $181      $175

201-500          Litigation    Partner
Lawyers                                    435      $225       $245     $280      $310     $325      $308

                               Associate
                                           274      $185       $200     $240      $240     $231      $224

501-1,000        Litigation    Partner
Lawyers                                    106      $230       $275     $475      $410     $423      $476

                               Associate
                                           100      $200       $270     $514      $376     $340      $357

More Than        Litigation    Partner
1,000 Lawyers                               36      $800      $1,038   $1,233     $1,012   $967      $903

                               Associate
                                            62      $489       $624     $863      $654     $615      $607




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Section III: Practice Area Analysis
Section   III:Property:
Intellectual   Practice   Area Analysis
                        Other                                    Intellectual Property: Other
By City                                                          By City

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                Trend Analysis - Mean
                                      First               Third
City                 Role       n               Median                2022       2021      2020
                                     Quartile            Quartile
New York NY          Partner
                                13    $575       $700     $875        $734       $729      $885




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Section III: Practice Area Analysis
Section
IntellectualIII: Practice
              Property:     Area Analysis
                        Other
                                                                       Intellectual Property: Other
By Matter Type and YOE
                                                                       By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                    Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 21 Years Non-Litigation
                                          12    $300       $559     $724      $600     $583     $571

21 or More Years         Litigation
                                          11    $587       $625     $702      $672     $751     $774

                         Non-Litigation
                                          29    $510       $700     $875      $711     $699     $713




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Section III: Practice Area Analysis
Section     III: Practice Area Analysis
Intellectual Property: Other
                                                                          Intellectual Property: Other
                                                                          By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2022    2021     2020
                                                    Quartile            Quartile
50 Lawyers or     Non-Litigation   Partner
Fewer                                          12    $299       $368     $507      $420    $448      $499

201-500           Non-Litigation   Partner
Lawyers                                        16    $416       $524     $587      $538    $510      $501

More Than         Non-Litigation   Partner
1,000 Lawyers                                  15    $824       $965    $1,105     $968    $926      $967

                                   Associate
                                               14    $453       $595     $650      $585    $562      $497




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Section III: Practice Area Analysis
Section   III:Property:
Intellectual   Practice   Area Analysis
                        Patents                                       Intellectual Property: Patents
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  15       $621       $692     $782        $699       $618      $587

                     Associate
                                  16       $451       $502     $608        $520       $494      $457

Austin TX            Partner
                                  21       $535       $743     $858        $680       $660      $598

                     Associate
                                  24       $401       $569     $683        $530       $506      $516

Boston MA            Partner
                                  31       $550       $693     $836        $675       $682      $654

                     Associate
                                  14       $351       $483     $747        $527       $480      $487

Chicago IL           Partner
                                  30       $447       $573     $849        $693       $629      $644

                     Associate
                                  22       $395       $495     $595        $504       $499      $474

Cleveland OH         Associate
                                  22       $150       $200     $211        $239       $240      $264

Dallas TX            Partner
                                  11       $728       $924     $995        $886       $748      $685

                     Associate
                                  13       $608       $690     $758        $667       $568      $574

Houston TX           Partner
                                  23       $325       $492     $876        $632       $564      $566

                     Associate
                                  45       $200       $245     $335        $297       $257      $237

Los Angeles CA       Partner
                                  28       $708       $950    $1,100       $943       $873      $852

                     Associate
                                  83       $575       $765     $890        $736       $698      $660

New York NY          Partner


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Section III: Practice Area Analysis
Section   III:Property:
Intellectual   Practice   Area Analysis
                        Patents                                       Intellectual Property: Patents
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022        2021      2020
Los Angeles CA       Associate            Quartile            Quartile
New York NY          Partner
                                  45       $618       $895    $1,089       $866        $817      $772

                     Associate
                                  57       $519       $625     $859        $662        $601      $561

Philadelphia PA      Partner
                                  31       $603       $746     $840        $758        $670      $686

                     Associate
                                  26       $391       $423     $475        $432        $384      $392

Salt Lake City UT    Partner
                                  12       $350       $371     $413        $381        $285      $334

San Francisco CA     Partner
                                  28       $767      $1,085   $1,307      $1,038       $939      $904

                     Associate
                                  27       $464       $690     $897        $684        $637      $634

San Jose CA          Partner
                                  14       $527       $784    $1,079       $791        $752      $748

                     Associate
                                  14       $451       $632     $832        $704        $610      $418

Washington DC        Partner
                                  103      $589       $900    $1,035       $853        $806      $738

                     Associate
                                  91       $386       $695     $823        $648        $545      $528




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Section III: Practice Area Analysis
Section    III: Practice Area Analysis
Intellectual Property: Patents
                                                                        Intellectual Property: Patents
                                                                        By Matter Type and YOE
By Matter Type and YOE


2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          91     $694       $893     $996      $856     $746     $710

                         Non-Litigation
                                          91     $408       $525     $755      $603     $526     $521

21 or More Years         Litigation
                                          109    $623       $895    $1,105     $878     $847     $817

                         Non-Litigation
                                          111    $422       $623     $871      $692     $619     $582




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Section III: Practice Area Analysis
Section
IntellectualIII: Practice
              Property:     Area Analysis
                        Patents
                                                                       Intellectual Property: Patents
By Matter Type and YOE
                                                                       By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                  Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 3 Years       Non-Litigation
                                          18    $326       $403     $512      $427     $341

3 to Fewer Than 7        Litigation
Years                                     51    $485       $670     $852      $652     $545     $503

                         Non-Litigation
                                          27    $386       $690     $874      $651     $490     $388

7 or More Years          Litigation
                                          56    $555       $695     $886      $706     $628     $575




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Section III:
Section     III:Practice
                  PracticeAreaArea Analysis
                                 Analysis                                 Intellectual Property: Patents
Intellectual Property: Patents                                            By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2022     2021     2020
                                                   Quartile            Quartile
50 Lawyers or Litigation         Partner
Fewer                                        34     $409       $539     $629      $562     $551     $556

                                 Associate
                                             14     $311       $499     $625      $488     $410     $390

                Non-Litigation   Partner
                                             40     $295       $335     $395      $365     $391     $384

                                 Associate
                                             56     $202       $248     $312      $282     $301     $305

51-200          Litigation       Partner
Lawyers                                      28     $612       $745     $838      $766     $629     $596

                                 Associate
                                             18     $298       $453     $730      $511     $426     $394

                Non-Litigation   Partner
                                             65     $434       $520     $620      $549     $520     $523

                                 Associate
                                             26     $312       $367     $445      $387     $335     $336

201-500         Litigation       Partner
Lawyers                                      39     $608       $764     $989      $802     $766     $705

                                 Associate
                                             29     $425       $505     $664      $561     $475     $436

                Non-Litigation   Partner
                                             50     $427       $542     $723      $588     $603     $588

                                 Associate
                                             35     $331       $391     $465      $410     $415     $398

501-1,000       Litigation       Partner
Lawyers                                      88     $760       $950    $1,155     $988     $905     $884

                                 Associate
                                             108    $532       $695     $886      $708     $648     $644

                Non-Litigation   Partner
                                             48     $763       $862    $1,057     $937     $870     $807

                                 Associate
                                             80     $420       $581     $698      $592     $563     $546

More Than     Litigation         Partner
1,000 Lawyers


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Section III: Practice Area Analysis
Section     III: Practice Area Analysis
Intellectual Property: Patents
                                                                         Intellectual Property: Patents
                                                                         By Firm Size and Matter Type
By Firm Size and Matter Type


2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                         Trend Analysis - Mean
501-1,000                                          First               Third
Firm Size     Matter Type        Role        n               Median              2022     2021     2020
Lawyers       Non-Litigation     Associate        Quartile            Quartile
More Than     Litigation         Partner
1,000 Lawyers                                63    $873       $946    $1,073     $985     $973     $922

                                 Associate
                                             83    $555       $742     $796      $707     $668     $612

                Non-Litigation   Partner
                                             28    $772      $1,095   $1,197     $982     $875     $884

                                 Associate
                                             48    $589       $803     $899      $723     $657     $613




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Section III: Practice Area Analysis
Section   III:Property:
Intellectual   Practice   Area Analysis
                        Trademarks                                    Intellectual Property:
By City                                                               Trademarks
                                                                      By City
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Chicago IL           Partner
                                  22       $420       $723     $808        $638       $609      $653

New York NY          Partner
                                  15       $458       $593     $941        $678       $659      $637

                     Associate
                                  13       $300       $395     $635        $458       $408      $401

Washington DC        Partner
                                  22       $520       $660     $936        $711       $702      $715

                     Associate
                                  17       $390       $542     $695        $532       $542      $475




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Section III: Practice Area Analysis
Section
IntellectualIII: Practice
              Property:     Area Analysis
                        Trademarks
                                                                       Intellectual Property:
By Matter Type and YOE                                                 Trademarks
                                                                       By Matter Type and YOE
2022—Real Rates for Partner
2022 — Real Rates for Partner                                                    Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
Fewer Than 21 Years Non-Litigation
                                          21    $454       $489     $734      $598     $595     $586

21 or More Years         Litigation
                                          12    $693       $886    $1,035     $848     $708     $639

                         Non-Litigation
                                          54    $500       $589     $699      $614     $627     $643




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Section III: Practice Area Analysis
Section
IntellectualIII: Practice
              Property:     Area Analysis
                        Trademarks
                                                                       Intellectual Property:
By Matter Type and YOE                                                 Trademarks
                                                                       By Matter Type and YOE
2022—Real Rates for Associate
2022 — Real Rates for Associate                                                  Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2022     2021     2020
                                               Quartile            Quartile
3 to Fewer Than 7        Non-Litigation
Years                                     13    $357       $383     $410      $402     $353     $360




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Section III: Practice Area Analysis
Section     III: Practice Area Analysis
Intellectual Property: Trademarks
                                                                          Intellectual Property:
By Firm Size and Matter Type                                              Trademarks
                                                                          By Firm Size and Matter Type
2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                    First               Third
Firm Size        Matter Type      Role        n               Median              2022     2021     2020
                                                   Quartile            Quartile
50 Lawyers or    Non-Litigation   Partner
Fewer                                         25    $383       $420     $495      $448     $468      $511

                                  Associate
                                              17    $260       $300     $319      $293     $294      $312

201-500          Non-Litigation   Partner
Lawyers                                       24    $500       $589     $660      $582     $606      $585

                                  Associate
                                              22    $346       $400     $435      $395     $377      $374

501-1,000        Non-Litigation   Partner
Lawyers                                       22    $523       $702     $928      $692     $701      $693

                                  Associate
                                              12    $394       $574     $670      $536     $505      $485

More Than     Non-Litigation      Partner
1,000 Lawyers                                 23    $698       $820    $1,014     $850     $836      $818

                                  Associate
                                              17    $410       $492     $700      $546     $529      $480




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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Real Estate                                                           Real Estate
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
                                          Quartile            Quartile
Atlanta GA           Partner
                                  41       $301       $408     $545        $452       $388      $379

                     Associate
                                  38       $250       $300     $413        $329       $317      $290

Baltimore MD         Partner
                                  24       $300       $315     $395        $338       $331      $382

                     Associate
                                  20       $275       $285     $300        $282       $263      $340

Birmingham AL        Partner
                                  18       $293       $301     $335        $321       $318      $319

                     Associate
                                  14       $220       $250     $285        $254       $255      $268

Boston MA            Partner
                                  36       $250       $396     $529        $453       $449      $366

                     Associate
                                  41       $225       $260     $435        $342       $316      $269

Bridgeport CT        Partner
                                  15       $265       $400     $600        $433       $427      $401

Charlotte NC         Associate
                                  12       $225       $238     $260        $252       $246      $258

Chicago IL           Partner
                                  58       $272       $384     $716        $518       $548      $456

                     Associate
                                  52       $249       $396     $557        $410       $392      $341

Cincinnati OH        Partner
                                  12       $429       $467     $575        $493       $445      $416

                     Associate
                                  22       $286       $307     $339        $308       $306      $277

Cleveland OH         Partner
                                  32       $250       $403     $500        $391       $403      $386

                     Associate
                                  23       $180       $250     $299        $255       $241      $237

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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Real Estate                                                           Real Estate
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                  32       First
                                           $250       $403     Third
                                                               $500        $391       $403      $386
City                 Role         n                  Median                2022       2021      2020
                     Partner              Quartile            Quartile
Cleveland OH         Associate
                                  23       $180       $250     $299        $255       $241      $237

Dallas TX            Partner
                                  32       $373       $488     $525        $471       $462      $371

                     Associate
                                  30       $210       $295     $300        $292       $284      $285

Denver CO            Partner
                                  31       $360       $498     $644        $519       $504      $453

                     Associate
                                  24       $270       $275     $398        $342       $289      $271

Hartford CT          Partner
                                  12       $273       $365     $730        $503       $436      $381

Honolulu HI          Partner
                                  13       $245       $276     $300        $280       $305      $276

Houston TX           Associate
                                  22       $269       $324     $350        $311       $330      $329

Indianapolis IN      Partner
                                  17       $253       $400     $405        $373       $379      $375

                     Associate
                                  16       $237       $260     $260        $258       $257      $238

Jacksonville FL      Partner
                                  11       $299       $313     $348        $390       $443      $379

Kansas City MO       Partner
                                  23       $344       $385     $483        $439       $337      $327

                     Associate
                                  24       $240       $250     $315        $281       $239      $232

Los Angeles CA       Partner
                                  106      $342       $400     $722        $510       $510      $487

                     Associate
                                  112      $298       $395     $592        $438       $409      $358

Miami FL             Partner


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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Real Estate                                                           Real Estate
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
Los Angeles CA       Associate            Quartile            Quartile
Miami FL             Partner
                                  69       $300       $488     $695        $505       $453      $396

                     Associate
                                  59       $221       $290     $461        $344       $331      $286

Minneapolis MN       Partner
                                  14       $250       $260     $400        $364       $326      $257

New York NY          Partner
                                  155      $350       $480     $714        $586       $559      $545

                     Associate
                                  134      $290       $325     $548        $445       $413      $363

Orlando FL           Partner
                                  12       $313       $400     $400        $403       $396      $394

                     Associate
                                  13       $220       $248     $260        $258       $280      $255

Philadelphia PA      Partner
                                  70       $347       $447     $712        $522       $475      $450

                     Associate
                                  58       $325       $435     $550        $425       $370      $328

Phoenix AZ           Partner
                                  24       $300       $330     $375        $364       $297      $306

Pittsburgh PA        Partner
                                  16       $295       $380     $425        $361       $360      $294

                     Associate
                                  11       $175       $186     $320        $256       $214      $212

Portland ME          Partner
                                  15       $250       $385     $410        $337       $381      $253

San Diego CA         Partner
                                  30       $250       $306     $489        $457       $439      $400

                     Associate
                                  16       $225       $225     $255        $260       $266      $255

San Francisco CA     Partner


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Section III: Practice Area Analysis
Section  III: Practice Area Analysis
Real Estate                                                           Real Estate
By City                                                               By City

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                           First               Third
City                 Role          n                 Median                2022       2021      2020
San Diego CA         Associate            Quartile            Quartile
San Francisco CA     Partner
                                  42       $338       $390     $675        $524       $496      $486

                     Associate
                                  21       $265       $586     $948        $613       $534      $435

Seattle WA           Partner
                                  26       $331       $472     $695        $535       $536      $489

                     Associate
                                  14       $270       $319     $530        $387       $361      $368

St. Louis MO         Partner
                                  24       $350       $353     $399        $390       $366      $375

Tampa FL             Partner
                                  25       $310       $345     $540        $417       $436      $367

                     Associate
                                  11       $280       $288     $297        $287       $277      $278

Washington DC        Partner
                                  41       $391       $540     $795        $625       $575      $460

                     Associate
                                  17       $233       $275     $488        $387       $452      $385




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Section III: Practice Area Analysis
Section
Real EstateIII: Practice Area Analysis                                  Real Estate
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Partner
2022 — Real Rates for Partner                                                     Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 21 Years Litigation
                                          102    $307       $400     $525      $429     $423     $387

                         Non-Litigation
                                          246    $275       $330     $430      $393     $385     $384

21 or More Years         Litigation
                                          218    $295       $375     $601      $461     $496     $381

                         Non-Litigation
                                          578    $295       $388     $578      $484     $450     $429




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Section III: Practice Area Analysis
Section
Real EstateIII: Practice Area Analysis                                  Real Estate
By Matter Type and YOE                                                  By Matter Type and YOE

2022—Real Rates for Associate
2022 — Real Rates for Associate                                                   Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2022     2021     2020
                                                Quartile            Quartile
Fewer Than 3 Years       Litigation
                                          11     $255       $293     $330      $295     $280

                         Non-Litigation
                                          44     $245       $325     $467      $361     $301     $430

3 to Fewer Than 7        Litigation
Years                                     28     $202       $273     $348      $299     $315     $250

7 or More Years          Litigation
                                          51     $249       $295     $427      $336     $314     $283

                         Non-Litigation
                                          193    $227       $285     $468      $354     $327     $305




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Section III: Practice Area Analysis
Section
Real Estate
           III: Practice Area Analysis                                    Real Estate
By Firm Size and Matter Type
                                                                          By Firm Size and Matter Type

 2022—Real Rates for Associate & Partner
2022  — Real Rates for Associate and Partner                                         Trend Analysis - Mean
                                                     First               Third
 Firm Size       Matter Type      Role         n               Median              2022    2021      2020
                                                    Quartile            Quartile
 50 Lawyers or   Litigation       Partner
 Fewer                                        137    $252       $310     $400      $347    $312      $302

                                  Associate
                                              95     $206       $250     $315      $262    $246      $228

                 Non-Litigation   Partner
                                              376    $250       $300     $386      $328    $315      $312

                                  Associate
                                              260    $200       $225     $275      $240    $229      $235

 51-200          Litigation       Partner
 Lawyers                                      113    $295       $400     $545      $431    $439      $344

                                  Associate
                                              66     $196       $315     $425      $324    $298      $238

                 Non-Litigation   Partner
                                              231    $295       $353     $480      $397    $405      $377

                                  Associate
                                              140    $225       $260     $321      $285    $269      $265

 201-500         Litigation       Partner
 Lawyers                                      83     $341       $430     $601      $493    $467      $441

                                  Associate
                                              66     $280       $299     $350      $337    $331      $311

                 Non-Litigation   Partner
                                              208    $325       $400     $505      $458    $436      $434

                                  Associate
                                              193    $253       $288     $326      $321    $308      $305

 501-1,000       Non-Litigation   Partner
 Lawyers                                      99     $525       $648     $785      $681    $635      $640

                                  Associate
                                              108    $340       $475     $585      $497    $448      $421




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Section III: Practice Area Analysis
Section
Real EstateIII: Practice Area Analysis                                    Real Estate
By Firm Size and Matter Type                                              By Firm Size and Matter Type

2022—Real Rates for Associate & Partner
2022 — Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
 Firm Size       Matter Type      Role         n               Median              2022    2021      2020
                                  Partner           Quartile            Quartile
 501-1,000       Non-Litigation   Associate
 Lawyers                                      108    $340       $475     $585      $497    $448      $421

 More Than       Non-Litigation   Partner
 1,000 Lawyers                                66     $726       $875    $1,108     $986    $877      $837

                                  Associate
                                              83     $470       $595     $641      $623    $600      $541




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Section IV:
In-Depth
Analysis
for Select
US Cities
All data and analysis based on
data collected thru Q2 2022




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Section IV: In-Depth Analysis for Select                                       Boston MA
US Cities
Boston        MA
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 --—Real
2022     RealRates for Associate
                Rates            & Partnerand Partner
                        for Associate                                                     Trend Analysis - Mean
                                                                First           Third
                                                                                Thrid
Practice Area                  Firm Size      Role        n             Median            2022       2021    2020
                                                               Quartile        Quartile
Commercial                     More Than     Associate
                               1,000 Lawyers              14    $695    $818      $977    $831       $787    $767

Corporate: Other               51-200         Associate
                               Lawyers                    16    $301    $450      $586    $447       $455    $455

                               More Than     Partner
                               1,000 Lawyers              15    $818    $902     $1,033   $961      $1,035   $831

Finance and Securities:        501-1,000      Partner
Investments and Other          Lawyers                    15   $1,016   $1,230   $1,506   $1,226    $1,134   $998
Financial Instruments
                                              Associate
                                                          13    $526    $645      $698    $680       $654    $635

                               More Than     Partner
                               1,000 Lawyers              13   $1,118   $1,300   $1,498   $1,313    $1,189   $1,085

                                              Associate
                                                          32    $650    $775     $1,000   $817       $799    $725

Insurance Defense: Other       51-200         Partner
                               Lawyers                    14    $220    $278      $400    $470       $484    $521

Insurance Defense: Property 51-200            Partner
Damage                      Lawyers                       12    $219    $220      $325    $266       $270    $251

Intellectual Property:         201-500        Partner
Patents                        Lawyers                    13    $550    $737      $861    $709       $725    $687




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Section IV: In-Depth Analysis for Select                                      Chicago IL
US CitiesIL
Chicago
By Practice Area and Firm Size
                                                                              By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022  — Real Rates for Associate and Partner                                             Trend Analysis - Mean
                                                               First           Third
                                                                               Thrid
Practice Area                 Firm Size     Role         n             Median            2022       2021    2020
                                                              Quartile        Quartile
Commercial                    201-500       Partner
                              Lawyers                   20     $453    $706     $1,025   $766       $707    $692

                              501-1,000     Partner
                              Lawyers                   24     $703    $772      $978    $839       $771    $736

                                            Associate
                                                        30     $330    $462      $578    $497       $458    $470

                              More Than     Partner
                              1,000 Lawyers             42     $904    $1,096   $1,390   $1,141    $1,028   $1,082

                                            Associate
                                                        36     $585    $705      $871    $721       $689    $698

Corporate: Mergers,           More Than     Partner
Acquisitions and              1,000 Lawyers             12    $1,157   $1,306   $1,522   $1,307     $942    $1,032
Divestitures
                                            Associate
                                                        18     $601    $782      $955    $790       $553    $748

Corporate: Other              201-500       Partner
                              Lawyers                   54     $712    $902     $1,023   $884       $847    $833

                                            Associate
                                                        77     $487    $573      $732    $592       $545    $567

                              501-1,000     Partner
                              Lawyers                   22     $765    $970     $1,135   $979       $890    $785

                                            Associate
                                                        13     $503    $535      $669    $606       $525    $525

                              More Than     Partner
                              1,000 Lawyers             103    $760    $925     $1,280   $1,035    $1,021   $983

                                            Associate
                                                        87     $520    $648      $728    $648       $589    $602

Corporate: Regulatory and     201-500       Partner
Compliance                    Lawyers                   15     $584    $835      $953    $792       $747    $771

                              More Than     Partner
                              1,000 Lawyers             30     $823    $1,027   $1,124   $999       $884    $898

                                            Associate
                                                        26     $404    $651      $758    $616       $648    $657

Corporate: Tax                More Than     Partner
                              1,000 Lawyers             30     $920    $1,030   $1,225   $1,050    $1,036   $1,021

                                            Associate
                                                        13     $601    $692      $856    $708       $716    $644



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Section IV: In-Depth Analysis for Select                                       Chicago IL
US CitiesIL
Chicago
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022  — Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                          30    First
                                                                $920    $1,030   Third
                                                                                 Thrid
                                                                                $1,225    $1,050    $1,036   $1,021
Practice Area                 Firm Size       Role        n             Median             2022      2021     2020
                                                               Quartile        Quartile
                                              Partner
Corporate: Tax                More Than       Associate
                              1,000 Lawyers               13    $601    $692      $856    $708       $716    $644

Employment and Labor:         More Than     Partner
Compensation and Benefits     1,000 Lawyers               11    $733    $870     $1,213   $988      $1,012   $813

Employment and Labor:         501-1,000       Associate
Discrimination, Retaliation   Lawyers                     12    $310    $333      $384    $344       $379    $338
and Harassment / EEO
Employment and Labor:         201-500         Partner
Other                         Lawyers                     12    $376    $520      $971    $662       $596    $665

                              501-1,000       Partner
                              Lawyers                     29    $475    $561      $725    $596       $555    $553

                                              Associate
                                                          24    $339    $387      $465    $422       $372    $391

                              More Than     Partner
                              1,000 Lawyers               20    $627    $720      $953    $866       $892    $808

                                              Associate
                                                          20    $413    $530      $617    $552       $594    $555

Finance and Securities:       501-1,000       Associate
Investments and Other         Lawyers                     16    $548    $592      $740    $636       $598    $548
Financial Instruments
Finance and Securities:       201-500         Associate
Loans and Financing           Lawyers                     11    $512    $560      $627    $574       $553    $459

                              501-1,000       Partner
                              Lawyers                     14    $825    $945     $1,079   $977       $963    $916

                                              Associate
                                                          11    $552    $600      $762    $666       $678    $599

                              More Than     Partner
                              1,000 Lawyers               73   $1,173   $1,295   $1,544   $1,348    $1,273   $1,220

                                              Associate
                                                          69    $715    $851      $995    $854       $819    $730

Insurance Defense: Other      50 Lawyers or   Partner
                              Fewer                       42    $245    $300      $335    $291       $282    $268

                              51-200          Partner
                              Lawyers                     14    $193    $195      $228    $209       $229    $231

Insurance Defense:            50 Lawyers or   Partner
Property Damage               Fewer                       38    $265    $290      $327    $284       $274    $269

                                              Associate
                                                          32    $215    $248      $268    $229       $205    $215



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US CitiesIL
Chicago
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022  — Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                                First           Third
                                                                                Thrid
Practice Area                 Firm Size       Role        n             Median            2022     2021    2020
                                                               Quartile        Quartile
                                              Partner
Insurance Defense:            50 Lawyers or   Associate
Property Damage               Fewer                       32    $215    $248      $268    $229     $205    $215

Intellectual Property:        51-200          Partner
Patents                       Lawyers                     14    $428    $493      $548    $480     $485    $473




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Section IV: In-Depth Analysis for Select                                         Los Angeles CA
Los Angeles CA
US Cities
By Practice Area and Firm Size
                                                                                 By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                              First               Thrid
                                                                                  Third
Practice Area                 Firm Size     Role        n               Median              2022      2021     2020
                                                             Quartile            Quartile
Commercial                    501-1,000     Partner
                              Lawyers                   22    $729       $866      $992     $889       $801    $777

                                            Associate
                                                        34    $619       $740      $842     $727       $648    $568

                              More Than     Partner
                              1,000 Lawyers             32    $881      $1,058    $1,199    $1,054    $1,073   $1,110

                                            Associate
                                                        49    $611       $845     $1,030    $828       $796    $787

Corporate: Mergers,           More Than     Associate
Acquisitions and              1,000 Lawyers             22    $486       $486      $643     $587       $588    $540
Divestitures
Corporate: Other              50 Lawyers or Partner
                              Fewer                     13    $396       $428      $574     $478       $424    $442

                              51-200        Partner
                              Lawyers                   25    $525       $645      $743     $676       $711    $728

                              201-500       Partner
                              Lawyers                   29    $582       $747      $912     $757       $731    $715

                                            Associate
                                                        24    $412       $500      $660     $538       $489    $474

                              501-1,000     Partner
                              Lawyers                   35    $659       $830     $1,139    $929       $870    $870

                                            Associate
                                                        35    $550       $743      $856     $729       $676    $652

                              More Than     Partner
                              1,000 Lawyers             74    $965      $1,220    $1,370    $1,183    $1,120   $1,051

                                            Associate
                                                        91    $615       $745      $944     $781       $783    $745

Corporate: Regulatory and     501-1,000     Partner
Compliance                    Lawyers                   13    $795       $910     $1,103    $965       $881    $875

                                            Associate
                                                        15    $468       $550      $715     $600       $608    $634

                              More Than     Partner
                              1,000 Lawyers             28    $877      $1,080    $1,224    $1,083     $993    $1,003

                                            Associate
                                                        41    $610       $775      $945     $763       $719    $732

Employment and Labor:         501-1,000     Partner
Other                         Lawyers




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US Cities
Los Angeles CA
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                           for Associate   and Partner                                       Trend Analysis - Mean
                                                               First               Third
                                                                                   Thrid
Corporate: Regulatory and
Practice Area                  More
                               Firm Than
                                    Size     Role        n               Median              2022      2021     2020
                                                              Quartile            Quartile
Compliance                     1,000 Lawyers Associate
Employment and Labor:          501-1,000     Partner
Other                          Lawyers                   33    $567       $677      $870     $748       $653    $612

                                             Associate
                                                         32    $325       $380      $525     $459       $479    $471

                               More Than     Partner
                               1,000 Lawyers             25    $705       $935     $1,068    $928       $838    $827

                                             Associate
                                                         12    $398       $426      $537     $501       $561    $608

Finance and Securities:        501-1,000     Partner
Investments and Other          Lawyers                   13    $676       $950     $1,037    $999       $842    $798
Financial Instruments
                               More Than     Partner
                               1,000 Lawyers             40   $1,210     $1,309    $1,434    $1,332    $1,283   $1,236

                                             Associate
                                                         76    $845      $1,017    $1,135    $992       $958    $882

Finance and Securities:        50 Lawyers or Associate
Loans and Financing            Fewer                     15    $265       $285      $434     $344       $394    $367

                               201-500       Associate
                               Lawyers                   11    $500       $540      $638     $563       $417    $344

                               501-1,000     Associate
                               Lawyers                   13    $550       $645      $930     $689       $683    $614

Insurance Defense: Auto        50 Lawyers or Partner
and Transportation             Fewer                     22    $250       $250      $265     $280       $238    $239

Insurance Defense: Other       50 Lawyers or Partner
                               Fewer                     30    $249       $252      $265     $274       $317    $431

                                             Associate
                                                         46    $215       $225      $235     $220       $211    $204

                               51-200        Partner
                               Lawyers                   17    $230       $250      $265     $283       $247    $266

                                             Associate
                                                         20    $170       $170      $200     $190       $195    $196

Intellectual Property:         More Than     Partner
Patents                        1,000 Lawyers             11    $982      $1,046    $1,209    $1,128    $1,077   $1,025

                                             Associate
                                                         38    $670       $765      $891     $771       $722    $638




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New York NY
US Cities
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                                Trend Analysis - Mean
                                                               First                Third
                                                                                    Thrid
Practice Area                 Firm Size     Role        n                Median               2022      2021     2020
                                                              Quartile             Quartile
Bankruptcy and Collections    50 Lawyers or Partner
                              Fewer                     11     $333       $390      $450      $411       $402    $394

                              201-500       Partner
                              Lawyers                   15     $414       $604      $668      $589       $555    $519

                                            Associate
                                                        15     $300       $334      $412      $365       $350    $338

Commercial                    50 Lawyers or Partner
                              Fewer                     17     $330       $458      $535      $486       $449    $515

                              201-500       Partner
                              Lawyers                   28     $525       $609      $790      $680       $773    $764

                                            Associate
                                                        21     $378       $428      $486      $438       $494    $522

                              501-1,000     Partner
                              Lawyers                   72     $993      $1,414    $1,725     $1,347    $1,240   $1,320

                                            Associate
                                                        96     $565       $870     $1,086     $819       $613    $760

                              More Than     Partner
                              1,000 Lawyers             45    $1,149     $1,331    $1,558     $1,346    $1,266   $1,209

                                            Associate
                                                        39     $646       $826     $1,023     $827       $799    $777

Corporate: Antitrust and      501-1,000     Associate
Competition                   Lawyers                   37     $597       $721      $968      $783       $791    $727

Corporate: Governance         501-1,000     Partner
                              Lawyers                   37    $1,457     $1,560    $1,731     $1,560    $1,482   $1,380

                                            Associate
                                                        53     $623       $868     $1,046     $840       $749    $725

                              More Than     Associate
                              1,000 Lawyers             12     $564       $640      $787      $686       $650    $654

Corporate: Mergers,           501-1,000     Partner
Acquisitions and              Lawyers                   52    $1,410     $1,650    $1,698     $1,556    $1,393   $1,309
Divestitures
                                            Associate
                                                        116    $723       $955     $1,160     $929       $799    $736

                              More Than     Partner
                              1,000 Lawyers             43    $1,350     $1,650    $1,757     $1,521    $1,499   $1,290

                                            Associate



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New York NY
US Cities
By Practice Area and Firm Size
                                                                                    By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                                 First                Third
                                                                                      Thrid
Practice Area                 Firm Size       Role        n                Median               2022      2021     2020
                                                                Quartile             Quartile
                                              Partner
Corporate: Mergers,           More Than       Associate
Acquisitions and              1,000 Lawyers               80     $649       $917     $1,130     $899       $926    $834
Divestitures
Corporate: Other              50 Lawyers or Partner
                              Fewer                       40     $368       $515      $611      $490       $528    $499

                                              Associate
                                                          29     $235       $350      $375      $317       $360    $344

                              51-200          Partner
                              Lawyers                     36     $450       $583      $705      $617       $642    $597

                              201-500         Partner
                              Lawyers                     64     $560       $894     $1,147     $919       $795    $853

                                              Associate
                                                          52     $355       $522      $694      $574       $498    $517

                              501-1,000       Partner
                              Lawyers                     183   $1,271     $1,515    $1,744     $1,436    $1,286   $1,230

                                              Associate
                                                          226    $701       $855     $1,100     $875       $776    $727

                              More Than     Partner
                              1,000 Lawyers               140   $1,210     $1,550    $1,720     $1,454    $1,302   $1,252

                                              Associate
                                                          198    $667       $875     $1,105     $882       $837    $808

Corporate: Partnerships and 501-1,000         Partner
Joint Ventures              Lawyers                       41    $1,341     $1,564    $1,760     $1,516    $1,267   $1,300

                                              Associate
                                                          71     $713       $970     $1,182     $927       $821    $788

Corporate: Regulatory and     51-200          Partner
Compliance                    Lawyers                     11     $474       $604      $720      $593       $558    $660

                                              Associate
                                                          15     $454       $640      $684      $678       $443    $464

                              201-500         Partner
                              Lawyers                     19     $638       $694      $880      $777       $712    $812

                                              Associate
                                                          15     $396       $513      $638      $616       $483    $426

                              501-1,000       Partner
                              Lawyers                     48     $928      $1,335    $1,560     $1,294    $1,204   $1,185

                                              Associate



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US Cities
New     York NY
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                          for Associate    and Partner                                        Trend Analysis - Mean
                                                               First                Third
                                                                                    Thrid
Practice Area                  Firm Size     Role        n               Median               2022      2021     2020
                                                              Quartile             Quartile
                                             Partner
Corporate: Regulatory and      501-1,000     Associate
Compliance                     Lawyers                   59    $500       $747      $926      $768       $784    $721

                               More Than     Partner
                               1,000 Lawyers             28    $884      $1,170    $1,386     $1,165    $1,064   $1,034

                                             Associate
                                                         36    $570       $725      $760      $701       $704    $681

Corporate: Tax                 501-1,000     Partner
                               Lawyers                   16    $927      $1,225    $1,568     $1,235    $1,106   $1,146

                               More Than     Partner
                               1,000 Lawyers             30   $1,000     $1,210    $1,553     $1,243    $1,220   $1,179

                                             Associate
                                                         28    $690       $879     $1,003     $945       $857    $797

Employment and Labor:          More Than     Associate
Discrimination, Retaliation    1,000 Lawyers             11    $385       $390      $487      $430       $444    $416
and Harassment / EEO
Employment and Labor:          201-500       Partner
Other                          Lawyers                   33    $450       $493      $689      $621       $585    $651

                               501-1,000     Partner
                               Lawyers                   81    $472       $573      $891      $751       $688    $663

                                             Associate
                                                         54    $325       $440      $635      $538       $542    $469

                               More Than     Partner
                               1,000 Lawyers             23    $700       $918     $1,090     $975       $920    $951

                                             Associate
                                                         28    $450       $498      $685      $629       $531    $634

Environmental                  51-200        Partner
                               Lawyers                   12    $348       $455      $519      $443       $450    $444

Finance and Securities:        501-1,000     Partner
Debt/Equity Offerings          Lawyers                   31   $1,269     $1,650    $1,734     $1,448    $1,220   $1,159

                                             Associate
                                                         30    $713       $955     $1,178     $927       $685    $674

                               More Than     Partner
                               1,000 Lawyers             15   $1,067     $1,332    $1,810     $1,368     $883    $1,072

                                             Associate
                                                         29    $438       $621     $1,108     $754       $597    $662

Finance and Securities:        51-200        Partner
Investments and Other          Lawyers
Financial Instruments

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US Cities
New     York NY
By Practice Area and Firm Size
                                                                                   By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                          for Associate    and Partner                                         Trend Analysis - Mean
                                                                First                Third
                                                                                     Thrid
Finance
Practice and
         AreaSecurities:       More
                               Firm Than
                                    Size     Role        n                Median               2022      2021     2020
                                                               Quartile             Quartile
Debt/Equity Offerings          1,000 Lawyers Associate
Finance and Securities:        51-200        Partner
Investments and Other          Lawyers                   13     $650       $749      $894      $799       $844    $848
Financial Instruments
                                             Associate
                                                         20     $500       $614      $736      $620       $558    $582

                               201-500       Partner
                               Lawyers                   36    $1,109     $1,111    $1,111     $1,090    $1,034   $963

                               501-1,000     Partner
                               Lawyers                   127   $1,070     $1,405    $1,766     $1,413    $1,396   $1,282

                                             Associate
                                                         227    $685       $835     $1,095     $881       $894    $793

                               More Than     Partner
                               1,000 Lawyers             73     $950      $1,229    $1,605     $1,269    $1,266   $1,155

                                             Associate
                                                         68     $531       $782      $972      $769       $748    $679

Finance and Securities:        50 Lawyers or Partner
Loans and Financing            Fewer                     14     $627       $806      $890      $798       $686    $592

                               201-500       Partner
                               Lawyers                   58    $1,200     $1,475    $1,620     $1,342    $1,309   $1,222

                                             Associate
                                                         90     $633       $760      $950      $748       $745    $750

                               501-1,000     Partner
                               Lawyers                   83    $1,170     $1,520    $1,759     $1,462    $1,362   $1,277

                                             Associate
                                                         104    $735       $955     $1,119     $917       $864    $776

                               More Than     Partner
                               1,000 Lawyers             100   $1,268     $1,479    $1,675     $1,441    $1,398   $1,352

                                             Associate
                                                         129    $750       $940     $1,108     $934       $922    $873

Finance and Securities: SEC    501-1,000     Partner
Filings and Financial          Lawyers                   15    $1,692     $1,737    $1,786     $1,648    $1,491   $1,378
Reporting
Finance and Securities:        201-500       Partner
Securities and Banking         Lawyers                   15    $1,078     $1,365    $1,505     $1,245     $999    $1,184
Regulations
                                             Associate
                                                         17     $323       $531      $650      $556       $492    $626

                               501-1,000     Partner
                               Lawyers


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New York NY
US Cities
By Practice Area and Firm Size
                                                                                 By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                               Trend Analysis - Mean
                                                              First                Third
                                                                                   Thrid
Practice Area                 201-500
                              Firm Size     Role        n               Median               2022      2021     2020
                                                             Quartile             Quartile
                              Lawyers       Associate
Finance and Securities:       501-1,000     Partner
Securities and Banking        Lawyers                   14   $1,125     $1,330    $1,397     $1,270    $1,286   $1,201
Regulations
Insurance Defense: Auto       51-200        Partner
and Transportation            Lawyers                   15    $178       $185      $220      $195       $187    $176

                                            Associate
                                                        11    $160       $165      $180      $169       $163    $154

Insurance Defense: Other      50 Lawyers or Partner
                              Fewer                     30    $217       $250      $285      $277       $273    $262

                                            Associate
                                                        22    $185       $195      $230      $235       $214    $183

                              51-200        Partner
                              Lawyers                   38    $198       $225      $281      $249       $244    $247

                                            Associate
                                                        25    $175       $180      $209      $197       $202    $182

                              201-500       Partner
                              Lawyers                   22    $208       $240      $356      $330       $268    $295

                                            Associate
                                                        13    $195       $270      $526      $370       $294    $299

Insurance Defense:            50 Lawyers or Associate
Personal Injury/Wrongful      Fewer                     36    $157       $160      $169      $160       $160    $152
Death
Insurance Defense:            50 Lawyers or Partner
Property Damage               Fewer                     30    $175       $195      $213      $206       $203    $180

                                            Associate
                                                        21    $150       $160      $165      $168       $163    $149

                              51-200        Partner
                              Lawyers                   34    $190       $210      $315      $252       $270    $255

Intellectual Property:        501-1,000     Partner
Patents                       Lawyers                   16    $912       $952     $1,165     $988       $930    $962

                                            Associate
                                                        22    $523       $599      $877      $661       $588    $601

                              More Than     Partner
                              1,000 Lawyers             15    $895      $1,046    $1,210     $1,045    $1,066   $997

                                            Associate
                                                        20    $739       $820      $915      $801       $743    $686

Miscellaneous: General        More Than     Partner
Advice & Counsel              1,000 Lawyers


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US Cities
New York NY
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                          for Associate    and Partner                                        Trend Analysis - Mean
                                                               First                Third
                                                                                    Thrid
Intellectual
Practice AreaProperty:         More
                               Firm Than
                                    Size     Role        n               Median               2022      2021     2020
                                                              Quartile             Quartile
Patents                        1,000 Lawyers Associate
Miscellaneous: General         More Than     Partner
Advice & Counsel               1,000 Lawyers             11   $1,550     $1,695    $1,875     $1,684    $1,585   $1,427

Real Estate: Other             501-1,000     Associate
                               Lawyers                   14    $503       $614      $713      $643       $623    $655




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Philadelphia PA
US Cities
By Practice Area and Firm Size
                                                                                 By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                               Trend Analysis - Mean
                                                              First                Thrid
                                                                                   Third
Practice Area                 Firm Size     Role        n               Median               2022       2021    2020
                                                             Quartile             Quartile
Bankruptcy and Collections    201-500       Partner
                              Lawyers                   18    $495       $564      $650      $568       $524    $541

                                            Associate
                                                        17    $300       $375      $485      $393       $311    $304

Commercial                    51-200        Partner
                              Lawyers                   22    $675       $960      $1,096    $867       $678    $628

                                            Associate
                                                        16    $373       $425      $486      $446       $390    $347

                              201-500       Partner
                              Lawyers                   39    $625       $732      $826      $740       $627    $619

                                            Associate
                                                        48    $407       $437      $503      $447       $357    $348

                              501-1,000     Partner
                              Lawyers                   24    $564       $728      $891      $789       $742    $752

                              More Than     Partner
                              1,000 Lawyers             13    $864       $945      $1,285    $1,049     $919    $921

                                            Associate
                                                        19    $485       $624      $829      $683       $638    $586

Corporate: Other              51-200        Partner
                              Lawyers                   31    $588       $732      $918      $736       $779    $710

                                            Associate
                                                        31    $389       $425      $500      $439       $429    $410

                              201-500       Partner
                              Lawyers                   27    $560       $650      $860      $710       $642    $669

                                            Associate
                                                        30    $396       $428      $455      $431       $374    $342

                              501-1,000     Partner
                              Lawyers                   26    $652       $719      $935      $777       $794    $803

                                            Associate
                                                        19    $409       $488      $535      $466       $433    $476

                              More Than     Partner
                              1,000 Lawyers             50    $818       $895      $1,033    $962       $925    $908

                                            Associate
                                                        49    $444       $530      $568      $553       $530    $523

Corporate: Regulatory and     501-1,000     Associate
Compliance                    Lawyers



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Philadelphia PA
US Cities
By Practice Area and Firm Size
                                                                                   By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                                 Trend Analysis - Mean
                                                                First                Thrid
                                                                                     Third
Practice Area                 More
                              Firm Than
                                   Size     Role          n               Median               2022     2021    2020
                                                               Quartile             Quartile
Corporate: Other              1,000 Lawyers Associate
Corporate: Regulatory and     501-1,000     Associate
Compliance                    Lawyers                     11    $325       $468      $781      $605     $427    $452

                              More Than     Partner
                              1,000 Lawyers               19    $688       $830      $891      $804     $847    $783

Employment and Labor:         501-1,000       Partner
Other                         Lawyers                     19    $525       $585      $640      $594     $598    $603

Insurance Defense: Auto       50 Lawyers or   Partner
and Transportation            Fewer                       39    $178       $185      $200      $186     $181    $182

                                              Associate
                                                          40    $170       $170      $200      $178     $169    $158

Insurance Defense: Other      50 Lawyers or   Partner
                              Fewer                       52    $185       $200      $224      $204     $196    $182

                                              Associate
                                                          50    $170       $175      $200      $180     $169    $162

                              51-200          Partner
                              Lawyers                     21    $175       $180      $200      $192     $200    $233

                                              Associate
                                                          15    $160       $163      $186      $170     $161    $166

                              201-500         Partner
                              Lawyers                     33    $185       $210      $240      $219     $223    $224

                                              Associate
                                                          16    $183       $195      $200      $191     $187    $197

Insurance Defense:            50 Lawyers or   Partner
Property Damage               Fewer                       33    $180       $194      $200      $194     $191    $191

                                              Associate
                                                          34    $171       $180      $187      $178     $172    $174

                              51-200          Partner
                              Lawyers                     11    $180       $199      $210      $210     $222    $231

                                              Associate
                                                          11    $173       $180      $220      $198     $199    $181

Intellectual Property:        201-500         Associate
Patents                       Lawyers                     13    $365       $420      $450      $423     $352    $322

                              501-1,000       Partner
                              Lawyers                     12    $660       $760      $825      $785     $660    $730




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US Cities
San     Francisco CA
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 --—Real
2022     RealRates for Associate
                Rates            & Partnerand Partner
                        for Associate                                                     Trend Analysis - Mean
                                                                First           Thrid
                                                                                Third
Practice Area                 Firm Size       Role        n             Median            2022       2021    2020
                                                               Quartile        Quartile
Commercial                    51-200          Partner
                              Lawyers
                                                          11    $420    $500      $720    $602       $562    $633


                              501-1,000       Partner
                              Lawyers
                                                          18    $694    $945     $1,050   $936       $873    $922


                                              Associate
                                                          14    $356    $480      $738    $561       $518    $403


Corporate: Mergers,           More Than     Partner
Acquisitions and              1,000 Lawyers
                                                          14    $868    $868     $1,007   $931       $933    $955
Divestitures

Corporate: Other              501-1,000       Partner
                              Lawyers
                                                          21    $795    $961     $1,125   $994       $894    $871


                                              Associate
                                                          12    $662    $829     $1,014   $808       $716    $592


                              More Than     Partner
                              1,000 Lawyers
                                                          12    $958    $1,080   $1,194   $1,102    $1,039   $926


Corporate: Regulatory and     501-1,000       Partner
Compliance                    Lawyers
                                                          16    $693    $760      $974    $849       $783    $863


Employment and Labor:         501-1,000       Partner
Other                         Lawyers
                                                          18    $486    $585      $636    $594       $608    $560


                              More Than     Partner
                              1,000 Lawyers
                                                          11    $790    $833      $914    $847       $809    $890


Finance and Securities:       501-1,000       Associate
Investments and Other         Lawyers
                                                          13    $620    $780      $890    $755       $745    $753
Financial Instruments

Insurance Defense: Other      50 Lawyers or   Partner
                              Fewer
                                                          26    $205    $250      $265    $245       $236    $248


                              201-500         Partner
                              Lawyers
                                                          41    $255    $280      $285    $331       $356    $397


Intellectual Property:        501-1,000       Partner
Patents                       Lawyers
                                                          11    $978    $1,266   $1,383   $1,177    $1,040   $1,075




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Washington DC
US Cities
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner                                               Trend Analysis - Mean
                                                                 First           Third
                                                                                 Thrid
Practice Area                 Firm Size       Role         n             Median              2022       2021    2020
                                                                Quartile        Quartile
Commercial                    201-500         Partner
                              Lawyers                     39     $749    $820       $1,026   $882       $778    $717

                                              Associate
                                                          39     $463    $545        $693    $576       $521    $476

                              501-1,000       Partner
                              Lawyers                     50     $712    $850       $1,150   $972       $873    $911

                              More Than     Partner
                              1,000 Lawyers               39     $955    $1,065     $1,375   $1,156    $1,016   $997

                                              Associate
                                                          27     $634    $837       $1,046   $842       $698    $643

Corporate: Mergers,           201-500         Partner
Acquisitions and              Lawyers                     11     $611    $751        $988    $803       $780    $738
Divestitures
                              More Than     Partner
                              1,000 Lawyers               22    $1,061   $1,286     $1,369   $1,224    $1,142   $1,010

                                              Associate
                                                          27     $655    $785        $835    $776       $756    $632

Corporate: Other              50 Lawyers or   Partner
                              Fewer                       25     $495    $618        $761    $606       $585    $583

                                              Associate
                                                          16     $350    $417        $697    $497       $461    $537

                              51-200          Partner
                              Lawyers                     29     $752    $826        $884    $821       $839    $798

                              201-500         Partner
                              Lawyers                     78     $740    $868       $1,008   $888       $806    $751

                                              Associate
                                                          64     $453    $562        $680    $577       $550    $478

                              501-1,000       Partner
                              Lawyers                     136    $925    $950        $999    $975       $941    $910

                                              Associate
                                                          182    $670    $695        $695    $668       $650    $581

                              More Than     Partner
                              1,000 Lawyers               142    $885    $1,082     $1,274   $1,101    $1,024   $976

                                              Associate
                                                          117    $536    $703        $915    $751       $702    $641

Corporate: Regulatory and     51-200          Partner
Compliance                    Lawyers

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Washington DC
US Cities
By Practice Area and Firm Size
                                                                                  By Practice Area and Firm Size


2022 -- —
2022    Real RatesRates
          Real     for Associate & Partner
                          for Associate    and Partner                                       Trend Analysis - Mean
                                                                 First           Third
                                                                                 Thrid
Practice Area                  More
                               Firm Than
                                    Size     Role          n             Median              2022       2021    2020
                                                                Quartile        Quartile
Corporate: Other               1,000 Lawyers Associate
Corporate: Regulatory and      51-200        Partner
Compliance                     Lawyers                    30     $589    $835        $931    $780       $808    $831

                                              Associate
                                                          30     $395    $455        $590    $489       $501    $505

                               201-500        Partner
                               Lawyers                    44     $706    $797        $907    $812       $752    $714

                                              Associate
                                                          41     $476    $553        $672    $573       $541    $498

                               501-1,000      Partner
                               Lawyers                    128    $856    $950       $1,112   $979       $975    $933

                                              Associate
                                                          143    $561    $646        $717    $659       $621    $595

                               More Than     Partner
                               1,000 Lawyers              76     $935    $1,108     $1,274   $1,101    $1,014   $991

                                              Associate
                                                          79     $503    $647        $824    $669       $651    $615

Corporate: Tax                 More Than     Partner
                               1,000 Lawyers              32    $1,040   $1,187     $1,437   $1,221    $1,198   $1,069

                                              Associate
                                                          38     $529    $780       $1,036   $825       $739    $715

Employment and Labor:          201-500        Partner
Other                          Lawyers                    14     $544    $735        $763    $693       $712    $639

                               501-1,000      Partner
                               Lawyers                    24     $498    $662       $1,065   $814       $800    $739

                                              Associate
                                                          13     $414    $435        $629    $500       $464    $463

                               More Than     Partner
                               1,000 Lawyers              29     $616    $783        $845    $796       $715    $811

                                              Associate
                                                          13     $480    $538        $615    $583       $467    $536

Finance and Securities:        501-1,000      Partner
Investments and Other          Lawyers                    28     $986    $1,148     $1,371   $1,187    $1,051   $1,054
Financial Instruments
                               More Than     Partner
                               1,000 Lawyers              23     $982    $1,178     $1,375   $1,184    $1,200   $1,036

Finance and Securities:        201-500        Partner
Loans and Financing            Lawyers


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Washington DC
US Cities
By Practice Area and Firm Size
                                                                               By Practice Area and Firm Size


2022 -- Real Rates for Associate & Partner
2022    — Real Rates for Associate and Partner
Finance and Securities:
                                                              First           Third
                                                                              Thrid
Investments
Practice Areaand Other        More
                              Firm Than
                                   Size     Role        n             Median              2022       2021    2020
                                                             Quartile        Quartile
Financial Instruments         1,000 Lawyers Partner
Finance and Securities:       201-500       Partner
Loans and Financing           Lawyers                   12    $726    $1,125     $1,295   $1,013     $854    $854

                                            Associate
                                                        14    $400    $512        $650    $582       $528    $498

Intellectual Property:        201-500       Partner
Patents                       Lawyers                   18    $904    $989       $1,032   $931       $901    $730

                              501-1,000     Partner
                              Lawyers                   36    $872    $950       $1,121   $1,002     $986    $917

                                            Associate
                                                        37    $689    $740       $1,003   $776       $690    $649

                              More Than     Partner
                              1,000 Lawyers             14    $898    $988       $1,279   $1,081    $1,006   $890

                                            Associate
                                                        20    $697    $775        $841    $757       $658    $614

Miscellaneous: General        More Than     Partner
Advice & Counsel              1,000 Lawyers             12   $1,321   $1,400     $1,496   $1,394    $1,260   $1,162




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Section V:
International
Analysis
All data and analysis based on
data collected thru Q2 2022




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Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
                                         Quartile        Quartile
Argentina              Partner
                                   22      $52     $58     $240     $135   $122   $160

                       Associate
                                   28      $50    $222     $280     $213   $151   $155

Australia              Partner
                                   133    $491    $561     $649     $570   $550   $495

                       Associate
                                   192    $261    $322     $423     $347   $348   $319

                       Paralegal
                                   42     $176    $204     $260     $220   $196   $215

Austria                Partner
                                   11     $420    $499     $994     $684   $612   $508

                       Associate
                                   19     $425    $444     $834     $598   $555   $517

Belgium                Partner
                                   44     $389    $560     $848     $635   $688   $605

                       Associate
                                   78     $231    $339     $582     $446   $393   $391

                       Paralegal
                                   15     $185    $265     $419     $297   $312   $276

Bermuda                Partner
                                   22     $740    $843     $905     $823   $816   $797

Brazil                 Partner
                                   70     $295    $350     $500     $396   $419   $429

                       Associate
                                   109    $121    $200     $330     $225   $237   $243

                       Paralegal
                                   36      $49     $75     $75      $81    $99    $107




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Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                          First           Third
Country                Role         n             Median            2022     2021     2020
                       Associate         Quartile        Quartile
Brazil                 Paralegal
                                   36      $49     $75      $75      $81      $99     $107

Canada                 Partner
                                   501    $450    $593     $800     $629     $603     $594

                       Associate
                                   222    $325    $465     $595     $483     $458     $417

                       Paralegal
                                   241    $145    $230     $300     $232     $222     $215

Cayman Islands         Partner
                                   20    $1,100   $1,240   $1,297   $1,184   $1,039   $990

China                  Partner
                                   111    $523    $658     $857     $703     $697     $699

                       Associate
                                   219    $260    $380     $525     $417     $406     $416

                       Paralegal
                                   63     $240    $265     $353     $282     $271     $294

Czech Republic         Partner
                                   12     $252    $368     $456     $371     $329     $344

                       Associate
                                   24     $253    $268     $352     $300     $253     $245

Denmark                Associate
                                   21     $186    $270     $344     $268     $292     $322

Finland                Partner
                                   17     $426    $507     $553     $509     $521     $478

                       Associate
                                   19     $249    $269     $395     $324     $322     $321

                       Paralegal
                                   12     $165    $172     $186     $170     $161     $124




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Countries

2022 — Real Rates for Partners , Associates and Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
                       Associate         Quartile        Quartile
Finland                Paralegal
                                   12     $165     $172      $186   $170   $161   $124

France                 Partner
                                   126    $473     $574      $719   $604   $609   $567

                       Associate
                                   217    $313     $379      $520   $427   $422   $377

                       Paralegal
                                   36     $159     $220      $305   $220   $225   $214

Germany                Partner
                                   248    $365     $517      $712   $569   $549   $522

                       Associate
                                   310    $323     $376      $444   $416   $409   $411

                       Paralegal
                                   60     $201     $225      $261   $241   $215   $210

Greece                 Associate
                                   13     $122     $159      $220   $169   $176   $204

Hong Kong              Partner
                                   62     $670     $853      $961   $835   $859   $873

                       Associate
                                   88     $260     $377      $587   $420   $537   $409

                       Paralegal
                                   43     $229     $302      $382   $325   $316   $306

Hungary                Associate
                                   11     $172     $175      $185   $220   $233   $165

India                  Partner
                                   12     $300     $395      $471   $385   $367   $359

                       Associate




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Countries

2022 — Real Rates for Partners , Associates and Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
                       Partner           Quartile        Quartile
India                  Associate
                                   21     $176     $200      $249   $213   $197   $202

Indonesia              Associate
                                   15     $125     $210      $293   $217   $262   $262

Ireland                Partner
                                   45     $490     $590      $669   $608   $576   $534

                       Associate
                                   71     $311     $393      $431   $385   $397   $365

                       Paralegal
                                   24     $161     $197      $240   $210   $225   $206

Israel                 Partner
                                   28     $385     $500      $534   $448   $403   $372

                       Associate
                                   30     $228     $275      $300   $266   $249   $262

Italy                  Partner
                                   36     $383     $531      $598   $555   $577   $515

                       Associate
                                   115    $228     $290      $413   $343   $366   $320

                       Paralegal
                                   17     $122     $159      $222   $179   $161   $143

Japan                  Partner
                                   59     $318     $440      $561   $483   $511   $538

                       Associate
                                   55     $244     $289      $440   $349   $389   $392

                       Paralegal
                                   35      $88     $131      $177   $147   $159   $160

Korea, Republic of     Partner




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Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                          First           Third
Country                Role         n             Median            2022   2021   2020
Japan                  Paralegal         Quartile        Quartile
Korea, Republic of     Partner
                                   106    $513    $605     $678     $613   $592   $617

                       Associate
                                   98     $270    $324     $400     $335   $308   $298

                       Paralegal
                                   19     $163    $182     $236     $200   $219   $203

Luxembourg             Partner
                                   27     $630    $662     $735     $671   $641   $685

                       Associate
                                   56     $302    $394     $456     $392   $411   $436

Mexico                 Partner
                                   26     $356    $446     $514     $469   $417   $448

                       Associate
                                   30     $262    $329     $389     $335   $327   $307

                       Paralegal
                                   13     $102    $120     $139     $123   $145   $132

Netherlands            Partner
                                   81     $400    $489     $669     $545   $597   $537

                       Associate
                                   185    $270    $349     $442     $370   $397   $357

New Zealand            Partner
                                   19     $475    $514     $558     $510   $500   $462

                       Associate
                                   22     $237    $331     $433     $364   $308   $327

Norway                 Partner
                                   20     $370    $411     $551     $500   $527   $487

                       Associate




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Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                         First           Third
Country                Role        n             Median            2022   2021   2020
                       Partner          Quartile        Quartile
Norway                 Associate
                                   18     $201    $248    $299     $265   $244   $263

Philippines            Associate
                                   13     $194    $241    $307     $229   $181   $209

Poland                 Partner
                                   22     $185    $265    $354     $291   $297   $239

                       Associate
                                   68     $147    $182    $209     $193   $196   $191

Portugal               Associate
                                   18     $136    $143    $172     $166   $200   $205

Russian Federation     Partner
                                   28     $401    $675    $783     $639   $670   $656

                       Associate
                                   53     $296    $350    $503     $425   $358   $365

                       Paralegal
                                   25     $150    $150    $230     $202   $174   $176

Singapore              Partner
                                   46     $506    $665    $899     $722   $630   $704

                       Associate
                                   86     $358    $465    $669     $500   $470   $481

                       Paralegal
                                   16     $252    $286    $376     $305   $298   $276

South Africa           Partner
                                   33     $247    $350    $422     $387   $307   $299

                       Associate
                                   29     $122    $180    $216     $194   $192   $160

Spain                  Partner




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Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                         First           Third
Country                Role        n             Median            2022   2021   2020
South Africa           Associate        Quartile        Quartile
Spain                  Partner
                                   32     $480    $657    $714     $592   $607   $561

                       Associate
                                   96     $285    $402    $523     $423   $413   $397

Sweden                 Associate
                                   17     $297    $365    $399     $345   $349   $335

Switzerland            Partner
                                   31     $426    $490    $591     $547   $545   $522

                       Associate
                                   37     $318    $363    $455     $404   $386   $362

Taiwan                 Partner
                                   18     $269    $354    $413     $357   $437   $408

                       Associate
                                   38     $180    $230    $265     $247   $231   $222

Thailand               Partner
                                   19     $456    $677    $771     $614   $602   $599

                       Associate
                                   11     $219    $325    $440     $334   $317   $365

                       Paralegal
                                   17     $220    $265    $303     $276   $240   $248

Turkey                 Partner
                                   14     $207    $221    $433     $340   $469   $406

                       Associate
                                   46     $196    $205    $313     $259   $251   $224

United Arab Emirates Partner
                                   24     $550    $684    $758     $668   $695   $720

                       Associate




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Section IV: International Analysis                                     Countries
Countries

2022—
2022 —Real
       RealRates
            Ratesfor
                   forPartners,
                        Partners , Associates
                                Associates,   and
                                            and   Paralegals
                                                Paralegals
                                             First           Third
Country              Role            n               Median            2022   2021   2020
                     Partner                Quartile        Quartile
United Arab Emirates Associate
                                    31       $387    $504     $634     $494   $451   $467

                       Paralegal
                                    14       $220    $289     $361     $292   $274   $272

United Kingdom         Partner
                                    535      $629    $802    $1,027    $877   $850   $787

                       Associate
                                    902      $400    $523     $705     $573   $551   $514

                       Paralegal
                                    290      $170    $220     $280     $238   $231   $195

United States          Partner
                                   10,592    $430    $653     $969     $749   $738   $705

                       Associate
                                   9,930     $329    $485     $703     $546   $541   $503

                       Paralegal
                                   4,215     $150    $225     $325     $247   $244   $232




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Section IV: International Analysis
Australia
By Role
                                                                 Australia
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                133      $491   $561     $649     $570   $550   $495

Associate
                192      $261   $322     $423     $347   $348   $319

Paralegal
                 42      $176   $204     $260     $220   $196   $215




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Section IV: International Analysis                                          Australia
Australia                                                                   By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                             First           Third
Practice Area             Matter Type      Role        n             Median            2022    2021     2020
                                                            Quartile        Quartile
Corporate: Other          Litigation       Partner
                                                       15    $619    $662     $665     $672    $605     $543

                                           Associate
                                                       16    $285    $375     $440     $379    $349     $292

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         17    $479    $545     $582     $549    $546     $489

                                           Associate
                                                       28    $267    $272     $335     $308    $331     $305

Employment and            Non-Litigation   Associate
Labor: Other                                           13    $225    $269     $304     $275    $276     $293

Intellectual Property:    Non-Litigation   Associate
Trademarks                                             15    $280    $323     $425     $359    $311     $286




201 Real Rate Report | 2022                                                                   wolterskluwer.com
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Section IV: International Analysis                                    Australia
Australia                                                             By Industry Group and Matter Type
By Industry Group and Matter Type


2022
2022 —— Real
      Real    Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                                      First           Third
Industry Group        Matter Type   Role        n             Median            2022    2021    2020
                                                     Quartile        Quartile
Financials Excluding Non-Litigation Partner
Insurance                                       40    $551    $610     $664     $628    $633     $608

                                    Associate
                                                56    $276    $370     $480     $381    $369     $341

Technology and     Non-Litigation Partner
Telecommunications                              38    $377    $535     $573     $487    $458     $451

                                    Associate
                                                47    $232    $270     $333     $297    $304     $291




202 Real Rate Report | 2022                                                            wolterskluwer.com
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Section IV: International Analysis                               Australia
Australia                                                        By Firm Size
By Firm Size


2022
2022 ——
      RealReal
           RatesRates   for Partners
                 for Partners           and Associates
                              and Associates
                                    First           Third
Firm Size         Role        n             Median            2022    2021      2020
                                   Quartile        Quartile
50 Lawyers or     Associate
Fewer                         11    $265    $333     $398     $330    $262      $285

51-200 Lawyers Partner
                              18    $457    $542     $583     $545    $471      $371

                  Associate
                              22    $256    $288     $325     $308    $256      $267

201-500           Partner
Lawyers                       20    $559    $613     $652     $615    $607      $572

                  Associate
                              30    $276    $334     $445     $356    $330      $336

More Than         Partner
1,000 Lawyers                 40    $560    $643     $756     $670    $683      $611

                  Associate
                              63    $294    $400     $514     $408    $430      $391




203 Real Rate Report | 2022                                                       wolterskluwer.com
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Section IV: International Analysis
Canada
By Role
                                                                 Canada
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                501      $450   $593     $800     $629   $603   $594

Associate
                222      $325   $465     $595     $483   $458   $417

Paralegal
                241      $145   $230     $300     $232   $222   $215




204 Real Rate Report | 2022                                                 wolterskluwer.com
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Section IV: International Analysis                                           Canada
Canada                                                                       By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                              First           Third
Practice Area             Matter Type      Role        n              Median            2022    2021     2020
                                                             Quartile        Quartile
Commercial                Litigation       Partner
                                                       116    $399    $521     $635     $529    $542     $533

                          Non-Litigation   Partner
                                                       104    $582    $761     $900     $752    $715     $675

                                           Associate
                                                       42     $476    $545     $744     $606    $556     $504

                                           Paralegal
                                                       41     $251    $300     $353     $307    $281     $267

Corporate: Other          Litigation       Partner
                                                       24     $533    $646     $775     $634    $594     $589

                          Non-Litigation   Partner
                                                       108    $599    $793     $902     $761    $692     $680

                                           Associate
                                                       37     $441    $540     $717     $594    $524     $476

                                           Paralegal
                                                       36     $170    $263     $323     $256    $241     $238

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         25     $617    $716     $821     $735    $682     $632

                                           Associate
                                                       12     $537    $567     $601     $579    $566     $433

Employment and            Litigation       Partner
Labor: Other                                           12     $415    $526     $552     $507    $591     $568

                          Non-Litigation   Partner
                                                       16     $411    $450     $531     $482    $535     $582

Finance and Securities: Non-Litigation     Partner
Investments and Other                                  57     $620    $785     $885     $770    $782     $757
Financial Instruments
                                           Paralegal
                                                       24     $250    $330     $365     $318    $299     $294

Finance and Securities: Non-Litigation     Partner
Loans and Financing                                    14     $646    $815     $986     $836    $638     $644

Intellectual Property:    Non-Litigation   Partner
Patents                                                11     $335    $560     $614     $526    $501     $445




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Section IV: International Analysis                                      Canada
Canada                                                                  By Industry Group and Matter Type
By Industry Group and Matter Type


2022
2022 —— Real
      Real    Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                                        First           Third
Industry Group        Matter Type    Role         n             Median            2022    2021    2020
                                                       Quartile        Quartile
Financials Excluding Litigation      Partner
Insurance                                        212    $375    $495     $593     $508    $516     $508

                      Non-Litigation Partner
                                                 217    $605    $785     $901     $769    $732     $712

                                     Associate
                                                 73     $475    $590     $747     $621    $576     $532

Industrials           Non-Litigation Partner
                                                 16     $461    $549     $788     $670    $674     $605

Technology and     Litigation        Partner
Telecommunications                               12     $627    $746     $896     $762    $646     $581

                      Non-Litigation Partner
                                                 31     $426    $534     $635     $541    $554     $552

                                     Associate
                                                 14     $348    $411     $480     $406    $403     $352




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Section IV: International Analysis                                      Canada
Canada                                                                  By Firm Size
By Firm Size


2022
2022 —— Real
      Real     Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                     First           Third
Firm Size        Role          n             Median            2022       2021     2020
                                    Quartile        Quartile
50 Lawyers or    Partner
Fewer                         39     $350    $375     $525     $432       $458     $431

                 Associate
                              29     $268    $329     $450     $344       $336     $315

51-200 Lawyers Partner
                              77     $474    $550     $720     $576       $557     $537

201-500          Partner
Lawyers                       174    $547    $735     $885     $711       $661     $651

                 Associate
                              77     $425    $505     $600     $519       $483     $456

501-1,000        Partner
Lawyers                       158    $496    $630     $818     $660       $623     $618

                 Associate
                              69     $404    $563     $721     $589       $563     $472

More Than        Partner
1,000 Lawyers                 11     $678    $735    $1,582    $1,025     $907     $871




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Section IV: International Analysis
France
By Role
                                                                 France
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                126      $473   $574     $719     $604   $609   $567

Associate
                217      $313   $379     $520     $427   $422   $377

Paralegal
                 36      $159   $220     $305     $220   $225   $214




208 Real Rate Report | 2022                                                 wolterskluwer.com
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Section IV: International Analysis                                          France
France                                                                      By Role
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                             First           Third
Practice Area             Matter Type      Role        n             Median            2022    2021     2020
                                                            Quartile        Quartile
Corporate: Other          Non-Litigation   Partner
                                                       14    $285    $370     $574     $520    $533     $508

                                           Associate
                                                       17    $255    $390     $538     $441    $443     $310

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         11    $702    $843     $925     $796    $605     $521

                                           Associate
                                                       12    $336    $389     $573     $448    $402     $302

Finance and Securities: Non-Litigation     Partner
Investments and Other                                  15    $515    $544     $701     $607    $641     $612
Financial Instruments
                                           Associate
                                                       37    $331    $364     $520     $418    $412     $447




209 Real Rate Report | 2022                                                                   wolterskluwer.com
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Section IV: International Analysis                                     France
France                                                                 By Industry Group and Matter Type
By Industry Group and Matter Type


2022
2022 —— Real
      Real    Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                                       First           Third
Industry Group        Matter Type   Role         n             Median            2022    2021    2020
                                                      Quartile        Quartile
Financials Excluding Non-Litigation Partner
Insurance                                       60     $476    $540     $646     $569    $590     $568

                                    Associate
                                                130    $304    $370     $494     $410    $415     $393

Technology and     Non-Litigation Partner
Telecommunications                              25     $468    $574     $574     $549    $546     $513

                                    Associate
                                                33     $318    $320     $433     $378    $385     $312




210 Real Rate Report | 2022                                                             wolterskluwer.com
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Section IV: International Analysis                                    France
France                                                                By Firm Size
By Firm Size


2022
2022 —— Real
      Real     Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                     First           Third
Firm Size        Role          n             Median            2022     2021     2020
                                    Quartile        Quartile
501-1,000        Partner
Lawyers                       17     $520    $540     $613     $566     $608     $524

                 Associate
                              38     $290    $350     $410     $367     $372     $382

More Than        Partner
1,000 Lawyers                 63     $535    $677     $841     $699     $706     $658

                 Associate
                              127    $338    $435     $551     $468     $478     $419




211 Real Rate Report | 2022                                                             wolterskluwer.com
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Section IV: International Analysis
Germany
By Role
                                                                 Germany
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                248      $365   $517     $712     $569   $549   $522

Associate
                310      $323   $376     $444     $416   $409   $411

Paralegal
                 60      $201   $225     $261     $241   $215   $210




212 Real Rate Report | 2022                                                 wolterskluwer.com
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Section IV: International Analysis                                          Germany
Germany                                                                     By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                             First           Third
Practice Area             Matter Type      Role        n             Median            2022    2021     2020
                                                            Quartile        Quartile
Commercial                Non-Litigation   Partner
                                                       19    $347    $362     $409     $381    $396     $404

Corporate: Mergers,       Non-Litigation   Associate
Acquisitions and                                       14    $374    $647     $852     $668    $465     $528
Divestitures
Corporate: Other          Litigation       Associate
                                                       21    $375    $405     $440     $427    $380     $316

                          Non-Litigation   Partner
                                                       11    $401    $477     $736     $607    $599     $563

                                           Associate
                                                       19    $320    $395     $523     $488    $467     $462

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         54    $381    $469     $634     $568    $479     $449

                                           Associate
                                                       74    $325    $353     $411     $384    $398     $398

Employment and            Non-Litigation   Associate
Labor: Other                                           15    $292    $306     $322     $306    $277     $293

Intellectual Property:    Non-Litigation   Partner
Other                                                  11    $340    $341     $343     $346    $310     $283

Intellectual Property:    Litigation       Partner
Patents                                                31    $423    $587     $806     $610    $571     $531

                          Non-Litigation   Partner
                                                       33    $318    $345     $508     $407    $409     $397

                                           Associate
                                                       22    $343    $380     $393     $388    $354     $320

Intellectual Property:    Non-Litigation   Partner
Trademarks                                             12    $470    $715     $725     $647    $539     $443

                                           Associate
                                                       20    $370    $447     $570     $475    $409     $380




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Section IV: International Analysis                                      Germany
Germany                                                                 By Industry Group and Matter Type
By Industry Group and Matter Type


2022 — Real Rates for Partners and Associates
2022 — Real Rates for Partners and Associates
                                                        First           Third
Industry Group        Matter Type    Role         n             Median            2022    2021    2020
                                                       Quartile        Quartile
Financials Excluding Non-Litigation Partner
Insurance                                        36     $674    $708     $774     $717    $738     $715

                                     Associate
                                                 68     $357    $444     $564     $474    $475     $495

Health Care           Non-Litigation Partner
                                                 23     $393    $415     $489     $476    $475     $452

                                     Associate
                                                 19     $295    $329     $413     $354    $360     $366

Industrials           Non-Litigation Partner
                                                 19     $327    $339     $343     $413    $470     $420

Technology and     Litigation        Partner
Telecommunications                               23     $451    $637     $806     $625    $511     $507

                                     Associate
                                                 17     $321    $399     $405     $392    $337     $352

                      Non-Litigation Partner
                                                 97     $353    $494     $710     $583    $537     $479

                                     Associate
                                                 116    $340    $369     $407     $399    $380     $348




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Section IV: International Analysis                                    Germany
Germany                                                               By Firm Size
By Firm Size


2022
2022 —— Real
      Real     Rates
           Rates       for Partners
                 for Partners,         and
                               Associates,   Associates
                                           and Paralegals
                                     First           Third
Firm Size        Role          n             Median            2022     2021     2020
                                    Quartile        Quartile
50 Lawyers or    Partner
Fewer                         13     $321    $423     $445     $374     $372     $329

201-500          Partner
Lawyers                       42     $353    $409     $477     $414     $416     $408

                 Associate
                              41     $353    $353     $385     $364     $351     $339

More Than        Partner
1,000 Lawyers                 124    $540    $688     $771     $669     $652     $642

                 Associate
                              202    $324    $389     $513     $433     $434     $437




215 Real Rate Report | 2022                                                             wolterskluwer.com
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Section Kingdom
United
By Role
        IV: International Analysis                               United Kingdom
                                                                 By Role

2022 — Real Rates for Partners , Associates and
Paralegals
2022 — Real Rates for Partners, Associates, and Paralegals
                        First           Third
Role             n              Median            2022   2021   2020
                       Quartile        Quartile
Partner
                535      $629   $802    $1,027    $877   $850   $787

Associate
                902      $400   $523     $705     $573   $551   $514

Paralegal
                290      $170   $220     $280     $238   $231   $195




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Section IV: International Analysis                                            United Kingdom
United Kingdom                                                                By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                             First           Third
Practice Area             Matter Type      Role        n             Median             2022      2021     2020
                                                            Quartile        Quartile
Commercial                Litigation       Associate
                                                       18    $365    $411       $594    $429      $382     $446

                                           Paralegal
                                                       16     $63    $167       $230    $158      $179     $186

                          Non-Litigation   Partner
                                                       15    $501    $532       $640    $645      $681     $663

                                           Associate
                                                       20    $282    $413       $497    $431      $456     $440

                                           Paralegal
                                                       12    $129    $195       $202    $186      $203     $184

Corporate: Mergers,       Non-Litigation   Partner
Acquisitions and                                       37   $1,225   $1,410    $2,350   $1,615    $1,438   $960
Divestitures
                                           Associate
                                                       57    $620    $856      $1,063   $881      $813     $557

Corporate: Other          Litigation       Partner
                                                       37    $604    $665       $805    $744      $734     $803

                                           Associate
                                                       55    $348    $465       $552    $473      $479     $472

                                           Paralegal
                                                       19    $198    $265       $293    $259      $198     $192

                          Non-Litigation   Partner
                                                       52    $737    $883      $1,111   $939      $938     $814

                                           Associate
                                                       87    $452    $613       $850    $660      $606     $569

                                           Paralegal
                                                       33    $245    $280       $347    $306      $258     $129

Corporate: Regulatory     Non-Litigation   Partner
and Compliance                                         45    $605    $778       $977    $820      $717     $707

                                           Associate
                                                       71    $401    $497       $633    $543      $447     $454

                                           Paralegal
                                                       16    $240    $277       $281    $265      $217     $183

Corporate: Tax            Non-Litigation   Partner
                                                       20    $608    $809      $1,046   $848      $837     $846

                                           Associate
                                                       36    $346    $471       $608    $490      $569     $509


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Section IV: International Analysis                                             United Kingdom
United Kingdom                                                                 By Practice Area and Matter Type
By Practice Area and Matter Type


2022——
2022   Real
     Real    Rates
          Rates      for Partners
                for Partners,       , Associates
                              Associates,          and Paralegals
                                          and Paralegals
                                                       20     First
                                                              $608     $809    Third
                                                                              $1,046     $848      $837     $846
Practice Area             Matter Type      Role         n             Median             2022      2021     2020
                                           Partner           Quartile        Quartile
Corporate: Tax            Non-Litigation   Associate
                                                       36     $346    $471       $608    $490      $569     $509

Employment and            Non-Litigation   Associate
Labor: Agreements                                      26     $325    $452       $546    $423      $359     $403

Employment and            Litigation       Partner
Labor: Other                                           15     $854    $971      $1,119   $963      $1,030   $842

                          Non-Litigation   Partner
                                                       46     $561    $716       $811    $702      $593     $631

                                           Associate
                                                       46     $383    $558       $667    $550      $462     $446

Finance and Securities: Non-Litigation     Partner
Investments and Other                                  80     $644    $797       $969    $819      $879     $802
Financial Instruments
                                           Associate
                                                       129    $391    $512       $641    $539      $557     $532

Finance and Securities: Non-Litigation     Partner
Loans and Financing                                    60     $864    $1,290    $1,466   $1,152    $1,078   $1,095

                                           Associate
                                                       115    $614    $785       $980    $762      $713     $663

Intellectual Property:    Litigation       Partner
Patents                                                22     $655    $778       $982    $802      $804     $754

                                           Paralegal
                                                       14     $196    $233       $272    $230      $221     $161

                          Non-Litigation   Partner
                                                       13     $363    $428       $487    $431      $481     $450

Intellectual Property:    Non-Litigation   Partner
Trademarks                                             12     $595    $679       $901    $702      $667     $692

                                           Associate
                                                       25     $320    $424       $450    $406      $395     $381

                                           Paralegal
                                                       21     $205    $220       $248    $239      $229     $201

Miscellaneous: General Non-Litigation      Partner
Advice & Counsel                                       13     $590    $657       $800    $740      $722     $669

                                           Associate
                                                       28     $420    $506       $599    $529      $498     $480




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Section IV: International Analysis                                       United Kingdom
United Kingdom                                                           By Industry Group and Matter Type
By Industry Group and Matter Type


2022 — Real Rates for Partners and Associates
2022 — Real Rates for Partners and Associates
                                                        First           Third
Industry Group        Matter Type    Role         n             Median            2022      2021    2020
                                                       Quartile        Quartile
Financials Excluding Litigation      Partner
Insurance                                        21     $795    $878     $1,157   $962      $875     $794

                                     Associate
                                                 44     $348    $493     $634     $509      $507     $496

                      Non-Litigation Partner
                                                 246    $718    $870     $1,100   $914      $916     $888

                                     Associate
                                                 469    $413    $540     $741     $585      $590     $558

Industrials           Non-Litigation Partner
                                                 51     $590    $1,284   $2,229   $1,286   $1,238    $706

                                     Associate
                                                 73     $510    $852     $1,048   $805      $713     $596

Technology and     Litigation        Partner
Telecommunications                               20     $674    $751     $852     $751      $698     $707

                                     Associate
                                                 29     $364    $475     $551     $451      $403     $389

                      Non-Litigation Partner
                                                 74     $527    $707     $869     $704      $670     $644

                                     Associate
                                                 129    $353    $471     $571     $474      $416     $429




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Section IV: International Analysis                                    United Kingdom
United Kingdom                                                        By Firm Size
By Firm Size


2022
2022 —— Real
      Real     Rates
           Rates       for Partners
                 for Partners         and Associates
                              and Associates
                                     First           Third
Firm Size        Role          n             Median            2022     2021     2020
                                    Quartile        Quartile
50 Lawyers or    Partner
Fewer                         13     $619    $657     $727     $643     $615     $589

                 Associate
                              17     $410    $420     $476     $441     $396     $374

51-200 Lawyers Partner
                              15     $488    $646     $822     $689     $604     $491

                 Associate
                              11     $362    $485     $597     $541     $410     $352

201-500          Partner
Lawyers                       34     $668    $794     $866     $781     $837     $699

                 Associate
                              65     $418    $512     $628     $535     $543     $463

501-1,000        Partner
Lawyers                       15     $617    $943    $1,199    $952    $1,098   $1,172

                 Associate
                              33     $276    $481     $660     $494     $636     $655

More Than        Partner
1,000 Lawyers                 339    $689    $870    $1,101    $905     $874     $838

                 Associate
                              609    $420    $546     $723     $585     $565     $530




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Section  VI:
  Section VI:
Matter
  Matter Staffing
Staffing
  Analysis
Analysis
All data and analysis based on
data collected thru Q2 2022




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Section VI: Matter Staffing Analysis
Short Litigation Matters, 40 to 100 Total Hours Billed
2019 to 2022 -- Percentage of Hours Billed per Matter

Short Li�ga�on Ma�ers, 40 to 100 Total Hours Billed
                              Partners
2019 to 2022 -- Percentage of Hours            Associates
                                    Billed per Ma�er              Paralegals   n = number of mattersPartner
                                                                                                     billed           Associate     Paralegal     nn


Bankruptcy and Collec�ons                                 57%                                        30%                          14%            639


              Commercial                             51%                                            37%                             12%          510


Corporate: Regulatory and
                                                            58%                                                 38%                       4%     60
              Compliance


         Corporate: Other                            52%                                              40%                               8%       308


   Employment and Labor                              52%                                              42%                                 6%     367


    Finance and Securi�es                            52%                                              42%                               7%       103


          General Liability                         50%                                       30%                             20%                887


       Insurance Defense                               54%                                          32%                           14%           10,699


     Intellectual Property:
                                                     52%                                                  42%                             5%     158
                    Patents


               Real Estate                            53%                                                 41%                             6%     247


 Requests for Informa�on                            49%                                               46%                                 5%     36

                              0%                                                50%                                                          100%




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Section VI: Matter Staffing Analysis
Long Litigation Matters, More Than 100 Total Hours Billed
2019 to 2022 -- Percentage of Hours Billed per Matter

Long Li�ga�on Ma�ers, More Than 100 Total Hours Billed
                               Partners
2019 to 2022 -- Percentage of Hours             Associates
                                    Billed per Ma�er               Paralegals   n = number of mattersPartner
                                                                                                      billed        Associate     Paralegal        nn

Bankruptcy and Collec�ons                                    59%                                              33%                      9%        320


               Commercial                     38%                                               53%                                 9%           606


                 Corporate             27%                                             59%                                       14%              66

 Corporate: Regulatory and
                                              39%                                                53%                                   8%        127
               Compliance

          Corporate: Other                       44%                                              47%                               9%           527


    Employment and Labor                      39%                                               49%                               11%            473


            Environmental                           47%                                                     50%                             3%    32


     Finance and Securi�es                    39%                                               52%                                 9%           129


           General Liability                    42%                                       34%                              23%                   1,096


        Insurance Defense                              51%                                            35%                        15%             6,807

      Intellectual Property:
                                                43%                                               49%                                  8%        408
                     Patents

                Real Estate                               55%                                                36%                       9%        290


  Requests for Informa�on                    37%                                                 59%                                     4%       58

                               0%                                                50%                                                        100%




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Section VI: Matter Staffing Analysis
Short Non-Litigation Matters, 40 to 100 Total Hours Billed
2019 to 2022 -- Percentage of Hours Billed per Matter

Short Non-Li�ga�on Ma�ers, 40 to 100 Total Hours Billed
                               Partners
2019 to 2022 -- Percentage of Hours             Associates
                                    Billed per Ma�er                  Paralegals   n = number of matters billed
                                                                                                       Partner            Associate   Paralegal     nn

 Bankruptcy and Collec�ons                                         69%                                                    26%               5%      151

                Commercial                            49%                                               41%                            10%          358

                  Corporate                           48%                                                   46%                             6%      238

        Corporate: Mergers,
                                                      49%                                                    47%                             4%     62
Acquisi�ons and Dives�tures
  Corporate: Regulatory and
                                                    47%                                                     46%                             7%      434
                Compliance

           Corporate: Other                            52%                                                   41%                            7%      742

     Employment and Labor                              52%                                                    42%                           6%      530

      Finance and Securi�es                     41%                                                   51%                                8%        1,317

            General Liability                             55%                                                35%                       10%          124

          Insurance Defense                                  60%                                                    34%                     6%     1,704

       Intellectual Property:
                                             37%                                                50%                                   13%          1,290
                      Patents
       Intellectual Property:
                                              38%                                         35%                                   27%                 74
                 Trademarks

 Intellectual Property: Other                       46%                                                 47%                                 7%      57

                 Real Estate                                    62%                                                  32%                    5%     1,448

                                0%                                                  50%                                                          100%




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Section VI: Matter Staffing Analysis
Long Non-Litigation Matters, More Than 100 Total Hours Billed
2019 to 2022 -- Percentage of Hours Billed per Matter

Long Non-Li�ga�on Ma�ers, More Than 100 Total Hours Billed
                                Partners
2019 to 2022 -- Percentage of Hours              Associates
                                    Billed per Ma�er                 Paralegals   n = number of matters billed
                                                                                                     Partner           Associate     Paralegal       nn

  Bankruptcy and Collec�ons                                 54%                                                  41%                       5%       129

                   Corporate                33%                                                62%                                         5%       415

                 Commercial                           47%                                                  47%                             6%       416
        Corporate: Mergers,
                                              37%                                                    58%                                       4%   185
Acquisi�ons and Dives�tures
  Corporate: Regulatory and
                                               39%                                               53%                                      8%        535
                Compliance

            Corporate: Other                    40%                                             50%                                   11%           1,108

      Employment and Labor                        41%                                            50%                                      9%        648

              Environmental                                        65%                                                 31%                     3%    56

       Finance and Securi�es                34%                                                58%                                        8%        1,874

             General Liability                     44%                                         39%                                 17%              156

       Government Rela�ons                        40%                                                 56%                                      4%    46

           Insurance Defense                             51%                                               40%                            9%        1,650

Intellectual Property: Patents                           51%                                               41%                            8%        244
        Intellectual Property:
                                             35%                                        42%                                   23%                    84
                  Trademarks
 Intellectual Property: Other                         47%                                        37%                                15%              50

                  Real Estate                                58%                                                 34%                      8%        1,101

                                 0%                                               50%                                                          100%




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Section VII:
Data
Methodology
All data and analysis based on
data collected thru Q2 2022




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Appendix: Data Methodology

 Invoice Information                                     Non-Invoice Information

 Data in Wolters Kluwer ELM Solutions’ reference        To capture practice area details, the matter ID
 database and the 2022 Real Rate Report were taken      within each invoice was associated with matter
 from invoice line-item entries contained in invoices   profiles containing areas of work in the systems
 received and approved by participating companies.      of each company. The areas of work were then
                                                        systematically categorized into legal practice areas.
 Invoice data were received in the Legal Electronic     Normalization of practice areas was done based
 Data Exchange Standard (LEDES) format (LEDES.org).     on company mappings to system-level practice
 The following information was extracted from those     areas available in the ELM Solutions system and by
 invoices and their line items:                         naming convention.
 • Law firm (which exists as a random number in the     The majority of analyses included in this report have
   ELM Solutions reference database)                    been mapped to one of 11 practice areas, further
 • Timekeeper ID (which exists as a random number       divided into sub-areas and litigation/non-litigation
   in the ELM Solutions reference database)             (for more information on practice areas and sub-
                                                        areas, please refer to pages 232-234).
 • Matter ID (which exists as a random number in the
   ELM Solutions reference database)                    To capture location and jurisdiction details, law
 • Timekeeper’s position (role) within the law firm     firms and timekeepers were systematically mapped
   (partner, associate, paralegal, etc.)                to the existing profiles within ELM Solutions
                                                        systems, as well as with publicly available data
 • Uniform Task-Based Management System Code            sources for further validation and normalization.
   Set, Task Codes, and Activity Codes (UTBMS.com)      Where city location information is provided, it
 • Date of service                                      includes any address within that city’s defined
                                                        Core-Based Statistical Area (CBSA) as defined by
 • Hours billed                                         the Office of Management and Budget (OMB). The
 • Hourly rate billed                                   CBSAs are urban centers with populations of 10,000
                                                        or more and include all adjacent counties that are
 • Fees billed                                          economically integrated with that urban center.

                                                        Where the analyses focus on partners, associates,
                                                        and paralegals, the underlying data occasionally
                                                        included some sub-roles, such as “senior partner”
                                                        or “junior associate.” In such instances, those
                                                        timekeeper sub-roles were placed within the
                                                        broader partner, associate, and paralegal segments.

                                                        Demographics regarding law firm size, location,
                                                        and lawyer years of experience were augmented by
                                                        incorporating publicly available information.




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Appendix: Data Methodology
A Note on US Cities

Throughout the report, we have used city names to refer to CBSA and consistently used the principal city in
the CBSA to refer to the entire area. The following are the shorthand city names used in this report and the
corresponding CBSA designations, as defined by the OMB.


 Principal City                         CBSA Name

Akron, OH                              Akron, OH
Albany, NY                             Albany-Schenectady-Troy, NY
Albuquerque, NM                        Albuquerque, NM
Atlanta, GA                            Atlanta-Sandy Springs-Alpharetta, GA
Austin, TX                             Austin-Round Rock-Georgetown, TX
Baltimore, MD                          Baltimore-Columbia-Towson, MD
Baton Rouge, LA                        Baton Rouge, LA
Birmingham, AL                         Birmingham-Hoover, AL
Boise City, ID                         Boise City, ID
Boston, MA                             Boston-Cambridge-Newton, MA-NH
Bridgeport, CT                         Bridgeport-Stamford-Norwalk, CT
Buffalo, NY                            Buffalo-Cheektowaga, NY
Burlington, VT                         Burlington-South Burlington, VT
Charleston, SC                         Charleston-North Charleston, SC
Charleston, WV                         Charleston, WV
Charlotte, NC                          Charlotte-Concord-Gastonia, NC-SC
Chicago, IL                            Chicago-Naperville-Elgin, IL-IN-WI
Cincinnati, OH                         Cincinnati, OH-KY-IN
Cleveland, OH                          Cleveland-Elyria, OH
Columbia, SC                           Columbia, SC
Columbus, OH                           Columbus, OH
Dallas, TX                             Dallas-Fort Worth-Arlington, TX
Dayton, OH                             Dayton-Kettering, OH
Denver, CO                             Denver-Aurora-Lakewood, CO
Detroit, MI                            Detroit-Warren-Dearborn, MI
Fresno, CA                             Fresno, CA
Grand Rapids, MI                       Grand Rapids-Kentwood, MI
Greenville, SC                         Greenville-Anderson, SC
Harrisburg, PA                         Harrisburg-Carlisle, PA




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Appendix: Data Methodology
A Note on US Cities

 Principal City                  CBSA Name

Hartford, CT                     Hartford-East Hartford-Middletown, CT
Honolulu, HI                     Urban Honolulu HI
Houston, TX                      Houston-The Woodlands-Sugar Land, TX
Indianapolis, IN                 Indianapolis-Carmel-Anderson, IN
Jackson, MS                      Jackson, MS
Jacksonville, FL                 Jacksonville, FL
Kansas City, MO                  Kansas City, MO-KS
Lafayette, LA                    Lafayette, LA
Las Vegas, NV                    Las Vegas-Henderson-Paradise, NV
Lexington, KY                    Lexington-Fayette, KY
Little Rock, AR                  Little Rock-North Little Rock-Conway, AR
Los Angeles, CA                  Los Angeles-Long Beach-Anaheim, CA
Louisville, KY                   Louisville/Jefferson County, KY-IN
Madison, WI                      Madison, WI
Memphis, TN                      Memphis-Forrest City, TN-MS-AR
Miami, FL                        Miami-Fort Lauderdale-Pompano Beach, FL
Milwaukee, WI                    Milwaukee-Waukesha, WI
Minneapolis, MN                  Minneapolis-St. Paul-Bloomington, MN-WI
Nashville, TN                    Nashville-Davidson-Murfreesboro-Franklin, TN
New Haven, CT                    New Haven-Milford, CT
New Orleans, LA                  New Orleans-Metairie, LA
New York, NY                     New York-Newark-Jersey City, NY-NJ-PA
Oklahoma City, OK                Oklahoma City, OK
Omaha, NE                        Omaha-Council Bluffs, NE-IA
Orlando, FL                      Orlando-Kissimmee-Sanford, FL
Philadelphia, PA                 Philadelphia-Camden-Wilmington, PA-NJ-DE-MD
Phoenix, AZ                      Phoenix-Mesa-Chandler, AZ
Pittsburgh, PA                   Pittsburgh, PA
Portland, ME                     Portland-South Portland, ME
Portland, OR                     Portland-Vancouver-Hillsboro, OR-WA
Providence, RI                   Providence-Warwick, RI-MA
Raleigh, NC                      Raleigh-Cary, NC
Reno, NV                         Reno-Carson City-Fernley, NV




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Appendix: Data Methodology
A Note on US Cities

 Principal City                  CBSA Name

Richmond, VA                    Richmond, VA
Rochester, NY                   Rochester, NY
Sacramento, CA                  Sacramento-Roseville-Folsom, CA
Salt Lake City, UT              Salt Lake City, UT
San Diego, CA                   San Diego-Chula Vista-Carlsbad, CA
San Francisco, CA               San Francisco-Oakland-Berkeley, CA
San Jose, CA                    San Jose-Sunnyvale-Santa Clara, CA
San Juan, PR                    San Juan-Bayamon-Caguas, PR
Savannah, GA                    Savannah, GA
Seattle, WA                     Seattle-Tacoma-Bellevue, WA
St. Louis, MO                   St. Louis, MO-IL
Syracuse, NY                    Syracuse, NY
Tallahassee, FL                 Tallahassee, FL
Tampa, FL                       Tampa-St. Petersburg-Clearwater, FL
Toledo, OH                      Toledo, OH
Trenton, NJ                     Trenton-Princeton, NJ
Tulsa, OK                       Tulsa, OK
Washington, DC                  Washington-Arlington-Alexandria, DC-VA-MD-WV
Wheeling, WV                    Wheeling, WV-OH




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Appendix: Data Methodology

Anonymization of the Dataset                              “Real Rate” Definition
Prior to inclusion in the ELM Solutions reference         The information in this report consists of data taken
database, we systematically scrubbed the data of          from client invoices submitted by law firms for work
any information that would identify a particular          performed from 2018 through 2022. All invoices
matter, company, law firm, invoice, or timekeeper         were submitted through the ELM Solutions billing
(individual). To ensure relationships necessary for       systems.
analysis, those variables were assigned randomly
                                                          The analyses contained in this report are derived
generated numbers. To maintain data integrity and
                                                          from aggregating hours, fees, and rates submitted
allow for proper analysis, these numbers are linked
                                                          as line items on those invoices. For a line item to
across data tables to enforce their associations.
                                                          qualify for inclusion in this report, it had to undergo
To further ensure anonymity and confidentiality:          multiple and rigorous testing processes to ensure its
                                                          validity.
• The information is published in such a manner
  as to make it reasonably impervious to reverse          For example, for a rate to be loaded to the ELM
  analysis should some attempt be made to                 Solutions reference database and used in this
  determine what data might pertain to any                report, it must have been part of an invoice line
  company, law firm, timekeeper, invoice, or matter.      entry in which all of the following items were
• The 2022 Real Rate Report will not reveal which         included:
  ELM Solutions client or clients are included or         • Name of the biller
  excluded in its analyses.                               • Role of the biller
• Clients are not and will not be informed as to          • Date of activity
  whether their data are included within a particular     • Hourly rate charged
  facet of analysis.                                      • Time charged
• No textual description of any legal work performed      • UTBMS code associated with the time charged
  by any individual exists in the                         • Total amount charged for the activity
  ELM Solutions reference database.
                                                          In addition, each line item’s hourly rate was
A Note on Insurance Litigation                            validated against its “real rate” (calculated by
                                                          dividing the total amount charged for the activity by
We aim to provide a point of comparison for
                                                          the time charged). Any line items with an hourly rate
companies purchasing law firm services. To improve
                                                          that did not align closely with the real rate were not
comparability, we removed data related to insurance
                                                          loaded to the reference database.
company defense litigation for all analyses unless
noted otherwise. Insurance litigation tends to be         Real Rate = Line-Item Total/Line-Item Hours (Units)
less expensive than other types of litigation, as it is   Example: $4,000/10 Hours = Real Rate of $400
typically more repetitive and less complex.
                                                          Adjustments the client made to line-item amounts
                                                          after submission are not factored into the dataset.
                                                          These types of adjustments may impact the
                                                          effective rate paid by the client to the law firm but
                                                          do not reflect the real rate billed.




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Appendix: Data Methodology

In short, the real rate is the rate appearing on an     All data included within this report have been
approved invoice at the invoice line-item level.        mapped to a corresponding practice area. The
                                                        majority of our analyses focus on the following 12
Aggregations of data taken from millions of these
                                                        practice areas:
line-item-level invoice entries are the core of the
information analyzed.                                   • Bankruptcy and Collections
                                                        • Commercial
A Note on Negotiated Rates and Billing                  • Corporate
Practices law firms can generally follow vary for       • Employment and Labor
submitting “negotiated” rates on invoices. Firms        • Environmental
may submit the negotiated rate as the hourly rate       • Finance and Securities
identified on the invoice line item, insert a vendor
                                                        • General Liability
line-item adjustment to ensure compliance, or
provide a vendor invoice level adjustment to bring      • Government Relations
the total amount of the fees into compliance with       • Insurance Defense
agreed-on discounts. Although the former two are        • Intellectual Property
considered part of the real rate calculation, the       • Marketing and Advertising
latter can be problematic. It is not directly linked    • Real Estate
to a line item, and therefore, to determine the
rate, it should not be assumed that the adjustment      Within each client’s areas of work, sub-areas are
is related to a specific line item. Invoice-level       often identified. The lists that follow identify client
adjustments may represent a credit or some other        areas of work and, within those areas, the sub-areas
type of adjustment placed on the invoice. To ensure     underneath each practice area. Often, the same sub-
these types of adjustments would not adversely          area appears within different practice areas. For
impact the analysis contained within the 2022 Real      example, the sub-area “General/Other” when listed
Rate Report, the team reviewed the population           under “Commercial and Contracts” refers to general
of invoices and line items to determine what            work provided regarding commercial and contracts
the deviation of the real rate might be based on        matters. When listed under the “Employment and
inclusion or exclusion. The analysis demonstrated       Labor” practice area, the same sub-area refers to
that the variance was not significant (less than 1%).   work provided on employment and labor. Where
                                                        applicable and practicable, each area and sub-area
As such, we decided not to include the vendor-level     has been further subdivided into litigation and non-
adjustments in the report.                              litigation work for granular analysis.
Types of Matters Included in the Analysis
Matters within the ELM Solutions system are
associated with areas of work described and defined
by ELM Solutions clients. Those areas of work were
analyzed and systematically categorized into legal
practice areas. Normalization of practice areas was
supported by mappings to system-level practice
areas available in the ELM Solutions system and by
naming convention.




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Appendix: Data Methodology

Bankruptcy and Collections
Chapter 11                                                              General/Other
Collections                                                             Workouts and Restructuring

Commercial (Commercial Transactions and Agreements)
Contract Breach or Dispute
General, Drafting, and Review
General/Other

Corporate1
Antitrust and Competition                                               Partnerships and Joint Ventures
Corporate Development                                                   Regulatory and Compliance
General/Other                                                           Tax
Governance                                                              Treasury
Information and Technology                                              White Collar/Fraud/Abuse
Mergers, Acquisitions, and Divestitures

Employment and Labor
ADA                                                                     General/Other
Agreements                                                              Immigration
Compensation and Benefits                                               Union Relations and Negotiations/NLRB
Discrimination, Retaliation, and Harassment/EEO                         Wages, Tips, and Overtime
Employee Dishonesty/Misconduct                                          Wrongful Termination
ERISA

Environmental
General/Other                                                           Superfund
Health and Safety                                                       Waste/Remediation

Finance and Securities
Commercial Loans and Financing                                          Investments and Other Financial Instruments
Debt/Equity Offerings                                                   Loans and Financing
Fiduciary Services                                                      SEC Filings and Financial Reporting
General/Other                                                           Securities and Banking Regulations

General Liability
Asbestos/Mesothelioma                                                   Personal Injury/Wrongful Death
Auto and Transportation                                                 Premises
Consumer Related Claims                                                 Product and Product Liability
Crime, Dishonesty and Fraud                                             Property Damage
General/Other                                                           Toxic Tort



1 All references to “Corporate: General/Other” in the Real Rate Report are the aggregation of all Corporate sub-areas excluding the Mergers,
  Acquisitions, and Divestitures sub-area and the Regulatory and Compliance sub-area.




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Appendix: Data Methodology

Government Relations
General/Other
Lobbying and Relations

Insurance Defense
Auto and Transportation
General/Other
Personal Injury/Wrongful Death
Product and Product Liability
Professional Liability
Property Damage
Toxic Tort

Intellectual Property2
General/Other
Licensing
Patents
Trademarks

Marketing and Advertising
General/Other


Real Estate
Construction/Development
Easement and Right of Way
General/Other
Land Use/Zoning/Restrictive Covenants
Landlord/Tenant Issues
Leasing
Property/Land Acquisition or Disposition
Titles




2 All references to “Intellectual Property: General/Other” in the Real Rate Report are the aggregation of all Intellectual Property sub-areas
  excluding the Patents and Trademarks sub-areas.




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comprehensive legal spend database, with more than $155 billion in invoices.




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                                                      When you have to be right
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A Letter to Our Readers


      Welcome to the Wolters Kluwer’s ELM Solutions Real Rate Report®, the industry’s
      leading data-driven benchmark report for lawyer rates.

      Our Real Rate Report has been a relied upon data analytics resource to the legal industry
      since its inception in 2010 and continues to evolve. The Real Rate Report is powered by
      Wolters Kluwer’s ELM Solutions LegalVIEW® data warehouse, the world ‘s largest source
      of legal performance benchmark data, which has grown to include over $150 billion in
      anonymized legal data.

      This year, we launched our LegalVIEW Insights Report series, which explores the emerging
      trends behind the overall legal spend volatility seen in corporate legal departments. The
      insights reports coupled with the Real Rate Report are great tools to drive actionable
      decisions.

      The legal services industry relies on internal analytics and the use of external data
      resources, such as the LegalVIEW® data warehouse, to support legal management
      strategies. The depth and details of the data in the Real Rate Report enable you to
      better benchmark and make more informed investment and resourcing decisions for your
      organization.

      As with past Real Rate Reports, all of the data analyzed are from corporations’ and law
      firms’ e-billing and time management solutions. We have included lawyer and paralegal
      rate data filtered by specific practice and sub-practice areas, metropolitan areas, and
      types of matters to give legal departments and law firms greater ability to pinpoint
      areas of opportunity. We strive to make the Real Rate Report a valuable and actionable
      reference tool for legal departments and law firms.

      As always, we welcome your comments and suggestions on what information would make
      this publication more valuable to you. We thank our data contributors for participating in
      this program. And we thank you for making Wolters Kluwer’s ELM Solutions your trusted
      partner for legal industry domain expertise, data, and analytics and look forward to
      continuing to provide market-leading, expert solutions that deliver the best business
      outcomes for collaboration among legal departments and law firms.


      Sincerely,




      Barry Ader
      Vice President, Product Management and Marketing
      Wolters Kluwer’s ELM Solutions




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Report Use Considerations

      2021 Real Rate Report
      • Examines law firm rates over time
      • Identifies rates by location, experience, firm size, areas of expertise, industry, and
        timekeeper role (i.e., partner, associate, and paralegal)
      • Itemizes variables that drive rates up or down

      All the analyses included in the report derive from the actual rates charged by law firm
      professionals as recorded on invoices submitted and approved for payment.

      Examining real, approved rate information, along with the ranges of those rates and their
      changes over time, highlights the role these variables play in driving aggregate legal cost and
      income. The analyses can energize questions for both corporate clients and law firm principals.

      Clients might ask whether they are paying the right amount for different types of legal services,
      while law firm principals might ask whether they are charging the right amount for legal
      services and whether to modify their pricing approach.

      Some key factors¹ that drive rates²:
      Attorney location - Lawyers in urban and major metropolitan areas tend to charge more when
      compared with lawyers in rural areas or small towns.

      Litigation complexity - The cost of representation will be higher if the case is particularly
      complex or time-consuming; for example, if there are a large number of documents to review,
      many witnesses to depose, and numerous procedural steps, the case is likely to cost more
      (regardless of other factors like the lawyer’s level of experience).

      Years of experience and reputation - A more experienced, higher-profile lawyer is often going
      to charge more, but absorbing this higher cost at the outset may make more sense than hiring
      a less expensive lawyer who will likely take time and billable hours to come up to speed on
      unfamiliar legal and procedural issues.

      Overhead - The costs associated with the firm’s support network (paralegals, clerks, and
      assistants), document preparation, consultants, research, and other expenses.

      Firm size – The rates can increase if the firm is large and has various timekeeper roles at the
      firm. For example, the cost to work with an associate or partner at a larger firm will be higher
      compared to a firm that has one to two associates and a paralegal.

      Rates increase in geographic areas with growing population
      Additional analysis was performed to examine the impact of geographic location on law firm
      hourly rates. This report, like previous ones, shows that large, cosmopolitan legal services
      markets like New York City, San Francisco, and Los Angeles are associated with higher hourly
      rates. In addition, our analysis reveals a significant spike in hourly rates in areas of the country



      1 David Goguen, J.D., University of San Francisco School of Law (2020) Guide to Legal Services Billing Retrieved from:
        https://www.lawyers.com/legal-info/research/guide-to-legal-services-billing-rates.html
      2 Source: 2018 RRR. Factor order validated in multiple analyses since 2010


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Report Use Considerations

      that are currently experiencing high population growth. Significant average rate increases
      occurred from 2020 to 2021 in many areas, but especially Fresno, California (~15% average
      rate increase), Greenville, SC (~18%), Miami, FL (~9%), Nashville, TN (~11%), Oklahoma City
      (~13%), Phoenix, AZ (~10%), and Seattle, WA (~11%) -- all of which have experienced much
      higher than average population growth in recent years.

      The correlation between hourly rates and population growth makes sense. When people
      and businesses move into an area, it creates a spike in demand for all sorts of goods and
      services, including legal services. However, it is hard for the supply of legal services to
      move as quickly as demand because attorneys looking to move into a new geographic area
      face high switching costs that most will refuse to pay unless they absolutely have to.

      First, attorneys looking to take work in a new state have to get licensed there, which takes
      time and effort and is a distraction that can reduce their current income in the form of
      the number of hours they are able to bill to clients. Second, despite the rise in remote
      working, many attorneys looking to establish practices in a new geographic location may
      have to establish at least some physical presence there, find a new office, new lodging,
      and potentially uproot their entire family. Third, even if the switching costs of licensure,
      physically moving, etc. are paid, attorneys may fear yet another switching cost in the form
      of attrition of their existing clients from their original geographic locale, who may view
      them as no longer investing in their knowledge of the legal problems and legal solutions
      that are specific to the original locale.




      3 Source: 2020 RRR. Factor order validated in multiple analyses since 2010


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       and 50 process experts          and optimize your
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    Section I:
    High-Level Data Cuts
    All data and analysis based on data
    collected thru Q3 2021




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Partners,  Associates,
Partners, Associates, andand Paralegals
                          Paralegals
By Role
2021 — Real Rates
2021 - Real Rates for Associate and Partner            Trend Analysis - Mean
                         First               Third
Role              n                Median              2021    2020    2019
                        Quartile            Quartile


Partner         11482     $425      $643     $950      $728    $715    $679



Associate       10970     $325      $475     $700      $535    $515    $477



Paralegal       4679      $155      $225     $315      $244    $236    $222




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Section I: High-Level Data Cuts     #:38388

Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates                                                                 Trend Analysis - Mean
                                                        First           Third
City                Matter Type      Role         n             Median            2021     2020     2019
                                                       Quartile        Quartile


                    Litigation       Partner     12     $319    $333     $506     $447      $379    $379



Albany NY                            Partner     22     $284    $290     $309     $301      $362    $308

                    Non-Litigation

                                     Associate   15     $225    $235     $241     $238      $228    $241



                                     Partner     119    $300    $475     $625     $504      $558    $528

                    Litigation

                                     Associate   127    $248    $340     $405     $349      $366    $350

Atlanta GA

                                     Partner     237    $460    $635     $803     $660      $655    $603

                    Non-Litigation

                                     Associate   196    $342    $425     $589     $475      $444    $410



                                     Partner     26     $452    $560     $899     $671      $607    $559

                    Litigation

                                     Associate   21     $295    $405     $667     $482      $504    $421

Austin TX

                                     Partner     75     $404    $485     $622     $516      $517    $484

                    Non-Litigation

                                     Associate   47     $248    $343     $445     $370      $387    $344



                                     Partner     75     $425    $611     $756     $605     $570     $589

                    Litigation

                                     Associate   99     $300    $445     $567     $457     $444     $414

Baltimore MD

                                     Partner     99     $400    $623     $838     $654     $646     $658

                    Non-Litigation

                                     Associate   102    $360    $530     $655     $523     $508     $464



Baton Rouge LA      Non-Litigation Partner       13     $303    $348     $446     $375     $ 376    $350

Billings MT         Non-Litigation Partner

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Section I: High-Level Data Cuts     #:38389

Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type Role              n             Median            2021     2020     2019
Baton Rouge LA      Non-Litigation Partner             Quartile        Quartile


Billings MT         Non-Litigation Partner       12     $275    $275     $320     $313      $256    $251



                                     Partner     63     $305    $325     $390     $355      $362    $351

                    Litigation

                                     Associate   54     $275    $285     $306     $287      $303    $280

Birmingham AL

                                     Partner     81     $346    $415     $498     $424      $437    $408

                    Non-Litigation

                                     Associate   58     $264    $306     $336     $307      $298    $283



Boise City ID       Non-Litigation Partner       13     $245    $295     $340     $340      $309    $287



                                     Partner     109    $350    $643     $754     $584      $547    $568

                    Litigation

                                     Associate   94     $273    $444     $611     $474      $422    $391

Boston MA

                                     Partner     204    $464    $680     $900     $718      $749    $704

                    Non-Litigation

                                     Associate   180    $376    $488     $610     $520      $541    $495



                    Litigation       Partner     14     $425    $546     $572     $501     $462     $442

Bridgeport CT

                    Non-Litigation Partner       13     $364    $395     $538     $433     $414     $365



                                     Partner     31     $340    $340     $340     $330     $338     $338

                    Litigation

                                     Associate   25     $237    $245     $265     $242     $243     $246

Buffalo NY

                                     Partner     18     $336    $343     $382     $355     $358     $350

                    Non-Litigation

                                     Associate   12     $198    $ 245    $285     $240     $250     $244

Charleston WV       Litigation       Partner

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Cities
Cities By Matter Type
By Matter Type
2021
2021   — Real
     - Real     Rates
            Rates       for Associate
                  for Associate         & Partner
                                and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type Role              n             Median            2021     2020     2019
Buffalo NY          Non-Litigation Associate           Quartile        Quartile


                    Litigation       Partner     28     $226    $278     $309     $277      $274    $268

Charleston WV

                    Non-Litigation Partner       13     $275    $325     $360     $341      $358    $336



                                     Partner     31     $456    $535     $721     $587      $582    $528

                    Litigation

                                     Associate   28     $304    $350     $377     $366      $349    $361

Charlotte NC

                                     Partner     78     $538    $636     $823     $704      $683    $652

                    Non-Litigation

                                     Associate   77     $318    $386     $497     $441      $404    $404



                                     Partner     312    $502    $725     $950     $739      $712    $688

                    Litigation

                                     Associate   274    $375    $502     $618     $508      $490    $457

Chicago IL

                                     Partner     648    $650    $886    $1,155    $910      $880    $818

                    Non-Litigation

                                     Associate   599    $410    $563     $748     $588      $596    $530



                                     Partner     23     $322    $485     $553     $448     $455     $462

                    Litigation

                                     Associate   34     $250    $270     $328     $291     $279     $266

Cincinnati OH

                                     Partner     37     $395    $440     $550     $473     $460     $427

                    Non-Litigation

                                     Associate   45     $250    $290     $333     $296     $282     $267



                                     Partner     82     $399    $500     $7 12    $567     $579     $505

                    Litigation

                                     Associate   73     $245    $280     $350     $306     $313     $290
Cleveland OH
                    Non-Litigation Partner

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Section I: High-Level Data Cuts     #:38391

Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type      Role         n             Median            2021     2020     2019
                    Litigation       Associate         Quartile        Quartile
Cleveland OH
                                     Partner     177    $386    $478     $600     $536      $512    $496

                    Non-Litigation

                                     Associate   145    $247    $295     $385     $325      $300    $307



                                     Partner     15     $298    $400     $470     $403      $379    $368

                    Litigation

                                     Associate   16     $276    $315     $333     $305      $264    $256

Columbia SC

                                     Partner     23     $310    $400     $510     $423      $400    $386

                    Non-Litigation

                                     Associate   22     $223    $250     $295     $263      $266    $249



                                     Partner     23     $415    $555     $590     $525      $533    $479

                    Litigation

                                     Associate   15     $245    $245     $301     $292      $274    $273

Columbus OH

                                     Partner     35     $395    $466     $546     $473      $474    $476

                    Non-Litigation

                                     Associate   21     $249    $271     $334     $299      $275    $283



                                     Partner     72     $350    $525     $695     $546     $485     $474

                    Litigation

                                     Associate   74     $222    $382     $611     $443      $440    $403

Dallas TX

                                     Partner     140    $425    $603     $975     $720     $755     $711

                    Non-Litigation

                                     Associate   149    $325    $519     $694     $527     $563     $518



Dayton OH           Non-Litigation Partner       14     $320    $354     $381     $365     $388     $357



                                     Partner     44     $375    $478     $625     $492     $4 57    $458
Denver CO           Litigation
                                     Associate

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Section I: High-Level Data Cuts     #:38392

Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type      Role         n             Median            2021     2020     2019
                                     Partner           Quartile        Quartile
                    Litigation
                                     Associate   33     $283    $323     $420     $355      $334    $322

Denver CO

                                     Partner     129    $406    $500     $630     $545      $519    $500

                    Non-Litigation

                                     Associate   88     $275    $325     $385     $349      $321    $318



                                     Partner     37     $275    $325     $414     $363      $373    $349

                    Litigation

                                     Associate   33     $215    $247     $350     $276      $297    $260

Detroit MI

                                     Partner     75     $320    $375     $464     $393      $377    $368

                    Non-Litigation

                                     Associate   49     $218    $255     $300     $269      $254    $252



                                     Partner     19     $375    $430     $490     $432      $430    $420

Greenville SC       Non-Litigation

                                     Associate   17     $253    $295     $340     $307      $310    $279



                                     Partner     28     $300    $420     $561     $442      $430    $475

                    Litigation

                                     Associate   14     $280    $302     $330     $301      $292    $281

Hartford CT

                                     Partner     22     $425    $500     $730     $569     $550     $520

                    Non-Litigation

                                     Associate   21     $270    $305     $340     $309     $279     $264



                    Litigation       Partner     16     $316    $360     $425     $367     $384     $361



Honolulu HI                          Partner     25     $275    $300     $390     $348     $305     $329

                    Non-Litigation

                                     Associate   12     $178    $18 0    $220     $206     $201     $194

Houston TX          Litigation       Partner

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Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type Role              n             Median            2021     2020     2019
Honolulu HI         Non-Litigation Associate           Quartile        Quartile


                                     Partner     69     $425    $614     $832     $641      $626    $581

                    Litigation

                                     Associate   71     $350    $375     $502     $425      $389    $375

Houston TX

                                     Partner     116    $491    $702    $1,013    $775      $794    $725

                    Non-Litigation

                                     Associate   128    $274    $374     $539     $432      $409    $369



                                     Partner     42     $295    $400     $465     $407      $420    $418

                    Litigation

                                     Associate   26     $200    $250     $303     $260      $259    $267

Indianapolis IN

                                     Partner     53     $375    $441     $525     $450      $456    $435

                    Non-Litigation

                                     Associate   25     $260    $263     $316     $290      $271    $271



                                     Partner     55     $319    $353     $400     $379      $369    $347

                    Litigation

                                     Associate   54     $214    $240     $251     $219      $185    $199

Jackson MS

                                     Partner     27     $300    $379     $475     $397     $382     $344

                    Non-Litigation

                                     Associate   22     $55     $135     $255     $159      $198    $227



Jacksonville FL     Litigation       Partner     13     $291    $514     $612     $452     $410     $308



                                     Partner     75     $400    $450     $546     $464     $444     $466

                    Litigation

                                     Associate   61     $276    $320     $370     $315     $306     $294

Kansas City MO

                                     Partner     114    $386    $466     $550     $493     $46 4    $444
                    Non-Litigation
                                     Associate

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Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type      Role         n             Median            2021     2020     2019
                                     Partner           Quartile        Quartile
Kansas City MO      Non-Litigation
                                     Associate   95     $250    $320     $385     $323      $288    $278



                    Litigation       Partner     14     $285    $350     $484     $402      $445    $413



Las Vegas NV                         Partner     19     $250    $300     $445     $375      $421    $480

                    Non-Litigation

                                     Associate   12     $238    $323     $377     $320      $282    $280



Little Rock AR      Non-Litigation Partner       12     $215    $215     $300     $267      $290    $274



                                     Partner     342    $475    $715    $1,042    $759      $708    $694

                    Litigation

                                     Associate   433    $402    $602     $806     $610      $583    $535

Los Angeles CA

                                     Partner     559    $600    $880    $1,160    $894      $872    $816

                    Non-Litigation

                                     Associate   761    $480    $685     $895     $696      $665    $620



                                     Partner     18     $265    $356     $405     $344      $353    $338

                    Litigation

Louisville KY                        Associate   16     $178    $200     $278     $225      $227    $214



                    Non-Litigation Associate     12     $208    $215     $249     $224     $230     $197



Madison WI          Non-Litigation Partner       15     $244    $389     $529     $421     $424     $430



                    Litigation       Partner     16     $290    $415     $425     $364     $355     $347

Memphis TN

                    Non-Litigation Partner       20     $298    $340     $369     $345     $346     $334



                                     Partner     100    $282    $475     $614     $465      $473    $4 53
Miami FL            Litigation
                                     Associate

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Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type      Role         n             Median            2021     2020     2019
                                     Partner           Quartile        Quartile
                    Litigation
                                     Associate   68     $226    $345     $441     $343      $341    $351

Miami FL

                                     Partner     149    $449    $552     $726     $572      $578    $580

                    Non-Litigation

                                     Associate   88     $278    $395     $514     $404      $414    $379



                                     Partner     23     $280    $386     $461     $382      $384    $346

                    Litigation

                                     Associate   14     $274    $305     $348     $304      $291    $248

Milwaukee WI

                                     Partner     31     $344    $414     $476     $497      $494    $424

                    Non-Litigation

                                     Associate   22     $263    $298     $384     $323      $315    $281



                                     Partner     72     $331    $500     $687     $534      $475    $466

                    Litigation

                                     Associate   70     $275    $403     $490     $391      $359    $356

Minneapolis MN

                                     Partner     122    $450    $633     $725     $602      $577    $568

                    Non-Litigation

                                     Associate   75     $308    $408     $526     $416      $390    $389



                                     Partner     25     $275    $348     $471     $366     $383     $374

                    Litigation

                                     Associate   12     $186    $210     $251     $219     $205     $218

Nashville TN

                                     Partner     88     $399    $470     $551     $483     $474     $430

                    Non-Litigation

                                     Associate   63     $262    $315     $344     $316     $294     $266



                                     Partner     49     $283    $310     $361     $322     $340     $336
New Orleans LA      Litigation
                                     Associate

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Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                         Trend Analysis - Mean
                                                          First           Third
City                Matter Type      Role          n              Median            2021       2020     2019
                                     Partner             Quartile        Quartile
                    Litigation
                                     Associate    46      $226    $238     $339     $279        $287    $260

New Orleans LA

                                     Partner      40      $293    $345     $449     $373        $387    $364

                    Non-Litigation

                                     Associate    27      $230    $244     $290     $287        $264    $249



                                     Partner     670      $475    $664     $1,061   $784        $743    $765

                    Litigation

                                     Associate   756      $325    $465     $736     $540        $506    $512

New York NY

                                     Partner     1,522    $758    $1,175   $1,520   $1,138     $1,101   $1,046

                    Non-Litigation

                                     Associate   2,124    $550    $770     $981     $772        $734    $680



                                     Partner      35      $293    $363     $419     $354        $357    $355

Omaha NE            Non-Litigation

                                     Associate    14      $205    $225     $290     $250        $237    $223



                                     Partner      31      $460    $475     $510     $473        $462    $443

                    Litigation

                                     Associate    27      $255    $325     $390     $313        $273    $265

Orlando FL

                                     Partner      45      $390    $443     $502     $486       $514     $475

                    Non-Litigation

                                     Associate    28      $246    $293     $333     $311       $313     $311



                                     Partner      352     $450    $623     $810     $638       $631     $613

                    Litigation

                                     Associate    329     $3 40   $420     $495     $430       $404     $383

Philadelphia PA

                                     Partner     417      $525    $729     $900     $744        $719    $674
                    Non-Litigation
                                     Associate

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Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type      Role         n             Median            2021     2020     2019
                                     Partner           Quartile        Quartile
Philadelphia PA     Non-Litigation
                                     Associate   374    $335    $436     $525     $457      $431    $412



                                     Partner     34     $300    $440     $570     $466      $400    $409

                    Litigation

                                     Associate   24     $215    $324     $350     $291      $243    $266

Phoenix AZ

                                     Partner     79     $330    $409     $515     $436      $400    $384

                    Non-Litigation

                                     Associate   47     $225    $275     $325     $281      $255    $269



                                     Partner     58     $373    $564     $719     $554      $546    $498

                    Litigation

                                     Associate   71     $269    $392     $483     $395      $356    $333

Pittsburgh PA

                                     Partner     135    $441    $605     $808     $629      $601    $543

                    Non-Litigation

                                     Associate   125    $324    $380     $458     $386      $391    $370



                    Litigation       Partner     15     $359    $409     $468     $472      $416    $429



Portland ME                          Partner     32     $218    $385     $447     $363     $392     $398

                    Non-Litigation

                                     Associate   20     $196    $245     $279     $244     $249     $241



                                     Partner     35     $342    $451     $550     $453     $422     $404

                    Litigation

                                     Associate   53     $309    $384     $434     $379     $349     $326

Portland OR

                                     Partner     63     $410    $502     $612     $516     $496     $465

                    Non-Litigation

                                     Associate   85     $335    $ 392    $439     $391     $366     $336

Providence RI       Non-Litigation Partner

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Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                      Trend Analysis - Mean
                                                       First           Third
City                Matter Type Role             n             Median            2021      2020     2019
Portland OR         Non-Litigation Associate          Quartile        Quartile


Providence RI       Non-Litigation Partner       13    $185    $480     $620     $434       $340    $416



                                     Partner     12    $275    $395     $539     $403       $418    $388

                    Litigation

Raleigh NC                           Associate   15    $206    $275     $450     $323       $379    $315



                    Non-Litigation Partner       39    $336    $408     $544     $432       $451    $436



                                     Partner     37    $381    $657     $695     $547       $558    $565

                    Litigation

                                     Associate   29    $350    $425     $459     $410       $370    $364

Richmond VA

                                     Partner     64    $569    $710     $892     $715       $703    $640

                    Non-Litigation

                                     Associate   61    $419    $460     $561     $480       $458    $414



                                     Partner     11    $261    $354     $426     $364       $369    $371

Rochester NY        Non-Litigation

                                     Associate   13    $210    $284     $329     $282       $260    $287



                    Litigation       Partner     11    $375    $400     $430     $421      $386     $449

Sacramento CA

                    Non-Litigation Partner       12    $400    $441     $506     $485      $575     $482



                    Litigation       Partner     17    $240    $300     $430     $327      $378     $368



Salt Lake City UT                    Partner     43    $285    $365     $432     $379      $350     $385

                    Non-Litigation

                                     Associate   24    $220    $240     $271     $252      $241     $224



                                     Partner     48    $285    $425     $883     $5 57     $498     $479
San Diego CA        Litigation
                                     Associate

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Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                        First           Third
City                Matter Type      Role         n             Median            2021     2020     2019
                                     Partner           Quartile        Quartile
                    Litigation
                                     Associate   19     $150    $175     $325     $254      $257    $268

San Diego CA

                                     Partner     96     $325    $523    $1,019    $670      $660    $655

                    Non-Litigation

                                     Associate   60     $226    $325     $516     $395      $343    $354



                                     Partner     150    $392    $663     $961     $704      $703    $667

                    Litigation

                                     Associate   108    $314    $415     $628     $486      $471    $451

San Francisco CA

                                     Partner     223    $468    $669     $942     $730      $753    $721

                    Non-Litigation

                                     Associate   145    $345    $465     $730     $539      $536    $485



                                     Partner     40     $600    $867    $1,056    $876      $880    $796

                    Litigation

                                     Associate   27     $435    $550     $745     $587      $542    $471

San Jose CA

                                     Partner     61     $618    $795    $1,165    $918      $910    $803

                    Non-Litigation

                                     Associate   38     $370    $515     $865     $622      $575    $570



San Juan PR         Non-Litigation Partner       13     $215    $250     $294     $260     $262     $260



                                     Partner     91     $436    $535     $741     $596     $506     $498

                    Litigation

                                     Associate   67     $370    $507     $535     $476     $410     $405

Seattle WA

                                     Partner     150    $406    $505     $697     $547     $553     $523

                    Non-Litigation

                                     Associate   117    $300    $366     $5 04    $411     $389     $381

St. Louis MO        Litigation       Partner

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Cities
Cities By Matter Type
By Matter Type
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                         Trend Analysis - Mean
                                                          First           Third
City                Matter Type Role               n              Median            2021     2020     2019
Seattle WA          Non-Litigation Associate             Quartile        Quartile


                                     Partner      46      $248    $357     $491     $384      $390    $389

                    Litigation

St. Louis MO                         Associate    17      $200    $225     $250     $226      $230    $224



                    Non-Litigation Partner        72      $350    $428     $531     $439      $464    $439



Tallahassee FL      Non-Litigation Partner        11      $295    $495     $659     $514      $523    $427



                                     Partner      34      $340    $422     $570     $466      $452    $415

                    Litigation

                                     Associate    14      $250    $275     $340     $294      $300    $272

Tampa FL

                                     Partner      47      $325    $437     $540     $448      $464    $428

                    Non-Litigation

                                     Associate    19      $250    $280     $310     $301      $303    $278



                    Litigation       Partner      14      $425    $540     $710     $568      $556    $494



Trenton NJ                           Partner      19      $400    $578     $727     $599      $581    $520

                    Non-Litigation

                                     Associate    14      $210    $341     $430     $334      $336    $373



                                     Partner     572      $735    $898    $1,025    $899     $857     $825

                    Litigation

                                     Associate   476      $489    $625     $695     $610     $573     $529

Washington DC

                                     Partner     1,113    $640    $836    $1,044    $873     $862     $825

                    Non-Litigation

                                     Associate   922      $430    $584     $705     $603     $578     $538



Wheeling WV         Litigation       Associate    45      $384    $484     $601     $486      $502    $458




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Associate
2021 - Real Rates for Associate and Partner                              Trend Analysis - Mean
                    Years of                   First           Third
City                                     n             Median            2021    2020     2019
                    Experience                Quartile        Quartile


                    Fewer Than 3 Years   23    $272    $360     $405     $343    $302     $260


                    3 to Fewer Than 7
Atlanta GA                               41    $270    $335     $413     $357    $349     $330
                    Years


                    7 or More Years      69    $346    $413     $590     $471    $425     $402



Austin TX           7 or More Years      15    $368    $446     $662     $500    $436     $403



                    Fewer Than 3 Years   22    $297    $444     $525     $424    $396     $455


                    3 to Fewer Than 7
Baltimore MD                             34    $505    $536     $595     $531    $491     $436
                    Years


                    7 or More Years      40    $290    $491     $652     $486    $482     $449


                    3 to Fewer Than 7
                                         18    $220    $285     $300     $266    $272     $264
                    Years
Birmingham AL

                    7 or More Years      19    $275    $310     $326     $316    $305     $287



                    Fewer Than 3 Years   11    $370    $453     $486     $447    $444     $360


                    3 to Fewer Than 7
Boston MA                                34    $400    $458     $561     $488    $460     $420
                    Years


                    7 or More Years      53    $332    $460     $638     $501    $544     $456


                    3 to Fewer Than 7
                                         22    $324    $354     $369     $366    $336     $375
                    Years
Charlotte NC

                    7 or More Years      22    $329    $430     $490     $471    $458     $413



                    Fewer Than 3 Years   31    $386    $526     $571     $491    $510     $589
Chicago IL
                    3 to Fewer Than 7
                    Years



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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Associate
2021 - Real Rates for Associate                                           Trend Analysis - Mean
                    Years of                    First           Third
City                                      n             Median            2021     2020     2019
                    Experience
                    Fewer Than 3 Years         Quartile        Quartile

                    3 to Fewer Than 7
Chicago IL                               94     $390    $498     $668     $542     $552     $504
                    Years


                    7 or More Years      124    $386    $568     $757     $580     $578     $556


                    3 to Fewer Than 7
Cincinnati OH                            13     $249    $280     $325     $279     $248     $249
                    Years


                    Fewer Than 3 Years   21     $222    $260     $367     $288     $234     $207


                    3 to Fewer Than 7
Cleveland OH                             44     $256    $295     $426     $344     $303     $297
                    Years


                    7 or More Years      51     $255    $295     $350     $328     $326     $322


                    3 to Fewer Than 7
Columbus OH                              12     $240    $260     $338     $327     $252     $236
                    Years


                    3 to Fewer Than 7
                                         16     $528    $611     $718     $623     $583     $439
                    Years
Dallas TX

                    7 or More Years      39     $328    $400     $610     $474     $527     $522


                    3 to Fewer Than 7
                                         19     $294    $327     $358     $349     $314     $305
                    Years
Denver CO

                    7 or More Years      30     $274    $365     $415     $361     $334     $341



Detroit MI          7 or More Years      18     $212    $295     $338     $289     $295     $279


                    3 to Fewer Than 7
                                         20     $392    $455     $626     $499     $449     $410
                    Years
Houston TX

                    7 or More Years      29     $328    $413     $585     $468     $478     $453



Indianapolis IN     7 or More Years      14     $200    $260     $300     $266     $263     $269

Jackson MS          7 or More Years




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Associate
2021 - Real Rates for Associate                                           Trend Analysis - Mean
                    Years of                    First           Third
City                                      n             Median            2021     2020     2019
Indianapolis IN     Experience
                    7 or More Years            Quartile        Quartile


Jackson MS          7 or More Years      22      $55     $55     $183     $124     $125     $183


                    3 to Fewer Than 7
                                         26     $252    $310     $349     $306     $294     $292
                    Years
Kansas City MO

                    7 or More Years      28     $295    $325     $370     $325     $283     $282



                    Fewer Than 3 Years   70     $494    $533     $622     $543     $511     $413


                    3 to Fewer Than 7
Los Angeles CA                           128    $533    $709     $821     $673     $582     $510
                    Years


                    7 or More Years      164    $412    $565     $841     $629     $604     $576


                    3 to Fewer Than 7
                                         14     $277    $340     $408     $364     $323     $323
                    Years
Miami FL

                    7 or More Years      30     $310    $475     $540     $431     $429     $374


                    3 to Fewer Than 7
                                         23     $330    $351     $462     $394     $388     $355
                    Years
Minneapolis MN

                    7 or More Years      26     $326    $448     $580     $441     $397     $384



Nashville TN        7 or More Years      13     $245    $283     $325     $287     $271     $253


                    3 to Fewer Than 7
                                         13     $235    $238     $280     $251     $260     $248
                    Years
New Orleans LA

                    7 or More Years      13     $260    $340     $364     $324     $326     $276



                    Fewer Than 3 Years   160    $440    $590     $775     $629     $560     $513


                    3 to Fewer Than 7
New York NY                              237    $412    $670     $875     $681     $625     $559
                    Years

                    7 or More Years




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Associate
2021 - Real Rates for Associate                                           Trend Analysis - Mean
                    Years
                    3      of Than 7
                      to Fewer                  First           Third
City                                      n             Median            2021     2020     2019
                    Experience
                    Years                      Quartile        Quartile
New York NY
                    7 or More Years      437    $430    $711     $967     $722     $715     $693



                    Fewer Than 3 Years   38     $326    $375     $428     $378     $351     $448


                    3 to Fewer Than 7
Philadelphia PA                          129    $327    $403     $475     $408     $381     $354
                    Years


                    7 or More Years      137    $350    $452     $550     $461     $446     $433



Phoenix AZ          7 or More Years      11     $230    $295     $334     $291     $271     $244


                    3 to Fewer Than 7
                                         32     $274    $377     $467     $375     $331     $332
                    Years
Pittsburgh PA

                    7 or More Years      34     $263    $381     $507     $394     $386     $348


                    3 to Fewer Than 7
                                         40     $340    $375     $428     $379     $330     $294
                    Years
Portland OR

                    7 or More Years      60     $340    $410     $477     $407     $396     $364



Richmond VA         7 or More Years      13     $413    $450     $488     $453     $420     $393



San Diego CA        7 or More Years      21     $325    $374     $565     $471     $385     $413



                    Fewer Than 3 Years   15     $403    $550     $591     $501     $462


                    3 to Fewer Than 7
San Francisco CA                         37     $325    $400     $623     $477     $459     $384
                    Years


                    7 or More Years      49     $314    $405     $621     $478     $526     $495



San Jose CA         7 or More Years      14     $425    $500     $755     $579     $635     $607

Seattle WA          3 to Fewer Than 7
                    Years



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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Associate
2021 - Real Rates for Associate                                           Trend Analysis - Mean
                    Years of                    First           Third
City                                      n             Median            2021     2020     2019
San Jose CA         Experience
                    7 or More Years            Quartile        Quartile

                    3 to Fewer Than 7
                                         23     $277    $295     $335     $298     $318     $283
                    Years
Seattle WA

                    7 or More Years      41     $365    $433     $519     $439     $399     $409



St. Louis MO        7 or More Years      12     $200    $213     $251     $246     $253     $244



                    Fewer Than 3 Years   59     $412    $478     $620     $499     $460     $408


                    3 to Fewer Than 7
Washington DC                            190    $405    $550     $695     $554     $520     $479
                    Years


                    7 or More Years      235    $517    $650     $818     $678     $645     $597




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Partner
2021 - Real Rates for Associate                                            Trend Analysis - Mean
                    Years of                     First           Third
City                                       n             Median            2021     2020     2019
                    Experience                  Quartile        Quartile


Albany NY           21 or More Years      19     $294    $318     $343     $366     $388     $334



                    Fewer Than 21 Years   85     $390    $485     $692     $531     $554     $509

Atlanta GA

                    21 or More Years      134    $485    $600     $833     $645     $631     $589



                    Fewer Than 21 Years   25     $454    $525     $683     $575     $548     $535

Austin TX

                    21 or More Years      41     $414    $480     $811     $582     $545     $519



                    Fewer Than 21 Years   36     $400    $520     $686     $554     $545     $576

Baltimore MD

                    21 or More Years      78     $489    $625     $805     $656     $637     $617



                    Fewer Than 21 Years   44     $300    $343     $428     $369     $368     $350

Birmingham AL

                    21 or More Years      43     $375    $463     $526     $457     $458     $412



                    Fewer Than 21 Years   74     $519    $652     $776     $668     $678     $622

Boston MA

                    21 or More Years      150    $410    $690     $870     $695     $686     $660



Bridgeport CT       21 or More Years      14     $375    $532     $573     $482     $451     $411



                    Fewer Than 21 Years   16     $340    $340     $340     $329     $332     $324

Buffalo NY

                    21 or More Years      18     $333    $340     $377     $357     $359     $355



Charleston WV       21 or More Years      20     $259    $287     $321     $289     $286     $284

Charlotte NC        Fewer Than 21 Years




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Partner
2021 - Real Rates for Partner                                              Trend Analysis - Mean
                    Years of                     First           Third
City                                       n             Median            2021     2020     2019
Charleston WV       Experience
                    21 or More Years            Quartile        Quartile


                    Fewer Than 21 Years   36     $474    $590     $715     $588     $584     $559

Charlotte NC

                    21 or More Years      45     $560    $774     $956     $805     $763     $701



                    Fewer Than 21 Years   213    $525    $745    $1,035    $792     $777     $725

Chicago IL

                    21 or More Years      362    $643    $855    $1,110    $878     $864     $810



                    Fewer Than 21 Years   14     $355    $430     $535     $443     $447     $420

Cincinnati OH

                    21 or More Years      32     $419    $485     $594     $490     $486     $457



                    Fewer Than 21 Years   69     $385    $445     $551     $511     $486     $441

Cleveland OH

                    21 or More Years      115    $407    $524     $665     $582     $572     $540



Columbia SC         21 or More Years      17     $369    $420     $550     $446     $400     $384



                    Fewer Than 21 Years   11     $355    $410     $600     $464     $501     $468

Columbus OH

                    21 or More Years      32     $403    $500     $620     $513     $492     $470



                    Fewer Than 21 Years   51     $383    $520     $632     $572     $606     $566

Dallas TX

                    21 or More Years      71     $525    $695     $990     $788     $780     $673



                    Fewer Than 21 Years   49     $385    $460     $574     $509     $483     $451

Denver CO

                    21 or More Years      78     $439    $577     $667     $580     $546     $530

Detroit MI          Fewer Than 21 Years




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Partner
2021 - Real Rates for Partner                                             Trend Analysis - Mean
                    Years of                    First           Third
City                                      n             Median            2021     2020     2019
Denver CO           Experience
                    21 or More Years           Quartile        Quartile


                    Fewer Than 21 Years   23    $321    $350     $436     $376     $344     $331

Detroit MI

                    21 or More Years      58    $300    $370     $460     $387     $377     $374



Greenville SC       21 or More Years      14    $388    $432     $497     $449     $447     $444



                    Fewer Than 21 Years   15    $300    $353     $438     $370     $389     $416

Hartford CT

                    21 or More Years      20    $473    $573     $730     $610     $552     $532



Honolulu HI         21 or More Years      20    $291    $350     $449     $380     $365     $363



                    Fewer Than 21 Years   62    $470    $695     $860     $720     $703     $687

Houston TX

                    21 or More Years      56    $527    $769    $1,019    $789     $815     $730



                    Fewer Than 21 Years   29    $298    $400     $443     $384     $383     $369

Indianapolis IN

                    21 or More Years      52    $352    $447     $583     $470     $467     $453



                    Fewer Than 21 Years   18    $300    $353     $374     $348     $345     $315

Jackson MS

                    21 or More Years      15    $309    $425     $592     $447     $380     $357



                    Fewer Than 21 Years   45    $375    $418     $470     $422     $382     $370

Kansas City MO

                    21 or More Years      71    $415    $531     $635     $515     $496     $499



Las Vegas NV        21 or More Years      14    $300    $350     $510     $425     $470     $498

Los Angeles CA      Fewer Than 21 Years




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Partner
2021 - Real Rates for Partner                                              Trend Analysis - Mean
                    Years of                     First           Third
City                                       n             Median            2021       2020     2019
Las Vegas NV        Experience
                    21 or More Years            Quartile        Quartile


                    Fewer Than 21 Years   173    $550    $855     $1,065   $815       $724     $703

Los Angeles CA

                    21 or More Years      332    $527    $725     $1,145   $844       $818     $758



                    Fewer Than 21 Years   11     $283    $300     $340     $317       $324     $309

Memphis TN

                    21 or More Years      17     $365    $415     $425     $391       $379     $370



                    Fewer Than 21 Years   44     $408    $540     $583     $503       $484     $485

Miami FL

                    21 or More Years      99     $414    $550     $750     $569       $564     $532



                    Fewer Than 21 Years   14     $306    $358     $433     $373       $355     $323

Milwaukee WI

                    21 or More Years      26     $375    $470     $545     $535       $530     $431



                    Fewer Than 21 Years   41     $400    $520     $604     $513       $515     $478

Minneapolis MN

                    21 or More Years      82     $450    $659     $789     $619       $591     $579



                    Fewer Than 21 Years   27     $375    $464     $495     $436       $413     $374

Nashville TN

                    21 or More Years      49     $420    $470     $536     $481       $472     $433



                    Fewer Than 21 Years   24     $275    $305     $390     $346       $361     $337

New Orleans LA

                    21 or More Years      40     $295    $332     $412     $352       $373     $369



                    Fewer Than 21 Years   456    $656    $1,044   $1,407   $1,033     $987     $938
New York NY
                    21 or More Years




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Partner
2021 - Real Rates for Partner                                              Trend Analysis - Mean
                    Years of                     First           Third
City                                       n             Median            2021       2020     2019
                    Experience
                    Fewer Than 21 Years         Quartile        Quartile
New York NY
                    21 or More Years      996    $634    $1,026   $1,470   $1,055    $1,015    $972



Oklahoma City OK 21 or More Years         12     $220    $336     $389     $326       $299     $340



                    Fewer Than 21 Years   15     $241    $305     $350     $299       $336     $316

Omaha NE

                    21 or More Years      21     $330    $396     $420     $379       $368     $378



                    Fewer Than 21 Years   20     $385    $410     $503     $472       $482     $440

Orlando FL

                    21 or More Years      30     $411    $470     $475     $449       $440     $437



                    Fewer Than 21 Years   169    $450    $590     $725     $611       $579     $558

Philadelphia PA

                    21 or More Years      294    $503    $692     $881     $718       $712     $666



                    Fewer Than 21 Years   22     $303    $380     $454     $397       $373     $354

Phoenix AZ

                    21 or More Years      48     $372    $450     $595     $494       $443     $441



                    Fewer Than 21 Years   49     $395    $585     $724     $556       $526     $464

Pittsburgh PA

                    21 or More Years      74     $425    $570     $822     $608       $570     $532



                    Fewer Than 21 Years   12     $305    $315     $401     $337       $352     $324

Portland ME

                    21 or More Years      21     $230    $415     $447     $370       $357     $363



                    Fewer Than 21 Years   36     $375    $420     $607     $478       $443     $424
Portland OR
                    21 or More Years




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Partner
2021 - Real Rates for Partner                                              Trend Analysis - Mean
                    Years of                     First           Third
City                                       n             Median            2021     2020     2019
                    Experience
                    Fewer Than 21 Years         Quartile        Quartile
Portland OR
                    21 or More Years      44     $455    $505     $585     $531     $500     $466



                    Fewer Than 21 Years   15     $300    $378     $455     $397     $427     $408

Raleigh NC

                    21 or More Years      24     $275    $480     $571     $452     $485     $466



                    Fewer Than 21 Years   32     $610    $684     $724     $638     $618     $580

Richmond VA

                    21 or More Years      36     $420    $665     $805     $655     $635     $625



                    Fewer Than 21 Years   20     $274    $342     $432     $349     $347     $381

Salt Lake City UT

                    21 or More Years      24     $333    $393     $462     $409     $378     $378



                    Fewer Than 21 Years   27     $395    $540     $945     $663     $552     $507

San Diego CA

                    21 or More Years      64     $357    $563    $1,175    $747     $701     $657



                    Fewer Than 21 Years   80     $480    $705     $950     $752     $718     $681

San Francisco CA

                    21 or More Years      158    $535    $694     $960     $757     $778     $737



                    Fewer Than 21 Years   18     $707    $955    $1,201    $979     $915     $799

San Jose CA

                    21 or More Years      56     $600    $819    $1,153    $915     $918     $841



                    Fewer Than 21 Years   66     $402    $471     $634     $511     $454     $446

Seattle WA

                    21 or More Years      90     $467    $571     $698     $583     $573     $547

St. Louis MO        Fewer Than 21 Years




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Cities
Cities By Years of Experience
By Years of Experience
2021 — Real Rates for Partner
2021 - Real Rates for Partner                                              Trend Analysis - Mean
                    Years of                     First           Third
City                                       n             Median            2021     2020     2019
Seattle WA          Experience
                    21 or More Years            Quartile        Quartile


                    Fewer Than 21 Years   38     $349    $415     $484     $409     $410     $383

St. Louis MO

                    21 or More Years      57     $350    $435     $584     $453     $465     $440



                    Fewer Than 21 Years   24     $310    $364     $518     $400     $403     $384

Tampa FL

                    21 or More Years      35     $375    $511     $546     $496     $507     $465



Trenton NJ          21 or More Years      15     $515    $626     $831     $639     $624     $545



                    Fewer Than 21 Years   422    $625    $814     $950     $818     $793     $756

Washington DC

                    21 or More Years      705    $665    $875    $1,059    $902     $886     $844




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Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                       Trend Analysis - Mean
                                        First           Third
City                 Role         n             Median            2021    2020    2019
                                       Quartile        Quartile


                     Partner     29     $285    $298     $325     $339    $366    $326

Albany NY

                     Associate   17     $224    $235     $245     $238    $233    $242



                     Partner     321    $413    $590     $756     $609    $618    $569

Atlanta GA

                     Associate   301    $300    $393     $535     $427    $410    $381



                     Partner     89     $406    $495     $695     $554    $536    $508

Austin TX

                     Associate   61     $275    $350     $530     $402    $413    $363



                     Partner     160    $412    $620     $799     $631    $613    $625

Baltimore MD

                     Associate   176    $330    $499     $630     $490    $472    $435



Baton Rouge LA       Partner     16     $299    $348     $446     $379    $376    $339



Billings MT          Partner     12     $275    $275     $318     $309    $266    $259



                     Partner     127    $323    $375     $468     $391    $397    $378

Birmingham AL

                     Associate   101    $273    $300     $325     $297    $300    $281



Boise City ID        Partner     18     $225    $296     $335     $321    $298    $286



                     Partner     289    $423    $670     $850     $672    $684    $659

Boston MA

                     Associate   262    $351    $475     $610     $504    $497    $463

Bridgeport CT        Partner




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Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                       Trend Analysis - Mean
                                        First           Third
City                 Role         n             Median            2021    2020    2019
Boston MA            Associate         Quartile        Quartile


                     Partner     21     $372    $504     $573     $474    $440    $404

Bridgeport CT

                     Associate   13     $213    $292     $303     $272    $254    $262



                     Partner     43     $340    $340     $355     $337    $344    $342

Buffalo NY

                     Associate   36     $225    $245     $265     $241    $244    $245



Burlington VT        Partner     12     $210    $230     $353     $268    $273    $262



                     Partner     15     $285    $395     $464     $367    $352    $366

Charleston SC

                     Associate   12     $215    $288     $349     $275    $265    $248



Charleston WV        Partner     35     $235    $287     $325     $293    $294    $289



                     Partner     104    $521    $623     $777     $672    $657    $616

Charlotte NC

                     Associate   101    $315    $361     $464     $422    $392    $392



                     Partner     863    $610    $839    $1,101    $859    $832    $779

Chicago IL

                     Associate   804    $400    $536     $710     $564    $565    $506



                     Partner     55     $380    $445     $550     $464    $459    $441

Cincinnati OH

                     Associate   69     $250    $280     $333     $294    $280    $267



                     Partner     211    $395    $485     $644     $544    $533    $499
Cleveland OH
                     Associate




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Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                       Trend Analysis - Mean
                                        First           Third
City                 Role         n             Median            2021    2020    2019
                     Partner           Quartile        Quartile
Cleveland OH
                     Associate   192    $245    $292     $370     $319    $304    $302



                     Partner     34     $300    $400     $498     $416    $390    $378

Columbia SC

                     Associate   35     $228    $292     $320     $280    $265    $252



                     Partner     55     $400    $483     $590     $498    $501    $477

Columbus OH

                     Associate   34     $245    $260     $320     $295    $275    $279



                     Partner     191    $395    $525     $830     $647    $664    $619

Dallas TX

                     Associate   205    $295    $483     $674     $497    $527    $482



Dayton OH            Partner     17     $320    $383     $450     $402    $421    $399



                     Partner     158    $396    $500     $630     $534    $501    $487

Denver CO

                     Associate   115    $275    $324     $395     $351    $326    $319



                     Partner     102    $300    $370     $459     $384    $376    $360

Detroit MI

                     Associate   78     $215    $255     $320     $272    $269    $256



                     Partner     25     $375    $430     $494     $431    $422    $423

Greenville SC

                     Associate   23     $275    $310     $367     $320    $315    $292



                     Partner     44     $330    $475     $580     $505    $496    $501
Hartford CT
                     Associate




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Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                       Trend Analysis - Mean
                                        First           Third
City                 Role         n             Median            2021    2020    2019
                     Partner           Quartile        Quartile
Hartford CT
                     Associate   32     $279    $305     $333     $306    $285    $274



                     Partner     30     $275    $350     $395     $356    $344    $345

Honolulu HI

                     Associate   13     $180    $200     $200     $205    $201    $204



                     Partner     166    $470    $657     $955     $722    $729    $671

Houston TX

                     Associate   180    $324    $375     $528     $429    $401    $371



                     Partner     92     $350    $405     $513     $428    $436    $427

Indianapolis IN

                     Associate   46     $225    $260     $306     $274    $265    $269



                     Partner     74     $319    $354     $425     $384    $373    $346

Jackson MS

                     Associate   71     $128    $236     $251     $202    $188    $204



Jacksonville FL      Partner     17     $299    $417     $612     $442    $395    $334



                     Partner     175    $395    $450     $550     $482    $456    $455

Kansas City MO

                     Associate   147    $252    $320     $380     $320    $296    $287



Lafayette LA         Partner     11     $150    $150     $223     $195    $182    $186



Las Vegas NV         Associate   18     $250    $295     $377     $319    $281    $280



Lexington KY         Partner     11     $296    $319     $369     $327    $332    $330

Little Rock AR       Partner




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Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                       Trend Analysis - Mean
                                        First           Third
City               Role         n               Median            2021    2020    2019
Lexington KY       Partner             Quartile        Quartile


Little Rock AR     Partner      16      $215    $250     $300     $272    $287    $282



                   Partner     786      $536    $822    $1,101    $843    $808    $766

Los Angeles CA

                   Associate   1,110    $450    $653     $860     $664    $636    $587



                   Partner      25      $278    $355     $400     $348    $363    $348

Louisville KY

                   Associate    25      $180    $210     $264     $224    $228    $210



Madison WI         Partner      15      $241    $389     $536     $419    $435    $440



Memphis TN         Partner      30      $290    $351     $415     $354    $351    $342



                   Partner     226      $360    $530     $675     $525    $524    $516

Miami FL

                   Associate   149      $265    $361     $475     $375    $381    $365



                   Partner      52      $316    $390     $476     $452    $450    $387

Milwaukee WI

                   Associate    36      $270    $305     $358     $316    $305    $269



                   Partner     175      $419    $595     $711     $578    $544    $531

Minneapolis MN

                   Associate   137      $295    $406     $521     $405    $377    $376



                   Partner     108      $375    $468     $535     $463    $457    $414

Nashville TN

                   Associate    73      $252    $311     $338     $305    $283    $257

New Haven CT       Partner




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Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                         Trend Analysis - Mean
                                          First           Third
City                 Role         n               Median            2021     2020      2019
Nashville TN         Associate           Quartile        Quartile


                     Partner      14      $338    $414     $510     $421     $446      $432

New Haven CT

                     Associate    12      $215    $234     $270     $259     $281      $291



                     Partner      84      $285    $320     $410     $343     $360      $347

New Orleans LA

                     Associate    63      $226    $238     $336     $281     $280      $257



                     Partner     1,977    $625    $1,015   $1,436   $1,034   $1,000    $958

New York NY

                     Associate   2,713    $453    $710     $930     $712     $678      $633



Oklahoma City OK Partner          16      $220    $320     $383     $311     $290      $307



                     Partner      43      $272    $355     $419     $347     $354      $362

Omaha NE

                     Associate    16      $205    $225     $255     $246     $232      $223



                     Partner      68      $401    $470     $508     $479     $492      $461

Orlando FL

                     Associate    51      $249    $310     $390     $312     $291      $284



                     Partner     654      $500    $675     $863     $696     $681      $647

Philadelphia PA

                     Associate   627      $337    $425     $520     $445     $419      $398



                     Partner     104      $322    $420     $540     $445     $400      $392

Phoenix AZ

                     Associate    65      $225    $290     $336     $284     $251      $268

Pittsburgh PA        Partner




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Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner
                                        First           Third
City                 Role         n             Median            2021   2020    2019
Phoenix AZ           Associate         Quartile        Quartile


                     Partner     180    $430    $592     $775     $608   $583    $528

Pittsburgh PA

                     Associate   180    $300    $380     $465     $389   $377    $354



                     Partner     42     $250    $390     $447     $395   $398    $402

Portland ME

                     Associate   23     $200    $245     $290     $249   $249    $240



                     Partner     91     $400    $488     $585     $495   $470    $442

Portland OR

                     Associate   116    $324    $390     $438     $387   $361    $333



                     Partner     49     $300    $404     $544     $425   $440    $424

Raleigh NC

                     Associate   24     $220    $275     $388     $312   $351    $312



                     Partner     93     $438    $670     $745     $639   $635    $608

Richmond VA

                     Associate   85     $374    $450     $530     $459   $427    $395



                     Partner     18     $250    $345     $388     $340   $355    $348

Rochester NY

                     Associate   17     $206    $250     $324     $272   $253    $277



                     Partner     19     $375    $424     $450     $448   $462    $466

Sacramento CA

                     Associate   14     $319    $356     $375     $346   $344    $311



                     Partner     54     $275    $355     $433     $365   $359    $379
Salt Lake City UT
                     Associate




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Section I: High-Level Data Cuts     #:38420

Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                       Trend Analysis - Mean
                                        First           Third
City                 Role         n             Median            2021    2020    2019
                     Partner           Quartile        Quartile
Salt Lake City UT
                     Associate   28     $220    $240     $273     $250    $240    $222



                     Partner     119    $325    $446     $977     $632    $593    $572

San Diego CA

                     Associate   76     $225    $300     $410     $354    $301    $303



                     Partner     325    $437    $669     $950     $720    $734    $701

San Francisco CA

                     Associate   238    $325    $430     $668     $516    $514    $471



                     Partner     85     $600    $826    $1,135    $902    $900    $801

San Jose CA

                     Associate   60     $401    $525     $815     $609    $565    $544



San Juan PR          Partner     15     $210    $250     $291     $254    $247    $242



                     Partner     209    $414    $526     $719     $565    $537    $516

Seattle WA

                     Associate   165    $312    $419     $530     $439    $398    $392



                     Partner     105    $350    $400     $525     $419    $435    $416

St. Louis MO

                     Associate   22     $200    $250     $295     $252    $247    $237



Syracuse NY          Partner     11     $235    $240     $277     $245    $265    $285



Tallahassee FL       Partner     14     $385    $510     $650     $525    $513    $405



                     Partner     69     $325    $434     $550     $455    $458    $422
Tampa FL
                     Associate




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Section I: High-Level Data Cuts     #:38421

Cities
Cities
By Role
2021 — Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner
                                        First           Third
City               Role         n               Median            2021   2020    2019
                   Partner             Quartile        Quartile
Tampa FL
                   Associate    31      $250    $280     $340     $298   $301    $275



                   Partner      29      $400    $545     $715     $586   $572    $510

Trenton NJ

                   Associate    19      $245    $325     $430     $346   $339    $333



                   Partner     1,442    $658    $855    $1,039    $880   $860    $825

Washington DC

                   Associate   1,270    $453    $595     $700     $605   $576    $535



                   Partner      33      $703    $772     $837     $773   $794    $773

Wheeling WV

                   Associate    78      $384    $484     $600     $494   $524    $473




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Section I: High-Level Data Cuts     #:38422
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate       Paralegal, Partner
                               and Partner                                            Trend Analysis - Mean
                                                             First           Third
Practice Area              Matter Type   Role          n             Median             2021    2020     2019
                                                            Quartile        Quartile


                                         Partner      284    $325    $430     $581      $480    $477     $451



                           Litigation    Associate    217    $245    $320     $386      $346    $361     $357



                                         Paralegal    138    $155    $190     $241      $197    $196     $195
Bankruptcy and
Collections
                                         Partner      271    $326    $410     $548      $503    $583     $430



                           Non-Litigation Associate   187    $246    $345     $445      $391    $477     $322



                                         Paralegal    107    $140    $186     $226      $196    $211     $175



                                         Partner      855    $438    $637     $885      $696    $662     $634



                           Litigation    Associate    793    $325    $440     $660      $516    $452     $431



                                         Paralegal    397    $194    $256     $331      $270    $253     $239

Commercial

                                         Partner      612    $500    $670     $981      $775    $794     $713



                           Non-Litigation Associate   428    $345    $454     $662      $540    $566     $496



                                         Paralegal    160    $199    $250     $340      $268    $289     $264



                                         Partner      43     $784    $950    $1,100     $951    $811     $794

                           Litigation

                                         Associate    74     $506    $650     $771      $643    $589     $513


Corporate: Antitrust and
                                         Partner      70     $836    $995    $1,283    $1,077   $1,087   $1,004
Competition


                           Non-Litigation Associate   84     $520    $643     $854      $673    $676     $602

                                         Paralegal




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Section I: High-Level Data Cuts     #:38423
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                   Trend Analysis - Mean
                                                               First           Third
Practice Area              Matter Type      Role         n             Median              2021    2020     2019
                                            Associate         Quartile        Quartile
Corporate: Antitrust and   Non-Litigation
Competition                                 Paralegal   13     $312    $320     $340       $310    $323     $286



                                            Partner     33     $644    $1,165   $1,380    $1,059   $828     $915
Corporate: Corporate
                           Non-Litigation
Development
                                            Associate   15     $480    $925     $1,033     $785    $621     $584



                           Litigation       Partner     27     $992    $1,150   $1,291    $1,168   $1,103   $995



                                            Partner     123    $815   $1,100    $1,406    $1,087   $1,037   $1,034

Corporate: Governance

                           Non-Litigation Associate     115    $545    $686     $869       $693    $672     $657



                                            Paralegal   29     $235    $320     $367       $302    $286     $281



                                            Partner     24     $513    $620     $912       $708    $799     $746
Corporate: Information
                           Non-Litigation
and Technology
                                            Associate   26     $305    $364     $453       $408    $514     $438



                           Litigation       Partner     16     $514    $678     $755       $705    $726     $730



                                            Partner     423    $596    $880     $1,295     $952    $939     $931
Corporate: Mergers,
Acquisitions and
Divestitures
                           Non-Litigation Associate     438    $423    $638     $898       $662    $625     $611



                                            Paralegal   126    $260    $365     $433       $341    $306     $302



                                            Partner     979    $504    $731     $950       $765    $725     $667



                           Litigation       Associate   880    $353    $507     $670       $ 523   $498     $452



                                            Paralegal   367    $190    $264     $336       $263    $250     $223
Corporate: Other
                           Non-Litigation Partner




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Section I: High-Level Data Cuts     #:38424
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                    Trend Analysis - Mean
                                                                First           Third
Practice Area             Matter Type      Role         n               Median              2021    2020     2019
                          Litigation       Paralegal           Quartile        Quartile
Corporate: Other
                                           Partner     1,763    $525    $827     $1,085     $855    $842     $787



                          Non-Litigation Associate     1,614    $425    $603     $765       $619    $590     $540



                                           Paralegal   532      $200    $275     $378       $290    $264     $241



                                           Partner     100      $993    $1,340   $1,590    $1,249   $1,172   $1,121
Corporate: Partnerships
                          Non-Litigation
and Joint Ventures
                                           Associate   132      $721    $922     $1,080     $897    $835     $728



                                           Partner     279      $638    $858     $1,050     $868    $819     $807



                          Litigation       Associate   261      $433    $550     $739       $591    $572     $526



                                           Paralegal   122      $213    $275     $349       $284    $278     $255
Corporate: Regulatory
and Compliance
                                           Partner     890      $545    $696     $947       $757    $745     $727



                          Non-Litigation Associate     669      $375    $500     $649       $540    $523     $495



                                           Paralegal   205      $188    $225     $281       $245    $248     $234



                                           Partner      30      $429    $590     $735       $648    $624     $509



                          Litigation       Associate    16      $350    $400     $503       $468    $456     $366



                                           Paralegal    15      $159    $190     $250       $198    $177     $185

Corporate: Tax

                                           Partner     278      $620    $850     $1,195     $933    $923     $864



                          Non-Litigation Associate     220      $446    $611     $837       $661    $620     $585

                                           Paralegal
                                                        65      $205    $291     $373       $293    $300     $280



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Section I: High-Level Data Cuts     #:38425
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                               Trend Analysis - Mean
                                                             First           Third
Practice Area            Matter Type      Role         n             Median            2021   2020   2019
                                          Associate         Quartile        Quartile
Corporate: Tax           Non-Litigation
                                          Paralegal   65     $205    $291     $373     $293   $300   $280



                                          Partner     30     $712    $856     $933     $887   $979   $951

Corporate: Treasury      Non-Litigation

                                          Associate   42     $368    $452     $658     $531   $481   $491



                                          Partner     13     $412    $502     $620     $523   $505   $434
Employment and Labor:
                         Litigation
ADA
                                          Associate   19     $298    $340     $420     $364   $354   $322



                                          Partner     37     $500    $615     $837     $667   $676   $664



                         Litigation       Associate   28     $311    $426     $564     $478   $558   $512



                                          Paralegal   13     $165    $201     $221     $201   $258   $245
Employment and Labor:
Agreements
                                          Partner     47     $407    $503     $680     $566   $667   $548



                         Non-Litigation Associate     69     $266    $357     $440     $366   $371   $358



                                          Paralegal   15     $165    $180     $192     $183   $198   $182



                                          Partner     45     $342    $515    $725      $604   $597   $616

                         Litigation

                                          Associate   20     $276    $298    $395      $394   $429   $342


Employment and Labor:
Compensation and                          Partner     186    $624    $702    $871      $783   $724   $684
Benefits


                         Non-Litigation Associate     111    $370    $508    $661      $543   $497   $409



                                          Paralegal   16     $2 12   $272    $345      $290   $277   $236

Employment and Labor:    Litigation       Partner
Discrimination,
Retaliation and
Harassment / EEO

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Section I: High-Level Data Cuts     #:38426
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                               Trend Analysis - Mean
Employment and Labor:
Compensation                                                 First           Third
Practice Area and        Matter Type Role              n             Median            2021   2020   2019
Benefits                 Non-Litigation Paralegal           Quartile        Quartile


                                          Partner     208    $344    $432     $550     $477   $486   $473



                         Litigation       Associate   181    $285    $325     $390     $350   $354   $327



Employment and Labor:                     Paralegal   104    $140    $200     $241     $206   $185   $185
Discrimination,
Retaliation and
Harassment / EEO                          Partner     150    $400    $472     $581     $505   $495   $472



                         Non-Litigation Associate     123    $283    $320     $366     $346   $339   $335



                                          Paralegal   53     $150    $203     $275     $218   $208   $189



                                          Partner     19     $450    $495     $645     $553   $576   $642

                         Litigation

                                          Associate   19     $261    $325     $369     $329   $322   $458
Employment and Labor:
ERISA
                                          Partner     70     $482    $620     $789     $648   $678   $643

                         Non-Litigation

                                          Associate   30     $321    $395     $482     $418   $405   $472



                                          Partner     11     $763    $950    $983      $864   $804   $794
Employment and Labor:
Employee                 Litigation
Dishonesty/Misconduct
                                          Associate   18     $439    $550    $550      $546   $522   $430



                                          Partner     49     $495    $625    $716      $629   $579   $614


Employment and Labor:
                         Non-Litigation Associate     36     $283    $397    $515      $417   $349   $387
Immigration


                                          Paralegal   30     $124    $191    $203      $177   $194   $191



Employment and Labor:                     Partner     287    $432    $612     $830     $672   $639   $635
Other                    Litigation
                                          Associate
                                                      207    $325    $425     $573     $457   $454   $441



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Section I: High-Level Data Cuts     #:38427
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                               Trend Analysis - Mean
                                                             First           Third
Practice Area              Matter Type   Role          n             Median            2021   2020   2019
                                         Partner            Quartile        Quartile


                           Litigation    Associate    207    $325    $425     $573     $457   $454   $441



                                         Paralegal    83     $135    $225     $275     $219   $223   $219
Employment and Labor:
Other
                                         Partner      703    $437    $504     $655     $570   $590   $591



                           Non-Litigation Associate   473    $315    $369     $471     $416   $410   $406



                                         Paralegal    151    $150    $198     $294     $223   $241   $221



                                         Partner      58     $441    $503     $690     $592   $581   $527



                           Litigation    Associate    49     $325    $375     $430     $397   $404   $323



                                         Paralegal    16     $151    $198     $272     $214   $200   $225
Employment and Labor:
Union Relations and
Negotiations / NLRB
                                         Partner      109    $449    $509    $645      $577   $569   $548



                           Non-Litigation Associate   55     $314    $350    $459      $401   $408   $376



                                         Paralegal    17     $210    $233     $295     $255   $244   $228



                                         Partner      47     $403    $475    $603      $534   $508   $485



                           Litigation    Associate    39     $313    $348    $456      $377   $373   $340
Employment and Labor:
Wages, Tips and Overtime
                                         Paralegal    15     $160    $213    $225      $207   $176   $187



                           Non-Litigation Associate   11     $298    $323    $350      $327   $367   $385



Employment and Labor:                    Partner      20     $334    $523     $663     $508   $545   $564
Wrongful Termination       Litigation
                                         Associate
                                                      16     $305    $318     $343     $322   $333   $333



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Section I: High-Level Data Cuts     #:38428
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                Trend Analysis - Mean
                                                             First           Third
Practice Area             Matter Type      Role        n             Median             2021    2020   2019
                                           Partner          Quartile        Quartile


                          Litigation       Associate   16    $305    $318     $343      $322    $333   $333


Employment and Labor:
                                           Paralegal   15    $172    $236     $284      $222    $190   $208
Wrongful Termination


                                           Partner     25    $430    $525     $655      $540    $507   $479

                          Non-Litigation

                                           Associate   22    $276    $310     $384      $327    $334   $313



                                           Partner     75    $385    $495     $618      $510    $517   $534



                          Litigation       Associate   43    $333    $380     $413      $396    $366   $362



                                           Paralegal   21    $189    $200     $255      $222    $238   $210

Environmental

                                           Partner     97    $423    $542     $700      $607    $619   $555



                          Non-Litigation Associate     51    $295    $374     $561      $457    $488   $383



                                           Paralegal   16    $170    $225     $260      $238    $264   $233



                                           Partner     76    $772    $957    $1,330    $1,043   $979   $937


Finance and Securities:
                          Non-Litigation Associate     77    $436    $582    $846       $643    $611   $607
Debt/Equity Offerings


                                           Paralegal   22    $260    $295    $366       $332    $281   $289



                                           Partner     43    $487    $5 90   $740       $619    $669   $715



                          Litigation       Associate   25    $245    $398    $463       $375    $388   $406



Finance and Securities:                    Paralegal   17    $188    $215    $270       $225    $205   $214
Fiduciary Services
                          Non-Litigation Partner




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Section I: High-Level Data Cuts     #:38429
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                   Trend Analysis - Mean
                                                                First           Third
Practice Area             Matter Type      Role         n               Median             2021    2020     2019
                          Litigation       Paralegal           Quartile        Quartile
Finance and Securities:
Fiduciary Services                         Partner      56      $456    $599     $890      $673    $671     $661



                          Non-Litigation Associate      37      $292    $330     $464      $393    $383     $398



                                           Paralegal    13      $221    $240     $251      $268    $281     $227



                                           Partner      32      $698    $813    $1,101     $853    $1,017   $933



                          Litigation       Associate    33      $399    $519     $635      $547    $574     $566



                                           Paralegal    22      $193    $235     $280      $260    $245     $181
Finance and Securities:
Investments and Other
Financial Instruments
                                           Partner     862      $750    $990    $1,295    $1,046   $1,021   $969



                          Non-Litigation Associate     992      $501    $715     $955      $744    $715     $650



                                           Paralegal   256      $220    $296     $383      $317    $297     $274



                                           Partner      97      $392    $525    $680       $636    $544     $539



                          Litigation       Associate    95      $283    $345    $515       $415    $375     $364



                                           Paralegal    68      $170    $216    $272       $235    $209     $205
Finance and Securities:
Loans and Financing
                                           Partner     1,133    $577    $899    $1,345     $966    $908     $860



                          Non-Litigation Associate     1,145    $470    $675    $929       $693    $651     $604



                                           Paralegal   4 75     $225    $310    $410       $321    $293     $278



Finance and Securities:                    Partner      24      $677    $953    $1,287    $1,028   $1,000   $909
Other                     Non-Litigation
                                           Associate




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Section I: High-Level Data Cuts     #:38430
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                    Trend Analysis - Mean
                                                                First           Third
Practice Area               Matter Type      Role         n             Median              2021    2020     2019
                                             Partner           Quartile        Quartile
Finance and Securities:     Non-Litigation
Other                                        Associate   24     $574    $857     $873       $733    $698     $647



                                             Partner     52     $750    $1,248   $1,550    $1,187   $1,067   $985


Finance and Securities:
SEC Filings and Financial   Non-Litigation Associate     54     $611    $873     $1,064     $826    $689     $630
Reporting


                                             Paralegal   11     $310    $352     $356       $357    $353     $333



                                             Partner     52     $668   $1,067    $1,332    $1,037   $1,031   $930
Finance and Securities:
Securities and Banking      Non-Litigation
Regulations
                                             Associate   29     $425    $565     $876       $621    $610     $558



                                             Partner     101    $225    $275     $353       $334    $361     $347


General Liability:
                            Litigation       Associate   70     $197    $235     $269       $268    $253     $251
Asbestos/Mesothelioma


                                             Paralegal   86     $100    $115     $125       $126    $127     $127


General Liability: Auto
                            Litigation       Partner     16     $180    $220     $316       $251    $234     $301
and Transportation


                                             Partner     59     $300    $530     $693       $553    $472     $491


General Liability:
                        Litigation           Associate   52     $287    $374     $523       $430    $382     $361
Consumer Related Claims


                                             Paralegal   21     $130    $210     $263       $201    $161     $166



                                             Partner     30     $474    $525     $593       $542    $524     $530


General Liability: Crime,
                            Litigation       Associate   23     $330    $400     $57 4      $443    $377     $415
Dishonesty and Fraud


                                             Paralegal   12     $216    $247     $271       $254    $196     $240

General Liability: Other    Litigation       Partner




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Section I: High-Level Data Cuts     #:38431
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                 Trend Analysis - Mean
General                                                        First           Third
Practice Liability:
         Area       Crime,   Matter Type   Role          n             Median            2021   2020   2019
Dishonesty and Fraud         Litigation    Paralegal          Quartile        Quartile


                                           Partner      120    $229    $700     $950     $687   $628   $607



                             Litigation    Associate    115    $393    $565     $695     $531   $495   $430

General Liability: Other

                                           Paralegal    77      $95    $235     $235     $208   $192   $218



                             Non-Litigation Partner     14     $293    $410     $495     $408   $501   $538



                                           Partner      239    $190    $230     $415     $370   $333   $325


General Liability: Personal
                            Litigation     Associate    158    $166    $200     $295     $280   $249   $225
Injury/Wrongful Death


                                           Paralegal    185    $90     $100     $135     $132   $121   $114



                                           Partner      66     $323    $395     $538     $436   $394   $395


General Liability:
                             Litigation    Associate    58     $210    $265     $300     $280   $281   $274
Premises


                                           Paralegal    38     $115    $150     $190     $159   $166   $150



                                           Partner      309    $300    $400    $599      $476   $460   $474



                             Litigation    Associate    274    $235    $295    $400      $337   $326   $333



                                           Paralegal    239    $122    $135    $205      $170   $164   $172
General Liability: Product
and Product Liability
                                           Partner      51     $243    $305    $418      $361   $338   $320



                             Non-Litigation Associate   30     $200    $275    $346      $277   $278   $277



                                           Paralegal    15     $115    $150    $178      $156   $136   $141

General Liability: Property Litigation     Partner
Damage



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Section I: High-Level Data Cuts     #:38432
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                   Trend Analysis - Mean
General                                                          First           Third
Practice Liability:
         Area       Product Matter Type Role              n              Median            2021     2020    2019
and Product Liability       Non-Litigation Paralegal            Quartile        Quartile


                                           Partner       51      $341    $450     $600     $490      $462   $563


General Liability: Property
                            Litigation     Associate     41      $275    $314     $400     $337      $307   $369
Damage


                                           Paralegal     21      $135    $185     $225     $186      $186   $204



                                           Partner       30      $296    $368     $479     $485      $449   $445


General Liability: Toxic
                             Litigation    Associate     28      $225    $225     $558     $369      $351   $356
Tort


                                           Paralegal     17      $100    $110     $180     $165      $176   $151



                                           Partner       60      $548    $749     $885     $779      $832   $793



Government Relations         Non-Litigation Associate    42      $401    $530     $644     $537      $562   $550



                                           Paralegal     11      $252    $296     $393     $316      $300   $296



                                           Partner       28      $165    $179     $215     $196      $210   $232
Insurance Defense:
                             Litigation
Asbestos/Mesothelioma
                                           Associate     21      $145    $160     $180     $164      $156   $209



                                           Partner      1,191    $160    $175    $200      $220     $220    $241


Insurance Defense: Auto
                             Litigation    Associate    894      $145    $160    $175      $165     $159    $155
and Transportation


                                           Paralegal    850      $82      $90     $95      $91       $89     $87



                                           Partner       51      $172    $ 250   $359      $315     $420    $353
Insurance Defense:
                        Litigation
Consumer Related Claims
                                           Paralegal     27       $93    $122    $146      $132     $120    $132

Insurance Defense:           Litigation    Partner
Insurer Work Comp



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Section I: High-Level Data Cuts     #:38433
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                              Trend Analysis - Mean
Insurance  Defense:                                         First           Third
Practice Area           Matter Type    Role          n              Median            2021     2020    2019
Consumer Related Claims Litigation     Paralegal           Quartile        Quartile


                                       Partner     284      $150    $165     $185     $191      $198   $199


Insurance Defense:
                          Litigation   Associate   229      $145    $150     $165     $153      $153   $151
Insurer Work Comp


                                       Paralegal   235       $85     $90     $100     $96       $93     $93



                                       Partner      40      $177    $210     $248     $244      $196   $241
Insurance Defense:
                          Litigation
Marine
                                       Paralegal    19       $70     $75     $90      $78       $87     $97



                                       Partner     1,323    $170    $190     $235     $231      $235   $228



Insurance Defense: Other Litigation    Associate   960      $155    $170     $200     $185      $184   $180



                                       Paralegal   766      $85      $95     $105     $99       $95     $95



                                       Partner     191      $160    $175    $200      $187      $188   $194


Insurance Defense:
Personal Injury/Wrongful Litigation    Associate   164      $146    $155    $175      $161      $158   $160
Death


                                       Paralegal   104      $75      $85     $86      $82       $82     $87



                                       Partner     145      $185    $215    $250      $246     $239    $234


Insurance Defense:
                          Litigation   Associate    68      $176    $190    $204      $211     $205    $197
Pollution


                                       Paralegal    51      $90      $92    $100      $99      $102    $110



                                       Partner     795      $165    $180     $225     $219      $214   $232


Insurance Defense:
                          Litigation   Associate   549      $150    $165     $185     $171      $171   $171
Premises

                                       Paralegal
                                                   483       $80     $90     $100     $91       $91     $89



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Section I: High-Level Data Cuts     #:38434
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                 Trend Analysis - Mean
                                                              First           Third
Practice Area             Matter Type      Role         n             Median             2021     2020     2019
                                           Associate         Quartile        Quartile
Insurance Defense:        Litigation
Premises                                   Paralegal   483     $80     $90     $100      $91       $91     $89



                                           Partner     128    $175    $180     $200      $194      $195    $261


Insurance Defense:
Product and Product       Litigation       Associate   80     $160    $175     $185      $174      $173    $199
Liability


                                           Paralegal   70      $81     $95     $99       $93       $95     $100



                                           Partner     144    $185    $200     $275      $257      $243    $236
Insurance Defense:
                          Litigation
Professional Liability
                                           Associate   69     $160    $195     $295      $230      $211    $199



                                           Partner     678    $175    $210     $250      $221      $227    $221


Insurance Defense:
                          Litigation       Associate   537    $160    $180     $215      $188      $184    $180
Property Damage


                                           Paralegal   357    $80      $90     $100      $94       $95     $94


Insurance Policies and
Coverage: Policy          Litigation       Partner     14     $308    $434    $574       $495      $587    $495
Coverage Dispute


                                           Partner     22     $820   $1,010   $1,406    $1,078    $1,057   $969
Intellectual Property:
                          Non-Litigation
Licensing
                                           Associate   28     $648    $711    $861       $739     $730     $648


Intellectual Property:
                          Non-Litigation Partner       12     $521    $805    $1,026     $833     $1,121   $754
Opinions


                                           Partner     43     $520    $59 5   $734       $662     $693     $694



                          Litigation       Associate   29     $342    $430    $615       $482     $552     $538



Intellectual Property:                     Paralegal   24     $200    $248    $294       $255     $268     $265
Other
                          Non-Litigation Partner




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Section I: High-Level Data Cuts     #:38435
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                 Trend Analysis - Mean
                                                              First           Third
Practice Area              Matter Type     Role         n             Median             2021   2020     2019
                           Litigation      Paralegal         Quartile        Quartile
Intellectual Property:
Other                                      Partner     111    $412    $608     $804      $647   $626     $584



                           Non-Litigation Associate    54     $300    $363     $448      $402   $406     $373



                                           Paralegal   29     $186    $216     $275      $219   $217     $199



                                           Partner     336    $575    $838    $1,008     $810   $779     $763



                           Litigation      Associate   330    $455    $620     $751      $608   $560     $532



                                           Paralegal   189    $204    $280     $328      $281   $265     $260
Intellectual Property:
Patents
                                           Partner     358    $375    $500     $724      $587   $547     $558



                           Non-Litigation Associate    358    $285    $350     $540      $434   $407     $384



                                           Paralegal   200    $187    $215     $270      $237   $221     $215



                                           Partner     22     $503    $630    $876       $677   $612     $570



                           Litigation      Associate   13     $290    $424    $535       $478   $463     $439



                                           Paralegal   11     $240    $258    $334       $285   $234     $241
Intellectual Property:
Trademarks
                                           Partner     100    $474    $587    $724       $613   $630     $592



                           Non-Litigation Associate    79     $305    $361    $495       $412   $396     $396



                                           Paralegal   76     $205    $230    $285       $248   $245     $233



                                           Partner     40     $475    $639     $952      $768   $1,045   $995
Marketing and Advertising Non-Litigation
                                           Associate
                                                       31     $328    $480     $893      $602   $772     $669



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Section I: High-Level Data Cuts     #:38436
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                  Trend Analysis - Mean
                                                              First           Third
Practice Area               Matter Type   Role          n             Median              2021    2020   2019
                                          Partner            Quartile        Quartile


Marketing and Advertising Non-Litigation Associate     31     $328    $480     $893       $602    $772   $669



                                          Paralegal    15     $193    $289     $360       $289    $333   $278



                                          Partner      106    $975    $1,070   $1,179    $1,077   $982   $918


Miscellaneous: Billing or
                            Non-Litigation Associate   89     $582    $681     $835       $694    $657   $585
Administrative Matter


                                          Paralegal    14     $243    $278     $308       $282    $267   $299



                                          Partner      104    $748    $933     $1,294     $997    $931   $864


Miscellaneous: General
                            Non-Litigation Associate   60     $429    $568     $865       $640    $622   $555
Advice & Counsel


                                          Paralegal    18     $218    $359     $419       $337    $341   $360



                                          Partner      18     $435    $554     $745       $585    $508   $470

                            Litigation
Real Estate:
Construction/                             Associate    12     $286    $349     $415       $359    $324   $353
Development


                            Non-Litigation Partner     18     $470    $533     $648       $554    $665   $587


Real Estate: Easement
                            Non-Litigation Partner     21     $340    $400     $500       $423    $459   $459
and Right of Way


                                          Partner      45     $465    $570     $785       $631    $591   $566


Real Estate: Land
Use/Zoning/Restrictive      Non-Litigation Associate   25     $260    $410     $553       $439    $404   $360
Covenants


                                          Paralegal    13     $190    $205     $330       $242    $219   $215



Real Estate:                              Partner      45     $300    $420     $650       $564    $472   $374
Landlord/Tenant Issues      Litigation
                                          Associate
                                                       44     $261    $320     $444       $404    $352   $274



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Section I: High-Level Data Cuts     #:38437
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                Trend Analysis - Mean
                                                              First           Third
Practice Area               Matter Type   Role          n             Median            2021   2020   2019
                                          Partner            Quartile        Quartile

Real Estate:
                            Litigation    Associate    44     $261    $320     $444     $404   $352   $274
Landlord/Tenant Issues


                                          Paralegal    26     $125    $175     $321     $212   $214   $136



                                          Partner      39     $260    $475     $746     $527   $454   $311



                            Litigation    Associate    36     $260    $347     $479     $387   $324   $232



                                          Paralegal    19     $108    $210     $330     $218   $168   $141

Real Estate: Leasing

                                          Partner      116    $395    $540     $730     $583   $536   $520



                            Non-Litigation Associate   72     $295    $398     $490     $403   $389   $370



                                          Paralegal    24     $151    $198     $216     $202   $217   $219



                                          Partner      110    $461    $588     $748     $648   $556   $564



                            Litigation    Associate    97     $330    $386     $480     $428   $444   $410



                                          Paralegal    58     $201    $261     $331     $257   $224   $231

Real Estate: Other

                                          Partner      125    $350    $475    $640      $519   $530   $497



                            Non-Litigation Associate   79     $275    $365    $424      $378   $355   $370



                                          Paralegal    40     $184    $214    $258      $220   $187   $197



                                          Partner      95     $475    $600    $860      $728   $605   $626


Real Estate:
Property/Land              Non-Litigation Associate    57     $362    $ 485   $570      $530   $398   $423
Acquisition or Divestiture
                                          Paralegal




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Section I: High-Level Data Cuts     #:38438
Detailed Practice Area
Detailed   Practice Area
By Matter Type
By Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Associate,
                 for Associate,       Paralegal,
                                Paralegal,        Partner
                                           and Partner                                Trend Analysis - Mean
                                                              First           Third
Practice Area               Matter Type   Role          n             Median            2021   2020   2019
                                          Associate          Quartile        Quartile
Real Estate:               Non-Litigation
Property/Land                             Paralegal    25     $180    $215     $315     $235   $237   $230
Acquisition or Divestiture


                                          Partner      261    $275    $325     $400     $347   $341   $313

                            Litigation

                                          Associate    140    $224    $263     $311     $279   $262   $244



Real Estate: Titles                       Partner      796    $250    $300     $383     $341   $333   $312



                            Non-Litigation Associate   605    $215    $250     $300     $285   $267   $247



                                          Paralegal    449    $103    $135     $170     $149   $142   $136



                                          Partner      142    $395    $636     $916     $679   $725   $663



                            Litigation    Associate    123    $308    $499     $622     $490   $494   $456
Requests for Information:
Subpoena
                                          Paralegal    64     $195    $238     $330     $252   $245   $227



                            Non-Litigation Partner     12     $425    $600    $819      $631   $727   $675




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Section I: High-Level Data Cuts     #:38439
Firm Size
Firm SizeType
By Matter
By Matter Type
2021- Real
2021  — Real   Rates
           Rates      for Associate
                 for Associate         & Partner
                               and Partner                                          Trend Analysis - Mean
                                                      First               Third
Firm Size        Matter Type      Role         n                Median              2021     2020     2019
                                                     Quartile            Quartile


                                  Partner     730     $260       $325     $446      $375     $366     $344

                 Litigation

                                  Associate   507     $200       $250     $325      $283     $270     $255
50 Lawyers or
Fewer
                                  Partner     1048    $286       $387     $525      $418     $413     $397

                 Non-Litigation

                                  Associate   703     $216       $265     $325      $281     $285     $277



                                  Partner     844     $302       $397     $570      $459     $444     $427

                 Litigation

                                  Associate   565     $225       $275     $375      $313     $300     $292
51-200
Lawyers
                                  Partner     1114    $378      $485      $653      $540     $533     $504

                 Non-Litigation

                                  Associate   707     $250      $310      $425      $363     $349     $330



                                  Partner     909     $412      $525      $675      $574     $560     $549

                 Litigation

                                  Associate   750     $295      $350      $440      $393     $381     $370
201-500
Lawyers
                                  Partner     1565    $423      $556      $751      $629     $622     $606

                 Non-Litigation

                                  Associate   1194    $302      $391      $529      $441     $425     $411



                                  Partner     1074    $563      $727      $961      $809     $765     $763

                 Litigation

                                  Associate   1240    $375      $520      $695      $552     $516     $501
501-1,000
Lawyers
                                  Partner     2103    $613       $860    $1,242     $943     $921     $892

                 Non-Litigation

                                  Associate   2503    $444       $626     $860      $660     $628     $588

More Than     Litigation          Partner
1,000 Lawyers

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Section I: High-Level Data Cuts     #:38440
Firm Size
Firm SizeType
By Matter
By Matter Type
2021- Real
2021  — Real   Rates
           Rates      for Associate
                 for Associate         & Partner
                               and Partner                                           Trend Analysis - Mean
501-1,000                                             First               Third
Firm Size        Matter Type      Role         n                Median              2021       2020     2019
Lawyers          Non-Litigation   Associate          Quartile            Quartile


                                  Partner     845     $715       $895    $1,094     $922       $900     $857

                 Litigation

                                  Associate   977     $445       $565     $750      $604       $580     $537
More Than
1,000 Lawyers
                                  Partner     1928    $811      $1,025   $1,320     $1,071    $1,039    $972

                 Non-Litigation

                                  Associate   2262    $501       $695     $900      $717       $695     $627




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                                     #:38441




   Section II:
   Industry Analysis
   All data and analysis based on data
   collected thru Q3 2021




2021 Real Rate Report
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Section II: Industry Analysis #:38442
Section II: Industry Analysis
All
All
By Matter Type
By Matter Type
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                      for Associate                                                        Trend Analysis - Mean
                                                             First               Third
Industry               Matter Type      Role          n                Median              2021     2020     2019
                                                            Quartile            Quartile


                                        Partner     329      $299      $395      $576      $448     $436     $459

                       Litigation

                                        Associate   263      $212       $268     $374      $307     $301     $300
Basic Materials and
Utilities
                                        Partner     394      $481      $655     $1,190     $851     $775     $671

                       Non-Litigation

                                        Associate   312      $395      $652      $992      $695     $607     $481



                                        Partner     218      $295      $365      $486      $443     $442     $410

                       Litigation

                                        Associate   151      $215      $245      $365      $308     $310     $295

Consumer Goods

                                        Partner     307      $450      $595      $795      $633     $606     $602

                       Non-Litigation

                                        Associate   136      $309      $385      $578      $452     $409     $405



                                        Partner     712      $400      $560      $760      $620     $627     $594

                       Litigation

                                        Associate   666      $320      $414      $580      $467     $450     $410

Consumer Services

                                        Partner     794      $462      $620      $825      $704     $695     $694

                       Non-Litigation

                                        Associate   762      $357      $485      $678      $536     $491     $488



                                        Partner     1,223    $356      $538      $770      $616     $599     $608

                       Litigation

                                        Associate   1,025    $275      $375      $539      $434     $420     $417
Financials Excluding
Insurance
                                        Partner     3,232    $565       $870    $1,217     $922     $911     $866

                       Non-Litigation

                                        Associate   3,217    $420       $618     $885      $666     $653     $603



                                        Partner     824      $450       $725     $946      $708     $682     $658
Health Care            Litigation
                                        Associate
                                                    788      $375       $520     $690      $520     $487     $447




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Section II: Industry Analysis #:38443
Section II: Industry Analysis
All
All
By Matter Type
By Matter Type
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                      for Associate                                                      Trend Analysis - Mean
                                                  824      First
                                                           $450       $725     Third
                                                                               $946      $708     $682     $658
Industry             Matter Type      Role         n                 Median              2021     2020     2019
                                      Partner             Quartile            Quartile
                     Litigation
                                      Associate   788      $375       $520     $690      $520     $487     $447

Health Care

                                      Partner     568      $495      $727      $950      $748     $763     $706

                     Non-Litigation

                                      Associate   568      $347       $535     $695      $549     $538     $480



                                      Partner     327      $425      $649      $950      $719     $604     $579

                     Litigation

                                      Associate   257      $299      $450      $646      $495     $425     $398

Industrials

                                      Partner     852      $415      $575      $950      $713     $674     $642

                     Non-Litigation

                                      Associate   694      $325      $448      $695      $528     $479     $444



                                      Partner     391      $300      $385      $659      $524     $502     $470

                     Litigation

                                      Associate   279      $250      $325      $691      $463     $417     $367

Insurance

                                      Partner     1,151    $285      $380      $610      $507     $553     $528

                     Non-Litigation

                                      Associate   867      $228      $285      $475      $390     $397     $380



                                      Partner     606      $500      $684      $946      $749     $689     $695

                     Litigation

                                      Associate   662      $350      $452      $667      $520     $476     $491
Technology and
Telecommunications
                                      Partner     1,360    $490      $672      $925      $743     $730     $705

                     Non-Litigation

                                      Associate   1,245    $338      $460      $650      $509     $513     $488




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Section
Section II:
          II:Industry
               IndustryAnalysis
                           Analysis#:38444
All
All
By Role
By Role
2021—Real Rates for Associate, Paralegal, Partner
2021 - Real Rates for Associate, Paralegal, and Partner                         Trend Analysis - Mean
                                               First               Third
Industry               Role           n                  Median              2021    2020     2019
                                              Quartile            Quartile


                       Partner       674        $373      $550     $843      $676     $614     $561


Basic Materials and
                       Associate     559        $257      $395     $710      $518     $449     $373
Utilities


                       Paralegal     329        $115      $185     $300      $222     $204     $182



                       Partner       503        $350      $485     $691      $554     $536     $523



Consumer Goods         Associate     283        $236      $320     $464      $377     $364     $352



                       Paralegal     186        $125      $165     $240      $192     $184     $187



                       Partner      1,345       $437      $600     $795      $665     $664     $649



Consumer Services      Associate    1,337       $335      $440     $628      $505     $473     $454



                       Paralegal     524        $180      $241     $318      $253     $246     $230



                       Partner      4,193       $485      $750    $1,105     $830     $825     $793


Financials Excluding
                     Associate      4,070       $355      $540     $820      $603     $592     $550
Insurance


                       Paralegal    1,665       $184      $250     $347      $265     $255     $241



                       Partner      1,285       $475      $725     $950      $724     $713     $677



Health Care            Associate    1,292       $375      $528     $695      $532     $506     $460



                       Paralegal     583        $172      $235     $292      $232     $219     $223

Industrials            Partner




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Section
Section II:
          II:Industry
               IndustryAnalysis
                           Analysis#:38445
All
All
By Role
By Role
2021—Real Rates for Associate, Paralegal, Partner
2021 - Real Rates for Associate, Paralegal, and Partner                          Trend Analysis - Mean
                                               First                Third
Industry               Role           n                   Median              2021    2020     2019
Health Care            Paralegal              Quartile             Quartile


                       Partner      1,039       $418       $595     $950      $714     $652     $622



Industrials            Associate     858        $320       $448     $682      $519     $462     $429



                       Paralegal     408        $175       $250     $375      $271     $254     $228



                       Partner      5,435       $175       $205     $275      $285     $292     $297



Insurance              Associate    4,329       $158       $180     $235      $236     $235     $229



                       Paralegal    3,205           $85    $95      $110      $111     $113     $110



                       Partner      1,793       $495       $675     $935      $745     $718     $702


Technology and
                   Associate        1,785       $344       $457     $650      $513     $502     $489
Telecommunications


                       Paralegal     701        $190       $245     $320      $255     $243     $239




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Section   II: Industry Analysis #:38446
Section II: Industry Analysis
Basic     Materials
Basic Materials           and Utilities
                    and Utilities
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                                First               Third
Practice Area                Matter Type      Role        n               Median               2021      2020    2019
                                                               Quartile            Quartile


                             Litigation       Partner     17    $415       $580    $1,045      $699      $628    $603

Commercial

                             Non-Litigation Partner       30    $575       $650     $781       $686      $597    $647



Corporate: Other             Non-Litigation Associate     36    $421       $642    $1,027      $697      $621    $641



                                              Partner     39    $494       $625     $845       $680      $745    $665
Corporate: Regulatory and
                          Non-Litigation
Compliance
                                              Associate   19    $295       $400     $541       $446      $500    $501


Employment and Labor:
Discrimination, Retaliation Litigation        Partner     17    $398       $446     $510       $446      $408    $390
and Harassment / EEO


                                              Partner     52    $419       $463     $574       $484      $473    $512
Employment and Labor:
                             Non-Litigation
Other
                                              Associate   17    $315       $347     $400       $353      $301    $293



                                              Partner     47    $407       $515     $694       $575      $565    $571

Environmental                Non-Litigation

                                              Associate   26    $295       $395     $550       $456      $494    $424




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Section II: Industry Analysis #:38447
Section II: Industry Analysis
Consumer
Consumer Goods   Goods
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                       for Associate                                                        Trend Analysis - Mean
                                                              First               Third
Practice Area             Matter Type      Role         n               Median              2021      2020    2019
                                                             Quartile            Quartile


                                           Partner     68     $368       $511     $745      $591      $585    $477

                          Litigation

Commercial                                 Associate   38     $329       $423     $589      $470      $409    $365



                          Non-Litigation Partner       123    $403       $525     $668      $567      $564    $560



                                           Partner     32     $740       $857     $975      $849      $846    $746
Corporate: Regulatory
                          Non-Litigation
and Compliance
                                           Associate   17     $400       $580     $635      $544      $455    $440



                                           Partner     58     $458       $525     $674      $565      $569    $561
Employment and
                          Non-Litigation
Labor: Other
                                           Associate   25     $285       $380     $440      $394      $365    $340



Environmental             Litigation       Partner     14     $339       $377     $445      $399      $377    $362




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Section II: Industry Analysis #:38448
Section II: Industry Analysis
Consumer
Consumer ServicesServices
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                               First               Third
Practice Area              Matter Type      Role         n               Median              2021      2020    2019
                                                              Quartile            Quartile


                                            Partner     18     $320       $497     $569      $496      $544    $484
Bankruptcy and
                           Litigation
Collections
                                            Associate   21     $296       $338     $395      $381      $338    $310



                                            Partner     233    $425       $622     $767      $645      $663    $599

                           Litigation

                                            Associate   198    $345       $423     $561      $476      $441    $385

Commercial

                                            Partner     73     $557       $633     $698      $663      $637    $635

                           Non-Litigation

                                            Associate   65     $345       $393     $452      $452      $442    $449



                                            Partner     181    $530       $806    $1,287     $869      $814    $780

Corporate: Other           Non-Litigation

                                            Associate   154    $431       $621     $873      $641      $555    $496



                                            Partner     235    $474       $624     $734      $658      $664    $666
Corporate: Regulatory
                           Non-Litigation
and Compliance
                                            Associate   199    $360       $462     $630      $511      $505    $485


Employment and Labor:
Compensation and           Non-Litigation Partner       33     $622       $684     $715      $695      $621    $625
Benefits


Employment and Labor:                       Partner     89     $291       $337     $444      $378      $378    $386
Discrimination,
                           Litigation
Retaliation and
Harassment / EEO                            Associate   70     $280       $300     $385      $331      $314    $294



                                            Partner     81     $325       $455     $625      $495      $477    $489

                           Litigation

                                            Associate   57     $275       $325     $420      $347      $336    $332
Employment and Labor:
Other
                                            Partner     63     $450       $475     $584      $521      $535    $542

                           Non-Litigation

                                            Associate   51     $385       $450     $500      $448      $420    $394


Employment and Labor:
Union Relations and        Litigation       Partner     19     $413       $495     $666      $586      $622    $527
Negotiations / NLRB
Employment and Labor:      Litigation       Partner
Wages, Tips and
Overtime

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Section II: Industry Analysis #:38449
Section II: Industry Analysis
Consumer
Consumer ServicesServices
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
              Rates           & Partner
                       for Associate    and Partner                                         Trend Analysis - Mean
Employment and Labor:
Union  Relations and                                          First               Third
Practice Area              Matter Type      Role        n               Median              2021      2020    2019
Negotiations / NLRB        Litigation       Partner          Quartile            Quartile


                                            Partner     23    $365       $465     $552      $469      $444    $430
Employment and Labor:
Wages, Tips and            Litigation
Overtime
                                            Associate   24    $310       $379     $473      $377      $367    $343



                                            Partner     60    $369       $482     $645      $555      $602    $603
Intellectual Property:
                           Non-Litigation
Patents
                                            Associate   83    $245       $305     $407      $358      $357    $330



                                            Partner     25    $360       $425     $661      $502      $511    $516

Real Estate: Leasing       Non-Litigation

                                            Associate   20    $363       $413     $450      $414      $389    $357



                                            Partner     53    $350       $413     $620      $486      $492    $484

Real Estate: Other         Non-Litigation

                                            Associate   41    $265       $387     $413      $347      $326    $341




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Section II: Industry Analysis #:38450
Section II: Industry Analysis
Financials       Excluding
Financials Excluding             Insurance
                           Insurance
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
              Rates           & Partner and Partner
                       for Associate                                                      Trend Analysis - Mean
                                                            First               Third
Practice Area           Matter Type      Role         n               Median              2021        2020    2019
                                                           Quartile            Quartile


                                         Partner     200    $328       $440     $596      $488        $490    $447

                        Litigation

                                         Associate   156    $250       $340     $402      $358        $379    $375
Bankruptcy and
Collections
                                         Partner     230    $307       $400     $490      $431        $420    $412

                        Non-Litigation

                                         Associate   148    $237       $308     $386      $334        $310    $314



                                         Partner     279    $393       $525     $765      $637        $573    $605

                        Litigation

                                         Associate   237    $278       $357     $531      $439        $390    $401

Commercial

                                         Partner     208    $630       $965    $1,289     $1,000     $1,034   $963

                        Non-Litigation

                                         Associate   155    $417       $604     $817      $659        $719    $649


Corporate: Corporate
                        Non-Litigation Partner       14     $470       $654    $1,132     $772        $892    $1,014
Development


                                         Partner     29     $745      $1,000   $1,466     $1,048      $966    $945

Corporate: Governance Non-Litigation

                                         Associate   28     $509       $591     $875      $679        $648    $636



                                         Partner     44     $767      $1,022   $1,296     $1,027     $1,119   $1,047
Corporate: Mergers,
Acquisitions and        Non-Litigation
Divestitures
                                         Associate   27     $425       $535     $894      $639        $739    $652



                                         Partner     249    $405       $598     $898      $693        $627    $647

                        Litigation

                                         Associate   204    $308       $425     $631      $510        $438    $445

Corporate: Other

                                         Partner     451    $602       $992    $1,283     $973        $944    $918

                        Non-Litigation

                                         Associate   429    $462       $675     $902      $693        $670    $613

Corporate: Regulatory   Litigation       Partner
and Compliance




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Section II: Industry Analysis #:38451
Section II: Industry Analysis
Financials       Excluding
Financials Excluding             Insurance
                           Insurance
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
              Rates           & Partner and Partner
                       for Associate                                                       Trend Analysis - Mean
                                                             First               Third
Practice Area            Matter Type Role              n               Median              2021        2020    2019
Corporate: Other         Non-Litigation Associate           Quartile            Quartile


                                          Partner     99     $582       $800    $1,141     $860        $824    $825

                         Litigation

                                          Associate   83     $407       $521     $729      $574        $589    $557
Corporate: Regulatory
and Compliance
                                          Partner     133    $845      $1,050   $1,346     $1,092     $1,070   $1,034

                         Non-Litigation

                                          Associate   113    $540       $706     $856      $737        $731    $651



                                          Partner     82     $646      $1,145   $1,460     $1,125     $1,093   $1,069

Corporate: Tax           Non-Litigation

                                          Associate   77     $438       $675     $946      $752        $724    $697



                                          Partner     24     $668       $856     $927      $873        $980    $1,044

Corporate: Treasury      Non-Litigation

                                          Associate   29     $347       $381     $490      $458        $437    $470



                                          Partner     59     $657       $809     $935      $849        $786    $720
Employment and
Labor: Compensation      Non-Litigation
and Benefits
                                          Associate   55     $418       $523     $749      $586        $540    $417



                                          Partner     31     $393       $550     $695      $632        $669    $649

                         Litigation

Employment and                            Associate   26     $296       $335     $398      $413        $446    $424
Labor: Discrimination,
Retaliation and
Harassment / EEO                          Partner     19     $371       $400     $811      $548        $509    $495

                         Non-Litigation

                                          Associate   20     $295       $295     $676      $431        $400    $364


Employment and
                         Non-Litigation Partner       15     $707       $789     $795      $789        $783    $819
Labor: ERISA


                                          Partner     136    $580       $815     $976      $835        $783    $782

                         Litigation

Employment and                            Associate   99     $410       $560     $690      $546        $531    $513
Labor: Other
                         Non-Litigation Partner




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Section II: Industry Analysis #:38452
Section II: Industry Analysis
Financials       Excluding
Financials Excluding             Insurance
                           Insurance
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                                First               Third
Practice Area             Matter Type      Role         n                 Median              2021        2020    2019
                          Litigation       Associate           Quartile            Quartile
Employment and
Labor: Other                               Partner     202      $392       $536     $765      $629        $625    $626

                          Non-Litigation

                                           Associate   113      $298       $377     $584      $485        $442    $467



                                           Partner      55      $706       $853    $1,025     $872        $895    $903
Finance and Securities:
                        Non-Litigation
Debt/Equity Offerings
                                           Associate    49      $379       $468     $564      $495        $554    $583



                                           Partner      43      $487       $590     $740      $619        $669    $715

                          Litigation

                                           Associate    25      $245       $398     $463      $375        $388    $406
Finance and Securities:
Fiduciary Services
                                           Partner      56      $456       $599     $890      $673        $671    $661

                          Non-Litigation

                                           Associate    37      $292       $330     $464      $393        $383    $398



                                           Partner     862      $750       $990    $1,295     $1,046     $1,021   $969
Finance and Securities:
Investments and Other Non-Litigation
Financial Instruments
                                           Associate   992      $501       $715     $955      $744        $715    $650



                                           Partner      97      $392       $525     $680      $636        $544    $539

                          Litigation

                                           Associate    95      $283       $345     $515      $415        $375    $364
Finance and Securities:
Loans and Financing
                                           Partner     1,052    $556       $873    $1,325     $946        $898    $853

                          Non-Litigation

                                           Associate   1,057    $450       $665     $915      $685        $639    $600



                                           Partner      52      $668      $1,067   $1,332     $1,037     $1,031   $930
Finance and Securities:
Securities and Banking Non-Litigation
Regulations
                                           Associate    29      $425       $565     $876      $621        $610    $555


Miscellaneous: General
                       Non-Litigation Partner           49      $683       $803     $968      $829        $903    $734
Advice & Counsel

Real Estate: Leasing      Non-Litigation Partner




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Section II: Industry Analysis #:38453
Section II: Industry Analysis
Financials       Excluding
Financials Excluding             Insurance
                           Insurance
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
              Rates           & Partner and Partner
                       for Associate                                                    Trend Analysis - Mean
Miscellaneous:                                            First               Third
Practice Area General Matter Type Role              n               Median              2021      2020    2019
Advice & Counsel      Non-Litigation Partner             Quartile            Quartile


Real Estate: Leasing   Non-Litigation Partner       18    $605       $667     $975      $760      $713    $664



                                        Partner     75    $470       $625     $769      $677      $556    $593

                       Litigation

                                        Associate   65    $330       $409     $535      $431      $426    $434

Real Estate: Other

                                        Partner     25    $370       $550     $763      $607      $723    $582

                       Non-Litigation

                                        Associate   19    $364       $425     $628      $495      $522    $523



                                        Partner     19    $488       $633     $750      $630      $579    $633
Requests for
                      Litigation
Information: Subpoena
                                        Associate   11    $313       $500     $554      $463      $379    $427




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Section   II: Industry Analysis #:38454
Section II: Industry Analysis
Healthcare
Health Care
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                                     Trend Analysis - Mean
                                                                  First               Third
Practice Area                 Matter Type      Role         n               Median               2021      2020    2019
                                                                 Quartile            Quartile


                                               Partner     229    $665       $820     $950       $808      $827    $784

                              Litigation

                                               Associate   201    $440       $592     $695       $573      $569    $505

Corporate: Other

                                               Partner     230    $895       $950    $1,145      $996      $974    $859

                              Non-Litigation

                                               Associate   296    $599       $695     $747       $685      $643    $529



                                               Partner     60     $619       $871     $936       $802      $783    $791

                              Litigation

                                               Associate   50     $430       $540     $687       $532      $506    $492
Corporate: Regulatory and
Compliance
                                               Partner     87     $419       $573     $787       $621      $611    $614

                              Non-Litigation

                                               Associate   60     $298       $342     $471       $409      $427    $408


Employment and Labor:
Discrimination, Retaliation Litigation         Partner     15     $416       $520     $695       $560      $591    $499
and Harassment / EEO


                                               Partner     165    $329       $525     $718       $565      $524    $567
General Liability: Product
                              Litigation
and Product Liability
                                               Associate   153    $250       $375     $475       $398      $366    $382



                                               Partner     153    $664       $900    $1,002      $850      $830    $803
Intellectual Property:
                              Litigation
Patents
                                               Associate   156    $483       $625     $736       $618      $580    $536




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Section II: Industry Analysis #:38455
Section II: Industry Analysis
Industrials
 Industrials
 By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                                   Trend Analysis - Mean
                                                                First               Third
Practice Area               Matter Type      Role         n               Median              2021        2020    2019
                                                               Quartile            Quartile


                                             Partner     25     $438       $553     $887      $759        $725    $718

                            Litigation

                                             Associate   17     $325       $575     $865      $634        $592    $517

Commercial

                                             Partner     47     $420       $595     $838      $685        $654    $614

                            Non-Litigation

                                             Associate   31     $300       $350     $412      $444        $421    $421



                                             Partner     119    $700      $1,075   $1,495     $1,093      $908    $980
Corporate: Mergers,
Acquisitions and            Non-Litigation
Divestitures
                                             Associate   132    $475       $735     $985      $734        $603    $622



                                             Partner     138    $592       $908    $1,098     $878        $760    $708

                            Litigation

                                             Associate   120    $448       $560     $711      $569        $503    $467

Corporate: Other

                                             Partner     354    $424       $618     $965      $736        $760    $675

                            Non-Litigation

                                             Associate   343    $325       $473     $708      $542        $541    $496



                                             Partner     63     $516       $690    $1,050     $794        $661    $633
Corporate: Regulatory
                            Non-Litigation
and Compliance
                                             Associate   29     $450       $560     $805      $606        $498    $444



                                             Partner     24     $537       $755     $949      $768        $733    $724
Employment and Labor:
Compensation and      Non-Litigation
Benefits
                                             Associate   14     $345       $473     $556      $456        $481    $427



                                             Partner     82     $435       $509     $688      $565        $565    $519
Employment and Labor:
                      Non-Litigation
Other
                                             Associate   52     $303       $363     $439      $384        $399    $354


Employment and Labor:
Union Relations and   Non-Litigation Partner             23     $440       $505     $585      $625        $648    $566
Negotiations / NLRB


                                             Partner     18     $459       $585     $645      $570        $563    $554
Environmental               Litigation
                                             Associate
                                                         12     $356       $390     $467      $414        $395    $383


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Section II: Industry Analysis #:38456
Section II: Industry Analysis
Industrials
 Industrials
 By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                                  Trend Analysis - Mean
                                                         18    First
                                                               $459       $585     Third
                                                                                   $645      $570      $563    $554
Practice Area               Matter Type      Role        n               Median              2021      2020    2019
                                             Partner          Quartile            Quartile
Environmental               Litigation
                                             Associate   12    $356       $390     $467      $414      $395    $383



                                             Partner     45    $225       $300     $413      $348      $333    $350
General Liability:
Product and Product         Litigation
Liability
                                             Associate   35    $195       $227     $299      $254      $234    $248



                                             Partner     51    $400       $608     $868      $676      $631    $551
Intellectual Property:
                            Non-Litigation
Other
                                             Associate   16    $281       $421     $639      $475      $402    $320



                                             Partner     52    $305       $396     $464      $432      $411    $457
Intellectual Property:
                            Non-Litigation
Patents
                                             Associate   27    $211       $275     $298      $263      $270    $300


Intellectual Property:
                            Non-Litigation Partner       13    $335       $450     $642      $505      $551    $467
Trademarks




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Section II: Industry Analysis #:38457
Section II: Industry Analysis
Insurance
 Insurance
 By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                       for Associate                                                           Trend Analysis - Mean
                                                                 First               Third
Practice Area              Matter Type      Role         n                 Median              2021        2020    2019
                                                                Quartile            Quartile


                                            Partner     171      $480       $650     $846      $699        $735    $685

Corporate: Other           Non-Litigation

                                            Associate   117      $325       $460     $610      $517        $524    $466



                                            Partner      43      $802      $1,040   $1,254     $1,049     $1,043   $1,010

Corporate: Tax             Non-Litigation

                                            Associate    34      $499       $642     $874      $698        $590    $627



                                            Partner      86      $423       $470     $598      $536        $571    $593
Employment and
                           Non-Litigation
Labor: Other
                                            Associate    42      $303       $378     $500      $438        $408    $383



Government Relations       Non-Litigation Partner        11      $648       $716     $862      $805        $842    $812



                                            Partner      28      $165       $179     $215      $196        $210    $232
Insurance Defense:
Asbestos/                  Litigation
Mesothelioma
                                            Associate    21      $145       $160     $180      $164        $156    $209



                                            Partner     1,191    $160       $175     $200      $220        $220    $241
Insurance Defense:
Auto and                   Litigation
Transportation
                                            Associate   894      $145       $160     $175      $165        $159    $155


Insurance Defense:
Consumer Related           Litigation       Partner      51      $172       $250     $359      $315        $420    $353
Claims


                                            Partner     284      $150       $165     $185      $191        $198    $199
Insurance Defense:
                           Litigation
Insurer Work Comp
                                            Associate   229      $145       $150     $165      $153        $153    $151


Insurance Defense:
                           Litigation       Partner      40      $177       $210     $248      $244        $196    $241
Marine


                                            Partner     1,322    $170       $190     $235      $231        $236    $228
Insurance Defense:
                           Litigation
Other
                                            Associate   960      $155       $170     $200      $185        $184    $180

Insurance Defense:    Litigation            Partner
Personal
Injury/Wrongful Death




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Section II: Industry Analysis #:38458
Section II: Industry Analysis
Insurance
 Insurance
 By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                       for Associate                                                      Trend Analysis - Mean
Insurance  Defense:                                         First               Third
Practice Area              Matter Type   Role         n               Median              2021      2020    2019
Other                      Litigation    Associate         Quartile            Quartile


                                         Partner     190    $160       $175     $200      $188      $189    $194
Insurance Defense:
Personal              Litigation
Injury/Wrongful Death
                                         Associate   162    $146       $155     $175      $162      $158    $160



                                         Partner     145    $185       $215     $250      $246      $239    $234
Insurance Defense:
                           Litigation
Pollution
                                         Associate   68     $176       $190     $204      $211      $205    $197



                                         Partner     795    $165       $180     $225      $219      $214    $232
Insurance Defense:
                           Litigation
Premises
                                         Associate   549    $150       $165     $185      $171      $171    $171



                                         Partner     128    $175       $180     $200      $194      $195    $261
Insurance Defense:
Product and Product        Litigation
Liability
                                         Associate   80     $160       $175     $185      $174      $173    $199



                                         Partner     144    $185       $200     $275      $257      $243    $236
Insurance Defense:
                           Litigation
Professional Liability
                                         Associate   69     $160       $195     $295      $230      $211    $199



                                         Partner     678    $175       $210     $250      $221      $227    $221
Insurance Defense:
                           Litigation
Property Damage
                                         Associate   537    $160       $180     $215      $188      $184    $180




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Section II: Industry Analysis #:38459
Section II: Industry Analysis
Technology
Technology andand          Telecommunications
                     Telecommunications
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                                 Trend Analysis - Mean
                                                              First               Third
Practice Area             Matter Type      Role         n               Median               2021       2020    2019
                                                             Quartile            Quartile

Bankruptcy and
                          Litigation       Partner     12     $515       $570     $646       $584       $508    $522
Collections


                                           Partner     96     $627       $815    $1,100      $898       $780    $734

                          Litigation

                                           Associate   163    $395       $561     $807       $617       $470    $451

Commercial

                                           Partner     74     $403       $655     $894       $658       $636    $599

                          Non-Litigation

                                           Associate   45     $335       $466     $680       $495       $468    $427



                                           Partner     51     $905      $1,101   $1,383     $1,153     $1,111   $1,035
Corporate: Antitrust and
                         Non-Litigation
Competition
                                           Associate   60     $533       $723     $871       $704       $692    $605



                                           Partner     46    $1,035     $1,247   $1,480     $1,294     $1,157   $1,127

Corporate: Governance     Non-Litigation

                                           Associate   44     $681       $839     $927       $805       $718    $717


Corporate: Information
                          Non-Litigation Partner       21     $518       $620     $908       $710       $716    $733
and Technology


                                           Partner     64     $624       $803     $961       $809       $826    $825
Corporate: Mergers,
Acquisitions and          Non-Litigation
Divestitures
                                           Associate   79     $312       $450     $653       $468       $567    $533



                                           Partner     137    $608       $840    $1,073      $867       $793    $708

                          Litigation

                                           Associate   131    $395       $530     $649       $521       $499    $467

Corporate: Other

                                           Partner     249    $590       $815    $1,035      $844       $822    $819

                          Non-Litigation

                                           Associate   174    $409       $536     $697       $560       $541    $545



                          Litigation       Partner     16     $638       $774     $830       $782       $780    $753


Corporate: Regulatory
                                           Partner     220    $587       $751     $871       $725       $730    $682
and Compliance
                          Non-Litigation
                                           Associate
                                                       178    $396       $488     $590       $500       $486    $449



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Section II: Industry Analysis #:38460
Section II: Industry Analysis
Technology
Technology andand          Telecommunications
                     Telecommunications
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                               Trend Analysis - Mean
                                                     220    First
                                                            $587       $751     Third
                                                                                $871       $725      $730    $682
Practice Area           Matter Type      Role         n               Median               2021      2020    2019
                                         Partner           Quartile            Quartile
Corporate: Regulatory   Non-Litigation
and Compliance                           Associate   178    $396       $488     $590       $500      $486    $449



                                         Partner     83     $672       $861    $1,070      $905      $910    $837

Corporate: Tax          Non-Litigation

                                         Associate   70     $427       $595     $773       $613      $615    $567



                                         Partner     32     $410       $564     $700       $595      $716    $586
Employment and Labor:
                        Non-Litigation
Agreements
                                         Associate   53     $328       $380     $479       $392      $383    $379



                                         Partner     33     $539       $650     $709       $690      $692    $700
Employment and Labor:
Compensation and        Non-Litigation
Benefits
                                         Associate   20     $295       $445     $590       $479      $472    $399



                                         Partner     38     $451       $493     $664       $557      $544    $530

                        Litigation

Employment and Labor:                    Associate   39     $325       $350     $390       $357      $352    $353
Discrimination,
Retaliation and
Harassment / EEO                         Partner     51     $475       $530     $655       $557      $544    $541

                        Non-Litigation

                                         Associate   46     $323       $345     $388       $354      $354    $337



                                         Partner     21     $460       $497     $660       $562      $580    $591

                        Litigation

                                         Associate   12     $340       $358     $391       $382      $365    $377
Employment and Labor:
Other
                                         Partner     162    $470       $525     $655       $560      $622    $640

                        Non-Litigation

                                         Associate   143    $323       $346     $401       $372      $409    $413



                                         Partner     33     $355       $620     $767       $625      $577    $520
General Liability:
Consumer Related        Litigation
Claims
                                         Associate   29     $347       $390     $535       $453      $446    $388



                                         Partner     34     $505       $720     $854       $716      $754    $766
Government Relations    Non-Litigation
                                         Associate
                                                     32     $401       $530     $634       $520      $531    $472



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Section II: Industry Analysis #:38461
Section II: Industry Analysis
Technology
Technology andand          Telecommunications
                     Telecommunications
By Practice Area and Matter Type
By Practice Area and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
              Rates           & Partner
                       for Associate    and Partner                                        Trend Analysis - Mean
                                                             First               Third
Practice Area            Matter Type      Role         n               Median               2021      2020    2019
                                          Partner           Quartile            Quartile
Government Relations     Non-Litigation
                                          Associate   32     $401       $530     $634       $520      $531    $472



                                          Partner     120    $550       $739    $1,018      $798      $766    $760

                         Litigation

                                          Associate   113    $431       $639     $775       $614      $578    $567
Intellectual Property:
Patents
                                          Partner     136    $371       $575     $802       $644      $539    $540

                         Non-Litigation

                                          Associate   159    $300       $414     $661       $505      $456    $410



                         Litigation       Partner     11     $580       $647     $935       $739      $635    $538


Intellectual Property:
                                          Partner     38     $489       $574     $690       $614      $629    $609
Trademarks
                         Non-Litigation

                                          Associate   39     $293       $360     $400       $358      $365    $371




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     Section III:
     Practice Area Analysis
     All data and analysis based on data
     collected thru Q3 2021




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38463
Bankruptcy and Collections
Bankruptcy
By City    and Collections
By City
2021—Real
2021 - RealRates
            Ratesforfor
                     Associate & Partner
                        Associate   and Partner                            Trend Analysis - Mean
                                          First               Third
City               Role           n                 Median              2021     2020     2019
                                         Quartile            Quartile


Atlanta GA         Associate     11       $336       $383     $411      $404     $382     $435



                   Partner       15       $364       $416     $494      $438     $435     $427

Baltimore MD

                   Associate     11       $230       $240     $290      $302     $281     $290



Birmingham AL      Partner       16       $325       $325     $467      $389     $339     $334



Buffalo NY         Partner       12       $255       $340     $344      $325     $315     $339



                   Partner       27       $525      $1,117   $1,248     $946    $1,076    $611

Chicago IL

                   Associate     29       $568       $752     $864      $684     $764     $482



Cleveland OH       Partner       26       $391       $433     $565      $487     $428     $390



Columbus OH        Partner       13       $355       $414     $420      $431     $413     $417



Dallas TX          Partner       14       $381       $525     $580      $529     $615     $463



                   Partner       12       $654       $792     $832      $770     $792     $741

Houston TX

                   Associate     30       $356       $375     $508      $431     $429     $426



Los Angeles CA     Associate     13       $323       $375     $390      $377     $354     $317



                   Partner       69       $400       $546     $790      $633     $649     $585

New York NY

                   Associate     52       $300       $375     $413      $394     $457     $443

Philadelphia PA    Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38464
Bankruptcy and Collections
Bankruptcy
By City    and Collections
By City
2021—Real
2021 - RealRates
            Ratesforfor
                     Associate & Partner
                        Associate   and Partner                            Trend Analysis - Mean
                                          First               Third
City                 Role         n                 Median              2021     2020     2019
New York NY          Associate           Quartile            Quartile


                     Partner     61       $400       $490     $559      $493     $499     $474

Philadelphia PA

                     Associate   33       $296       $340     $353      $342     $330     $347



                     Partner     15       $380       $410     $460      $406     $401     $404

Pittsburgh PA

                     Associate   19       $275       $351     $405      $355     $315     $291




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38465
Bankruptcy and Collections
Bankruptcy       and
By Matter Type and YOE Collections
By Matter Type and YOE
2021—Real
2021      Rates
     - Real     for Associate
            Rates    for Associate                                         Trend Analysis - Mean
                                             First               Third
Years of Experience   Matter Type      n               Median              2021     2020     2019
                                            Quartile            Quartile


                      Litigation       66    $264       $300     $415      $359     $364     $362

7 or More Years

                      Non-Litigation   49    $241       $272     $393      $328     $385     $344




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38466
Bankruptcy and Collections
Bankruptcy        andType
By Firm Size and Matter Collections
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                    First               Third
Firm Size        Matter Type      Role        n               Median              2021      2020     2019
                                                   Quartile            Quartile


                                  Partner     64    $268       $352     $395      $353      $341     $321

                 Litigation
50 Lawyers or
                                  Associate   61    $225       $260     $336      $279      $264     $253
Fewer


                 Non-Litigation   Associate   32    $210       $227     $248      $232      $233     $239



                                  Partner     61    $318       $381     $483      $411      $405     $372

                 Litigation

                                  Associate   23    $215       $245     $298      $274      $242     $245

51-200 Lawyers

                                  Partner     48    $296       $400     $454      $418      $399     $396

                 Non-Litigation

                                  Associate   24    $202       $222     $288      $260      $248     $228



                                  Partner     76    $379       $451     $555      $490      $479     $446

                 Litigation

                                  Associate   59    $275       $305     $369      $340      $323     $306
201-500
Lawyers
                                  Partner     89    $370       $430     $520      $467      $453     $425

                 Non-Litigation

                                  Associate   55    $275       $333     $393      $340      $315     $316



                                  Partner     48    $525       $637     $705      $638      $681     $621

                 Litigation

                                  Associate   51    $350       $386     $519      $455      $514     $491
501-1,000
Lawyers
                                  Partner     26    $490       $533     $663      $606      $702     $678

                 Non-Litigation

                                  Associate   21    $345       $420     $590      $483      $483     $474



                                  Partner     19    $560       $701    $1,011     $751      $765     $801

                 Litigation

More Than                         Associate   13    $328       $384     $495      $431      $445     $434
1,000 Lawyers
                 Non-Litigation   Partner




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38467
Bankruptcy and Collections
Bankruptcy        andType
By Firm Size and Matter Collections
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                      Trend Analysis - Mean
                                                   First               Third
Firm Size       Matter Type      Role        n               Median              2021      2020     2019
                Litigation       Associate        Quartile            Quartile
More Than
1,000 Lawyers                    Partner     45    $460       $736    $1,203     $891     $1,047    $532

                Non-Litigation

                                 Associate   48    $363       $530     $765      $590      $753     $404




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38468
Commercial
Commercial
By City
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                              Trend Analysis - Mean
                                        First               Third
City                 Role         n               Median              2021     2020     2019
                                       Quartile            Quartile


                     Partner     36     $484       $616     $816      $683     $733     $722

Atlanta GA

                     Associate   42     $330       $350     $498      $436     $416     $410



Austin TX            Partner     17     $386       $465     $720      $553     $491     $459



                     Partner     21     $375       $423     $479      $422     $408     $381

Birmingham AL

                     Associate   14     $288       $303     $330      $309     $302     $268



                     Partner     17     $474       $755     $975      $759     $719     $628

Boston MA

                     Associate   25     $495       $610     $865      $681     $521     $459



                     Partner     14     $575       $666     $838      $756     $698     $727

Charlotte NC

                     Associate   20     $330       $367     $516      $448     $450     $390



                     Partner     106    $582       $725    $1,025     $798     $821     $715

Chicago IL

                     Associate   108    $404       $514     $643      $547     $592     $501



                     Partner     40     $397       $470     $643      $510     $598     $466

Cleveland OH

                     Associate   42     $233       $263     $297      $270     $308     $278



                     Partner     42     $444       $738    $1,004     $759     $794     $682

Dallas TX

                     Associate   35     $372       $610     $715      $558     $521     $472

Denver CO            Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38469
Commercial
Commercial
By City
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                               Trend Analysis - Mean
                                        First               Third
City                 Role         n               Median              2021      2020     2019
Dallas TX            Associate         Quartile            Quartile


                     Partner     30     $424       $529     $641      $562      $493     $462

Denver CO

                     Associate   16     $323       $383     $430      $380      $328     $299



                     Partner     18     $511       $675     $800      $661      $783     $714

Houston TX

                     Associate   11     $372       $414     $485      $425      $519     $427



Indianapolis IN      Partner     15     $356       $425     $525      $465      $457     $453



                     Partner     36     $385       $450     $520      $480      $453     $491

Kansas City MO

                     Associate   24     $295       $380     $385      $349      $307     $328



                     Partner     81     $665       $901    $1,079     $883      $809     $755

Los Angeles CA

                     Associate   124    $564       $753     $895      $739      $701     $573



                     Partner     42     $385       $575     $675      $547      $553     $511

Miami FL

                     Associate   29     $335       $401     $478      $408      $396     $406



                     Partner     62     $551       $656     $810      $661      $585     $547

Minneapolis MN

                     Associate   46     $414       $458     $568      $468      $391     $377



                     Partner     213    $630      $1,050   $1,444     $1,063   $1,034   $1,008

New York NY

                     Associate   209    $390       $641     $945      $669      $646     $668

Philadelphia PA      Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38470
Commercial
Commercial
By City
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                               Trend Analysis - Mean
                                        First               Third
City                 Role         n               Median              2021      2020     2019
New York NY          Associate         Quartile            Quartile


                     Partner     119    $495       $650     $846      $693      $656     $649

Philadelphia PA

                     Associate   118    $328       $390     $518      $473      $435     $402



                     Partner     18     $481       $632     $810      $637      $581     $427

Pittsburgh PA

                     Associate   15     $437       $478     $565      $460      $394     $314



                     Partner     16     $497       $575     $676      $595      $527     $479

Portland OR

                     Associate   37     $366       $402     $447      $410      $392     $344



                     Partner     42     $410       $660     $911      $682      $744     $738

San Francisco CA

                     Associate   32     $341       $400     $534      $472      $447     $462



San Jose CA          Partner     11     $641       $757    $1,419     $1,050   $1,022    $930



                     Partner     39     $412       $486     $638      $533      $477     $459

Seattle WA

                     Associate   26     $293       $333     $425      $360      $337     $353



                     Partner     182    $658       $780    $1,029     $847      $876     $840

Washington DC

                     Associate   102    $443       $571     $722      $592      $561     $544




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38471
Commercial
Commercial
By Matter Type and YOE
By Matter Type and YOE
2021—Real Rates for Partner
2021 - Real Rates for Partner                                                  Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2021     2020     2019
                                                Quartile            Quartile


                         Litigation       258    $410       $606     $828      $659     $611     $559

Fewer Than 21 Years

                         Non-Litigation   158    $444       $606     $889      $679     $702     $657



                         Litigation       427    $477       $675     $903      $731     $704     $668

21 or More Years

                         Non-Litigation   313    $568       $714    $1,004     $820     $846     $747




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38472
Commercial
Commercial
By Matter Type and YOE
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                                Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2021     2020     2019
                                                Quartile            Quartile


                         Litigation       71     $290       $334     $438      $370     $363     $325

Fewer Than 3 Years

                         Non-Litigation   21     $318       $396     $428      $405     $503     $464



                         Litigation       151    $295       $395     $643      $480     $420     $372
3 to Fewer Than 7
Years
                         Non-Litigation   71     $323       $387     $462      $417     $447     $416



                         Litigation       166    $305       $400     $575      $458     $423     $416

7 or More Years

                         Non-Litigation   86     $358       $445     $645      $548     $619     $511




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38473
Commercial
Commercial
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021       2020     2019
                                                   Quartile            Quartile


                                 Partner     111    $290       $375     $521      $427       $405     $382

                Litigation

                                 Associate   67     $250       $306     $378      $343       $273     $274
50 Lawyers or
Fewer
                                 Partner     78     $315       $400     $485      $429       $430     $415

                Non-Litigation

                                 Associate   34     $265       $335     $359      $318       $312     $289



                                 Partner     138    $370       $460     $586      $502       $469     $433

                Litigation

                                 Associate   92     $264       $311     $395      $325       $287     $286
51-200
Lawyers
                                 Partner     72     $393       $498     $570      $527       $536     $493

                Non-Litigation

                                 Associate   39     $268       $300     $393      $332       $342     $339



                                 Partner     176    $414       $530     $694      $584       $582     $565

                Litigation

                                 Associate   147    $304       $365     $435      $397       $392     $376
201-500
Lawyers
                                 Partner     118    $531       $639     $766      $687       $654     $609

                Non-Litigation

                                 Associate   90     $326       $396     $454      $431       $448     $392



                                 Partner     220    $649       $725     $925      $834       $813     $808

                Litigation

                                 Associate   265    $358       $480     $668      $544       $489     $464
501-1,000
Lawyers
                                 Partner     206    $645       $800    $1,180     $940       $926     $847

                Non-Litigation

                                 Associate   159    $390       $520     $760      $586       $595     $541



More Than                        Partner     171    $809      $1,044   $1,194     $1,037    $1,003    $955
1,000 Lawyers Litigation
                                 Associate
                                             210    $550       $718     $886      $719       $650     $628


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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38474
Commercial
Commercial
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                        Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021       2020     2019
                                 Partner           Quartile            Quartile
                Litigation
                                 Associate   210    $550       $718     $886      $719       $650     $628
More Than
1,000 Lawyers
                                 Partner     117    $832       $999    $1,203     $1,043    $1,056    $961

                Non-Litigation

                                 Associate   98     $527       $713     $849      $745       $726     $652




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Section
Section III:
           III:Practice
                 PracticeAreaArea Analysis
                                   Analysis
                                      #:38475
Corporate: Mergers, Acquisitions and Divestitures
Corporate
By City   Mergers, Acquisitions, and Divestitures
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                  Trend Analysis - Mean
                                           First               Third
City                Role           n                 Median              2021      2020     2019
                                          Quartile            Quartile


Atlanta GA          Partner       19       $520       $661     $798      $731      $722     $758



                    Partner       38       $754       $898     $950      $890      $902     $916

Chicago IL

                    Associate     42       $448       $549     $653      $562      $584     $619



                    Partner       16       $749       $884    $1,170     $1,007   $1,001    $998

Los Angeles CA

                    Associate     22       $525       $614     $789      $657      $633     $597



                    Partner       112     $1,295     $1,478   $1,650     $1,426   $1,294   $1,210

New York NY

                    Associate     195      $680       $874    $1,081     $879      $794     $715



                    Partner       37       $525       $610     $835      $705      $756     $655

Philadelphia PA

                    Associate     22       $325       $344     $533      $455      $420     $389



                    Partner       25       $475       $615     $703      $622      $651     $637

Pittsburgh PA

                    Associate     23       $325       $380     $451      $390      $454     $466



San Francisco CA    Partner       16       $795       $886    $1,108     $979      $927     $994



                    Partner       74       $720       $950    $1,097     $962      $950     $912

Washington DC

                    Associate     44       $449       $603     $856      $659      $588     $588




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38476
Corporate: Mergers, Acquisitions and Divestitures
Corporate
By Matter Type Mergers,
               and YOE  Acquisitions, and Divestitures
By Matter Type and YOE
2021—Real
2021      Rates
     - Real     for Partner
            Rates    for Partner                                            Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021     2020     2019
                                             Quartile            Quartile


Fewer Than 21 Years Non-Litigation     109    $609       $832    $1,287     $893     $847     $815



21 or More Years      Non-Litigation   191    $580       $827    $1,287     $943     $953     $961




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38477
Corporate: Mergers, Acquisitions and Divestitures
Corporate
By Matter Type Mergers,
               and YOE  Acquisitions, and Divestitures
By Matter Type and YOE
2021—Real
2021      Rates
     - Real     for Associate
            Rates    for Associate                                         Trend Analysis - Mean
                                             First               Third
Years of Experience   Matter Type      n               Median              2021     2020     2019
                                            Quartile            Quartile


Fewer Than 3 Years    Non-Litigation   28    $459       $515     $631      $540     $470     $519


3 to Fewer Than 7
                      Non-Litigation   59    $394       $525     $690      $583     $516     $498
Years


7 or More Years       Non-Litigation   80    $325       $543     $873      $591     $660     $665




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38478

Corporate       Mergers, Acquisitions, and Divestitures
Corporate: Mergers, Acquisitions and Divestitures
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                     for Associate                                                   Trend Analysis - Mean
                                                       First               Third
Firm Size       Matter Type      Role         n                  Median              2021        2020     2019
                                                      Quartile            Quartile


                                 Partner     23        $430       $502     $597      $506        $470     $515
50 Lawyers or
                Non-Litigation
Fewer
                                 Associate   19         $55       $55      $300      $163        $370     $345



                                 Partner     25        $423       $536     $731      $571        $612     $552
51-200
                Non-Litigation
Lawyers
                                 Associate   14        $262       $294     $399      $322        $377     $349



                                 Partner     65        $525       $592     $822      $665        $654     $668
201-500
                Non-Litigation
Lawyers
                                 Associate   44        $325       $420     $448      $424        $400     $379



                                 Partner     153       $662      $1,065   $1,449     $1,081     $1,038   $1,066
501-1,000
                Non-Litigation
Lawyers
                                 Associate   205       $536       $747     $955      $753        $666     $667



                                 Partner     155       $775      $1,018   $1,326     $1,071     $1,087   $1,077
More Than
              Non-Litigation
1,000 Lawyers
                                 Associate   154       $470       $653     $919      $698        $717     $672




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38479
Corporate: Other
Corporate:
By City    Other
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
                                      Quartile            Quartile


                    Partner     79     $454       $698     $937      $706     $703     $635

Atlanta GA

                    Associate   56     $346       $433     $578      $462     $493     $428



Austin TX           Partner     16     $396       $447     $543      $480     $469     $505



                    Partner     30     $551       $700     $836      $668     $699     $649

Baltimore MD

                    Associate   37     $392       $536     $675      $511     $526     $414



                    Partner     28     $348       $408     $456      $416     $439     $430

Birmingham AL

                    Associate   28     $275       $306     $339      $315     $332     $314



                    Partner     55     $525       $705     $867      $741     $728     $696

Boston MA

                    Associate   50     $390       $435     $610      $517     $483     $423



Charlotte NC        Partner     17     $475       $559     $676      $656     $682     $604



                    Partner     221    $755       $895    $1,102     $937     $895     $815

Chicago IL

                    Associate   211    $464       $561     $693      $579     $577     $534



                    Partner     32     $400       $525     $900      $632     $634     $591

Cleveland OH

                    Associate   21     $250       $295     $478      $353     $335     $352



                    Partner     24     $489       $628     $787      $661     $695     $695
Dallas TX
                    Associate
                                41     $390       $530     $740      $543     $554     $517




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38480
Corporate: Other
Corporate:
By City    Other
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                24     First
                                       $489       $628     Third
                                                           $787      $661     $695     $695
City                Role        n                Median              2021     2020     2019
                    Partner           Quartile            Quartile
Dallas TX
                    Associate   41     $390       $530     $740      $543     $554     $517



                    Partner     11     $474       $572     $681      $623     $528     $552

Denver CO

                    Associate   11     $379       $408     $623      $479     $346     $312



                    Partner     35     $546       $717    $1,032     $819     $789     $707

Houston TX

                    Associate   48     $375       $551     $670      $567     $491     $451



Indianapolis IN     Partner     11     $418       $470     $611      $528     $439     $455



Jackson MS          Associate   20      $55       $109     $240      $152     $154     $148



                    Partner     34     $450       $550     $610      $562     $535     $510

Kansas City MO

                    Associate   29     $314       $390     $450      $375     $329     $272



                    Partner     219    $610       $932    $1,170     $903     $871     $805

Los Angeles CA

                    Associate   215    $475       $637     $840      $661     $648     $557



                    Partner     42     $449       $500     $618      $503     $525     $528

Miami FL

                    Associate   19     $352       $413     $478      $407     $426     $380



Milwaukee WI        Partner     13     $388       $460     $533      $485     $543     $443



                    Partner     17     $540       $666     $715      $622     $601     $581
Minneapolis MN
                    Associate
                                11     $367       $410     $527      $437     $435     $420




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38481
Corporate: Other
Corporate:
By City    Other
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                              Trend Analysis - Mean
                                17     First
                                       $540       $666     Third
                                                           $715      $622      $601     $581
City                Role        n                Median              2021      2020     2019
                    Partner           Quartile            Quartile
Minneapolis MN
                    Associate   11     $367       $410     $527      $437      $435     $420



                    Partner     18     $305       $368     $422      $369      $367     $368

New Orleans LA

                    Associate   11     $233       $263     $302      $267      $281     $248



                    Partner     482    $759      $1,172   $1,445     $1,108   $1,095   $1,005

New York NY

                    Associate   609    $569       $750     $945      $757      $722     $651



                    Partner     23     $425       $475     $550      $496      $489     $461

Orlando FL

                    Associate   20     $161       $280     $344      $274      $253     $275



                    Partner     163    $585       $810     $931      $790      $780     $709

Philadelphia PA

                    Associate   152    $365       $440     $530      $464      $444     $419



                    Partner     26     $328       $440     $573      $471      $419     $385

Phoenix AZ

                    Associate   23     $253       $290     $336      $300      $270     $284



                    Partner     13     $398       $515     $858      $586      $530     $495

Pittsburgh PA

                    Associate   18     $309       $379     $538      $418      $382     $352



Portland OR         Associate   17     $300       $409     $467      $397      $356     $396



Raleigh NC          Partner     11     $383       $462     $518      $429      $478     $427

Richmond VA         Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38482
Corporate: Other
Corporate:
By City    Other
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
Raleigh NC          Partner           Quartile            Quartile


Richmond VA         Partner     11     $650       $717     $900      $784     $757     $679



                    Partner     39     $350       $524    $1,111     $710     $677     $551

San Diego CA

                    Associate   27     $200       $290     $414      $367     $353     $327



                    Partner     59     $545       $761     $961      $787     $794     $731

San Francisco CA

                    Associate   29     $377       $535     $736      $577     $582     $511



                    Partner     26     $810       $975    $1,043     $934     $829     $741

San Jose CA

                    Associate   22     $533       $692     $839      $658     $607     $501



                    Partner     41     $487       $650     $760      $644     $603     $559

Seattle WA

                    Associate   36     $402       $469     $565      $483     $426     $408



St. Louis MO        Partner     16     $225       $440     $548      $430     $465     $483



Tampa FL            Partner     13     $376       $415     $585      $483     $479     $484



                    Partner     474    $752       $934    $1,041     $919     $888     $832

Washington DC

                    Associate   424    $536       $670     $695      $650     $590     $542




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38483
Corporate: Other
Corporate:      Other
By Matter Type and YOE
By Matter Type and YOE
2021—Real Rates for Partner
2021 - Real Rates for Partner                                               Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021     2020     2019
                                             Quartile            Quartile


                      Litigation       248    $465       $701     $925      $713     $675     $627

Fewer Than 21 Years

                      Non-Litigation   431    $522       $795    $1,035     $815     $768     $734



                      Litigation       474    $540       $777     $991      $812     $766     $696

21 or More Years

                      Non-Litigation   842    $556       $846    $1,156     $887     $877     $817




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38484
Corporate: Other
Corporate:      Other
By Matter Type and YOE
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                             Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021     2020     2019
                                             Quartile            Quartile


                      Litigation       35     $294       $415     $545      $423     $428     $300

Fewer Than 3 Years

                      Non-Litigation   68     $335       $495     $585      $500     $506     $429



                      Litigation       93     $354       $490     $695      $517     $485     $400
3 to Fewer Than 7
Years
                      Non-Litigation   179    $340       $524     $710      $550     $495     $464



                      Litigation       151    $339       $475     $695      $517     $505     $471

7 or More Years

                      Non-Litigation   289    $400       $590     $840      $641     $623     $570




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38485
Corporate: Other
Corporate:       Other
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                         Trend Analysis - Mean
                                                      First               Third
Firm Size         Matter Type      Role         n               Median              2021       2020     2019
                                                     Quartile            Quartile


                                   Partner     94     $350       $423     $574      $465       $445     $414

                  Litigation

                                   Associate   59     $188       $275     $368      $283       $321     $316
50 Lawyers or
Fewer
                                   Partner     166    $319       $425     $533      $445       $429     $409

                  Non-Litigation

                                   Associate   98     $212       $275     $325      $286       $312     $293



                                   Partner     143    $357       $517     $731      $576       $532     $521

                  Litigation

                                   Associate   95     $265       $354     $450      $383       $383     $374

51-200 Lawyers

                                   Partner     167    $400       $533     $764      $596       $593     $576

                  Non-Litigation

                                   Associate   103    $300       $360     $514      $422       $393     $388



                                   Partner     199    $480       $610     $875      $677       $655     $619

                  Litigation

                                   Associate   174    $308       $416     $564      $455       $446     $416
201-500
Lawyers
                                   Partner     365    $481       $590     $836      $661       $662     $650

                  Non-Litigation

                                   Associate   268    $342       $448     $596      $481       $447     $441



                                   Partner     273    $655       $925    $1,050     $911       $857     $797

                  Litigation

                                   Associate   318    $463       $632     $699      $615       $562     $515
501-1,000
Lawyers
                                   Partner     462    $756       $950    $1,303     $1,027     $972     $926

                  Non-Litigation

                                   Associate   528    $526       $678     $829      $681       $633     $581



More Than                          Partner     236    $716       $895    $1,132     $940       $893     $789
1,000 Lawyers     Litigation
                                   Associate
                                               208    $440       $551     $715      $590       $548     $488



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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38486
Corporate: Other
Corporate:       Other
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                         Trend Analysis - Mean
                                                      First               Third
Firm Size         Matter Type      Role         n               Median              2021       2020     2019
                                   Partner           Quartile            Quartile
                  Litigation
                                   Associate   208    $440       $551     $715      $590       $548     $488
More Than
1,000 Lawyers
                                   Partner     501    $895      $1,065   $1,310     $1,103    $1,076    $978

                  Non-Litigation

                                   Associate   541    $552       $716     $910      $744       $717     $630




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38487
Corporate: Regulatory and Compliance
Corporate:
By City    Regulatory and Compliance
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                            Trend Analysis - Mean
                                      First               Third
City                Role        n               Median              2021     2020     2019
                                     Quartile            Quartile


                    Partner     20     $624      $766     $951      $795     $647     $575

Atlanta GA

                    Associate   12     $560      $773     $869      $726     $514     $303



                    Partner     24     $624      $661     $790      $689     $662     $687

Baltimore MD

                    Associate   25     $400      $475     $594      $491     $462     $454



Birmingham AL       Partner     14     $347      $445     $525      $447     $510     $511



Boston MA           Partner     19     $657      $747     $768      $781     $761     $725



                    Partner     74     $575      $825     $998      $789     $814     $775

Chicago IL

                    Associate   53     $410      $540     $685      $561     $617     $558



Denver CO           Partner     17     $453      $533     $653      $530     $531     $513



                    Partner     23     $410      $470     $565      $495     $510     $499

Kansas City MO

                    Associate   13     $280      $280     $340      $322     $307     $288



                    Partner     53     $770      $895    $1,042     $888     $898     $861

Los Angeles CA

                    Associate   81     $500      $600     $810      $630     $668     $648



                    Partner     22     $546      $700     $838      $704     $718     $694

Miami FL

                    Associate   12     $385      $541     $607      $501     $481     $542

Minneapolis MN      Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38488
Corporate: Regulatory and Compliance
Corporate:
By City    Regulatory and Compliance
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                              Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021      2020     2019
Miami FL            Associate         Quartile            Quartile


Minneapolis MN      Partner     12     $604       $679     $792      $655      $624     $664



                    Partner     28     $411       $502     $589      $506      $473     $457

Nashville TN

                    Associate   26     $254       $325     $368      $328      $295     $287



                    Partner     130    $651      $1,054   $1,366     $1,043    $981    $1,010

New York NY

                    Associate   155    $460       $652     $816      $684      $646     $639



                    Partner     54     $669       $830     $904      $803      $710     $685

Philadelphia PA

                    Associate   39     $387       $510     $565      $527      $432     $415



                    Partner     23     $510       $632     $780      $637      $660     $651

Pittsburgh PA

                    Associate   26     $366       $411     $464      $403      $427     $408



Portland OR         Partner     15     $555       $627     $650      $570      $538     $540



Richmond VA         Partner     11     $360       $492     $706      $541      $453     $454



San Francisco CA    Partner     33     $480       $641     $725      $662      $775     $727



                    Partner     33     $576       $725     $835      $730      $697     $582

Seattle WA

                    Associate   27     $335       $503     $526      $455      $401     $372



                    Partner     382    $637       $840    $1,027     $858      $850     $812
Washington DC
                    Associate
                                296    $453       $565     $695      $585      $578     $527




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38489
Corporate: Regulatory and Compliance
Corporate:
By City    Regulatory and Compliance
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
                    Partner           Quartile            Quartile
Washington DC
                    Associate   296    $453       $565     $695      $585     $578     $527




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38490
Corporate: Regulatory and Compliance
Corporate:      Regulatory
By Matter Type and YOE     and Compliance
By Matter Type and YOE
2021—Real Rates for Partner
2021 - Real Rates for Partner                                               Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021     2020     2019
                                             Quartile            Quartile


                      Litigation       71     $626       $835     $991      $822     $768     $714

Fewer Than 21 Years

                      Non-Litigation   240    $492       $668     $897      $727     $697     $682



                      Litigation       136    $630       $830    $1,050     $863     $825     $842

21 or More Years

                      Non-Litigation   414    $574       $703     $950      $776     $770     $740




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38491
Corporate: Regulatory and Compliance
Corporate:      Regulatory
By Matter Type and YOE     and Compliance
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                             Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021     2020     2019
                                             Quartile            Quartile


                      Litigation       12     $320       $432     $556      $519     $529     $363

Fewer Than 3 Years

                      Non-Litigation   50     $401       $482     $591      $518     $419     $373



                      Litigation       45     $404       $595     $750      $602     $560     $491
3 to Fewer Than 7
Years
                      Non-Litigation   129    $358       $487     $618      $512     $495     $448



                      Litigation       60     $487       $595     $838      $648     $621     $559

7 or More Years

                      Non-Litigation   142    $425       $590     $774      $613     $585     $541




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38492
Corporate: Regulatory and Compliance
Corporate:       Regulatory and Compliance
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021      2020     2019
                                                   Quartile            Quartile


                                 Partner     16     $440       $524     $705      $657      $671     $509

                Litigation

                                 Associate   11     $278       $320     $750      $490      $480     $366
50 Lawyers or
Fewer
                                 Partner     109    $456       $560     $620      $537      $532     $502

                Non-Litigation

                                 Associate   57     $280       $330     $370      $321      $339     $329



                Litigation       Partner     20     $547       $743     $861      $706      $637     $649


51-200
                                 Partner     103    $386       $476     $693      $556      $564     $527
Lawyers
                Non-Litigation

                                 Associate   81     $287       $385     $478      $412      $407     $355



                                 Partner     57     $525       $648     $900      $703      $653     $653

                Litigation

                                 Associate   35     $354       $565     $677      $525      $473     $443
201-500
Lawyers
                                 Partner     158    $479       $610     $737      $625      $617     $628

                Non-Litigation

                                 Associate   86     $339       $450     $502      $445      $399     $397



                                 Partner     106    $676       $947    $1,188     $946      $938     $903

                Litigation

                                 Associate   99     $452       $616     $823      $634      $593     $574
501-1,000
Lawyers
                                 Partner     267    $701       $884    $1,065     $933      $872     $851

                Non-Litigation

                                 Associate   248    $457       $565     $694      $617      $561     $535



                                 Partner     77     $820       $900    $1,123     $972      $940     $915

                Litigation

More Than                        Associate   105    $465       $550     $705      $586      $615     $555
1,000 Lawyers
                Non-Litigation   Partner




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38493
Corporate: Regulatory and Compliance
Corporate:       Regulatory and Compliance
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021      2020     2019
                Litigation       Associate         Quartile            Quartile
More Than
1,000 Lawyers                    Partner     221    $755       $899    $1,069     $912      $923     $888

                Non-Litigation

                                 Associate   181    $496       $614     $747      $629      $611     $573




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38494
Employment and Labor
Employment
By City    and Labor
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
                                      Quartile            Quartile


                    Partner     75     $390       $468     $595      $497     $500     $469

Atlanta GA

                    Associate   50     $284       $331     $370      $329     $323     $307



                    Partner     26     $498       $613     $745      $645     $546     $576

Baltimore MD

                    Associate   24     $394       $475     $600      $514     $457     $444



Birmingham AL       Partner     13     $375       $450     $475      $430     $415     $378



                    Partner     27     $400       $486     $690      $533     $577     $561

Boston MA

                    Associate   27     $375       $475     $500      $460     $501     $418



Charlotte NC        Associate   11     $225       $303     $355      $303     $302     $332



                    Partner     113    $475       $650     $780      $699     $673     $666

Chicago IL

                    Associate   89     $310       $390     $495      $424     $443     $406



                    Partner     44     $374       $400     $498      $466     $465     $452

Cleveland OH

                    Associate   34     $260       $295     $300      $311     $310     $299



                    Partner     43     $394       $507     $618      $509     $545     $503

Dallas TX

                    Associate   24     $323       $350     $419      $405     $412     $367



                    Partner     32     $446       $539     $635      $542     $537     $519
Denver CO
                    Associate
                                12     $272       $298     $324      $287     $324     $334




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38495
Employment and Labor
Employment
By City    and Labor
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                32     First
                                       $446       $539     Third
                                                           $635      $542     $537     $519
City                Role        n                Median              2021     2020     2019
                    Partner           Quartile            Quartile
Denver CO
                    Associate   12     $272       $298     $324      $287     $324     $334



Greenville SC       Partner     16     $375       $430     $494      $436     $426     $446



                    Partner     24     $468       $531     $633      $556     $599     $571

Houston TX

                    Associate   12     $325       $348     $394      $372     $395     $388



Indianapolis IN     Partner     13     $378       $425     $510      $445     $470     $419



                    Partner     18     $383       $404     $456      $429     $411     $416

Kansas City MO

                    Associate   17     $250       $320     $325      $299     $293     $292



                    Partner     108    $500       $655     $855      $703     $666     $635

Los Angeles CA

                    Associate   104    $350       $423     $580      $492     $488     $456



Memphis TN          Partner     12     $330       $380     $432      $386     $390     $386



                    Partner     16     $455       $486     $768      $590     $615     $560

Miami FL

                    Associate   19     $289       $336     $499      $397     $413     $334



                    Partner     32     $456       $565     $690      $561     $555     $532

Minneapolis MN

                    Associate   19     $314       $351     $453      $388     $441     $358



                    Partner     29     $378       $441     $470      $432     $437     $400
Nashville TN
                    Associate
                                17     $252       $297     $311      $291     $284     $260




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38496
Employment and Labor
Employment
By City    and Labor
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                29     First
                                       $378       $441     Third
                                                           $470      $432     $437     $400
City                Role        n                Median              2021     2020     2019
                    Partner           Quartile            Quartile
Nashville TN
                    Associate   17     $252       $297     $311      $291     $284     $260



New Orleans LA      Associate   12     $312       $340     $390      $349     $368     $323



                    Partner     239    $469       $570     $794      $673     $662     $717

New York NY

                    Associate   179    $315       $376     $571      $477     $455     $489



                    Partner     13     $421       $474     $482      $459     $469     $480

Orlando FL

                    Associate   12     $280       $325     $383      $324     $304     $289



                    Partner     107    $500       $678     $810      $679     $680     $640

Philadelphia PA

                    Associate   118    $398       $450     $500      $449     $424     $387



                    Partner     27     $515       $612     $656      $622     $570     $557

Pittsburgh PA

                    Associate   23     $315       $350     $380      $351     $354     $339



Portland OR         Associate   26     $302       $336     $383      $355     $353     $333



                    Partner     17     $421       $446     $518      $550     $553     $449

San Diego CA

                    Associate   18     $300       $338     $380      $364     $369     $343



                    Partner     61     $390       $560     $650      $557     $562     $561

San Francisco CA

                    Associate   47     $287       $325     $414      $361     $382     $370

San Jose CA         Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38497
Employment and Labor
Employment
By City    and Labor
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
San Francisco CA    Associate         Quartile            Quartile


San Jose CA         Partner     18     $599       $680     $784      $706     $733     $695



                    Partner     41     $401       $467     $619      $510     $534     $534

Seattle WA

                    Associate   38     $300       $376     $533      $441     $401     $423



St. Louis MO        Partner     16     $406       $475     $571      $501     $529     $505



Tampa FL            Partner     14     $349       $385     $475      $441     $466     $406



                    Partner     147    $600       $715     $825      $740     $758     $726

Washington DC

                    Associate   106    $390       $505     $625      $515     $510     $476




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38498
Employment and Labor
Employment
By Matter Type and and
                   YOE Labor
By Matter Type and YOE
2021—Real Rates for Partner
2021 - Real Rates for Partner                                                Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021    2020     2019
                                             Quartile            Quartile


                      Litigation       168    $350       $467     $624      $514    $498      $484

Fewer Than 21 Years

                      Non-Litigation   313    $395       $480     $640      $549    $528      $511



                      Litigation       334    $408       $545     $733      $605    $597      $604

21 or More Years

                      Non-Litigation   586    $465       $563     $700      $619    $632      $605




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38499
Employment and Labor
Employment
By Matter Type and and
                   YOE Labor
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                              Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021    2020     2019
                                             Quartile            Quartile


                      Litigation       34     $270       $317     $425      $352    $324      $300

Fewer Than 3 Years

                      Non-Litigation   34     $270       $325     $400      $361    $396      $340



                      Litigation       76     $293       $350     $440      $376    $357      $323
3 to Fewer Than 7
Years
                      Non-Litigation   138    $304       $357     $458      $396    $371      $355



                      Litigation       161    $315       $364     $460      $397    $406      $401

7 or More Years

                      Non-Litigation   224    $315       $367     $495      $413    $414      $397




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38500
Employment and Labor
Employment         and Labor
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021     2020     2019
                                                   Quartile            Quartile


                                 Partner     65     $290       $360     $490      $404     $399     $406

                Litigation

                                 Associate   51     $250       $292     $346      $310     $304     $294
50 Lawyers or
Fewer
                                 Partner     49     $371       $425     $508      $443     $443     $423

                Non-Litigation

                                 Associate   27     $215       $295     $311      $277     $272     $290



                                 Partner     64     $300       $385     $504      $432     $428     $429

                Litigation

                                 Associate   43     $230       $283     $328      $297     $315     $310
51-200
Lawyers
                                 Partner     134    $420       $579     $702      $578     $555     $534

                Non-Litigation

                                 Associate   82     $250       $302     $420      $355     $359     $333



                                 Partner     159    $396       $470     $580      $502     $519     $519

                Litigation

                                 Associate   122    $307       $344     $415      $384     $381     $380
201-500
Lawyers
                                 Partner     238    $381       $450     $549      $485     $493     $491

                Non-Litigation

                                 Associate   129    $295       $324     $390      $349     $350     $359



                                 Partner     203    $415       $538     $741      $645     $599     $627

                Litigation

                                 Associate   153    $300       $330     $433      $408     $416     $406
501-1,000
Lawyers
                                 Partner     403    $467       $515     $648      $583     $578     $593

                Non-Litigation

                                 Associate   287    $306       $332     $417      $400     $392     $388



More Than                        Partner     133    $645       $778     $900      $782     $795     $755
1,000 Lawyers   Litigation
                                 Associate
                                             144    $407       $484     $552      $498     $509     $460



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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38501
Employment and Labor
Employment         and Labor
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021     2020     2019
                                 Partner           Quartile            Quartile
                Litigation
                                 Associate   144    $407       $484     $552      $498     $509     $460
More Than
1,000 Lawyers
                                 Partner     224    $631       $720     $875      $787     $803     $757

                Non-Litigation

                                 Associate   229    $390       $470     $550      $502     $491     $450




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38502
Environmental
Environmental
By City
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                            Trend Analysis - Mean
                                      First               Third
City                Role        n               Median              2021     2020     2019
                                     Quartile            Quartile


                    Partner     23     $390      $535     $630      $563     $647     $504

New York NY

                    Associate   20     $295      $390     $406      $443     $514     $343



                    Partner     20     $578      $751     $891      $729     $793     $764

Washington DC

                    Associate   15     $348      $386     $508      $475     $544     $465




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38503
Environmental
Environmental
By Matter Type and YOE
By Matter Type and YOE
2021—Real
2021      Rates
     - Real     for Partner
            Rates    for Partner                                               Trend Analysis - Mean
                                                First               Third
Years of Experience      Matter Type      n               Median              2021    2020     2019
                                               Quartile            Quartile


                         Litigation       13    $350       $385     $525      $443    $456      $454

Fewer Than 21 Years

                         Non-Litigation   15    $408       $425     $513      $491    $433      $438



                         Litigation       37    $415       $575     $635      $543    $540      $554

21 or More Years

                         Non-Litigation   60    $445       $550     $774      $626    $645      $567




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Section
Section III:
          III:Practice
                 PracticeArea
                           AreaAnalysis
                                 Analysis
                                    #:38504
Environmental
Environmental
By Matter Type and YOE
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                             Trend Analysis - Mean
                         Matter             First               Third
Years of Experience                   n               Median              2021    2020     2019
                         Type              Quartile            Quartile


7 or More Years          Litigation   13    $314       $370     $425      $369    $361     $375




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38505

Environmental
Environmental
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                      for Associate                                                  Trend Analysis - Mean
                                                       First               Third
Firm Size        Matter Type      Role        n                  Median              2021     2020     2019
                                                      Quartile            Quartile


                 Litigation       Partner     18       $343       $405     $554      $445     $462     $467



51-200 Lawyers                    Partner     40       $390       $475     $550      $508     $489     $484

                 Non-Litigation

                                  Associate   19       $283       $295     $372      $345     $312     $296



                                  Partner     19       $538       $595     $635      $583     $543     $548

                 Litigation
201-500
                                  Associate   12       $380       $400     $400      $398     $368     $349
Lawyers


                 Non-Litigation   Partner     19       $539       $620     $696      $659     $627     $540



                                  Partner     15       $496       $610     $638      $588     $591     $668

                 Litigation
501-1,000
                                  Associate   15       $355       $400     $471      $409     $394     $417
Lawyers


                 Non-Litigation   Partner     15       $530       $774     $893      $717     $719     $678




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Section
Section III:
          III:Practice
                 PracticeArea
                           AreaAnalysis
                                 Analysis
                                    #:38506
Finance and Securities
Finance
By City and Securities
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                           Trend Analysis - Mean
                                      First               Third
City               Role         n               Median              2021     2020     2019
                                     Quartile            Quartile


                   Partner     47     $650       $739     $925      $788     $854     $822

Atlanta GA

                   Associate   50     $403       $522     $660      $538     $529     $518



Baltimore MD       Partner     23     $475       $585     $785      $666     $613     $629



                   Partner     14     $324       $325     $429      $362     $393     $387

Birmingham AL

                   Associate   11     $270       $276     $320      $289     $309     $309



                   Partner     52     $735       $961    $1,245     $1,013   $977     $951

Boston MA

                   Associate   60     $447       $591     $842      $634     $671     $599



                   Partner     42     $624       $743     $902      $789     $709     $727

Charlotte NC

                   Associate   33     $349       $423     $615      $526     $442     $471



                   Partner     216    $775      $1,001   $1,275     $1,032   $998     $975

Chicago IL

                   Associate   204    $504       $610     $791      $653     $639     $597



Cincinnati OH      Associate   18     $225       $267     $295      $264     $255     $244



Cleveland OH       Partner     53     $450       $495     $640      $583     $552     $547



Columbus OH        Partner     12     $400       $540     $590      $506     $449     $461



                   Partner     34     $525       $795    $1,275     $901     $857     $792
Dallas TX
                   Associate
                               47     $483       $612     $791      $614     $621     $559




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Section
Section III:
          III:Practice
                 PracticeArea
                           AreaAnalysis
                                 Analysis
                                    #:38507
Finance and Securities
Finance
By City and Securities
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                34      First
                                        $525       $795      Third
                                                            $1,275    $901     $857     $792
City               Role         n                 Median              2021     2020     2019
                   Partner             Quartile            Quartile
Dallas TX
                   Associate    47      $483       $612     $791      $614     $621     $559



Denver CO          Partner      24      $374       $433     $543      $542     $550     $539



                   Partner      24      $931      $1,319   $1,447     $1,215   $1,102   $1,033

Houston TX

                   Associate    20      $450       $575     $767      $628     $616     $486



                   Partner      26      $441       $492     $616      $534     $472     $452

Kansas City MO

                   Associate    18      $312       $355     $393      $349     $331     $294



                   Partner     181      $795      $1,065   $1,392     $1,096   $1,072   $1,007

Los Angeles CA

                   Associate   300      $622       $850    $1,038     $836     $782     $735



                   Partner      42      $540       $625     $761      $670     $700     $650

Miami FL

                   Associate    17      $357       $393     $515      $415     $434     $424



                   Partner      20      $634       $764     $821      $730     $706     $631

Minneapolis MN

                   Associate    17      $363       $531     $609      $521     $519     $499



                   Partner     754      $943      $1,286   $1,590     $1,260   $1,215   $1,108

New York NY

                   Associate   1,098    $600       $825    $1,019     $813     $771     $693



Orlando FL         Partner      11      $493       $765     $888      $712     $701     $672

Philadelphia PA    Partner




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Finance and Securities
Finance
By City and Securities
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                          Trend Analysis - Mean
                                     First               Third
City               Role        n               Median              2021     2020     2019
Orlando FL         Partner          Quartile            Quartile


                   Partner     89     $710      $850     $992      $887     $827     $798

Philadelphia PA

                   Associate   76     $395      $472     $560      $501     $465     $477



                   Partner     25     $380      $425     $525      $477     $453     $463

Phoenix AZ

                   Associate   16     $215      $265     $302      $263     $227     $227



                   Partner     42     $586      $740     $925      $741     $686     $614

Pittsburgh PA

                   Associate   34     $365      $454     $506      $436     $403     $390



                   Partner     14     $485      $505     $585      $547     $521     $437

Portland OR

                   Associate   17     $311      $404     $445      $397     $321     $285



Richmond VA        Partner     32     $686      $784     $918      $810     $781     $748



San Diego CA       Partner     15     $352      $602    $1,058     $740     $742     $973



                   Partner     42     $764      $983    $1,171     $1,023   $1,066   $919

San Francisco CA

                   Associate   35     $535      $608     $863      $663     $719     $645



San Jose CA        Partner     16    $1,050    $1,320   $1,610     $1,222   $1,225   $1,053



                   Partner     28     $475      $534     $700      $605     $568     $553

Seattle WA

                   Associate   27     $330      $472     $549      $476     $490     $410

Washington DC      Partner




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                                 Analysis
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Finance and Securities
Finance
By City and Securities
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                           Trend Analysis - Mean
                                      First               Third
City               Role         n               Median              2021     2020     2019
Seattle WA         Associate         Quartile            Quartile


                   Partner     198    $795       $960    $1,264     $1,035   $989     $951

Washington DC

                   Associate   129    $495       $690     $875      $702     $643     $607




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38510
Finance and Securities
Finance    and
By Matter Type andSecurities
                   YOE
By Matter Type and YOE
2021—Real Rates for Partner
2021 - Real Rates for Partner                                                Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021       2020     2019
                                             Quartile            Quartile


                      Litigation       66     $454       $609     $725      $642       $591     $655

Fewer Than 21 Years

                      Non-Litigation   563    $551       $814    $1,269     $919       $881     $840



                      Litigation       102    $545       $676     $978      $752       $810     $797

21 or More Years

                      Non-Litigation   949    $690       $990    $1,446     $1,052     $1,009   $944




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Section III: Practice Area Analysis
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Finance and Securities
Finance    and
By Matter Type andSecurities
                   YOE
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                             Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021     2020     2019
                                             Quartile            Quartile


Fewer Than 3 Years    Non-Litigation   143    $410       $546     $719      $588     $500     $449



                      Litigation       17     $301       $330     $392      $384     $342     $384
3 to Fewer Than 7
Years
                      Non-Litigation   257    $338       $495     $763      $577     $521     $454



                      Litigation       26     $424       $529     $680      $540     $488     $481

7 or More Years

                      Non-Litigation   357    $480       $685     $992      $733     $735     $692




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Section III: Practice Area Analysis
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Finance and Securities
Finance     and Securities
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021        2020     2019
                                                   Quartile            Quartile


                                 Partner     19     $378       $390     $472      $487        $465     $405

                Litigation

                                 Associate   12     $206       $325     $375      $297        $335     $298
50 Lawyers or
Fewer
                                 Partner     126    $345       $495     $659      $526        $496     $482

                Non-Litigation

                                 Associate   72     $275       $330     $441      $381        $351     $322



                                 Partner     27     $334       $408     $704      $495        $558     $530

                Litigation

                                 Associate   16     $210       $397     $528      $398        $402     $387
51-200
Lawyers
                                 Partner     263    $418       $525     $750      $604        $583     $562

                Non-Litigation

                                 Associate   188    $270       $350     $488      $408        $386     $362



                                 Partner     57     $430       $550     $630      $583        $585     $617

                Litigation

                                 Associate   53     $286       $310     $364      $331        $346     $379
201-500
Lawyers
                                 Partner     381    $537       $750    $1,111     $844        $813     $788

                Non-Litigation

                                 Associate   325    $340       $500     $721      $556        $542     $526



                                 Partner     60     $641       $813    $1,110     $920        $889     $904

                Litigation

                                 Associate   56     $397       $519     $613      $532        $496     $509
501-1,000
Lawyers
                                 Partner     589    $851      $1,115   $1,520     $1,181     $1,118   $1,036

                Non-Litigation

                                 Associate   828    $562       $750     $980      $785        $730     $667



More Than                        Partner     51     $633       $724     $999      $833        $922     $955
1,000 Lawyers   Litigation
                                 Associate
                                             44     $429       $533     $690      $575        $564     $530



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Finance and Securities
Finance     and Securities
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021        2020     2019
                                 Partner           Quartile            Quartile
                Litigation
                                 Associate   44     $429       $533     $690      $575        $564     $530
More Than
1,000 Lawyers
                                 Partner     681    $935      $1,185   $1,479     $1,207     $1,139   $1,080

                Non-Litigation

                                 Associate   825    $600       $825    $1,010     $812        $770     $705




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                                 Analysis
                                    #:38514
General Liability - Litigation Only
General
By City Liability - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                          Trend Analysis - Mean
                                       First               Third
City               Role        n                 Median              2021    2020     2019
                                      Quartile            Quartile


                   Partner     24      $210       $230     $530      $395    $435     $420

Atlanta GA

                   Associate   19      $181       $210     $235      $273    $281     $281



                   Partner     18      $598       $625     $678      $628    $592     $582

Baltimore MD

                   Associate   30      $400       $536     $588      $508    $471     $435



                   Partner     24      $295       $350     $480      $384    $358     $320

Birmingham AL

                   Associate   15      $239       $300     $300      $276    $279     $220



                   Partner     20      $185       $282     $473      $383    $359     $367

Boston MA

                   Associate   19      $173       $185     $365      $302    $321     $277



Charleston WV      Partner     13      $200       $268     $310      $267    $264     $258



                   Partner     42      $214       $274     $910      $504    $491     $560

Chicago IL

                   Associate   37      $225       $250     $591      $415    $299     $322



Cleveland OH       Partner     11      $450       $560     $740      $575    $588     $561



Dallas TX          Partner     11      $185       $275     $505      $333    $320     $325



                   Partner     14      $210       $288     $341      $288    $321     $294

Detroit MI

                   Associate   14      $141       $215     $235      $211    $262     $233

Houston TX         Partner




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                                 Analysis
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General Liability - Litigation Only
General
By City Liability - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                          Trend Analysis - Mean
                                       First               Third
City               Role        n                 Median              2021    2020     2019
Detroit MI         Associate          Quartile            Quartile


Houston TX         Partner     11      $320       $400     $715      $478    $513     $429



Indianapolis IN    Partner     14      $220       $220     $318      $319    $351     $289



                   Partner     45      $319       $353     $397      $383    $373     $344

Jackson MS

                   Associate   38      $225       $248     $251      $249    $250     $232



                   Partner     16      $318       $425     $569      $436    $467     $491

Kansas City MO

                   Associate   15      $251       $300     $348      $292    $320     $310



                   Partner     44      $304       $638     $965      $654    $535     $592

Los Angeles CA

                   Associate   43      $287       $475     $719      $504    $407     $381



Miami FL           Partner     16      $156       $165     $280      $261    $258     $348



Milwaukee WI       Partner     11      $261       $375     $492      $382    $303     $306



                   Partner     13      $315       $380     $450      $400    $375     $330

Minneapolis MN

                   Associate   17      $215       $250     $295      $257    $255     $255



Nashville TN       Partner     12      $273       $283     $375      $320    $306     $309



                   Partner     29      $275       $305     $330      $301    $308     $294

New Orleans LA

                   Associate   26      $200       $238     $238      $222    $222     $225

New York NY        Partner




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General Liability - Litigation Only
General
By City Liability - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                          Trend Analysis - Mean
                                       First               Third
City               Role        n                 Median              2021    2020     2019
New Orleans LA     Associate          Quartile            Quartile


                   Partner     92      $295       $583     $716      $601    $521     $487

New York NY

                   Associate   95      $223       $375     $473      $409    $388     $364



                   Partner     51      $390       $525     $715      $561    $507     $493

Philadelphia PA

                   Associate   64      $350       $430     $565      $426    $390     $346



                   Partner     13      $200       $275     $439      $356    $287     $232

Phoenix AZ

                   Associate   13      $175       $215     $225      $235    $198     $191



Pittsburgh PA      Associate   11      $270       $322     $413      $337    $353     $301



                   Partner     11      $275       $295     $333      $305    $276     $273

Portland OR

                   Associate   11      $276       $308     $363      $322    $309     $271



Raleigh NC         Associate   11      $165       $275     $450      $324    $405     $233



Richmond VA        Partner     20      $238       $309     $519      $391    $420     $439



                   Partner     11      $256       $353     $437      $466    $386     $514

San Francisco CA

                   Associate   18      $243       $314     $430      $390    $411     $295



                   Partner     14      $340       $405     $496      $419    $402     $374

Seattle WA

                   Associate   11      $275       $315     $519      $372    $323     $326

St. Louis MO       Partner




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General Liability - Litigation Only
General
By City Liability - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City               Role        n                 Median              2021    2020     2019
Seattle WA         Associate          Quartile            Quartile


St. Louis MO       Partner     23      $300       $378     $446      $382    $360     $364



                   Partner     57      $774       $895     $950      $897    $830     $838

Washington DC

                   Associate   46      $429       $625     $695      $568    $552     $544




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                                Analysis
                                    #:38518
General Liability - Litigation Only
General    Liability
By Matter Type and YOE - Litigation Only
By Matter Type and YOE
2021—Real Rates for Partner
2021 - Real Rates for Partner                                           Trend Analysis - Mean
                      Matter              First               Third
Years of Experience                 n               Median              2021    2020     2019
                      Type               Quartile            Quartile


Fewer Than 21 Years Litigation     213     $270      $353     $658      $474    $429     $426



21 or More Years      Litigation   415     $275      $420     $635      $497    $468     $453




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                                Analysis
                                    #:38519
General Liability - Litigation Only
General    Liability
By Matter Type and YOE - Litigation Only
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                         Trend Analysis - Mean
                      Matter              First               Third
Years of Experience                 n               Median              2021    2020     2019
                      Type               Quartile            Quartile


Fewer Than 3 Years    Litigation   17      $208      $277     $380      $298    $296     $208


3 to Fewer Than 7
                      Litigation   85      $247      $374     $543      $404    $362     $334
Years


7 or More Years       Litigation   168     $243      $350     $510      $399    $356     $339




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Section III: Practice Area Analysis #:38520
General Liability - Litigation Only
General
By Firm SizeLiability   - Litigation Only
            and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                   Trend Analysis - Mean
                Matter                          First               Third
Firm Size                    Role         n               Median              2021     2020    2019
                Type                           Quartile            Quartile


                             Partner     208    $200       $263     $320      $276     $262     $257
50 Lawyers or
                Litigation
Fewer
                             Associate   147    $175       $210     $249      $220     $202     $205



                             Partner     234    $215       $305     $375      $320     $317     $312
51-200
                Litigation
Lawyers
                             Associate   184    $194       $225     $255      $233     $226     $218



                             Partner     141    $342       $488     $613      $511     $492     $468
201-500
                Litigation
Lawyers
                             Associate   122    $254       $318     $400      $337     $313     $293



                             Partner     131    $525       $625     $873      $715     $665     $622
501-1,000
                Litigation
Lawyers
                             Associate   125    $366       $475     $627      $497     $448     $407



                             Partner     105    $743       $895    $1,051     $918     $847     $839
More Than
                Litigation
1,000 Lawyers
                             Associate   129    $430       $565     $719      $579     $581     $542




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                                 Analysis
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Insurance Defense - Litigation Only
Insurance
 By City  Defense - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                          Trend Analysis - Mean
                                      First               Third
City               Role         n               Median              2021    2020     2019
                                     Quartile            Quartile


Albany NY          Partner     11     $150       $195     $200      $185    $177     $166



Albuquerque NM     Partner     23     $170       $175     $185      $179    $185     $177



                   Partner     87     $180       $205     $245      $223    $257     $259

Atlanta GA

                   Associate   126    $155       $180     $220      $195    $200     $195



                   Partner     39     $170       $175     $195      $201    $231     $361

Baltimore MD

                   Associate   39     $147       $150     $170      $161    $188     $173



Baton Rouge LA     Partner     12     $157       $188     $208      $188    $177     $167



                   Partner     43     $165       $180     $242      $315    $225     $255

Birmingham AL

                   Associate   21     $155       $155     $194      $173    $167     $189



                   Partner     58     $170       $200     $220      $235    $236     $244

Boston MA

                   Associate   45     $155       $175     $188      $243    $251     $197



                   Partner     66     $160       $175     $195      $179    $174     $169

Buffalo NY

                   Associate   64     $145       $150     $162      $151    $150     $149



                   Partner     16     $170       $185     $229      $200    $193     $200

Charleston SC

                   Associate   19     $145       $158     $165      $155    $150     $147

Charleston WV      Partner




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                                  Analysis
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Insurance Defense - Litigation Only
Insurance
 By City  Defense - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
Charleston SC       Associate         Quartile            Quartile


                    Partner     62     $160       $175     $180      $193     $192     $183

Charleston WV

                    Associate   14     $150       $165     $176      $180     $188     $171



                    Partner     28     $180       $185     $270      $220     $193     $222

Charlotte NC

                    Associate   12     $151       $168     $219      $197     $173     $185



                    Partner     194    $180       $220     $275      $251     $266     $274

Chicago IL

                    Associate   170    $160       $180     $220      $208     $228     $233



                    Partner     20     $155       $160     $180      $178     $182     $188

Cincinnati OH

                    Associate   18     $155       $155     $215      $174     $159     $163



                    Partner     45     $170       $180     $180      $184     $181     $184

Cleveland OH

                    Associate   41     $160       $160     $175      $164     $163     $161



                    Partner     50     $180       $180     $184      $181     $173     $172

Columbia SC

                    Associate   46     $160       $160     $165      $166     $157     $153



                    Partner     25     $170       $170     $170      $172     $174     $175

Columbus OH

                    Associate   12     $135       $145     $155      $154     $150     $155



                    Partner     62     $183       $215     $273      $265     $243     $246
Dallas TX
                    Associate
                                39     $165       $171     $200      $206     $195     $192




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                                  Analysis
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Insurance Defense - Litigation Only
Insurance
 By City  Defense - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
                    Partner           Quartile            Quartile
Dallas TX
                    Associate   39     $165       $171     $200      $206     $195     $192



                    Partner     36     $160       $175     $205      $190     $184     $192

Denver CO

                    Associate   36     $140       $150     $170      $160     $164     $166



Des Moines IA       Partner     14     $160       $170     $200      $178     $175     $177



                    Partner     115    $160       $173     $175      $195     $175     $174

Detroit MI

                    Associate   110    $143       $162     $162      $167     $153     $148



Greenville SC       Partner     13     $178       $180     $446      $529     $319     $379



                    Partner     23     $162       $168     $205      $179     $179     $174

Harrisburg PA

                    Associate   16     $140       $140     $176      $155     $152     $150



                    Partner     16     $192       $392     $511      $356     $269     $280

Hartford CT

                    Associate   13     $175       $176     $259      $221     $206     $226



Honolulu HI         Partner     12     $150       $165     $223      $183     $186     $183



                    Partner     47     $195       $235     $270      $309     $302     $315

Houston TX

                    Associate   38     $179       $200     $231      $227     $227     $199



                    Partner     27     $145       $157     $184      $161     $172     $185
Indianapolis IN
                    Associate




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                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38524
Insurance Defense - Litigation Only
Insurance
 By City  Defense - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
                    Partner           Quartile            Quartile
Indianapolis IN
                    Associate   12     $120       $135     $150      $141     $138     $154



Jackson MS          Partner     26     $141       $180     $245      $193     $194     $196



                    Partner     15     $180       $180     $180      $180     $180     $179

Jacksonville FL

                    Associate   12     $170       $170     $170      $167     $164     $159



                    Partner     43     $165       $225     $262      $224     $198     $203

Kansas City MO

                    Associate   45     $145       $185     $200      $184     $179     $176



Lafayette LA        Partner     14     $195       $200     $200      $186     $188     $190



                    Partner     31     $185       $190     $226      $204     $199     $198

Las Vegas NV

                    Associate   25     $165       $173     $176      $176     $174     $167



                    Partner     19     $160       $160     $160      $164     $162     $161

Lexington KY

                    Associate   24     $139       $140     $140      $140     $138     $134



                    Partner     241    $225       $240     $259      $293     $323     $315

Los Angeles CA

                    Associate   219    $185       $195     $220      $228     $217     $214



                    Partner     16     $131       $150     $150      $166     $156     $159

Louisville KY

                    Associate   15     $120       $124     $140      $130     $138     $135

Miami FL            Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38525
Insurance Defense - Litigation Only
Insurance
 By City  Defense - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
Louisville KY       Associate         Quartile            Quartile


                    Partner     93     $175       $180     $215      $238     $226     $233

Miami FL

                    Associate   78     $154       $170     $185      $178     $167     $164



Milwaukee WI        Partner     19     $178       $185     $203      $194     $194     $185



                    Partner     69     $160       $180     $225      $205     $203     $214

Minneapolis MN

                    Associate   51     $150       $165     $185      $175     $182     $187



Morgantown WV       Partner     12     $160       $160     $180      $170     $171     $167



                    Partner     21     $161       $175     $185      $189     $168     $155

Nashville TN

                    Associate   15     $135       $148     $165      $143     $129     $134



                    Partner     44     $164       $175     $220      $200     $249     $222

New Orleans LA

                    Associate   21     $129       $159     $165      $151     $157     $156



                    Partner     299    $175       $200     $231      $265     $263     $267

New York NY

                    Associate   262    $158       $175     $200      $249     $216     $200



Oklahoma City OK Partner        22     $155       $275     $350      $276     $256     $181



                    Partner     38     $162       $165     $179      $181     $169     $163

Orlando FL

                    Associate   26     $136       $153     $159      $161     $152     $149

Peoria IL           Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38526
Insurance Defense - Litigation Only
Insurance
 By City  Defense - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
Orlando FL          Associate         Quartile            Quartile


Peoria IL           Partner     11     $160       $160     $166      $158     $159     $157



                    Partner     218    $175       $185     $215      $215     $234     $245

Philadelphia PA

                    Associate   201    $158       $170     $195      $197     $199     $203



                    Partner     83     $175       $190     $225      $240     $216     $206

Phoenix AZ

                    Associate   89     $174       $195     $220      $198     $190     $181



                    Partner     64     $162       $165     $174      $170     $173     $193

Pittsburgh PA

                    Associate   59     $145       $155     $160      $154     $158     $159



                    Partner     28     $196       $230     $248      $237     $231     $233

Portland OR

                    Associate   25     $165       $200     $220      $202     $199     $184



Providence RI       Partner     13     $170       $175     $185      $198     $196     $180



                    Partner     13     $181       $190     $243      $203     $229     $205

Raleigh NC

                    Associate   12     $150       $155     $164      $212     $180     $170



                    Partner     37     $185       $195     $215      $282     $362     $286

Richmond VA

                    Associate   23     $160       $165     $170      $166     $186     $163



Sacramento CA       Associate   11     $195       $195     $215      $213     $219     $188

San Diego CA        Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38527
Insurance Defense - Litigation Only
Insurance
 By City  Defense - Litigation Only
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
Sacramento CA       Associate         Quartile            Quartile


San Diego CA        Partner     45     $215       $225     $270      $403     $452     $380



                    Partner     120    $228       $252     $280      $322     $334     $354

San Francisco CA

                    Associate   46     $175       $190     $225      $226     $216     $200



                    Partner     49     $195       $250     $355      $310     $325     $311

Seattle WA

                    Associate   39     $180       $190     $225      $205     $213     $200



Springfield IL      Partner     11     $164       $166     $166      $165     $172     $177



St. Louis MO        Partner     41     $166       $170     $210      $187     $198     $185



                    Partner     35     $178       $180     $217      $205     $199     $196

Tampa FL

                    Associate   33     $170       $205     $235      $207     $183     $173



                    Partner     15     $150       $150     $228      $195     $196     $179

Tulsa OK

                    Associate   18     $225       $225     $225      $217     $215     $206



                    Partner     63     $388       $518     $862      $621     $615     $493

Washington DC

                    Associate   48     $354       $458     $710      $541     $536     $405




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Section
Section III:
          III:Practice
                 PracticeArea
                           AreaAnalysis
                                 Analysis
                                    #:38528
Insurance Defense - Litigation Only
Insurance
 By Matter TypeDefense
                and YOE - Litigation Only
By Matter Type and YOE
2021—Real Rates for Partner
2021 - Real Rates for Partner                                               Trend Analysis - Mean
                      Matter                First               Third
Years of Experience                 n                 Median              2021    2020     2019
                      Type                 Quartile            Quartile


Fewer Than 21 Years Litigation     776      $170       $180     $225      $221    $223     $214



21 or More Years      Litigation   1,555    $166       $185     $225      $218    $217     $220




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Section
Section III:
          III:Practice
                 PracticeArea
                           AreaAnalysis
                                 Analysis
                                    #:38529
Insurance Defense - Litigation Only
Insurance
 By Matter TypeDefense
                and YOE - Litigation Only
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                           Trend Analysis - Mean
                      Matter              First               Third
Years of Experience                 n               Median              2021    2020     2019
                      Type               Quartile            Quartile


Fewer Than 3 Years    Litigation   99     $160       $180     $220      $208    $194     $166


3 to Fewer Than 7
                      Litigation   284    $162       $185     $220      $243    $233     $203
Years


7 or More Years       Litigation   490    $155       $175     $200      $211    $210     $197




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38530
Insurance Defense - Litigation Only
Insurance       Defense
 By Firm Size and Matter Type- Litigation Only
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                     Trend Analysis - Mean
                Matter                            First               Third
Firm Size                    Role         n                 Median              2021     2020     2019
                Type                             Quartile            Quartile


                             Partner     1,526    $160       $175     $205      $208     $208     $214
50 Lawyers or
                Litigation
Fewer
                             Associate   1,145    $145       $160     $180      $170     $167     $160



                             Partner     902      $175       $185     $225      $218     $210     $209
51-200
                Litigation
Lawyers
                             Associate   708      $160       $170     $185      $181     $177     $171



                             Partner     469      $225       $245     $280      $323     $304     $328
201-500
                Litigation
Lawyers
                             Associate   307      $185       $200     $240      $236     $226     $225



                             Partner     103      $230       $300     $451      $406     $467     $440
501-1,000
                Litigation
Lawyers
                             Associate    84      $200       $260     $399      $345     $363     $333



                             Partner      35      $795      $1,013   $1,195     $984     $938     $835
More Than
                Litigation
1,000 Lawyers
                             Associate    86      $475       $606     $848      $638     $611     $546




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38531
Intellectual Property: Other
Intellectual
 By City     Property: Other
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                            Trend Analysis - Mean
                                      First               Third
City                Role        n               Median              2021     2020     2019
                                     Quartile            Quartile


Chicago IL          Partner     17     $811      $905    $1,086     $956     $774     $721



                    Partner     13     $575      $635     $810      $732     $890     $842

New York NY

                    Associate   17     $375      $551     $764      $564     $623     $576



                    Partner     14     $552      $589     $625      $600     $633     $646

Philadelphia PA

                    Associate   15     $305      $391     $420      $367     $410     $324



Washington DC       Partner     20     $619      $762     $863      $806     $784     $770




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38532
Intellectual Property: Other
Intellectual      Property:
 By Matter Type and YOE     Other
By Matter Type and YOE
2021—Real
2021      Rates
     - Real     for Partner
            Rates    for Partner                                           Trend Analysis - Mean
                                             First               Third
Years of Experience   Matter Type      n               Median              2021     2020     2019
                                            Quartile            Quartile


Fewer Than 21 Years Non-Litigation     30    $406       $558     $681      $596     $574     $546



                      Litigation       19    $550       $625     $881      $733     $764     $759

21 or More Years

                      Non-Litigation   48    $504       $685     $865      $712     $716     $643




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38533
 Intellectual Property: Other
Intellectual       Property:
 By Firm Size and Matter Type Other
By Matter Type and YOE
2021—Real Rates for Associate & Partner
2021 - Real Rates for Partner                                                      Trend Analysis - Mean
                                                     First               Third
Firm Size         Matter Type      Role        n               Median              2021     2020     2019
                                                    Quartile            Quartile


                                   Partner     13    $300       $365     $495      $425     $506     $455
50 Lawyers or
                  Non-Litigation
Fewer
                                   Associate   11    $260       $295     $368      $304     $348     $285



51-200 Lawyers Non-Litigation      Partner     12    $384       $504     $580      $504     $488     $468


201-500
                  Non-Litigation   Partner     20    $398       $473     $611      $516     $502     $512
Lawyers


                                   Partner     17    $557       $625     $757      $713     $796     $803

                  Litigation

                                   Associate   15    $425       $520     $764      $573     $576     $604
501-1,000
Lawyers
                                   Partner     28    $553       $642     $788      $685     $729     $723

                  Non-Litigation

                                   Associate   20    $352       $421     $486      $439     $458     $518


More Than
                  Non-Litigation   Partner     31    $702       $863    $1,062     $902     $981     $897
1,000 Lawyers




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Section
Section III:
          III:Practice
                 PracticeArea
                           AreaAnalysis
                                 Analysis
                                    #:38534
Intellectual Property: Patents
Intellectual
 By City     Property: Patents
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                         Trend Analysis - Mean
                                     First               Third
City               Role        n               Median              2021    2020     2019
                                    Quartile            Quartile


                   Partner     12     $510      $635     $718      $603    $589     $541

Atlanta GA

                   Associate   19     $402      $503     $616      $502    $449     $440



                   Partner     23     $535      $686     $810      $649    $605     $579

Austin TX

                   Associate   21     $380      $572     $665      $533    $526     $402



                   Partner     53     $594      $658     $773      $670    $664     $659

Boston MA

                   Associate   34     $369      $495     $566      $499    $476     $471



                   Partner     43     $445      $570     $858      $664    $647     $610

Chicago IL

                   Associate   30     $315      $404     $577      $472    $466     $425



                   Partner     11     $270      $281     $746      $498    $521     $513

Cleveland OH

                   Associate   20     $185      $200     $250      $234    $263     $293



                   Partner     20     $419      $808     $970      $757    $647     $691

Dallas TX

                   Associate   17     $507      $633     $718      $608    $621     $530



Detroit MI         Partner     12     $343      $400     $430      $394    $452     $408



                   Partner     22     $331      $423     $796      $565    $564     $526

Houston TX

                   Associate   42     $188      $245     $298      $277    $232     $232

Los Angeles CA     Partner




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38535
Intellectual Property: Patents
Intellectual
 By City     Property: Patents
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                       First               Third
City                Role         n               Median              2021     2020     2019
Houston TX          Associate         Quartile            Quartile


                    Partner     34     $681       $934    $1,123     $918     $858     $826

Los Angeles CA

                    Associate   82     $547       $739     $837      $708     $678     $622



                    Partner     62     $620       $865    $1,036     $839     $780     $793

New York NY

                    Associate   89     $449       $630     $770      $628     $576     $546



                    Partner     31     $550       $664     $785      $678     $663     $703

Philadelphia PA

                    Associate   33     $320       $388     $456      $393     $389     $414



                    Partner     37     $744       $948    $1,197     $948     $888     $914

San Francisco CA

                    Associate   28     $488       $639     $806      $663     $610     $569



                    Partner     15     $538       $744    $1,069     $785     $799     $774

San Jose CA

                    Associate   16     $404       $508     $700      $606     $442     $493



Seattle WA          Partner     12     $465       $515     $653      $567     $568     $563



                    Partner     117    $500       $834    $1,021     $803     $746     $728

Washington DC

                    Associate   120    $350       $552     $701      $554     $540     $500




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38536
Intellectual Property: Patents
Intellectual      Property:
 By Matter Type and YOE     Patents
By Matter Type and YOE
2021—Real Rates for Partner
2021 - Real Rates for Partner                                                Trend Analysis - Mean
                                              First               Third
Years of Experience   Matter Type       n               Median              2021    2020     2019
                                             Quartile            Quartile


                      Litigation       124    $500       $792     $950      $754    $729      $713

Fewer Than 21 Years

                      Non-Litigation   122    $375       $503     $712      $569    $530      $526



                      Litigation       138    $625       $871    $1,060     $865    $823      $788

21 or More Years

                      Non-Litigation   126    $415       $570     $808      $642    $583      $600




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38537
Intellectual Property: Patents
Intellectual      Property:
 By Matter Type and YOE     Patents
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Partner                                              Trend Analysis - Mean
                                             First               Third
Years of Experience   Matter Type      n               Median              2021     2020     2019
                                            Quartile            Quartile


Fewer Than 3 Years    Litigation       24    $422       $548     $624      $522     $454     $378



                      Litigation       68    $375       $598     $724      $575     $523     $474
3 to Fewer Than 7
Years
                      Non-Litigation   34    $320       $398     $869      $563     $425     $388



                      Litigation       52    $470       $695     $781      $650     $610     $580

7 or More Years

                      Non-Litigation   65    $305       $404     $656      $485     $463     $423




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38538
Intellectual Property: Patents
Intellectual       Property:
 By Firm Size and Matter Type Patents
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associates                                                  Trend Analysis - Mean
                                                    First               Third
Firm Size       Matter Type      Role         n               Median              2021     2020     2019
                                                   Quartile            Quartile


                                 Partner     43     $393       $481     $600      $529     $541     $544

                Litigation

                                 Associate   19     $310       $375     $625      $441     $369     $362
50 Lawyers or
Fewer
                                 Partner     66     $300       $368     $474      $399     $379     $393

                Non-Litigation

                                 Associate   71     $216       $299     $325      $298     $305     $304



                                 Partner     57     $475       $625     $803      $649     $613     $581

                Litigation

                                 Associate   33     $310       $395     $513      $421     $394     $381
51-200
Lawyers
                                 Partner     96     $415       $495     $609      $529     $516     $507

                Non-Litigation

                                 Associate   55     $286       $315     $384      $345     $334     $335



                                 Partner     47     $615       $735     $948      $782     $713     $686

                Litigation

                                 Associate   31     $373       $465     $592      $497     $432     $443
201-500
Lawyers
                                 Partner     57     $494       $639     $714      $607     $591     $574

                Non-Litigation

                                 Associate   44     $334       $401     $468      $413     $405     $389



                                 Partner     98     $663       $946    $1,090     $921     $878     $883

                Litigation

                                 Associate   130    $505       $670     $783      $652     $652     $614
501-1,000
Lawyers
                                 Partner     58     $700       $799    $1,079     $878     $797     $801

                Non-Litigation

                                 Associate   89     $420       $572     $747      $586     $547     $515

More Than     Litigation         Partner
1,000 Lawyers




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38539
Intellectual Property: Patents
Intellectual       Property:
 By Firm Size and Matter Type Patents
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                                       Trend Analysis - Mean
501-1,000                                           First               Third
Firm Size       Matter Type      Role         n               Median              2021      2020     2019
Lawyers         Non-Litigation   Associate         Quartile            Quartile


                                 Partner     85     $871       $990    $1,071     $979      $939     $901

                Litigation

                                 Associate   116    $535       $710     $765      $671      $624     $575
More Than
1,000 Lawyers
                                 Partner     31     $620       $872    $1,231     $904      $911     $828

                Non-Litigation

                                 Associate   44     $513       $706     $908      $691      $652     $550




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Section
Section III:III: Practice
                  PracticeArea
                             Area Analysis
                                  Analysis
                                     #:38540
Intellectual Property: Trademarks
Intellectual
 By City     Property: Trademarks
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                              Trend Analysis - Mean
                                           First               Third
City                Role           n                 Median              2021    2020     2019
                                          Quartile            Quartile


                    Partner       18       $435       $683     $765      $613    $650     $576

Chicago IL

                    Associate     11       $271       $365     $515      $421    $430     $454



                    Partner       18       $475       $583     $689      $624    $632     $604

New York NY

                    Associate     17       $305       $305     $455      $356    $412     $356



                    Partner       21       $500       $625     $925      $704    $730     $672

Washington DC

                    Associate     14       $386       $635     $695      $560    $484     $482




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38541
Intellectual Property: Trademarks
Intellectual      Property:
 By Matter Type and YOE     Trademarks
By City
2021—Real
2021      Rates
     - Real     for Partner
            Rates    for Partner                                            Trend Analysis - Mean
                                             First               Third
Years of Experience   Matter Type      n               Median              2021    2020     2019
                                            Quartile            Quartile


Fewer Than 21 Years Non-Litigation     24    $451       $573     $725      $618    $608      $583



21 or More Years      Non-Litigation   45    $500       $595     $710      $615    $629      $609




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38542
Intellectual Property: Trademarks
Intellectual      Property:
 By Matter Type and YOE     Trademarks
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                             Trend Analysis - Mean
                                             First               Third
Years of Experience   Matter Type      n               Median              2021    2020     2019
                                            Quartile            Quartile


7 or More Years       Non-Litigation   14    $345       $395     $450      $414    $439      $427




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Section III: Practice Area Analysis
 Section III: Practice Area Analysis
                                    #:38543

Intellectual       Property: Trademarks
 Intellectual Property: Trademarks
 By Firm Size and Matter Type
By Matter Type and YOE
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                      for Associate                                                   Trend Analysis - Mean
                                                       First               Third
Firm Size       Matter Type      Role        n                   Median              2021    2020     2019
                                                      Quartile            Quartile


                                 Partner     21        $404       $470     $489      $460    $505     $481
50 Lawyers or
                Non-Litigation
Fewer
                                 Associate   21        $250       $305     $305      $289    $305     $298


51-200
                Non-Litigation   Partner     12        $386       $468     $595      $469    $464     $424
Lawyers


                                 Partner     18        $539       $615     $671      $609    $588     $585
201-500
                Non-Litigation
Lawyers
                                 Associate   16        $330       $362     $419      $379    $379     $348



                                 Partner     17        $531       $649     $765      $677    $699     $656
501-1,000
                Non-Litigation
Lawyers
                                 Associate   16        $386       $490     $640      $494    $502     $458



                                 Partner     24        $675       $851     $988      $823    $794     $775
More Than
              Non-Litigation
1,000 Lawyers
                                 Associate   20        $360       $500     $715      $536    $492     $514




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Section
Section III:III: Practice
                  PracticeArea
                           Area Analysis
                                Analysis
                                    #:38544
Real Estate
Real
By CityEstate
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                               Trend Analysis - Mean
                                           First               Third
City                Role           n                 Median              2021    2020     2019
                                          Quartile            Quartile


                    Partner       35       $265       $360     $450      $386    $400      $344

Atlanta GA

                    Associate     34       $225       $324     $413      $324    $287      $261



                    Partner       25       $294       $310     $375      $330    $375      $403

Baltimore MD

                    Associate     24       $230       $285     $299      $270    $271      $315



                    Partner       24       $290       $295     $325      $310    $329      $332

Birmingham AL

                    Associate     21       $220       $238     $313      $268    $264      $257



                    Partner       42       $217       $350     $638      $435    $392      $389

Boston MA

                    Associate     37       $199       $240     $410      $310    $281      $300



Bridgeport CT       Partner       12       $265       $398     $564      $427    $425      $351



Charlotte NC        Partner       13       $299       $501     $535      $449    $366      $292



                    Partner       79       $275       $415     $755      $568    $487      $444

Chicago IL

                    Associate     51       $225       $319     $539      $386    $364      $288



                    Partner       11       $369       $431     $444      $430    $433      $419

Cincinnati OH

                    Associate     20       $253       $290     $343      $303    $276      $256



                    Partner       27       $250       $413     $500      $403    $397      $370
Cleveland OH
                    Associate
                                  18       $180       $250     $278      $236    $242      $247




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38545
Real Estate
Real
By CityEstate
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                27     First
                                       $250       $413     Third
                                                           $500      $403     $397     $370
City                Role        n                Median              2021     2020     2019
                    Partner           Quartile            Quartile
Cleveland OH
                    Associate   18     $180       $250     $278      $236     $242     $247



                    Partner     34     $332       $425     $525      $467     $401     $393

Dallas TX

                    Associate   30     $208       $295     $295      $277     $261     $321



                    Partner     38     $300       $424     $650      $499     $469     $423

Denver CO

                    Associate   28     $250       $275     $315      $289     $291     $275



Detroit MI          Associate   19     $200       $225     $255      $234     $213     $197



Hartford CT         Partner     12     $254       $322     $399      $411     $414     $375



Honolulu HI         Partner     19     $275       $290     $322      $312     $279     $273



                    Partner     16     $300       $368     $525      $403     $417     $429

Houston TX

                    Associate   25     $295       $350     $369      $335     $328     $325



                    Partner     18     $325       $400     $405      $379     $380     $283

Indianapolis IN

                    Associate   20     $238       $260     $260      $257     $237     $229



                    Partner     22     $269       $325     $350      $347     $338     $319

Kansas City MO

                    Associate   26     $225       $235     $275      $264     $234     $219



                    Partner     108    $340       $400     $674      $521     $492     $463
Los Angeles CA
                    Associate
                                108    $250       $320     $550      $397     $371     $335




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38546
Real Estate
Real
By CityEstate
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                             Trend Analysis - Mean
                                108    First
                                       $340       $400     Third
                                                           $674      $521     $492     $463
City                Role         n               Median              2021     2020     2019
                    Partner           Quartile            Quartile
Los Angeles CA
                    Associate   108    $250       $320     $550      $397     $371     $335



                    Partner     61     $275       $423     $613      $473     $418     $453

Miami FL

                    Associate   59     $225       $288     $458      $343     $307     $305



                    Partner     16     $250       $260     $316      $322     $263     $294

Minneapolis MN

                    Associate   11     $200       $250     $260      $258     $234     $230



New Orleans LA      Partner     13     $205       $275     $295      $249     $271     $272



                    Partner     150    $338       $475     $695      $586     $525     $506

New York NY

                    Associate   133    $280       $330     $525      $434     $356     $346



                    Partner     16     $320       $388     $471      $409     $412     $394

Orlando FL

                    Associate   11     $220       $247     $390      $288     $247     $258



                    Partner     65     $325       $400     $621      $482     $482     $450

Philadelphia PA

                    Associate   56     $321       $340     $453      $377     $347     $312



                    Partner     18     $230       $380     $425      $352     $306     $267

Pittsburgh PA

                    Associate   16     $170       $175     $263      $226     $211     $236



                    Partner     33     $250       $301     $396      $427     $428     $311
San Diego CA
                    Associate
                                15     $175       $225     $259      $260     $254     $241




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Section
Section III:
           III:Practice
                 PracticeArea
                            AreaAnalysis
                                  Analysis
                                    #:38547
Real Estate
Real
By CityEstate
By City
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate and Partner                            Trend Analysis - Mean
                                33    First
                                      $250       $301     Third
                                                          $396      $427     $428     $311
City                Role        n               Median              2021     2020     2019
                    Partner          Quartile            Quartile
San Diego CA
                    Associate   15     $175      $225     $259      $260     $254     $241



                    Partner     34     $325      $350     $625      $457     $506     $478

San Francisco CA

                    Associate   25     $265      $425     $896      $548     $481     $396



                    Partner     23     $349      $488     $688      $539     $499     $486

Seattle WA

                    Associate   16     $296      $392     $527      $401     $399     $392



St. Louis MO        Partner     26     $350      $350     $350      $363     $366     $353



Tampa FL            Partner     21     $295      $310     $540      $406     $368     $364



                    Partner     36     $325      $525     $650      $570     $487     $513

Washington DC

                    Associate   16     $249      $288     $519      $395     $443     $346




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38548
Real Estate
Real  Estate
By Matter Type and YOE
By Matter Type and YOE
2021—Real
2021      Rates
     - Real     for Partner
            Rates    for Partner                                               Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2021     2020     2019
                                                Quartile            Quartile


                         Litigation       113    $290       $384     $525      $417     $416     $331

Fewer Than 21 Years

                         Non-Litigation   267    $275       $330     $423      $400     $400     $371



                         Litigation       217    $295       $400     $650      $501     $416     $355

21 or More Years

                         Non-Litigation   557    $295       $374     $540      $457     $439     $426




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Section III: Practice Area Analysis
Section III: Practice Area Analysis #:38549
Real Estate
Real  Estate
By Matter Type and YOE
By Matter Type and YOE
2021—Real Rates for Associate
2021 - Real Rates for Associate                                                 Trend Analysis - Mean
                                                 First               Third
Years of Experience      Matter Type       n               Median              2021    2020     2019
                                                Quartile            Quartile


                         Litigation       12     $285       $315     $340      $313    $325
                                                                                                 _

Fewer Than 3 Years

                         Non-Litigation   33     $220       $250     $317      $286    $305      $208



                         Litigation       21     $199       $260     $415      $318    $253      $229
3 to Fewer Than 7
Years
                         Non-Litigation   76     $221       $251     $413      $327    $287      $276



                         Litigation       55     $213       $295     $390      $318    $311      $272

7 or More Years

                         Non-Litigation   167    $225       $265     $387      $324    $301      $300




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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38550
Real Estate
Real   Estate
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real Rates for Associate & Partner
2021 - Real Rates for Associate                                                     Trend Analysis - Mean
                                                      First               Third
Firm Size         Matter Type      Role         n               Median              2021     2020     2019
                                                     Quartile            Quartile


                                   Partner     164    $250       $300     $366      $315     $305     $296

                  Litigation

                                   Associate   107    $195       $250     $300      $249     $230     $228
50 Lawyers or
Fewer
                                   Partner     396    $230       $295     $350      $313     $316     $312

                  Non-Litigation

                                   Associate   260    $195       $225     $261      $233     $231     $230



                                   Partner     118    $271       $390     $593      $436     $389     $338

                  Litigation

                                   Associate   66     $180       $295     $410      $305     $261     $245
51-200
Lawyers
                                   Partner     233    $295       $360     $480      $400     $390     $370

                  Non-Litigation

                                   Associate   132    $220       $245     $305      $267     $268     $262



                                   Partner     78     $325       $423     $577      $458     $458     $414

                  Litigation

                                   Associate   63     $283       $310     $381      $337     $319     $286
201-500
Lawyers
                                   Partner     218    $307       $397     $495      $434     $441     $448

                  Non-Litigation

                                   Associate   194    $250       $280     $325      $310     $301     $308



                                   Partner     48     $525       $710     $827      $765     $616     $531

                  Litigation

                                   Associate   43     $350       $450     $665      $506     $443     $425
501-1,000
Lawyers
                                   Partner     102    $503       $540     $762      $648     $638     $595

                  Non-Litigation

                                   Associate   100    $348       $417     $551      $466     $414     $390



More Than                          Partner     20     $718       $854    $1,037     $875     $884     $847
1,000 Lawyers     Litigation
                                   Associate
                                               25     $440       $540     $682      $559     $577     $571



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Section III: Practice Area Analysis
Section III: Practice Area Analysis
                                    #:38551

Real   Estate
Real Estate
By Firm Size and Matter Type
By Firm Size and Matter Type
2021—Real
2021      Rates
     - Real     for Associate
             Rates            & Partner and Partner
                      for Associate                                                  Trend Analysis - Mean
                                                       First               Third
Firm Size       Matter Type      Role        n                   Median              2021     2020     2019
                                 Partner              Quartile            Quartile
                Litigation
                                 Associate   25        $440       $540     $682      $559     $577     $571
More Than
1,000 Lawyers
                                 Partner     53        $732       $855    $1,101     $977     $829     $831

                Non-Litigation

                                 Associate   70        $469       $595     $595      $602     $544     $496




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                                     #:38552




   Section IV:
   In-Depth Analysis for
   Select US Cities
   All data and analysis based on data
   collected thru Q3 2021




2021 Real Rate Report
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Section IV: In-Depth Analysis#:38553  for Select US Cities
BostonMA
Boston        MA
By Practice Area and Firm Size
By Practice Area and Firm Size

2021
2021 --- Real
         Real   Rates
              Rates      for Associate
                    for Associate & Partnerand Partner                                       Trend Analysis - Mean
                                                                   First           Thrid
                                                                                   Third
Practice Area                    Firm Size       Role        n             Median              2021    2020     2019
                                                                  Quartile        Quartile

                                 More Than
Commercial                                     Associate     12    $695    $865     $985       $861    $749     $572
                                 1,000 Lawyers


                                                 Partner     13    $695    $730     $858       $769    $722     $727
                                 51-200
                                 Lawyers
                                                 Associate   16    $403    $425     $610       $460    $452     $408

Corporate: Other

                                                 Partner     17    $812    $925     $1,240    $1,019   $982     $839
                                 More Than
                                 1,000 Lawyers
                                                 Associate   17    $435    $660     $910       $682    $581     $445



                                                 Partner     12   $1,040   $1,139   $1,281    $1,163   $997     $964
                                 501-1,000
Finance and Securities:          Lawyers
Investments and Other                            Associate   13    $495    $582     $842       $623    $651     $645
Financial Instruments

                                 More Than
                                               Partner       13    $872    $986     $1,243    $1,052   $1,093   $1,040
                                 1,000 Lawyers

Insurance Defense:               51-200
                                                 Partner     15    $215    $220     $325       $257    $250     $209
Property Damage                  Lawyers

                                 51-200
                                                 Partner     15    $602    $725     $811       $734    $748     $777
                                 Lawyers
Intellectual Property:
Patents
                                 201-500
                                                 Partner     21    $655    $707     $808       $724    $702     $643
                                 Lawyers




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Section IV: In-Depth Analysis#:38554  for Select US Cities
ChicagoILIL
Chicago
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                        Trend Analysis - Mean
                                                                    First           Third
                                                                                    Thrid
Practice Area                    Firm Size       Role         n             Median              2021    2020     2019
                                                                   Quartile        Quartile


                                                 Partner     15    $1,170   $1,220   $1,510    $1,314   $1,269   $953
Bankruptcy and                   More Than
Collections                      1,000 Lawyers
                                                 Associate   22     $742    $765     $869       $780    $813     $571


                                 51-200
                                                 Associate   11     $265    $266     $342       $309    $270     $283
                                 Lawyers


                                                 Partner     24     $425    $639     $959       $693    $698     $697
                                 201-500
                                 Lawyers
                                                 Associate   16     $405    $436     $533       $448    $509     $495



Commercial                                       Partner     14     $650    $696     $753       $698    $748     $722
                                 501-1,000
                                 Lawyers
                                                 Associate   23     $330    $415     $528       $452    $483     $465



                                                 Partner     49     $840    $1,020   $1,178    $1,043   $1,095   $893
                                 More Than
                                 1,000 Lawyers
                                                 Associate   56     $532    $646     $838       $684    $706     $628



                                                 Partner     57     $705    $893     $950       $870    $832     $799
                                 201-500
                                 Lawyers
                                                 Associate   83     $454    $545     $670       $561    $560     $537



                                                 Partner     24     $716    $815     $1,070     $894    $774     $721
                                 501-1,000
Corporate: Other
                                 Lawyers
                                                 Associate   19     $430    $521     $637       $572    $465     $450



                                                 Partner     130    $820    $970     $1,202    $1,009   $997     $889
                                 More Than
                                 1,000 Lawyers
                                                 Associate   102    $490    $578     $715       $600    $615     $563



                                                 Partner     15     $536    $829     $949       $784    $745     $713
                                 201-500
                                 Lawyers
                                                 Associate   16     $531    $619     $715       $604    $568     $519
Corporate: Regulatory and
Compliance
                                 More Than     Partner       45     $740    $896     $1,062     $868    $913     $858
                                 1,000 Lawyers
                                               Associate
                                                             28     $436    $564     $688       $587    $661     $607

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Section IV: In-Depth Analysis#:38555  for Select US Cities
Chicago IL
Chicago      IL and Firm Size
By Practice Area
By Practice Area and Firm Size
2021 -- Real Rates for Associate & Partner
2021  - Real Rates for Associate and Partner                                                Trend Analysis - Mean
                                                            45    First
                                                                  $740     $896    Thrid
                                                                                   Third
                                                                                  $1,062      $868    $913     $858
Practice Area                   Firm Size       Role        n             Median              2021    2020     2019
                                                                 Quartile        Quartile
                                                Partner
Corporate: Regulatory and More Than
Compliance                1,000 Lawyers Associate           28    $436    $564     $688       $587    $661     $607



                                                Partner     36    $871    $1,016   $1,111    $1,006   $1,060   $946
                                More Than
Corporate: Tax
                                1,000 Lawyers
                                                Associate   22    $587    $748     $832       $694    $690     $576

Employment and Labor:
                                More Than
Compensation and                              Partner       13    $885    $1,090   $1,219    $1,072   $843     $845
                                1,000 Lawyers
Benefits

                                201-500
                                                Partner     11    $375    $423     $572       $561    $690     $687
                                Lawyers


                                                Partner     23    $470    $540     $690       $558    $558     $583
                                501-1,000
                                Lawyers
Employment and Labor:
                                                Associate   28    $327    $365     $395       $370    $383     $401
Other


                                                Partner     28    $561    $690     $1,014     $854    $878     $767
                                More Than
                                1,000 Lawyers
                                                Associate   20    $398    $492     $615       $544    $575     $498


                                501-1,000
                                                Associate   26    $521    $561     $618       $599    $551     $502
                                Lawyers

Finance and Securities:
Investments and Other                           Partner     55    $811    $899     $1,096     $984    $965     $1,057
Financial Instruments           More Than
                                1,000 Lawyers
                                                Associate   38    $445    $531     $650       $541    $587     $673


                                201-500
                                                Partner     11    $683    $935     $1,025     $901    $802     $676
                                Lawyers


                                                Partner     12    $807    $958     $1,094     $958    $964     $908
                                501-1,000
                                Lawyers
Finance and Securities:
                                                Associate   24    $558    $637     $810       $680    $602     $610
Loans and Financing


                                                Partner     84   $1,135   $1,275   $1,445    $1,269   $1,215   $1,139
                                More Than
                                1,000 Lawyers
                                                Associate   86    $613    $765     $979       $803    $794     $645


                                50 Lawyers or
Insurance Defense: Other                        Partner     44    $245    $300     $315       $283    $274     $270
                                Fewer

Insurance Defense:              50 Lawyers or   Partner
Property Damage                 Fewer

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Section IV: In-Depth Analysis#:38556  for Select US Cities
Chicago
ChicagoILIL
By Practice Area and Firm Size
By Practice Area and Firm Size

2021
2021 --- Real
         Real   Rates
              Rates      for Associate
                    for Associate & Partner and Partner                                   Trend Analysis - Mean

                                                                First           Thrid
                                                                                Third
Practice Area            50 Lawyers
                         Firm Size or        Role         n             Median              2021    2020     2019
                                                               Quartile        Quartile
Insurance Defense: Other Fewer               Partner

                                             Partner      35    $245    $280     $315       $274    $268     $265
Insurance Defense:           50 Lawyers or
Property Damage              Fewer
                                             Associate    45    $165    $220     $250       $207    $209     $217


Intellectual Property:       More Than
                                           Partner        11    $952    $1,075   $1,208    $1,093   $1,076   $926
Other                        1,000 Lawyers


                                             Partner      24    $419    $497     $572       $491    $480     $467
                             51-200
                             Lawyers
Intellectual Property:
                                             Associate    14    $278    $313     $341       $314    $298     $285
Patents

                             More Than
                                           Associate      11    $512    $592     $743       $641    $678     $611
                             1,000 Lawyers




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Section IV: In-Depth Analysis#:38557  for Select US Cities
Los
LosAngeles
    AngelesCACA
By
By Practice   Area
   Practice Area and and  Firm Size
                     Firm Size


2021
2021 --- Real
         Real   Rates
              Rates      for Associate
                    for Associate & Partner and Partner                                        Trend Analysis - Mean
                                                                 First               Thrid
                                                                                     Third
Practice Area                Firm Size       Role          n               Median               2021      2020     2019
                                                                Quartile            Quartile


                                             Partner      18     $665       $724     $896       $775      $791     $740
                             501-1,000
                             Lawyers
                                             Associate    28     $548       $729     $801       $675      $616     $519

Commercial

                                             Partner      41     $963      $1,088   $1,240      $1,102    $1,084   $1,089
                             More Than
                             1,000 Lawyers
                                             Associate    83     $610       $812     $945       $815      $799     $741



                                             Partner      12     $749       $952    $1,170      $1,030    $1,019   $1,004
Corporate: Mergers,
                             501-1,000
Acquisitions and
                             Lawyers
Divestitures
                                             Associate    18     $512       $660     $800       $674      $645     $598


                             50 Lawyers or
                                           Partner        18     $350       $412     $475       $429      $423     $447
                             Fewer


                                             Partner      20     $530       $700     $743       $730      $702     $742
                             51-200
                             Lawyers
                                             Associate    19     $438       $500     $549       $494      $498     $497



                                             Partner      32     $581       $737     $891       $747      $713     $667
                             201-500
                             Lawyers
Corporate: Other                             Associate    15     $396       $438     $533       $484      $469     $467



                                             Partner      39     $643       $779    $1,052      $871      $874     $791
                             501-1,000
                             Lawyers
                                             Associate    51     $545       $626     $800       $671      $666     $562



                                             Partner      91     $995      $1,170   $1,296      $1,152    $1,087   $995
                             More Than
                             1,000 Lawyers
                                             Associate    103    $655       $803     $930       $790      $765     $629


                             201-500
                                             Associate    11     $465       $505     $537       $506      $469     $650
                             Lawyers


                                             Partner      18     $820       $928    $1,034      $968      $928     $805
                             501-1,000
                             Lawyers
Corporate: Regulatory and
                                             Associate    19     $492       $595     $720       $618      $631     $615
Compliance

                             More Than     Partner
                             1,000 Lawyers


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Section IV: In-Depth Analysis#:38558  for Select US Cities
Los
LosAngeles
    AngelesCACA
By
By Practice   Area
   Practice Area and and  Firm Size
                     Firm Size


2021
2021 --- Real
         Real   Rates
              Rates      for Associate
                    for Associate & Partner and Partner                                       Trend Analysis - Mean
                                                                First               Third
                                                                                    Thrid
Practice Area                501-1,000
                             Firm Size       Role         n               Median               2021      2020     2019
                                                               Quartile            Quartile
                             Lawyers         Associate
Corporate: Regulatory and
Compliance                                   Partner      22    $825       $948    $1,132      $963      $997     $1,003
                             More Than
                             1,000 Lawyers
                                             Associate    45    $569       $666     $851       $708      $732     $677



                                             Partner      20    $475       $667     $803       $704      $627     $628
                             501-1,000
                             Lawyers
                                             Associate    18    $330       $365     $421       $469      $459     $442
Employment and Labor:
Other
                                             Partner      20    $696       $874     $973       $860      $837     $900
                             More Than
                             1,000 Lawyers
                                             Associate    24    $400       $510     $693       $551      $617     $631

Finance and Securities:
                             501-1,000
Investments and Other                        Partner      16    $676       $897     $982       $886      $794     $787
                             Lawyers
Financial Instruments

                             50 Lawyers or
                                           Partner        12    $368       $595     $684       $547      $528     $445
                             Fewer

                             51-200
                                             Partner      19    $833      $1,188   $1,489      $1,161    $1,031   $794
                             Lawyers


                                             Partner      14    $662       $716     $890       $865      $931     $965
Finance and Securities:      501-1,000
Loans and Financing          Lawyers
                                             Associate    25    $522       $570     $716       $646      $618     $572



                                             Partner      52   $1,101     $1,245   $1,400      $1,264    $1,220   $1,128
                             More Than
                             1,000 Lawyers
                                             Associate    64    $640       $854     $955       $820      $738     $695


                             50 Lawyers or
Insurance Defense: Other                   Associate      34    $198       $215     $225       $210      $204     $198
                             Fewer

Insurance Defense:           51-200
                                             Partner      12    $235       $240     $246       $238      $241     $236
Pollution                    Lawyers


                                             Partner      14    $959      $1,126   $1,212      $1,091    $1,053   $1,052
Intellectual Property:       More Than
Patents                      1,000 Lawyers
                                             Associate    37    $547       $764     $870       $726      $685     $582




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Section IV: In-Depth Analysis#:38559  for Select US Cities
New
NewYork
    YorkNYNY
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                     Trend Analysis - Mean
                                                                 First           Third
                                                                                 Thrid
Practice Area                Firm Size       Role         n              Median              2021    2020     2019
                                                                Quartile        Quartile


                                             Partner      13     $378    $390     $450       $408    $406     $389
                             50 Lawyers or
                             Fewer
                                             Associate    18     $267    $375     $375       $347    $348     $312


Bankruptcy and
                                             Partner      15     $408    $510     $598       $519    $542     $485
Collections
                             201-500
                             Lawyers
                                             Associate    15     $300    $334     $406       $346    $338     $341


                             More Than
                                           Partner        16     $642    $1,040   $1,190     $997    $1,024   $846
                             1,000 Lawyers


                                             Partner      25     $317    $405     $541       $471    $490     $504
                             50 Lawyers or
                             Fewer
                                             Associate    15     $308    $353     $566       $415    $377     $386



                                             Partner      38     $576    $645     $863       $762    $754     $752
                             201-500
                             Lawyers
                                             Associate    22     $395    $437     $507       $483    $528     $532

Commercial

                                             Partner      90     $984    $1,326   $1,617    $1,294   $1,300   $1,208
                             501-1,000
                             Lawyers
                                             Associate    121    $363    $670     $994       $694    $691     $700



                                             Partner      48    $1,117   $1,205   $1,508    $1,277   $1,198   $1,178
                             More Than
                             1,000 Lawyers
                                             Associate    43     $707    $800     $945       $842    $781     $800


Corporate: Antitrust and     More Than
                                           Associate      14     $669    $735     $849       $742    $718     $600
Competition                  1,000 Lawyers


                                             Partner      39    $1,398   $1,480   $1,593    $1,489   $1,396   $1,339
                             501-1,000
                             Lawyers
Corporate: Governance                        Associate    50     $591    $795     $922       $770    $732     $717


                             More Than
                                           Associate      11     $564    $564     $762       $662    $654     $636
                             1,000 Lawyers

Corporate: Mergers,          501-1,000       Partner
Acquisitions and             Lawyers
Divestitures



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Section IV: In-Depth Analysis#:38560  for Select US Cities
New
NewYork
    YorkNYNY
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                     Trend Analysis - Mean
                                                                 First           Third
                                                                                 Thrid
Practice Area                More
                             Firm Than
                                  Size     Role           n              Median              2021    2020     2019
                                                                Quartile        Quartile
Corporate: Governance        1,000 Lawyers Associate

                                             Partner      73    $1,287   $1,423   $1,643    $1,426   $1,332   $1,271
                             501-1,000
Corporate: Mergers,          Lawyers
Acquisitions and                             Associate    142    $679    $873     $1,022     $860    $777     $715
Divestitures

                             More Than
                                           Partner        34    $1,407   $1,645   $1,650    $1,536   $1,363   $1,245
                             1,000 Lawyers


                                             Partner      44     $408    $520     $634       $537    $540     $427
                             50 Lawyers or
                             Fewer
                                             Associate    18     $301    $361     $375       $363    $355     $304



                                             Partner      31     $471    $573     $728       $634    $610     $549
                             51-200
                             Lawyers
                                             Associate    20     $305    $330     $701       $474    $443     $439



                                             Partner      74     $525    $773     $950       $797    $853     $842
                             201-500
Corporate: Other
                             Lawyers
                                             Associate    58     $340    $404     $632       $493    $513     $482



                                             Partner      194   $1,201   $1,345   $1,505    $1,322   $1,228   $1,182
                             501-1,000
                             Lawyers
                                             Associate    299    $630    $827     $955       $798    $738     $697



                                             Partner      125   $1,050   $1,350   $1,565    $1,303   $1,270   $1,131
                             More Than
                             1,000 Lawyers
                                             Associate    198    $670    $804     $1,030     $840    $828     $724



                                             Partner      29    $1,250   $1,287   $1,361    $1,273   $1,318   $1,275
Corporate: Partnerships      501-1,000
and Joint Ventures           Lawyers
                                             Associate    52     $641    $873     $933       $815    $807     $772


                             51-200
                                             Associate    18     $336    $415     $622       $455    $467     $505
                             Lawyers


Corporate: Regulatory and 201-500            Partner      24     $593    $638     $828       $734    $762     $816
Compliance                Lawyers
                                             Associate




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Section IV: In-Depth Analysis#:38561  for Select US Cities
New
NewYork
    YorkNYNY
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                    Trend Analysis - Mean
                                                                First           Thrid
                                                                                Third
Practice Area                Firm Size       Role         n             Median              2021    2020     2019
                                                               Quartile        Quartile
                                             Partner
                             201-500
                             Lawyers         Associate    14    $369    $450     $505       $477    $418     $480


Corporate: Regulatory and
                                             Partner      55   $1,063   $1,291   $1,536    $1,269   $1,193   $1,132
Compliance
                             501-1,000
                             Lawyers
                                             Associate    72    $615    $798     $958       $806    $719     $689



                                             Partner      26    $883    $1,126   $1,350    $1,145   $1,039   $1,039
                             More Than
                             1,000 Lawyers
                                             Associate    35    $620    $725     $762       $684    $688     $642



                                             Partner      19   $1,082   $1,207   $1,460    $1,224   $1,080   $1,221
                             501-1,000
                             Lawyers
                                             Associate    22    $419    $588     $844       $632    $431     $591

Corporate: Tax

                                             Partner      37    $847    $1,238   $1,517    $1,201   $1,189   $1,101
                             More Than
                             1,000 Lawyers
                                             Associate    45    $540    $853     $1,043     $848    $820     $735


Employment and Labor:
                             501-1,000
Compensation and                             Partner      19    $653    $1,165   $1,328     $978    $852     $959
                             Lawyers
Benefits
Employment and Labor:
                            501-1,000
Discrimination, Retaliation                  Partner      17    $460    $475     $538       $566    $544     $588
                            Lawyers
and Harassment / EEO

                             50 Lawyers or
                                           Partner        12    $361    $635     $775       $593    $586     $625
                             Fewer


                                             Partner      37    $450    $538     $675       $576    $658     $704
                             201-500
                             Lawyers
                                             Associate    26    $340    $408     $558       $456    $463     $473


Employment and Labor:
                                             Partner      83    $470    $540     $779       $673    $636     $738
Other
                             501-1,000
                             Lawyers
                                             Associate    47    $315    $378     $775       $532    $465     $546



                             More Than     Partner        19    $703    $843     $1,043     $931    $937     $899
                             1,000 Lawyers
                                           Associate




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Section IV: In-Depth Analysis#:38562  for Select US Cities
NewYork
New       York NYNY
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                        Trend Analysis - Mean
                                                                    First           Third
                                                                                    Thrid
Practice Area                    Firm Size       Role        n              Median              2021    2020     2019
                                                                   Quartile        Quartile
                                                 Partner
Employment and Labor:            More Than
Other                            1,000 Lawyers Associate     24     $390    $520     $693       $597    $588     $635


Employment and Labor:
                                 501-1,000
Union Relations and                              Partner     15     $474    $613     $961       $738    $658     $611
                                 Lawyers
Negotiations / NLRB


                                                 Partner     33     $904    $1,330   $1,650    $1,283   $1,213   $1,088
Finance and Securities:          501-1,000
Debt/Equity Offerings            Lawyers
                                                 Associate   45     $539    $713     $955       $760    $681     $683



                                                 Partner     19     $650    $806     $975       $800    $906     $824
                                 51-200
                                 Lawyers
                                                 Associate   34     $392    $625     $748       $578    $601     $527


                                 201-500
                                                 Partner     32     $910    $1,095   $1,111     $988    $991     $1,011
                                 Lawyers

Finance and Securities:
Investments and Other                            Partner     167   $1,034   $1,311   $1,739    $1,387   $1,316   $1,188
Financial Instruments            501-1,000
                                 Lawyers
                                                 Associate   342    $700    $890     $1,155     $901    $815     $708



                                                 Partner     115    $932    $1,188   $1,488    $1,226   $1,203   $1,089
                                 More Than
                                 1,000 Lawyers
                                                 Associate   76     $533    $692     $885       $710    $712     $625



                                                 Partner     24     $551    $736     $854       $719    $616     $522
                                 50 Lawyers or
                                 Fewer
                                                 Associate   24     $372    $441     $713       $508    $397     $354



                                                 Partner     85    $1,147   $1,375   $1,550    $1,300   $1,262   $1,179
                                 201-500
                                 Lawyers
                                                 Associate   112    $629    $813     $952       $756    $758     $705
Finance and Securities:
Loans and Financing
                                                 Partner     94    $1,215   $1,490   $1,625    $1,405   $1,290   $1,216
                                 501-1,000
                                 Lawyers
                                                 Associate   126    $711    $885     $1,048     $879    $801     $757

                                 More Than     Partner
                                 1,000 Lawyers




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Section IV: In-Depth Analysis#:38563  for Select US Cities
NewYork
New       York NYNY
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                        Trend Analysis - Mean
                                                                    First           Third
                                                                                    Thrid
Practice Area                    501-1,000
                                 Firm Size       Role        n              Median              2021    2020     2019
                                                                   Quartile        Quartile
                                 Lawyers         Associate
Finance and Securities:
Loans and Financing                              Partner     109   $1,330   $1,535   $1,675    $1,457   $1,341   $1,305
                                 More Than
                                 1,000 Lawyers
                                                 Associate   184    $750    $930     $1,100     $930    $883     $825



                                                 Partner     11    $1,287   $1,287   $1,550    $1,433   $1,457   $1,291
Finance and Securities:          501-1,000
Other                            Lawyers
                                                 Associate   17     $840    $873     $930       $873    $841     $791



                                                 Partner     16    $1,351   $1,505   $1,688    $1,484   $1,419   $1,180
Finance and Securities:
                                 501-1,000
SEC Filings and Financial
                                 Lawyers
Reporting
                                                 Associate   28     $704    $885     $1,074     $876    $777     $692


                                 201-500
                                                 Partner     15     $608    $1,337   $1,494    $1,100   $1,195   $1,205
                                 Lawyers

Finance and Securities:
Securities and Banking                           Partner     19    $1,249   $1,330   $1,410    $1,316   $1,205   $1,114
Regulations                      501-1,000
                                 Lawyers
                                                 Associate   21     $425    $626     $925       $650    $644     $609


General Liability: Product       201-500
                                                 Associate   17     $380    $400     $400       $391    $392     $321
and Product Liability            Lawyers


Insurance Defense: Auto          50 Lawyers or
                                               Associate     30     $150    $159     $160       $157    $150     $142
and Transportation               Fewer


                                                 Partner     21     $207    $250     $280       $278    $258     $218
                                 50 Lawyers or
                                 Fewer
                                                 Associate   15     $180    $195     $195       $211    $195     $178



                                                 Partner     39     $180    $208     $299       $251    $250     $230
                         51-200
Insurance Defense: Other
                         Lawyers
                                                 Associate   15     $170    $185     $255       $208    $192     $185



                                                 Partner     20     $179    $210     $306       $322    $270     $489
                                 201-500
                                 Lawyers
                                                 Associate   17     $190    $190     $521       $329    $277     $280

Insurance Defense:       50 Lawyers or Partner
Personal Injury/Wrongful Fewer
Death



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Section IV: In-Depth Analysis#:38564  for Select US Cities
New
NewYork
    YorkNYNY
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                    Trend Analysis - Mean
                                                                First           Thrid
                                                                                Third
Practice Area            201-500
                         Firm Size           Role         n             Median              2021    2020     2019
                                                               Quartile        Quartile
Insurance Defense: Other Lawyers             Associate

                                             Partner      44    $175    $187     $195       $183    $174     $177
Insurance Defense:
                         50 Lawyers or
Personal Injury/Wrongful
                         Fewer
Death
                                             Associate    51    $154    $159     $175       $161    $153     $151



                                             Partner      36    $175    $195     $215       $204    $184     $179
                             50 Lawyers or
                             Fewer
Insurance Defense:
                                             Associate    29    $152    $160     $173       $166    $153     $149
Property Damage


                             51-200
                                             Partner      29    $195    $210     $360       $268    $256     $248
                             Lawyers


                                             Partner      18    $916    $948     $1,131     $980    $972     $975
                             501-1,000
                             Lawyers
                                             Associate    34    $450    $630     $810       $629    $630     $634
Intellectual Property:
Patents
                                             Partner      18    $934    $1,046   $1,214    $1,058   $1,054   $931
                             More Than
                             1,000 Lawyers
                                             Associate    31    $707    $750     $875       $755    $695     $618


                             501-1,000
Marketing and Advertising                    Associate    14    $460    $890     $903       $756    $876     $864
                             Lawyers


Miscellaneous: General       More Than
                                           Partner        12   $1,569   $1,650   $1,725    $1,611   $1,409   $1,373
Advice & Counsel             1,000 Lawyers


Requests for Information: 501-1,000
                                             Associate    23    $125    $520     $895       $512    $552     $673
Subpoena                  Lawyers




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Section IV: In-Depth Analysis#:38565  for Select US Cities
Philadelphia
Philadelphia PAPA
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                    Trend Analysis - Mean
                                                                First           Thrid
                                                                                Third
Practice Area                Firm Size       Role         n             Median              2021   2020   2019
                                                               Quartile        Quartile


                                             Partner      26    $495    $538     $559       $520   $551   $512
Bankruptcy and               201-500
Collections                  Lawyers
                                             Associate    15    $296    $301     $343       $314   $303   $301



                                             Partner      11    $385    $421     $855       $566   $465   $443
                             50 Lawyers or
                             Fewer
                                             Associate    11    $278    $290     $530       $409   $344   $291



                                             Partner      18    $480    $625     $746       $675   $662   $492
                             51-200
                             Lawyers
                                             Associate    20    $349    $385     $435       $396   $364   $263



                                             Partner      34    $525    $588     $718       $629   $600   $602
                             201-500
Commercial
                             Lawyers
                                             Associate    42    $320    $348     $389       $366   $358   $324



                                             Partner      27    $634    $728     $821       $720   $745   $732
                             501-1,000
                             Lawyers
                                             Associate    18    $365    $400     $555       $537   $492   $490



                                             Partner      22    $743    $944    $1,140      $974   $944   $924
                             More Than
                             1,000 Lawyers
                                             Associate    27    $503    $735     $852       $696   $594   $565


                             201-500
                                             Partner      19    $525    $525     $525       $549   $517   $511
Corporate: Mergers,          Lawyers
Acquisitions and
Divestitures                 501-1,000
                                             Partner      11    $621    $668     $871       $740   $762   $811
                             Lawyers

                             50 Lawyers or
                                             Partner      11    $395    $590     $709       $566   $575   $483
                             Fewer


                                             Partner      29    $576    $835     $910       $755   $724   $676
                             51-200
                             Lawyers
                                             Associate    34    $374    $425     $484       $428   $410   $388



                             201-500         Partner      45    $525    $552     $817       $658   $674   $616
Corporate: Other             Lawyers
                                             Associate
                                                          40    $325    $334     $440       $386   $337   $354

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Section IV: In-Depth Analysis#:38566  for Select US Cities
Philadelphia
Philadelphia PAPA
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partner and Partner
                         for Associate                                                    Trend Analysis - Mean

                                                          45    First
                                                                $525     $552   Thrid
                                                                                Third
                                                                                $817        $658   $674   $616
Practice Area                Firm Size       Role          n            Median              2021   2020   2019
                                                               Quartile        Quartile
                                             Partner
                             201-500
Corporate: Other             Lawyers         Associate    40    $325    $334     $440       $386   $337   $354



                                             Partner      19    $620    $879     $993       $856   $804   $756
                             501-1,000
                             Lawyers
                                             Associate    11    $417    $480     $505       $489   $463   $484



                                             Partner      57    $784    $848     $995       $918   $916   $787
                             More Than
                             1,000 Lawyers
                                             Associate    60    $430    $518     $568       $538   $525   $450


                             201-500
                                             Partner      12    $518    $680     $760       $676   $563   $618
                             Lawyers
Corporate: Regulatory and
Compliance
                             More Than
                                           Partner        21    $830    $845     $895       $857   $781   $705
                             1,000 Lawyers


Employment and Labor:        501-1,000
                                             Partner      13    $525    $585     $633       $600   $619   $606
Other                        Lawyers


                                             Partner      45    $175    $178     $200       $184   $181   $169
Insurance Defense: Auto      50 Lawyers or
and Transportation           Fewer
                                             Associate    41    $157    $161     $200       $171   $161   $151



                                             Partner      41    $176    $180     $200       $190   $189   $181
                             50 Lawyers or
                             Fewer
                                             Associate    33    $160    $165     $190       $170   $168   $161

Insurance Defense: Other
                             51-200
                                             Partner      11    $177    $185     $225       $206   $220   $264
                             Lawyers

                             201-500
                                             Partner      27    $191    $210     $240       $220   $221   $235
                             Lawyers


                             50 Lawyers or
                                             Partner      26    $180    $180     $200       $191   $195   $178
                             Fewer
Insurance Defense:
Property Damage
                             51-200
                                             Partner      12    $185    $195     $219       $231   $235   $224
                             Lawyers

                             51-200
                                             Associate    11    $320    $391     $470       $406   $394   $392
                             Lawyers
Intellectual Property:
Patents
                             201-500
                                             Associate    13    $316    $364     $410       $360   $329   $328
                             Lawyers




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Section IV: In-Depth Analysis#:38567  for Select US Cities
SanFrancisco
San FranciscoCA CA
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partnerand Partner
                         for Associate                                                     Trend Analysis - Mean
                                                                 First           Thrid
                                                                                 Third
Practice Area                    Firm Size     Role        n             Median              2021    2020     2019
                                                                Quartile        Quartile

                                 51-200
                                               Partner     14    $399    $495     $610       $560    $633     $577
                                 Lawyers
Commercial
                                 501-1,000
                                               Partner     13    $694    $913     $1,042     $932    $895     $872
                                 Lawyers


                                               Partner     24    $682    $913     $1,061     $887    $860     $917
                                 501-1,000
                                 Lawyers
Corporate: Other                               Associate   16    $437    $662     $808       $655    $628     $552


                                 More Than
                                               Partner     11    $890    $1,080   $1,206    $1,078   $937     $870
                                 1,000 Lawyers

Employment and Labor:
                            501-1,000
Discrimination, Retaliation                    Partner     11    $319    $513     $738       $614    $562     $526
                            Lawyers
and Harassment / EEO

Employment and Labor:            501-1,000
                                               Partner     23    $542    $609     $650       $604    $559     $567
Other                            Lawyers


                                               Partner     12   $1,050   $1,200   $1,250    $1,273   $1,223   $995
Finance and Securities:
                                 501-1,000
Investments and Other
                                 Lawyers
Financial Instruments
                                               Associate   21    $535    $625     $872       $689    $785     $694


                                 50 Lawyers or
                                               Partner     18    $225    $250     $275       $245    $250     $241
                                 Fewer
Insurance Defense: Other
                                 201-500
                                               Partner     38    $255    $280     $280       $362    $361     $452
                                 Lawyers


Intellectual Property:           501-1,000
                                               Partner     16    $888    $1,028   $1,258    $1,036   $1,041   $1,101
Patents                          Lawyers




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Washington
Washington         DCDC
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 -- Real Rates for Associate & Partner
2021  - Real Rates for Associate and Partner                                             Trend Analysis - Mean
                                                               First           Third
                                                                               Thrid
Practice Area                Firm Size       Role        n             Median              2021    2020     2019
                                                              Quartile        Quartile

                             50 Lawyers or
                                             Partner     23    $450    $610     $665       $581    $600     $556
                             Fewer


                             51-200
                                             Partner     11    $554    $700     $913       $763    $788     $660
                             Lawyers


                                             Partner     45    $655    $745     $861       $780    $734     $667
                             201-500
                             Lawyers
                                             Associate   36    $429    $521     $618       $546    $489     $437

Commercial

                                             Partner     50    $669    $775     $1,035     $861    $902     $896
                             501-1,000
                             Lawyers
                                             Associate   25    $550    $595     $673       $667    $588     $559



                                             Partner     51    $900    $1,035   $1,189    $1,056   $1,015   $965
                             More Than
                             1,000 Lawyers
                                             Associate   27    $564    $707     $820       $694    $645     $648



                                             Partner     20    $865    $943     $1,086    $1,013   $947     $941
                             501-1,000
                             Lawyers
                                             Associate   12    $457    $504     $629       $582    $619     $602
Corporate: Antitrust and
Competition
                                             Partner     13    $867    $1,025   $1,175    $1,031   $865     $840
                             More Than
                             1,000 Lawyers
                                             Associate   17    $650    $700     $775       $716    $565     $518


                             201-500
                                             Partner     14    $722    $844     $928       $817    $734     $722
                             Lawyers


                             501-1,000
                                             Partner     13    $698    $743     $1,070     $914    $939     $928
Corporate: Mergers,          Lawyers
Acquisitions and
Divestitures
                                             Partner     33    $990    $1,060   $1,325    $1,155   $1,050   $1,040
                             More Than
                             1,000 Lawyers
                                             Associate   22    $546    $735     $903       $731    $650     $664



                             50 Lawyers or   Partner     24    $493    $600     $749       $597    $590     $569
Corporate: Other             Fewer
                                             Associate
                                                         13    $325    $435     $650       $481    $521     $448




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Washington
Washington         DCDC
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 -- Real Rates for Associate & Partner
2021  - Real Rates for Associate and Partner                                              Trend Analysis - Mean
                                                         24     First
                                                                $493     $600   Thrid
                                                                                Third
                                                                                $749        $597    $590   $569
Practice Area                Firm Size       Role        n              Median              2021    2020   2019
                                                               Quartile        Quartile
                                             Partner
                             50 Lawyers or
                             Fewer           Associate   13     $325    $435     $650       $481    $521   $448



                                             Partner     35     $734    $787     $964       $835    $819   $792
                             51-200
                             Lawyers
                                             Associate   14     $549    $705     $921       $722    $607   $565



                                             Partner     73     $662    $836     $950       $818    $757   $710
                             201-500
Corporate: Other
                             Lawyers
                                             Associate   62     $443    $558     $670       $557    $489   $498



                                             Partner     155    $881    $950     $950       $947    $923   $873
                             501-1,000
                             Lawyers
                                             Associate   196    $670    $689     $695       $663    $596   $537



                                             Partner     166    $843    $1,025   $1,196    $1,025   $990   $917
                             More Than
                             1,000 Lawyers
                                             Associate   127    $520    $685     $879       $703    $644   $592



                                             Partner     48     $554    $620     $635       $595    $606   $572
                             50 Lawyers or
                             Fewer
                                             Associate   23     $325    $331     $368       $340    $379   $342



                                             Partner     35     $570    $825     $947       $783    $844   $769
                             51-200
                             Lawyers
                                             Associate   39     $375    $455     $590       $500    $544   $445



                                             Partner     50     $658    $746     $887       $779    $719   $703
Corporate: Regulatory        201-500
and Compliance               Lawyers
                                             Associate   23     $462    $529     $657       $559    $505   $450



                                             Partner     150    $806    $950     $1,102     $975    $936   $880
                             501-1,000
                             Lawyers
                                             Associate   127    $520    $611     $695       $637    $609   $563

                             More Than     Partner
                             1,000 Lawyers




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Section IV: In-Depth Analysis#:38570  for Select US Cities
Washington
Washington DCDC
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partnerand Partner
                         for Associate                                                   Trend Analysis - Mean
                                                               First           Third
                                                                               Thrid
Practice Area                501-1,000
                             Firm Size       Role        n             Median              2021    2020     2019
                                                              Quartile        Quartile
                             Lawyers         Associate
Corporate: Regulatory
and Compliance                               Partner     95    $855    $997     $1,110    $1,013   $1,009   $946
                             More Than
                             1,000 Lawyers
                                             Associate   80    $541    $635     $805       $662    $631     $584



                                             Partner     29    $616    $620     $849       $811    $663     $630
                             201-500
                             Lawyers
                                             Associate   26    $508    $606     $620       $571    $560     $542

Corporate: Tax

                                             Partner     29    $984    $1,200   $1,445    $1,221   $1,074   $1,013
                             More Than
                             1,000 Lawyers
                                             Associate   38    $482    $661     $943       $746    $738     $684


                             201-500
                                             Partner     12    $678    $724     $735       $665    $667     $669
                             Lawyers


                                             Partner     33    $471    $660     $1,264     $852    $769     $778
                             501-1,000
                             Lawyers
Employment and Labor:
                                             Associate   23    $357    $420     $530       $489    $470     $508
Other


                                             Partner     26    $582    $695     $815       $711    $805     $782
                             More Than
                             1,000 Lawyers
                                             Associate   17    $356    $495     $667       $497    $521     $458



                                             Partner     30    $867    $1,054   $1,215    $1,047   $1,087   $990
                             501-1,000
                             Lawyers
                                             Associate   16    $495    $691     $736       $669    $580     $655
Finance and Securities:
Investments and Other
Financial Instruments
                                             Partner     31   $1,019   $1,188   $1,364    $1,233   $1,059   $1,002
                             More Than
                             1,000 Lawyers
                                             Associate   17    $482    $704     $750       $690    $700     $678



                                             Partner     21    $655    $820     $990       $819    $852     $832
                             201-500
                             Lawyers
Finance and Securities:                      Associate   21    $404    $505     $569       $531    $491     $504
Loans and Financing
                             501-1,000       Partner
                             Lawyers




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Washington
Washington DCDC
By Practice Area and Firm Size
By Practice Area and Firm Size
2021 --- Real
2021     Real Rates for Associate
                Rates             & Partnerand Partner
                         for Associate                                                   Trend Analysis - Mean
                                                               First           Thrid
                                                                               Third
Practice Area                201-500
                             Firm Size       Role        n             Median              2021    2020     2019
                                                              Quartile        Quartile
                             Lawyers         Associate

Finance and Securities:      501-1,000
                                             Partner     16    $876    $1,035   $1,573    $1,152   $977     $1,094
Loans and Financing          Lawyers


                                             Partner     31   $1,165   $1,350   $1,535    $1,333   $1,213   $1,141
                             More Than
                             1,000 Lawyers
                                             Associate   44    $745    $895     $1,010     $898    $843     $713


                             501-1,000
Government Relations                         Partner     15    $735    $778     $935       $872    $797     $821
                             Lawyers


                             50 Lawyers or
                                             Associate   12    $325    $325     $325       $322    $334     $329
                             Fewer


                                             Partner     18    $782    $930     $1,024     $908    $773     $683
                             201-500
                             Lawyers
                                             Associate   11    $567    $625     $697       $630    $508     $450


Intellectual Property:
                                             Partner     35    $865    $1,012   $1,144    $1,015   $900     $917
Patents
                             501-1,000
                             Lawyers
                                             Associate   42    $615    $695     $755       $706    $653     $609



                                             Partner     25    $898    $992     $1,158    $1,001   $949     $855
                             More Than
                             1,000 Lawyers
                                             Associate   27    $524    $682     $789       $661    $637     $586


Requests for Information: 501-1,000
                                             Partner     11    $908    $990     $1,055    $1,075   $1,006   $1,048
Subpoena                  Lawyers




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   Section V:
   International
   Analysis
   All data and analysis based on data
   collected thru Q3 2021




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Countries
Countries
By Role
2021-—Real
2021   Real Rates
           Rates   for
                 for   Partners
                     Partners,  , Associates
                               Associates,   and
                                           and   Paralegals
                                               Paralegals          Trend Analysis - Mean
                                         First           Third
Country               Role         n             Median             2021   2020    2019
                                        Quartile        Quartile


                      Partner     24      $49     $52     $240      $121    $160    $190

Argentina

                      Associate   40      $43    $115     $238      $149    $153    $161



                      Partner     115    $467    $554     $628      $549    $515    $500



Australia             Associate   198    $244    $332     $445      $354    $329    $329



                      Paralegal   44     $150    $199     $260      $209    $200    $194



                      Partner     25     $426    $480     $524      $583    $515    $516

Austria

                      Associate   43     $306    $444     $848      $552    $499    $481



                      Partner     48     $490    $715     $909      $713    $618    $557



Belgium               Associate   104    $232    $327     $539      $406    $386    $367



                      Paralegal   11     $233    $324     $398      $324    $297    $236



                      Partner     67     $285    $376     $500      $399    $435    $416



Brazil                Associate   131    $128    $224     $320      $232    $244    $240



                      Paralegal   60      $75     $75     $110      $91     $109    $96



                      Partner     544    $435    $571     $779      $609    $598    $583



Canada                Associate   288    $304    $443     $561      $463    $430    $401



                      Paralegal   291    $145    $216     $285      $222    $216    $210

Cayman Islands        Partner


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Countries
Countries
By Role
2021-—Real
2021   Real Rates
           Rates   for
                 for   Partners
                     Partners,  , Associates
                               Associates,   and
                                           and   Paralegals
                                               Paralegals          Trend Analysis - Mean
                                         First           Third
Country               Role         n             Median             2021    2020   2019
Canada                Paralegal         Quartile        Quartile


Cayman Islands        Partner     22     $973    $1,075   $1,141   $1,059   $994    $957



                      Partner     113    $388    $658     $857      $679    $701    $678



China                 Associate   210    $258    $360     $527      $401    $412    $375



                      Paralegal   59     $240    $272     $341      $276    $299    $244



Colombia              Associate   12     $200    $225     $383      $282    $284    $263



Czech Republic        Associate   22     $203    $283     $330      $278    $239    $266



Denmark               Associate   22     $253    $303     $355      $298    $295    $287



                      Partner     18     $506    $511     $602      $521    $481    $482



Finland               Associate   39     $236    $296     $366      $319    $318    $343



                      Paralegal   12     $134    $176     $192      $166    $139    $108



                      Partner     145    $465    $574     $749      $611    $578    $551



France                Associate   297    $297    $390     $530      $426    $388    $378



                      Paralegal   42     $156    $220     $299      $223    $219    $205



                      Partner     249    $362    $513     $706      $554    $521    $518



Germany               Associate   329    $310    $378     $462      $414    $411    $400



                      Paralegal   68     $168    $205     $270      $216    $210    $222

Hong Kong             Partner


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Countries
Countries
By Role
2021-—Real
2021   Real Rates
           Rates   for
                 for   Partners
                     Partners,  , Associates
                               Associates,   and
                                           and   Paralegals
                                               Paralegals         Trend Analysis - Mean
                                        First           Third
Country               Role        n             Median             2021   2020    2019
Germany               Paralegal        Quartile        Quartile


                      Partner     60     $676    $859   $1,005     $856    $877    $834



Hong Kong             Associate   95     $340    $476    $684      $511    $443    $346



                      Paralegal   43     $238    $324    $372      $322    $311    $291



Hungary               Associate   23     $202    $212    $216      $229    $191    $174



                      Partner     23     $300    $390    $450      $385    $356    $373

India

                      Associate   30     $162    $200    $216      $200    $202    $211



Indonesia             Associate   17     $139    $272    $350      $261    $244    $244



                      Partner     40     $487    $588    $661      $586    $536    $523



Ireland               Associate   65     $324    $394    $456      $396    $370    $373



                      Paralegal   28     $169    $208    $254      $215    $214    $202



                      Partner     34     $300    $475    $525      $429    $355    $394



Israel                Associate   37     $180    $254    $310      $256    $260    $249



                      Paralegal   13     $150    $200    $225      $177    $130    $156



                      Partner     39     $395    $534    $689      $588    $535    $477



Italy                 Associate   82     $236    $298    $462      $368    $332    $307



                      Paralegal   15     $91     $214    $245      $176    $151    $123

Japan                 Partner


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Countries
Countries
By Role
2021-—Real
2021   Real Rates
           Rates   for
                 for   Partners
                     Partners,  , Associates
                               Associates,   and
                                           and   Paralegals
                                               Paralegals          Trend Analysis - Mean
                                         First           Third
Country               Role         n             Median             2021   2020    2019
Italy                 Paralegal         Quartile        Quartile


                      Partner     55     $300    $461     $568      $490    $523    $493



Japan                 Associate   63     $255    $307     $520      $378    $402    $352



                      Paralegal   35     $104    $148     $181      $154    $157    $167



                      Partner     123    $489    $574     $680      $585    $620    $605



Korea, Republic of    Associate   133    $250    $305     $365      $305    $303    $295



                      Paralegal   31     $160    $191     $253      $210    $213    $192



                      Partner     21     $587    $655     $727      $649    $701    $675

Luxembourg

                      Associate   38     $301    $378     $465      $408    $465    $392



                      Partner     33     $347    $398     $487      $447    $462    $351



Mexico                Associate   37     $255    $300     $427      $354    $317    $290



                      Paralegal   15      $99    $140     $164      $150    $146    $127



                      Partner     102    $400    $529     $758      $598    $557    $559



Netherlands           Associate   210    $282    $355     $515      $402    $365    $360



                      Paralegal   15     $195    $280     $329      $282    $218    $208



                      Partner     26     $448    $516     $577      $509    $452    $422

New Zealand

                      Associate   28     $255    $319     $434      $332    $335    $321

Norway                Partner


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Countries
Countries
By Role
2021-—Real
2021   Real Rates
           Rates   for
                 for   Partners
                     Partners,  , Associates
                               Associates,   and
                                           and   Paralegals
                                               Paralegals          Trend Analysis - Mean
                                         First           Third
Country               Role         n             Median             2021   2020    2019
New Zealand           Associate         Quartile        Quartile


                      Partner     14     $365    $395     $478      $439    $511    $423

Norway

                      Associate   13     $199    $235     $290      $253    $262    $277



Philippines           Partner     11     $302    $329     $423      $313    $260    $296



                      Partner     21     $201    $242     $329      $301    $246    $272

Poland

                      Associate   67     $137    $186     $216      $192    $189    $212



                      Partner     29     $375    $650     $856      $638    $673    $662



Russian Federation    Associate   78     $293    $312     $450      $370    $354    $381



                      Paralegal   35     $150    $150     $176      $178    $183    $171



                      Partner     37     $357    $639     $850      $652    $716    $645



Singapore             Associate   61     $333    $465     $575      $480    $462    $451



                      Paralegal   11     $276    $278     $321      $296    $277    $246



                      Partner     31     $252    $327     $398      $331    $279    $328

South Africa

                      Associate   31     $162    $180     $211      $192    $165    $203



                      Partner     43     $475    $636     $749      $617    $564    $519



Spain                 Associate   122    $275    $368     $535      $411    $392    $373



                      Paralegal   11     $195    $195     $205      $209    $198    $223

Sweden                Associate


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Countries
Countries
By Role
2021-—Real
2021   Real Rates
           Rates   for
                 for   Partners
                     Partners,  , Associates
                               Associates,   and
                                           and   Paralegals
                                               Paralegals             Trend Analysis - Mean
                                            First           Third
Country               Role          n               Median             2021   2020    2019
Spain                 Paralegal            Quartile        Quartile


Sweden                Associate    17       $307    $379     $394      $352    $340    $320



                      Partner      34       $403    $501     $603      $549    $533    $515

Switzerland

                      Associate    37       $290    $364     $473      $394    $370    $345



                      Partner      22       $350    $400     $511      $423    $414    $389

Taiwan

                      Associate    46       $152    $215     $260      $223    $219    $215



                      Partner      20       $408    $638     $857      $631    $626    $476

Thailand

                      Associate    16       $283    $343     $420      $350    $336    $426



                      Partner      14       $359    $472     $577      $477    $410    $388

Turkey

                      Associate    45       $195    $240     $294      $256    $232    $209



                      Partner      32       $608    $665     $710      $693    $726    $658



United Arab Emirates Associate     51       $360    $450     $542      $449    $460    $466



                      Paralegal    18       $181    $288     $364      $267    $278    $252



                      Partner      549      $645    $784    $1,030     $866    $785    $769



United Kingdom        Associate    930      $397    $506     $685      $557    $522    $499



                      Paralegal    286      $167    $208     $273      $233    $202    $190



                      Partner     11,482    $425    $643     $950      $728    $715    $679
United States
                      Associate


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Countries
Countries
By Role
2021-—Real
2021   Real Rates
           Rates   for
                 for   Partners
                     Partners,  , Associates
                               Associates,   and
                                           and   Paralegals
                                               Paralegals             Trend Analysis - Mean
                                            First           Third
Country               Role          n               Median             2021   2020    2019
                      Partner              Quartile        Quartile


United States         Associate   10,970    $325    $475     $700      $535    $515    $477



                      Paralegal   4,679     $155    $225     $315      $244    $236    $222




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Section V: International Analysis
Australia
                                    #:38580

Australia
By Role
By Role
2021 — Real Rates for Partners , Associates and
2021 - Real Rates for Partners,
Paralegals
Associates, and Paralegals                       Trend Analysis - Mean
                       First           Third
Role             n             Median             2021   2020    2019
                      Quartile        Quartile


Partner         115     $467   $554     $628      $549    $515   $500



Associate       198     $244   $332     $445      $354    $329   $329



Paralegal       44      $150   $199     $260      $209    $200   $194




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Section V: International Analysis   #:38581
Australia
Australia
By Practice Area and Matter Type
By Practice Area and Matter Type
2021 — Real Rates for Partners , Associates and Paralegals
2021 - Real Rates for Partners, Associates, and Paralegals                             Trend Analysis - Mean
                                                             First           Third
Practice Area             Matter Type      Role        n             Median              2021   2020   2019
                                                            Quartile        Quartile


                          Litigation       Associate   14    $345    $388     $476       $394   $334   $307

Corporate: Other

                          Non-Litigation   Associate   13    $241    $291     $317       $291   $328   $325



                                           Partner     15    $474    $573     $589       $533   $520   $441
Corporate: Regulatory
                          Non-Litigation
and Compliance
                                           Associate   22    $220    $270     $408       $302   $329   $293


Intellectual Property:
                          Non-Litigation   Associate   12    $242    $318     $409       $327   $323   $374
Trademarks




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Section V: International Analysis   #:38582
Australia
Australia
By Industry Group and Matter Type
By Industry Group and Matter Type
2021- Real
2021  — Real  Rates
           Rates      for Partners
                 for Partners,        and and
                               Associates, Associates
                                              Paralegals                          Trend Analysis - Mean
                                                        First           Third
Industry Group        Matter Type     Role        n             Median             2021      2020    2019
                                                       Quartile        Quartile


                                      Partner     34    $555    $612     $678      $646      $616    $595
Financials Excluding
                     Non-Litigation
Insurance
                                      Associate   66    $285    $356     $455      $374      $357    $333



Industrials           Non-Litigation Associate    11    $323    $435     $550      $448      $352    $449



                                      Partner     31    $361    $471     $558      $446      $448    $438
Technology and
                   Non-Litigation
Telecommunications
                                      Associate   45    $217    $259     $337      $294      $292    $294




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Section V: International Analysis   #:38583
Australia
Australia
By Firm Size
By Firm Size
2021
2021   — Real
     - Real RatesRates  for Partners
                  for Partners,         and
                                Associates,   Associates
                                            and Paralegals    Trend Analysis - Mean
                                    First           Third
Firm Size        Role         n             Median            2021    2020    2019
                                   Quartile        Quartile

50 Lawyers or
                 Associate    11     $181    $230    $281      $245   $290    $310
Fewer


                 Partner      11     $405    $455    $500      $444   $405    $374

51-200 Lawyers

                 Associate    18     $207    $224    $287      $251   $267    $318



                 Partner      16     $587    $625    $653      $621   $582    $568
201-500
Lawyers
                 Associate    31     $257    $292    $439      $340   $339    $349



                 Partner      30     $555    $633    $793      $686   $631    $605
More Than
1,000 Lawyers
                 Associate    69     $341    $440    $520      $436   $401    $364




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Section V: International Analysis   #:38584
Canada
Canada
By Role
By Role
2021
2021   — Real
     - Real RatesRates  for Partners , Associates and
                  for Partners,
Paralegals
Associates, and Paralegals                Trend Analysis - Mean
                       First           Third
Role             n             Median            2021   2020   2019
                      Quartile        Quartile


Partner        544      $435   $571     $779     $609   $598   $583



Associate      288      $304   $443     $561     $463   $430   $401



Paralegal      291      $145   $216     $285     $222   $216   $210




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Section V: International Analysis   #:38585
Canada
Canada
By Practice Area and Matter Type
By Practice Area and Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Partners
                 for Partners,     , Associates
                               Associates,        and Paralegals
                                           and Paralegals                               Trend Analysis - Mean
                                                              First           Third
Practice Area             Matter Type      Role        n              Median              2021   2020   2019
                                                             Quartile        Quartile

Bankruptcy and
                          Litigation       Partner     116    $350    $435     $500       $459   $456   $428
Collections


                          Litigation       Partner     126    $395    $505     $663       $546   $544   $530

Commercial

                          Non-Litigation   Partner     90     $548    $785     $885       $731   $690   $651



                                           Partner     31     $527    $665     $727       $628   $598   $594



                          Litigation       Associate   11     $450    $515     $613       $521   $498   $474



                                           Paralegal   24     $225    $250     $281       $254   $250   $253

Corporate: Other

                                           Partner     114    $522    $725     $858       $699   $685   $652



                          Non-Litigation   Associate   48     $394    $475     $672       $529   $500   $475



                                           Paralegal   45     $171    $250     $300       $239   $234   $229



                                           Partner     27     $565    $737     $850       $712   $674   $630
Corporate: Regulatory
                          Non-Litigation
and Compliance
                                           Associate   12     $512    $567     $572       $570   $493   $470



Corporate: Tax            Non-Litigation   Partner     18     $702    $875     $910       $793   $771   $726



                          Litigation       Partner     12     $440    $528     $577       $556   $558   $567


Employment and
                                           Partner     24     $410    $461     $560       $519   $564   $565
Labor: Other
                          Non-Litigation

                                           Associate   15     $354    $441     $548       $467   $436   $435



                                           Partner     68     $630    $785     $885       $769   $777   $729


Finance and Securities:
Investments and Other Non-Litigation       Associate   24     $483    $625     $753       $628   $575   $523
Financial Instruments
                                           Paralegal
                                                       30     $225    $307     $365       $305   $306   $297

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Section V: International Analysis   #:38586
Canada
Canada
By Practice Area and Matter Type
By Practice Area and Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Partners
                 for Partners,     , Associates
                               Associates,        and Paralegals
                                           and Paralegals                              Trend Analysis - Mean
                                                             First           Third
Practice Area             Matter Type      Role        n             Median              2021   2020   2019
                                           Associate        Quartile        Quartile
Finance and Securities: Non-Litigation
Investments and Other                      Paralegal   30    $225    $307     $365       $305   $306   $297
Financial Instruments

Finance and Securities:
                        Non-Litigation     Partner     16    $495    $644     $865       $710   $652   $642
Loans and Financing


Intellectual Property:
                          Non-Litigation   Partner     15    $333    $500     $573       $502   $451   $430
Patents




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Section V: International Analysis   #:38587
Canada
Canada
By Industry Group and Matter Type
By Industry Group and Matter Type
2021- Real
2021  — Real  Rates
           Rates      for Partners
                 for Partners        and Associates
                              and Associates                                         Trend Analysis - Mean
                                                           First           Third
Industry Group         Matter Type      Role         n             Median             2021      2020    2019
                                                          Quartile        Quartile


                       Litigation       Partner     234    $383    $493     $600      $514      $509    $501


Financials Excluding
                                        Partner     217    $558    $773     $885      $736      $722    $681
Insurance
                       Non-Litigation

                                        Associate   98     $440    $556     $720      $580      $545    $519



Health Care            Litigation       Partner     25     $402    $576     $679      $566      $546    $549



Industrials            Non-Litigation Partner       22     $518    $592     $710      $649      $610    $536



                       Litigation       Partner     13     $532    $697     $800      $699      $592    $537


Technology and
                                        Partner     44     $445    $530     $645      $550      $554    $510
Telecommunications
                       Non-Litigation

                                        Associate   16     $347    $412     $490      $406      $363    $350




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Section V: International Analysis   #:38588
Canada
Canada
By Firm Size
By Firm Size
 2021
2021    — Rates
     - Real Realfor
                 Rates    forand
                    Partners   Partners
                                 Associatesand Associates         Trend Analysis - Mean
                                       First           Third
Firm Size           Role         n             Median            2021    2020     2019
                                      Quartile        Quartile


                    Partner     47     $350    $435     $525     $459    $429     $415
50 Lawyers or
Fewer
                    Associate   34     $235    $300     $450     $343    $321     $278



51-200 Lawyers Partner          86     $431    $505     $689     $549    $538     $520



                    Partner     194    $525    $670     $850     $678    $650     $642
201-500
Lawyers
                    Associate   98     $382    $464     $567     $492    $470     $434



                    Partner     165    $475    $606     $821     $645    $641     $622
501-1,000
Lawyers
                    Associate   89     $410    $531     $720     $579    $510     $467




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Section V: International Analysis
France
                                    #:38589

France
By Role
By Role
2021 — Real Rates for Partners , Associates and
2021 - Real Rates for Partners,
Paralegals
Associates, and Paralegals                       Trend Analysis - Mean
                       First           Third
Role             n             Median            2021    2020    2019
                      Quartile        Quartile


Partner        145      $465   $574     $749     $611    $578    $551



Associate      297      $297   $390     $530     $426    $388    $378



Paralegal       42      $156   $220     $299     $223    $219    $205




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Section V: International Analysis   #:38590
France
France
By Practice Area and Matter Type
By Practice Area and Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Partners
                 for Partners,     , Associates
                               Associates,        and Paralegals
                                           and Paralegals                              Trend Analysis - Mean
                                                             First           Third
Practice Area             Matter Type      Role        n             Median              2021   2020   2019
                                                            Quartile        Quartile


Commercial                Litigation       Associate   11    $276    $354     $354       $323   $367   $336



                                           Partner     26    $358    $461     $657       $531   $549   $490

Corporate: Other          Non-Litigation

                                           Associate   39    $265    $431     $564       $451   $347   $360


Corporate: Regulatory
                          Non-Litigation   Associate   18    $254    $341     $465       $404   $316   $322
and Compliance

Finance and Securities:
Investments and Other Non-Litigation       Associate   42    $289    $356     $547       $417   $460   $407
Financial Instruments

Miscellaneous: General
                       Non-Litigation      Partner     11    $549    $607     $629       $627   $570   $532
Advice & Counsel




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Section V: International Analysis   #:38591
France
France
By Industry Group and Matter Type
By Industry Group and Matter Type
2021- Real
2021  — Real  Rates
           Rates      for Partners
                 for Partners,        and and
                               Associates, Associates
                                              Paralegals                             Trend Analysis - Mean
                                                           First           Third
Industry Group         Matter Type      Role         n             Median             2021      2020    2019
                                                          Quartile        Quartile


                       Litigation       Associate   12     $291    $387     $395      $369      $352    $363


Financials Excluding
                                        Partner     79     $500    $572     $650      $590      $575    $561
Insurance
                       Non-Litigation

                                        Associate   169    $294    $386     $511      $411      $401    $385



Industrials            Non-Litigation Associate     12     $538    $860    $1,055     $808      $585    $612



                                        Partner     26     $406    $465     $671      $546      $534    $490
Technology and
                   Non-Litigation
Telecommunications
                                        Associate   43     $241    $317     $476      $383      $327    $312




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Section V: International Analysis   #:38592
France
France
By Firm Size
By Firm Size
2021
2021   — Real
     - Real RatesRates  for Partners
                  for Partners,         and
                                Associates,   Associates
                                            and Paralegals     Trend Analysis - Mean
                                     First           Third
Firm Size        Role          n             Median            2021    2020    2019
                                    Quartile        Quartile

50 Lawyers or
                 Associate    14     $230    $308     $354     $295    $239    $236
Fewer


51-200 Lawyers Partner        11     $461    $461     $493     $504    $491    $489



                 Partner      26     $520    $576     $610     $595    $539    $557
501-1,000
Lawyers
                 Associate    62     $298    $350     $401     $371    $386    $384



                 Partner      69     $568    $704     $832     $724    $675    $627
More Than
1,000 Lawyers
                 Associate    164    $363    $477     $575     $488    $440    $416




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Section V: International Analysis   #:38593
Germany
Germany
By Role
By Role
2021
2021   — Real
     - Real RatesRates  for Partners , Associates and
                  for Partners,
Paralegals
Associates, and Paralegals                Trend Analysis - Mean
                       First           Third
Role             n             Median            2021   2020   2019
                      Quartile        Quartile


Partner        249      $362   $513     $706     $554   $521   $518



Associate      329      $310   $378     $462     $414   $411   $400



Paralegal       68      $168   $205     $270     $216   $210   $222




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Section V: International Analysis   #:38594
Germany
Germany
By Practice Area and Matter Type
By Practice Area and Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Partners
                 for Partners,     , Associates
                               Associates,        and Paralegals
                                           and Paralegals                              Trend Analysis - Mean
                                                             First           Third
Practice Area             Matter Type      Role        n             Median              2021   2020   2019
                                                            Quartile        Quartile


                                           Partner     15    $341    $365     $449       $396   $400   $411

Commercial                Non-Litigation

                                           Associate   18    $317    $353     $403       $363   $341   $315



                                           Partner     24    $546    $565     $875       $709   $707   $796
Corporate: Mergers,
Acquisitions and          Non-Litigation
Divestitures
                                           Associate   36    $306    $458     $712       $520   $502   $567



                                           Partner     11    $374    $665     $827       $622   $411   $495

                          Litigation

                                           Associate   16    $339    $370     $460       $411   $322   $413

Corporate: Other

                                           Partner     11    $493    $700     $730       $629   $558   $573

                          Non-Litigation

                                           Associate   16    $406    $431     $476       $449   $505   $436



                                           Partner     33    $353    $389     $484       $474   $448   $487
Corporate: Regulatory
                          Non-Litigation
and Compliance
                                           Associate   37    $354    $387     $449       $402   $391   $384



Corporate: Tax            Non-Litigation   Associate   15    $292    $389     $470       $407   $383   $450


Employment and
                          Non-Litigation   Associate   18    $242    $309     $328       $298   $297   $312
Labor: Other

Finance and Securities:
Investments and Other Non-Litigation       Associate   18    $405    $540     $600       $519   $505   $474
Financial Instruments

Finance and Securities:
                        Non-Litigation     Partner     14    $713    $812     $884       $803   $766   $665
Loans and Financing


                                           Partner     24    $436    $657     $707       $600   $539   $574

                          Litigation

                                           Associate   19    $328    $379     $420       $403   $405   $378
Intellectual Property:
Patents
                                           Partner     48    $356    $382     $503       $435   $387   $413
                          Non-Litigation
                                           Associate
                                                       38    $305    $377     $410       $364   $332   $338

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Germany
Germany
By Practice Area and Matter Type
By Practice Area and Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Partners
                 for Partners,     , Associates
                               Associates,        and Paralegals
                                           and Paralegals                              Trend Analysis - Mean
                                                             First           Third
Practice Area             Matter Type      Role        n             Median              2021   2020   2019
                                           Partner          Quartile        Quartile
Intellectual Property:    Non-Litigation
Patents                                    Associate   38    $305    $377     $410       $364   $332   $338



                                           Partner     11    $414    $516     $696       $562   $526   $453
Intellectual Property:
                          Non-Litigation
Trademarks
                                           Associate   11    $350    $387     $444       $391   $411   $371




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Section V: International Analysis   #:38596
Germany
Germany
By Industry Group and Matter Type
By Industry Group and Matter Type
2021- Real
2021  — Real  Rates
           Rates      for Partners
                 for Partners        and Associates
                              and Associates                                        Trend Analysis - Mean
                                                          First           Third
Industry Group        Matter Type      Role         n             Median             2021      2020    2019
                                                         Quartile        Quartile


                                       Partner     35     $698    $731     $879      $762      $719    $683
Financials Excluding
                     Non-Litigation
Insurance
                                       Associate   66     $361    $469     $623      $494      $502    $462



                                       Partner     32     $405    $445     $714      $516      $452    $465

Health Care           Non-Litigation

                                       Associate   40     $296    $363     $437      $368      $374    $340



                                       Partner     19     $344    $359     $379      $454      $455    $429

Industrials           Non-Litigation

                                       Associate   18     $468    $573     $780      $657      $572    $546



                                       Partner     18     $364    $533     $677      $535      $497    $563

                      Litigation

                                       Associate   17     $326    $330     $363      $332      $364    $371
Technology and
Telecommunications
                                       Partner     103    $359    $453     $618      $533      $487    $448

                      Non-Litigation

                                       Associate   108    $307    $368     $414      $385      $354    $350




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Section V: International Analysis   #:38597
Germany
Germany
By Firm Size
By Firm Size
2021
2021   — Real
     - Real RatesRates  for Partners
                  for Partners,         and
                                Associates,   Associates
                                            and Paralegals     Trend Analysis - Mean
                                     First           Third
Firm Size        Role          n             Median            2021    2020    2019
                                    Quartile        Quartile

50 Lawyers or
                 Partner      11     $306    $433     $456      $392   $344    $392
Fewer


51-200 Lawyers Partner        11     $350    $393     $428      $416   $382    $378



                 Partner      37     $361    $412     $521      $429   $412    $414
201-500
Lawyers
                 Associate    40     $353    $356     $385      $363   $339    $340



                 Partner      128    $497    $666     $810      $655   $633    $631
More Than
1,000 Lawyers
                 Associate    209    $306    $402     $515      $429   $441    $436




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Section V: International Analysis   #:38598
United Kingdom
United
By Role Kingdom
By Role
2021
2021   — Real
     - Real RatesRates  for Partners , Associates and
                  for Partners,
Paralegals
Associates, and Paralegals                Trend Analysis - Mean
                       First           Third
Role             n             Median            2021   2020   2019
                      Quartile        Quartile


Partner        549      $645   $784    $1,030    $866   $785   $769



Associate      930      $397   $506     $685     $557   $522   $499



Paralegal      286      $167   $208     $273     $233   $202   $190




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Section V: International Analysis   #:38599
UnitedKingdom
United       Kingdom
By Practice Area and Matter Type
By Practice Area and Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Partners
                 for Partners,     , Associates
                               Associates,        and Paralegals
                                           and Paralegals                              Trend Analysis - Mean
                                                             First           Third
Practice Area             Matter Type      Role        n             Median              2021    2020   2019
                                                            Quartile        Quartile


                                           Associate   23    $284    $388     $543       $420    $423   $453

                          Litigation

                                           Paralegal   13    $191    $208     $228       $205    $188   $171

Commercial

                                           Partner     17    $489    $583     $673       $639    $686   $710

                          Non-Litigation

                                           Associate   14    $303    $359     $503       $442    $453   $468



                                           Partner     41   $1,130   $1,371   $2,373    $1,571   $994   $896
Corporate: Mergers,
Acquisitions and          Non-Litigation
Divestitures
                                           Associate   63    $607    $852     $1,054     $842    $636   $522



                                           Partner     32    $597    $665     $755       $693    $747   $846



                          Litigation       Associate   44    $327    $412     $528       $439    $454   $458



                                           Paralegal   21    $183    $208     $223       $214    $186   $186

Corporate: Other

                                           Partner     60    $846    $998     $1,145     $972    $814   $776



                          Non-Litigation   Associate   95    $493    $588     $791       $637    $561   $536



                                           Paralegal   15    $230    $256     $365       $302    $157   $116



                                           Partner     50    $528    $737     $938       $750    $707   $750


Corporate: Regulatory
                          Non-Litigation   Associate   75    $324    $438     $548       $464    $438   $476
and Compliance


                                           Paralegal   18    $196    $223     $250       $223    $181   $198



                                           Partner     12    $790    $890     $1,196     $957    $829   $837

Corporate: Tax            Non-Litigation

                                           Associate   21    $449    $494     $632       $565    $546   $468

Employment and            Non-Litigation   Associate
Labor: Agreements


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Section V: International Analysis   #:38600
UnitedKingdom
United       Kingdom
By Practice Area and Matter Type
By Practice Area and Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Partners
                 for Partners,     , Associates
                               Associates,        and Paralegals
                                           and Paralegals                               Trend Analysis - Mean
                                                              First           Third
Practice Area             Matter Type      Role        n              Median              2021    2020     2019
Corporate: Tax            Non-Litigation   Associate         Quartile        Quartile

Employment and
                          Non-Litigation   Associate   28     $303    $412     $485       $387    $394     $394
Labor: Agreements


                                           Partner     57     $436    $529     $745       $614    $622     $642
Employment and
                          Non-Litigation
Labor: Other
                                           Associate   58     $327    $466     $593       $472    $453     $421



                                           Partner     44     $658    $708     $893       $786    $792     $776
Finance and Securities:
                        Non-Litigation
Debt/Equity Offerings
                                           Associate   80     $382    $472     $600       $495    $552     $515



                                           Partner     76     $719    $836    $1,030      $882    $818     $760
Finance and Securities:
Investments and Other Non-Litigation
Financial Instruments
                                           Associate   133    $419    $500     $670       $544    $542     $502



                                           Partner     57     $724    $957    $1,340     $1,020   $1,094   $1,027


Finance and Securities:
                        Non-Litigation     Associate   99     $500    $742     $902       $716    $674     $649
Loans and Financing


                                           Paralegal   25     $286    $375     $487       $362    $341     $302



                          Litigation       Partner     22     $694    $876    $1,009      $844    $748     $761



                                           Partner     20     $409    $456     $631       $486    $463     $461
Intellectual Property:
Patents
                          Non-Litigation   Associate   16     $381    $395     $497       $413    $376     $369



                                           Paralegal   11     $165    $183     $245       $201    $202     $199



                                           Partner     12     $561    $619     $684       $654    $732     $606


Intellectual Property:
                          Non-Litigation   Associate   26     $331    $406     $434       $398    $365     $394
Trademarks


                                           Paralegal   18     $190    $220     $245       $242    $207     $205

Miscellaneous: General Non-Litigation      Associate
Advice & Counsel


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Section V: International Analysis   #:38601
UnitedKingdom
United       Kingdom
By Practice Area and Matter Type
By Practice Area and Matter Type
2021- —
2021    Real
      Real    Rates
           Rates     for Partners
                 for Partners,     , Associates
                               Associates,        and Paralegals
                                           and Paralegals                              Trend Analysis - Mean
Intellectual Property:                                       First           Third
Practice Area             Matter Type      Role        n             Median              2021   2020   2019
Trademarks                Non-Litigation   Paralegal        Quartile        Quartile

Miscellaneous: General
                       Non-Litigation      Associate   25    $426    $502     $550       $503   $488   $524
Advice & Counsel




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Section V: International Analysis   #:38602
United Kingdom
United    Kingdom
By Industry Group and Matter Type
By Industry Group and Matter Type
2021- Real
2021  — Real  Rates
           Rates      for Partners
                 for Partners,        and and
                               Associates, Associates
                                              Paralegals                             Trend Analysis - Mean
                                                           First           Third
Industry Group         Matter Type      Role         n             Median             2021      2020    2019
                                                          Quartile        Quartile


                                        Partner     15     $622    $834     $1,041    $842      $806    $808

                       Litigation

                                        Associate   48     $349    $467     $595      $491      $498    $508
Financials Excluding
Insurance
                                        Partner     238    $722    $873     $1,069    $923      $896    $836

                       Non-Litigation

                                        Associate   429    $430    $535     $719      $586      $573    $530



                                        Partner     44     $511    $665     $1,065    $782      $673    $634

Health Care            Non-Litigation

                                        Associate   65     $386    $499     $588      $514      $448    $389



                                        Partner     52     $706    $1,328   $2,107   $1,313     $696    $711

Industrials            Non-Litigation

                                        Associate   83     $522    $721     $1,000    $784      $583    $551



                                        Partner     17     $648    $681     $761      $709      $660    $716

                       Litigation

                                        Associate   25     $322    $372     $465      $387      $359    $444
Technology and
Telecommunications
                                        Partner     92     $480    $662     $797      $660      $654    $658

                       Non-Litigation

                                        Associate   154    $322    $411     $504      $436      $425    $445




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Section V: International Analysis   #:38603
United Kingdom
United    Kingdom
By Firm Size
By Firm Size
2021
2021   — Real
     - Real RatesRates  for Partners
                  for Partners         and Associates
                               and Associates                  Trend Analysis - Mean
                                     First           Third
Firm Size        Role          n             Median             2021    2020    2019
                                    Quartile        Quartile

50 Lawyers or
                 Associate    20     $355    $416     $464      $416    $376    $349
Fewer


                 Partner      12     $275    $482     $727      $569    $473    $423

51-200 Lawyers

                 Associate    15     $356    $449     $479      $419    $342    $357



                 Partner      40     $748    $855    $1,042     $853    $695    $682
201-500
Lawyers
                 Associate    71     $446    $535     $726      $579    $467    $443



                 Partner      18     $868    $995    $1,120     $983   $1,168   $1,076
501-1,000
Lawyers
                 Associate    34     $401    $521     $740      $560    $698    $598



                 Partner      326    $682    $859    $1,070     $895    $839    $812
More Than
1,000 Lawyers
                 Associate    608    $400    $523     $693      $565    $540    $516




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                                     #:38604




   Section VI:
   Matter Staffing
   Analysis
   All data and analysis based on data
   collected thru Q3 2021




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Section VI: Matter Staffing Analysis#:38605

Short Litigation Matters, 40 to 100 Total Hours Billed
2018 to 2021 -- Percentage of Hours Billed per Matter

Short Li�ga�on Ma�ers, 40 to 100 Total Hours Billed
                              Partners
2018 to 2021 -- Percentage of Hours            Associates
                                    Billed per Ma�er              Paralegals   n = number of mattersPartner
                                                                                                     billed       Associate         Paralegal     nn


Bankruptcy and Collec�ons                                56%                                          31%                       13%              784



              Commercial                            50%                                             38%                             12%          565


Corporate: Regulatory and
                                                            59%                                             34%                        7%        57
              Compliance


         Corporate: Other                            51%                                              42%                              7%        369



   Employment and Labor                            48%                                                46%                                 6%     437



    Finance and Securi�es                         46%                                                48%                                  6%     121



          General Liability                        49%                                        31%                             20%                956



       Insurance Defense                                54%                                         32%                         14%             11,285


     Intellectual Property:
                                                   48%                                              44%                               8%         196
                    Patents


               Real Estate                               55%                                               38%                         7%        350


                              0%                                                50%                                                         100%




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Section VI: Matter Staffing Analysis#:38606

Long Litigation Matters, More Than 100 Total Hours Billed
2018 to 2021 -- Percentage of Hours Billed per Matter

Long Li�ga�on Ma�ers, More Than 100 Total Hours Billed
                               Partners
2018 to 2021 -- Percentage of Hours             Associates
                                    Billed per Ma�er               Paralegals   n = number of mattersPartner
                                                                                                      billed        Associate    Paralegal         nn


Bankruptcy and Collec�ons                                55%                                                36%                    9%          388


               Commercial                     39%                                                52%                               9%          626


                 Corporate                 32%                                             56%                                    11%          71

 Corporate: Regulatory and
                                             37%                                               52%                                11%          165
               Compliance

          Corporate: Other                       43%                                                 47%                          11%          590


    Employment and Labor                      38%                                              49%                               13%           547


            Environmental                                57%                                                  39%                       4%     35


     Finance and Securi�es                    38%                                              51%                                11%          164


           General Liability                     40%                                     36%                               23%                1,284


        Insurance Defense                              50%                                            36%                        14%          7,209

      Intellectual Property:
                                                 42%                                                 50%                               8%      461
                     Patents

                Real Estate                                  58%                                             34%                       8%      342

                               0%                                                50%                                                        100%




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Section VI: Matter Staffing Analysis#:38607

Short Non-Litigation Matters, 40 to 100 Total Hours Billed
2018 to 2021 -- Percentage of Hours Billed per Matter

Short Non-Li�ga�on Ma�ers, 40 to 100 Total Hours Billed
                               Partners
2018 to 2021 -- Percentage of Hours             Associates
                                    Billed per Ma�er               Paralegals   n = number of matters billed
                                                                                                    Partner             Associate    Paralegal   nn

 Bankruptcy and Collec�ons                                         71%                                                   24%               5%    156

                Commercial                             51%                                                40%                           9%       407

                  Corporate                           50%                                                  46%                             4%    237

        Corporate: Mergers,
                                                      50%                                                 44%                              7%     73
Acquisi�ons and Dives�tures
  Corporate: Regulatory and
                                                      49%                                                 44%                              7%    453
                Compliance

           Corporate: Other                            53%                                                  41%                            7%    826

     Employment and Labor                             49%                                                 44%                           7%       580

      Finance and Securi�es                     41%                                                 52%                                  7%      1,353

            General Liability                         50%                                             40%                              10%       172

          Insurance Defense                                 58%                                                 35%                        7%    1,678

       Intellectual Property:
                                               40%                                            47%                                    13%         1,422
                      Patents
       Intellectual Property:
                                            35%                                        41%                                     24%                87
                 Trademarks

 Intellectual Property: Other                         50%                                                  45%                             5%     72

                 Real Estate                                 61%                                                  34%                      6%    1,608

                                0%                                               50%                                                          100%




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Section VI: Matter Staffing Analysis#:38608

Long Non-Litigation Matters, More Than 100 Total Hours Billed
2018 to 2021 -- Percentage of Hours Billed per Matter

Long Non-Li�ga�on Ma�ers, More Than 100 Total Hours Billed
                                Partners
2018 to 2021 -- Percentage of Hours              Associates
                                    Billed per Ma�er                  Paralegals   n = number of matters billed
                                                                                                      Partner             Associate     Paralegal      nn

  Bankruptcy and Collec�ons                               53%                                                    42%                          5%      148

                   Corporate                33%                                                 60%                                         7%        437

                 Commercial                             48%                                                 46%                              7%       490
        Corporate: Mergers,
                                              36%                                                 59%                                         5%      223
Acquisi�ons and Dives�tures
  Corporate: Regulatory and
                                                  40%                                                 53%                                   7%        586
                Compliance

            Corporate: Other                   39%                                              50%                                     12%           1,210

      Employment and Labor                        41%                                                50%                                    9%        656

              Environmental                                     63%                                                     33%                      4%    64

       Finance and Securi�es                33%                                                59%                                          8%        2,007

             General Liability                    42%                                          40%                                    18%             182

       Government Rela�ons                               51%                                                     45%                             4%    45

           Insurance Defense                             51%                                                40%                             9%        1,725

Intellectual Property: Patents                          49%                                                42%                              9%        250
        Intellectual Property:
                                            33%                                          44%                                     23%                   99
                  Trademarks
 Intellectual Property: Other                     41%                                          42%                                    17%              74

                  Real Estate                                  59%                                                34%                       8%        1,171

                                 0%                                                50%                                                            100%




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   Appendix:
   Data Methodology
   All data and analysis based on data
   collected thru Q3 2021




2021 Real Rate Report
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Appendix: Data Methodology


Invoice Information                                  Non-Invoice Information

Data in Wolters Kluwer’s ELM Solutions’ reference    To capture practice area details, the matter ID
database and in the 2020 Mid-Year Real Rate          within each invoice was associated with matter
Report were taken from invoice line item entries     profiles containing areas of work in the systems
contained in invoices received and approved by       of each company. The areas of work were then
participating companies.                             systematically categorized into legal practice
                                                     areas. Normalization of practice areas was done
Invoice data were received in the Legal Electronic   based on company mappings to system-level
Data Exchange Standard (LEDES) format (LEDES.        practice areas available in the ELM Solutions
org). The following information was extracted        system and by naming convention.
from those invoices and their line items:
                                                     The majority of analyses included in this report
• Law firm (which exists as a random number in       have been mapped to one of 12 practice areas,
  the ELM Solutions reference database)              further divided into sub-areas and litigation/non-
• Timekeeper ID (which exists as a random            litigation (for more information on practice areas
  number in the ELM Solutions reference              and sub-areas, please refer to pages 238-240).
  database)
                                                     To capture location and jurisdiction details,
• Matter ID (which exists as a random number in      law firms and timekeepers were systematically
  the ELM Solutions reference database)              mapped to the existing profiles within ELM
• Timekeeper’s position (role) within the law firm   Solutions systems, as well as with publicly
  (partner, associate, paralegal, etc.)              available data sources for further validation and
                                                     normalization. Where city location information
• Uniform Task-Based Management System Code          is provided, it includes any address within that
  Set, Task Codes, and Activity Codes (UTBMS.com)    city’s defined Core-Based Statistical Area (CBSA)
• Date of service                                    as defined by the Office of Management and
                                                     Budget (OMB). The CBSAs are urban centers
• Hours billed                                       with populations of 10,000 or more and include
• Hourly rate billed                                 all adjacent counties that are economically
                                                     integrated with that urban center.
• Fees billed
                                                     Where the analyses focus on partners, associates,
                                                     and paralegals, the underlying data occasionally
                                                     included some sub-roles, such as “senior
                                                     partner” or “junior associate.” In such instances,
                                                     those timekeeper sub-roles were placed within
                                                     the broader partner, associate, and paralegal
                                                     segments.

                                                     Demographics regarding law firm size, location,
                                                     and lawyer years of experience were augmented
                                                     by incorporating publicly available information.




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Appendix: Data Methodology
A Note on US Cities
Throughout the report, we have used city names to refer to CBSA and consistently used the principal city
in the CBSA to refer to the entire area. The following are the shorthand city names used in this report and
the corresponding CBSA designations, as defined by the OMB.


Principal City                         CBSA Name

Akron, OH                             Akron, OH
Albany, NY                            Albany-Schenectady-Troy, NY
Albuquerque, NM                       Albuquerque, NM
Atlanta, GA                           Atlanta-Sandy Springs-Alpharetta, GA
Austin, TX                            Austin-Round Rock-Georgetown, TX
Baltimore, MD                         Baltimore-Columbia-Towson, MD
Baton Rouge, LA                       Baton Rouge, LA
Birmingham, AL                        Birmingham-Hoover, AL
Boise City, ID                        Boise City, ID
Boston, MA                            Boston-Cambridge-Newton, MA-NH
Bridgeport, CT                        Bridgeport-Stamford-Norwalk, CT
Buffalo, NY                           Buffalo-Cheektowaga, NY
Burlington, VT                        Burlington-South Burlington, VT
Charleston, SC                        Charleston-North Charleston, SC
Charleston, WV                        Charleston, WV
Charlotte, NC                         Charlotte-Concord-Gastonia, NC-SC
Chicago, IL                           Chicago-Naperville-Elgin, IL-IN-WI
Cincinnati, OH                        Cincinnati, OH-KY-IN
Cleveland, OH                         Cleveland-Elyria, OH
Columbia, SC                          Columbia, SC
Columbus, OH                          Columbus, OH
Dallas, TX                            Dallas-Fort Worth-Arlington, TX
Dayton, OH                            Dayton-Kettering, OH
Denver, CO                            Denver-Aurora-Lakewood, CO
Detroit, MI                           Detroit-Warren-Dearborn, MI
Fresno, CA                            Fresno, CA
Grand Rapids, MI                      Grand Rapids-Kentwood, MI
Greenville, SC                        Greenville-Anderson, SC
Harrisburg, PA                        Harrisburg-Carlisle, PA
Hartford, CT                          Hartford-East Hartford-Middletown, CT
Honolulu, HI                          Urban Honolulu HI
Houston, TX                           Houston-The Woodlands-Sugar Land, TX


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Appendix: Data Methodology
A Note on US Cities


Principal City                 CBSA Name

Indianapolis, IN              Indianapolis-Carmel-Anderson, IN
Jackson, MS                   Jackson, MS
Jacksonville, FL              Jacksonville, FL
Kansas City, MO               Kansas City, MO-KS
Lafayette, LA                 Lafayette, LA
Las Vegas, NV                 Las Vegas-Henderson-Paradise, NV
Lexington, KY                 Lexington-Fayette, KY
Little Rock, AR               Little Rock-North Little Rock-Conway, AR
Los Angeles, CA               Los Angeles-Long Beach-Anaheim, CA
Louisville, KY                Louisville/Jefferson County, KY-IN
Madison, WI                   Madison, WI
Memphis, TN                   Memphis-Forrest City, TN-MS-AR
Miami, FL                     Miami-Fort Lauderdale-Pompano Beach, FL
Milwaukee, WI                 Milwaukee-Waukesha, WI
Minneapolis, MN               Minneapolis-St. Paul-Bloomington, MN-WI
Nashville, TN                 Nashville-Davidson-Murfreesboro-Franklin, TN
New Haven, CT                 New Haven-Milford, CT
New Orleans, LA               New Orleans-Metairie, LA
New York, NY                  New York-Newark-Jersey City, NY-NJ-PA
Oklahoma City, OK             Oklahoma City, OK
Omaha, NE                     Omaha-Council Bluffs, NE-IA
Orlando, FL                   Orlando-Kissimmee-Sanford, FL
Philadelphia, PA              Philadelphia-Camden-Wilmington, PA-NJ-DE-MD
Phoenix, AZ                   Phoenix-Mesa-Chandler, AZ
Pittsburgh, PA                Pittsburgh, PA
Portland, ME                  Portland-South Portland, ME
Portland, OR                  Portland-Vancouver-Hillsboro, OR-WA
Providence, RI                Providence-Warwick, RI-MA
Raleigh, NC                   Raleigh-Cary, NC
Reno, NV                      Reno-Carson City-Fernley, NV
Richmond, VA                  Richmond, VA
Rochester, NY                 Rochester, NY
Sacramento, CA                Sacramento-Roseville-Folsom, CA
Salt Lake City, UT            Salt Lake City, UT



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Appendix: Data Methodology
A Note on US Cities


Principal City                 CBSA Name

San Diego, CA                 San Diego-Chula Vista-Carlsbad, CA
San Francisco, CA             San Francisco-Oakland-Berkeley, CA
San Jose, CA                  San Jose-Sunnyvale-Santa Clara, CA
San Juan, PR                  San Juan-Bayamon-Caguas, PR
Savannah, GA                  Savannah, GA
Seattle, WA                   Seattle-Tacoma-Bellevue, WA
St. Louis, MO                 St. Louis, MO-IL
Syracuse, NY                  Syracuse, NY
Tallahassee, FL               Tallahassee, FL
Tampa, FL                     Tampa-St. Petersburg-Clearwater, FL
Toledo, OH                    Toledo, OH
Trenton, NJ                   Trenton-Princeton, NJ
Tulsa, OK                     Tulsa, OK
Washington, DC                Washington-Arlington-Alexandria, DC-VA-MD-WV
Wheeling, WV                  Wheeling, WV-OH




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Appendix: Data Methodology

Anonymization of the Dataset                          “Real Rate” Definition
Prior to inclusion in the ELM Solutions reference     The information in this report consists of data
database, we systematically scrubbed the data of      taken from client invoices submitted by law
any information that would identify a particular      firms for work performed from 7/1/2017 through
matter, company, law firm, invoice, or timekeeper     9/30/2021. All Invoices were submitted through
(individual). To ensure relationships necessary for   the ELM billing systems.
analysis, those variables were assigned randomly
                                                      The analyses contained in this report are
generated numbers. To maintain data integrity
                                                      derived from aggregating hours, fees, and rates
and allow for proper analysis, these numbers
                                                      submitted as line items on those invoices. For a
are linked across data tables to enforce their
                                                      line item to qualify for inclusion in this report,
associations.
                                                      it had to undergo multiple and rigorous testing
To further ensure anonymity and confidentiality:      processes to ensure its validity.
• The information is published in such a manner       For example, for a rate to be loaded to the ELM
  as to make it reasonably impervious to reverse      Solutions reference database and used in this
  analysis should some attempt be made to             report, it must have been part of an invoice line
  determine what data might pertain to any            entry in which all of the following items were
  company, law firm, timekeeper, invoice, or          included:
  matter;                                             • Name of the biller
• The 2021 Real Rate Report will not reveal which     • Role of the biller
  ELM Solutions client or clients are included or     • Date of activity
  excluded in its analyses;
                                                      • Hourly rate charged
• Clients are not and will not be informed as         • Time charged
  to whether their data are included within a
  particular facet of analysis; and                   • UTBMS code associated with the time charged
                                                      • Total amount charged for the activity
• No textual description of any legal work
  performed by any individual exists in the           In addition, each line item’s hourly rate was
  ELM Solutions reference database.                   validated against its “real rate” (calculated by
                                                      dividing the total amount charged for the activity
A Note on Insurance Litigation                        by the time charged). Any line items with an
Our aim is to provide a point of comparison           hourly rate that did not align closely with the real
for companies purchasing law firm services. To        rate were not loaded to the reference database.
improve comparability, we removed data related        Real Rate = Line Item Total/Line Item Hours
to insurance company defense litigation for all       (Units) Example: $4,000/10 Hours = Real Rate of
analyses unless noted otherwise. Insurance            $400
litigation tends to be less expensive than
other types of litigation, as it is typically more    Adjustments the client made to line item amounts
repetitive and less complex.                          subsequent to submission are not factored into
                                                      the dataset. These types of adjustments may
                                                      impact the effective rate paid by the client to the
                                                      law firm but do not reflect the real rate billed.




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Appendix: Data Methodology

In short, the real rate is the rate appearing on an     All data included within this report have been
approved invoice at the invoice line item level.        mapped to a corresponding practice area. The
                                                        majority of our analyses focus on the following 12
Aggregations of data taken from millions of these
                                                        practice areas:
line item–level invoice entries are the core of the
information analyzed.                                   • Bankruptcy and Collections
                                                        • Commercial
A Note on Negotiated Rates and Billing
                                                        • Corporate
Practices law firms can generally follow vary for       • Employment and Labor
submitting “negotiated” rates on invoices. Firms
                                                        • Environmental
may submit the negotiated rate as the hourly rate
identified on the invoice line item, insert a vendor    • Finance and Securities
line item adjustment to ensure compliance,              • General Liability
or provide a vendor invoice level adjustment            • Government Relations
to bring the total amount of the fees into              • Insurance Defense
compliance with agreed-on discounts. Although
the former two are considered part of the real          • Intellectual Property
rate calculation, the latter can be problematic. It     • Marketing and Advertising
is not directly linked to a line item, and therefore,   • Real Estate
for the purposes of determining the rate, it
                                                        Within each client’s areas of work, sub-areas are
should not be assumed that the adjustment
                                                        often identified. The lists that follow identify
is related to a specific line item. Invoice-level
                                                        client areas of work and, within those areas, the
adjustments may represent a credit or some
                                                        sub-areas underneath each practice area. Often,
other type of adjustment placed on the invoice.
                                                        the same sub-area appears within different
To ensure these types of adjustments would not
                                                        practice areas. For example, the sub-area
adversely impact the analysis contained within
                                                        “General/Other” when listed under “Commercial
the 2021 Real Rate Report, the team reviewed
                                                        and Contracts” refers to general work provided
the population of invoices and line items to
                                                        regarding Commercial and Contracts matters.
determine what the deviation of the real rate
                                                        When listed under the “Employment and Labor”
might be based on inclusion or exclusion. The
                                                        practice area, the same sub-area refers to work
analysis demonstrated that the variance was not
                                                        provided on Employment and Labor. Where
significant (less than 1%).
                                                        applicable and practicable, each area and sub-
As such, we decided not to include the vendor-          area has been further subdivided into litigation
level adjustments in the report.                        and non- litigation work for the purposes of
                                                        granular analysis.
Types of Matters Included in the Analysis
Matters within the ELM Solutions system are             Bankruptcy and Collections
associated with areas of work described and             Chapter 11
defined by ELM Solutions clients. Those areas           Collections
of work were analyzed and systematically                General/Other
categorized into legal practice areas.                  Workouts and Restructuring
Normalization of practice areas was supported by
mappings to system-level practice areas available
in the ELM Solutions system and by naming
convention.




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Appendix: Data Methodology

Commercial (Commercial Transactions and Agreements)
Contract Breach or Dispute
General, Drafting, and Review
General/Other

Corporate1
Antitrust and Competition                                              Partnerships and Joint Ventures
Corporate Development                                                  Regulatory and Compliance
General/Other                                                          Tax
Governance                                                             Treasury
Information and Technology                                             White Collar/Fraud/Abuse
Mergers, Acquisitions, and Divestitures

Employment and Labor
ADA                                                                    General/Other
Agreements                                                             Immigration
Compensation and Benefits                                              Union Relations and Negotiations/NLRB
Discrimination, Retaliation, and Harassment/EEO                        Wages, Tips, and Overtime
Employee Dishonesty/Misconduct                                         Wrongful Termination
ERISA

Environmental
General/Other
Health and Safety
Superfund
Waste/Remediation

Finance and Securities
Commercial Loans and Financing                                         Investments and Other Financial Instruments
Debt/Equity Offerings                                                  Loans and Financing
Fiduciary Services                                                     SEC Filings and Financial Reporting
General/Other                                                          Securities and Banking Regulations

General Liability
Asbestos/Mesothelioma                                                  Personal Injury/Wrongful Death
Auto and Transportation                                                Premises
Consumer Related Claims                                                Product and Product Liability
Crime, Dishonesty and Fraud                                            Property Damage
General/Other                                                          Toxic Tort

Government Relations
General/Other
Lobbying and Relations




1 All references to “Corporate: General/Other” in the 2020 Mid-Year Real Rate Report are the aggregation of all Corporate subareas excluding
  the Mergers, Acquisitions, and Divestitures sub-area and the Regulatory and Compliance sub-area.


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Appendix: Data Methodology

Insurance Defense
Auto and Transportation
General/Other
Personal Injury/Wrongful Death
Product and Product Liability
Professional Liability
Property Damage
Toxic Tort

Intellectual Property2
General/Other
Licensing
Patents
Trademarks

Marketing and Advertising
General/Other


Real Estate
Construction/Development
Easement and Right of Way
General/Other
Land Use/Zoning/Restrictive Covenants
Landlord/Tenant Issues
Leasing
Property/Land Acquisition or Disposition
Titles




2 All references to “Intellectual Property: General/Other” in the 2020 Mid-Year Real Rate Report are the aggregation of all Intellectual Property
  sub-areas excluding the Patents and Trademarks sub-areas.


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and matter management, contract lifecycle management, and legal analytics solutions. We
provide a comprehensive suite of tools that address the growing needs of corporate legal
operations departments to increase operational efficiency and reduce costs. Corporate legal
and insurance claims departments trust our innovative technology and end-to-end customer
experience to drive world-class business outcomes. Wolters Kluwer’s ELM Solutions was named
a leader in both the IDC MarketScape: Worldwide Enterprise Legal Spend Management 2020
Vendor Assessment and IDC MarketScape: Worldwide Enterprise Matter Management 2020 Vendor
Assessment. The award winning products include Passport®, one of the highest rated ELM
solutions in the latest Hyperion MarketView™ Legal Market Intelligence Report; TyMetrix® 360°,
the industry’s leading SaaS-based e-billing and matter management solution; CLM Matrix, named
a “strong performer” in the 2019 Q1 CLM Forrester Wave report; and the LegalVIEW® portfolio of
legal analytics solutions based upon the industry’s largest and most comprehensive legal spend
database, with more than $150 billion in invoices.




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                     EXHIBIT 10
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   2020 Real
   Rate Report®
                         The Industry’s
                         Leading Analysis
                         of Law Firm Rates,
                         Trends, and
                         Practices




                                                      When you have to be right
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                                      #:38621




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          A Letter to Our Readers


                 Welcome to the Wolters Kluwer’s ELM Solutions Real Rate Report®, the industry’s
                 leading data-driven benchmark report for lawyer rates.

                 Our Real Rate Report has been a useful data analytics resource to the legal industry
o Our Readers
         since its inception in 2010 and continues to evolve. The Real Rate Report is powered by
                Wolters Kluwer’s ELM Solutions LegalVIEW® data warehouse, the world‘s largest source
                of legal performance benchmark data, which has grown to include over $140 billion in
 7 Real Rate Report® Snapshot edition, the industry’s leading data-driven benchmark
                anonymized legal data.
 tes and matter costs.
                 The legal services industry relies on internal analytics and the use of external data
 nd ELM Solutions once again analyzed more than $9 billion in legal spending data
                 resources, such as the LegalVIEW® data warehouse, to support legal management
 yers and sellers of legal services with the transparency to make more informed
                 strategies. The depth and details of the data in the Real Rate Report enable you to
  and staffing decisions. As with past Real Rate Reports, all of the data analyzed are
                 better and
 and law firms’ e-billing benchmark  and make more
                             time management           informed investment and resourcing decisions for
                                                 solutions.
                 your organization.
  eve that the depth and granularity of the rate and matter staffing data in the Real
                 As with past Real Rate Reports, all of the data analyzed are from corporations’ and law
 ely enables you to better benchmark, predict, and manage matter costs. As the
 comes the normfirms’  e-billing and
                  and companies       time
                                  expect    management
                                          better           solutions.
                                                 information           We havemaking,
                                                              to fuel decision   included lawyer and paralegal
                 rate data filtered  by specific practice and  sub-practice    areas,
 ndustry relies more on internal analytics and the use of data resources, such as     metropolitan areas, and
                 types of matters
  M Solutions LegalVIEW®            to give legal
                          data warehouse,         departments
                                            to support            and law firms
                                                        legal management          greater ability to pinpoint
                                                                             strategies.
                 areas of opportunity.
 s, we have included lawyer and paralegal rate data filtered by specific practice and
                  We strive
 metropolitan areas,          to make
                        and types      the Real
                                  of matters     RateLegal
                                              to give  Report  a valuable and
                                                             departments   and law
                                                                                actionable
                                                                                    firms    reference tool
 npoint areas of for   legal departments
                   opportunity.  Our hope and   law firms.
                                            remains         As information
                                                      that the  always, we welcome     your comments and
                                                                            and analysis
 ort will not onlysuggestions
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                         moreyou  for making
                               confident       Wolters
                                         decisions  thatKluwer’s  ELM Solutions
                                                         create substantial       your trusted partner for
                                                                            cost savings
 tion with the lawlegal
                    firmsindustry  domain expertise, data, and analytics and look forward to continuing to
                           they use.
                 provide market-leading, expert solutions that deliver the best business outcomes for
 the Real Rate Report editions valuable and actionable reference tools for Legal
                  collaboration among legal departments and law firms.
 w firms. As always, we welcome your comments and suggestions on what information
 blication more valuable to you. We thank you and look forward to continuing the
 w Legal departments and law firms can collaborate with better clarity and trust.




                 Sincerely,




 anian           Jonah
                 Jonah Paransky
                       Paransky
                 Executive Vice President
                 EVP and General  Managerand General Manager
                 Wolters Kluwer’sELM
                 Wolters Kluwer’s ELMSolutions
                                      Solutions




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How to Use this Report


      The 2020 Real Rate Report:
      •   Examines law firm rates over time
      •   Itemizes rates by location, experience, firm size, areas of expertise, industry, and
          timekeeper role (i.e., partner, associate, and paralegal)
      •   Identifies variables that drive rates up or down
      All the analyses included in the report derive from the actual rates charged by law firm
      professionals as recorded on invoices submitted and approved for payment.
      Examining real, approved rate information, along with the ranges of those rates and their
      changes over time, highlights the role these variables play in driving aggregate legal cost
      and income. The analyses can energize questions for both corporate clients and law firm
      principals.
      Clients might ask whether they are paying the right amount for different types of legal
      services, while law firm principals might ask whether they are charging the right amount for
      legal services and whether to modify their pricing approach.

      Some key factors¹ that drive rates²:
      •   Geographic location - Lawyers in urban and major metropolitan areas tend to charge
          more when compared with lawyers in rural areas or small towns.
      •   Degree of difficulty - The cost of representation will be higher if the case is particularly
          complex or time-consuming; for example, if there are a large number of documents to
          review, many witnesses to depose, and numerous procedural steps, the case is likely to
          cost more (regardless of other factors like the lawyer’s level of experience).
      •   Experience and reputation - A more experienced, higher-profile lawyer is often going to
          charge more, but absorbing this higher cost at the outset may make more sense than
          hiring a less expensive lawyer who will likely take time and billable hours to come up to
          speed on unfamiliar legal and procedural issues.
      •   Overhead - The costs associated with the firm’s support network (paralegals, clerks, and
          assistants), document preparation, consultants, research, and other expenses.

      Additional analysis was performed to examine the impact of rates on law firm invoices
      relative to an e-billing providers’ business model. It should be noted that there are several
      industry-standard business models that e-billing providers use to charge law firms and other
      legal service providers to submit invoices and perform other transactions through their
      systems. The three main model types are:
      •   Client pay, where the corporate client pays a subscription for the matter and spend
          solution
      •   Law firm pay, where the law firm pays a subscription or usage fee based on the invoices
          submitted
      •   Hybrid, which is a combination of a client pay and law firm pay


      1 Source: 2018 RRR. Factor order validated in multiple analyses since 2010
      2 David Goguen, J.D., University of San Francisco School of Law (2017) Guide to Legal Services Billing Retrieved from https://
        www.lawyers.com/legal-info/research/guide-to-legal-services-billing-rates.html

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How to Use this Report


      The data shows that the law firm pay model has become normative in the industry –
      85%+ of Wolters Kluwer’s ELM Solutions clients’ law firms participate in a law firm pay or
      hybrid model. In addition, 99% of the Am Law 200 law firms participate in at least one
      law firm pay model paying 1% or more on the invoices submitted, and 97% of the Am
      Law 200 pay 2%.

      Additionally, the analysis performed then examined law firm rates from firms who
      participated in one of those law firm pay/hybrid models versus those who are in a client
      pay model. The analysis showed no statistical difference in rates, suggesting that the
      business model that the firm participates in does not impact the rates the firm charges
      to their corporate client.

      Overall, the data in the 2020 Real Rate Report provides corporate counsel with an
      understanding of the rates they can expect to pay for a given matter type, division,
      industry, or practice area and offers in-depth analyses on key drivers of rates to help
      make informed selection decisions. For law firms, it provides a relative benchmark to
      ensure that pricing for legal services remains competitive.




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                                        services services,  as well as
                                                    well as manage     manage
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                                   Better analytics, smarter decisions
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                                   Visibility and management of all vendor invoices




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    with outside counsel, and the value of what your legal department delivers to your organization.


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Section I:
High-Level Data Cuts




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     Partners,       Associates,
     Partners, Associates, and Paralegalsand Paralegals

     By Role
     2019 -- Real Rates                                                          Trend Analysis (Mean)

                  Role                 n        First     Median       Third     2019     2018     2017
                                               Quartile               Quartile

     Partner                         14142      $400       $610        $894      $680     $659     $630

     Associate                       14341      $295       $425        $615      $479     $462     $439

     Paralegal                        6431      $150       $213        $289      $225     $211     $201




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                   Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role     n      First        Median    Third      2019       2018    2017
                                                                 Quartile               Quartile

     Bankruptcy and            Litigation     Partner     385     $310          $400     $525       $462       $418    $396
     Collections
                                              Associate   330     $250          $300     $395       $359       $319    $270

                                              Paralegal   218     $129          $185     $229       $196       $168    $153

                               Non-Litigation Partner     313     $325          $394     $495       $448       $405    $394

                                              Associate   214     $235          $290     $384       $334       $302    $289

                                              Paralegal   129     $125          $183     $220       $182       $172    $158

     Commercial                Litigation     Partner     1078    $385          $580     $830       $641       $602    $605

                                              Associate   1004    $285          $375     $537       $430       $407    $398

                                              Paralegal   522     $175          $235     $295       $242       $209    $202

                               Non-Litigation Partner     896     $478          $655     $902       $729       $691    $681

                                              Associate   698     $350          $440     $598       $512       $485    $484

                                              Paralegal   237     $175          $248     $334       $267       $235    $228

     Corporate: Antitrust      Litigation     Partner     139     $645          $757     $920       $780       $746    $720
     and Competition
                                              Associate   150     $390          $512     $660       $530       $481    $480

                                              Paralegal   71      $232          $267     $304       $262       $262    $248

                               Non-Litigation Partner     125     $799          $979    $1,249     $1,024      $929    $875

                                              Associate   235     $456          $595     $796       $625       $553    $542

                                              Paralegal   67      $275          $310     $331       $301       $275    $263

     Corporate: Corporate Non-Litigation Partner          42      $520          $850    $1,272      $905       $871    $653
     Development
                                         Associate        22      $340          $598     $751       $559       $512    $348

     Corporate:                Non-Litigation Partner     26      $536          $675     $949       $780       $687    $652
     Information and
                                              Associate   31      $363          $441     $582       $477       $396    $412
     Technology
     Corporate: Mergers,       Litigation     Partner     58      $477          $628     $920       $702       $539    $648
     Acquisitions and
                                              Associate   63      $308          $450     $585       $466       $383    $432
     Divestitures
                                              Paralegal   17      $215          $285     $295       $255       $201    $226

                               Non-Litigation Partner     664     $652          $912    $1,225      $938       $941    $855

                                              Associate   769     $415          $590     $830       $617       $600    $549

                                              Paralegal   274     $250          $333     $360       $315       $195    $265




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                   Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role     n      First        Median    Third      2019       2018    2017
                                                                 Quartile               Quartile

     Corporate: Other          Litigation     Partner     1114    $450          $640     $830       $676       $669    $592

                                              Associate   999     $322          $430     $561       $458       $445    $401

                                              Paralegal   437     $174          $220     $293       $231       $226    $206

                               Non-Litigation Partner     2042    $519          $793    $1,010      $801       $767    $736

                                              Associate   1956    $375          $511     $685       $549       $518    $490

                                              Paralegal   738     $170          $242     $345       $248       $248    $231

     Corporate:                Non-Litigation Partner     77      $920         $1,249   $1,249     $1,126     $1,048   $953
     Partnerships and
                                              Associate   81      $612          $847     $847       $740       $692    $602
     Joint Ventures
     Corporate:                Litigation     Partner     457     $602          $786     $973       $804       $778    $740
     Regulatory and
                                              Associate   447     $385          $499     $660       $530       $512    $484
     Compliance
                                              Paralegal   226     $195          $250     $295       $249       $263    $242

                               Non-Litigation Partner     1059    $515          $680     $910       $730       $721    $687

                                              Associate   874     $336          $455     $620       $501       $497    $468

                                              Paralegal   265     $175          $230     $282       $239       $231    $218

     Corporate: Tax            Litigation     Partner     27      $390          $465     $500       $523       $557    $582

                                              Associate   12      $248          $310     $386       $385       $444    $344

                                              Paralegal   15      $160          $165     $228       $173       $176    $191

                               Non-Litigation Partner     344     $590          $828    $1,051      $873       $814    $801

                                              Associate   336     $419          $566     $703       $588       $547    $540

                                              Paralegal   101     $213          $280     $370       $294       $234    $204

     Corporate: Treasury       Non-Litigation Partner     45      $713         $1,041   $1,200      $998       $991    $932

                                              Associate   40      $315          $499     $714       $522       $528    $522

     Corporate: White     Litigation          Partner     18      $525         $1,120   $1,120      $818       $839    $786
     Collar/Fraud/Abuse -
                                              Associate   21      $235          $512     $728       $495       $516    $513
     Internal Only
     Employment and            Litigation     Partner     24      $300          $375     $495       $410       $432    $430
     Labor: ADA
                                              Associate   28      $300          $330     $394       $330       $300    $343

                                              Paralegal   16      $165          $183     $228       $201       $179    $173

     Employment and            Litigation     Partner     45      $410          $595     $795       $651       $644    $714
     Labor: Agreements
                                              Associate   48      $319          $462     $587       $510       $470    $567

                                              Paralegal   11      $188          $225     $258       $230       $261    $298

                               Non-Litigation Partner     70      $395          $593     $761       $579       $514    $475

                                              Associate   45      $266          $352     $438       $365       $349    $343

                                              Paralegal   18      $144          $158     $199       $178       $164    $165




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                  Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role    n      First        Median    Third      2019       2018   2017
                                                                Quartile               Quartile

     Employment and      Litigation           Partner     53     $370          $515     $660       $568       $656   $601
     Labor: Compensation
                                              Associate   40     $285          $290     $345       $336       $406   $505
     and Benefits
                                              Paralegal   18     $143          $159     $242       $191       $208   $212

                               Non-Litigation Partner     247    $533          $648     $787       $690       $672   $678

                                              Associate   107    $313          $404     $517       $419       $407   $420

                                              Paralegal   33     $180          $228     $293       $239       $210   $204

     Employment and            Litigation     Partner     306    $350          $435     $531       $468       $465   $424
     Labor:
                                              Associate   332    $285          $315     $367       $328       $332   $317
     Discrimination,
     Retaliation and                          Paralegal   187    $150          $183     $225       $184       $179   $167

     Harassment / EEO          Non-Litigation Partner     207    $385          $450     $540       $476       $474   $459

                                              Associate   219    $289          $319     $360       $330       $333   $321

                                              Paralegal   93     $154          $195     $220       $194       $185   $180

     Employment and            Litigation     Partner     19     $525          $845     $995       $789       $605   $646
     Labor: Employee
                                              Associate   17     $370          $450     $480       $443       $409   $380
     Dishonesty/Miscond
     uct
     Employment and            Litigation     Partner     31     $480          $580     $762       $687       $597   $622
     Labor: ERISA
                                              Associate   12     $319          $354     $496       $444       $388   $395

                               Non-Litigation Partner     75     $430          $610     $799       $648       $640   $614

                                              Associate   41     $320          $400     $525       $472       $427   $422

                                              Paralegal   12     $229          $270     $320       $270       $244   $282

     Employment and            Non-Litigation Partner     32     $435          $566     $716       $595       $558   $618
     Labor: Immigration
                                              Associate   20     $300          $330     $405       $357       $385   $406

                                              Paralegal   37     $169          $197     $225       $195       $202   $190

     Employment and            Non-Litigation Partner     14     $485          $575     $663       $579       $585   $605
     Labor: OFCCP
     Employment and            Litigation     Partner     486    $441          $585     $750       $626       $625   $622
     Labor: Other
                                              Associate   418    $302          $385     $574       $437       $453   $444

                                              Paralegal   241    $170          $215     $270       $219       $213   $214

                               Non-Litigation Partner     763    $428          $540     $685       $589       $583   $565

                                              Associate   571    $296          $356     $447       $405       $409   $387

                                              Paralegal   167    $160          $201     $265       $227       $216   $206




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                  Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role    n      First        Median    Third      2019       2018   2017
                                                                Quartile               Quartile

     Employment and            Litigation     Partner     69     $396          $510     $650       $546       $559   $558
     Labor: Union
                                              Associate   57     $290          $320     $385       $335       $344   $361
     Relations and
     Negotiations / NLRB                      Paralegal   28     $169          $188     $236       $215       $204   $189

                               Non-Litigation Partner     149    $423          $500     $640       $541       $512   $478

                                              Associate   86     $325          $358     $399       $372       $359   $345

                                              Paralegal   19     $150          $200     $275       $225       $189   $176

     Employment and            Litigation     Partner     51     $350          $435     $554       $451       $455   $427
     Labor: Wages, Tips
                                              Associate   43     $285          $295     $388       $331       $358   $369
     and Overtime
                                              Paralegal   24     $144          $173     $213       $181       $176   $179

                               Non-Litigation Partner     28     $373          $497     $655       $542       $456   $486

                                              Associate   16     $360          $390     $401       $388       $369   $351

     Employment and            Litigation     Partner     54     $415          $524     $654       $582       $486   $449
     Labor: Wrongful
                                              Associate   45     $290          $299     $378       $340       $355   $326
     Termination
                                              Paralegal   42     $150          $180     $254       $210       $194   $183

                               Non-Litigation Partner     40     $406          $450     $592       $476       $489   $460

                                              Associate   28     $295          $312     $365       $321       $321   $333

                                              Paralegal   18     $185          $200     $250       $211       $224   $179

     Environmental             Litigation     Partner     103    $395          $529     $623       $535       $420   $433

                                              Associate   54     $305          $350     $424       $360       $279   $274

                                              Paralegal   25     $185          $206     $238       $218       $146   $142

                               Non-Litigation Partner     125    $411          $530     $650       $564       $651   $575

                                              Associate   64     $260          $342     $439       $381       $454   $393

                                              Paralegal   34     $220          $225     $285       $248       $240   $216

     Finance and               Non-Litigation Partner     171    $687          $944    $1,209      $946       $918   $874
     Securities:
                                              Associate   166    $425          $564     $755       $605       $582   $583
     Debt/Equity
     Offerings                                Paralegal   46     $243          $262     $350       $281       $285   $282

     Finance and               Litigation     Partner     75     $514          $675     $855       $709       $712   $803
     Securities: Fiduciary
                                              Associate   56     $296          $395     $468       $391       $456   $474
     Services
                                              Paralegal   35     $173          $200     $244       $208       $231   $243

                               Non-Litigation Partner     54     $455          $587     $843       $665       $679   $638

                                              Associate   24     $268          $328     $482       $407       $360   $402




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                   Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role     n      First        Median    Third      2019       2018   2017
                                                                 Quartile               Quartile

     Finance and               Litigation     Partner     68      $804          $905    $1,125      $943       $970   $950
     Securities:
                                              Associate   91      $396          $565     $648       $554       $570   $590
     Investments and
     Other Financial                          Paralegal   61      $170          $213     $285       $216       $174   $278

     Instruments               Non-Litigation Partner     1168    $730          $928    $1,195      $959       $957   $952

                                              Associate   1332    $466          $641     $810       $652       $645   $635

                                              Paralegal   406     $210          $275     $338       $277       $276   $276

     Finance and           Litigation         Partner     117     $334          $463     $607       $539       $526   $613
     Securities: Loans and
                                              Associate   160     $275          $310     $397       $364       $377   $345
     Financing
                                              Paralegal   75      $145          $208     $242       $205       $194   $185

                               Non-Litigation Partner     1154    $525          $810    $1,175      $862       $828   $803

                                              Associate   1103    $415          $576     $808       $606       $585   $567

                                              Paralegal   462     $200          $275     $360       $280       $270   $256

     Finance and               Non-Litigation Partner     55      $611         $1,115   $1,249      $951       $807   $799
     Securities: Other
                                              Associate   52      $495          $740     $847       $665       $546   $532

                                              Paralegal   19      $122          $240     $318       $241       $206   $209

     Finance and             Litigation     Partner       22      $759          $975    $1,045      $932       $838   $882
     Securities: SEC Filings
                                            Associate     16      $466          $608     $749       $600       $522   $545
     and Financial
     Reporting               Non-Litigation Partner       110     $653         $1,058   $1,284     $1,014      $884   $859

                                              Associate   91      $497          $630     $847       $668       $533   $493

                                              Paralegal   35      $250          $325     $435       $335       $286   $237

     Finance and               Litigation     Partner     50      $602          $805     $997       $831       $862   $803
     Securities: Securities
                                              Associate   59      $401          $482     $637       $508       $539   $508
     and Banking
     Regulations                              Paralegal   25      $153          $202     $250       $222       $254   $258

                               Non-Litigation Partner     56      $715         $1,020   $1,330     $1,011      $912   $936

                                              Associate   33      $425          $565     $702       $581       $558   $578

     General Liability:  Litigation           Partner     128     $225          $295     $358       $346       $312   $272
     Asbestos/Mesothelio
                                              Associate   134     $175          $225     $251       $247       $245   $225
     ma
                                              Paralegal   129     $100          $115     $125       $128       $115   $106

                               Non-Litigation Partner     24      $225          $293     $336       $352       $346   $353

                                              Associate   36      $170          $215     $265       $239       $264   $249

                                              Paralegal   42      $100          $115     $145       $137       $142   $128

     General Liability:        Litigation     Partner     32      $190          $253     $346       $285       $301   $252
     Auto and
                                              Associate   22      $166          $200     $240       $217       $210   $201
     Transportation
                                              Paralegal   23       $95          $110     $215       $153       $139   $118




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                  Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role    n      First        Median    Third      2019       2018    2017
                                                                Quartile               Quartile

     General Liability:        Litigation     Partner     63     $290          $467     $665       $504       $458    $462
     Consumer Related
                                              Associate   58     $245          $327     $472       $364       $338    $322
     Claims
                                              Paralegal   26     $100          $128     $223       $158       $189    $177

     General Liability:        Litigation     Partner     37     $395          $525     $575       $508       $562    $612
     Crime, Dishonesty
                                              Associate   33     $320          $350     $405       $372       $425    $437
     and Fraud
                                              Paralegal   25     $185          $215     $248       $216       $240    $211

                               Non-Litigation Partner     16     $594          $761     $833       $701       $703    $601

     General Liability:        Litigation     Partner     90     $190          $625     $880       $606       $490    $434
     Other
                                              Associate   128    $199          $477     $568       $448       $333    $281

                               Non-Litigation Partner     32     $285          $450     $698       $532       $470    $451

                                              Associate   23     $265          $350     $548       $417       $292    $306

                                              Paralegal   12     $146          $177     $246       $207       $147    $138

     General Liability:        Litigation     Partner     293    $185          $225     $386       $325       $277    $260
     Personal
                                              Associate   257    $165          $185     $275       $237       $201    $191
     Injury/Wrongful
     Death                                    Paralegal   240     $90          $100     $116       $117       $106    $102

     General Liability:        Litigation     Partner     74     $263          $353     $500       $400       $401    $329
     Premises
                                              Associate   58     $208          $255     $325       $281       $271    $229

                                              Paralegal   55     $115          $154     $190       $155       $152    $125

     General Liability:  Litigation           Partner     435    $295          $400     $588       $468       $463    $419
     Product and Product
                                              Associate   389    $225          $285     $380       $326       $313    $289
     Liability
                                              Paralegal   350    $122          $150     $210       $167       $171    $152

                               Non-Litigation Partner     58     $210          $250     $375       $311       $360    $371

                                              Associate   59     $200          $250     $310       $282       $268    $271

                                              Paralegal   30      $95          $110     $162       $140       $136    $159

     General Liability:        Litigation     Partner     50     $383          $548     $635       $544       $512    $472
     Property Damage
                                              Associate   43     $283          $325     $395       $352       $296    $387

                                              Paralegal   20     $136          $185     $225       $196       $212    $204

     General Liability:        Litigation     Associate   27     $225          $252     $425       $355       $363    $286
     Toxic Tort




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                  Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role    n      First        Median    Third      2019       2018    2017
                                                                Quartile               Quartile

     Government                Non-Litigation Partner     83     $619          $768     $883       $775       $781    $694
     Relations
                                              Associate   72     $392          $497     $629       $538       $573    $453

                                              Paralegal   15     $258          $285     $425       $323       $246    $289

     Insurance Defense:  Litigation           Partner     27     $160          $160     $168       $182       $238    $239
     Asbestos/Mesothelio
                                              Paralegal   15      $83          $85       $88       $92        $132    $129
     ma
     Insurance Defense:        Litigation     Partner     555    $157          $167     $175       $170       $174    $180
     Auto and
                                              Associate   510    $140          $150     $160       $150       $152    $154
     Transportation
                                              Paralegal   444     $80          $89       $90       $86        $85     $85

     Insurance Defense:   Litigation          Partner     166    $175          $190     $215       $201       $219    $204
     Errors and Omissions
                                              Associate   89     $150          $165     $185       $167       $182    $177

     Insurance Defense:        Litigation     Partner     632    $165          $175     $200       $201       $211    $214
     Other
                                              Associate   490    $149          $159     $175       $177       $176    $175

                                              Paralegal   380     $80          $90       $95       $95        $98     $94

     Insurance Defense:        Litigation     Partner     272    $150          $175     $200       $188       $197    $195
     Personal
                                              Associate   290    $136          $150     $173       $157       $167    $166
     Injury/Wrongful
     Death                                    Paralegal   177     $75          $85       $85       $84        $89     $88

     Insurance Defense:  Litigation           Partner     188    $170          $185     $208       $198       $303    $278
     Product and Product
                                              Associate   164    $155          $175     $180       $173       $220    $191
     Liability
                                              Paralegal   98      $80          $95      $100       $95        $105    $100

     Insurance Defense:        Litigation     Partner     341    $180          $200     $250       $234       $228    $227
     Professional Liability
                                              Associate   220    $159          $180     $215       $201       $192    $194

                                              Paralegal   131     $80          $90      $113       $104       $96     $97

     Insurance Defense:        Litigation     Partner     398    $165          $185     $210       $211       $212    $205
     Property Damage
                                              Associate   382    $150          $167     $180       $178       $174    $171

                                              Paralegal   210     $80          $90      $100       $95        $95     $93

     Insurance Defense:        Litigation     Partner     19     $168          $204     $240       $218       $264    $234
     Toxic Tort
     Insurance Policies   Litigation          Partner     16     $315          $510     $536       $479       $396    $294
     and Coverage: Policy
     Coverage Dispute
     Intellectual Property: Non-Litigation Partner        11     $673          $703     $872       $767       $734    $695
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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                  Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role    n      First        Median    Third      2019       2018    2017
                                                                Quartile               Quartile

     Intellectual Property: Litigation        Partner     55     $843         $1,000   $1,190     $1,006      $912    $933
     Licensing
                                              Associate   67     $603          $780     $875       $734       $641    $651

                               Non-Litigation Partner     82     $800         $1,000   $1,219      $992       $948    $904

                                              Associate   180    $564          $675     $840       $672       $595    $593

     Intellectual Property: Litigation        Partner     65     $575          $672     $930       $744       $632    $560
     Other
                                              Associate   73     $383          $511     $684       $527       $478    $425

                                              Paralegal   55     $212          $264     $314       $266       $225    $204

                               Non-Litigation Partner     187    $426          $548     $775       $615       $549    $566

                                              Associate   169    $276          $370     $512       $405       $357    $349

                                              Paralegal   82     $155          $200     $258       $208       $197    $191

     Intellectual Property: Litigation        Partner     455    $556          $775     $970       $769       $763    $728
     Patents
                                              Associate   470    $417          $521     $685       $539       $524    $497

                                              Paralegal   274    $200          $260     $325       $265       $251    $245

                               Non-Litigation Partner     548    $372          $492     $714       $561       $559    $520

                                              Associate   568    $270          $327     $459       $385       $375    $359

                                              Paralegal   342    $152          $204     $253       $217       $216    $202

     Intellectual Property: Litigation        Partner     26     $461          $601     $673       $586       $582    $622
     Trademarks
                                              Associate   18     $340          $410     $541       $440       $392    $381

                                              Paralegal   18     $211          $249     $264       $239       $222    $205

                               Non-Litigation Partner     154    $456          $570     $727       $610       $581    $595

                                              Associate   130    $300          $366     $490       $397       $385    $381

                                              Paralegal   110    $195          $230     $285       $237       $218    $210

     Miscellaneous: Billing Non-Litigation Partner        48     $788          $921    $1,035      $924      $1,033   $981
     or Administrative
                                           Associate      47     $503          $602     $707       $595       $647    $726
     Matter
     Miscellaneous:            Non-Litigation Partner     100    $600          $808    $1,096      $867       $741    $629
     General Advice &
                                              Associate   63     $370          $510     $660       $554       $480    $419
     Counsel
                                              Paralegal   33     $290          $430     $430       $358       $252    $200

     Real Estate:              Non-Litigation Partner     28     $360          $400     $462       $423       $431    $436
     Commercial
     Real Estate:        Litigation     Partner           14     $361          $489     $526       $452       $477    $490
     Construction/Develo
                         Non-Litigation Partner           20     $414          $529     $703       $552       $513    $556
     pment
     Real Estate:              Non-Litigation Partner     17     $350          $415     $655       $492       $399    $398
     Easement and Right
     of Way




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners, Associates, and Paralegals                                  Trend Analysis (Mean)

          Practice Area         MatterType
                                Matter Type       Role    n      First        Median    Third      2019       2018    2017
                                                                Quartile               Quartile

     Real Estate: Land         Litigation     Partner     16     $521          $603     $668       $590       $592    $510
     Use/Zoning/Restricti
                               Non-Litigation Partner     64     $425          $524     $704       $587       $571    $515
     ve Covenants
                                              Associate   36     $299          $351     $430       $373       $375    $332

                                              Paralegal   17     $195          $200     $252       $224       $211    $214

     Real Estate:              Litigation     Partner     34     $278          $344     $381       $351       $331    $330
     Landlord/Tenant
                                              Associate   35     $242          $275     $298       $279       $251    $243
     Issues
                                              Paralegal   17     $100          $125     $128       $134       $144    $141

     Real Estate: Leasing      Litigation     Partner     26     $206          $283     $386       $324       $326    $339

                                              Associate   21     $185          $235     $295       $256       $215    $255

                               Non-Litigation Partner     125    $380          $479     $653       $531       $495    $476

                                              Associate   102    $288          $350     $488       $394       $331    $319

                                              Paralegal   39     $150          $185     $221       $197       $197    $187

     Real Estate: Other        Litigation     Partner     101    $392          $525     $655       $546       $552    $500

                                              Associate   72     $284          $350     $486       $418       $372    $343

                                              Paralegal   43     $193          $215     $251       $224       $208    $188

                               Non-Litigation Partner     166    $366          $469     $550       $513       $483    $485

                                              Associate   96     $280          $325     $425       $390       $340    $331

                                              Paralegal   39     $166          $185     $252       $210       $201    $201

     Real Estate:              Litigation     Partner     46     $190          $200     $235       $233       $214    $200
     Property/Land
                               Non-Litigation Partner     152    $475          $588     $754       $645       $560    $547
     Acquisition or
     Divestiture                              Associate   86     $300          $383     $491       $420       $421    $348

                                              Paralegal   42     $178          $234     $290       $234       $217    $203

     Real Estate: Titles       Litigation     Partner     454    $250          $300     $360       $317       $306    $299

                                              Associate   323    $200          $240     $280       $247       $232    $227

                                              Paralegal   232    $115          $135     $160       $144       $131    $126

                               Non-Litigation Partner     916    $250          $295     $350       $318       $312    $305

                                              Associate   715    $200          $235     $275       $252       $241    $239

                                              Paralegal   480    $100          $125     $160       $138       $134    $133

     Requests for              Litigation     Partner     135    $437          $640     $816       $662       $632    $573
     Information:
                                              Associate   132    $321          $439     $570       $462       $451    $388
     Subpoena
                                              Paralegal   106    $142          $220     $295       $225       $207    $228

                               Non-Litigation Partner     21     $500          $600     $802       $699       $578    $590

                                              Associate   18     $276          $368     $545       $428       $369    $481




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     Cities
     Cities




     2019 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

                  City              Role     n      First       Median    Third     2019     2018     2017
                                                   Quartile              Quartile
                              

     Akron OH                 Partner        12       $260        $270    $340      $306     $289     $327

     Albany NY                Partner        48       $265        $310    $350      $325     $312     $303

                              Associate      32       $220        $233    $250      $239     $237     $217

     Albuquerque NM           Partner        19       $210        $315    $325      $282     $279     $277

     Atlanta GA               Partner       418       $375        $554    $725      $575     $552     $535

                              Associate     444       $275        $348    $491      $383     $379     $349

     Atlantic City NJ         Partner        12       $280        $295    $425      $358     $376     $356

     Austin TX                Partner        97       $372        $460    $651      $514     $513     $472

                              Associate      91       $265        $335    $480      $376     $336     $318

     Baltimore MD             Partner       195       $438        $625    $776      $619     $585     $555

                              Associate     240       $325        $405    $540      $435     $417     $408

     Baton Rouge LA           Partner        22       $290        $355    $400      $348     $345     $278

                              Associate      12       $163        $215    $265      $216     $226     $193

     Birmingham AL            Partner       134       $315        $370    $450      $383     $369     $357

                              Associate     114       $253        $285    $323      $291     $261     $243

     Boise City ID            Partner        17       $225        $270    $305      $286     $282     $296

                              Associate      15       $167        $185    $252      $237     $201     $202

     Boston MA                Partner       371       $410        $650    $833      $645     $648     $656

                              Associate     423       $325        $425    $587      $458     $460     $475

     Bridgeport CT            Partner        28       $319        $433    $502      $424     $419     $406

                              Associate      24       $200        $265    $295      $263     $262     $276

     Buffalo NY               Partner        69       $340        $340    $350      $348     $331     $314

                              Associate      44       $237        $250    $265      $246     $242     $227

     Burlington VT            Partner        12       $214        $269    $376      $293     $258     $267

     Charleston SC            Partner        18       $284        $329    $430      $364     $343     $325

                              Associate      17       $200        $224    $248      $233     $261     $228

     Charleston WV            Partner        35       $246        $281    $328      $295     $277     $272

                              Associate      14       $175        $187    $212      $196     $195     $169

     Charlotte NC             Partner       120       $427        $585    $790      $619     $596     $549

                              Associate     110       $293        $375    $438      $393     $370     $358

     Chicago IL               Partner       1039      $574        $770    $980      $783     $736     $701

                              Associate     1110      $371        $487    $635      $509     $470     $439

     Cincinnati OH            Partner        69       $365        $425    $515      $445     $439     $413

                              Associate      69       $232        $257    $295      $271     $259     $249




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     Cities
     Cities




     2019 -- Real Rates for Partners and Associates                                Trend Analysis (Mean)

                  City              Role     n     First       Median    Third     2019     2018     2017
                                                  Quartile              Quartile
                              

     Cleveland OH             Partner       255       $365       $450    $573      $492     $503     $477

                              Associate     244       $230       $290    $350      $300     $305     $283

     Columbia SC              Partner        42       $305       $375    $435      $378     $392     $375

                              Associate      36       $200       $250    $280      $254     $246     $245

     Columbus OH              Partner        67       $387       $473    $590      $482     $461     $423

                              Associate      42       $235       $250    $320      $277     $307     $288

     Dallas TX                Partner       259       $364       $525    $850      $607     $601     $602

                              Associate     334       $310       $450    $625      $475     $469     $452

     Dayton OH                Partner        21       $350       $375    $450      $405     $405     $424

     Denver CO                Partner       181       $385       $465    $544      $488     $476     $452

                              Associate     149       $265       $300    $360      $318     $313     $300

     Des Moines IA            Partner        18       $298       $555    $610      $483     $476     $369

                              Associate      12       $313       $395    $430      $372     $304     $243

     Detroit MI               Partner       145       $300       $360    $444      $362     $351     $361

                              Associate      98       $209       $250    $296      $260     $242     $252

     Fresno CA                Partner        15       $295       $350    $408      $356     $334     $322

     Grand Rapids MI          Partner        21       $350       $372    $430      $380     $394     $408

     Greenville SC            Partner        35       $380       $435    $475      $439     $406     $389

                              Associate      28       $275       $300    $360      $321     $283     $267

     Harrisburg PA            Partner        13       $303       $395    $510      $408     $397     $342

     Hartford CT              Partner        65       $365       $475    $580      $506     $477     $446

                              Associate      40       $246       $297    $318      $286     $265     $268

     Honolulu HI              Partner        33       $271       $300    $400      $342     $349     $328

                              Associate      21       $179       $200    $208      $204     $187     $183

     Houston TX               Partner       205       $450       $655    $886      $681     $648     $626

                              Associate     249       $275       $350    $455      $371     $354     $351

     Indianapolis IN          Partner       105       $350       $412    $505      $428     $417     $393

                              Associate      67       $195       $250    $311      $262     $267     $256

     Jackson MS               Partner        82       $300       $336    $384      $345     $347     $342

                              Associate      64       $175       $225    $251      $198     $215     $176

     Jacksonville FL          Partner        26       $295       $333    $400      $357     $325     $323

                              Associate      15       $145       $240    $404      $285     $273     $256

     Kansas City MO           Partner       168       $366       $440    $546      $455     $443     $420

                              Associate     177       $262       $290    $326      $292     $276     $265




     21   Real Rate Report | 2020                                                         wkelmsolutions.com
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     Cities
     Cities




     2019 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

                  City              Role     n      First       Median    Third     2019     2018     2017
                                                   Quartile              Quartile
                              

     Knoxville TN             Partner        15       $230        $250    $335      $318     $256     $263

                              Associate      12       $185        $200    $224      $204     $210     $210

     Lafayette LA             Partner        14       $150        $150    $205      $184     $195     $217

     Las Vegas NV             Partner        42       $300        $400    $575      $438     $444     $410

                              Associate      45       $250        $278    $324      $281     $279     $264

     Lexington KY             Partner        15       $295        $325    $371      $333     $319     $313

     Little Rock AR           Partner        24       $215        $238    $261      $261     $281     $263

     Los Angeles CA           Partner       902       $482        $740   $1,015     $767     $730     $704

                              Associate     1311      $395        $576    $770      $591     $559     $540

     Louisville KY            Partner        21       $322        $350    $418      $369     $331     $356

                              Associate      22       $190        $210    $245      $214     $215     $207

     Madison WI               Partner        23       $374        $418    $525      $432     $394     $383

     Memphis TN               Partner        36       $275        $330    $414      $340     $342     $347

                              Associate      23       $212        $225    $245      $226     $232     $225

     Miami FL                 Partner       240       $325        $500    $684      $514     $489     $443

                              Associate     171       $255        $330    $473      $373     $335     $304

     Milwaukee WI             Partner        77       $304        $386    $470      $416     $390     $371

                              Associate      54       $238        $277    $314      $282     $265     $264

     Minneapolis MN           Partner       268       $380        $529    $675      $530     $490     $446

                              Associate     224       $295        $370    $439      $374     $362     $328

     Nashville TN             Partner        90       $360        $430    $473      $419     $405     $408

                              Associate      91       $225        $257    $288      $262     $244     $247

     New Haven CT             Partner        23       $385        $450    $519      $445     $396     $390

                              Associate      24       $230        $290    $335      $290     $276     $282

     New Orleans LA           Partner       105       $285        $347    $425      $358     $347     $296

                              Associate     103       $220        $238    $315      $268     $246     $210

     New York NY              Partner       2384      $602        $975   $1,284     $962     $931     $887

                              Associate     3382      $425        $615    $847      $638     $613     $585

     Oklahoma City OK         Partner        31       $200        $340    $360      $316     $292     $283

                              Associate      18       $165        $203    $239      $221     $209     $196

     Omaha NE                 Partner        44       $310        $375    $404      $355     $355     $330

                              Associate      20       $186        $249    $255      $236     $215     $208

     Orlando FL               Partner        99       $385        $450    $513      $461     $466     $454

                              Associate      90       $230        $276    $335      $284     $270     $282




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     Cities
     Cities




     2019 -- Real Rates for Partners and Associates                                Trend Analysis (Mean)

                  City              Role     n     First       Median    Third     2019     2018     2017
                                                  Quartile              Quartile
                              

     Philadelphia PA          Partner       826       $495       $626    $801      $653     $626     $609

                              Associate     853       $309       $380    $475      $403     $379     $367

     Phoenix AZ               Partner       112       $305       $365    $480      $397     $384     $372

                              Associate      68       $200       $261    $298      $270     $272     $265

     Pittsburgh PA            Partner       181       $385       $533    $690      $547     $485     $468

                              Associate     215       $265       $350    $425      $354     $342     $313

     Portland ME              Partner        46       $260       $390    $463      $406     $389     $347

                              Associate      21       $184       $225    $280      $234     $231     $224

     Portland OR              Partner       125       $365       $436    $550      $458     $428     $423

                              Associate     135       $293       $342    $405      $344     $339     $310

     Providence RI            Partner        21       $185       $300    $450      $345     $392     $394

                              Associate      19       $159       $250    $278      $239     $224     $226

     Raleigh NC               Partner        54       $311       $425    $483      $422     $404     $387

                              Associate      30       $270       $315    $370      $316     $282     $253

     Richmond VA              Partner       104       $510       $610    $727      $609     $577     $516

                              Associate     135       $326       $410    $465      $395     $356     $339

     Rochester NY             Partner        24       $263       $347    $410      $354     $329     $315

                              Associate      21       $204       $255    $333      $272     $243     $212

     Sacramento CA            Partner        17       $325       $395    $441      $448     $481     $452

                              Associate      14       $313       $335    $353      $324     $321     $332

     Salt Lake City UT        Partner        54       $283       $400    $432      $379     $378     $359

                              Associate      27       $200       $210    $245      $224     $212     $223

     San Diego CA             Partner       131       $264       $410    $966      $583     $560     $512

                              Associate     122       $180       $225    $355      $298     $312     $312

     San Francisco CA         Partner       455       $465       $660    $930      $706     $707     $674

                              Associate     360       $320       $415    $590      $476     $457     $451

     San Jose CA              Partner       143       $600       $825    $995      $828     $774     $782

                              Associate     108       $350       $500    $654      $534     $521     $503

     San Juan PR              Partner        23       $205       $225    $268      $239     $226     $231

     Savannah GA              Partner        14       $289       $325    $353      $317     $309     $301

     Seattle WA               Partner       257       $400       $500    $646      $528     $540     $496

                              Associate     200       $298       $382    $470      $394     $402     $338

     St. Louis MO             Partner       145       $317       $408    $516      $420     $377     $353

                              Associate      57       $200       $239    $276      $244     $228     $214




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     Cities
     Cities




     2019 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

                  City              Role     n      First       Median    Third     2019     2018     2017
                                                   Quartile              Quartile
                              

     Syracuse NY              Partner        18       $240        $262    $300      $280     $286     $288

                              Associate      12       $174        $207    $250      $222     $195     $185

     Tallahassee FL           Partner        21       $310        $433    $510      $438     $398     $369

     Tampa FL                 Partner        90       $307        $400    $539      $432     $397     $395

                              Associate      50       $240        $280    $323      $285     $261     $265

     Toledo OH                Partner        17       $326        $380    $475      $387     $324     $291

     Trenton NJ               Partner        36       $450        $520    $625      $526     $492     $512

                              Associate      23       $210        $325    $393      $328     $351     $366

     Tulsa OK                 Partner        19       $236        $256    $311      $275     $258     $271

     Virginia Beach VA        Partner        14       $333        $420    $474      $394     $349     $397

     Washington DC            Partner       1772      $650        $805    $976      $832     $812     $779

                              Associate     1557      $407        $522    $635      $538     $528     $501

     Wheeling WV              Partner        32       $680        $796    $890      $771     $782     $756

                              Associate      60       $323        $528    $580      $481     $531     $468




     24   Real Rate Report | 2020                                                          wkelmsolutions.com
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     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role    n      First         Median    Third     2019      2018    2017
                                                              Quartile                Quartile
                                            

     Albany NY               Litigation     Partner     16     $285           $330     $388      $370      $322    $304

                             Non-Litigation Partner     38     $265           $300     $341      $311      $307    $303

                                            Associate   27     $220           $230     $235      $238      $226    $217

     Albuquerque NM          Litigation     Partner     12     $183           $313     $318      $259      $269    $253

     Atlanta GA              Litigation     Partner     207    $350           $469     $670      $525      $525    $502

                                            Associate   240    $267           $290     $445      $354      $347    $312

                             Non-Litigation Partner     275    $430           $595     $750      $615      $576    $565

                                            Associate   255    $300           $390     $529      $412      $410    $386

     Atlantic City NJ        Non-Litigation Partner     11     $280           $295     $295      $351      $379    $359

     Austin TX               Litigation     Partner     36     $376           $480     $800      $560      $546    $484

                                            Associate   24     $350           $480     $540      $457      $361    $341

                             Non-Litigation Partner     75     $372           $428     $558      $494      $497    $468

                                            Associate   72     $248           $317     $420      $349      $327    $309

     Baltimore MD            Litigation     Partner     106    $397           $625     $750      $593      $540    $503

                                            Associate   148    $323           $390     $502      $413      $411    $384

                             Non-Litigation Partner     112    $450           $639     $794      $643      $628    $602

                                            Associate   122    $326           $423     $610      $468      $430    $442

     Baton Rouge LA          Litigation     Partner     15     $287           $310     $378      $340      $303    $259

                             Non-Litigation Partner     11     $295           $370     $441      $357      $381    $312

     Birmingham AL           Litigation     Partner     71     $296           $325     $425      $355      $343    $321

                                            Associate   70     $270           $279     $324      $292      $256    $226

                             Non-Litigation Partner     78     $330           $420     $470      $413      $409    $410

                                            Associate   61     $245           $290     $320      $290      $270    $265

     Boise City ID           Non-Litigation Partner     11     $245           $260     $274      $290      $289    $278

                                            Associate   14     $167           $215     $320      $250      $178    $181

     Boston MA               Litigation     Partner     144    $300           $560     $734      $554      $552    $530

                                            Associate   153    $255           $380     $486      $386      $392    $379

                             Non-Litigation Partner     273    $455           $685     $870      $692      $700    $726

                                            Associate   306    $361           $465     $614      $495      $491    $526

     Bridgeport CT           Litigation     Partner     15     $374           $484     $546      $466      $450    $436

                             Non-Litigation Partner     18     $268           $365     $448      $382      $387    $389

                                            Associate   17     $150           $258     $295      $243      $238    $271




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     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role    n      First         Median    Third     2019      2018    2017
                                                              Quartile                Quartile
                                            

     Buffalo NY              Litigation     Partner     42     $340           $340     $350      $342      $319    $302

                                            Associate   32     $245           $253     $265      $247      $244    $228

                             Non-Litigation Partner     42     $340           $340     $340      $356      $352    $334

                                            Associate   18     $217           $248     $265      $245      $238    $224

     Charleston SC           Non-Litigation Partner     12     $323           $400     $481      $407      $372    $326

     Charleston WV           Litigation     Partner     23     $225           $279     $310      $268      $261    $257

                                            Associate   11     $175           $180     $208      $185      $182    $170

                             Non-Litigation Partner     16     $290           $326     $400      $356      $315    $324

     Charlotte NC            Litigation     Partner     42     $373           $495     $648      $535      $510    $519

                                            Associate   22     $311           $372     $407      $357      $337    $317

                             Non-Litigation Partner     93     $478           $600     $823      $658      $631    $573

                                            Associate   93     $289           $379     $460      $405      $386    $385

     Chicago IL              Litigation     Partner     390    $459           $665     $892      $695      $647    $622

                                            Associate   415    $285           $431     $600      $466      $428    $387

                             Non-Litigation Partner     796    $607           $806    $1,000     $821      $779    $745

                                            Associate   801    $395           $510     $639      $530      $494    $474

     Cincinnati OH           Litigation     Partner     33     $391           $475     $561      $468      $436    $413

                                            Associate   33     $234           $263     $298      $275      $251    $244

                             Non-Litigation Partner     46     $359           $410     $485      $430      $440    $413

                                            Associate   43     $230           $255     $290      $268      $265    $257

     Cleveland OH            Litigation     Partner     103    $365           $475     $608      $512      $490    $463

                                            Associate   92     $229           $268     $347      $296      $307    $273

                             Non-Litigation Partner     206    $365           $434     $549      $483      $508    $483

                                            Associate   197    $230           $290     $350      $302      $305    $287

     Columbia SC             Litigation     Partner     24     $295           $360     $428      $358      $375    $356

                                            Associate   18     $225           $265     $275      $260      $241    $242

                             Non-Litigation Partner     28     $331           $395     $450      $392      $411    $390

                                            Associate   23     $200           $240     $295      $248      $252    $250

     Columbus OH             Litigation     Partner     22     $410           $515     $590      $494      $449    $385

                                            Associate   17     $235           $245     $320      $276      $288    $288

                             Non-Litigation Partner     53     $373           $470     $554      $475      $466    $443

                                            Associate   31     $235           $255     $315      $278      $317    $288




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     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role    n      First         Median    Third     2019      2018    2017
                                                              Quartile                Quartile
                                            

     Dallas TX               Litigation     Partner     96     $274           $420     $573      $470      $492    $486

                                            Associate   99     $225           $377     $524      $402      $399    $375

                             Non-Litigation Partner     192    $450           $640     $919      $698      $677    $685

                                            Associate   259    $348           $492     $634      $508      $505    $492

     Dayton OH               Litigation     Partner     11     $365           $438     $509      $466      $575    $516

                             Non-Litigation Partner     16     $320           $375     $417      $365      $375    $366

     Denver CO               Litigation     Partner     69     $375           $450     $510      $456      $449    $412

                                            Associate   66     $265           $300     $365      $324      $315    $296

                             Non-Litigation Partner     138    $390           $475     $565      $504      $488    $477

                                            Associate   104    $270           $300     $360      $315      $311    $303

     Des Moines IA           Non-Litigation Partner     12     $283           $458     $610      $458      $464    $377

     Detroit MI              Litigation     Partner     62     $297           $360     $430      $351      $325    $327

                                            Associate   43     $212           $250     $301      $266      $230    $227

                             Non-Litigation Partner     98     $300           $361     $450      $369      $369    $387

                                            Associate   63     $205           $250     $285      $255      $256    $275

     Grand Rapids MI         Litigation     Partner     12     $365           $378     $431      $394      $392    $353

                             Non-Litigation Partner     11     $293           $350     $390      $360      $395    $424

     Greenville SC           Litigation     Partner     15     $389           $455     $475      $442      $433    $348

                             Non-Litigation Partner     25     $375           $425     $483      $437      $399    $399

                                            Associate   19     $250           $295     $351      $316      $273    $266

     Hartford CT             Litigation     Partner     36     $308           $465     $535      $464      $451    $412

                                            Associate   24     $254           $300     $325      $297      $267    $244

                             Non-Litigation Partner     42     $410           $500     $625      $542      $491    $470

                                            Associate   21     $226           $250     $313      $272      $262    $285

     Honolulu HI             Litigation     Partner     19     $275           $337     $425      $363      $366    $346

                                            Associate   11     $178           $200     $250      $212      $185    $180

                             Non-Litigation Partner     22     $266           $295     $350      $320      $330    $311

     Houston TX              Litigation     Partner     91     $430           $603     $765      $610      $549    $493

                                            Associate   104    $348           $350     $430      $376      $363    $331

                             Non-Litigation Partner     144    $469           $744     $940      $728      $712    $725

                                            Associate   168    $230           $325     $475      $368      $346    $360




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     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role    n      First         Median    Third     2019      2018    2017
                                                              Quartile                Quartile
                                            

     Indianapolis IN         Litigation     Partner     49     $306           $420     $555      $420      $417    $375

                                            Associate   33     $166           $240     $320      $255      $268    $258

                             Non-Litigation Partner     67     $357           $410     $502      $434      $417    $406

                                            Associate   42     $205           $250     $295      $267      $267    $255

     Jackson MS              Litigation     Partner     59     $317           $345     $383      $344      $342    $337

                                            Associate   55     $105           $225     $250      $188      $212    $171

                             Non-Litigation Partner     29     $295           $325     $381      $347      $356    $354

                                            Associate   12     $214           $230     $255      $239      $228    $194

     Jacksonville FL         Litigation     Partner     11     $240           $300     $336      $320      $315    $311

                                            Associate   11     $145           $225     $349      $253      $262    $242

                             Non-Litigation Partner     15     $318           $358     $413      $389      $349    $344

     Kansas City MO          Litigation     Partner     94     $356           $446     $554      $461      $438    $404

                                            Associate   95     $272           $300     $340      $302      $280    $260

                             Non-Litigation Partner     96     $377           $428     $514      $450      $450    $436

                                            Associate   105    $250           $275     $314      $280      $270    $271

     Lafayette LA            Litigation     Partner     14     $150           $150     $150      $170      $180    $208

     Las Vegas NV            Litigation     Partner     28     $250           $388     $530      $418      $354    $351

                                            Associate   24     $247           $267     $324      $287      $257    $254

                             Non-Litigation Partner     28     $355           $438     $565      $459      $506    $464

                                            Associate   29     $250           $282     $320      $276      $296    $273

     Lexington KY            Non-Litigation Partner     11     $298           $312     $374      $331      $351    $343

     Little Rock AR          Non-Litigation Partner     20     $215           $247     $300      $274      $259    $258

     Los Angeles CA          Litigation     Partner     425    $412           $650     $935      $685      $662    $642

                                            Associate   553    $330           $533     $713      $537      $504    $479

                             Non-Litigation Partner     615    $562           $799    $1,045     $826      $786    $758

                                            Associate   881    $425           $610     $790      $625      $597    $588

     Louisville KY           Litigation     Partner     17     $301           $343     $406      $353      $327    $346

                                            Associate   20     $178           $210     $248      $214      $219    $205

     Madison WI              Non-Litigation Partner     20     $365           $410     $506      $419      $385    $396

     Memphis TN              Litigation     Partner     19     $284           $365     $425      $350      $341    $346

                             Non-Litigation Partner     24     $275           $320     $365      $326      $342    $350

                                            Associate   19     $214           $225     $238      $226      $238    $231




     28   Real Rate Report | 2020                                                                       wkelmsolutions.com
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     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role     n      First         Median    Third     2019        2018    2017
                                                               Quartile                Quartile
                                            

     Miami FL                Litigation     Partner     129     $265           $425     $622      $450        $437    $383

                                            Associate   92      $240           $294     $421      $339        $311    $282

                             Non-Litigation Partner     139     $395           $595     $750      $581        $551    $529

                                            Associate   92      $291           $380     $489      $407        $368    $346

     Milwaukee WI            Litigation     Partner     29      $304           $375     $420      $388        $344    $326

                                            Associate   23      $203           $260     $333      $271        $238    $242

                             Non-Litigation Partner     53      $305           $400     $480      $433        $427    $405

                                            Associate   36      $250           $280     $310      $288        $282    $281

     Minneapolis MN          Litigation     Partner     113     $350           $400     $605      $478        $452    $417

                                            Associate   92      $295           $370     $403      $357        $333    $279

                             Non-Litigation Partner     183     $409           $576     $696      $559        $525    $474

                                            Associate   143     $295           $370     $468      $385        $388    $370

     Nashville TN            Litigation     Partner     34      $295           $375     $450      $377        $375    $386

                                            Associate   22      $200           $210     $219      $212        $236    $244

                             Non-Litigation Partner     65      $379           $438     $479      $435        $418    $417

                                            Associate   74      $230           $279     $290      $272        $247    $249

     New Haven CT            Litigation     Partner     13      $385           $443     $504      $435        $405    $389

                                            Associate   16      $224           $270     $294      $269        $265    $248

                             Non-Litigation Partner     14      $373           $468     $550      $454        $391    $390

                                            Associate   11      $290           $325     $345      $312        $285    $293

     New Orleans LA          Litigation     Partner     67      $285           $325     $395      $340        $332    $275

                                            Associate   71      $225           $238     $325      $273        $253    $207

                             Non-Litigation Partner     52      $280           $370     $500      $385        $372    $352

                                            Associate   44      $220           $235     $300      $259        $231    $220

     New York NY             Litigation     Partner     909     $475           $700    $1,020     $757        $746    $686

                                            Associate   1088    $315           $459     $665      $511        $493    $465

                             Non-Litigation Partner     1773    $735          $1,100   $1,350     $1,055     $1,016   $980

                                            Associate   2588    $486           $675     $855      $686        $660    $633

     Oklahoma City OK        Litigation     Partner     17      $200           $225     $350      $285        $278    $264

                             Non-Litigation Partner     18      $295           $350     $369      $348        $306    $304

     Omaha NE                Litigation     Partner     13      $310           $395     $395      $349        $368    $296

                             Non-Litigation Partner     38      $310           $375     $415      $357        $351    $344

                                            Associate   16      $185           $248     $255      $236        $213    $210




     29   Real Rate Report | 2020                                                                          wkelmsolutions.com
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     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role    n      First         Median    Third     2019      2018    2017
                                                              Quartile                Quartile
                                            

     Orlando FL              Litigation     Partner     36     $405           $450     $510      $454      $423    $392

                                            Associate   56     $220           $273     $328      $270      $248    $253

                             Non-Litigation Partner     78     $378           $431     $540      $466      $500    $496

                                            Associate   47     $234           $278     $353      $300      $301    $323

     Philadelphia PA         Litigation     Partner     419    $450           $600     $765      $613      $586    $553

                                            Associate   454    $300           $369     $465      $387      $363    $348

                             Non-Litigation Partner     556    $516           $655     $825      $683      $667    $666

                                            Associate   496    $320           $383     $480      $418      $399    $391

     Phoenix AZ              Litigation     Partner     43     $256           $368     $530      $415      $383    $370

                                            Associate   24     $180           $223     $298      $266      $262    $269

                             Non-Litigation Partner     83     $318           $365     $474      $388      $385    $372

                                            Associate   49     $223           $270     $296      $271      $277    $263

     Pittsburgh PA           Litigation     Partner     70     $360           $518     $678      $526      $437    $425

                                            Associate   105    $249           $326     $395      $330      $326    $291

                             Non-Litigation Partner     137    $400           $551     $715      $557      $516    $495

                                            Associate   133    $293           $360     $441      $374      $357    $334

     Portland ME             Litigation     Partner     13     $308           $393     $480      $419      $401    $344

                             Non-Litigation Partner     40     $245           $390     $454      $402      $387    $349

                                            Associate   17     $180           $200     $280      $228      $234    $233

     Portland OR             Litigation     Partner     57     $339           $380     $481      $416      $404    $401

                                            Associate   63     $280           $335     $391      $334      $330    $287

                             Non-Litigation Partner     89     $400           $486     $594      $481      $444    $438

                                            Associate   104    $295           $352     $419      $349      $342    $319

     Providence RI           Non-Litigation Partner     15     $185           $440     $485      $408      $456    $464

                                            Associate   13     $250           $250     $280      $265      $242    $232

     Raleigh NC              Litigation     Partner     15     $275           $362     $481      $391      $391    $347

                                            Associate   11     $234           $308     $406      $317      $265    $245

                             Non-Litigation Partner     43     $335           $425     $483      $433      $410    $409

                                            Associate   22     $283           $320     $370      $316      $295    $260

     Richmond VA             Litigation     Partner     45     $488           $582     $679      $561      $506    $423

                                            Associate   61     $250           $353     $451      $356      $319    $312

                             Non-Litigation Partner     73     $522           $665     $767      $643      $626    $598

                                            Associate   83     $351           $417     $471      $421      $384    $363




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     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role    n      First         Median    Third     2019      2018    2017
                                                              Quartile                Quartile
                                            

     Rochester NY            Litigation     Partner     16     $253           $345     $380      $341      $342    $318

                             Non-Litigation Partner     11     $295           $356     $430      $374      $318    $312

                                            Associate   14     $208           $260     $348      $281      $256    $229

     Sacramento CA           Non-Litigation Partner     12     $300           $382     $493      $472      $550    $488

     Salt Lake City UT       Litigation     Partner     22     $246           $395     $442      $373      $359    $364

                                            Associate   12     $195           $235     $245      $222      $190    $262

                             Non-Litigation Partner     38     $285           $400     $419      $383      $393    $355

                                            Associate   16     $200           $210     $238      $226      $216    $214

     San Diego CA            Litigation     Partner     64     $200           $370     $605      $468      $494    $458

                                            Associate   75     $170           $225     $295      $269      $292    $298

                             Non-Litigation Partner     94     $320           $650    $1,028     $674      $625    $571

                                            Associate   67     $195           $250     $475      $335      $341    $328

     San Francisco CA        Litigation     Partner     201    $395           $641     $943      $681      $656    $633

                                            Associate   153    $300           $396     $558      $450      $443    $432

                             Non-Litigation Partner     320    $496           $675     $926      $721      $743    $705

                                            Associate   233    $336           $425     $625      $493      $470    $471

     San Jose CA             Litigation     Partner     57     $589           $762     $978      $784      $732    $762

                                            Associate   35     $349           $380     $559      $466      $444    $491

                             Non-Litigation Partner     104    $608           $850    $1,035     $852      $793    $791

                                            Associate   80     $375           $500     $695      $561      $545    $506

     San Juan PR             Litigation     Partner     11     $196           $215     $225      $215      $212    $213

                             Non-Litigation Partner     15     $223           $255     $280      $264      $241    $245

     Seattle WA              Litigation     Partner     83     $400           $463     $588      $500      $512    $483

                                            Associate   88     $299           $415     $470      $405      $409    $331

                             Non-Litigation Partner     206    $400           $520     $655      $539      $550    $501

                                            Associate   142    $298           $367     $470      $386      $398    $341

     St. Louis MO            Litigation     Partner     72     $250           $356     $448      $381      $368    $323

                                            Associate   40     $190           $225     $250      $230      $217    $206

                             Non-Litigation Partner     88     $340           $436     $548      $453      $387    $392

                                            Associate   24     $224           $265     $299      $266      $243    $228

     Syracuse NY             Non-Litigation Partner     12     $264           $295     $359      $310      $311    $307

     Tallahassee FL          Non-Litigation Partner     18     $378           $450     $563      $467      $418    $376




     31   Real Rate Report | 2020                                                                       wkelmsolutions.com
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     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role     n      First         Median    Third     2019      2018    2017
                                                               Quartile                Quartile
                                            

     Tampa FL                Litigation     Partner     54      $286           $395     $540      $428      $390    $363

                                            Associate   28      $234           $280     $319      $267      $245    $244

                             Non-Litigation Partner     49      $310           $413     $538      $438      $405    $431

                                            Associate   27      $258           $283     $320      $303      $279    $286

     Toledo OH               Non-Litigation Partner     15      $337           $380     $475      $392      $342    $294

     Trenton NJ              Litigation     Partner     22      $473           $520     $625      $525      $474    $513

                             Non-Litigation Partner     25      $445           $510     $625      $527      $510    $511

                                            Associate   16      $280           $333     $450      $362      $392    $396

     Tulsa OK                Litigation     Partner     12      $242           $255     $281      $263      $264    $274

     Washington DC           Litigation     Partner     704     $675           $805     $965      $830      $803    $781

                                            Associate   626     $425           $525     $620      $526      $531    $515

                             Non-Litigation Partner     1403    $641           $810     $982      $832      $815    $778

                                            Associate   1145    $400           $520     $635      $544      $527    $494




     32   Real Rate Report | 2020                                                                        wkelmsolutions.com
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     Cities
     Cities By Year of Experience

     By Years of Experience
     2019 -- Real Rates for Partners                                                              Trend Analysis (Mean)

               City                 Years of Experience   n      First        Median    Third     2019     2018     2017
                                                                Quartile               Quartile
                              

     Albany NY                Fewer Than 21 Years         11     $255           $265    $310      $296     $288     $280

                              21 or More Years            29     $268           $308    $348      $332     $317     $316

     Albuquerque NM           21 or More Years            11     $219           $270    $323      $280     $286     $298

     Atlanta GA               Fewer Than 21 Years         105    $369           $497    $650      $517     $503     $484

                              21 or More Years            188    $400           $585    $736      $589     $573     $559

     Austin TX                Fewer Than 21 Years         27     $377           $494    $720      $543     $545     $485

                              21 or More Years            48     $385           $460    $640      $520     $522     $487

     Baltimore MD             Fewer Than 21 Years         44     $441           $560    $695      $569     $546     $544

                              21 or More Years            89     $466           $625    $755      $620     $559     $543

     Baton Rouge LA           21 or More Years            14     $288           $336    $463      $359     $366     $291

     Birmingham AL            Fewer Than 21 Years         43     $306           $340    $429      $362     $340     $316

                              21 or More Years            53     $320           $428    $485      $417     $408     $388

     Boston MA                Fewer Than 21 Years         103    $445           $607    $802      $622     $607     $585

                              21 or More Years            203    $389           $662    $842      $645     $654     $659

     Bridgeport CT            21 or More Years            21     $350           $450    $507      $437     $426     $429

     Buffalo NY               Fewer Than 21 Years         29     $340           $340    $340      $334     $317     $306

                              21 or More Years            28     $340           $340    $378      $360     $344     $320

     Charleston SC            21 or More Years            12     $300           $330    $500      $380     $343     $334

     Charleston WV            21 or More Years            19     $259           $283    $325      $285     $279     $285

     Charlotte NC             Fewer Than 21 Years         46     $413           $519    $643      $551     $534     $526

                              21 or More Years            54     $486           $690    $891      $703     $694     $616

     Chicago IL               Fewer Than 21 Years         283    $525           $757    $935      $740     $685     $651

                              21 or More Years            462    $605           $785   $1,003     $814     $766     $722

     Cincinnati OH            Fewer Than 21 Years         15     $338           $405    $515      $427     $408     $367

                              21 or More Years            42     $374           $428    $530      $455     $469     $444

     Cleveland OH             Fewer Than 21 Years         83     $360           $395    $465      $427     $429     $398

                              21 or More Years            144    $395           $476    $663      $543     $552     $518

     Columbia SC              21 or More Years            21     $315           $385    $450      $391     $412     $377

     Columbus OH              Fewer Than 21 Years         15     $355           $505    $560      $485     $417     $394

                              21 or More Years            44     $370           $455    $549      $468     $474     $428

     Dallas TX                Fewer Than 21 Years         61     $366           $465    $650      $561     $578     $540

                              21 or More Years            115    $424           $607    $870      $661     $628     $634

     Dayton OH                21 or More Years            12     $374           $425    $491      $455     $488     $477

     Denver CO                Fewer Than 21 Years         59     $381           $450    $475      $451     $445     $438

                              21 or More Years            93     $400           $498    $601      $532     $523     $476




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     Cities
     Cities By Year of Experience

     By Years of Experience
     2019 -- Real Rates for Partners                                                              Trend Analysis (Mean)

                City                Years of Experience   n      First        Median    Third     2019     2018     2017
                                                                Quartile               Quartile
                              

     Detroit MI               Fewer Than 21 Years         32     $300           $322    $395      $345     $346     $329

                              21 or More Years            79     $300           $365    $448      $366     $352     $377

     Grand Rapids MI          21 or More Years            13     $350           $369    $390      $374     $396     $422

     Greenville SC            21 or More Years            16     $429           $455    $495      $483     $433     $412

     Hartford CT              Fewer Than 21 Years         17     $315           $415    $465      $406     $355     $373

                              21 or More Years            41     $448           $502    $644      $554     $502     $459

     Honolulu HI              21 or More Years            21     $265           $300    $425      $362     $369     $338

     Houston TX               Fewer Than 21 Years         65     $478           $661    $875      $695     $666     $639

                              21 or More Years            88     $514           $765    $940      $751     $683     $655

     Indianapolis IN          Fewer Than 21 Years         39     $295           $365    $428      $365     $351     $337

                              21 or More Years            57     $376           $465    $560      $461     $449     $413

     Jackson MS               Fewer Than 21 Years         22     $295           $325    $356      $315     $305     $282

                              21 or More Years            18     $286           $350    $363      $342     $366     $373

     Jacksonville FL          21 or More Years            12     $300           $400    $473      $401     $358     $360

     Kansas City MO           Fewer Than 21 Years         53     $325           $388    $425      $376     $371     $355

                              21 or More Years            77     $421           $500    $598      $508     $480     $442

     Las Vegas NV             Fewer Than 21 Years         14     $313           $390    $428      $383     $396     $373

                              21 or More Years            22     $300           $460    $675      $494     $488     $445

     Little Rock AR           21 or More Years            11     $218           $250    $250      $249     $287     $273

     Los Angeles CA           Fewer Than 21 Years         196    $450           $647    $925      $686     $665     $629

                              21 or More Years            398    $500           $700   $1,015     $764     $734     $710

     Louisville KY            21 or More Years            12     $355           $395    $410      $389     $343     $359

     Madison WI               Fewer Than 21 Years         12     $399           $420    $545      $442     $446     $381

     Memphis TN               Fewer Than 21 Years         11     $280           $290    $365      $315     $300     $308

                              21 or More Years            23     $300           $391    $425      $366     $367     $376

     Miami FL                 Fewer Than 21 Years         49     $329           $474    $592      $462     $418     $354

                              21 or More Years            133    $350           $555    $725      $543     $496     $459

     Milwaukee WI             Fewer Than 21 Years         21     $271           $332    $439      $391     $383     $351

                              21 or More Years            44     $358           $400    $513      $448     $411     $390

     Minneapolis MN           Fewer Than 21 Years         68     $393           $502    $595      $497     $436     $418

                              21 or More Years            125    $388           $590    $730      $578     $545     $478

     Nashville TN             Fewer Than 21 Years         21     $356           $401    $441      $387     $357     $359

                              21 or More Years            46     $369           $450    $500      $443     $430     $428

     New Haven CT             21 or More Years            12     $385           $458    $511      $447     $382     $381




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     Cities
     Cities By Year of Experience

     By Years of Experience
     2019 -- Real Rates for Partners                                                               Trend Analysis (Mean)

               City                 Years of Experience    n      First        Median    Third     2019     2018     2017
                                                                 Quartile               Quartile
                              

     New Orleans LA           Fewer Than 21 Years         34      $305           $350    $400      $362     $346     $277

                              21 or More Years            48      $285           $350    $460      $371     $368     $305

     New York NY              Fewer Than 21 Years         568     $650           $975   $1,249     $947     $917     $874

                              21 or More Years            1245    $603           $980   $1,330     $979     $948     $903

     Oklahoma City OK         21 or More Years            21      $223           $350    $385      $347     $305     $297

     Omaha NE                 Fewer Than 21 Years         12      $270           $335    $360      $327     $300     $277

                              21 or More Years            26      $319           $395    $410      $366     $382     $358

     Orlando FL               Fewer Than 21 Years         28      $350           $385    $525      $433     $417     $440

                              21 or More Years            47      $399           $450    $475      $437     $457     $434

     Philadelphia PA          Fewer Than 21 Years         210     $437           $535    $655      $567     $544     $516

                              21 or More Years            407     $500           $675    $825      $679     $643     $619

     Phoenix AZ               Fewer Than 21 Years         23      $305           $370    $425      $365     $322     $320

                              21 or More Years            61      $325           $413    $591      $451     $432     $395

     Pittsburgh PA            Fewer Than 21 Years         45      $330           $448    $615      $480     $418     $388

                              21 or More Years            89      $410           $525    $655      $544     $493     $478

     Portland ME              21 or More Years            31      $211           $395    $446      $369     $350     $336

     Portland OR              Fewer Than 21 Years         41      $350           $400    $533      $436     $401     $400

                              21 or More Years            65      $400           $487    $579      $487     $455     $444

     Raleigh NC               Fewer Than 21 Years         19      $306           $375    $467      $404     $352     $358

                              21 or More Years            25      $380           $455    $500      $464     $449     $415

     Richmond VA              Fewer Than 21 Years         31      $510           $582    $702      $575     $557     $426

                              21 or More Years            46      $515           $650    $750      $625     $603     $549

     Rochester NY             21 or More Years            16      $261           $326    $360      $346     $323     $314

     Sacramento CA            21 or More Years            11      $325           $415    $455      $473     $515     $466

     Salt Lake City UT        Fewer Than 21 Years         22      $272           $385    $435      $386     $377     $344

                              21 or More Years            29      $314           $400    $430      $375     $391     $377

     San Diego CA             Fewer Than 21 Years         34      $303           $403    $915      $571     $496     $466

                              21 or More Years            75      $300           $445   $1,002     $642     $647     $588

     San Francisco CA         Fewer Than 21 Years         116     $476           $675    $907      $705     $688     $634

                              21 or More Years            235     $525           $700    $945      $741     $731     $694

     San Jose CA              Fewer Than 21 Years         31      $553           $675    $950      $776     $733     $685

                              21 or More Years            92      $650           $879   $1,028     $875     $841     $871

     Seattle WA               Fewer Than 21 Years         66      $393           $423    $530      $452     $452     $423

                              21 or More Years            136     $460           $556    $655      $564     $573     $525




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     Cities
     Cities By Year of Experience

     By Years of Experience
     2019 -- Real Rates for Partners                                                              Trend Analysis (Mean)

               City                 Years of Experience   n      First        Median    Third     2019     2018     2017
                                                                Quartile               Quartile
                              

     St. Louis MO             Fewer Than 21 Years         54     $324           $397    $460      $389     $353     $314

                              21 or More Years            84     $310           $425    $544      $443     $403     $375

     Syracuse NY              21 or More Years            15     $240           $240    $308      $278     $288     $294

     Tallahassee FL           21 or More Years            13     $400           $485    $576      $517     $443     $419

     Tampa FL                 Fewer Than 21 Years         32     $299           $388    $461      $393     $363     $358

                              21 or More Years            44     $375           $464    $570      $489     $431     $416

     Trenton NJ               21 or More Years            21     $478           $546    $638      $560     $519     $517

     Washington DC            Fewer Than 21 Years         490    $605           $770    $915      $763     $755     $721

                              21 or More Years            915    $660           $845   $1,000     $860     $830     $791




     36   Real Rate Report | 2020                                                                        wkelmsolutions.com
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     Cities
     Cities By Year of Experience

     By Years of Experience
     2019 -- Real Rates for Associates                                                        Trend Analysis (Mean)

              City              Years of Experience   n      First        Median    Third     2019      2018    2017
                                                            Quartile               Quartile

     Albany NY              7 or More Years           12     $230           $235    $250      $247      $240    $223

     Atlanta GA             Fewer Than 3 Years        14     $289           $313    $383      $330      $406

                            3 to Fewer Than 7 Years   52     $271           $300    $368      $330      $334    $328

                            7 or More Years           103    $289           $390    $556      $418      $411    $358

     Austin TX              7 or More Years           26     $315           $350    $510      $405      $361    $354

     Baltimore MD           Fewer Than 3 Years        14     $390           $390    $405      $389      $390    $295

                            3 to Fewer Than 7 Years   56     $390           $423    $550      $455      $437    $406

                            7 or More Years           58     $278           $355    $545      $425      $406    $407

     Birmingham AL          3 to Fewer Than 7 Years   22     $245           $279    $312      $274      $236    $225

                            7 or More Years           19     $234           $284    $325      $306      $269    $241

     Boston MA              Fewer Than 3 Years        16     $315           $355    $432      $371      $203

                            3 to Fewer Than 7 Years   46     $325           $400    $450      $402      $415    $371

                            7 or More Years           91     $305           $425    $650      $477      $517    $504

     Buffalo NY             3 to Fewer Than 7 Years   12     $197           $245    $283      $241      $237    $223

     Charlotte NC           3 to Fewer Than 7 Years   21     $273           $378    $450      $401      $368    $319

                            7 or More Years           30     $323           $389    $455      $394      $374    $408

     Chicago IL             Fewer Than 3 Years        45     $450           $526    $638      $529      $531

                            3 to Fewer Than 7 Years   153    $379           $495    $631      $508      $474    $415

                            7 or More Years           196    $387           $563    $723      $566      $511    $478

     Cincinnati OH          3 to Fewer Than 7 Years   13     $227           $240    $256      $248      $245    $233

                            7 or More Years           17     $266           $290    $350      $307      $280    $281

     Cleveland OH           Fewer Than 3 Years        25     $204           $230    $284      $242      $257

                            3 to Fewer Than 7 Years   54     $246           $290    $360      $309      $307    $272

                            7 or More Years           68     $235           $295    $350      $323      $317    $300

     Columbus OH            7 or More Years           17     $245           $307    $379      $316      $357    $309

     Dallas TX              3 to Fewer Than 7 Years   29     $330           $390    $508      $443      $415    $366

                            7 or More Years           77     $350           $440    $633      $510      $507    $508

     Denver CO              3 to Fewer Than 7 Years   25     $250           $275    $365      $314      $293    $266

                            7 or More Years           49     $275           $325    $365      $334      $330    $307

     Detroit MI             3 to Fewer Than 7 Years   15     $248           $280    $296      $274      $259    $234

                            7 or More Years           24     $221           $275    $375      $292      $252    $276

     Hartford CT            7 or More Years           12     $285           $310    $318      $302      $272    $278

     Houston TX             3 to Fewer Than 7 Years   27     $294           $389    $465      $401      $351    $286

                            7 or More Years           61     $303           $439    $554      $452      $457    $438




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     Cities
     Cities By Year of Experience

     By Years of Experience
     2019 -- Real Rates for Associates                                                        Trend Analysis (Mean)

              City              Years of Experience   n      First        Median    Third     2019      2018    2017
                                                            Quartile               Quartile

     Indianapolis IN        3 to Fewer Than 7 Years   15     $166           $225    $260      $229      $199    $194

                            7 or More Years           22     $165           $290    $350      $274      $284    $272

     Jackson MS             7 or More Years           19      $55           $200    $251      $167      $221    $182

     Kansas City MO         3 to Fewer Than 7 Years   30     $278           $305    $325      $299      $265    $240

                            7 or More Years           34     $269           $291    $295      $288      $267    $269

     Las Vegas NV           7 or More Years           19     $250           $270    $318      $281      $276    $277

     Los Angeles CA         Fewer Than 3 Years        38     $388           $468    $550      $480      $475

                            3 to Fewer Than 7 Years   140    $395           $562    $665      $533      $486    $442

                            7 or More Years           228    $330           $520    $789      $569      $551    $548

     Miami FL               3 to Fewer Than 7 Years   23     $276           $327    $378      $330      $312    $265

                            7 or More Years           44     $238           $378    $485      $369      $327    $293

     Milwaukee WI           7 or More Years           22     $245           $293    $330      $302      $285    $282

     Minneapolis MN         Fewer Than 3 Years        14     $295           $340    $380      $345      $361

                            3 to Fewer Than 7 Years   38     $315           $375    $410      $363      $339    $292

                            7 or More Years           39     $309           $370    $497      $392      $355    $334

     Nashville TN           7 or More Years           19     $224           $257    $306      $265      $247    $255

     New Orleans LA         3 to Fewer Than 7 Years   23     $220           $253    $298      $257      $232    $226

                            7 or More Years           25     $225           $266    $365      $288      $264    $208

     New York NY            Fewer Than 3 Years        140    $373           $511    $623      $513      $487    $411

                            3 to Fewer Than 7 Years   329    $400           $568    $838      $597      $572    $527

                            7 or More Years           645    $425           $721    $960      $708      $685    $661

     Orlando FL             3 to Fewer Than 7 Years   13     $228           $246    $396      $300      $284    $264

                            7 or More Years           25     $280           $305    $350      $324      $277    $278

     Philadelphia PA        Fewer Than 3 Years        46     $300           $325    $370      $337      $308

                            3 to Fewer Than 7 Years   176    $300           $350    $415      $369      $355    $327

                            7 or More Years           215    $318           $436    $499      $442      $407    $391

     Phoenix AZ             7 or More Years           11     $195           $205    $300      $256      $284    $279

     Pittsburgh PA          Fewer Than 3 Years        19     $243           $305    $381      $306      $333

                            3 to Fewer Than 7 Years   35     $253           $329    $361      $321      $321    $296

                            7 or More Years           49     $265           $350    $417      $358      $346    $318

     Portland OR            Fewer Than 3 Years        14     $240           $277    $312      $268      $278

                            3 to Fewer Than 7 Years   42     $283           $333    $369      $329      $313    $284

                            7 or More Years           63     $307           $391    $440      $378      $367    $331

     Richmond VA            7 or More Years           25     $330           $412    $480      $392      $354    $325

     Salt Lake City UT      3 to Fewer Than 7 Years   15     $200           $210    $245      $223      $193    $191




     38   Real Rate Report | 2020                                                                    wkelmsolutions.com
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     Cities
     Cities By Year of Experience

     By Years of Experience
     2019 -- Real Rates for Associates                                                        Trend Analysis (Mean)

              City              Years of Experience   n      First        Median    Third     2019      2018    2017
                                                            Quartile               Quartile

     San Diego CA           3 to Fewer Than 7 Years   14     $225           $290    $446      $326      $325    $300

                            7 or More Years           36     $280           $377    $598      $425      $458    $425

     San Francisco CA       Fewer Than 3 Years        12     $310           $325    $359      $351      $349

                            3 to Fewer Than 7 Years   49     $317           $425    $550      $446      $421    $394

                            7 or More Years           90     $345           $440    $626      $498      $503    $485

     San Jose CA            3 to Fewer Than 7 Years   12     $500           $550    $653      $564      $454    $429

                            7 or More Years           30     $412           $527    $743      $604      $563    $535

     Seattle WA             Fewer Than 3 Years        12     $257           $287    $299      $282      $262

                            3 to Fewer Than 7 Years   33     $275           $310    $352      $313      $306    $262

                            7 or More Years           42     $363           $417    $470      $411      $421    $344

     St. Louis MO           7 or More Years           20     $190           $250    $284      $248      $233    $225

     Tampa FL               7 or More Years           11     $280           $305    $324      $317      $254    $257

     Washington DC          Fewer Than 3 Years        70     $350           $436    $520      $442      $407    $375

                            3 to Fewer Than 7 Years   263    $405           $501    $590      $506      $470    $429

                            7 or More Years           356    $460           $580    $721      $614      $589    $565




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     Firm    Size
     Firm Size
     By Matter Type
     By Matter Type
     2019 -- Real Rates for Partners and Associates                                           Trend Analysis (Mean)

            Firm Size     MatterType
                          Matter Type      Role      n      First      Median       Third     2019     2018     2017
                                                           Quartile                Quartile

     50 Lawyers or       Litigation     Partner     1081    $245            $305    $405      $348     $335     $319
     Fewer
                                        Associate   886     $185            $240    $300      $254     $251     $229

                         Non-Litigation Partner     1412    $275            $375    $495      $400     $392     $379

                                        Associate   986     $210            $255    $325      $281     $273     $271

     51-200 Lawyers      Litigation     Partner     1099    $299            $380    $510      $432     $415     $404

                                        Associate   850     $215            $260    $345      $297     $283     $271

                         Non-Litigation Partner     1418    $356            $450    $625      $507     $490     $476

                                        Associate   939     $240            $288    $375      $326     $321     $308

     201-500 Lawyers     Litigation     Partner     1199    $391            $500    $675      $552     $539     $518

                                        Associate   1063    $285            $325    $420      $369     $356     $348

                         Non-Litigation Partner     1777    $415            $532    $720      $606     $607     $594

                                        Associate   1478    $295            $370    $509      $421     $405     $397

     501-1,000 Lawyers   Litigation     Partner     1507    $528            $690    $935      $759     $740     $712

                                        Associate   1825    $350            $460    $610      $499     $486     $466

                         Non-Litigation Partner     2751    $610            $829   $1,155     $894     $874     $849

                                        Associate   3525    $409            $549    $750      $588     $584     $559

     More Than 1,000     Litigation     Partner     984     $680            $850   $1,015     $867     $823     $799
     Lawyers
                                        Associate   1157    $397            $500    $681      $546     $517     $494

                         Non-Litigation Partner     2258    $777            $940   $1,175     $983     $953     $902

                                        Associate   2645    $451            $600    $795      $638     $606     $582




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 Section II:
 Industry Analysis




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      Industry Groups
      Industry Groups

      2019 -- Real Rates for Partners, Associates, and Paralegals                            Trend Analysis (Mean)

             Industry Group                     Role    n      First     Median    Third     2019      2018    2017
                                                              Quartile            Quartile

      Basic Materials and Utilities   Partner          717     $353       $500     $695      $573      $564    $551

                                      Associate        556     $240       $305     $423      $374      $383    $382

                                      Paralegal        378     $115       $171     $225      $181      $185    $173

      Consumer Goods                  Partner          460     $330       $420     $590      $476      $509    $494

                                      Associate        313     $240       $306     $400      $337      $343    $334

                                      Paralegal        195     $120       $160     $210      $172      $175    $161

      Consumer Services               Partner          1804    $425       $590     $795      $657      $603    $584

                                      Associate        1761    $300       $404     $585      $457      $433    $411

                                      Paralegal        746     $164       $225     $285      $233      $212    $203

      Financials Excluding            Partner          4963    $464       $736    $1,050     $788      $788    $773
      Insurance
                                      Associate        5195    $330       $497     $720      $548      $545    $540

                                      Paralegal        2237    $170       $230     $310      $243      $241    $238

      Health Care                     Partner          1595    $450       $675     $875      $682      $647    $614

                                      Associate        1703    $340       $465     $580      $473      $428    $402

                                      Paralegal        926     $150       $210     $284      $222      $214    $194

      Industrials                     Partner          1820    $380       $541     $832      $635      $565    $535

                                      Associate        1674    $284       $365     $557      $439      $384    $359

                                      Paralegal        838     $150       $220     $329      $237      $194    $176

      Insurance                       Partner          4865    $170       $200     $300      $289      $309    $302

                                      Associate        4279    $150       $175     $250      $238      $245    $233

                                      Paralegal        3007     $85       $95      $120      $115      $120    $115

      Technology and                  Partner          2259    $475       $660     $896      $710      $702    $661
      Telecommunications
                                      Associate        2390    $341       $448     $615      $496      $483    $449

                                      Paralegal        869     $180       $235     $300      $242      $237    $221




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      Industry
      Industry Groups
      By Matter Type Groups
      By Matter Type

      2019 -- Real Rates for Partners and Associates                                             Trend Analysis (Mean)

           Industry Group     MatterType
                              Matter Type       Role     n      First        Median    Third     2019      2018    2017
                                                               Quartile               Quartile

      Basic Materials and    Litigation     Partner     398     $295          $395     $575      $457      $455    $422
      Utilities
                                            Associate   341     $212          $260     $340      $299      $298    $290

                             Non-Litigation Partner     371     $437          $595     $840      $693      $674    $666

                                            Associate   241     $300          $400     $620      $482      $492    $487

      Consumer Goods         Litigation     Partner     241     $285          $370     $430      $394      $421    $415

                                            Associate   187     $225          $270     $356      $301      $305    $289

                             Non-Litigation Partner     254     $400          $502     $680      $552      $589    $592

                                            Associate   140     $289          $360     $470      $382      $393    $410

      Consumer Services      Litigation     Partner     951     $391          $540     $753      $604      $531    $518

                                            Associate   864     $288          $365     $511      $413      $379    $371

                             Non-Litigation Partner     1055    $463          $617     $875      $701      $666    $643

                                            Associate   1031    $325          $441     $612      $491      $476    $447

      Financials Excluding   Litigation     Partner     1467    $344          $525     $778      $599      $614    $621
      Insurance
                                            Associate   1530    $265          $355     $525      $413      $422    $428

                             Non-Litigation Partner     3845    $545          $833    $1,140     $866      $851    $828

                                            Associate   3927    $400          $570     $788      $606      $594    $581

      Health Care            Litigation     Partner     1050    $425          $640     $862      $660      $634    $588

                                            Associate   1093    $325          $445     $550      $455      $416    $384

                             Non-Litigation Partner     701     $494          $695     $899      $717      $673    $667

                                            Associate   722     $358          $486     $620      $499      $453    $444

      Industrials            Litigation     Partner     678     $365          $500     $776      $582      $509    $470

                                            Associate   603     $275          $335     $512      $402      $347    $317

                             Non-Litigation Partner     1359    $395          $560     $867      $661      $598    $584

                                            Associate   1229    $288          $382     $596      $457      $406    $391

      Insurance              Litigation     Partner     644     $275          $330     $464      $438      $485    $444

                                            Associate   518     $224          $276     $435      $360      $358    $319

                             Non-Litigation Partner     1313    $275          $350     $600      $496      $498    $504

                                            Associate   1091    $225          $275     $470      $374      $358    $354

      Technology and     Litigation         Partner     785     $476          $654     $875      $697      $696    $652
      Telecommunications
                                            Associate   793     $336          $438     $615      $486      $489    $449

                             Non-Litigation Partner     1719    $475          $670     $900      $716      $705    $664

                                            Associate   1801    $345          $450     $614      $500      $480    $450




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20                                          Basic Materials & Utilities
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     Basic
      BasicMaterials  and Utilities
           Materials and
              Utilities
     By Practice Area and Matter Type
        By Practice Area and Matter Type

     2019 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

         Practice Area              Matter Type       Role    n     First     Median    Third      2019      2018    2017
                                                                   Quartile            Quartile
                                                  

     Commercial                   Litigation      Partner     15    $495       $585     $770       $641      $647    $599

                                                  Associate   11    $403       $425     $523       $461      $415    $337

                                  Non-Litigation Partner      22    $484       $593     $731       $668      $641    $676

                                                  Associate   15    $375       $375     $438       $422      $353    $357

     Corporate: Other             Non-Litigation Associate    33    $414       $660     $860       $640      $585    $505

     Corporate:                   Non-Litigation Partner      41    $480       $626     $905       $682      $648    $704
     Regulatory and
                                                  Associate   19    $328       $430     $663       $488      $462    $479
     Compliance
     Employment and               Litigation      Partner     33    $320       $400     $443       $388      $415    $463
     Labor:
                                                  Associate   29    $235       $281     $300       $271      $263    $248
     Discrimination,
     Retaliation and
     Harassment / EEO
     Employment and               Non-Litigation Partner      36    $413       $452     $552       $505      $447    $474
     Labor: Other
                                                  Associate   19    $249       $306     $325       $298      $299    $330

     Environmental                Non-Litigation Partner      43    $410       $515     $708       $568      $604    $494

                                                  Associate   31    $260       $383     $527       $413      $456    $422

     Real Estate:                 Non-Litigation Partner      81    $585       $735     $840       $778      $675    $678
     Property/Land
     Acquisition or
     Divestiture




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     Consumer
       ConsumerGoods
                Goods
     By Practice       Area
        By Practice Area      andType
                         and Matter Matter Type
     2019 -- Real Rates for Partners and Associates                                           Trend Analysis (Mean)

          Practice Area       Matter Type         Role   n      First     Median    Third     2019      2018    2017
                                                               Quartile            Quartile
                                             

     Commercial              Litigation      Partner     73     $325       $388     $485      $452     $451     $487

                                             Associate   48     $303       $380     $400      $383     $343     $349

                             Non-Litigation Partner      129    $400       $550     $640      $556     $566     $567

                                             Associate   73     $295       $375     $470      $381     $366     $380

     Corporate: Other        Non-Litigation Partner      17     $410       $465     $625      $520     $656     $834

     Employment and          Litigation      Partner     19     $370       $392     $585      $477     $564     $622
     Labor: Other
                                             Associate   18     $289       $330     $399      $355     $407     $410

                             Non-Litigation Partner      35     $392       $449     $553      $487     $509     $578

     General Liability:  Litigation          Partner     76     $268       $305     $370      $319     $326     $331
     Product and Product
                                             Associate   57     $215       $233     $255      $234     $239     $242
     Liability




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     Consumer
      Consumer Services
               Services
     By Practice       Area
        By Practice Area      andType
                         and Matter Matter Type
     2019 -- Real Rates for Partners and Associates                                           Trend Analysis (Mean)

          Practice Area       Matter Type         Role   n      First     Median    Third      2019     2018     2017
                                                               Quartile            Quartile
                                             

     Bankruptcy and          Litigation      Partner     36     $295       $395     $621      $539      $414     $372
     Collections
                                             Associate   26     $260       $275     $288      $307      $306     $269

     Commercial              Litigation      Partner     291    $396       $580     $770      $615      $579     $575

                                             Associate   232    $288       $352     $475      $391      $396     $390

                             Non-Litigation Partner      95     $514       $620     $710      $641      $562     $546

                                             Associate   78     $332       $398     $515      $448      $400     $384

     Corporate: Mergers,     Non-Litigation Partner      108    $650       $895    $1,249     $919      $885     $864
     Acquisitions and
     Divestitures
     Corporate: Other        Litigation      Partner     185    $445       $582     $788      $643      $657     $621

                                             Associate   162    $323       $410     $585      $454      $463     $441

                             Non-Litigation Partner      253    $500       $684    $1,223     $786      $740     $718

                                             Associate   234    $300       $470     $668      $507      $484     $474

     Corporate:              Litigation      Partner     49     $589       $740     $965      $771      $639     $624
     Regulatory and
                                             Associate   40     $350       $460     $576      $468      $427     $441
     Compliance
                             Non-Litigation Partner      275    $485       $621     $777      $662      $688     $619

                                             Associate   204    $321       $435     $612      $487      $518     $451

     Employment and          Non-Litigation Partner      39     $515       $604     $664      $624      $641     $619
     Labor:
     Compensation and
     Benefits
     Employment and          Litigation      Partner     80     $285       $350     $446      $381      $403     $385
     Labor:
                                             Associate   81     $264       $292     $322      $293      $289     $290
     Discrimination,
     Retaliation and
     Harassment / EEO
     Employment and          Litigation      Partner     141    $340       $459     $576      $481      $471     $482
     Labor: Other
                                             Associate   95     $275       $311     $375      $330      $340     $335

                             Non-Litigation Partner      86     $450       $525     $685      $567      $514     $529

                                             Associate   65     $321       $413     $450      $406      $400     $372

     Employment and      Litigation     Partner          16     $389       $487     $616      $553      $587     $544
     Labor: Union
                         Non-Litigation Partner          45     $385       $450     $683      $519      $489     $487
     Relations and
     Negotiations / NLRB                Associate        38     $325       $325     $360      $362      $344     $349

     Employment and          Litigation      Partner     20     $290       $339     $464      $399      $409     $401
     Labor: Wages, Tips
                                             Associate   20     $260       $293     $408      $329      $357     $372
     and Overtime




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     Consumer
      Consumer Services
               Services
     By Practice       Area
        By Practice Area      andType
                         and Matter Matter Type

     2019 -- Real Rates for Partners and Associates                                           Trend Analysis (Mean)

          Practice Area       Matter Type         Role   n      First     Median    Third     2019       2018     2017
                                                               Quartile            Quartile
                                             

     Finance and             Non-Litigation Partner      18    $1,049     $1,160   $1,249     $1,107     $1,086   $978
     Securities:
     Debt/Equity
     Offerings
     Finance and             Non-Litigation Partner      32     $658      $1,096   $1,249     $981       $873     $884
     Securities: SEC
                                             Associate   27     $503       $612     $814      $609       $541     $495
     Filings and Financial
     Reporting
     Intellectual Property: Non-Litigation Partner       24     $478       $555     $679      $565       $544     $604
     Other
                                           Associate     31     $260       $360     $389      $344       $365     $377

     Intellectual Property: Non-Litigation Partner       62     $385       $500     $739      $608       $565     $599
     Patents
                                           Associate     102    $234       $292     $403      $331       $314     $364

     Intellectual Property: Non-Litigation Partner       18     $358       $550     $654      $518       $627     $622
     Trademarks
                                           Associate     15     $259       $315     $385      $330       $401     $396

     Real Estate: Leasing    Non-Litigation Partner      33     $385       $495     $647      $524       $517     $503

                                             Associate   29     $288       $350     $420      $363       $332     $342

     Real Estate: Other      Non-Litigation Partner      58     $385       $490     $600      $494       $473     $496

                                             Associate   41     $280       $344     $425      $354       $311     $340

     Real Estate:            Non-Litigation Partner      12     $413       $435     $614      $488       $478     $484
     Property/Land
     Acquisition or
     Divestiture




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20   Section II: Industry Analysis #:38667                          Financials Excluding Insurance 1



     Financials  Excluding Insurance
      Financials Excluding
            Insurance
     By Practice Area and Matter Type
        By Practice Area and Matter Type

     2019 -- Real Rates for Partners and Associates                                                               Trend Analysis (Mean)

         Practice Area              Matter Type       Role    n      First             Median           Third     2019       2018     2017
                                                                    Quartile                           Quartile
                                                  

     Bankruptcy and               Litigation      Partner     232      $300              $390           $525      $458       $412     $379
     Collections
                                                  Associate   231      $255              $310           $410      $378       $318     $264

                                  Non-Litigation Partner      273      $324              $365           $450      $412       $389     $376

                                                  Associate   186      $235              $290           $374      $325       $294     $278

     Commercial                   Litigation      Partner     339      $365              $475           $715      $591       $586     $633

                                                  Associate   297      $250              $319           $441      $387       $402     $424

                                  Non-Litigation Partner      265      $625              $895          $1,225     $959       $992     $1,021

                                                  Associate   223      $410              $565           $838      $673       $703     $722

     Corporate:                   Non-Litigation Partner      24       $594              $810          $1,575     $997       $848     $558
     Corporate
     Development
     Corporate:                   Non-Litigation Partner      30       $620              $995          $1,423     $980       $995     $892
     Governance
                                                  Associate   36       $446              $612           $846      $658       $601     $582

     Corporate: Mergers,          Non-Litigation Partner      111      $860            $1,098          $1,330     $1,059     $1,056   $912
     Acquisitions and
                                                  Associate   112      $425              $610           $862      $643       $754     $717
     Divestitures
     Corporate: Other             Litigation      Partner     204      $395              $575           $822      $636       $741     $671

                                                  Associate   184      $295              $400           $568      $448       $474     $447

                                  Non-Litigation Partner      554      $657              $930          $1,180     $929       $882     $858

                                                  Associate   589      $439              $590           $795      $620       $575     $560

     Corporate:                   Non-Litigation Partner      12       $870              $928          $1,025     $942       $876
     Partnerships and
     Joint Ventures
     Corporate:                   Litigation      Partner     148      $575              $790           $995      $824       $852     $777
     Regulatory and
                                                  Associate   147      $405              $531           $697      $555       $528     $505
     Compliance
                                  Non-Litigation Partner      135      $899            $1,061          $1,300     $1,092     $1,007   $974

                                                  Associate   121      $440              $660           $922      $701       $634     $638

     Corporate: Tax               Non-Litigation Partner      90       $687              $995          $1,395     $1,053     $1,042   $1,039

                                                  Associate   86       $426              $585           $854      $696       $681     $686

     Corporate: Treasury          Non-Litigation Partner      29     $1,000            $1,150          $1,250     $1,079     $1,023   $948

                                                  Associate   30       $300              $461           $715      $490       $521     $537




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20   Section II: Industry Analysis #:38668                           Financials Excluding Insurance 2



     Financials  Excluding Insurance
      Financials Excluding
            Insurance
     By Practice Area and Matter Type
        By Practice Area and Matter Type

     2019 -- Real Rates for Partners and Associates                                                                Trend Analysis (Mean)

         Practice Area              Matter Type       Role     n      First             Median           Third     2019     2018     2017
                                                                     Quartile                           Quartile
                                                  

     Employment and               Non-Litigation Partner      66        $566              $643           $804      $718     $681     $715
     Labor:
                                                  Associate   29        $347              $394           $486      $420     $401     $488
     Compensation and
     Benefits
     Employment and               Litigation      Partner     37        $365              $497           $707      $606     $624     $525
     Labor:
                                                  Associate   28        $280              $357           $436      $399     $484     $441
     Discrimination,
     Retaliation and              Non-Litigation Partner      32        $375              $453           $581      $512     $480     $388

     Harassment / EEO                             Associate   27        $295              $337           $464      $383     $344     $283

     Employment and               Non-Litigation Partner      22        $711              $750          $1,086     $856     $745     $774
     Labor: ERISA
     Employment and               Litigation      Partner     236       $598              $735           $895      $770     $779     $763
     Labor: Other
                                                  Associate   241       $356              $495           $625      $506     $526     $519

                                  Non-Litigation Partner      216       $405              $565           $758      $633     $635     $588

                                                  Associate   138       $295              $385           $505      $460     $450     $422

     Employment and               Litigation      Partner     16        $551              $800          $1,087     $848     $761     $847
     Labor: Wrongful
                                                  Associate   14        $345              $382           $557      $440     $450     $680
     Termination
     Finance and                  Non-Litigation Partner      143       $639              $863          $1,096     $906     $884     $838
     Securities:
                                                  Associate   137       $415              $520           $680      $579     $559     $546
     Debt/Equity
     Offerings
     Finance and                  Litigation      Partner     75        $514              $675           $855      $709     $712     $803
     Securities: Fiduciary
                                                  Associate   56        $296              $395           $468      $391     $456     $474
     Services
                                  Non-Litigation Partner      54        $455              $587           $843      $665     $679     $638

                                                  Associate   24        $268              $328           $482      $407     $360     $402

     Finance and                  Litigation      Partner     68        $804              $905          $1,125     $943     $970     $950
     Securities:
                                                  Associate   91        $396              $565           $648      $554     $570     $590
     Investments and
     Other Financial              Non-Litigation Partner      1168      $730              $928          $1,195     $959     $957     $954

     Instruments                                  Associate   1332      $466              $641           $810      $652     $645     $636

     Finance and           Litigation     Partner             117       $334              $463           $607      $539     $526     $609
     Securities: Loans and
                                          Associate           160       $275              $310           $397      $364     $377     $345
     Financing
                           Non-Litigation Partner             1113      $525              $795          $1,170     $857     $824     $802

                                                  Associate   1060      $405              $575           $805      $603     $583     $568




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20   Section II: Industry Analysis #:38669                           Financials Excluding Insurance 3



     Financials  Excluding Insurance
      Financials Excluding
            Insurance
     By Practice Area and Matter Type
          By Practice Area and Matter Type

     2019 -- Real Rates for Partners and Associates                                                                Trend Analysis (Mean)

           Practice Area              Matter Type       Role    n     First             Median           Third     2019       2018     2017
                                                                     Quartile                           Quartile
                                                    

     Finance and                    Litigation      Partner     22      $759              $975          $1,045     $932       $838     $875
     Securities: SEC
                                                    Associate   16      $466              $608           $749      $600       $522     $541
     Filings and Financial
     Reporting                      Non-Litigation Partner      30      $455              $560           $961      $699       $713     $640

     Finance and                    Litigation      Partner     49      $602              $804           $994      $817       $830     $783
     Securities: Securities
                                                    Associate   59      $401              $482           $637      $508       $530     $489
     and Banking
     Regulations                    Non-Litigation Partner      56      $715            $1,020          $1,330     $1,011     $912     $938

                                                    Associate   33      $425              $565           $702      $581       $556     $580

     General Liability:             Litigation      Partner     14      $487              $580           $730      $602       $517     $442
     Consumer Related
     Claims
     General Liability:             Litigation      Partner     88      $165              $185           $196      $196       $182     $171
     Personal
                                                    Associate   94      $150              $165           $170      $166       $160     $155
     Injury/Wrongful
     Death
     Intellectual Property: Non-Litigation Partner              13      $404              $476           $598      $512       $480     $503
     Trademarks
     Miscellaneous:                 Non-Litigation Partner      42      $550              $720           $825      $700       $724     $611
     General Advice &
                                                    Associate   15      $383              $425           $520      $445       $510     $469
     Counsel
     Real Estate: Other             Litigation      Partner     53      $400              $531           $727      $562       $497     $440

                                                    Associate   45      $300              $375           $560      $437       $337     $282

                                    Non-Litigation Partner      30      $414              $553           $886      $728       $525     $479

                                                    Associate   18      $361              $574           $718      $638       $421     $319

     Requests for                   Litigation      Partner     18      $525              $595           $724      $589       $766     $577
     Information:
                                                    Associate   22      $346              $403           $481      $424       $494     $385
     Subpoena




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020   Section II: Industry Analysis #:38670    Health Care



      Healthcare
      By Practice
            HealthArea and Matter Type
                    Care
           By Practice Area and Matter Type


      2019 -- Real Rates for Partners and Associates                                                  Trend Analysis (Mean)

            Practice Area              Matter Type       Role    n      First     Median    Third      2019     2018    2017
                                                                       Quartile            Quartile
                                                     

      Commercial                     Litigation      Associate   18     $238       $260     $334       $294     $283    $297

                                     Non-Litigation Partner      46     $558       $681     $850       $698     $875    $970

                                                     Associate   35     $333       $433     $485       $432     $452    $630

      Corporate: Mergers,            Non-Litigation Partner      55     $629       $915    $1,322      $984     $673    $822
      Acquisitions and
                                                     Associate   95     $464       $725     $943       $700     $658    $554
      Divestitures
      Corporate: Other               Litigation      Partner     212    $625       $745     $933       $798     $745    $669

                                                     Associate   215    $396       $490     $585       $512     $467    $428

                                     Non-Litigation Partner      216    $770       $889     $935       $886     $834    $781

                                                     Associate   246    $483       $525     $633       $544     $534    $486

      Corporate:                     Litigation      Partner     141    $625       $790     $900       $783     $750    $731
      Regulatory and
                                                     Associate   151    $383       $460     $575       $489     $481    $454
      Compliance
                                     Non-Litigation Partner      114    $413       $606     $785       $616     $612    $565

                                                     Associate   106    $295       $400     $525       $423     $407    $377

      Employment and                 Litigation      Partner     16     $472       $540     $625       $522     $482    $423
      Labor:
      Discrimination,
      Retaliation and
      Harassment / EEO
      Employment and                 Litigation      Partner     52     $422       $540     $621       $509     $534    $571
      Labor: Other
                                                     Associate   28     $279       $368     $425       $360     $365    $376

                                     Non-Litigation Partner      52     $396       $461     $664       $533     $525    $523

                                                     Associate   38     $251       $288     $445       $369     $423    $365

      Environmental                  Litigation      Partner     25     $385       $450     $617       $480     $506    $588

      General Liability:  Litigation                 Partner     236    $350       $506     $708       $554     $553    $491
      Product and Product
                                                     Associate   234    $250       $350     $448       $374     $352    $320
      Liability
      Intellectual Property: Litigation              Partner     201    $675       $848     $976       $819     $781    $746
      Patents
                                                     Associate   207    $465       $535     $690       $558     $504    $492

                                     Non-Litigation Partner      146    $464       $625     $790       $645     $661    $637

                                                     Associate   121    $345       $420     $535       $455     $413    $425

      Intellectual Property: Non-Litigation Partner              34     $560       $675     $878       $703     $647    $675
      Trademarks
      Requests for                   Litigation      Partner     16     $674       $902     $915       $754     $768    $748
      Information:
                                                     Associate   17     $481       $500     $655       $527     $466    $463
      Subpoena




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     Industrials
          Industrials
     By Practice      Area
        By Practice Area      andType
                         and Matter Matter Type

     2019 -- Real Rates for Partners and Associates                                            Trend Analysis (Mean)

          Practice Area        Matter Type        Role    n      First     Median    Third     2019      2018     2017
                                                                Quartile            Quartile
                                              

     Bankruptcy and          Litigation       Partner     21     $392       $475     $675      $529      $480     $395
     Collections
     Commercial              Litigation       Partner     100    $448       $675    $1,049     $758      $565     $545

                                              Associate   102    $303       $503     $733      $561      $381     $361

                             Non-Litigation Partner       115    $410       $560     $758      $631      $558     $538

                                              Associate   74     $298       $360     $465      $421      $345     $373

     Corporate: Antitrust    Litigation       Partner     18     $447       $858     $951      $730      $788     $679
     and Competition
                                              Associate   17     $330       $369     $540      $448      $421     $484

     Corporate: Mergers,     Non-Litigation Partner       183    $693       $927    $1,200     $976      $951     $866
     Acquisitions and
                                              Associate   208    $431       $660     $841      $643      $574     $528
     Divestitures
     Corporate: Other        Litigation       Partner     199    $452       $715     $900      $704      $685     $505

                                              Associate   153    $290       $427     $625      $461      $445     $329

                             Non-Litigation Partner       516    $422       $640     $920      $711      $627     $621

                                              Associate   477    $325       $447     $666      $511      $437     $420

     Corporate:              Litigation       Partner     32     $568       $797     $965      $763      $755     $819
     Regulatory and
                                              Associate   24     $449       $546     $676      $543      $552     $512
     Compliance
                             Non-Litigation Partner       121    $442       $572     $820      $627      $605     $591

                                              Associate   78     $300       $410     $608      $442      $445     $390

     Corporate: Tax          Non-Litigation Partner       58     $590       $780     $916      $751      $760     $796

                                              Associate   54     $354       $458     $554      $479      $495     $502

     Employment and          Non-Litigation Partner       38     $496       $685     $940      $741      $663     $587
     Labor:
                                              Associate   14     $281       $425     $512      $425      $435     $351
     Compensation and
     Benefits
     Employment and          Non-Litigation Partner       29     $380       $420     $480      $422      $402     $400
     Labor:
                                              Associate   50     $295       $360     $360      $330      $356     $383
     Discrimination,
     Retaliation and
     Harassment / EEO
     Employment and          Litigation       Partner     22     $430       $562     $590      $560      $501     $416
     Labor: Other
                             Non-Litigation Partner       85     $395       $464     $592      $539      $528     $507

                                              Associate   53     $262       $316     $368      $355      $363     $339

     Employment and      Non-Litigation Partner           18     $446       $493     $649      $571      $513     $485
     Labor: Union
     Relations and
     Negotiations / NLRB




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      Industrials
           Industrials
      By Practice      Area
         By Practice Area      andType
                          and Matter Matter Type
      2019 -- Real Rates for Partners and Associates                                            Trend Analysis (Mean)

           Practice Area       Matter Type         Role    n      First     Median    Third     2019      2018    2017
                                                                 Quartile            Quartile
                                               

       Environmental          Litigation       Partner     25     $463       $560     $605      $541      $499    $483

                                               Associate   19     $343       $365     $450      $406      $327    $297

                              Non-Litigation Partner       52     $390       $525     $650      $551      $521    $518

       General Liability:     Non-Litigation Partner       11     $675       $835     $908      $822      $566    $428
       Other
       General Liability:     Litigation       Partner     38     $337       $460     $624      $562      $278    $304
       Personal
                                               Associate   30     $261       $325     $551      $417      $211    $201
       Injury/Wrongful
       Death
       General Liability:  Litigation          Partner     95     $200       $300     $399      $346      $367    $349
       Product and Product
                                               Associate   75     $180       $225     $298      $250      $258    $272
       Liability
       Intellectual Property: Litigation       Partner     17     $620       $670     $765      $698      $695    $681
       Other
                                               Associate   18     $302       $387     $508      $417      $408    $427

                              Non-Litigation Partner       65     $400       $502     $780      $632      $492    $496

                                               Associate   54     $252       $303     $533      $388      $304    $299

       Intellectual Property: Litigation       Partner     23     $650       $688     $775      $699      $614    $682
       Patents
                                               Associate   18     $346       $455     $549      $451      $385    $411

                              Non-Litigation Partner       123    $322       $395     $500      $458      $434    $449

                                               Associate   116    $224       $275     $349      $295      $322    $321

       Intellectual Property: Non-Litigation Partner       18     $316       $458     $659      $483      $477    $546
       Trademarks
                                             Associate     11     $288       $335     $385      $356      $313    $332

       Real Estate: Other     Non-Litigation Partner       13     $368       $470     $525      $449      $516    $508




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020                                                                     1

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      Technology
         Technologyand
                    andTelecommunications
      ByTelecommunications
         Practice Area and Matter Type
           By Practice Area and Matter Type

      2019 -- Real Rates for Partners and Associates                                                  Trend Analysis (Mean)

            Practice Area              Matter Type       Role    n      First     Median    Third      2019       2018    2017
                                                                       Quartile            Quartile
                                                     

      Bankruptcy and                 Litigation      Partner     11     $455       $480     $500       $486       $587    $548
      Collections
      Commercial                     Litigation      Partner     106    $499       $695     $937       $745       $678    $613

                                                     Associate   134    $281       $420     $593       $443       $423    $336

                                     Non-Litigation Partner      144    $425       $597     $782       $619       $643    $594

                                                     Associate   118    $356       $419     $535       $462       $417    $405

      Corporate: Antitrust           Litigation      Partner     23     $550       $689     $928       $768       $801    $812
      and Competition
                                                     Associate   29     $450       $581     $842       $623       $510    $484

                                     Non-Litigation Partner      108    $832       $988    $1,259     $1,055      $975    $920

                                                     Associate   204    $475       $610     $800       $634       $565    $549

      Corporate:                     Non-Litigation Partner      64     $905      $1,126   $1,350     $1,119      $989    $952
      Governance
      Corporate: Mergers,            Non-Litigation Partner      96     $664       $873     $967       $841       $829    $808
      Acquisitions and
                                                     Associate   98     $410       $505     $663       $531       $548    $518
      Divestitures
      Corporate: Other               Litigation      Partner     177    $543       $693     $871       $723       $709    $706

                                                     Associate   159    $350       $435     $552       $458       $457    $479

                                     Non-Litigation Partner      276    $590       $800    $1,000      $814       $842    $754

                                                     Associate   261    $400       $510     $673       $548       $554    $498

      Corporate:                     Litigation      Partner     16     $638       $682     $745       $737       $826    $745
      Regulatory and
                                                     Associate   18     $366       $468     $629       $504       $540    $419
      Compliance
                                     Non-Litigation Partner      265    $525       $672     $833       $688       $700    $641

                                                     Associate   252    $350       $427     $581       $462       $466    $435

      Corporate: Tax                 Non-Litigation Partner      108    $672       $835    $1,025      $855       $790    $765

      Employment and                 Litigation      Partner     15     $575       $725    $1,065      $837      $1,093   $926
      Labor: Agreements
                                                     Associate   16     $421       $528     $783       $624       $691    $631

                                     Non-Litigation Partner      34     $404       $665     $797       $604       $579    $586

      Employment and                 Non-Litigation Partner      49     $569       $666     $778       $704       $681    $689
      Labor:
                                                     Associate   33     $333       $397     $530       $413       $419    $381
      Compensation and
      Benefits
      Employment and                 Litigation      Partner     72     $430       $478     $651       $533       $513    $465
      Labor:
                                                     Associate   72     $310       $350     $390       $351       $355    $317
      Discrimination,
      Retaliation and                Non-Litigation Partner      67     $428       $475     $655       $528       $521    $516

      Harassment / EEO                               Associate   66     $300       $330     $390       $336       $339    $325




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                                              706and Telecommunications
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      Technology
         Technologyand
                    andTelecommunications
      ByTelecommunications
         Practice Area and Matter Type
           By Practice Area and Matter Type

      2019 -- Real Rates for Partners and Associates                                                  Trend Analysis (Mean)

            Practice Area              Matter Type       Role    n      First     Median    Third      2019      2018    2017
                                                                       Quartile            Quartile
                                                     

      Employment and                 Litigation      Partner     22     $482       $540     $621       $560      $595    $584
      Labor: Other
                                                     Associate   15     $335       $363     $388       $381      $396    $356

                                     Non-Litigation Partner      192    $470       $600     $711       $618      $654    $629

                                                     Associate   154    $325       $390     $464       $407      $430    $408

      General Liability:             Litigation      Partner     33     $315       $486     $743       $554      $488    $508
      Consumer Related
                                                     Associate   33     $275       $383     $535       $417      $369    $370
      Claims
      Government                     Non-Litigation Partner      51     $606       $735     $883       $768      $793    $708
      Relations
                                                     Associate   55     $366       $476     $595       $474      $506    $409

      Intellectual Property: Non-Litigation Partner              47     $438       $586     $779       $607      $562    $604
      Other
                                            Associate            36     $330       $426     $520       $424      $363    $325

      Intellectual Property: Litigation              Partner     157    $573       $723     $957       $760      $813    $728
      Patents
                                                     Associate   165    $414       $508     $730       $559      $597    $495

                                     Non-Litigation Partner      214    $350       $450     $722       $550      $564    $497

                                                     Associate   249    $280       $333     $510       $416      $408    $361

      Intellectual Property: Litigation     Associate            11     $358       $476     $583       $479      $438    $401
      Trademarks
                             Non-Litigation Partner              42     $485       $595     $792       $653      $594    $570

                                                     Associate   49     $281       $366     $408       $378      $373    $366




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 Section III:
 Practice Area Analysis




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2020   Bankruptcy
         Bankruptcyand
                   and Collections                               By City


       By CityCollections
                    By City
       2019 -- Real Rates for Partners and Associates                                    Trend Analysis (Mean)

                  City                    Role   n     First        Median     Third     2019     2018     2017
                                                      Quartile                Quartile
                              

       Albany NY              Partner            13     $250           $256    $311      $312     $273     $271

       Atlanta GA             Partner            13     $360           $422    $509      $477     $454     $469

                              Associate          24     $278           $383    $532      $447     $384     $397

       Baltimore MD           Partner            17     $351           $410    $482      $431     $414     $373

       Birmingham AL          Partner            11     $325           $325    $348      $351     $289     $260

       Chicago IL             Partner            20     $303           $585    $754      $582     $525     $492

                              Associate          21     $285           $445    $545      $454     $466     $367

       Cleveland OH           Partner            32     $355           $355    $414      $382     $416     $379

       Detroit MI             Partner            15     $331           $350    $350      $335     $336     $317

       Hartford CT            Partner            11     $428           $488    $529      $462     $412     $371

       Houston TX             Partner            18     $744           $763    $779      $775     $666     $556

                              Associate          40     $350           $375    $529      $436     $384     $329

       Los Angeles CA         Partner            17     $323           $575    $679      $551     $525     $575

                              Associate          21     $243           $275    $305      $313     $322     $325

       Miami FL               Partner            17     $300           $410    $657      $493     $342     $378

       Minneapolis MN         Associate          13     $300           $375    $450      $390     $345     $250

       New York NY            Partner            73     $358           $525    $710      $584     $525     $497

                              Associate          82     $296           $338    $488      $444     $363     $337

       Philadelphia PA        Partner            66     $410           $445    $534      $472     $453     $433

                              Associate          26     $288           $328    $395      $347     $317     $296

       Phoenix AZ             Partner            12     $392           $490    $548      $499     $455     $374

       Pittsburgh PA          Partner            17     $342           $398    $413      $391     $399     $378

                              Associate          22     $223           $265    $335      $288     $311     $276

       Portland OR            Partner            11     $371           $401    $414      $423     $392     $385

                              Associate          13     $228           $237    $249      $245     $215     $226

       Richmond VA            Associate          13     $382           $413    $491      $409     $338     $230

       Seattle WA             Associate          16     $226           $470    $649      $453     $472     $251

       Washington DC          Partner            19     $590           $950   $1,163     $888     $673     $638

                              Associate          13     $475           $536    $635      $575     $515     $480




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2020
       Bankruptcy
         Bankruptcyand
                   and Collections                                      YoE and Matter Type


             Collections
       By Years of Experience and Matter Type
       By Years of Experience and Matter Type
       2019 -- Real Rates for Partners                                                                   Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type   n      First       Median        Third     2019     2018     2017
                                                                    Quartile                  Quartile
       

       Fewer Than 21 Years                 Litigation         97     $325          $406        $530      $471     $396     $377

                                           Non-Litigation     95     $315          $361        $495      $443     $405     $371

       21 or More Years                    Litigation         218    $325          $410        $540      $475     $430     $396

                                           Non-Litigation     180    $350          $393        $477      $440     $409     $404




       2019 -- Real Rates for Associates                                                                 Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type    n     First       Median        Third     2019     2018     2017
                                                                    Quartile                  Quartile

       Fewer Than 3 Years                   Litigation        14     $233           $255       $348      $370     $225

                                            Non-Litigation    23     $240           $290       $335      $296     $241

       3 to Fewer Than 7 Years              Litigation        48     $228           $280       $332      $341     $273     $246

                                            Non-Litigation    48     $221           $268       $315      $282     $268     $255

       7 or More Years                      Litigation        95     $265           $300       $465      $376     $327     $263

                                            Non-Litigation    74     $244           $290       $405      $350     $317     $297




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2020   Bankruptcy
         Bankruptcyand
                   and Collections                                 Firm Size & Matter Type


       By Firm Size and Matter Type
             Collections
            By Firm Size and Matter Type
       2019 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

            Firm Size           MatterType
                                Matter Type        Role   n      First         Median         Third     2019     2018     2017
                                                                Quartile                     Quartile

       50 Lawyers or         Litigation       Partner     90     $250            $315         $385      $328     $313     $300
       Fewer
                                              Associate   78     $223            $250         $290      $258     $252     $228

                             Non-Litigation   Partner     63     $264            $295         $355      $373     $298     $292

                                              Associate   32     $210            $224         $257      $241     $234     $229

       51-200                Litigation       Partner     89     $310            $374         $450      $388     $362     $347
       Lawyers
                                              Associate   37     $225            $245         $275      $252     $239     $250

                             Non-Litigation   Partner     74     $308            $371         $436      $404     $382     $361

                                              Associate   38     $200            $230         $255      $239     $227     $250

       201-500               Litigation       Partner     89     $353            $425         $524      $449     $449     $427
       Lawyers
                                              Associate   68     $275            $293         $325      $305     $313     $285

                             Non-Litigation   Partner     102    $355            $394         $484      $429     $433     $423

                                              Associate   81     $284            $290         $340      $327     $298     $286

       501-1,000             Litigation       Partner     65     $465            $525         $735      $659     $523     $532
       Lawyers
                                              Associate   104    $350            $408         $565      $506     $425     $385

                             Non-Litigation   Partner     37     $525            $610         $779      $666     $587     $606

                                              Associate   34     $386            $450         $535      $465     $409     $393

       More Than             Litigation       Partner     37     $599            $753         $994      $786     $706     $684
       1,000 Lawyers
                                              Associate   36     $288            $400         $500      $421     $402     $307

                             Non-Litigation   Partner     25     $410            $438         $438      $525     $554     $589

                                              Associate   21     $335            $386         $419      $454     $413     $396




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020
      Commercial
        Commercial and                                            By City 1


      By City
       Institutional Finance
                    By City
      2019 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                  City                    Role   n      First         Median    Third     2019       2018     2017
                                                       Quartile                Quartile
                              

      Atlanta GA              Partner            48     $577            $725    $866      $731       $633     $543

                              Associate          49     $319            $412    $512      $418       $398     $369

      Austin TX               Partner            20     $325            $395    $495      $500       $463     $447

      Baltimore MD            Partner            15     $520            $710    $797      $666       $581     $544

                              Associate          18     $450            $570    $630      $530       $462     $423

      Birmingham AL           Partner            31     $328            $395    $430      $386       $423     $391

                              Associate          16     $244            $265    $295      $265       $267     $233

      Boston MA               Partner            29     $405            $697    $805      $645       $596     $573

                              Associate          32     $380            $450    $510      $459       $420     $432

      Charlotte NC            Partner            20     $608            $653    $882      $768       $603     $632

                              Associate          22     $350            $379    $400      $389       $360     $325

      Chicago IL              Partner            145    $555            $694    $920      $733       $671     $662

                              Associate          145    $355            $459    $597      $498       $429     $416

      Cleveland OH            Partner            53     $365            $432    $525      $477       $476     $471

                              Associate          60     $230            $265    $345      $278       $285     $258

      Dallas TX               Partner            41     $519            $641    $935      $704       $650     $584

                              Associate          45     $363            $450    $645      $490       $437     $384

      Denver CO               Partner            30     $400            $478    $542      $507       $450     $461

                              Associate          20     $235            $275    $380      $305       $279     $288

      Detroit MI              Partner            16     $310            $395    $478      $407       $388     $430

                              Associate          14     $215            $263    $284      $263       $246     $258

      Houston TX              Partner            21     $540            $840   $1,056     $793       $618     $579

                              Associate          29     $370            $450    $480      $455       $353     $311

      Indianapolis IN         Partner            26     $361            $436    $541      $445       $514     $430

      Kansas City MO          Partner            31     $378            $453    $512      $490       $483     $471

                              Associate          24     $290            $320    $375      $330       $292     $307

      Los Angeles CA          Partner            109    $529            $705    $967      $763       $722     $766

                              Associate          145    $409            $570    $751      $615       $537     $536

      Miami FL                Partner            33     $318            $593    $691      $517       $541     $465

                              Associate          25     $296            $371    $485      $403       $377     $327

      Minneapolis MN          Partner            107    $385            $552    $669      $547       $531     $521

                              Associate          78     $320            $380    $410      $382       $353     $349

      New Orleans LA          Partner            11     $235            $323    $413      $335       $328     $307

      New York NY             Partner            244    $625            $971   $1,307     $1,008     $916     $959

                              Associate          242    $405            $612    $847      $672       $640     $628




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2020   Commercial
         Commercial and                                           By City 2

       ByInstitutional
           City        Finance
                    By City
       2019 -- Real Rates for Partners and Associates                                     Trend Analysis (Mean)

                  City                    Role   n      First         Median    Third     2019     2018     2017
                                                       Quartile                Quartile
                              

       Philadelphia PA        Partner            163    $470            $617    $795      $649     $613     $611

                              Associate          145    $288            $345    $497      $413     $393     $376

       Pittsburgh PA          Partner            20     $345            $425    $610      $466     $460     $457

                              Associate          25     $248            $288    $389      $330     $315     $300

       Portland OR            Partner            23     $403            $503    $585      $490     $467     $452

                              Associate          57     $300            $352    $419      $358     $344     $320

       Richmond VA            Associate          14     $250            $365    $461      $385     $370     $383

       San Diego CA           Associate          13     $260            $290    $409      $353     $367     $352

       San Francisco CA       Partner            47     $417            $748    $925      $725     $756     $738

                              Associate          41     $320            $399    $504      $455     $503     $477

       San Jose CA            Partner            19     $810            $930    $991      $951     $723     $736

                              Associate          11     $323            $400    $602      $503     $410     $454

       Seattle WA             Partner            48     $383            $450    $556      $464     $521     $468

                              Associate          26     $277            $310    $417      $350     $369     $312

       Tampa FL               Associate          11      $75            $236    $358      $242     $260     $279

       Washington DC          Partner            268    $659            $819    $999      $853     $803     $787

                              Associate          172    $400            $506    $630      $537     $516     $500




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2020   Commercial
         Commercial and                                                 YoE and Matter Type


       ByInstitutional
           Years of Experience
                       Finance and Matter Type
       By Years of Experience and Matter Type
       2019 -- Real Rates for Partners                                                                   Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type   n      First       Median        Third     2019     2018     2017
                                                                    Quartile                  Quartile
       

       Fewer Than 21 Years                 Litigation         321    $365          $495        $719      $573     $538     $529

                                           Non-Litigation     228    $415          $590        $799      $660     $643     $646

       21 or More Years                    Litigation         551    $416          $617        $880      $680     $629     $636

                                           Non-Litigation     458    $530          $696        $945      $780     $737     $704




       2019 -- Real Rates for Associates                                                                 Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type    n     First       Median        Third     2019      2018    2017
                                                                    Quartile                  Quartile

       Fewer Than 3 Years                   Litigation        79     $233           $295       $409      $337      $295

                                            Non-Litigation    42     $277           $355       $462      $419      $468

       3 to Fewer Than 7 Years              Litigation        208    $270           $353       $475      $397      $368    $366

                                            Non-Litigation    109    $320           $387       $511      $449      $422    $424

       7 or More Years                      Litigation        253    $270           $350       $490      $405      $419    $409

                                            Non-Litigation    161    $366           $451       $625      $563      $504    $525




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Commercial
 7/20/2020
  Commercial and
                                                                             Firm Size & Matter Type


ByInstitutional
   Firm Size and  Matter Type
                Finance
       By Firm Size and Matter Type
2019 -- Real Rates for Partners and Associates                                                         Trend Analysis (Mean)

     Firm Size            MatterType
                          Matter Type        Role   n      First     Median         Third              2019     2018     2017
                                                          Quartile                 Quartile

50 Lawyers or          Litigation       Partner     175    $275       $343            $449             $377     $414     $396
Fewer
                                        Associate   123    $215       $275            $313             $273     $313     $278

                       Non-Litigation   Partner     88     $300       $395            $483             $412     $393     $390

                                        Associate   44     $243       $305            $389             $310     $264     $269

51-200                 Litigation       Partner     186    $348       $407            $480             $436     $439     $443
Lawyers
                                        Associate   125    $230       $270            $345             $290     $297     $280

                       Non-Litigation   Partner     125    $380       $455            $575             $504     $491     $445

                                        Associate   75     $251       $285            $396             $337     $322     $283

201-500                Litigation       Partner     234    $412       $534            $697             $575     $558     $533
Lawyers
                                        Associate   192    $275       $348            $432             $368     $357     $357

                       Non-Litigation   Partner     166    $470       $590            $682             $614     $645     $639

                                        Associate   115    $318       $389            $455             $416     $411     $439

501-1,000              Litigation       Partner     270    $604       $747            $970             $816     $748     $804
Lawyers
                                        Associate   350    $325       $420            $561             $469     $448     $452

                       Non-Litigation   Partner     289    $625       $780          $1,000             $870     $824     $852

                                        Associate   249    $381       $470            $612             $539     $569     $560

More Than              Litigation       Partner     178    $804       $982          $1,164             $985     $829     $812
1,000 Lawyers
                                        Associate   193    $463       $645            $785             $633     $537     $505

                       Non-Litigation   Partner     193    $720       $924          $1,136             $964     $926     $879

                                        Associate   191    $445       $565            $790             $654     $589     $565




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2020   Corporate - Mergers,      Acquisitions, and Divestitures    By City


       By City Corporate
                      Mergers, Acquisitions, and Divestitures

                     By City

       2019 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                 City                      Role   n      First        Median     Third     2019       2018     2017
                                                        Quartile                Quartile
                               

        Atlanta GA             Partner            28     $561            $668    $944      $745       $619     $643

                               Associate          32     $350            $450    $535      $482       $413     $459

        Baltimore MD           Partner            11     $745            $880    $958      $869       $595     $806

                               Associate          11     $575            $660    $683      $619                $540

        Boston MA              Partner            12     $719            $799    $938      $886       $841     $900

                               Associate          22     $380            $460    $521      $455       $429     $472

        Chicago IL             Partner            83     $749            $908   $1,045     $921       $836     $835

                               Associate          80     $450            $602    $771      $617       $528     $522

        Cleveland OH           Partner            13     $520            $808    $926      $720       $638     $597

        Houston TX             Partner            11     $447            $875   $1,025     $758       $787    $1,011

        Los Angeles CA         Partner            21     $820            $920   $1,150     $1,006    $1,041    $922

                               Associate          29     $468            $585    $700      $641       $764     $685

        New York NY            Partner            219   $1,065         $1,249   $1,485     $1,225    $1,189   $1,078

                               Associate          383    $550            $777    $895      $730       $686     $636

        Philadelphia PA        Partner            83     $525            $653    $845      $701       $757     $696

                               Associate          77     $325            $358    $450      $405       $392     $365

        San Francisco CA       Partner            17     $820            $956   $1,035     $962       $981     $899

        San Jose CA            Associate          12     $528            $785    $885      $722       $688     $686

        Washington DC          Partner            92     $799            $927   $1,020     $937       $906     $819

                               Associate          62     $414            $545    $685      $580       $570     $489




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2020   Corporate - Mergers,      Acquisitions, and Divestitures         YoE and Matter Type

             Corporate
       By Years
                      Mergers, Acquisitions, and Divestitures
                of Experience and Matter Type
       By Years of Experience and Matter Type

       2019 -- Real Rates for Partners                                                                   Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type   n      First       Median        Third     2019     2018     2017
                                                                    Quartile                  Quartile
       

       Fewer Than 21 Years                 Litigation         17     $450          $555        $851      $655     $397     $658

                                           Non-Litigation     177    $549          $775       $1,090     $821     $846     $759

       21 or More Years                    Litigation         27     $531          $585        $839      $676     $556     $637

                                           Non-Litigation     343    $675          $932       $1,270     $973     $957     $876




       2019 -- Real Rates for Associates                                                                 Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type    n     First       Median        Third     2019     2018     2017
                                                                    Quartile                  Quartile

       Fewer Than 3 Years                   Non-Litigation    42     $328           $403       $511      $448     $507

       3 to Fewer Than 7 Years              Non-Litigation    127    $366           $478       $785      $547     $519     $417

       7 or More Years                      Litigation        13     $300           $375       $520      $424     $351     $455

                                            Non-Litigation    128    $396           $600       $862      $649     $690     $609




       65    Real Rate Report | 2020                                                                            wkelmsolutions.com
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      Corporate - Mergers,      Acquisitions, and Divestitures
020                                                               Firm Size & Matter Type



      By FirmCorporate
                     Mergers, Acquisitions, and Divestitures
              Size and Matter Type
           By Firm Size and Matter Type

      2019 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

           Firm Size           MatterType
                               Matter Type        Role   n      First         Median         Third     2019       2018     2017
                                                               Quartile                     Quartile

       50 Lawyers or        Non-Litigation   Partner     17     $425            $485         $529      $486       $526     $500
       Fewer
       51-200               Litigation       Partner     15     $395            $470         $716      $580       $400     $705
       Lawyers
                                             Associate   15     $290            $320         $460      $375       $256     $275

                            Non-Litigation   Partner     57     $343            $462         $621      $522       $597     $566

                                             Associate   38     $260            $320         $414      $351       $339     $321

       201-500              Non-Litigation   Partner     102    $519            $597         $788      $651       $699     $645
       Lawyers
                                             Associate   104    $303            $328         $471      $394       $419     $404

       501-1,000            Litigation       Partner     35     $590            $750         $985      $812       $591     $645
       Lawyers
                                             Associate   41     $370            $495         $665      $531       $391     $406

                            Non-Litigation   Partner     245    $778          $1,090        $1,329     $1,064     $1,009   $944

                                             Associate   352    $481            $660         $847      $668       $625     $563

       More Than            Non-Litigation   Partner     237    $880          $1,010        $1,250     $1,075     $1,082   $936
       1,000 Lawyers
                                             Associate   266    $480            $660         $885      $686       $658     $586




      66   Real Rate Report | 2020                                                                              wkelmsolutions.com
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2020
       Corporate - Regulatory        and Compliance                By City


       By City
               Corporate
                      Regulatory and Compliance

                     By City

       2019 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                   City                    Role   n      First        Median     Third     2019       2018     2017
                                                        Quartile                Quartile
                               

       Atlanta GA              Partner            30     $438           $614     $696      $585       $663     $662

                               Associate          30     $143           $289     $446      $311       $486     $323

       Baltimore MD            Partner            32     $602           $692     $801      $693       $664     $615

                               Associate          35     $350           $395     $445      $431       $469     $428

       Boston MA               Partner            30     $590           $703     $823      $715       $711     $664

                               Associate          22     $331           $408     $619      $449       $426     $421

       Chicago IL              Partner            99     $623           $827     $950      $805       $764     $766

                               Associate          94     $432           $560     $705      $578       $527     $474

       Dallas TX               Associate          18     $335           $490     $563      $473       $479     $461

       Denver CO               Partner            18     $433           $538     $625      $536       $539     $479

       Indianapolis IN         Partner            19     $361           $401     $489      $436       $394     $405

                               Associate          11     $205           $240     $381      $309       $285     $213

       Kansas City MO          Partner            27     $411           $470     $590      $512       $461     $456

                               Associate          14     $265           $277     $313      $287       $291     $319

       Los Angeles CA          Partner            73     $696           $875    $1,026     $857       $862     $814

                               Associate          105    $549           $660     $785      $655       $605     $570

       Miami FL                Partner            20     $537           $685     $881      $691       $622     $563

       Minneapolis MN          Partner            26     $575           $720     $760      $681       $576     $518

                               Associate          19     $311           $418     $485      $391       $394     $314

       New York NY             Partner            185    $740          $1,000   $1,279     $1,025    $1,015    $954

                               Associate          197    $435           $620     $847      $658       $612     $596

       Philadelphia PA         Partner            92     $570           $695     $803      $696       $674     $699

                               Associate          91     $304           $383     $499      $414       $370     $372

       Pittsburgh PA           Partner            17     $605           $752     $845      $685       $563     $501

                               Associate          24     $370           $435     $511      $429       $404     $325

       Portland OR             Partner            22     $512           $605     $627      $548       $536     $494

       Richmond VA             Partner            15     $338           $391     $580      $466       $457     $415

                               Associate          14     $374           $450     $563      $464       $339     $320

       San Francisco CA        Partner            44     $503           $720     $930      $726       $748     $709

                               Associate          25     $359           $435     $600      $483       $492     $492

       Seattle WA              Partner            40     $518           $583     $695      $620       $594     $541

                               Associate          42     $316           $416     $465      $392       $359     $330

       Washington DC           Partner            454    $630           $805     $968      $824       $814     $774

                               Associate          363    $394           $519     $635      $533       $531     $499




       67   Real Rate Report | 2020                                                                 wkelmsolutions.com
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020   Corporate - Regulatory and Compliance                            YoE and Matter Type

            Corporate
      By Years
                          Regulatory and Compliance
               of Experience and Matter Type
      By Years of Experience and Matter Type

      2019 -- Real Rates for Partners                                                                   Trend Analysis (Mean)

          Years of Experience                  MatterType
                                               Matter Type   n      First       Median        Third     2019    2018     2017
                                                                   Quartile                  Quartile
      

      Fewer Than 21 Years                 Litigation         126    $553          $725        $900      $736    $735     $647

                                          Non-Litigation     264    $450          $647        $834      $671    $687     $624

      21 or More Years                    Litigation         234    $630          $815       $1,000     $840    $802     $761

                                          Non-Litigation     557    $545          $683        $929      $754    $731     $705




      2019 -- Real Rates for Associates                                                                 Trend Analysis (Mean)

           Years of Experience                 MatterType
                                               Matter Type    n     First       Median        Third     2019     2018      2017
                                                                   Quartile                  Quartile

      Fewer Than 3 Years                   Litigation        24     $357           $478       $606      $474     $486

                                           Non-Litigation    43     $288           $384       $480      $404     $440

      3 to Fewer Than 7 Years              Litigation        87     $383           $480       $596      $506     $481      $419

                                           Non-Litigation    142    $352           $488       $576      $490     $453      $397

      7 or More Years                      Litigation        112    $429           $543       $714      $574     $556      $523

                                           Non-Litigation    205    $353           $491       $689      $549     $542      $510




      68 Real Rate Report | 2020                                                                               wkelmsolutions.com
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020
      Corporate - Regulatory and Compliance                       Firm Size & Matter Type


      By FirmCorporate    Regulatory and Compliance
              Size and Matter Type
           By Firm Size and Matter Type

      2019 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

           Firm Size           MatterType
                               Matter Type        Role   n      First         Median         Third     2019     2018     2017
                                                               Quartile                     Quartile

       50 Lawyers or        Litigation       Partner     26     $386            $505         $711      $536     $474     $448
       Fewer
                                             Associate   20     $270            $318         $428      $366     $337     $310

                            Non-Litigation   Partner     147    $396            $523         $615      $503     $480     $457

                                             Associate   74     $277            $305         $352      $337     $288     $285

       51-200               Litigation       Partner     48     $371            $681         $875      $659     $577     $540
       Lawyers
                                             Associate   27     $377            $470         $587      $484     $387     $356

                            Non-Litigation   Partner     127    $363            $464         $597      $523     $509     $492

                                             Associate   73     $265            $309         $400      $353     $325     $305

       201-500              Litigation       Partner     92     $500            $637         $796      $653     $631     $672
       Lawyers
                                             Associate   70     $345            $398         $528      $439     $471     $479

                            Non-Litigation   Partner     170    $485            $610         $729      $635     $615     $597

                                             Associate   116    $300            $360         $454      $400     $384     $370

       501-1,000            Litigation       Partner     140    $659            $857        $1,097     $889     $904     $884
       Lawyers
                                             Associate   152    $414            $532         $679      $558     $546     $517

                            Non-Litigation   Partner     300    $646            $780         $990      $861     $875     $839

                                             Associate   333    $389            $489         $620      $536     $565     $540

       More Than            Litigation       Partner     143    $771            $875        $1,059     $922     $877     $810
       1,000 Lawyers
                                             Associate   171    $434            $528         $695      $575     $536     $521

                            Non-Litigation   Partner     283    $769            $893        $1,021     $911     $875     $866

                                             Associate   260    $451            $595         $730      $602     $549     $545




      69   Real Rate Report | 2020                                                                            wkelmsolutions.com
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2020   Corporate - Other                                           By City 1


       By City Corporate
                       Other

                     By City

       2019 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                   City                    Role   n      First         Median    Third     2019     2018     2017
                                                        Quartile                Quartile
                               

       Atlanta GA              Partner            79     $398            $621    $749      $633     $638     $590

                               Associate          59     $290            $375    $537      $429     $419     $364

       Austin TX               Partner            21     $371            $425    $495      $489     $516     $440

                               Associate          13     $265            $350    $475      $377     $336     $307

       Baltimore MD            Partner            25     $445            $652    $748      $609     $663     $652

                               Associate          42     $299            $383    $550      $421     $446     $435

       Birmingham AL           Partner            19     $379            $433    $485      $438     $411     $390

                               Associate          28     $279            $325    $375      $329     $253     $265

       Boston MA               Partner            76     $536            $676    $850      $708     $670     $663

                               Associate          81     $345            $415    $510      $435     $420     $389

       Charlotte NC            Partner            20     $395            $494    $761      $575     $682     $575

                               Associate          16     $281            $345    $460      $383     $355     $392

       Chicago IL              Partner            254    $675            $800    $983      $833     $788     $730

                               Associate          276    $439            $540    $660      $554     $506     $466

       Cleveland OH            Partner            37     $375            $490    $815      $579     $591     $549

                               Associate          31     $250            $330    $420      $355     $337     $295

       Dallas TX               Partner            39     $408            $761    $943      $709     $609     $571

                               Associate          63     $475            $550    $645      $549     $460     $404

       Denver CO               Partner            14     $371            $463    $546      $489     $535     $488

                               Associate          13     $275            $295    $375      $316     $354     $294

       Detroit MI              Partner            13     $320            $327    $418      $357     $426     $362

                               Associate          12     $258            $280    $306      $284     $327     $252

       Hartford CT             Partner            15     $454            $488    $696      $577     $504     $499

       Houston TX              Partner            37     $580            $761    $928      $759     $628     $600

                               Associate          39     $368            $430    $543      $465     $380     $385

       Jackson MS              Partner            14     $325            $356    $433      $379     $387     $392

       Kansas City MO          Partner            20     $418            $495    $581      $504     $489     $479

                               Associate          19     $270            $272    $295      $291     $274     $259

       Los Angeles CA          Partner            215    $565            $850   $1,021     $823     $769     $743

                               Associate          187    $404            $538    $697      $561     $549     $541

       Miami FL                Partner            42     $425            $500    $625      $543     $543     $502

                               Associate          34     $273            $385    $505      $420     $393     $340

       Milwaukee WI            Partner            21     $375            $481    $630      $529     $408     $355

                               Associate          14     $238            $288    $328      $301     $282     $252

       Minneapolis MN          Partner            31     $384            $580    $673      $559     $568     $501

                               Associate          24     $366            $388    $466      $413     $373     $301


       70   Real Rate Report | 2020                                                               wkelmsolutions.com
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2020
       Corporate - Other                                          By City 2


       By City
               Corporate
                      Other

                    By City

       2019 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                  City                    Role   n      First         Median     Third     2019       2018     2017
                                                       Quartile                 Quartile
                              

       Nashville TN           Partner            11     $363            $415     $477      $412       $442     $425

       New Orleans LA         Partner            29     $313            $369     $420      $370       $352     $330

                              Associate          19     $214            $235     $290      $271       $238     $244

       New York NY            Partner            532    $720           $1,114   $1,347     $1,030     $976     $898

                              Associate          724    $470            $660     $847      $663       $620     $590

       Orlando FL             Partner            42     $395            $450     $507      $463       $490     $449

                              Associate          31     $213            $265     $345      $270       $276     $298

       Philadelphia PA        Partner            191    $550            $725     $830      $717       $707     $662

                              Associate          198    $340            $390     $480      $430       $421     $390

       Phoenix AZ             Partner            23     $328            $350     $417      $391       $390     $398

                              Associate          13     $231            $275     $300      $289       $310     $295

       Pittsburgh PA          Partner            21     $373            $443     $748      $534       $487     $470

                              Associate          26     $274            $354     $438      $370       $343     $305

       Portland OR            Associate          17     $361            $389     $434      $397       $377     $303

       Raleigh NC             Partner            13     $425            $459     $475      $452       $447     $466

       Richmond VA            Partner            15     $553            $630     $711      $654       $677     $643

                              Associate          18     $418            $459     $500      $452       $413     $368

       San Diego CA           Partner            33     $295            $415     $978      $594       $578     $530

                              Associate          25     $195            $235     $377      $303       $282     $280

       San Francisco CA       Partner            86     $514            $775     $982      $764       $766     $733

                              Associate          58     $401            $505     $668      $528       $530     $481

       San Jose CA            Partner            33     $619            $723     $901      $768       $818     $813

                              Associate          36     $350            $500     $660      $521       $502     $505

       Seattle WA             Partner            51     $426            $588     $737      $585       $579     $529

                              Associate          32     $357            $409     $470      $412       $415     $384

       St. Louis MO           Partner            19     $408            $422     $512      $489       $442     $416

       Tampa FL               Partner            17     $395            $420     $492      $457       $482     $403

       Washington DC          Partner            548    $700            $844     $960      $853       $814     $777

                              Associate          471    $466            $525     $630      $553       $533     $495




       71   Real Rate Report | 2020                                                                 wkelmsolutions.com
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2020   Corporate - Other                                                 YoE and Matter Type

              Corporate
       By Years
                            Other
                of Experience and Matter Type
       By Years of Experience and Matter Type

       2019 -- Real Rates for Partners                                                                    Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type    n      First       Median        Third     2019     2018     2017
                                                                     Quartile                  Quartile
        

        Fewer Than 21 Years                Litigation         294     $416          $625        $780      $633     $630     $533

                                           Non-Litigation     523     $494          $745        $965      $753     $706     $676

        21 or More Years                   Litigation         563     $475          $675        $900      $716     $694     $614

                                           Non-Litigation     1008    $546          $803       $1,045     $829     $795     $760




       2019 -- Real Rates for Associates                                                                  Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type    n      First       Median        Third     2019     2018     2017
                                                                     Quartile                  Quartile

        Fewer Than 3 Years                  Litigation         32     $274           $359       $415      $360     $337

                                            Non-Litigation     58     $356           $430       $530      $465     $447     $388

        3 to Fewer Than 7 Years             Litigation        138     $293           $395       $487      $416     $402     $350

                                            Non-Litigation    270     $340           $466       $596      $486     $452     $406

        7 or More Years                     Litigation        208     $310           $450       $613      $482     $470     $428

                                            Non-Litigation    412     $383           $550       $795      $596     $575     $554




       72   Real Rate Report | 2020                                                                              wkelmsolutions.com
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       Section III: Practice Area Analysis #:38692
2020
       Corporate - Other                                           Firm Size & Matter Type

              Corporate
                      Other
       By Firm Size and Matter Type
            By Firm Size and Matter Type

       2019 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

            Firm Size           MatterType
                                Matter Type        Role   n      First         Median         Third     2019     2018     2017
                                                                Quartile                     Quartile

       50 Lawyers or         Litigation       Partner     120    $300            $406         $500      $433     $420     $346
       Fewer
                                              Associate   107    $238            $300         $350      $311     $321     $244

                             Non-Litigation   Partner     181    $295            $390         $485      $407     $411     $411

                                              Associate   113    $215            $275         $350      $300     $291     $285

       51-200                Litigation       Partner     163    $369            $475         $680      $538     $505     $436
       Lawyers
                                              Associate   108    $270            $375         $451      $391     $350     $298

                             Non-Litigation   Partner     209    $385            $525         $765      $585     $571     $559

                                              Associate   135    $275            $341         $458      $376     $366     $355

       201-500               Litigation       Partner     260    $440            $575         $797      $637     $592     $537
       Lawyers
                                              Associate   194    $298            $415         $546      $436     $387     $359

                             Non-Litigation   Partner     431    $451            $598         $805      $659     $625     $623

                                              Associate   315    $325            $407         $560      $454     $429     $413

       501-1,000             Litigation       Partner     326    $585            $756         $935      $800     $780     $716
       Lawyers
                                              Associate   380    $400            $507         $618      $518     $483     $457

                             Non-Litigation   Partner     540    $679            $900        $1,220     $933     $900     $860

                                              Associate   692    $430            $525         $738      $583     $572     $543

       More Than             Litigation       Partner     207    $648            $775         $952      $814     $823     $792
       1,000 Lawyers
                                              Associate   188    $383            $460         $580      $495     $512     $483

                             Non-Litigation   Partner     623    $811            $950        $1,155     $999     $954     $882

                                              Associate   667    $488            $625         $795      $643     $605     $561




       73    Real Rate Report | 2020                                                                           wkelmsolutions.com
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2020   Employment
         Employment and
                    and Labor                                      By City 1


       By City     Labor
                     By City
       2019 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                   City                    Role   n      First         Median    Third     2019     2018     2017
                                                        Quartile                Quartile
                               

       Atlanta GA              Partner            102    $370            $440    $583      $472     $461     $460

                               Associate          108    $275            $290    $330      $301     $322     $306

       Austin TX               Associate          14     $305            $327    $415      $383     $330     $306

       Baltimore MD            Partner            22     $432            $475    $664      $564     $580     $538

                               Associate          26     $325            $400    $561      $440     $464     $456

       Birmingham AL           Partner            15     $355            $400    $443      $391     $340     $322

       Boston MA               Partner            45     $394            $508    $690      $549     $562     $529

                               Associate          28     $322            $370    $475      $422     $445     $467

       Buffalo NY              Partner            19     $340            $340    $340      $338     $351     $334

       Chicago IL              Partner            129    $536            $625    $757      $661     $665     $631

                               Associate          125    $311            $395    $442      $403     $406     $394

       Cincinnati OH           Partner            15     $347            $446    $515      $438     $475     $417

       Cleveland OH            Partner            48     $365            $409    $462      $431     $463     $458

                               Associate          48     $270            $295    $345      $300     $301     $297

       Columbia SC             Partner            13     $366            $405    $470      $418     $444     $399

       Dallas TX               Partner            47     $380            $485    $633      $506     $508     $516

                               Associate          37     $295            $360    $390      $370     $360     $373

       Denver CO               Partner            41     $450            $475    $576      $514     $476     $486

                               Associate          29     $300            $324    $335      $322     $334     $320

       Detroit MI              Partner            13     $402            $428    $448      $415     $405     $370

       Greenville SC           Partner            24     $383            $437    $483      $454     $435     $430

       Houston TX              Partner            35     $445            $570    $710      $595     $546     $491

                               Associate          17     $340            $360    $424      $383     $342     $331

       Indianapolis IN         Partner            15     $395            $425    $469      $433     $408     $374

                               Associate          12     $239            $295    $324      $291     $285     $294

       Kansas City MO          Partner            17     $368            $385    $444      $406     $405     $360

                               Associate          24     $278            $295    $316      $292     $282     $249

       Los Angeles CA          Partner            149    $477            $610    $735      $639     $601     $608

                               Associate          152    $325            $405    $522      $451     $447     $475

       Miami FL                Partner            17     $458            $570    $648      $557     $503     $436

                               Associate          14     $293            $319    $325      $334     $405     $329

       Minneapolis MN          Partner            32     $455            $550    $655      $553     $527     $473

                               Associate          23     $320            $374    $411      $369     $324     $302

       Nashville TN            Partner            22     $360            $423    $450      $410     $395     $401

                               Associate          19     $230            $280    $288      $268     $255     $258




       74   Real Rate Report | 2020                                                               wkelmsolutions.com
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2020   Employment
         Employment and
                    and Labor                                     By City 2


       By City    Labor
                    By City
       2019 -- Real Rates for Partners and Associates                                     Trend Analysis (Mean)

                  City                    Role   n      First         Median    Third     2019     2018     2017
                                                       Quartile                Quartile
                              

       New Orleans LA         Partner            12     $350            $395    $459      $388     $396     $380

                              Associate          18     $303            $329    $366      $335     $307     $264

       New York NY            Partner            349    $470            $625    $815      $693     $695     $688

                              Associate          324    $315            $395    $595      $476     $493     $477

       Orlando FL             Partner            12     $474            $475    $500      $475     $514     $489

                              Associate          15     $271            $300    $335      $301     $252     $294

       Philadelphia PA        Partner            119    $500            $620    $775      $644     $631     $639

                              Associate          149    $320            $380    $468      $396     $385     $397

       Phoenix AZ             Partner            12     $425            $470    $530      $506     $501     $446

       Pittsburgh PA          Partner            33     $475            $553    $657      $566     $507     $517

                              Associate          39     $316            $350    $360      $340     $330     $317

       Portland OR            Partner            13     $365            $374    $405      $396     $458     $452

                              Associate          24     $295            $315    $363      $339     $337     $322

       Richmond VA            Partner            13     $491            $525    $618      $575     $527     $489

       San Diego CA           Partner            23     $370            $397    $529      $490     $477     $459

                              Associate          24     $278            $295    $390      $351     $328     $330

       San Francisco CA       Partner            88     $395            $510    $639      $547     $576     $550

                              Associate          81     $300            $345    $405      $366     $353     $359

       San Jose CA            Partner            29     $553            $650    $849      $701     $671     $689

                              Associate          16     $360            $365    $425      $398     $408     $393

       Seattle WA             Partner            50     $416            $498    $650      $543     $525     $506

                              Associate          30     $325            $425    $585      $442     $412     $308

       St. Louis MO           Partner            24     $398            $465    $530      $490     $466     $418

       Tampa FL               Partner            13     $305            $397    $446      $442     $332     $325

       Washington DC          Partner            175    $580            $695    $845      $729     $718     $728

                              Associate          125    $370            $445    $595      $475     $506     $508




       75   Real Rate Report | 2020                                                              wkelmsolutions.com
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2020
       Employment
         Employment and
                    and Labor                                           YoE and Matter Type


       By Years Labor
                of Experience and Matter Type
       By Years of Experience and Matter Type
       2019 -- Real Rates for Partners                                                                   Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type   n      First       Median        Third     2019     2018     2017
                                                                    Quartile                  Quartile
       

       Fewer Than 21 Years                 Litigation         271    $365          $440        $553      $483     $484     $465

                                           Non-Litigation     355    $385          $465        $601      $519     $493     $488

       21 or More Years                    Litigation         496    $430          $546        $710      $599     $589     $582

                                           Non-Litigation     715    $450          $565        $707      $608     $600     $573




       2019 -- Real Rates for Associates                                                                 Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type    n     First       Median        Third     2019     2018     2017
                                                                    Quartile                  Quartile

       Fewer Than 3 Years                   Litigation        29     $249           $290       $312      $304     $314

                                            Non-Litigation    33     $272           $311       $375      $327     $308

       3 to Fewer Than 7 Years              Litigation        156    $290           $315       $373      $335     $351     $334

                                            Non-Litigation    176    $285           $335       $404      $365     $334     $318

       7 or More Years                      Litigation        282    $295           $363       $450      $404     $415     $429

                                            Non-Litigation    331    $306           $360       $430      $400     $407     $391




       76    Real Rate Report | 2020                                                                            wkelmsolutions.com
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020
      Employment  and Labor
       Employment and                                             Firm Size & Matter Type


      By Firm Size and Matter Type
               Labor
           By Firm Size and Matter Type
      2019 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

           Firm Size           MatterType
                               Matter Type        Role   n      First         Median         Third     2019     2018     2017
                                                               Quartile                     Quartile

      50 Lawyers or         Litigation       Partner     90     $290            $366         $485      $418     $383     $373
      Fewer
                                             Associate   80     $214            $300         $345      $302     $302     $288

                            Non-Litigation   Partner     92     $350            $395         $490      $426     $427     $396

                                             Associate   51     $225            $290         $340      $291     $279     $250

      51-200                Litigation       Partner     93     $316            $388         $475      $428     $418     $439
      Lawyers
                                             Associate   79     $248            $300         $345      $312     $297     $296

                            Non-Litigation   Partner     175    $400            $460         $664      $534     $508     $484

                                             Associate   106    $243            $288         $400      $332     $320     $329

      201-500               Litigation       Partner     262    $370            $461         $650      $523     $529     $522
      Lawyers
                                             Associate   248    $290            $325         $400      $374     $393     $397

                            Non-Litigation   Partner     257    $385            $450         $550      $493     $478     $461

                                             Associate   157    $295            $320         $375      $355     $330     $317

      501-1,000             Litigation       Partner     342    $440            $531         $680      $604     $618     $588
      Lawyers
                                             Associate   303    $295            $348         $418      $392     $425     $425

                            Non-Litigation   Partner     477    $450            $536         $650      $583     $593     $583

                                             Associate   402    $303            $340         $418      $382     $404     $394

      More Than             Litigation       Partner     147    $586            $720         $853      $757     $737     $745
      1,000 Lawyers
                                             Associate   197    $360            $435         $531      $463     $463     $480

                            Non-Litigation   Partner     251    $649            $725         $875      $768     $769     $734

                                             Associate   240    $354            $400         $526      $459     $460     $444




      77    Real Rate Report | 2020                                                                           wkelmsolutions.com
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2020   Environmental                                            By City

           Environmental
       By City
                   By City

       2019 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

                City                     Role   n     First        Median     Third     2019     2018     2017
                                                     Quartile                Quartile
                             

       Boston MA             Partner            11      $385          $590    $708      $598     $438     $528

       New York NY           Partner            24      $390          $515    $605      $514     $718     $570

                             Associate          16      $268          $343    $400      $341     $517     $298

       Philadelphia PA       Partner            16      $480          $550    $628      $568     $494     $498

       Portland OR           Partner            12      $374          $458    $509      $448     $377     $398

       Washington DC         Partner            24      $612          $788    $893      $762     $797     $728

                             Associate          15      $365          $425    $650      $498     $503     $493




       78   Real Rate Report | 2020                                                            wkelmsolutions.com
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2020   Environmental                                                   YoE and Matter Type

           Environmental
       By Years of Experience and Matter Type
       By Years of Experience and Matter Type

       2019 -- Real Rates for Partners                                                                  Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type   n     First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile
       

       Fewer Than 21 Years                 Litigation         16    $348          $390        $569      $448     $332     $369

                                           Non-Litigation     14    $350          $407        $443      $411     $592     $526

       21 or More Years                    Litigation         66    $434          $542        $628      $550     $455     $459

                                           Non-Litigation     87    $428          $550        $720      $583     $667     $598




       2019 -- Real Rates for Associates                                                                Trend Analysis (Mean)

            Years of Experience                 MatterType
                                                Matter Type   n     First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile

       3 to Fewer Than 7 Years              Non-Litigation    12    $250           $341       $423      $346     $391     $348

       7 or More Years                      Litigation        20    $325           $360       $408      $363     $246     $271

                                            Non-Litigation    15    $288           $364       $465      $400     $462     $430




       79    Real Rate Report | 2020                                                                           wkelmsolutions.com
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2020   Environmental                                            Firm Size & Matter Type

           Environmental
       By Firm Size and Matter Type
          By Firm Size and Matter Type

       2019 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

          Firm Size           MatterType
                              Matter Type        Role   n     First         Median         Third     2019      2018    2017
                                                             Quartile                     Quartile

       50 Lawyers or       Non-Litigation   Partner     17    $310            $375         $486      $410      $439    $411
       Fewer
       51-200              Litigation       Partner     34    $369            $473         $560      $462      $442    $446
       Lawyers
                           Non-Litigation   Partner     38    $385            $410         $543      $489      $470    $456

                                            Associate   16    $240            $260         $278      $286      $296    $291

       201-500             Litigation       Partner     19    $457            $560         $625      $542      $497    $478
       Lawyers
                                            Associate   12    $323            $348         $400      $359      $301    $296

                           Non-Litigation   Partner     30    $471            $550         $611      $558      $536    $535

                                            Associate   13    $273            $325         $407      $330      $298    $325

       501-1,000           Litigation       Partner     25    $527            $621         $774      $646      $587    $542
       Lawyers
                                            Associate   20    $349            $425         $454      $413      $393    $450

                           Non-Litigation   Partner     24    $585            $650         $859      $699      $657    $605

                                            Associate   18    $364            $423         $450      $419      $448    $401




       80 Real Rate Report | 2020                                                                           wkelmsolutions.com
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      Finance andand
                  Securities
020                                                             By City 1

          Finance
      By City Securities
                    By City
      2019 -- Real Rates for Partners and Associates                                     Trend Analysis (Mean)

                  City                    Role    n      First       Median    Third     2019       2018    2017
                                                        Quartile              Quartile
                              

      Atlanta GA              Partner            53      $669          $820    $949      $816       $767    $695

                              Associate          73      $425          $503    $630      $519       $473    $454

      Baltimore MD            Partner            53      $460          $537    $765      $623       $609    $586

                              Associate          28      $290          $344    $470      $422       $403    $379

      Birmingham AL           Partner            12      $325          $325    $470      $382       $398    $423

                              Associate          15      $275          $290    $310      $300       $308    $360

      Boston MA               Partner            79      $725          $891   $1,068     $919       $937    $965

                              Associate          114     $475          $603    $750      $617       $592    $628

      Charlotte NC            Partner            48      $529          $635    $835      $701       $736    $691

                              Associate          52      $315          $410    $568      $448       $473    $461

      Chicago IL              Partner            243     $740          $917   $1,175     $969       $950    $914

                              Associate          244     $438          $550    $697      $582       $579    $557

      Cleveland OH            Partner            74      $430          $455    $575      $525       $553    $506

                              Associate          47      $227          $258    $292      $273       $328    $321

      Dallas TX               Partner            67      $525          $740   $1,035     $797       $794    $844

                              Associate          102     $330          $525    $730      $552       $563    $548

      Denver CO               Partner            21      $376          $445    $633      $546       $533    $572

      Detroit MI              Partner            29      $373          $413    $460      $426       $404    $404

                              Associate          11      $215          $225    $250      $251       $223    $223

      Houston TX              Partner            38      $768          $924   $1,190     $954       $970    $967

                              Associate          32      $350          $375    $495      $449       $500    $520

      Kansas City MO          Partner            20      $399          $450    $491      $459       $450    $529

                              Associate          16      $279          $299    $324      $306       $294    $295

      Los Angeles CA          Partner            206     $818        $1,029   $1,265     $1,030     $958    $966

                              Associate          376     $565          $700    $880      $736       $718    $707

      Miami FL                Partner            37      $550          $625    $785      $664       $649    $646

                              Associate          19      $338          $372    $494      $442       $389    $395

      Minneapolis MN          Partner            23      $489          $598    $783      $626       $581    $534

                              Associate          30      $450          $510    $572      $515       $454    $363

      New York NY             Partner            892     $880        $1,134   $1,390     $1,126    $1,077   $1,061

                              Associate          1277    $520          $681    $875      $701       $678    $663

      Orlando FL              Partner            15      $580          $600    $725      $633       $665    $664

      Philadelphia PA         Partner            126     $633          $795    $975      $814       $776    $775

                              Associate          95      $334          $438    $561      $487       $471    $461

      Phoenix AZ              Partner            14      $370          $445    $587      $488       $401    $385




      81   Real Rate Report | 2020                                                                wkelmsolutions.com
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      Finance andand
                  Securities
020                                                           By CIty 2

          Finance
      By CitySecurities
                   By City
      2019 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

                 City                    Role   n      First       Median    Third     2019       2018    2017
                                                      Quartile              Quartile
                             

      Pittsburgh PA          Partner            50     $449          $593    $780      $616       $568    $562

                             Associate          57     $278          $395    $445      $374       $390    $376

      Portland OR            Partner            16     $400          $440    $530      $477       $386    $390

      Richmond VA            Partner            33     $695          $760    $830      $755       $738    $729

                             Associate          31     $410          $457    $480      $444       $406    $400

      Salt Lake City UT      Partner            11     $300          $400    $419      $386       $448    $372

      San Diego CA           Partner            11     $553        $1,045   $1,110     $864       $881    $848

      San Francisco CA       Partner            70     $721          $961   $1,150     $940       $910    $872

                             Associate          44     $565          $709    $820      $676       $586    $603

      San Jose CA            Partner            19     $914        $1,113   $1,338     $1,087     $963    $1,052

      Seattle WA             Partner            22     $431          $495    $671      $577       $529    $531

                             Associate          21     $302          $405    $470      $415       $411    $369

      Tampa FL               Partner            11     $453          $605    $718      $565       $476    $568

      Washington DC          Partner            266    $750          $900   $1,100     $943       $941    $903

                             Associate          149    $460          $528    $700      $591       $615    $623




      82   Real Rate Report | 2020                                                              wkelmsolutions.com
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     Finance andand
                 Securities
20                                                                     YoE and Matter Type

         Finance
     By Years of Experience and Matter Type
           Securities
     By Years of Experience and Matter Type
     2019 -- Real Rates for Partners                                                                    Trend Analysis (Mean)

          Years of Experience                 MatterType
                                              Matter Type    n      First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile
     

     Fewer Than 21 Years                 Litigation         72      $398          $553        $751      $614     $690     $714

                                         Non-Litigation     676     $545          $825       $1,125     $847     $810     $795

     21 or More Years                    Litigation         168     $520          $804       $1,033     $795     $803     $840

                                         Non-Litigation     1279    $620          $910       $1,249     $940     $932     $915




     2019 -- Real Rates for Associates                                                                  Trend Analysis (Mean)

          Years of Experience                 MatterType
                                              Matter Type    n      First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile

     Fewer Than 3 Years                   Litigation         11     $237          $285        $389      $302     $393

                                          Non-Litigation    108     $295          $425        $511      $418     $438     $419

     3 to Fewer Than 7 Years              Litigation         39     $290          $321        $422      $378     $461     $406

                                          Non-Litigation    286     $327          $445        $635      $500     $489     $469

     7 or More Years                      Litigation         76     $310          $470        $650      $495     $525     $516

                                          Non-Litigation    469     $480          $685        $950      $706     $693     $684




     83    Real Rate Report | 2020                                                                             wkelmsolutions.com
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     Finance andand
                 Securities
20                                                              Firm Size & Matter Type

         Finance
     By FirmSecurities
             Size and Matter Type
        By Firm Size and Matter Type
     2019 -- Real Rates for Partners and Associates                                                  Trend Analysis (Mean)

        Firm Size           MatterType
                            Matter Type        Role    n      First         Median         Third     2019       2018     2017
                                                             Quartile                     Quartile

     50 Lawyers or       Litigation       Partner     30      $312            $333         $408      $403       $419     $546
     Fewer
                                          Associate   36      $265            $300         $310      $283       $303     $389

                         Non-Litigation   Partner     176     $330            $451         $585      $488       $464     $444

                                          Associate   77      $250            $310         $375      $320       $304     $298

     51-200              Litigation       Partner     49      $340            $449         $747      $541       $604     $594
     Lawyers
                                          Associate   42      $260            $395         $484      $382       $431     $378

                         Non-Litigation   Partner     335     $400            $478         $719      $555       $538     $522

                                          Associate   208     $245            $295         $455      $350       $362     $334

     201-500             Litigation       Partner     72      $429            $536         $758      $612       $672     $732
     Lawyers
                                          Associate   88      $280            $315         $412      $375       $408     $417

                         Non-Litigation   Partner     372     $490            $680        $1,110     $790       $791     $783

                                          Associate   368     $335            $512         $721      $544       $504     $500

     501-1,000           Litigation       Partner     84      $673            $915        $1,100     $906       $918     $975
     Lawyers
                                          Associate   122     $379            $475         $601      $507       $526     $578

                         Non-Litigation   Partner     873     $790          $1,010        $1,275     $1,038    $1,011    $992

                                          Associate   1118    $501            $651         $835      $669       $654     $633

     More Than           Litigation       Partner     73      $690            $960        $1,117     $929       $909     $926
     1,000 Lawyers
                                          Associate   82      $380            $460         $656      $535       $563     $530

                         Non-Litigation   Partner     767     $869          $1,075        $1,301     $1,089    $1,039   $1,008

                                          Associate   904     $522            $700         $905      $719       $683     $670




     84 Real Rate Report | 2020                                                                               wkelmsolutions.com
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     General Liability -(Litigation
                           Litigation     Only
20                                                           By City 1


        General Liability
     By City
                                    Only)

                   By City

     2019 -- Real Rates for Partners and Associates                                        Trend Analysis (Mean)

                 City                    Role   n     First        Median        Third     2019     2018     2017
                                                     Quartile                   Quartile
                             

     Atlanta GA              Partner            33    $210               $285    $559      $401     $394     $359

                             Associate          31    $165               $185    $330      $264     $307     $248

     Baltimore MD            Partner            22    $506               $613    $666      $586     $489     $473

                             Associate          46    $350               $390    $510      $427     $400     $380

     Birmingham AL           Partner            23    $220               $315    $433      $329     $315     $299

                             Associate          12    $220               $245    $271      $243     $214     $194

     Boston MA               Partner            25    $185               $223    $413      $363     $417     $333

                             Associate          26    $165               $180    $210      $270     $259     $228

     Buffalo NY              Partner            12    $340               $340    $380      $343     $319     $300

                             Associate          13    $245               $255    $255      $248     $248     $224

     Charleston WV           Partner            14    $201               $283    $310      $268     $252     $238

     Chicago IL              Partner            48    $215               $350    $785      $531     $481     $445

                             Associate          71    $169               $220    $250      $303     $307     $260

     Cleveland OH            Partner            12    $505               $560    $678      $552     $464     $375

     Dallas TX               Partner            19    $185               $210    $362      $298     $309     $275

                             Associate          11    $160               $160    $165      $228     $236     $246

     Denver CO               Partner            15    $335               $375    $423      $372     $352     $340

     Detroit MI              Partner            17    $210               $300    $319      $296     $267     $307

                             Associate          14    $175               $215    $301      $225     $211     $224

     Houston TX              Partner            14    $266               $320    $575      $407     $410     $369

                             Associate          20    $283               $350    $381      $333     $367     $324

     Indianapolis IN         Associate          11    $150               $178    $204      $193     $171     $170

     Jackson MS              Partner            41    $319               $350    $370      $344     $329     $317

                             Associate          33    $225               $240    $251      $231     $232     $199

     Kansas City MO          Partner            35    $425               $486    $575      $488     $454     $380

                             Associate          43    $280               $315    $351      $313     $293     $259

     Los Angeles CA          Partner            58    $190               $431    $873      $526     $555     $451

                             Associate          57    $179               $274    $500      $375     $344     $313

     Louisville KY           Associate          13    $175               $175    $220      $194     $207     $191

     Miami FL                Partner            24    $157               $200    $333      $316     $356     $238

     Milwaukee WI            Partner            12    $240               $290    $383      $312     $311     $293

     Minneapolis MN          Partner            17    $304               $320    $385      $374     $274     $259

                             Associate          11    $215               $295    $320      $279     $233     $212

     Nashville TN            Partner            12    $269               $275    $329      $316     $320     $333




     85   Real Rate Report | 2020                                                                 wkelmsolutions.com
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      General Liability -(Litigation
                            Litigation     Only
020                                                           By City 2


         General Liability
      By City
                                     Only)

                   By City

      2019 -- Real Rates for Partners and Associates                                        Trend Analysis (Mean)

               City                      Role   n      First        Median        Third     2019     2018     2017
                                                      Quartile                   Quartile
                             

      New Orleans LA         Partner            32     $275               $305    $325      $300     $283     $261

                             Associate          35     $209               $238    $238      $223     $225     $207

      New York NY            Partner            101    $225               $467    $635      $484     $470     $409

                             Associate          97     $165               $285    $418      $361     $342     $272

      Orlando FL             Associate          13     $215               $220    $300      $236     $185     $179

      Philadelphia PA        Partner            54     $384               $479    $625      $502     $445     $431

                             Associate          85     $307               $350    $425      $365     $294     $299

      Phoenix AZ             Partner            14     $150               $200    $248      $247     $244     $276

                             Associate          11     $158               $175    $230      $196     $173     $235

      Portland OR            Associate          11     $245               $300    $352      $297     $299     $257

      Richmond VA            Partner            19     $357               $532    $624      $480     $323     $300

                             Associate          20     $200               $246    $288      $258     $225     $218

      San Diego CA           Partner            13     $175               $193    $256      $296     $208     $203

                             Associate          24     $150               $169    $180      $171     $164     $169

      San Francisco CA       Partner            16     $250               $560    $600      $528     $484     $413

                             Associate          19     $210               $245    $325      $327     $255     $271

      Seattle WA             Partner            15     $281               $400    $420      $369     $365     $333

                             Associate          12     $225               $293    $366      $322     $325     $246

      St. Louis MO           Partner            40     $250               $321    $448      $357     $355     $306

                             Associate          26     $190               $225    $250      $218     $215     $199

      Washington DC          Partner            71     $736               $805    $935      $842     $809     $768

                             Associate          78     $407               $490    $645      $526     $527     $504




      86 Real Rate Report | 2020                                                                   wkelmsolutions.com
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     General Liability -(Litigation
                           Litigation     Only
20                                                                    YoE and Matter Type


        General
     By Years     Liability and Matter Type
              of Experience
                                    Only)

     By Years of Experience and Matter Type

     2019 -- Real Rates for Partners                                                                   Trend Analysis (Mean)

          Years of Experience                 MatterType
                                              Matter Type   n      First       Median        Third     2019     2018     2017
                                                                  Quartile                  Quartile
     

     Fewer Than 21 Years                 Litigation         284    $248          $350        $538      $421     $395     $346

     21 or More Years                    Litigation         544    $250          $380        $600      $454     $432     $389




     2019 -- Real Rates for Associates                                                                 Trend Analysis (Mean)

          Years of Experience                 MatterType
                                              Matter Type    n     First       Median        Third     2019     2018     2017
                                                                  Quartile                  Quartile

     Fewer Than 3 Years                   Litigation        25     $238          $325        $345      $302     $317     $295

     3 to Fewer Than 7 Years              Litigation        130    $200          $300        $402      $321     $315     $269

     7 or More Years                      Litigation        231    $205          $275        $440      $338     $308     $281




     87    Real Rate Report | 2020                                                                            wkelmsolutions.com
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      General Liability -(Litigation
                            Litigation     Only
020                                                             Firm Size & Matter Type


         General
      By Firm Size Liability
                   and Matter Type
                                     Only)

         By Firm Size and Matter Type

      2019 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

         Firm Size           MatterType
                             Matter Type        Role   n      First         Median         Third     2019     2018     2017
                                                             Quartile                     Quartile

      50 Lawyers or       Litigation       Partner     287    $185            $240         $305      $259     $250     $247
      Fewer
                                           Associate   232    $165            $185         $238      $202     $196     $191

      51-200              Litigation       Partner     277    $220            $300         $370      $312     $308     $298
      Lawyers
                                           Associate   258    $175            $225         $250      $221     $220     $220

      201-500             Litigation       Partner     142    $300            $425         $595      $461     $460     $418
      Lawyers
                                           Associate   132    $245            $300         $329      $296     $282     $268

      501-1,000           Litigation       Partner     195    $490            $585         $725      $630     $607     $557
      Lawyers
                                           Associate   195    $335            $375         $490      $406     $409     $375

      More Than           Litigation       Partner     107    $625            $803        $1,015     $826     $793     $736
      1,000 Lawyers
                                           Associate   147    $383            $500         $714      $554     $464     $446




      88 Real Rate Report | 2020                                                                            wkelmsolutions.com
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      Insurance Defense - Litigation        Only
020                                                            By City 1

                          (Litigation Only)
        Insurance Defense
      By City
                    By City

      2019 -- Real Rates for Partners and Associates                                    Trend Analysis (Mean)

                  City                    Role   n      First       Median    Third     2019     2018     2017
                                                       Quartile              Quartile
                              

      Albany NY               Partner            13     $147          $150    $195      $173     $182     $183

      Atlanta GA              Partner            35     $170          $174    $230      $213     $230     $235

                              Associate          74     $150          $155    $210      $197     $201     $205

      Baltimore MD            Partner            39     $175          $178    $195      $254     $218     $201

                              Associate          38     $150          $155    $170      $183     $192     $201

      Birmingham AL           Partner            44     $180          $180    $323      $244     $267     $266

                              Associate          27     $155          $175    $225      $190     $200     $196

      Boston MA               Partner            51     $165          $184    $225      $241     $252     $231

                              Associate          44     $155          $157    $175      $211     $194     $178

      Buffalo NY              Partner            60     $150          $155    $190      $170     $167     $165

                              Associate          56     $133          $145    $165      $147     $145     $141

      Charleston SC           Partner            21     $174          $185    $215      $201     $200     $201

                              Associate          22     $144          $145    $150      $149     $152     $152

      Charleston WV           Partner            52     $160          $160    $190      $185     $183     $185

      Charlotte NC            Partner            23     $165          $175    $195      $210     $229     $215

                              Associate          18     $146          $150    $171      $171     $212     $212

      Chicago IL              Partner            204    $175          $205    $275      $261     $296     $284

                              Associate          199    $157          $175    $250      $249     $247     $236

      Cincinnati OH           Partner            20     $151          $160    $180      $197     $193     $184

                              Associate          17     $134          $150    $160      $158     $164     $154

      Cleveland OH            Partner            44     $170          $180    $180      $181     $174     $178

                              Associate          29     $155          $160    $160      $157     $153     $153

      Columbia SC             Partner            36     $165          $168    $175      $173     $170     $164

                              Associate          28     $150          $150    $150      $151     $150     $146

      Columbus OH             Partner            26     $170          $170    $170      $179     $177     $170

      Dallas TX               Partner            35     $198          $205    $265      $249     $261     $271

                              Associate          37     $155          $165    $225      $203     $196     $207

      Denver CO               Partner            24     $160          $160    $190      $188     $193     $203

                              Associate          19     $140          $150    $150      $168     $169     $161

      Detroit MI              Partner            80     $144          $165    $180      $178     $173     $174

                              Associate          66     $129          $144    $150      $147     $148     $149

      Harrisburg PA           Partner            24     $145          $165    $176      $168     $161     $155

      Hartford CT             Partner            16     $210          $273    $463      $328     $319     $285

                              Associate          18     $178          $190    $283      $231     $243     $208

      Houston TX              Partner            28     $175          $195    $325      $288     $305     $273

                              Associate          22     $154          $260    $355      $265     $217     $207



      89 Real Rate Report | 2020                                                               wkelmsolutions.com
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      Insurance Defense(Litigation
                            - Litigation Only
020                                                           By City 2



      ByInsurance Defense          Only)
         City
                   By City

      2019 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

                 City                    Role   n      First       Median    Third     2019     2018    2017
                                                      Quartile              Quartile
                             

      Indianapolis IN        Partner            21     $145          $169    $181      $186     $186    $194

                             Associate          16     $135          $150    $179      $157     $154    $160

      Jackson MS             Partner            14     $183          $205    $283      $234     $234    $229

      Jacksonville FL        Partner            19     $170          $170    $190      $185     $185    $187

      Kansas City MO         Partner            12     $168          $198    $205      $201     $220    $239

      Lafayette LA           Partner            20     $185          $200    $200      $192     $199    $185

      Lexington KY           Partner            20     $154          $160    $160      $161     $150    $160

                             Associate          27     $139          $140    $140      $139     $126    $128

      Los Angeles CA         Partner            134    $195          $228    $275      $263     $278    $254

                             Associate          147    $175          $185    $215      $216     $220    $200

      Miami FL               Partner            88     $170          $190    $225      $227     $219    $218

                             Associate          67     $160          $160    $175      $170     $173    $176

      Milwaukee WI           Partner            26     $167          $170    $171      $178     $182    $192

      Minneapolis MN         Partner            53     $160          $175    $185      $199     $207    $206

                             Associate          54     $145          $160    $190      $182     $179    $178

      Nashville TN           Partner            15     $159          $165    $170      $167     $160    $177

                             Associate          12     $150          $150    $150      $148     $147    $138

      New Orleans LA         Partner            49     $174          $175    $190      $202     $206    $200

                             Associate          32     $150          $150    $159      $157     $165    $176

      New York NY            Partner            342    $166          $185    $223      $245     $269    $254

                             Associate          366    $145          $160    $185      $190     $208    $197

      Orlando FL             Partner            27     $146          $160    $170      $162     $171    $175

                             Associate          17     $130          $150    $160      $145     $154    $159

      Philadelphia PA        Partner            180    $170          $180    $241      $247     $267    $245

                             Associate          213    $150          $160    $185      $200     $225    $212

      Phoenix AZ             Partner            48     $170          $175    $175      $186     $201    $208

                             Associate          38     $150          $160    $173      $169     $168    $172

      Pittsburgh PA          Partner            83     $160          $165    $170      $171     $176    $172

                             Associate          77     $145          $150    $165      $156     $166    $160

      Raleigh NC             Partner            13     $170          $185    $190      $211     $212    $224

                             Associate          23     $150          $150    $165      $171     $181    $165

      Richmond VA            Partner            21     $181          $185    $185      $194     $175    $199

                             Associate          29     $160          $165    $165      $180     $159    $174

      San Diego CA           Partner            21     $190          $220    $235      $242     $221    $215

      San Francisco CA       Partner            60     $185          $260    $295      $296     $300    $282

                             Associate          47     $175          $175    $189      $194     $223    $209



      90 Real Rate Report | 2020                                                              wkelmsolutions.com
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      Insurance Defense(Litigation
                            - Litigation Only
020                                                           By CIty 3



      ByInsurance Defense          Only)
         City
                   By City

      2019 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

                 City                    Role   n     First        Median    Third     2019     2018     2017
                                                     Quartile               Quartile
                             

      Seattle WA             Partner            16     $210          $250    $350      $278     $310     $294

                             Associate          13     $180          $225    $225      $236     $256     $226

      St. Louis MO           Partner            29     $166          $170    $200      $198     $203     $209

                             Associate          12     $148          $163    $185      $175     $196     $216

      Tampa FL               Partner            28     $169          $170    $190      $191     $188     $191

                             Associate          20     $154          $160    $160      $161     $156     $156

      Washington DC          Partner            73     $355          $450    $826      $573     $548     $533

                             Associate          54     $306          $400    $636      $466     $375     $356




      91   Real Rate Report | 2020                                                            wkelmsolutions.com
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     Insurance Defense(Litigation
                           - Litigation Only
20                                                                     YoE and Matter Type


          Insurance Defense       Only)
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     2019 -- Real Rates for Partners                                                                    Trend Analysis (Mean)

          Years of Experience                 MatterType
                                              Matter Type    n      First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile
     

     Fewer Than 21 Years                 Litigation         664     $165          $180        $210      $224     $231     $226

     21 or More Years                    Litigation         1409    $165          $178        $220      $222     $236     $229




     2019 -- Real Rates for Associates                                                                  Trend Analysis (Mean)

           Years of Experience                MatterType
                                              Matter Type    n      First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile

     Fewer Than 3 Years                   Litigation         53     $160          $180        $305      $253     $226      $90

     3 to Fewer Than 7 Years              Litigation        254     $150          $165        $215      $225     $215     $189

     7 or More Years                      Litigation        517     $150          $165        $195      $204     $208     $200




     92    Real Rate Report | 2020                                                                             wkelmsolutions.com
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     Insurance Defense(Litigation
                           - Litigation Only
20                                                               Firm Size & Matter Type


          General Liability
     By Firm Size and Matter Type
                                  Only)

          By Firm Size and Matter Type

     2019 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

          Firm Size           MatterType
                              Matter Type        Role   n      First         Median         Third     2019     2018     2017
                                                              Quartile                     Quartile

     50 Lawyers or         Litigation       Partner     287    $185            $240         $305      $259     $250     $247
     Fewer
                                            Associate   232    $165            $185         $238      $202     $196     $191

     51-200                Litigation       Partner     277    $220            $300         $370      $312     $308     $298
     Lawyers
                                            Associate   258    $175            $225         $250      $221     $220     $220

     201-500               Litigation       Partner     142    $300            $425         $595      $461     $460     $418
     Lawyers
                                            Associate   132    $245            $300         $329      $296     $282     $268

     501-1,000             Litigation       Partner     195    $490            $585         $725      $630     $607     $557
     Lawyers
                                            Associate   195    $335            $375         $490      $406     $409     $375

     More Than             Litigation       Partner     107    $625            $803        $1,015     $826     $793     $736
     1,000 Lawyers
                                            Associate   147    $383            $500         $714      $554     $464     $446




     93    Real Rate Report | 2020                                                                           wkelmsolutions.com
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     Section III: Practice Area Analysis #:38713

     Intellectual Property Patents
                            - Patents
20                                                               By City


      Intellectual Property
     By City
                   By City

     2019 -- Real Rates for Partners and Associates                                     Trend Analysis (Mean)

                 City                    Role   n      First        Median    Third     2019     2018     2017
                                                      Quartile               Quartile
                             

     Atlanta GA              Partner            26     $487           $560    $656      $563     $579     $586

                             Associate          24     $331           $452    $536      $443     $420     $404

     Austin TX               Partner            26     $421           $652    $769      $591     $499     $485

                             Associate          28     $250           $432    $584      $427     $302     $305

     Boston MA               Partner            61     $536           $658    $815      $673     $663     $650

                             Associate          62     $382           $450    $582      $481     $459     $464

     Chicago IL              Partner            67     $408           $549    $788      $634     $590     $585

                             Associate          45     $260           $348    $595      $439     $376     $374

     Cleveland OH            Partner            17     $278           $293    $925      $513     $513     $495

                             Associate          23     $177           $228    $388      $304     $326     $310

     Dallas TX               Partner            28     $475           $754    $870      $679     $720     $676

                             Associate          30     $425           $493    $631      $526     $523     $464

     Denver CO               Partner            13     $386           $470    $510      $460     $548     $509

                             Associate          17     $300           $300    $365      $345     $404     $361

     Detroit MI              Partner            19     $310           $400    $475      $408     $384     $445

     Houston TX              Partner            30     $313           $450    $751      $543     $482     $479

                             Associate          58     $159           $225    $281      $234     $234     $243

     Kansas City MO          Partner            11     $289           $373    $431      $372     $390     $389

                             Associate          22     $215           $272    $358      $281     $276     $261

     Los Angeles CA          Partner            39     $643           $868   $1,035     $850     $832     $762

                             Associate          91     $498           $675    $753      $648     $608     $540

     Minneapolis MN          Partner            25     $314           $353    $421      $388     $441     $483

                             Associate          28     $251           $300    $370      $314     $432     $423

     New York NY             Partner            93     $550           $800    $979      $785     $812     $717

                             Associate          104    $396           $493    $688      $545     $544     $515

     Philadelphia PA         Partner            46     $608           $690    $772      $688     $670     $623

                             Associate          45     $300           $385    $465      $402     $400     $362

     San Diego CA            Partner            11     $844           $972    $986      $960     $866     $713

     San Francisco CA        Partner            44     $725           $950   $1,110     $913     $904     $789

                             Associate          41     $450           $543    $703      $574     $534     $485

     San Jose CA             Partner            20     $500           $742    $988      $733     $776     $615

                             Associate          16     $250           $300    $436      $493     $453     $425

     Seattle WA              Partner            14     $442           $500    $648      $550     $610     $549

                             Associate          15     $295           $352    $395      $364     $373     $390

     Washington DC           Partner            194    $527           $718    $930      $726     $753     $729

                             Associate          203    $350           $471    $621      $504     $484     $467



     94 Real Rate Report | 2020                                                                wkelmsolutions.com
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      Intellectual Property Patents
                             - Patents
020                                                                    YoE and Matter Type


       Intellectual Property
      By Years of Experience and Matter Type
      By Years of Experience and Matter Type

      2019 -- Real Rates for Partners                                                                   Trend Analysis (Mean)

           Years of Experience                 MatterType
                                               Matter Type   n      First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile
      

      Fewer Than 21 Years                 Litigation         179    $509          $719        $935      $719     $697     $642

                                          Non-Litigation     189    $369          $466        $678      $537     $525     $473

      21 or More Years                    Litigation         191    $600          $811        $977      $808     $808     $763

                                          Non-Litigation     209    $400          $560        $750      $599     $586     $566




      2019 -- Real Rates for Associates                                                                 Trend Analysis (Mean)

           Years of Experience                 MatterType
                                               Matter Type    n     First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile

      Fewer Than 3 Years                   Litigation        23     $383          $460        $565      $471     $447

                                           Non-Litigation    12     $288          $320        $479      $385     $322

      3 to Fewer Than 7 Years              Litigation        91     $327          $465        $582      $477     $458     $430

                                           Non-Litigation    56     $288          $325        $450      $386     $384     $337

      7 or More Years                      Litigation        94     $437          $595        $745      $596     $568     $538

                                           Non-Litigation    147    $300          $387        $496      $445     $397     $370




      95    Real Rate Report | 2020                                                                            wkelmsolutions.com
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     Intellectual Property Patents
                            - Patents
20                                                               Firm Size & Matter Type


      Intellectual Property
     By Firm Size and Matter Type
          By Firm Size and Matter Type

     2019 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

          Firm Size           MatterType
                              Matter Type        Role   n      First         Median         Third     2019      2018    2017
                                                              Quartile                     Quartile

     50 Lawyers or         Litigation       Partner     47     $396            $531         $623      $554     $517     $501
     Fewer
                                            Associate   33     $301            $348         $465      $366     $365     $348

                           Non-Litigation   Partner     118    $300            $365         $428      $394     $398     $374

                                            Associate   140    $238            $300         $325      $305     $327     $322

     51-200                Litigation       Partner     93     $438            $550         $743      $598     $608     $651
     Lawyers
                                            Associate   60     $300            $363         $515      $397     $383     $386

                           Non-Litigation   Partner     117    $390            $464         $618      $518     $493     $496

                                            Associate   79     $275            $317         $366      $335     $319     $319

     201-500               Litigation       Partner     61     $543            $674         $774      $683     $664     $661
     Lawyers
                                            Associate   60     $337            $402         $530      $430     $409     $433

                           Non-Litigation   Partner     104    $452            $600         $714      $589     $578     $558

                                            Associate   85     $300            $375         $445      $388     $378     $355

     501-1,000             Litigation       Partner     127    $700            $895        $1,044     $888     $897     $827
     Lawyers
                                            Associate   170    $490            $610         $740      $624     $615     $561

                           Non-Litigation   Partner     118    $582            $750        $1,010     $790     $772     $708

                                            Associate   150    $375            $503         $646      $523     $459     $450

     More Than             Litigation       Partner     120    $799            $940         $985      $911     $891     $859
     1,000 Lawyers
                                            Associate   142    $475            $585         $698      $588     $581     $551

                           Non-Litigation   Partner     31     $659            $800         $935      $820     $857     $779

                                            Associate   48     $414            $500         $633      $563     $580     $513




     96    Real Rate Report | 2020                                                                           wkelmsolutions.com
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     Intellectual Property   - Trademarks
20                                                             By City


      Intellectual Property
     By City
                         Trademarks

                  By City

     2019 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

               City                     Role   n     First        Median    Third     2019     2018     2017
                                                    Quartile               Quartile
                            

     Chicago IL             Partner            23     $436          $665    $777      $610     $506     $583

                            Associate          22     $350          $385    $580      $450     $442     $425

     New York NY            Partner            31     $504          $575    $695      $621     $598     $633

                            Associate          27     $290          $350    $435      $359     $342     $377

     Washington DC          Partner            30     $548          $695    $853      $703     $653     $656

                            Associate          23     $385          $490    $598      $496     $459     $439




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      Intellectual PropertyTrademarks
                              - Trademarks
020                                                                   YoE and Matter Type


       Intellectual Property
      By Years of Experience and Matter Type
      By Years of Experience and Matter Type

      2019 -- Real Rates for Partners                                                                  Trend Analysis (Mean)

          Years of Experience                  MatterType
                                               Matter Type   n     First       Median        Third     2019     2018     2017
                                                                  Quartile                  Quartile
      

      Fewer Than 21 Years                 Non-Litigation     37    $379          $560        $803      $587     $570     $609

      21 or More Years                    Litigation         15    $512          $620        $697      $624     $632     $650

                                          Non-Litigation     80    $500          $598        $723      $628     $594     $600




      2019 -- Real Rates for Associates                                                                Trend Analysis (Mean)

           Years of Experience                 MatterType
                                               Matter Type   n     First       Median        Third     2019     2018     2017
                                                                  Quartile                  Quartile

      3 to Fewer Than 7 Years              Non-Litigation    16    $343          $365        $474      $391     $340     $370

      7 or More Years                      Non-Litigation    32    $339          $391        $500      $440     $400     $410




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      Intellectual PropertyTrademarks
                              - Trademarks
020                                                              Firm Size & Matter Type


       Intellectual Property
      By Firm Size and Matter Type
           By Firm Size and Matter Type

      2019 -- Real Rates for Partners and Associates                                                  Trend Analysis (Mean)

           Firm Size           MatterType
                               Matter Type        Role   n     First         Median         Third     2019     2018     2017
                                                              Quartile                     Quartile

       50 Lawyers or        Non-Litigation   Partner     36    $420            $475         $570      $496     $495     $491
       Fewer
                                             Associate   36    $240            $303         $347      $306     $305     $304

       51-200               Non-Litigation   Partner     19    $340            $408         $500      $411     $401     $473
       Lawyers
       201-500              Non-Litigation   Partner     27    $471            $565         $697      $583     $584     $558
       Lawyers
                                             Associate   25    $322            $366         $388      $359     $385     $370

       501-1,000            Non-Litigation   Partner     30    $535            $665         $768      $661     $669     $664
       Lawyers
                                             Associate   29    $367            $490         $555      $465     $445     $424

       More Than            Non-Litigation   Partner     36    $680            $807         $935      $812     $731     $754
       1,000 Lawyers
                                             Associate   28    $363            $520         $600      $495     $512     $486




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      Intellectual Property Other
                            - Other
020                                                              By City


       Intellectual Property
      By City
                    By City

      2019 -- Real Rates for Partners and Associates                                    Trend Analysis (Mean)

                City                      Role   n     First        Median    Third     2019     2018     2017
                                                      Quartile               Quartile
                              

       Chicago IL             Partner            44    $575           $780    $991      $789     $653     $588

                              Associate          34    $356           $427    $576      $471     $435     $390

       Los Angeles CA         Partner            15    $556           $644    $832      $700     $679     $806

                              Associate          18    $510           $568    $768      $612     $603     $523

       Minneapolis MN         Partner            13    $380           $550    $595      $510     $490     $670

       New York NY            Partner            18    $643           $788    $993      $841     $806     $747

                              Associate          49    $467           $556    $720      $590     $541     $556

       Philadelphia PA        Associate          19    $291           $302    $367      $331     $357     $359

       San Francisco CA       Partner            13    $720           $849   $1,080     $862     $896     $881

       Washington DC          Partner            30    $635           $780    $953      $826     $730     $691

                              Associate          13    $495           $518    $638      $545     $529     $485




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     Intellectual Property Other
                           - Other
20                                                                   YoE and Matter Type


      Intellectual Property
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     2019 -- Real Rates for Partners                                                                  Trend Analysis (Mean)

         Years of Experience                  MatterType
                                              Matter Type   n     First       Median        Third     2019     2018     2017
                                                                 Quartile                  Quartile
     

     Fewer Than 21 Years                 Litigation         16    $534          $659        $835      $705     $593     $470

                                         Non-Litigation     46    $426          $510        $780      $619     $534     $521

     21 or More Years                    Litigation         36    $620          $758        $990      $800     $681     $587

                                         Non-Litigation     89    $500          $628        $803      $677     $595     $628




     2019 -- Real Rates for Associates                                                                Trend Analysis (Mean)

          Years of Experience                 MatterType
                                              Matter Type   n     First       Median        Third     2019      2018    2017
                                                                 Quartile                  Quartile

     3 to Fewer Than 7 Years              Non-Litigation    16    $282          $358        $437      $403      $362    $369

     7 or More Years                      Litigation        13    $550          $684        $730      $652      $592    $454

                                          Non-Litigation    35    $305          $425        $529      $425      $407    $370




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      Intellectual Property Other
                            - Other
020                                                            Firm Size & Matter Type


       Intellectual
      By            Property
         Firm Size and Matter Type
         By Firm Size and Matter Type

      2019 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

         Firm Size           MatterType
                             Matter Type        Role   n     First         Median         Third     2019     2018     2017
                                                            Quartile                     Quartile

      50 Lawyers or       Non-Litigation   Partner     38    $379            $475         $543      $492     $423     $425
      Fewer
                                           Associate   46    $236            $303         $382      $329     $268     $263

      51-200              Non-Litigation   Partner     35    $419            $484         $546      $506     $432     $453
      Lawyers
                                           Associate   23    $258            $300         $360      $308     $295     $277

                          Litigation       Associate   16    $300            $344         $406      $376     $298     $341

      201-500             Non-Litigation   Partner     29    $400            $464         $570      $506     $526     $554
      Lawyers
                                           Associate   21    $276            $335         $386      $318     $323     $323

      501-1,000           Litigation       Partner     30    $621            $769         $986      $809     $759     $648
      Lawyers
                                           Associate   38    $459            $561         $697      $579     $584     $517

                          Non-Litigation   Partner     31    $615            $689         $778      $727     $678     $714

                                           Associate   37    $363            $495         $556      $502     $488     $465

      More Than           Non-Litigation   Partner     38    $792            $878        $1,029     $922     $832     $841
      1,000 Lawyers
                                           Associate   37    $424            $540         $649      $529     $543     $555




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      Real Estate
020                                                            By City 1



      By CityReal Estate
                    By City

      2019 -- Real Rates for Partners and Associates                                    Trend Analysis (Mean)

                  City                    Role   n      First       Median    Third     2019     2018     2017
                                                       Quartile              Quartile
                              

      Atlanta GA              Partner            51     $250          $305    $450      $384     $355    $372

                              Associate          40     $200          $239    $285      $286     $245    $237

      Baltimore MD            Partner            26     $275          $323    $395      $384     $417    $387

                              Associate          37     $225          $266    $288      $323     $257    $330

      Birmingham AL           Partner            33     $290          $300    $370      $332     $315    $280

                              Associate          37     $225          $250    $275      $268     $245    $217

      Boston MA               Partner            40     $215          $350    $440      $382     $375    $405

                              Associate          32     $175          $225    $315      $272     $330    $271

      Bridgeport CT           Partner            11     $265          $350    $456      $371     $347    $302

      Chicago IL              Partner            79     $251          $325    $455      $441     $456    $468

                              Associate          65     $210          $250    $300      $290     $291    $304

      Cincinnati OH           Partner            17     $365          $410    $435      $410     $429    $463

                              Associate          13     $246          $253    $274      $264     $254    $247

      Cleveland OH            Partner            40     $250          $375    $475      $369     $385    $381

                              Associate          35     $189          $233    $250      $242     $247    $254

      Dallas TX               Partner            36     $295          $324    $425      $377     $365    $371

                              Associate          26     $244          $295    $420      $330     $302    $272

      Denver CO               Partner            46     $275          $395    $503      $436     $380    $377

                              Associate          37     $250          $275    $310      $281     $259    $265

      Detroit MI              Partner            28     $200          $225    $300      $265     $257    $249

      Honolulu HI             Partner            17     $250          $275    $300      $275     $289    $268

      Houston TX              Partner            24     $300          $425    $550      $435     $402    $314

                              Associate          36     $295          $350    $350      $328     $310    $255

      Indianapolis IN         Partner            12     $235          $287    $388      $299     $319    $332

                              Associate          21     $165          $232    $260      $232     $229    $217

      Jackson MS              Partner            13     $295          $300    $356      $318     $309    $277

      Kansas City MO          Partner            22     $225          $308    $343      $311     $298    $299

      Las Vegas NV            Partner            13     $250          $275    $360      $312     $316    $332

      Little Rock AR          Partner            13     $215          $215    $236      $226     $228    $222

      Los Angeles CA          Partner            119    $310          $400    $539      $459     $441    $432

                              Associate          116    $250          $275    $370      $333     $308    $336

      Memphis TN              Partner            13     $260          $285    $320      $284     $263    $265

      Miami FL                Partner            68     $275          $375    $636      $450     $403    $392

                              Associate          52     $210          $275    $435      $316     $247    $242

      Milwaukee WI            Partner            13     $283          $308    $379      $350     $326    $282




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      Real Estate
020                                                           By City 2



      By CityReal Estate
                   By City

      2019 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

                 City                    Role   n      First       Median    Third     2019     2018     2017
                                                      Quartile              Quartile
                             

      Minneapolis MN         Partner            20     $235          $250    $257      $279     $273     $302

      New Orleans LA         Partner            12     $219          $275    $286      $268     $281     $264

                             Associate          16     $199          $220    $229      $218     $203     $196

      New York NY            Partner            155    $325          $424    $595      $515     $494     $459

                             Associate          148    $250          $300    $385      $348     $345     $310

      Orlando FL             Partner            22     $290          $370    $430      $393     $379     $364

                             Associate          15     $230          $230    $279      $263     $251     $254

      Philadelphia PA        Partner            82     $325          $400    $535      $458     $458     $448

                             Associate          62     $275          $308    $325      $320     $286     $290

      Pittsburgh PA          Partner            15     $220          $230    $288      $274     $272     $270

                             Associate          14     $170          $175    $287      $233     $221     $204

      Portland OR            Partner            14     $240          $295    $395      $328     $287     $256

      San Diego CA           Partner            31     $213          $272    $350      $371     $273     $278

                             Associate          28     $218          $225    $250      $255     $235     $262

      San Francisco CA       Partner            66     $325          $431    $625      $491     $467     $433

                             Associate          39     $265          $320    $525      $414     $412     $361

      Seattle WA             Partner            39     $353          $450    $545      $479     $507     $421

                             Associate          22     $250          $370    $470      $367     $403     $276

      St. Louis MO           Partner            30     $325          $340    $425      $357     $329     $320

      Tampa FL               Partner            27     $288          $310    $405      $355     $371     $391

      Washington DC          Partner            52     $325          $400    $549      $492     $492     $474

                             Associate          32     $240          $275    $360      $377     $347     $310




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      Real Estate
020                                                                    YoE and Matter Type


              Real Estate
      By Years of Experience and Matter Type
      By Years of Experience and Matter Type

      2019 -- Real Rates for Partners                                                                   Trend Analysis (Mean)

          Years of Experience                  MatterType
                                               Matter Type   n      First       Median        Third     2019     2018     2017
                                                                   Quartile                  Quartile
      

      Fewer Than 21 Years                 Litigation         161    $236          $310        $400      $350     $325     $297

                                          Non-Litigation     330    $257          $319        $443      $386     $354     $340

      21 or More Years                    Litigation         339    $250          $310        $403      $355     $356     $352

                                          Non-Litigation     733    $285          $365        $528      $432     $416     $416




      2019 -- Real Rates for Associates                                                                 Trend Analysis (Mean)

           Years of Experience                 MatterType
                                               Matter Type    n     First       Median        Third     2019      2018     2017
                                                                   Quartile                  Quartile

      Fewer Than 3 Years                   Litigation        13     $175          $210        $230      $218      $205

                                           Non-Litigation    25     $193          $240        $300      $272      $227

      3 to Fewer Than 7 Years              Litigation        43     $195          $230        $250      $232      $239    $225

                                           Non-Litigation    111    $215          $250        $300      $276      $264    $264

      7 or More Years                      Litigation        122    $195          $243        $300      $276      $257    $240

                                           Non-Litigation    253    $218          $265        $347      $311      $299    $286




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      Real Estate
020                                                              Firm Size & Matter Type


            Real
      By Firm SizeEstate
                   and Matter Type
          By Firm Size and Matter Type

      2019 -- Real Rates for Partners and Associates                                                  Trend Analysis (Mean)

         Firm Size            MatterType
                              Matter Type        Role   n      First         Median         Third     2019      2018    2017
                                                              Quartile                     Quartile

       50 Lawyers or       Litigation       Partner     279    $225            $275         $340      $296     $296     $279
       Fewer
                                            Associate   217    $185            $225         $250      $223     $221     $211

                           Non-Litigation   Partner     513    $230            $286         $360      $313     $309     $297

                                            Associate   354    $185            $225         $250      $230     $228     $224

       51-200              Litigation       Partner     147    $220            $302         $385      $341     $324     $306
       Lawyers
                                            Associate   94     $186            $225         $271      $252     $225     $219

                           Non-Litigation   Partner     271    $295            $340         $445      $371     $379     $373

                                            Associate   186    $221            $250         $297      $260     $260     $257

       201-500             Litigation       Partner     117    $310            $400         $495      $424     $412     $394
       Lawyers
                                            Associate   106    $245            $285         $325      $294     $271     $274

                           Non-Litigation   Partner     248    $306            $400         $521      $436     $460     $442

                                            Associate   193    $250            $280         $325      $308     $305     $296

       501-1,000           Litigation       Partner     48     $393            $525         $678      $539     $517     $543
       Lawyers
                                            Associate   48     $325            $417         $500      $422     $376     $322

                           Non-Litigation   Partner     148    $468            $541         $746      $620     $552     $552

                                            Associate   144    $273            $350         $491      $405     $373     $358

       More Than           Litigation       Partner     12     $555            $861         $930      $780     $798     $858
       1,000 Lawyers
                           Non-Litigation   Partner     53     $677            $815        $1,001     $896     $785     $707

                                            Associate   52     $398            $493         $559      $519     $519     $436




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 Section IV:
 In-Depth Analysis for
 Select US Cities




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     Section IV: In-Depth Analysis#:38727  for Select US Cities
     Boston MA
       Boston MA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First       Median      Third     2019        2018     2017
                                                              Quartile                Quartile

     Commercial           51-200 Lawyers Associate       13    $380            $425    $510      $439        $355     $406

     Corporate: Other 50 Lawyers or          Partner     12    $384            $387    $451      $421        $390     $389
                      Fewer
                                             Associate   12    $305            $353    $382      $343        $340     $310

                          51-200 Lawyers Partner         24    $585            $688    $900      $750        $694     $702

                                             Associate   28    $340            $415    $510      $424        $379     $362

                          201-500            Partner     13    $553            $670    $784      $661        $591     $599
                          Lawyers
                                             Associate   15    $407            $511    $602      $498        $455     $431

                          More Than          Partner     23    $701            $823    $943      $840        $881     $891
                          1,000 Lawyers
                                             Associate   22    $376            $411    $499      $440        $523     $477

     Employment and 501-1,000                Partner     12    $465            $528    $586      $534        $480     $568
     Labor: Other   Lawyers
     Finance and          501-1,000          Partner     16    $768            $879   $1,055     $923        $848     $934
     Securities:          Lawyers
                                             Associate   13    $480            $663    $760      $634        $645     $601
     Investments and
     Other Financial      More Than          Partner     33    $891            $990   $1,134     $1,026     $1,049   $1,108

     Instruments          1,000 Lawyers

     Intellectual      51-200 Lawyers Partner            21    $669            $815    $856      $792        $738     $746
     Property: Patents
                                      Associate          14    $370            $465    $560      $463        $427     $472

                          201-500            Partner     23    $608            $658    $714      $662        $682     $650
                          Lawyers




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      Chicago
         ChicagoILIL
      By  Practice
      By Practice        Area
                  Area and        and Firm Size
                           Firm Size


      2019 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

         Practice Area         Firm Size          Role    n      First       Median      Third     2019      2018     2017
                                                                Quartile                Quartile

       Commercial          50 Lawyers or      Partner     20     $273            $398    $538      $406      $426     $447
                           Fewer
                           51-200 Lawyers Associate       11     $247            $266    $266      $275      $264     $278

                           201-500            Partner     30     $540            $654    $919      $708      $677     $641
                           Lawyers
                                              Associate   24     $432            $455    $568      $507      $455     $427

                           501-1,000          Partner     22     $601            $694    $843      $755      $707     $692
                           Lawyers
                                              Associate   39     $415            $450    $550      $475      $465     $443

                           More Than          Partner     63     $718            $902   $1,075     $914      $886     $872
                           1,000 Lawyers
                                              Associate   60     $449            $590    $774      $610      $538     $528

       Corporate:       501-1,000             Partner     12     $663            $705    $745      $715      $696     $830
       Mergers,         Lawyers
       Acquisitions and
                        More Than             Partner     46     $895            $978   $1,146     $1,031    $899     $864
       Divestitures
                        1,000 Lawyers
                                              Associate   51     $496            $659    $853      $672      $528     $538

       Corporate: Other 51-200 Lawyers Partner            13     $490            $575    $640      $576      $569     $490

                           201-500            Partner     74     $723            $794    $951      $814      $760     $732
                           Lawyers
                                              Associate   101    $449            $545    $660      $548      $520     $490

                           501-1,000          Partner     20     $610            $665    $737      $718      $691     $631
                           Lawyers
                                              Associate   23     $373            $393    $481      $466      $424     $412

                           More Than          Partner     136    $710            $920   $1,050     $912      $869     $803
                           1,000 Lawyers
                                              Associate   139    $475            $555    $705      $591      $530     $490

       Corporate:          201-500            Partner     23     $603            $786    $868      $750      $686     $829
       Regulatory and      Lawyers
                                              Associate   19     $429            $525    $674      $522      $543     $511
       Compliance
                           501-1,000          Partner     12     $608            $790    $880      $758      $657     $739
                           Lawyers
                                              Associate   11     $415            $450    $680      $492      $482     $480

                           More Than          Partner     58     $734            $866    $985      $882      $883     $850
                           1,000 Lawyers
                                              Associate   58     $495            $620    $765      $647      $582     $513

       Corporate: Tax      More Than          Partner     49     $800            $935   $1,050     $947      $836     $850
                           1,000 Lawyers
                                              Associate   59     $535            $635    $730      $613      $516     $532

       Employment and More Than               Partner     11     $731            $918    $985      $850      $868     $780
       Labor:         1,000 Lawyers
       Compensation
       and Benefits




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      Chicago
         ChicagoILIL
      By  Practice
      By Practice        Area
                  Area and        and Firm Size
                           Firm Size


      2019 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

         Practice Area         Firm Size          Role    n     First       Median        Third     2019      2018     2017
                                                               Quartile                  Quartile

       Employment and 501-1,000               Associate   14    $313            $350      $395      $358      $357     $349
       Labor:          Lawyers
       Discrimination,
       Retaliation and
       Harassment /
       EEO
       Employment and 501-1,000               Partner     26    $540            $554      $665      $578      $568     $582
       Labor: Other   Lawyers
                                              Associate   38    $349            $395      $450      $403      $373     $384

                           More Than          Partner     21    $604            $786      $973      $809      $891     $815
                           1,000 Lawyers
                                              Associate   22    $339            $488      $693      $527      $505     $452

       Finance and         More Than          Partner     11    $602            $799     $1,090     $879     $1,034    $824
       Securities:         1,000 Lawyers
                                              Associate   11    $409            $450      $736      $575      $527     $447
       Debt/Equity
       Offerings
       Finance and         501-1,000          Partner     27    $730            $810      $870      $806      $788     $794
       Securities:         Lawyers
                                              Associate   50    $426            $518      $570      $514      $483     $462
       Investments and
       Other Financial     More Than          Partner     80    $816            $990     $1,203     $1,041   $1,025   $1,039

       Instruments         1,000 Lawyers
                                              Associate   71    $520            $625      $805      $662      $647     $649

       Finance and       501-1,000            Partner     18    $774            $829      $945      $913      $721     $817
       Securities: Loans Lawyers
                                              Associate   27    $513            $594      $690      $601      $523     $526
       and Financing
                         More Than            Partner     72   $1,087           $1,175   $1,357     $1,171   $1,098   $1,052
                         1,000 Lawyers
                                              Associate   47    $500            $635      $792      $633      $665     $658

       Insurance           50 Lawyers or      Partner     37    $220            $315      $315      $275      $274     $270
       Defense: Other      Fewer
                           51-200 Lawyers Partner         12    $205            $240      $245      $230      $236     $216

       Insurance           50 Lawyers or      Partner     11    $175            $220      $253      $214      $205     $191
       Defense:            Fewer
       Personal
       Injury/Wrongful
       Death
       Insurance           50 Lawyers or      Partner     28    $190            $300      $315      $268      $256     $263
       Defense:            Fewer
                                              Associate   34    $180            $225      $250      $217      $216     $223
       Property
       Damage




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020                                                                     Page 3


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      Chicago  ILIL
         Chicago
      By   Practice
       By Practice        Area
                   Area and        and Firm Size
                            Firm Size


      2019 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

         Practice Area         Firm Size           Role    n     First       Median        Third     2019      2018     2017
                                                                Quartile                  Quartile

       Intellectual        51-200 Lawyers Partner          13    $395            $500      $620      $539      $440     $449
       Property: Other
                           More Than           Partner     23    $803            $905     $1,071     $956      $861     $709
                           1,000 Lawyers
                                               Associate   16    $398            $540      $641      $530      $538     $464

       Intellectual      51-200 Lawyers Partner            36    $395            $450      $560      $472      $460     $483
       Property: Patents
                                        Associate          23    $248            $264      $309      $285      $281     $274

                           More Than           Partner     19    $958            $1,033   $1,096     $1,010    $877     $791
                           1,000 Lawyers
                                               Associate   20    $487            $621      $743      $642      $561     $475

       Intellectual        More Than           Associate   11    $355            $540      $580      $491      $491     $485
       Property:           1,000 Lawyers
       Trademarks




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     Section IV: In-Depth Analysis#:38731  for Select US Cities
     Los
     Los Angeles  CA
         Angeles CA
     By  Practice
     By Practice Area andArea    and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First       Median        Third     2019       2018     2017
                                                              Quartile                  Quartile

     Bankruptcy and       50 Lawyers or      Associate   14    $235            $266      $280      $261       $252     $249
     Collections          Fewer
     Commercial           50 Lawyers or      Partner     21    $312            $398      $494      $420       $442     $464
                          Fewer
                                             Associate   14    $276            $295      $410      $343       $328     $305

                          51-200 Lawyers Partner         17    $525            $680      $757      $616       $648     $654

                          201-500            Partner     16    $567            $671      $740      $642       $544     $552
                          Lawyers
                          501-1,000          Partner     19    $640            $695      $878      $779       $723     $747
                          Lawyers
                                             Associate   37    $416            $482      $598      $521       $527     $507

                          More Than          Partner     34    $935            $1,045   $1,219     $1,108     $966    $1,007
                          1,000 Lawyers
                                             Associate   76    $565            $688      $865      $739       $700     $614

     Corporate:           More Than          Partner     12    $875            $922     $1,024     $950       $994     $972
     Governance           1,000 Lawyers
     Corporate:       501-1,000              Associate   16    $461            $606      $700      $593       $590     $506
     Mergers,         Lawyers
     Acquisitions and
     Divestitures
     Corporate: Other 50 Lawyers or          Partner     23    $383            $419      $475      $443       $407     $422
                      Fewer
                                             Associate   23    $260            $300      $340      $317       $322     $285

                          51-200 Lawyers Partner         20    $575            $743      $875      $758       $828     $824

                                             Associate   16    $408            $450      $585      $487       $480     $541

                          201-500            Partner     31    $485            $601      $795      $629       $601     $536
                          Lawyers
                                             Associate   17    $408            $428      $502      $476       $408     $406

                          501-1,000          Partner     38    $609            $755      $941      $803       $743     $710
                          Lawyers
                                             Associate   41    $405            $486      $674      $534       $514     $512

                          More Than          Partner     90    $895            $1,012   $1,148     $1,024     $983     $945
                          1,000 Lawyers
                                             Associate   83    $534            $650      $765      $646       $630     $609

     Corporate:           501-1,000          Partner     18    $690            $763      $874      $793       $959     $846
     Regulatory and       Lawyers
                                             Associate   28    $474            $580      $690      $583       $607     $541
     Compliance
                          More Than          Partner     39    $875            $1,000   $1,103     $999       $970     $952
                          1,000 Lawyers
                                             Associate   72    $575            $668      $805      $694       $608     $579




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     Section IV: In-Depth Analysis#:38732  for Select US Cities
     Los
      Los Angeles  CA
          Angeles CA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First       Median        Third     2019        2018    2017
                                                               Quartile                  Quartile

     Employment and 501-1,000                Partner     13     $400            $450      $495      $483        $533    $472
     Labor:          Lawyers
                                             Associate   22     $285            $300      $339      $324        $372    $363
     Discrimination,
     Retaliation and
     Harassment /
     EEO
     Employment and 51-200 Lawyers Associate             11     $375            $460      $488      $477        $415    $419
     Labor: Other
                    501-1,000      Partner               36     $484            $600      $693      $630        $608    $637
                    Lawyers
                                   Associate             32     $335            $405      $466      $433        $486    $469

                          More Than          Partner     24     $702            $822     $1,025     $874        $904    $911
                          1,000 Lawyers
                                             Associate   32     $552            $655      $675      $625        $620    $603

     Finance and          501-1,000          Partner     25     $685            $775      $936      $832        $758    $805
     Securities:          Lawyers
                                             Associate   54     $446            $560      $645      $557        $544    $511
     Investments and
     Other Financial      More Than          Partner     54    $1,095           $1,250   $1,463     $1,256     $1,141   $1,110

     Instruments          1,000 Lawyers
                                             Associate   171    $700            $860     $1,050     $884        $818    $787

     Finance and       50 Lawyers or  Partner            12     $300            $437      $585      $459        $386    $391
     Securities: Loans Fewer
     and Financing
                       51-200 Lawyers Partner            23     $710            $795      $888      $806        $795    $796

                                             Associate   17     $435            $545      $617      $537        $537    $600

                          501-1,000          Associate   16     $489            $565      $626      $577        $605    $661
                          Lawyers
                          More Than          Associate   87     $560            $700      $826      $691        $716    $656
                          1,000 Lawyers
     General Liability: 501-1,000            Associate   12     $150            $350      $350      $273        $386    $404
     Product and        Lawyers
     Product Liability
     Intellectual      501-1,000             Partner     11     $720            $950     $1,015     $929        $969    $780
     Property: Patents Lawyers
                                             Associate   45     $675            $730      $830      $735        $677    $538

                          More Than          Partner     12     $948            $1,095   $1,136     $1,046     $1,027   $958
                          1,000 Lawyers
                                             Associate   32     $446            $600      $695      $608        $643    $634




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     Section IV: In-Depth Analysis#:38733  for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice Area andArea    and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First       Median        Third     2019       2018     2017
                                                               Quartile                  Quartile

     Bankruptcy and       50 Lawyers or      Associate   17     $244            $305      $310      $312       $312     $257
     Collections          Fewer
                          201-500            Partner     23     $400            $436      $564      $485       $531     $512
                          Lawyers
                                             Associate   24     $296            $310      $380      $329       $377     $376

                          501-1,000          Partner     11     $604            $772     $1,220     $974       $640     $742
                          Lawyers
                                             Associate   15     $640            $866     $1,205     $869       $403     $458

                          More Than          Partner     11     $566            $890     $1,085     $830       $812     $706
                          1,000 Lawyers
                                             Associate   11     $347            $410      $603      $499       $464     $377

     Commercial           50 Lawyers or      Partner     28     $364            $490      $594      $502       $431     $427
                          Fewer
                                             Associate   17     $316            $360      $460      $394       $392     $359

                          51-200 Lawyers Partner         17     $461            $560      $644      $559       $587     $574

                          201-500            Partner     35     $576            $611      $778      $739       $800     $748
                          Lawyers
                                             Associate   24     $398            $460      $576      $518       $551     $582

                          501-1,000          Partner     97     $935            $1,249   $1,425     $1,244     $1,142   $1,272
                          Lawyers
                                             Associate   114    $453            $690      $867      $713       $729     $671

                          More Than          Partner     59     $968            $1,143   $1,459     $1,183     $1,067   $1,018
                          1,000 Lawyers
                                             Associate   65     $568            $727     $1,013     $804       $680     $693

     Corporate:           501-1,000          Partner     30    $1,249           $1,493   $1,500     $1,388     $1,280   $1,170
     Antitrust and        Lawyers
                                             Associate   93     $595            $750      $847      $730       $651     $614
     Competition
     Corporate:           501-1,000          Associate   25     $612            $820      $847      $716       $728     $692
     Corporate            Lawyers
     Development
     Corporate:           501-1,000          Partner     52    $1,249           $1,394   $1,500     $1,340     $1,266   $1,257
     Governance           Lawyers
                                             Associate   97     $574            $714      $855      $709       $692     $681

                          More Than          Associate   14     $550            $650      $727      $657       $734     $703
                          1,000 Lawyers
     Corporate:       501-1,000              Partner     133   $1,161           $1,261   $1,500     $1,281     $1,191   $1,100
     Mergers,         Lawyers
                                             Associate   264    $564            $750      $865      $728       $670     $614
     Acquisitions and
     Divestitures     More Than              Partner     67    $1,120           $1,250   $1,485     $1,271     $1,244   $1,093
                      1,000 Lawyers
                                             Associate   109    $550            $785      $951      $762       $762     $691




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     Section IV: In-Depth Analysis#:38734  for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice Area andArea    and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First       Median        Third     2019       2018     2017
                                                               Quartile                  Quartile

     Corporate: Other 50 Lawyers or          Partner     46     $305            $415      $566      $450       $469     $454
                      Fewer
                                             Associate   36     $285            $305      $315      $294       $330     $325

                          51-200 Lawyers Partner         29     $435            $525      $695      $567       $556     $519

                                             Associate   29     $305            $400      $554      $436       $380     $357

                          201-500            Partner     103    $500            $805     $1,180     $862       $772     $717
                          Lawyers
                                             Associate   78     $325            $434      $644      $494       $447     $434

                          501-1,000          Partner     199   $1,065           $1,249   $1,375     $1,197     $1,144   $1,100
                          Lawyers
                                             Associate   356    $515            $735      $847      $709       $668     $657

                          More Than          Partner     143    $996            $1,250   $1,462     $1,217     $1,079   $981
                          1,000 Lawyers
                                             Associate   217    $540            $765      $920      $748       $686     $642

     Corporate:       501-1,000              Partner     45    $1,249           $1,249   $1,249     $1,263     $1,223   $1,175
     Partnerships and Lawyers
                                             Associate   62     $612            $847      $847      $779       $728     $651
     Joint Ventures
     Corporate:           51-200 Lawyers Partner         16     $541            $661      $805      $656       $640     $611
     Regulatory and
                                             Associate   16     $401            $515      $592      $509       $502     $376
     Compliance
                          201-500            Partner     30     $641            $723      $963      $836       $881     $826
                          Lawyers
                                             Associate   30     $356            $400      $446      $430       $556     $537

                          501-1,000          Partner     79     $983            $1,249   $1,406     $1,178     $1,130   $1,083
                          Lawyers
                                             Associate   110    $532            $728      $878      $734       $622     $618

                          More Than          Partner     49     $902            $1,060   $1,268     $1,078     $1,056   $993
                          1,000 Lawyers
                                             Associate   32     $577            $684      $849      $708       $666     $634

     Corporate: Tax       501-1,000          Partner     28    $1,075           $1,249   $1,534     $1,264     $1,210   $1,211
                          Lawyers
                                             Associate   50     $424            $564      $701      $560       $597     $650

                          More Than          Partner     46     $844            $1,093   $1,346     $1,136     $1,038   $1,076
                          1,000 Lawyers
                                             Associate   53     $465            $666      $893      $734       $742     $698

     Corporate:           501-1,000          Partner     11    $1,177           $1,177   $1,439     $1,299     $1,085   $1,008
     Treasury             Lawyers
                                             Associate   13     $516            $714      $744      $698       $622     $588

     Employment and 501-1,000                Partner     24     $620            $1,060   $1,284     $968       $871     $978
     Labor:         Lawyers
                                             Associate   11     $288            $325      $475      $410       $505     $610
     Compensation
     and Benefits   More Than                Associate   11     $465            $486      $526      $511       $492     $466
                    1,000 Lawyers




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     Section IV: In-Depth Analysis#:38735  for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First       Median        Third     2019       2018     2017
                                                               Quartile                  Quartile

     Employment and       201-500            Associate   13     $335            $390      $415      $454       $447     $616
     Labor:               Lawyers
     Discrimination,
                          501-1,000          Partner     28     $450            $473      $546      $571       $622     $533
     Retaliation and
                          Lawyers
     Harassment /                            Associate   27     $290            $315      $325      $326       $421     $317

     EEO                  More Than          Partner     11     $640            $758      $829      $753       $735     $746
                          1,000 Lawyers
     Employment and 50 Lawyers or            Partner     21     $490            $646      $796      $630       $588     $562
     Labor: Other   Fewer
                                             Associate   18     $303            $383      $475      $405       $391     $372

                          51-200 Lawyers Partner         11     $610            $680      $750      $662       $547     $602

                          201-500            Partner     73     $553            $695      $760      $685       $648     $645
                          Lawyers
                                             Associate   73     $350            $410      $595      $466       $426     $426

                          501-1,000          Partner     107    $470            $585      $810      $690       $753     $730
                          Lawyers
                                             Associate   72     $325            $411      $680      $515       $596     $532

                          More Than          Partner     35     $715            $815     $1,193     $911       $969     $856
                          1,000 Lawyers
                                             Associate   39     $419            $621      $863      $641       $614     $557

     Employment and       201-500            Partner     12     $450            $450      $461      $438       $428     $434
     Labor: Union         Lawyers
                                             Associate   13     $264            $320      $360      $310       $265     $285
     Relations and
     Negotiations /       501-1,000          Partner     13     $470            $505      $541      $590       $692     $809

     NLRB                 Lawyers

     Environmental        51-200 Lawyers Partner         12     $350            $390      $515      $426       $405     $393

     Finance and          501-1,000          Partner     40     $944            $1,055   $1,330     $1,099     $1,119   $1,086
     Securities:          Lawyers
                                             Associate   64     $505            $680      $847      $692       $683     $669
     Debt/Equity
     Offerings            More Than          Partner     29     $624            $910     $1,316     $998       $912     $940
                          1,000 Lawyers
                                             Associate   19     $359            $414      $528      $447       $537     $595

     Finance and     51-200 Lawyers          Partner     22     $764            $807      $850      $825       $771     $825
     Securities:
                                             Associate   17     $400            $591      $653      $540       $567     $507
     Investments and
     Other Financial 201-500                 Partner     44     $819            $1,027   $1,111     $970       $1,042   $1,016

     Instruments     Lawyers
                                             Associate   47     $428            $512      $692      $561       $587     $554

                          501-1,000          Partner     257    $939            $1,199   $1,460     $1,208     $1,155   $1,134
                          Lawyers
                                             Associate   465    $560            $680      $867      $713       $698     $697

                          More Than          Partner     134    $871            $1,075   $1,276     $1,104     $1,057   $1,085
                          1,000 Lawyers
                                             Associate   106    $466            $615      $743      $608       $662     $695




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     Section IV: In-Depth Analysis#:38736  for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First       Median        Third     2019       2018     2017
                                                               Quartile                  Quartile

     Finance and       50 Lawyers or         Partner     33     $333            $565      $678      $563       $554     $629
     Securities: Loans Fewer
                                             Associate   23     $310            $310      $330      $344       $350     $403
     and Financing
                       201-500               Partner     97    $1,105           $1,275   $1,415     $1,207     $1,091   $1,055
                       Lawyers
                                             Associate   151    $575            $745      $885      $709       $656     $657

                          501-1,000          Partner     95    $1,049           $1,255   $1,505     $1,251     $1,179   $1,155
                          Lawyers
                                             Associate   136    $603            $778      $920      $766       $773     $676

                          More Than          Partner     74    $1,212           $1,390   $1,510     $1,339     $1,228   $1,154
                          1,000 Lawyers
                                             Associate   134    $670            $905     $1,042     $860       $798     $753

     Finance and          501-1,000          Partner     25    $1,249           $1,249   $1,368     $1,303     $1,341   $1,204
     Securities: Other    Lawyers
                                             Associate   36     $720            $847      $847      $790       $698     $653

     Finance and          501-1,000          Partner     26    $1,249           $1,284   $1,393     $1,291     $1,107   $1,049
     Securities: SEC      Lawyers
                                             Associate   39     $609            $730      $874      $738       $576     $540
     Filings and
     Financial            More Than          Partner     11    $1,173           $1,510   $1,549     $1,383     $1,085   $1,154

     Reporting            1,000 Lawyers

     Finance and          501-1,000          Partner     29     $915            $1,204   $1,330     $1,138     $1,130   $1,153
     Securities:          Lawyers
                                             Associate   28     $554            $639      $705      $629       $624     $651
     Securities and
     Banking
     Regulations
     General Liability: 50 Lawyers or        Partner     12     $176            $195      $235      $206       $245     $204
     Other              Fewer
                          More Than          Associate   23     $685            $810      $853      $757       $690     $367
                          1,000 Lawyers
     General Liability: 501-1,000            Partner     11     $625            $680      $920      $799       $688     $706
     Product and        Lawyers
     Product Liability
     Insurance            51-200 Lawyers Partner         29     $155            $175      $190      $177       $177     $185
     Defense: Auto
                                             Associate   22     $135            $149      $173      $154       $163     $166
     and
     Transportation
     Insurance            50 Lawyers or      Partner     19     $175            $185      $258      $216       $230     $202
     Defense: Other       Fewer
                                             Associate   21     $159            $185      $195      $182       $190     $175

                          51-200 Lawyers Partner         37     $169            $200      $244      $231       $220     $229

                                             Associate   28     $150            $175      $175      $179       $178     $171




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     Section IV: In-Depth Analysis#:38737  for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First       Median        Third     2019     2018     2017
                                                              Quartile                  Quartile

     Insurance            50 Lawyers or      Partner     50    $163            $174      $189      $176     $179     $176
     Defense:             Fewer
                                             Associate   75    $140            $150      $160      $149     $155     $152
     Personal
     Injury/Wrongful
     Death
     Insurance            50 Lawyers or      Associate   45    $134            $146      $153      $145     $153     $149
     Defense:             Fewer
     Property
                          51-200 Lawyers Partner         27    $174            $190      $205      $220     $247     $230
     Damage
                                             Associate   25    $150            $150      $155      $158     $169     $172

                          201-500            Partner     12    $199            $225      $378      $280     $237     $248
                          Lawyers
     Intellectual         501-1,000          Associate   33    $556            $620      $812      $663     $644     $680
     Property: Other      Lawyers
     Intellectual      50 Lawyers or         Partner     15    $330            $395      $595      $474     $510     $413
     Property: Patents Fewer
                                             Associate   18    $378            $465      $500      $459     $466     $370

                          201-500            Partner     15    $510            $565      $729      $622     $652     $627
                          Lawyers
                                             Associate   16    $325            $375      $375      $366     $369     $385

                          501-1,000          Partner     25    $800            $1,038   $1,124     $970     $1,015   $950
                          Lawyers
                                             Associate   34    $473            $595      $817      $612     $681     $623

                          More Than          Partner     27    $868            $975      $985      $946     $927     $910
                          1,000 Lawyers
                                             Associate   28    $500            $673      $793      $653     $589     $604

     Intellectual         50 Lawyers or      Partner     17    $467            $560      $675      $550     $508     $510
     Property:            Fewer
                                             Associate   19    $258            $315      $385      $332     $322     $318
     Trademarks
     Miscellaneous:       More Than          Associate   17    $660            $907     $1,025     $842     $702     $717
     General Advice       1,000 Lawyers
     & Counsel
     Real Estate:         50 Lawyers or      Partner     11    $375            $475      $550      $464     $425     $405
     Other                Fewer
                                             Associate   12    $325            $325      $406      $352     $310     $318

                          201-500            Partner     11    $524            $555      $580      $609     $694     $622
                          Lawyers
                                             Associate   11    $315            $335      $388      $359     $359     $439

     Requests for         501-1,000          Associate   12    $515            $650      $883      $666     $488     $433
     Information:         Lawyers
     Subpoena




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     Philadelphia
      Philadelphia PAPA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First       Median      Third     2019     2018     2017
                                                              Quartile                Quartile

     Bankruptcy and       51-200 Lawyers Partner         12    $318            $418    $463      $387     $269     $401
     Collections
                          201-500            Partner     24    $490            $525    $550      $524     $508     $502
                          Lawyers
                          More Than          Partner     12    $410            $438    $673      $506     $466     $477
                          1,000 Lawyers
     Commercial           50 Lawyers or      Partner     12    $325            $381    $540      $458     $552     $523
                          Fewer
                                             Associate   14    $213            $272    $312      $302     $294     $302

                          51-200 Lawyers Partner         23    $347            $447    $604      $488     $521     $551

                                             Associate   15    $185            $302    $336      $281     $317     $293

                          201-500            Partner     54    $486            $565    $699      $594     $563     $579
                          Lawyers
                                             Associate   49    $288            $305    $351      $333     $314     $337

                          501-1,000          Partner     35    $677            $768    $810      $740     $707     $691
                          Lawyers
                                             Associate   21    $336            $470    $520      $471     $491     $443

                          More Than          Partner     31    $720            $850   $1,021     $922     $714     $715
                          1,000 Lawyers
     Corporate:           More Than          Partner     15    $831            $865   $1,035     $899     $873     $886
     Antitrust and        1,000 Lawyers
     Competition
     Corporate:       201-500                Partner     33    $495            $525    $525      $512     $536     $528
     Mergers,         Lawyers
     Acquisitions and
                      501-1,000              Partner     24    $690            $795    $875      $812     $824     $641
     Divestitures
                      Lawyers
                                             Associate   25    $405            $420    $500      $466     $440     $402

     Corporate: Other 51-200 Lawyers Partner             36    $551            $740    $800      $699     $634     $579

                                             Associate   37    $350            $405    $464      $409     $350     $331

                          201-500            Partner     52    $525            $538    $760      $627     $571     $548
                          Lawyers
                                             Associate   53    $325            $325    $385      $354     $338     $326

                          501-1,000          Partner     32    $596            $765    $890      $770     $731     $763
                          Lawyers
                                             Associate   31    $420            $475    $568      $515     $509     $472

                          More Than          Partner     64    $625            $803    $875      $803     $802     $772
                          1,000 Lawyers
                                             Associate   74    $380            $402    $499      $464     $463     $431




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     Philadelphia
      Philadelphia PAPA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First       Median      Third     2019      2018    2017
                                                              Quartile                Quartile

      Corporate:          50 Lawyers or      Partner     11    $434            $520    $620      $530      $568    $520
      Regulatory and      Fewer
      Compliance
                          51-200 Lawyers Partner         17    $570            $850    $950      $786      $725    $755

                                             Associate   15    $350            $420    $500      $435      $381    $360

                          201-500            Partner     18    $500            $626    $682      $604      $563    $485
                          Lawyers
                                             Associate   17    $252            $292    $368      $316      $308    $281

                          More Than          Partner     33    $625            $789    $803      $729      $727    $763
                          1,000 Lawyers
      Employment and 201-500                 Partner     12    $434            $478    $527      $487      $596    $539
      Labor: Other   Lawyers
                          501-1,000          Partner     15    $517            $566    $599      $614      $651    $641
                          Lawyers
      Finance and     51-200 Lawyers Partner             15    $728            $825    $903      $789      $742    $689
      Securities:
      Investments and
      Other Financial
      Instruments
      Finance and       201-500              Partner     16    $497            $610    $714      $611      $710    $719
      Securities: Loans Lawyers
      and Financing
                        501-1,000            Partner     13    $786            $915   $1,160     $966      $726    $724
                        Lawyers
                          More Than          Partner     11    $623            $795   $1,123     $913      $971    $911
                          1,000 Lawyers
      General Liability: More Than           Associate   15    $376            $395    $489      $422      $261    $405
      Product and        1,000 Lawyers
      Product Liability
      Insurance           50 Lawyers or      Partner     23    $175            $175    $180      $175      $176    $175
      Defense: Other      Fewer
                                             Associate   31    $160            $160    $160      $158      $164    $160

      Insurance           50 Lawyers or      Partner     20    $400            $400    $400      $366      $228    $212
      Defense:            Fewer
                                             Associate   31    $330            $330    $330      $306      $179    $170
      Professional
      Liability




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     Philadelphia
      Philadelphia PAPA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First       Median      Third     2019     2018     2017
                                                              Quartile                Quartile

     Insurance            50 Lawyers or      Partner     16    $173            $180    $180      $175     $177     $170
     Defense:             Fewer
                                             Associate   34    $180            $180    $180      $172     $173     $166
     Property
     Damage
     Intellectual      51-200 Lawyers Partner            11    $670            $713    $775      $704     $699     $653
     Property: Patents
                       201-500        Associate          15    $288            $288    $333      $311     $339     $302
                       Lawyers
                          501-1,000          Partner     13    $610            $690    $771      $720     $731     $636
                          Lawyers
                                             Associate   13    $414            $452    $482      $484     $424     $362

     Real Estate:         201-500            Partner     11    $500            $530    $668      $607     $625     $587
     Other                Lawyers




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     San
      SanFrancisco
         Francisco CA
            CA Area and Firm Size
     By Practice
     By Practice Area and Firm Size

     2019 -- Real Rates for Partners and Associates                                                     Trend Analysis (Mean)

        Practice Area                 Firm Size       Role    n     First       Median        Third     2019        2018    2017
                                                                   Quartile                  Quartile

     Commercial                51-200 Lawyers Partner         12    $373            $635      $751      $605        $508    $644

                               501-1,000          Partner     19    $739            $860     $1,162     $926        $955    $973
                               Lawyers
                                                  Associate   16    $320            $398      $668      $516        $584    $536

     Corporate: Other 501-1,000                   Partner     34    $680            $931     $1,199     $916        $872    $773
                      Lawyers
                                                  Associate   30    $438            $508      $670      $564        $571    $549

                               More Than          Partner     21    $760            $876     $1,024     $894        $988    $891
                               1,000 Lawyers
                                                  Associate   17    $415            $546      $714      $554        $547    $446

     Corporate:                501-1,000          Partner     20    $659            $788      $979      $819        $908    $832
     Regulatory and            Lawyers
     Compliance
     Employment and 501-1,000                     Partner     27    $468            $549      $594      $548        $595    $541
     Labor: Other   Lawyers
     Finance and     501-1,000                    Partner     28    $775            $1,010   $1,130     $1,023      $965    $926
     Securities:     Lawyers
                                                  Associate   29    $634            $755      $820      $735        $608    $604
     Investments and
     Other Financial
     Instruments
     Intellectual      501-1,000                  Partner     16    $995            $1,120   $1,245     $1,099     $1,027   $899
     Property: Patents Lawyers




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      Washington   DC
       Washington DC
      By   Practice
       By Practice        Area
                   Area and       and Firm Size
                            Firm Size


      2019 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

         Practice Area         Firm Size              Role    n      First         Median    Third     2019        2018     2017
                                                                    Quartile                Quartile

       Commercial          50 Lawyers or          Partner     15     $411           $518     $590      $512        $619     $556
                           Fewer
                           51-200 Lawyers Partner             13     $610           $680     $700      $676        $632     $590

                           201-500                Partner     45     $596           $664     $752      $691        $675     $694
                           Lawyers
                                                  Associate   48     $350           $438     $508      $445        $408     $439

                           501-1,000              Partner     93     $680           $846     $992      $869        $883     $842
                           Lawyers
                                                  Associate   50     $464           $530     $601      $544        $549     $528

                           More Than              Partner     99     $793           $950    $1,193     $994        $887     $868
                           1,000 Lawyers
                                                  Associate   59     $476           $625     $746      $634        $603     $557

       Corporate:          501-1,000              Partner     33     $740           $857     $960      $896        $893     $890
       Antitrust and       Lawyers
                                                  Associate   24     $445           $519     $752      $603        $569     $557
       Competition
                           More Than              Partner     29     $745           $796     $905      $842        $848     $864
                           1,000 Lawyers
                                                  Associate   25     $407           $494     $560      $495        $511     $573

       Corporate:       201-500                   Partner     14     $653           $784     $805      $740        $786     $712
       Mergers,         Lawyers
                                                  Associate   15     $385           $405     $505      $439        $451     $461
       Acquisitions and
       Divestitures     501-1,000                 Partner     18     $702           $938    $1,080     $931        $978     $991
                        Lawyers
                           More Than              Partner     54     $904           $985    $1,194     $1,028     $1,046    $855
                           1,000 Lawyers
                                                  Associate   36     $533           $673     $806      $671        $605     $511

       Corporate: Other 50 Lawyers or             Partner     30     $474           $580     $657      $573        $571     $540
                        Fewer
                                                  Associate   28     $345           $590     $590      $474        $415     $387

                           51-200 Lawyers Partner             40     $680           $781     $988      $807        $760     $743

                                                  Associate   18     $415           $593     $650      $559        $560     $501

                           201-500                Partner     83     $590           $712     $814      $721        $735     $720
                           Lawyers
                                                  Associate   48     $382           $508     $623      $515        $462     $435

                           501-1,000              Partner     187    $761           $880     $935      $885        $853     $806
                           Lawyers
                                                  Associate   200    $490           $525     $593      $545        $524     $485

                           More Than              Partner     203    $795           $910    $1,044     $939        $875     $845
                           1,000 Lawyers
                                                  Associate   174    $455           $554     $720      $591        $592     $545




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     Washington  DC
     Washington DC
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First         Median    Third     2019       2018     2017
                                                               Quartile                Quartile

     Corporate:           50 Lawyers or      Partner     61     $523           $575     $630      $582       $561     $547
     Regulatory and       Fewer
                                             Associate   33     $293           $329     $369      $362       $299     $318
     Compliance
                          51-200 Lawyers Partner         40     $602           $788     $968      $787       $747     $681

                                             Associate   28     $335           $375     $569      $453       $416     $425

                          201-500            Partner     54     $640           $705     $870      $730       $710     $710
                          Lawyers
                                             Associate   40     $355           $460     $516      $469       $433     $446

                          501-1,000          Partner     151    $740           $871    $1,000     $890       $893     $863
                          Lawyers
                                             Associate   143    $458           $530     $632      $566       $580     $540

                          More Than          Partner     143    $819           $925    $1,058     $969       $915     $871
                          1,000 Lawyers
                                             Associate   117    $460           $593     $720      $593       $579     $562

     Corporate: Tax       201-500            Partner     24     $590           $590     $677      $629       $664     $654
                          Lawyers
                          More Than          Partner     48     $840           $944    $1,175     $1,028     $953     $945
                          1,000 Lawyers
                                             Associate   50     $469           $618     $792      $677       $603     $590

     Employment and 201-500                  Partner     19     $550           $701     $735      $697       $619     $644
     Labor: Other   Lawyers
                                             Associate   17     $513           $625     $625      $559       $576     $562

                          501-1,000          Partner     48     $607           $694     $921      $764       $784     $798
                          Lawyers
                                             Associate   41     $365           $445     $595      $484       $555     $527

                          More Than          Partner     22     $596           $719     $836      $768       $789     $788
                          1,000 Lawyers
                                             Associate   18     $375           $436     $621      $479       $447     $483

     Environmental        501-1,000          Partner     11     $774           $853     $893      $786       $801     $717
                          Lawyers
     Finance and          51-200 Lawyers Partner         11     $749           $750     $858      $784       $749     $745
     Securities:
                          501-1,000          Partner     46     $833           $961    $1,116     $989       $1,040   $1,032
     Investments and
                          Lawyers
     Other Financial                         Associate   22     $501           $625     $761      $636       $714     $684

     Instruments          More Than          Partner     56     $844           $952    $1,093     $982       $1,013   $987
                          1,000 Lawyers
                                             Associate   21     $480           $630     $829      $654       $631     $717

     Finance and       51-200 Lawyers Partner            12     $769           $820     $880      $789       $852     $563
     Securities: Loans
                       201-500        Partner            18     $650           $835     $953      $843       $747     $731
     and Financing
                       Lawyers
                                      Associate          18     $436           $483     $520      $504       $446     $561

                          501-1,000          Partner     28     $823           $923    $1,143     $1,025     $980     $922
                          Lawyers
                          More Than          Partner     21     $905          $1,229   $1,510     $1,177     $1,147   $991
                          1,000 Lawyers
                                             Associate   18     $561           $688    $1,050     $784       $689     $747




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     Washington  DC
     Washington DC
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First         Median    Third     2019       2018     2017
                                                              Quartile                Quartile

     General Liability: 501-1,000            Partner     14    $554           $740     $856      $717       $672     $720
     Product and        Lawyers
                                             Associate   11    $490           $520     $612      $546       $505     $517
     Product Liability
                        More Than            Partner     11    $935           $966    $1,013     $965       $995     $951
                        1,000 Lawyers
                                             Associate   19    $401           $560     $681      $552       $587     $511

     Government           501-1,000          Partner     20    $744           $784     $893      $854       $827     $776
     Relations            Lawyers
     Intellectual         501-1,000          Partner     12    $698           $779     $828      $818       $754     $725
     Property: Other      Lawyers
     Intellectual      50 Lawyers or         Partner     16    $388           $450     $720      $564       $540     $474
     Property: Patents Fewer
                                             Associate   17    $302           $325     $346      $332       $314     $308

                          51-200 Lawyers Partner         36    $385           $435     $540      $464       $480     $519

                                             Associate   30    $300           $330     $365      $337       $310     $325

                          201-500            Partner     34    $600           $680     $768      $704       $686     $688
                          Lawyers
                                             Associate   35    $377           $444     $533      $455       $406     $422

                          501-1,000          Partner     70    $775           $900    $1,060     $923       $908     $876
                          Lawyers
                                             Associate   74    $490           $609     $695      $620       $582     $596

                          More Than          Partner     30    $761           $893     $939      $858       $910     $901
                          1,000 Lawyers
                                             Associate   38    $496           $525     $692      $586       $634     $525

     Miscellaneous:       More Than          Partner     11    $888          $1,200   $1,200     $1,078     $735     $896
     General Advice       1,000 Lawyers
     & Counsel
     Requests for         501-1,000          Partner     14    $900           $915    $1,046     $974       $920     $818
     Information:         Lawyers
     Subpoena




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 Section V:
 International
 Analysis




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      Countries                                                            Page 1


      Countries

      2019 -- Real Rates for Partners, Associates, and Paralegals                                      Trend Analysis (Mean)

               Country                   Role            n       First        Median       Third     2019      2018       2017
                                                                Quartile                  Quartile

      Argentina              Partner                     31         $52             $56    $287      $168      $169       $206

                             Associate                   47         $47         $136       $238      $148      $163       $208

      Australia              Partner                    154         $375        $484       $588      $498      $516       $536

                             Associate                  221         $234        $302       $409      $325      $342       $339

                             Paralegal                   38         $134        $156       $210      $205      $184       $198

      Austria                Partner                     19         $388        $420       $681      $544      $588       $593

                             Associate                   28         $365        $639       $718      $553      $475       $482

      Belgium                Partner                     57         $368        $529       $752      $571      $628       $597

                             Associate                  136         $245        $339       $474      $385      $382       $405

                             Paralegal                   27         $155        $249       $280      $243      $240       $248

      Brazil                 Partner                     96         $287        $401       $500      $414      $383       $386

                             Associate                  185         $165        $234       $300      $239      $228       $231

                             Paralegal                  112         $75             $75    $106      $97       $111       $120

      Bulgaria               Associate                   11         $143        $170       $193      $171      $159       $146

      Canada                 Partner                    759         $418        $557       $735      $584      $570       $552

                             Associate                  461         $285        $385       $492      $409      $387       $356

                             Paralegal                  414         $138        $207       $281      $212      $201       $189

      Cayman Islands         Partner                     33         $920        $950      $1,076     $973      $947       $964

      Chile                  Partner                     11         $320        $325       $350      $403      $335       $293

                             Associate                   18         $202        $255       $308      $263      $204       $207

      China                  Partner                    132         $498        $624       $841      $663      $674       $672

                             Associate                  265         $230        $341       $474      $370      $385       $357

                             Paralegal                   99         $175        $243       $318      $252      $232       $214

      Colombia               Partner                     13         $349        $419       $570      $442      $342       $251

                             Associate                   42         $190        $222       $329      $256      $252       $224

      Czech Republic         Partner                     15         $170        $312       $434      $354      $344       $381

                             Associate                   31         $227        $289       $331      $271      $233       $276

                             Paralegal                   11         $94         $100       $128      $106      $117       $114

      Denmark                Partner                     15         $425        $509       $548      $487      $480       $467

                             Associate                   25         $187        $244       $358      $273      $311       $306

      Finland                Partner                     15         $307        $574       $599      $474      $540       $531

                             Associate                   36         $234        $332       $417      $332      $316       $325

                             Paralegal                   15         $86             $86    $114      $106      $132       $148




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     Countries                                                            Page 2


     Countries

     2019 -- Real Rates for Partners, Associates, and Paralegals                                   Trend Analysis (Mean)

              Country                   Role            n       First        Median    Third     2019      2018       2017
                                                               Quartile               Quartile

     France                 Partner                    179         $476        $514    $649      $552      $547       $554

                            Associate                  362         $275        $350    $450      $375      $367       $350

                            Paralegal                   61         $170        $195    $248      $203      $210       $197

     Germany                Partner                    265         $365        $500    $638      $513      $516       $508

                            Associate                  422         $328        $366    $469      $412      $391       $378

                            Paralegal                   80         $167        $204    $234      $218      $211       $196

     Greece                 Associate                   13         $146        $187    $229      $198      $270       $243

     Hong Kong              Partner                     76         $730        $842   $1,009     $873      $816       $801

                            Associate                  133         $150        $294    $514      $350      $396       $428

                            Paralegal                   44         $235        $280    $338      $294      $263       $251

     India                  Partner                     28         $312        $327    $375      $352      $361       $369

                            Associate                   47         $175        $200    $250      $203      $215       $205

     Indonesia              Associate                   19         $180        $270    $342      $262      $272       $280

     Ireland                Partner                     79         $442        $557    $605      $523      $543       $536

                            Associate                  123         $309        $375    $442      $377      $383       $388

                            Paralegal                   81         $160        $172    $230      $198      $213       $211

     Israel                 Partner                     32         $234        $391    $467      $371      $397       $368

                            Associate                   41         $210        $265    $300      $257      $247       $246

                            Paralegal                   27         $110        $150    $210      $155      $152       $142

     Italy                  Partner                     41         $303        $477    $598      $495      $478       $546

                            Associate                  136         $220        $280    $382      $307      $306       $315

                            Paralegal                   23         $111        $147    $209      $154      $132       $151

     Japan                  Partner                     89         $300        $440    $655      $498      $449       $450

                            Associate                   87         $232        $310    $444      $363      $355       $332

                            Paralegal                   38         $118        $161    $198      $168      $175       $148

     Korea, Republic of     Partner                    150         $520        $600    $710      $609      $594       $577

                            Associate                  157         $220        $300    $350      $286      $303       $308

                            Paralegal                   44         $150        $190    $250      $197      $199       $221

     Luxembourg             Partner                     33         $598        $676    $760      $673      $716       $708

                            Associate                   72         $304        $384    $506      $411      $401       $431

                            Paralegal                   16         $211        $254    $275      $245      $233       $248

     Malaysia               Partner                     11         $380        $517    $600      $473      $493       $363

                            Associate                   21         $227        $283    $450      $319      $289       $296




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020
      Countries                                                            Page 3


      Countries

      2019 -- Real Rates for Partners, Associates, and Paralegals                                      Trend Analysis (Mean)

              Country                    Role            n       First        Median       Third     2019      2018       2017
                                                                Quartile                  Quartile

      Mexico                 Partner                     34         $257        $345       $457      $357      $305       $261

                             Associate                   59         $211        $263       $320      $282      $267       $222

                             Paralegal                   21         $89         $105       $169      $124      $127       $125

      Netherlands            Partner                     92         $429        $505       $643      $547      $580       $581

                             Associate                  242         $270        $339       $435      $356      $373       $382

                             Paralegal                   36         $166        $225       $258      $210      $261       $247

      New Zealand            Partner                     20         $385        $459       $500      $427      $411       $410

                             Associate                   26         $175        $287       $425      $341      $311       $280

      Norway                 Partner                     19         $344        $376       $419      $395      $453       $408

                             Associate                   19         $217        $249       $300      $269      $309       $239

      Philippines            Associate                   17         $176        $218       $256      $203      $191       $208

      Poland                 Partner                     26         $183        $216       $277      $266      $305       $453

                             Associate                  102         $155        $179       $239      $206      $208       $276

                             Paralegal                   18         $83             $94    $106      $99        $97       $112

      Russian Federation     Partner                     38         $580        $701       $800      $683      $655       $652

                             Associate                  109         $300        $350       $475      $380      $379       $369

                             Paralegal                   67         $123        $150       $205      $163      $174       $186

      Saudi Arabia           Associate                   13         $385        $414       $510      $426      $445       $451

      Singapore              Partner                     57         $468        $641       $842      $630      $625       $589

                             Associate                   93         $302        $442       $610      $464      $445       $428

                             Paralegal                   13         $205        $240       $354      $258      $300       $229

      Slovakia               Associate                   11         $102        $217       $290      $225      $262       $268

      South Africa           Partner                     28         $255        $340       $391      $323      $324       $310

                             Associate                   31         $152        $175       $215      $195      $169       $179

      Spain                  Partner                     50         $373        $534       $716      $537      $488       $500

                             Associate                  151         $253        $359       $474      $378      $350       $361

                             Paralegal                   27         $187        $195       $234      $215      $181       $202

      Sweden                 Partner                     17         $334        $358       $417      $404      $441       $453

                             Associate                   22         $217        $337       $394      $311      $308       $317

      Switzerland            Partner                     37         $387        $481       $559      $506      $511       $524

                             Associate                   50         $285        $347       $406      $353      $328       $353

      Taiwan                 Partner                     31         $336        $360       $459      $394      $426       $422

                             Associate                   94         $146        $189       $260      $215      $230       $214

                             Paralegal                   37         $115        $200       $200      $165      $186       $161




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     Countries                                                            Page 4


     Countries

     2019 -- Real Rates for Partners, Associates, and Paralegals                                   Trend Analysis (Mean)

            Country                     Role            n       First        Median    Third     2019      2018       2017
                                                               Quartile               Quartile

     Thailand               Partner                     14         $210        $388    $834      $505      $470       $462

                            Associate                   17         $319        $344    $509      $416      $372       $285

     Turkey                 Partner                     13         $345        $401    $443      $395      $391       $412

                            Associate                   41         $175        $205    $229      $209      $214       $211

     Ukraine                Partner                     11         $260        $400    $413      $351      $318       $328

                            Associate                   18         $210        $290    $315      $272      $271       $210

     United Arab            Partner                     32         $569        $688    $762      $693      $713       $727
     Emirates
                            Associate                   63         $345        $440    $535      $459      $494       $489

                            Paralegal                   17         $163        $209    $323      $249      $283       $310

     United Kingdom         Partner                    615         $626        $733    $894      $764      $733       $718

                            Associate                 1149         $358        $482    $608      $494      $487       $477

                            Paralegal                  343         $135        $185    $233      $188      $211       $219

     United States          Partner                   14142        $400        $610    $894      $680      $659       $630

                            Associate                 14341        $295        $425    $615      $479      $462       $439

                            Paralegal                 6431         $150        $213    $289      $225      $211       $201




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20
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                                                          By Role

     Australia
           Australia
     By Role       By Role


     2019 -- Real Rates for Partners, Associates, and Paralegals               Trend Analysis (Mean)

                 Role              n     First       Median          Third     2019     2018     2017
                                        Quartile                    Quartile

     Partner                   154       $375         $484           $588      $498     $516     $536

     Associate                 221       $234         $302           $409      $325     $342     $339

     Paralegal                 38        $134         $156           $210      $205     $184     $198




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     Australia
20                                                     By Practice Area and Matter Type


           Australia
     By By
        Practice       Area and Matter Type
           Practice Area and Matter Type


     2019 -- Real Rates for Partners, Associates, and Paralegals                                     Trend Analysis (Mean)

       Practice Area    MatterType
                        Matter Type      Role     n     First             Median           Third     2019     2018     2017
                                                       Quartile                           Quartile

     Commercial        Non-Litigation Partner     21      $356              $380           $463      $401     $463     $451

                                      Associate   26      $208              $225           $286      $254     $307     $293

     Corporate:        Non-Litigation Associate   12      $228              $240           $331      $268     $318     $355
     Other
     Corporate:        Non-Litigation Partner     17      $369              $481           $559      $446     $475     $502
     Regulatory and
                                      Associate   31      $227              $300           $362      $302     $297     $321
     Compliance
     Employment        Non-Litigation Associate   11      $294              $407           $416      $356     $320     $319
     and Labor:
     Other
     Intellectual      Litigation     Partner     14      $295              $489           $605      $486     $605     $632
     Property:
                                      Associate   37      $250              $325           $451      $352     $352     $355
     Patents
                       Non-Litigation Partner     21      $295              $473           $589      $466     $490     $560

                                      Associate   19      $274              $434           $518      $407     $378     $411

     Intellectual      Non-Litigation Associate   11      $242              $302           $384      $317     $374     $357
     Property:
     Trademarks




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     Australia
20                                                          By Industry Group and Matter Type


           Australia
     ByByIndustry      Group and Matter Type
          Industry Group and Matter Type


     2019 -- Real Rates for Partners and Associates                                                        Trend Analysis (Mean)

        Industry Group       MatterType
                             Matter Type      Role     n         First            Median         Third     2019      2018    2017
                                                                Quartile                        Quartile

     Financials Excluding   Non-Litigation Partner     39         $532              $572         $643      $615      $587    $651
     Insurance
                                           Associate   54         $244              $352         $408      $344      $390    $366

     Health Care            Litigation     Partner     19         $311              $395         $596      $468      $551    $558

                                           Associate   39         $242              $325         $450      $345      $352    $334

                            Non-Litigation Partner     20         $402              $535         $671      $545      $524    $540

                                           Associate   25         $279              $420         $488      $394      $371    $363

     Industrials            Non-Litigation Partner     13         $460              $535         $671      $558      $585    $609

     Technology and     Non-Litigation Partner         34         $357              $458         $487      $431      $466    $514
     Telecommunications
                                       Associate       59         $209              $272         $354      $293      $296    $309




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     Australia
20                                                        By Firm Size


           Australia
     By Firm Size
              By Firm Size


     2019 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

           Firm Size             Role    n     First     Median           Third     2019     2018     2017
                                              Quartile                   Quartile

     51-200 Lawyers          Partner     21    $317       $368            $381      $362     $473     $467

                             Associate   28    $195       $278            $394      $301     $314     $323

     201-500 Lawyers         Partner     17    $527       $582            $594      $564     $582     $633

                             Associate   34    $271       $344            $433      $348     $363     $352

     501-1,000 Lawyers       Associate   11    $273       $330            $369      $328     $341     $343

     More Than 1,000         Partner     39    $528       $580            $720      $623     $604     $641
     Lawyers
                             Associate   57    $304       $375            $427      $373     $403     $393




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     CanadaCanada
20                                                        By Role




     By Role       By Role


     2019 -- Real Rates for Partners, Associates, and Paralegals               Trend Analysis (Mean)

                 Role              n     First       Median          Third     2019     2018     2017
                                        Quartile                    Quartile

     Partner                   759       $418         $557           $735      $584     $570     $552

     Associate                 461       $285         $385           $492      $409     $387     $356

     Paralegal                 414       $138         $207           $281      $212     $201     $189




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                                                           By Practice Area and Matter Type 1

     CanadaCanada
     By By
        Practice       Area
           Practice Area      andType
                         and Matter Matter Type

     2019 -- Real Rates for Partners, Associates, and Paralegals                                           Trend Analysis (Mean)

       Practice Area      MatterType
                          Matter Type        Role    n        First             Median           Third     2019     2018     2017
                                                             Quartile                           Quartile

     Bankruptcy and     Non-Litigation Partner       29        $313               $389           $406      $379     $396     $398
     Collections
     Commercial         Litigation       Partner     140       $368               $495           $651      $523     $520     $517

                                         Associate   123       $285               $374           $494      $407     $389     $353

                        Non-Litigation Partner       147       $499               $662           $819      $652     $655     $629

                                         Associate   69        $390               $490           $659      $525     $470     $422

                                         Paralegal   55        $210               $263           $314      $270     $234     $233

     Corporate:         Litigation       Partner     61        $452               $630           $734      $606     $572     $518
     Other
                                         Associate   26        $396               $458           $580      $488     $455     $365

                                         Paralegal   46        $214               $256           $311      $254     $218     $193

                        Non-Litigation Partner       179       $498               $656           $806      $656     $659     $616

                                         Associate   76        $339               $450           $620      $483     $479     $442

                                         Paralegal   84        $172               $230           $293      $230     $230     $208

     Corporate:         Litigation       Partner     14        $486               $614           $773      $635     $686     $539
     Regulatory and
                        Non-Litigation Partner       43        $525               $630           $702      $624     $628     $583
     Compliance
                                         Paralegal   11        $233               $282           $328      $277     $251     $221

     Corporate: Tax     Non-Litigation Partner       21        $850               $875           $895      $814     $695     $716

     Employment         Litigation       Partner     12        $413               $506           $674      $567     $562     $534
     and Labor:
                        Non-Litigation Partner       45        $424               $525           $634      $566     $514     $490
     Other
                                         Associate   20        $327               $437           $597      $473     $331     $335

     Finance and     Non-Litigation Partner          87        $590               $760           $872      $742     $716     $683
     Securities:
                                    Associate        28        $394               $440           $550      $495     $552     $477
     Investments and
     Other Financial                Paralegal        36        $281               $300           $361      $302     $267     $247

     Instruments
     Finance and       Non-Litigation Partner        30        $547               $644           $704      $619     $626     $668
     Securities: Loans
                                      Paralegal      12        $170               $224           $255      $211     $229     $226
     and Financing
     General Liability: Litigation       Partner     15        $470               $528           $580      $540     $520     $497
     Product and
     Product Liability
     Insurance          Litigation       Partner     17        $225               $290           $335      $315     $318     $253
     Defense: Other




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      CanadaCanada
020                                                      By Practice Area and Matter Type 2




      By Practice      Area and Matter Type
         By Practice Area and Matter Type


      2019 -- Real Rates for Partners, Associates, and Paralegals                                        Trend Analysis (Mean)

         Practice Area    MatterType
                          Matter Type      Role     n       First             Median           Third     2019     2018     2017
                                                           Quartile                           Quartile

       Intellectual      Litigation     Partner     23       $396               $560           $698      $550     $575     $493
       Property:
                         Non-Litigation Partner     22       $315               $435           $463      $421     $436     $441
       Patents
                                        Associate   12       $220               $300           $331      $272     $264     $252

       Intellectual      Non-Litigation Partner     15       $385               $470           $590      $480     $502     $481
       Property:
       Trademarks




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     CanadaCanada
20                                                           By Industry Group and Matter Type




     By ByIndustry      Group and Matter Type
           Industry Group and Matter Type


     2019 -- Real Rates for Partners and Associates                                                         Trend Analysis (Mean)

        Industry Group       MatterType
                             Matter Type      Role     n          First            Median         Third     2019      2018    2017
                                                                 Quartile                        Quartile

     Consumer Services      Non-Litigation Partner     16          $555              $696         $770      $672      $759    $817

     Financials Excluding   Litigation     Partner     288         $367              $465         $594      $501      $489    $480
     Insurance
                            Non-Litigation Partner     334         $525              $700         $850      $684      $671    $641

                                           Associate   146         $395              $492         $653      $526      $496    $439

     Health Care            Litigation     Partner     39          $412              $555         $662      $554      $562    $506

                                           Associate   13          $298              $333         $411      $329      $314    $281

                            Non-Litigation Partner     26          $406              $470         $585      $486      $471    $500

                                           Associate   11          $238              $278         $333      $289      $286    $304

     Industrials            Litigation     Partner     13          $463              $667         $690      $579      $410    $396

                            Non-Litigation Partner     53          $417              $503         $627      $550      $464    $436

                                           Associate   18          $254              $303         $376      $313      $292    $300

     Technology and     Litigation     Partner         20          $427              $556         $605      $549      $556    $506
     Telecommunications
                        Non-Litigation Partner         63          $401              $533         $636      $518      $492    $502

                                           Associate   34          $270              $358         $436      $352      $327    $310




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     CanadaCanada
20                                                         By Firm Size




     By Firm Size
              By Firm Size


     2019 -- Real Rates for Partners and Associates                                  Trend Analysis (Mean)

           Firm Size             Role    n      First     Median           Third     2019     2018     2017
                                               Quartile                   Quartile

     50 Lawyers or           Partner     61     $350       $397            $466      $420     $411     $406
     Fewer
                             Associate   55     $243       $275            $332      $291     $271     $253

     51-200 Lawyers          Partner     128    $404       $495            $595      $514     $500     $526

                             Associate   69     $266       $350            $450      $375     $340     $346

     201-500 Lawyers         Partner     268    $486       $649            $805      $641     $640     $595

                             Associate   148    $334       $419            $505      $437     $432     $385

     501-1,000 Lawyers       Partner     230    $495       $604            $769      $626     $604     $586

                             Associate   138    $335       $442            $585      $478     $432     $383




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     France France
20                                                        By Role




     By Role       By Role


     2019 -- Real Rates for Partners, Associates, and Paralegals               Trend Analysis (Mean)

                 Role              n     First       Median          Third     2019     2018     2017
                                        Quartile                    Quartile

     Partner                   179       $476         $514           $649      $552     $547     $554

     Associate                 362       $275         $350           $450      $375     $367     $350

     Paralegal                 61        $170         $195           $248      $203     $210     $197




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     France France
20                                                     By Practice Area and Matter Type




     By Practice       Area and Matter Type
        By Practice Area and Matter Type


     2019 -- Real Rates for Partners, Associates, and Paralegals                                     Trend Analysis (Mean)

       Practice Area    MatterType
                        Matter Type      Role     n     First             Median           Third     2019     2018     2017
                                                       Quartile                           Quartile

     Commercial        Litigation     Partner     17      $377              $494           $531      $461     $500     $472

                                      Associate   19      $232              $290           $335      $300     $367     $282

                       Non-Litigation Partner     15      $469              $550           $684      $568     $495     $492

                                      Associate   26      $235              $341           $475      $386     $350     $284

     Corporate:       Non-Litigation Partner      14      $500              $527           $775      $624     $948     $660
     Mergers,
                                     Associate    21      $315              $476           $626      $499     $481     $429
     Acquisitions and
     Divestitures
     Corporate:        Non-Litigation Partner     32      $353              $456           $540      $512     $467     $493
     Other
                                      Associate   36      $193              $259           $411      $354     $331     $318

     Corporate:        Non-Litigation Partner     14      $493              $504           $563      $530     $569     $539
     Regulatory and
                                      Associate   21      $252              $265           $334      $310     $312     $316
     Compliance
     Employment        Non-Litigation Associate   12      $288              $316           $427      $350     $333     $345
     and Labor:
     Other
     Finance and     Non-Litigation Partner       25      $510              $594           $758      $641     $630     $770
     Securities:
                                    Associate     55      $292              $377           $466      $398     $408     $510
     Investments and
     Other Financial
     Instruments




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      France France
020                                                           By Industry Group and Matter Type




      By By
         Industry       Group and Matter Type
            Industry Group and Matter Type


      2019 -- Real Rates for Partners and Associates                                                         Trend Analysis (Mean)

         Industry Group       MatterType
                              Matter Type      Role     n          First            Median         Third     2019      2018    2017
                                                                  Quartile                        Quartile

      Financials Excluding   Litigation     Associate   11          $290              $300         $425      $353      $346    $410
      Insurance
                             Non-Litigation Partner     93          $496              $514         $665      $558      $558    $562

                                            Associate   204         $290              $373         $454      $382      $372    $368

      Health Care            Litigation     Partner     12          $594              $648         $705      $644      $653    $598

                                            Associate   34          $290              $356         $464      $390      $384    $381

                             Non-Litigation Partner     18          $569              $707         $843      $709      $655    $559

                                            Associate   33          $277              $403         $600      $439      $376    $294

      Technology and     Litigation     Associate       12          $252              $291         $362      $321      $296    $318
      Telecommunications
                         Non-Litigation Partner         30          $432              $495         $568      $488      $489    $512

                                            Associate   49          $245              $268         $327      $294      $304    $296




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     France France
20                                                         By Firm Size




     By Firm Size
              By Firm Size


     2019 -- Real Rates for Partners and Associates                                  Trend Analysis (Mean)

           Firm Size             Role    n      First     Median           Third     2019     2018     2017
                                               Quartile                   Quartile

     50 Lawyers or           Partner     16     $316       $362            $453      $409     $404     $438
     Fewer
                             Associate   22     $165       $227            $258      $231     $219     $227

     51-200 Lawyers          Partner     11     $450       $475            $504      $481     $470     $480

                             Associate   21     $239       $250            $317      $270     $258     $246

     501-1,000 Lawyers       Partner     21     $500       $500            $550      $558     $566     $627

                             Associate   58     $290       $350            $450      $379     $384     $340

     More Than 1,000         Partner     85     $515       $606            $721      $631     $619     $609
     Lawyers
                             Associate   206    $304       $399            $490      $418     $403     $395




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     Germany
20                                                        By Role


          Germany
     By Role       By Role


     2019 -- Real Rates for Partners, Associates, and Paralegals               Trend Analysis (Mean)

                 Role              n     First       Median          Third     2019     2018     2017
                                        Quartile                    Quartile

     Partner                   265       $365         $500           $638      $513     $516     $508

     Associate                 422       $328         $366           $469      $412     $391     $378

     Paralegal                 80        $167         $204           $234      $218     $211     $196




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     Germany
20                                                     By Practice Area and Matter Type


          Germany
     By By
        Practice       Area and Matter Type
           Practice Area and Matter Type


     2019 -- Real Rates for Partners, Associates, and Paralegals                                     Trend Analysis (Mean)

       Practice Area    MatterType
                        Matter Type      Role     n     First             Median           Third     2019     2018     2017
                                                       Quartile                           Quartile

     Commercial        Non-Litigation Partner     33      $353              $411           $501      $407     $426     $414

                                      Associate   46      $296              $332           $353      $326     $325     $335

     Corporate:        Litigation     Partner     13      $357              $563           $625      $504     $561     $594
     Other
                       Non-Litigation Partner     12      $489              $575           $665      $577     $512     $511

                                      Associate   14      $376              $422           $556      $470     $402     $351

     Corporate:        Non-Litigation Partner     37      $353              $402           $548      $471     $468     $505
     Regulatory and
                                      Associate   64      $336              $353           $381      $385     $365     $377
     Compliance
     Corporate: Tax    Non-Litigation Associate   13      $371              $450           $534      $450     $453     $387

     Employment        Non-Litigation Associate   17      $260              $334           $335      $302     $372     $412
     and Labor:
     Other
     Finance and       Non-Litigation Partner     20      $611              $735           $835      $711     $663     $646
     Securities: Loans
     and Financing
     Intellectual      Non-Litigation Partner     13      $307              $328           $406      $344     $371     $380
     Property: Other
     Intellectual      Litigation     Partner     32      $424              $547           $689      $550     $571     $502
     Property:
                                      Associate   30      $333              $360           $437      $386     $385     $362
     Patents
                       Non-Litigation Partner     55      $331              $386           $463      $407     $429     $444

                                      Associate   46      $278              $338           $373      $374     $343     $346

     Intellectual      Non-Litigation Associate   15      $355              $378           $393      $374     $375     $345
     Property:
                                      Paralegal   15      $219              $233           $235      $228     $232     $170
     Trademarks




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     Germany
20                                                           By Industry Group and Matter Type


          Germany
     ByByIndustry      Group and Matter Type
          Industry Group and Matter Type


     2019 -- Real Rates for Partners and Associates                                                         Trend Analysis (Mean)

        Industry Group       MatterType
                             Matter Type      Role     n          First            Median         Third     2019      2018    2017
                                                                 Quartile                        Quartile

     Financials Excluding   Non-Litigation Partner     49          $558              $629         $810      $669      $671    $684
     Insurance
                                           Associate   124         $362              $435         $575      $468      $458    $443

     Health Care            Litigation     Partner     28          $428              $545         $697      $563      $578    $527

                                           Associate   41          $349              $388         $507      $425      $411    $387

                            Non-Litigation Partner     49          $376              $412         $509      $463      $465    $488

                                           Associate   73          $275              $337         $401      $364      $341    $360

     Industrials            Non-Litigation Partner     27          $326              $337         $488      $445      $448    $417

                                           Associate   33          $365              $562         $741      $553      $438    $361

     Technology and     Litigation     Partner         27          $365              $594         $681      $548      $554    $522
     Telecommunications
                        Non-Litigation Partner         81          $353              $413         $541      $453      $435    $424

                                           Associate   105         $319              $353         $372      $365      $342    $337




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                                                           By Firm Size


     Germany
          Germany
     By Firm Size
              By Firm Size


     2019 -- Real Rates for Partners and Associates                                  Trend Analysis (Mean)

           Firm Size             Role    n      First     Median           Third     2019     2018     2017
                                               Quartile                   Quartile

     50 Lawyers or           Partner     13     $329       $386            $458      $377     $406     $376
     Fewer
                             Associate   17     $287       $348            $412      $355     $365     $378

     51-200 Lawyers          Partner     20     $356       $366            $403      $373     $382     $347

                             Associate   14     $275       $312            $335      $317     $304     $282

     201-500 Lawyers         Partner     45     $353       $412            $500      $420     $433     $398

                             Associate   54     $299       $353            $362      $339     $339     $331

     501-1,000 Lawyers       Associate   14     $294       $368            $402      $363     $356     $328

     More Than 1,000         Partner     128    $512       $620            $753      $626     $623     $616
     Lawyers
                             Associate   274    $343       $407            $549      $445     $427     $412




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      United Kingdom
020                                                        By Role


         United Kingdom
      By Role       By Role


      2019 -- Real Rates for Partners, Associates, and Paralegals               Trend Analysis (Mean)

                  Role              n     First       Median          Third     2019     2018     2017
                                         Quartile                    Quartile

      Partner                   615       $626         $733           $894      $764     $733     $718

      Associate                1149       $358         $482           $608      $494     $487     $477

      Paralegal                 343       $135         $185           $233      $188     $211     $219




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      United Kingdom
020                                                      By Practice Area and Matter Type 1


         United Kingdom
      By Practice      Area and Matter Type
         By Practice Area and Matter Type


      2019 -- Real Rates for Partners, Associates, and Paralegals                                        Trend Analysis (Mean)

        Practice Area    MatterType
                         Matter Type      Role     n         First             Median          Third     2019     2018     2017
                                                            Quartile                          Quartile

       Commercial       Non-Litigation Partner     33          $567               $682         $761      $711     $612     $574

                                       Associate   57          $320               $428         $545      $456     $409     $394

                                       Paralegal   14          $138               $194         $217      $187     $163     $182

       Corporate:       Non-Litigation Partner     11          $819               $900        $1,152     $966     $789     $741
       Mergers,
                                       Associate   41          $439               $525         $679      $556     $527     $484
       Acquisitions and
       Divestitures
       Corporate:       Litigation     Partner     25          $688               $822        $1,218     $897     $739     $749
       Other
                                       Associate   42          $407               $495         $564      $482     $450     $504

                                       Paralegal   16          $142               $191         $208      $193     $188     $270

                        Non-Litigation Partner     59          $658               $747         $947      $811     $785     $691

                                       Associate   93          $445               $513         $635      $561     $519     $448

                                       Paralegal   69           $67                $67          $67      $102     $235     $222

       Corporate:       Non-Litigation Partner     67          $619               $723         $872      $738     $733     $717
       Regulatory and
                                       Associate   104         $354               $437         $548      $460     $476     $478
       Compliance
                                       Paralegal   14          $175               $181         $194      $191     $218     $249

       Corporate: Tax   Non-Litigation Partner     29          $698               $846        $1,046     $884     $706     $774

                                       Associate   34          $348               $438         $600      $466     $445     $504

       Employment       Non-Litigation Partner     23          $550               $701         $701      $623     $509     $530
       and Labor:
                                       Associate   34          $273               $417         $493      $388     $348     $391
       Agreements
       Employment       Litigation     Associate   42          $358               $506         $656      $502     $498     $559
       and Labor:
                        Non-Litigation Partner     41          $533               $627         $743      $643     $635     $658
       Other
                                       Associate   67          $308               $421         $581      $456     $439     $444

       Finance and      Non-Litigation Partner     72          $696               $735         $860      $781     $763     $692
       Securities:
                                       Associate   163         $362               $505         $632      $518     $496     $455
       Debt/Equity
       Offerings
       Finance and     Non-Litigation Partner      80          $687               $735         $847      $776     $759     $822
       Securities:
                                      Associate    161         $390               $501         $607      $511     $500     $507
       Investments and
       Other Financial                Paralegal    42          $171               $196         $282      $217     $211     $208

       Instruments




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     United  Kingdom
20                                                      By Practice Area and Matter Type 2


        United Kingdom
     By By
        Practice       Area and Matter Type
           Practice Area and Matter Type


     2019 -- Real Rates for Partners, Associates, and Paralegals                                        Trend Analysis (Mean)

       Practice Area    MatterType
                        Matter Type      Role     n         First             Median          Third     2019     2018     2017
                                                           Quartile                          Quartile

     Finance and       Non-Litigation Partner     59          $696             $1,019        $1,200     $984     $959     $933
     Securities: Loans
                                      Associate   100         $435               $574         $777      $595     $613     $578
     and Financing
                                      Paralegal   15          $275               $297         $361      $318     $285     $257

     Intellectual      Non-Litigation Partner     17          $254               $340         $701      $471     $397     $434
     Property: Other
                                      Associate   18          $315               $411         $619      $464     $306     $355

     Intellectual      Litigation     Partner     26          $666               $784         $840      $749     $727     $715
     Property:
                                      Associate   42          $421               $496         $613      $500     $478     $462
     Patents
                       Non-Litigation Partner     19          $355               $448         $571      $455     $432     $455

                                      Associate   21          $305               $349         $404      $363     $325     $324

                                      Paralegal   16          $139               $169         $231      $175     $202     $208

     Intellectual      Non-Litigation Associate   26          $305               $340         $421      $391     $397     $390
     Property:
                                      Paralegal   22          $183               $193         $218      $205     $202     $195
     Trademarks
     Miscellaneous:    Non-Litigation Associate   14          $439               $513         $664      $507     $437     $378
     General Advice
     & Counsel




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      United Kingdom
020                                                            By Industry Group and Matter Type


         United Kingdom
      By By
         Industry       Group and Matter Type
            Industry Group and Matter Type


      2019 -- Real Rates for Partners and Associates                                                          Trend Analysis (Mean)

          Industry Group       MatterType
                               Matter Type      Role     n          First            Median         Third     2019        2018    2017
                                                                   Quartile                        Quartile

       Consumer Services      Non-Litigation Associate   12          $360              $410         $515      $467        $465    $349

       Financials Excluding   Litigation     Partner     33          $736              $814         $949      $826        $839    $894
       Insurance
                                             Associate   70          $381              $509         $584      $498        $508    $599

                              Non-Litigation Partner     286         $684              $751         $938      $827        $803    $824

                                             Associate   572         $387              $505         $634      $522        $519    $521

       Health Care            Litigation     Partner     38          $626              $776         $896      $754        $742    $700

                                             Associate   60          $408              $458         $580      $484        $510    $472

                              Non-Litigation Partner     47          $442              $650         $757      $643        $634    $604

                                             Associate   74          $320              $370         $485      $412        $394    $378

       Industrials            Litigation     Partner     14          $792            $1,218        $1,218     $1,022      $700    $699

                              Non-Litigation Partner     42          $280              $768        $1,192     $757        $529    $560

                                             Associate   53          $369              $585         $785      $588        $413    $433

       Technology and     Litigation         Partner     11          $690              $775         $820      $756        $685    $710
       Telecommunications
                                             Associate   18          $344              $503         $596      $496        $416    $450

                              Non-Litigation Partner     108         $562              $676         $745      $656        $620    $604

                                             Associate   204         $297              $411         $515      $425        $419    $387




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     United Kingdom
20                                                         By Firm Size


        United Kingdom
     By Firm Size
              By Firm Size


     2019 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

           Firm Size             Role    n      First     Median           Third     2019      2018     2017
                                               Quartile                   Quartile

     50 Lawyers or           Partner     15     $610       $626            $667      $602      $529     $449
     Fewer
                             Associate   20     $305       $340            $393      $351      $413     $390

     51-200 Lawyers          Partner     22     $255       $317            $504      $437      $483     $483

                             Associate   25     $268       $309            $393      $347      $373     $351

     201-500 Lawyers         Partner     38     $580       $701            $756      $676      $695     $635

                             Associate   71     $355       $428            $493      $427      $448     $384

     501-1,000 Lawyers       Partner     20     $797      $1,058          $1,266     $1,027    $844     $864

                             Associate   44     $425       $597            $815      $603      $547     $531

     More Than 1,000         Partner     392    $683       $757            $936      $817      $793     $787
     Lawyers
                             Associate   775    $364       $507            $634      $513      $515     $510




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 Section VI:
 Matter Staffing
 Analysis




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    Section VI: Matter Staffing Analysis#:38773

    Short Litgation Matters, 40 to 100 Total Hours Billed
    2017 to 2019 -- Percentage of Hours Billed per Matter


                             Partners   Associates      Paralegals   n = number of matters billed                                      n

     Bankruptcy and
         Collections
                                                  55%                                        30%                      16%              1,063

         Commercial                            47%                                           42%                       11%             729

Corporate: Regulatory
     and Compliance
                                                53%                                                 41%                     6%         80

    Corporate: Other                              54%                                               39%                     7%         685

        Employment
          and Labor
                                               50%                                              44%                         6%         665

      Environmental                            49%                                     28%                      23%                    101

         Finance and
            Securities
                                            45%                                              48%                            7%         127

     General Liability                      45%                                        37%                       18%                   1,774

   Insurance Defense                            51%                                          35%                      14%              7,935

         Intellectual
    Property: Patents
                                             46%                                             47%                        7%             306

          Intellectual
      Property: Other
                                                           66%                                            31%                3% 18

       Marketing and
         Advertising
                                         37%                                     42%                             21%                   20

          Real Estate                                55%                                            39%                     6%         676

                         0%                                              50%                                                 100%

                         0                                                50                                                     100




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    Long Litgation Matters, More Than 100 Total Hours Billed
    2017 to 2019 -- Percentage of Hours Billed per Matter


                             Partners   Associates        Paralegals   n = number of matters billed                               n

     Bankruptcy and
                                                    54%                                               38%             8%          447
         Collections

         Commercial                      39%                                             47%                      14%             839

Corporate: Regulatory
     and Compliance
                                        34%                                              57%                          9%          224

    Corporate: Other                      41%                                               49%                      10%          904

        Employment
          and Labor
                                        36%                                           50%                         14%             757

      Environmental                                  59%                                              29%            12%          120

         Finance and
            Securities
                                        35%                                            53%                           12%          202

     General Liability                   38%                                       40%                         22%                1,996

   Insurance Defense                          47%                                            38%                  15%             5,975

         Intellectual                     39%                                             51%                        10%          638
    Property: Patents

Intellectual Property:                   36%                                                 60%                           4% 16
          Trademarks

          Intellectual                    39%                                            49%                         12%          31
      Property: Other

       Marketing and
         Advertising
                                          41%                                             47%                        12%          37

          Real Estate                                57%                                               35%            8%          691

                         0%                                                50%                                              100%

                         0                                                  50                                              100




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    Short Non-Litgation Matters, 40 to 100 Total Hours Billed
    2017 to 2019 -- Percentage of Hours Billed per Matter


                             Partners   Associates      Paralegals   n = number of matters billed                                        n

     Bankruptcy and
                                                            70%                                                 24%            6%        218
         Collections

           Corporate                            49%                                            44%                            8%         227

         Commercial                             52%                                                 41%                       7%         610
  Corporate: Mergers,
      Acquisitions &                             54%                                                 42%                       5% 102
         Divestitures
Corporate: Regulatory
     and Compliance
                                              47%                                             46%                             7%         505

    Corporate: Other                             52%                                                41%                       7%         897

        Employment
          and Labor
                                                 53%                                                39%                       8%         760

      Environmental                                         72%                                                   26%              2% 47

         Finance and
            Securities
                                          41%                                              52%                                7%         1,570

         Government
           Relations
                                                 53%                                                 45%                           2% 36

         Intellectual
    Property: Patents
                                          39%                                          47%                               14%             2,259

Intellectual Property:
          Trademarks
                                        32%                                     47%                                     21%              133

          Intellectual
      Property: Other
                                              44%                                          46%                                9%         113

       Marketing and
         Advertising
                                                      60%                                            29%                  10%            25

          Real Estate                                 59%                                                 35%                  6%        1,729

                         0%                                              50%                                                       100%

                         0                                                50                                                       100




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    Section VI: Matter Staffing Analysis#:38776

    Long Non-Litgation Matters, More Than 100 Total Hours Billed
    2017 to 2019 -- Percentage of Hours Billed per Matter


                             Partners      Associates       Paralegals    n = number of matters billed                                  n

     Bankruptcy and
                                                        58%                                               35%                7%         174
         Collections

         Commercial                              49%                                                43%                     8%          725
  Corporate: Mergers,
      Acquisitions &                23%                                  42%                                    35%                     330
         Divestitures

Corporate: Regulatory
     and Compliance
                                                43%                                              48%                        9%          738

    Corporate: Other                          39%                                            48%                       12%              1,415

        Employment
          and Labor
                                                43%                                                48%                      9%          811

      Environmental                                   53%                                                39%                7%          81

         Finance and
                                        30%                                                61%                              9%          2,378
            Securities

         Government
                                                    49%                                                  48%                  3% 54
           Relations

         Intellectual
                                                 46%                                               45%                      8%          329
    Property: Patents

Intellectual Property:
          Trademarks
                                        30%                                          51%                              19%               161

          Intellectual
      Property: Other
                                          32%                                         52%                              16%              107

       Marketing and
         Advertising
                                            38%                                              48%                       15%              43

          Real Estate                                   58%                                               34%               8%          1,319

                         0%                                                    50%                                               100%

                         0                                                     50                                                 100




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 Appendix:
 Data Methodology




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Appendix: Data Methodology


Invoice Information                                  Non-Invoice Information

Data in Wolters Kluwer’s ELM Solutions reference     To capture practice area details, the matter ID
database and in the 2020 Real Rate Report were       within each invoice was associated with matter
taken from invoice line item entries contained in    profiles containing areas of work in the systems
invoices received and approved by participating      of each company. The areas of work were then
companies.                                           systematically categorized into legal practice
                                                     areas. Normalization of practice areas was done
Invoice data were received in the Legal Electronic   based on company mappings to system-level
Data Exchange Standard (LEDES) format (LEDES.        practice areas available in the ELM Solutions
org). The following information was extracted        system and by naming convention.
from those invoices and their line items:
                                                     The majority of analyses included in this report
• Law firm (which exists as a random number in       have been mapped to one of 12 practice areas,
  the ELM Solutions reference database)              further divided into sub-areas and litigation/
• Timekeeper ID (which exists as a random            non-litigation (for more information on practice
  number in the ELM Solutions reference              areas and sub-areas, please refer to pages 164-
  database)                                          166).

• Matter ID (which exists as a random number in      To capture location and jurisdiction details,
  the ELM Solutions reference database)              law firms and timekeepers were systematically
• Timekeeper’s position (role) within the law firm   mapped to the existing profiles within ELM
  (partner, associate, paralegal, etc.)              Solutions systems, as well as with publicly
                                                     available data sources for further validation and
• Uniform Task-Based Management System Code          normalization. Where city location information
  Set, Task Codes, and Activity Codes (UTBMS.        is provided, it includes any address within that
  com)                                               city’s defined Core-Based Statistical Area (CBSA)
• Date of service                                    as defined by the Office of Management and
                                                     Budget (OMB). The CBSAs are urban centers
• Hours billed                                       with populations of 10,000 or more and include
• Hourly rate billed                                 all adjacent counties that are economically
                                                     integrated with that urban center.
• Fees billed
                                                     Where the analyses focus on partners, associates,
                                                     and paralegals, the underlying data occasionally
                                                     included some sub-roles, such as “senior
                                                     partner” or “junior associate.” In such instances,
                                                     those timekeeper sub-roles were placed within
                                                     the broader partner, associate, and paralegal
                                                     segments.

                                                     Demographics regarding law firm size, location,
                                                     and lawyer years of experience were augmented
                                                     by incorporating publicly available information.




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Appendix: Data Methodology
A Note on US Cities
Throughout the report, we have used city names to refer to CBSA and consistently used the principal city
in the CBSA to refer to the entire area. The following are the shorthand city names used in this report and
the corresponding CBSA designations, as defined by the OMB.


Principal City                         CBSA Name

Akron, OH                             Akron, OH
Albany, NY                            Albany-Schenectady-Troy, NY
Albuquerque, NM                       Albuquerque, NM
Atlanta, GA                           Atlanta-Sandy Springs-Alpharetta, GA
Atlantic City, NJ                     Atlantic City-Hammonton, NJ
Austin, TX                            Austin-Round Rock-Georgetown, TX
Baltimore, MD                         Baltimore-Columbia-Towson, MD
Baton Rouge, LA                       Baton Rouge, LA
Birmingham, AL                        Birmingham-Hoover, AL
Boise City, ID                        Boise City, ID
Boston, MA                            Boston-Cambridge-Newton, MA-NH
Bridgeport, CT                        Bridgeport-Stamford-Norwalk, CT
Buffalo, NY                           Buffalo-Cheektowaga, NY
Burlington, VT                        Burlington-South Burlington, VT
Charleston, SC                        Charleston-North Charleston, SC
Charleston, WV                        Charleston, WV
Charlotte, NC                         Charlotte-Concord-Gastonia, NC-SC
Chicago, IL                           Chicago-Naperville-Elgin, IL-IN-WI
Cincinnati, OH                        Cincinnati, OH-KY-IN
Cleveland, OH                         Cleveland-Elyria, OH
Columbia, SC                          Columbia, SC
Columbus, OH                          Columbus, OH
Dallas, TX                            Dallas-Fort Worth-Arlington, TX
Dayton, OH                            Dayton-Kettering, OH
Denver, CO                            Denver-Aurora-Lakewood, CO
Des Moines, IA                        Des Moines-West Des Moines, IA
Detroit, MI                           Detroit-Warren-Dearborn, MI
Fresno, CA                            Fresno, CA
Grand Rapids, MI                      Grand Rapids-Kentwood, MI
Greenville, SC                        Greenville-Anderson, SC
Harrisburg, PA                        Harrisburg-Carlisle, PA
Hartford, CT                          Hartford-East Hartford-Middletown, CT


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Appendix: Data Methodology
A Note on US Cities


Principal City                 CBSA Name

Honolulu, HI                  Urban Honolulu HI
Houston, TX                   Houston-The Woodlands-Sugar Land, TX
Indianapolis, IN              Indianapolis-Carmel-Anderson, IN
Jackson, MS                   Jackson, MS
Jacksonville, FL              Jacksonville, FL
Kansas City, MO               Kansas City, MO-KS
Knoxville, TN                 Knoxville, TN
Lafayette, LA                 Lafayette, LA
Las Vegas, NV                 Las Vegas-Henderson-Paradise, NV
Lexington, KY                 Lexington-Fayette, KY
Little Rock, AR               Little Rock-North Little Rock-Conway, AR
Los Angeles, CA               Los Angeles-Long Beach-Anaheim, CA
Louisville, KY                Louisville/Jefferson County, KY-IN
Madison, WI                   Madison, WI
Miami, FL                     Miami-Fort Lauderdale-Pompano Beach, FL
Milwaukee, WI                 Milwaukee-Waukesha, WI
Minneapolis, MN               Minneapolis-St. Paul-Bloomington, MN-WI
Nashville, TN                 Nashville-Davidson-Murfreesboro-Franklin, TN
New Haven, CT                 New Haven-Milford, CT
New Orleans, LA               New Orleans-Metairie, LA
New York, NY                  New York-Newark-Jersey City, NY-NJ-PA
Oklahoma City, OK             Oklahoma City, OK
Omaha, NE                     Omaha-Council Bluffs, NE-IA
Orlando, FL                   Orlando-Kissimmee-Sanford, FL
Philadelphia, PA              Philadelphia-Camden-Wilmington, PA-NJ-DE-MD
Phoenix, AZ                   Phoenix-Mesa-Chandler, AZ
Pittsburgh, PA                Pittsburgh, PA
Portland, ME                  Portland-South Portland, ME
Portland, OR                  Portland-Vancouver-Hillsboro, OR-WA
Providence, RI                Providence-Warwick, RI-MA
Raleigh, NC                   Raleigh-Cary, NC
Richmond, VA                  Richmond, VA
Rochester, NY                 Rochester, NY
Sacramento, CA                Sacramento-Roseville-Folsom, CA



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Appendix: Data Methodology
A Note on US Cities


Principal City                 CBSA Name

Salt Lake City, UT            Salt Lake City, UT
San Diego, CA                 San Diego-Chula Vista-Carlsbad, CA
San Francisco, CA             San Francisco-Oakland-Berkeley, CA
San Jose, CA                  San Jose-Sunnyvale-Santa Clara, CA
San Juan, PR                  San Juan-Bayamon-Caguas, PR
Savannah, GA                  Savannah, GA
Seattle, WA                   Seattle-Tacoma-Bellevue, WA
St. Louis, MO                 St. Louis, MO-IL
Syracuse, NY                  Syracuse, NY
Tallahassee, FL               Tallahassee, FL
Tampa, FL                     Tampa-St. Petersburg-Clearwater, FL
Toledo, OH                    Toledo, OH
Trenton, NJ                   Trenton-Princeton, NJ
Tulsa, OK                     Tulsa, OK
Virginia Beach, VA            Virginia Beach-Norfolk-Newport News, VA-NC
Washington, DC                Washington-Arlington-Alexandria, DC-VA-MD-WV
Wheeling, WV                  Wheeling, WV-OH




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Appendix: Data Methodology

Anonymization of the Dataset                         “Real Rate” Definition
Prior to inclusion in the ELM Solutions reference    The information in this report consists of data
database, we systematically scrubbed the             taken from client invoices submitted by law
data of any information that would identify a        firms for work performed from 1/1/2017 through
particular matter, company, law firm, invoice, or    12/31/2019. All Invoices were submitted through
timekeeper (individual). To ensure relationships     the ELM billing systems.
necessary for analysis, those variables were
                                                     The analyses contained in this report are
assigned randomly generated numbers. To
                                                     derived from aggregating hours, fees, and rates
maintain data integrity and allow for proper
                                                     submitted as line items on those invoices. For a
analysis, these numbers are linked across data
                                                     line item to qualify for inclusion in this report,
tables to enforce their associations.
                                                     it had to undergo multiple and rigorous testing
To further ensure anonymity and confidentiality:     processes to ensure its validity.
• The information is published in such a manner      For example, for a rate to be loaded to the ELM
  as to make it reasonably impervious to reverse     Solutions reference database and used in this
  analysis should some attempt be made to            report, it must have been part of an invoice line
  determine what data might pertain to any           entry in which all of the following items were
  company, law firm, timekeeper, invoice, or         included:
  matter;                                            • Name of the biller
• The 2020 Real Rate Report will not reveal which    • Role of the biller
  ELM Solutions client or clients are included or    • Date of activity
  excluded in its analyses;
                                                     • Hourly rate charged
• Clients are not and will not be informed as        • Time charged
  to whether their data are included within a
  particular facet of analysis; and                  • UTBMS code associated with the time charged
                                                     • Total amount charged for the activity
• No textual description of any legal work
  performed by any individual exists in the          In addition, each line item’s hourly rate was
  ELM Solutions reference database.                  validated against its “real rate” (calculated by
                                                     dividing the total amount charged for the activity
A Note on Insurance Litigation                       by the time charged). Any line items with an
Our aim is to provide a point of comparison          hourly rate that did not align closely with the real
for companies purchasing law firm services. To       rate were not loaded to the reference database.
improve comparability, we removed data related       Real Rate = Line Item Total/Line Item Hours
to insurance company defense litigation for all      (Units) Example: $4,000/10 Hours = Real Rate of
analyses unless noted otherwise. Insurance           $400
litigation tends to be less expensive than
other types of litigation, as it is typically more   Adjustments the client made to line item amounts
repetitive and less complex.                         subsequent to submission are not factored into
                                                     the dataset. These types of adjustments may
                                                     impact the effective rate paid by the client to the
                                                     law firm but do not reflect the real rate billed.




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Appendix: Data Methodology

In short, the real rate is the rate appearing on an     All data included within this report have been
approved invoice at the invoice line item level.        mapped to a corresponding practice area. The
                                                        majority of our analyses focus on the following 12
Aggregations of data taken from millions of these
                                                        practice areas:
line item–level invoice entries are the core of the
information analyzed.                                   • Bankruptcy and Collections
                                                        • Commercial
A Note on Negotiated Rates and Billing
                                                        • Corporate
Practices law firms can generally follow vary for       • Employment and Labor
submitting “negotiated” rates on invoices. Firms
                                                        • Environmental
may submit the negotiated rate as the hourly rate
identified on the invoice line item, insert a vendor    • Finance and Securities
line item adjustment to ensure compliance,              • General Liability
or provide a vendor invoice level adjustment            • Government Relations
to bring the total amount of the fees into              • Insurance Defense
compliance with agreed-on discounts. Although
the former two are considered part of the real          • Intellectual Property
rate calculation, the latter can be problematic. It     • Marketing and Advertising
is not directly linked to a line item, and therefore,   • Real Estate
for the purposes of determining the rate, it
                                                        Within each client’s areas of work, sub-areas are
should not be assumed that the adjustment
                                                        often identified. The lists that follow identify
is related to a specific line item. Invoice-level
                                                        client areas of work and, within those areas, the
adjustments may represent a credit or some
                                                        sub-areas underneath each practice area. Often,
other type of adjustment placed on the invoice.
                                                        the same sub-area appears within different
To ensure these types of adjustments would not
                                                        practice areas. For example, the sub-area
adversely impact the analysis contained within
                                                        “General/Other” when listed under “Commercial
the 2020 Real Rate Report, the team reviewed
                                                        and Contracts” refers to general work provided
the population of invoices and line items to
                                                        regarding Commercial and Contracts matters.
determine what the deviation of the real rate
                                                        When listed under the “Employment and Labor”
might be based on inclusion or exclusion. The
                                                        practice area, the same sub-area refers to work
analysis demonstrated that the variance was not
                                                        provided on Employment and Labor. Where
significant (less than 1%).
                                                        applicable and practicable, each area and sub-
As such, we decided not to include the vendor-          area has been further subdivided into litigation
level adjustments in the report.                        and non- litigation work for the purposes of
                                                        granular analysis.
Types of Matters Included in the Analysis
Matters within the ELM Solutions system are             Bankruptcy and Collections
associated with areas of work described and             Chapter 11
defined by ELM Solutions clients. Those areas           Collections
of work were analyzed and systematically                General/Other
categorized into legal practice areas.                  Workouts and Restructuring
Normalization of practice areas was supported by
mappings to system-level practice areas available
in the ELM Solutions system and by naming
convention.




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Appendix: Data Methodology

Commercial (Commercial Transactions and Agreements)
Contract Breach or Dispute
General, Drafting, and Review
General/Other

Corporate1
Antitrust and Competition                                               Partnerships and Joint Ventures
Corporate Development                                                   Regulatory and Compliance
General/Other                                                           Strategic Asset Management
Governance                                                              Tax
Information and Technology                                              Treasury
Mergers, Acquisitions, and Divestitures                                 White Collar/Fraud/Abuse

Employment and Labor
ADA                                                                     General/Other
Agreements                                                              Immigration
Compensation and Benefits                                               OFCCP
Discrimination, Retaliation, and Harassment/EEO                         Union Relations and Negotiations/NLRB
Employee Dishonesty/Misconduct                                          Wages, Tips, and Overtime
ERISA                                                                   Wrongful Termination

Environmental
General/Other
Health and Safety
Permits
Superfund
Waste/Remediation

Finance and Securities
Commercial Loans and Financing                                          Investments and Other Financial Instruments
Debt/Equity Offerings                                                   Loans and Financing
Fiduciary Services                                                      SEC Filings and Financial Reporting
General/Other                                                           Securities and Banking Regulations

General Liability
Asbestos/Mesothelioma                                                   Personal Injury/Wrongful Death
Auto and Transportation                                                 Premises
Consumer Related Claims                                                 Product and Product Liability
Crime, Dishonesty and Fraud                                             Property Damage
General/Other                                                           Toxic Tort

Government Relations
General/Other
Lobbying and Relations



1 All references to “Corporate: General/Other” in the 2020 Real Rate Report are the aggregation of all Corporate subareas excluding the
  Mergers, Acquisitions, and Divestitures sub-area and the Regulatory and Compliance sub-area.


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Appendix: Data Methodology

Insurance Defense
Asbestos/Mesothelioma
Auto and Transportation
Errors and Omissions
General/Other
Personal Injury/Wrongful Death
Product and Product Liability
Professional Liability
Property Damage
Toxic Tort

Intellectual Property2
Copyrights
General/Other
Licensing
Patents
Trademarks

Marketing and Advertising
General/Other


Real Estate
Commercial
Construction/Development
Easement and Right of Way
General/Other
Land Use/Zoning/Restrictive Covenants
Landlord/Tenant Issues
Leasing
Property/Land Acquisition or Disposition
Titles




2 All references to “Intellectual Property: General/Other” in the 2020 Real Rate Report are the aggregation of all Intellectual Property
  sub-areas excluding the Patents and Trademarks sub-areas.


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About Wolters Kluwer’s ELM Solutions
Wolters Kluwer’s ELM Solutions is the market-leading global provider of enterprise legal spend
and matter management, contract lifecycle management, and legal analytics solutions. We
provide a comprehensive suite of tools that address the growing needs of corporate legal
operations departments to increase operational efficiency and reduce costs. Corporate legal
and insurance claims departments trust our innovative technology and end-to-end customer
experience to drive world-class business outcomes. Wolters Kluwer’s ELM Solutions was named
a leader in both the IDC MarketScape: Worldwide Enterprise Legal Spend Management 2020
Vendor Assessment and IDC MarketScape: Worldwide Enterprise Matter Management 2020 Vendor
Assessment. The award-winning products include Passport®, the highest-rated ELM solution in
the latest Hyperion MarketView™ Legal Market Intelligence Report; TyMetrix® 360°, the industry’s
leading SaaS-based e-billing and matter management solution; CLM Matrix, named a “strong
performer” in the 2019 Q1 CLM Forrester Wave report; and the LegalVIEW® portfolio of legal
analytics solutions based upon the industry’s largest and most comprehensive legal spend
database, with more than $140 billion in invoices.




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